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                      EXHIBIT A
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SOUGHT TO BE FILED UNDER SEAL
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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER               CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION
                                             APPELLATE RECORD FOR
                                             FACEBOOIC, INC.'S APPEAL OF
This document relates to:                    SPECIAL MASTER'S AMENDED
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



                                          MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,           CASE NO. 3:18-MD-02843-VC-JSC

                                           HON. VINCE CHHABRIA
This document relates to:                  HON. JACQUELINE SCOTT CORLEY
                                           COURTROOM 4— 17Th FLOOR
ALL ACTIONS                                SPECIAL MASTER, DANIEL GARRIE, ESQ.

                                           AMENDED ORDER REGARDING
                                           PRODUCTION OF AD! RELATED
                                           DOCUMENTS




         AMEDNED ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS

                                                                             0001
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                                            BACKGROUND

         I.       On September 8, 2021, Judge Corley issued an order granting Plaintiffs' motion

to compel the production of materials in connection with Facebook's app developer investigation

("AD!") that involved areview of all "apps that had access to large amounts of data before [Fa-

cebook] changed [its] platform policies in 2014." See https://about.fb.com/news/2019/09/an-up-

date-on-our-app-developer-investigation/.

        2.        Pursuant to the order:

                  In light of Facebook's unchallenged public proclamations as to the business
                  purpose of the AIM, the Court finds that the AIM served adual purpose and
                  that, as ageneral matter, documents generated as part of that investigation
                  were not created because of litigation. On or before September 21, 2021, Fa-
                  cebook shall produce the background and technical reports. audits and devel-
                  oper interviews of the six exemplar apps chosen by the parties as Facebook
                  has offered no special reasons why those particular documents are privileged
                  other than what has been addressed. The parties shall work with the Special
                  Master regarding production of additional materials consistent with the guid-
                  ance offered by this Order. See Exhibit A (Order Granting Motion to Compel
                  ADI Materials).

        3.        According to Judge Corley's order, Facebook produced 11 documents related to

the ADI. Following this production, Plaintiffs raised multiple issues in connection with Face-

book's AD1 production and requested "all memoranda prepared by                           and/or

              related to ADI of all apps it investigated or investigated at Facebook's direction, the

background and technical reports, audits, and developer interviews, and internal Facebook com-

munications regarding these materials (including those pertaining to the six exemplar apps)." See

Exhibit B (Plaintiffs' Email of September 24, 2021).

        4.        The parties subsequently met and conferred regarding Facebook's ADI produc-

tion, but were unable to resolve the outstanding issues.




                                                     1
         AMENDED ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS

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         5.     On October 26, 2021, Special Master Garrie issued Order Regarding Outstanding

ADI Issues which ordered the parties to provide summaries of the outstanding ADI issues and

the parties' respective positions.

         6.    On October 22, 2021, Plaintiffs submitted their initial statement. Plaintiffs argue

that pursuant to Judge Corley's order, Facebook should produce the following in connection with

the ADI: (1) all memoranda prepared by                       or               (2) all background

reports, technical reports, audits, and developer interviews; (3) all internal Facebook communica-

tions relating to items 1and 2; (4) all communications with                  or

related to items 1and 2; and (5) all communications with third-party app developers. See Exhibit

C (Plaintiffs Statement Concerning ADI Issues in Advance of Hearing). Plaintiffs also argued

that Facebook's production of 11 reports relating to the six exemplar apps pursuant to Judge Cor-

ley's order was incomplete because Facebook's privilege logs include references to additional

reports relating to these apps that were not provided. Id.

         7.     On October 22, 2021, Facebook submitted its initial statement. Facebook argues,

among other things, that (1) Facebook produced all documents ordered by Judge Corley; and (2)

the five categories of ADI-related documents Plaintiffs request go beyond the scope of Judge

Corley's order. See Exhibit D (Facebook's Supplemental Submission Re: ADI).

         8.     On November 4, 2021, Plaintiffs submitted their response. Plaintiffs argue, among

other things that (1) Facebook should produce additional reports regarding the six exemplar apps

because additional reports were identified in Facebook's privilege logs; and (2) Facebook failed

to show how the five categories of ADI-related documents Plaintiffs request are not "consistent

with the guidance offered by" Judge Corley's order. See Exhibit E (Plaintiffs' Response Re

ADI).




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        9.     On November 4, 2021, Facebook submitted its response. Facebook argues, among

other things that (1) Facebook's production pursuant to Judge Corley's order is complete; (2)

Plaintiffs' requests for all reports and memoranda for all apps or developers investigated in

phases two or three of the ADI and beyond the scope of Judge Corley's order; and (3) there is no

basis for Plaintiffs to request ADI related communications because Judge Corley previously re-

viewed these communications in camera and did not order the production of such communica-

tions. See Exhibit F(Facebook's Response Re: ADD.

        10.    A hearing was held on December 4, 2021, regarding the parties' submissions and

other information related to the ADI issues.

        11.    On December 8, 2021, Special Master Garrie issued an Order Regarding the Pro-

duction of ADI Documents.

        12.    On December 15, 2021, Facebook submitted aMotion for Reconsideration of

Special Master's Order Regarding the Production of ADI Documents.

                                           FINDINGS

        13.    Special Master Garrie finds that Plaintiffs' requests for all memoranda prepared

by                 or                 and all background reports, technical reports, audits, and

developer interviews in connection with the ADI are within the scope of Judge Corley's order as

the order explicitly includes these categories of documents. See Exhibit A ("Facebook shall pro-

duce the background and technical reports, audits and developer interviews of the six exemplar

apps chosen by the parties").

        14.    Special Master Garrie finds that Judge Corley's order does not exclude non-attor-

ney internal Facebook communications, communications with                       or

     or communications with third party app developers from the scope of ADI documents to be




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                                                                                                   0004
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produced, but rather only addresses reports, audits, and interviews. Id. at 6("The documents dis-

cussed in this Order—background and technical reports, audits, and interviews prepared and con-

ducted by non-attorneys—are work product, not attorney-client privilege material."). As aresult,

Special Master Garrie finds that additional information regarding the relevance of such commu-

nications is necessary to determine whether such communications should be produced.

                                               ORDER

           15.   Facebook is to produce, on arolling weekly basis, all memoranda prepared by

                  or                 and all background reports, technical reports, audits, and non-

attorney developer interviews in connection with the ADI. 1Such production is to begin with the

reports for which related audits and non-attorney interviews are available.

           16.   No later than December 24, 2021, Facebook is to provide to Special Master Gar-

rie for in camera review, all AD1 related communications pertaining to the six exemplar applica-

tions.

           17.   Facehook's request to stay this order is denied.




IT IS SO ORDERED.




          December 20, 2021                                          r
                                                       Daniel Garrie
                                                       Discovery Special Master




IFacebook is to update any applicable privilege logs as appropriate pursuant to the Privilege

Protocol.


                                                  4
           AMENDED ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS

                                                                                                       0005
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           13                                   NORTHERN DISTRICT OF CALIFORNIA
                                                     SAN FRANCISCO DIVISION
           14

           15

           16       IN RE: FACEBOOK, INC. CONSUMER                    CASE NO. 3:18-MD-02843-VC
                    PRIVACY USER PROFILE LITIGATION,
           17                                                         MOTION FOR RECONSIDERATION OF
                                                                      SPECIAL MASTER'S ORDER
           18
                    This document relates to:                         REGARDING PRODUCTION OF ADI
           19                                                         RELATED DOCUMENTS
                    ALL ACTIONS
           20                                                         IIEARING REQUESTED

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Crutcher LLP
                    MOTION FOR RECONSIDERATION OFSPECIAL MASTER'S ORDER REGARDING PRODUCTION OFADI RELATED DOCUMEN IS
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                4
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                5
                                  related communications among non-attorneys are discoverable.                     3

                6                 A.     Judge Corley considered and rejected Plaintiffs' request for ADI-
                                         communications and instead found discoverable three specific buckets
                7                        of "underlying fact[ual]" materials.                                      4

                8                 B.      Contrary to Judge Corley's guidance, the Special Master ordered
                                          Facebook to produce large volumes of ADI communications                  6
                9

                                  Facebook seeks reconsideration of the production timeline required by the
               1()
                                  Tentative Order because it would be impossible for Facebook to comply with.      8
               11
                           III.   Facebook seeks reconsideration of the Tentative Order's requirement that
               12                 Facebook produce documents that are not relevant to the live claims and
                                  defenses in this case                                                           11
           13
                           IV.    Facebook seeks reconsideration of any requirement that Facebook produce
           14                     materials over which it asserts privilege without the Special Master having
                                  conducted the document-by-document in camera review that Ninth Circuit
           15
                                  authority requires.                                                             12
           16
                           V.     Facebook seeks reconsideration of the Tentative Order's holding that Facebook
           17                     must produce attorney audits and "all memoranda" prepared by its consulting
                                  experts.                                                                        14
           18
                     CONCLUSION                                                                                   15
           19

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Gibson, Dunn &

Crutcher LLP
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                1   United States ex rel. Wollman v. Mass. Gen. Hop., Inc.,
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                                                        CASE NO. 3:18-MD-02843-VC                                 0009
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                1                                                  INTRODUCTION

                            Facebook respectfully seeks reconsideration of the Special Master's December 8, 2021

               3    Tentative Order re: Production of ADI Related Documents ("Tentative Order").' Complying with the

               4    Tentative Order would require amassive and overbroad collection and review of ADI materials that

               5    would likely take thousands of attorney hours to complete. Undertaking that process would run

               6    counter to Judge Corley's guidance and basic proportionality principles, and completing it on the

               7    timeframe the Tentative Order requires is literally impossible.

               8            This case is not about ADI and how it was conducted. It is about long-deprecated forms of

               9    data-sharing that ended before ADI even began. Judge Corley recognized that communications about

               1
               ()   how ADI was conducted were not relevant and potentially privileged and limited ADI discovery

               11   accordingly to certain documents she found to contain "underlying facts" that ADI uncovered. The

           12       Tentative Order does the opposite, throwing abomb into the discovery process without any concern

           13       for relevance, privilege, burden, or proportionality. By opening up the case to amassive ADI review

           14       with just six weeks before the substantial completion deadline, the Tentative Order would hamstring

           15       this litigation in months of additional discovery on asideshow topic. The Tentative Order should be

           16       modified to reflect Judge Corley's guidance that the ADI productions should be limited to relevant

           17       underlying factual materials and proportionate to the needs of this case.

           18               After working with the parties for nearly two years to focus Plaintiffs' ADI requests, Judge

           19       Corley identified three categories of materials for Facebook's ADI production and made clear that the

           20       production should be tailored and proportionate. The Tentative Order would upend Judge Corley's

           21       guidance by requiring acolossal collection and review of ADI communications far beyond the scope

           22       Judge Corley contemplated and the proportionality principles articulated in Rule 26. After a

           23       burdensome sampling exercise and in camera review of ADI correspondence among non-attorneys,

           24       Judge Corley did not order Facebook to produce asingle ADI communication. Instead, she found: "a

           25       lot of it" not "relevant at all" and found some materials to be "privilege[d]." Apr 6, 2021 Hr'g Tr.

           26       (Ex. B) at 17:8-21. Recognizing that Plaintiffs' overbroad request for ADI communications was

           27        Under the Special Master's briefing protocol (Protocol for Resolving Discovery Disputes —Order No. 1, JAMS Ref. No.
                    1200058674, Aug. 20, 2021), the Special Master's rulings are "tentative" and "become final" only "[in the absence of a
           28       timely request for reconsideration." /c/.11¶ 7-8. The Special Master granted Facebook an extension of one day, until
                    December 15, 2021, to file this reconsideration motion.

Gibson, Dunn &
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Crutcher LLP
                    MOTION FOR RECONSIDERATION      OFSPECIAL MASTER'S ORDER REGARDING PRODUCTION OFADI RELATED DOCUMENTS
                                                                CASE NO.   3:18-MD-02843-VC                                           0010
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                I   unworkable, infeasible, and unrealistic, Judge Corley instead guided the parties toward alimited

                    production of three categories of underlying factual materials. Id. at 18:13-15; id. at 18:1-4. The

                3   Tentative Order blows far beyond those boundaries and unwinds Judge Corley's guidance.

               4           The Tentative Order is also impossible to comply with. Under the Tentative Order, within

                5   two weeks of arequest from Plaintiffs, Facebook could have to conduct adetailed review of many

                6   thousands of communications relating to                apps, and assess which relate in any way to an

                7   investigatory report prepared by outside experts at the direction of counsel. This would be a

                8   gargantuan and disproportionate undertaking. The review would require thousands of attorney hours

                9   and could be completed accurately only by attorneys who have significant experience with ADI. A

               10   similar review for just six apps required more than 300 attorney hours from attorneys who worked on

               11   ADI. The review the Tentative Order contemplates would be many orders of magnitude larger, and it

               12   would only be the start. The Tentative Order opens the door for endless large, rapid-fire reviews.

               13          Judge Corley did not intend ADI productions to cause amulti-month expenditure of such

               14   proportions. The Tentative Order's sweeping language erases nearly two years of work to focus the

           15       universe of discoverable ADE documents, and it disregards Judge Corley's care and calibration in

           16       identifying three categories of materials that she found potentially discoverable and proportionate.

               17          The Tentative Order also conflicts directly with the Massachusetts Supreme Judicial Court's

               18   recent holding that ADI communications are privileged, and runs afoul of authority requiring a

               19   document-by-document in camera review before ordering aparty to produce documents over which

           20       it asserts privilege. The Special Master has not reviewed any communications he ordered Facebook

           21       to produce, and Judge Corley—who did—stated that many appeared to be privileged and irrelevant.

           22              Facebook respectfully asks the Special Master to reconsider his ruling and instead confine

           23       Facebook's ADI production obligations to the three categories of ADI materials Judge Corley

           24       ordered Facebook to produce under compulsion on the basis that they concern "underlying facts": (i)

           25       background and technical reports prepared by consulting experts; (ii) audits conducted by non-

           26       attorneys, and (iii) interviews conducted by non-attorneys. In the event that the Special Master does

           27       not reconsider or modify the Tentative Order, Facebook respectfully requests astay of the order

           28       pending appeal to Judge Corley. Facebook requests ahearing on this motion.


Gibson, Cunn
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                    MOTION FOR RECONSIDERATION OFSPECIAL MASTER'S ORDER REGARDING PRODUCTION OFAD! RELATED DOCUMENTS
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                                                        Cps!, No. 3:18-MD-02843-VC                                0011
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                I                                               ARGUMENT

                    I.       Facebook seeks reconsideration of the Tentative Order's ruling that AD1-related

                3            communications among non-attorneys are discoverable.

               4            Facebook respectfully seeks reconsideration of the Special Master's finding that "Judge

                5   Corley's order does not exclude non-attorney internal Facebook communications, communications

                6   with [Facebook's consulting experts], or communications with third party app developers from the

                7   scope of ADI documents to be produced." Tentative Orderl 12.

                8           When Facebook first raised to Judge Corley the massive volume of AD1-related

                9   communications and the myriad privilege issues they implicate, Judge Corley made clear that any

               10   ADI production would be proportionate and limited to relevant, non-privileged documents going to

               11   the "underlying facts." She did not order that every single underlying document be produced.

               12   Rather, she observed correctly that many of the documents were not relevant or necessary.

               13           Judge Corley worked with the parties to design asampling exercise so that she could provide

               14   guidance on which ADI-related materials would be discoverable. After an in camera review of

               15   sample ADI communications among non-attorneys (of Plaintiffs' choosing), Judge Corley did not

               16   order production of asingle communication. Instead, she recognized that many of the materials she

               17   reviewed were not relevant and that many were privileged. Ex. B at 17:15-21. In response, Plaintiffs

               18   insisted they did not need ADI communications and limited their request: "[The facts underlying

               19   these communications are what we're really seeking." Id. at 18:13-15; id. at 18:1-4.   The parties

           "0       then spent months negotiating and litigating which "underlying facts" from ADI Facebook would

           1    1   produce, all with the understanding that communications were off the table.

           22               Judge Corley ultimately found three specific categories of ADI materials potentially

           23       discoverable on the basis that they could contain "underlying facts"—(i) backgromd and technical

           24       reports prepared by outside experts, (ii) audits of app developers conducted by non-attorneys, and

           25       (iii) interviews of app developers conducted by non-attorneys. The Tentative Order blows past these

           26       categories and would require Facebook to conduct an enormously burdensome collection and revicIA

           27       of nearly all ADI communications relating 101              apps—and to produce many volumes of

           18       those communications within amatter of days. That is simply not possible.


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                1            A.       Judge Corley considered and rejected Plaintiffs' request for ADI-

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                                               cations.

               3             1.       Plaintiffs initially demanded that Facebook produce all ADI-related documents and

               4    communications. Understanding there were potentially millions of privileged documents within the

               5    scope of Plaintiffs' request and in an effort to avoid unnecessary burdens on the parties and the Court,

               6    Judge Corley asked the parties to identify asample of materials so that she could provide guidance on

               7    which materials she believed to be privileged. July 13, 2020 Hr'g Tr. (Ex. C) at 44:23-48:8.

               8             2.       The parties agreed to asampling exercise for materials connected with six exemplar

               9    apps. 2 Dkt 513-1 (Ex. D). The parties agreed to 26 ADI custodians. Facebook collected and

               1
               ()   reviewed all communications from those custodians hitting on the six apps' names or ID numbers,

               11   then produced non-privileged documents and logged privileged communications. Id. Facebook's

           12       logs contained over 6,000 entries. Dkt. 599 (Ex. E) at 4; Southwell Decl. If 17. Completing this

           13       sampling process for just six apps took more than 300 attorney hours. Southwell Decl.li 17.

           14                3.       Plaintiffs ultimately moved to compel all entries on Facebook's exemplar privilege

           15       logs that did not list an attorney as an author or recipient (i.e. non-attorney communications). Judge

           16       Corley ordered Plaintiffs to select 20 of those entries for in camera review and ordered the parties to

           17       submit simultaneous briefs regarding the 20 documents. Dkt. 602 (Ex. F)1 A; Jan. 15, 2021 Hr'g Tr.

           18       (Ex. G) at 4:15-11:19; id. at 12:13-15. 3 She did not permit declarations. Id.

           19                4.       After conducting an in camera review of the 20 non-attorney communications

           20       Plaintiffs chose, Judge Corley did not order asingle communication (or attachment) produced.

           21       Judge Corley stated: "[A] lot of it Idon't think is relevant at all"—some materials are "privilege[d]

           22       and Iactually think you don't even need." Ex. B at 17:8-21. Judge Corley expressed apreliminary

           23       view that "underlying facts" from ADI would be discoverable, Dkt. 711 (Ex. I) at 1, but that "there

           24       are certainly going to be documents in there that are "(a) attorney-client privilege[d]; or (b) attorney

           25       work product." Ex. B at 16:22-24. She then explained that she was not inclined to issue aruling on

           26       2 The  parties agreed to two apps that were investigated but not suspended, two apps that were investigated and suspended
                    for non-compliance with the investigation, and two apps that were investigated and suspended not only for non-
           27       compliance with the investigation.
                    3 Plaintiffs' Motion To Compel Production of Documents Related To Facebook's App Developer Investigation—which

           28       demanded productions of the materials Judge Corley reviewed in camera, along with all other non-attorney
                    communications from ADI—is Docket Number 611-2 (Ex. H) in this case.

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                1   the 20 documents she reviewed because any ruling could not resolve the parties' broader privilege

                    dispute, and the parties would likely be back before the Court on "every single document." Id. at

                    17:15-21.

                4          5.      After declining to order production of non-attorney ADI communications, Judge

                    Corley pressed Plaintiffs to focus and narrow their request. She asked them "what ...precisely [it is]

                6   that the plaintiffs need from th[e] investigation." Ex. B at 17:22-23. Plaintiffs clarified they did not

                    actually seek the materials they challenged and selected for in camera review, which consisted of

                    non-attorney ADI communications, and instead sought the underlying facts: "[T]he facts underlying

                    these communications are what we're really seeking." Id. at 18:13-15; id. at 18:1-4. In reliance on

               10   that representation, the parties mediated Plaintiffs' request for "facts" for more than three months.

               11          6.      When the parties did not resolve the dispute in mediation, Judge Corley ordered the

               12   parties to submit ajoint letter brief. Dkt. 693 (Ex. J). She then issued an order reflecting her

               13   understanding that Plaintiffs no longer sought communications from ADI. Ex. I. She explained,

           14       Plaintiffs sought "background and technical investigations" and "Facebook conducted audits and

           15       interviews." id. at 2-3. Judge Corley even confirmed that "[n]one of the documents [Plaintiffs seek]

           16       were part of the in camera review the Court earlier conducted"—which focused exclusively on ADI-

               17   communications among non-attorneys of Plaintiffs' choosing. Id. at 3. Further emphasizing that she

               18   did not intend ADI communications to remain in scope, Judge Corley permitted Facebook to submit a

           19       single declaration in support of its position that the specific "investigatory materials" she described

           20       Plaintiffs to be seeking were privileged. Id.; see also Dkt. 720 (Declaration of Alexander H.

           21       Southwell) (Ex. K). She did not permit or require additional declarations about Facebook's claim of

           22       privilege over other types of ADI materials, including millions of individual communications.

           23              7.      On September 8,2021 Judge Corley issued an order resolving the parties' ADI

           24       privilege dispute. See Dkt. 736 at 7(Ex. L). The order stated that Facebook refused to produce

           25       "reports, audits and interviews, non-attorney communications" and "dispose[d] of Docket No[.]

           26       611"—Plaintiffs' prior motion to compel non-attorney ADI communications. Id. at 2,7 (emphasis

           27       added). In doing so, Judge Corley did not order production of any ADI-related communications. Id.

           28       at 7. When aparty has moved to compel materials, and acourt resolves the motion without granting


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                1   the request, the request is presumed denied. Calfornia Dcp't cfSoc. Servs. v. Leavitt, 523 F.3d 1025,

                    1031 (9th Cir. 2008) ("The court did not expressly discuss the request to authorize discovery, but also

               3    did not order discovery, thereby implicitly denying the request.").

               4           8.      Instead of ordering Facebook to produce ADI communications, Judge Corley

                5   ordered Facebook to produce three categories of materials for the six exemplar apps the parties

               6    had chosen pro iou sly:   -background   and technical reports, audits and developer interviews." Ex. L

                7   at 7. Judge Corley reasoned that she was ordering production of these materials because "Facebook

                8   has offered no special reasons why those particular documents are privileged." id. She further stated

               9    that "Facebook has not explained how anon-attorney's interview or audit of adeveloper would be

               1
               ()   protected from discovery by the attorney-client privilege." Id. at 6.

               11          9.      Judge Corley ordered the "parties to work with the Special Master regarding

               12   production of additional materials consistent with the guidance ciered by [het] Order." Ex. Lat 7

           13       (emphasis added). The clear implication was that she expected the parties to work with the Special

           14       Master to determine if Facebook should produce the same categories of materials for additional apps.

           15              B.      Contrary to Judge Corley's guidance, the Special Master ordered Facebook to

           16                      produce large volumes of AD! communications.

           17              10.     The Special Master's Tentative Order states that "Judge Corley's order does not

           18       exclude non-attorney internal Facebook communications, communications with [Facebook's

           19       consulting experts], or communications with third party app developers from the scope of ADI

           20       documents to be produced." Tentative Order ¶ 12. This holding guts Judge Corley's ruling, is

           21       inconsistent with the Federal Rules of Civil Procedure, and contravenes arecent decision from the

           22       Massachusetts Supreme Judicial Court.

           23              11.     Judge Corley worked with the parties for years to focus Plaintiffs' ADI requests on a

           24       reasonable, workable, and proportionate set of materials. To accomplish this, she ordered alengthy,

           25       time-consuming, and burdensome sampling exercise and conducted an in camera review of non-

           26       attorney communications that Plaintiffs selected. After completing that process, Judge Corley did

           27       not order production of asingle ADI communication.

           28              12.     The entire point of the sampling exercise and in camera review was to allow Judge


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                1   Corley to assess whether there was arelevant, proportionate, and non-privileged set of ADI-related

                    communications that were discoverable. She determined no such communications existed. Instead—

               3    after reviewing asample of non-attorney communications—she observed that many were irrelevant

               4    and others privileged. Ex. B at 17:8-21. Recognizing that the burden of review would be

               5    disproportionate to the limited benefits of production, she steered the parties away from ADI

               6    communications and declined to provide guidance on the 20 non-attorney communications she

               7    reviewed. Judge Corley reasoned that even addressing 20 documents could not provide useful

               8    guidance, and she would end up needing to review all non-attorney ADI communications in camera.

               9    Id. at 17:15-17. This would not have been reasonable, workable, or useful, given her finding that "a

               1
               ()   lot of" the material was not "relevant at all" and that many would be privileged. Id. at 17:8-21.

               11          13.     The Tentative Order ignores Judge Corley's guidance and the proportionality

           12       requirement in Rule 26, and sends the parties back to square one. It would allow Plaintiffs to again

           13       demand that Facebook review essentially all ADI-related communications, requiring an astronomical

           14       collection and review that would take many months and thousands of attorney hours to complete.

           15              14.     This is the outcome Judge Corley sought to prevent. Her guidance was designed to

           16       ensure that ADI would not hijack and further delay this case. To move the process forward, Judge

           17       Corley focused the parties on three categories of underlying factual materials and avoided ordering a

           18       review of millions of irrelevant and privileged communications. If Judge Corley thought it would be

           19       fruitful for Facebook to review additional ADI communications beyond the thousands Facebook

           20       reviewed for the parties' sampling exercise, she would have ordered that long ago.

           21              15.     The Tentative Order also conflicts with the Massachusetts Supreme Judicial Court's

           22       holding in Attorney General v. Facebook, Inc., 164 N.E.3d 873 (Mass. 2021) (Ex. M). There, the

           23       court reversed aruling about the privileged nature of ADI (including non-attorney communications)

           24       and held: "[A]ny confidential communications relating to ADI among Facebook, Gibson Dunn, and

           25       other members of the ADI team would almost certainly be privileged." Ex. M at 888.

           26              16.     Facebook respectfully asks the Special Master to reconsider its ruling that Judge

           27       Corley's order "does not exclude non-attorney internal Facebook communications [or]

           28       communications with [Facebook's consulting experts]," and to modify the Tentative Order to clarify


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                I   that Facebook's AD1 production obligations are limited to the categories of underlying factual

                    materials Judge Corley found potentially discoverable and ordered Facebook to produce for the six

                3   exemplar apps under compulsion: (1) background and technical reports prepared by outside

                4   consultants, (ii) interviews conducted by non-attorneys, and (iii) audits conducted by non-attorneys.

                5          Facebook seeks reconsideration of the production timeline required by the Tentative

                           Order because it would be impossible for Facebook to comply with.

                7          To the extent the Special Master does not reconsider his ruling that AD1 communications are

                8   discoverable, Facebook respectfully seeks reconsideration of the production schedule the Tentative

                9   Order requires, which would be impossible for Facebook to comply with. Under the Tentative Order,

               10   within two weeks of receiving arequest for AD! communications, Facebook could be required to

               11   collect and review communications relating to                  anus,   and assess which—if arty—are "in

               12   connection with" an investigatory report prepared by Facebook's outside experts. This could require

               13   Facebook to collect and conduct adetailed review of                                        'documents

               14   within amatter of days—a process that would take thousands of attorney hours.

               15          To the extent this process is designed to provide asample of AD1 communications to assess

               16   whether they are relevant, the parties already conducted such asampling exercise. Judge Corley

               17   found that the non-attorney communications relating to six apps the parties chose were largely

               18   irrelevant and that production of ADI communications was simply was not workable. The burdens

               19   and infeasibility of the Special Master's Tentative Order underscore that conclusion.

           20              I.      The Tentative Order requires Facebook to produce ADI materials on arolling weekly

           21       basis," beginning with "reports for which related audits and non-attorney interviews are available."

           22       Tentative Order    13. As explained in the accompanying declaration of Alexander H. Southwell,

           23        Facebook would need at least three to five weeks to begin these rolling productions so that it can

           24       collect the materials, train reviewers, and carry out the review—all of which would take more time

           25       around the holidays. Southwell Decl.   II   5. Once Facebook's review begins, it estimates that it would

           26       then require at least three months to complete rolling productions of all background and technical

           27       reports, audits conducted by non-attorneys, and interviews conducted by non-atorneys. Id.        6.

           18              2.      Nor would that colossal project be the end. After Facebook makes an initial


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                1   production of background and technical reports, the Tentative Order allows Plaintiffs to request all

                    "non-attorney internal Facebook communications, communications with [Facebook's consulting

                3   experts], or communications with third party app developers in connection with astatistically

                4   significant sample of the reports provided." Tentative Order ¶14. Facebook must then produce

                5   those communications within -ten business days," and—after reviewing the materials—Plaintiffs

                6   may request more "upon ashowing of relevance." Tentative Order[ 15-16.

                7              3.       The Sisyphean schedule the Tentative Order requires is impractical and impossible to

                8   comply with. The Tentative Order requires Facebook to prioritize production of background and

                9   technical reports for apps "for which related audits and non-attorney interviews arc available."

               10   Tentative Order 1[13. 4 There are                                 such reports associated with audits Facebook

               11   conducted. Southwell Decl. ¶ to. 5 Given the relatively low number of reports associated with apps

               12   for which audits are available, astatistically significant sample of the reports may be all of them.'

               13              4.       The                         reports for which there are related audits alone concern

               14                    l
                                     atips.   Id. The ADI team did not collect and store communications by app or by report.

               15   Id. 118. As aresult, Facebook would need to locate and collect all ADI-related cemmunications

               16   relating to                           apps and then conduct acareful analysis of whether each of those

               17   communications relates in any way to one of the reports. hl.

               18              5.        If Facebook were to produce                reports for which there are related audits in its      Iir


               19   rolling production, the volume of communications Facebook would have to collect and review within

           20       two weeks would be in the order of                                                                              documents.

           21       Id. ¶ 12. Even though the Tentative Order would require production of only certain types of

           22       communications, this would not meaningfully narrow the universe of documents Facebook would

           23       need to collect and review. Id. To determine which non-attorney communications are "in connection

           24       with" aparticular report, Facebook would need to recreate the history of its investigation of each app

           25       addressed by that report, figure out exactly what steps were taken to prepare the report, and then

           26
                    4 As discussed below, unlike Judge Corley's Order, the Tentative Order does not distinguish between attorney audits and
           27       non-attorney audits. See irfra at 14.
                    5 Facebook is continuing to assess what, if any. interviews and related reports fall within the Order, which could

           28       potentially increase the number of reports and associated apps at issue. Southwell Decl.      to.
                    6   Ambiguity as to the statistically significant sample the order describes is likely to cause prolonpd disputes.

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                I   assess which communications relate to those steps. Id. This would require reviewing asubstantial

                    volume of attorney communications in order to assess which non-attorney communications were "in

                3   connection with" each report.' Under the Tentative Order, Facebook could be required to complete

               4    this analysis in less than two weeks for                          apps. That is an impossible task.

                5            6.      Not only would the Tentative Order require Facebook to review amassive volume of

                6   materials, Facebook could not expedite its review by hiring contract reviewers. Attorneys who are

                7   not familiar with AD1 would not be able to accurately analyze which AD1 communications were "in

                8   connection with" aparticular report. Attorneys who have significant familiarity with ADI would

                9   need to conduct the review, which would constrain how quickly Facebook could ;...omplete it. Id.

               10   1113.
                    1       The AD1 was complex and nuanced, and detailed familiarity with AD1 woild be required to

               11   recreate the steps that were taken to prepare each background and technical report and review

               12   accurately whether particular communications were in connection with that process. Id.                ¶¶   12-13.

               13            7.      Making the review even more difficult and onerous, many, if not all, ADI-related

               14   communications "in connection with - abackground or technical report would also contain attorney

               15   advice or work product that would need to be reviewed carefully for privilege and quality checked foi

               16   accuracy and consistency across communications. Id.               16.

               17            8.      The Tentative Order's requirement that Facebook complete all of this work in just two

               18   weeks is not possible. The sampling exercise Facebook conducted for six aims involved review                    of
               19   approximately 6,000 communications, and more than 300 Gibson Dunn attorney hours were spent to

           20       collect, review, produce, and log them. Id.          17. A similar review for                          additional

           21       apps would likely take many months, and certainly cannot be completed within ID business days.

           22                9.      Facebook respectfully asks the Special Master to reconsider his ruling that, at

           23       Plaintiffs' request, Facebook must produce within ten business days communications associated with

           24       "a statistically significant sample of the reports [in Facebook's initial production]."

           25                10.     If the Special Master believes that he would benefit from considering asample of ADI

           26       communications to assess relevance and privilege, Facebook would (at the Special Master's request)

           27         Indeed. when Facebook briefed to Judge Corley its claim of privilege over the 20 non-attorney communications
                    Plaintiffs selected for review in cainera, many of Facebook's explanations of why particular non-attorney
           28       communications were privileged referred back to attorney communications that provided relevant context. Dkt. 613 (Ex
                    N) at 11-15. 17-19.

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                1    submit in camera the 20 non-attorney communications from the six exemplar apps Plaintiffs selected

                     for Judge Corley to review. The parties' sampling exercise from those apps was designed and

                3    conducted specifically to allow the Court to provide guidance on which ADI materials may be

                4    relevant and which may be privileged. Collecting, reviewing, and logging those materials took more

                5    than 300 hours from Gibson Dunn attorneys, Southwell Decl.     II   17—in addition to substantial time

                6    from Facebook's in-house legal team and vendors. Facebook then invested significant additional

                7    time to brief to Judge Corley why the 20 non-attorney communications from that exercise Plaintiffs

                8    selected for her review were privileged. There is no reason to repeat that work. To the extent the

                9    Special Master would benefit from reviewing non-attorney communications in camera beyond the 20

               1()   Plaintiffs selected for Judge Corley to review, any such communications should come from the

               11    materials Facebook already collected, reviewed, and logged for the six exemplar apps.

               12           Facebook seeks reconsideration of the Tentative Order's requirement that Facebook

           13               produce documents that are not relevant to the live claims and defenses in this case.

           14               Facebook respectfully seeks reconsideration of the Tentative Order's requirement that

           15        Facebook produce documents even if they are not relevant. As Judge Chhabria arid the Special Master

           16        have reminded Plaintiffs repeatedly, and as the law and Federal Rules make crystal clear, Facebook

           17        can only be required to produce documents that are relevant to the live claims and defenses in this case.

           18                1.     The Tentative Order would require Facebook to produce certain ADI communications.

           19        Tentative Order¶14-15. Then, if Plaintiffs can demonstrate these produced communications are

           20        relevant, Plaintiffs may request additional communications. Id ¶16. That process is backwards.

           21        Plaintiffs are not entitled to materials that are not relevant. Leon v. Cniy. cf San Diego, 202 F.R.D.

           22        631, 634 (S.D. Cal. 2001) ("The threshold issue in any discovery dispute is determining whether the

           23        requested discovery meets the requirements of [Rule 26] regarding relevance.").

           24               2.      As Judge Chhabria and the Special Master have recognized previously, Facebook—as

           25        the producing party—is entitled to make relevance determinations, and Plaintiffs are not entitled to

           26        discovery regarding materials that are not relevant. See Mar. 5, 2020 Hr'g Tr. (Ex. 0) at 7:23-8:10

           27        ("[Facebook] would never be required to do alog of the stuff that they pulled out and determined was

           28        irrelevant or non-responsive to your request."); Supplemental Order Regarding The Use Of TAR


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                1   11 2, 4, 16, JAMS Ref. No. 1200058674, Oct. 9, 2021 (Ex. P) (denying Plaintiffs' request for

                    Facebook to use TAR and denying Plaintiffs participation in Facebook's relevancy determinations).

                3   The Special Master's Tentative Order undermines this basic principle, particularly given Judge

               4    Corley's finding that many of the documents at issue are entirely irrelevant. Ex. B at 17:8-21.

                5            3.     Facebook respectfully seeks reconsideration of the Tentative Order to the extent it

                6   requires Facebook to produce materials that are not relevant to the case.

                7 IV.        Facebook seeks reconsideration of any requirement that Facebook produce materials

                8            over which it asserts privilege without the Special Master having conducted the

                9            document-by-document in camera review that Ninth Circuit authority requires.

               1
               ()            To the extent the Special Master intended to order Facebook to produce (and not merely to

               11   log) ADI communications over which it asserts privilege, Facebook respectfully seeks

           12       reconsideration of that holding. It is not clear whether the Tentative Order requires Facebook to

               13   produce ADI communications that Plaintiffs request even if Facebook asserts privilege over those

           14       communications, or whether it allows Facebook to log privileged communications consistent with the

           15       parties' Privilege Protocol. ADI was alegal investigation designed and led at all stages by attorneys

           16       in order to advise Facebook on its legal risks (including in this litigation and related actions) and

           17       communications from the investigation are privileged. To the extent the Special Master intended to

           18       issue ablanket ruling requiring Facebook to produce massive volumes of communications over

           19       which it has asserted privilege, that holding conflicts directly with controlling authority.

           20                1.     The Massachusetts Supreme Judicial Court recently considered whether AD!

           21       communications (including non-attorney communications) are privileged. That court held that "any

           22       confidential communications relating to AD! among Facebook, Gibson Dunn, and other members of

           23       the ADI team would almost certainly be privileged." Ex. M at 888.

           24                2.     While Facebook disagrees, Judge Corley found that the ADI served adual legal and

           25       business purpose. Dkt. 736 at 6. Judge Corley recognized that certain non-attorney communications

           26       she reviewed in camera appeared to be privileged. Ex. B at 17:8-21, 18:1-4, 18:13-15. She also

           27       recognized that Plaintiffs would not be entitled to ADI materials to the extent they include work

           28       product or attorney advice. Id. at 16:22-25.


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                1             3.       A long line of Ninth Circuit authority holds that acourt must assess "dual purpose"

                     materials for privilege in camera and on adocument-by-document basis. courts in the Ninth Circuit

                3    consistently apply the "because of test to determine whether specific documents are entitled to work

                4    product protection and the "primary purpose" test to determine whether they are protected by the

                5    attorney-client privilege. See Phoenix Techs. Ltd. v. JiMware, Inc., 195 F. Supp. 3d 1096, 1102 (N.D.

                6    Cal. 2016) (describing "because of" test); In re Grand Jury, 13 F.4th 710, 716-17 (9th Cir. 2021)

                7    (adopting "primary purpose" test for dual purpose documents). 8

                8             4.       Neither the "primary purpose" test for attorney-client communications nor the

                9    "because of" test for attorney work product allows for acategorical ruling that materials from adual-

               1()   purpose investigation are discoverable. Both tests require afact-intensive analysis of whether

               11    specific documents served alegal purpose. 9 This requires either adocument-by-document inquiry or

               12    asampling of the relevant types of documents to determine which types of materials served alegal

           13        purpose. i° This is also consistent with Judge Corley's view that the Court could not fully resolve the

           14        parties' dispute regarding attorney-client privilege for ADI-related communications based on an in

           15
                        In the context of dual-purpose investigations, documents are considered privileged if legal advice was aprimary
           16        purpose, or "one of the significant purposes of [the] attorney-client communication" at issue. In re Kellogg Brown &
                     Root, Inc., 756 F.3d 754, 759-60 (D.C. Cir. 2014) (emphasis added); see also Todd v. MAAR Surgical Co., 2015 WL
           17        13388227, at *10 (C.D. Cal. Aug. 21, 2015) (conclusions reached by consultant retained by law firm were protected work
                     product because work, while "related to routine business matters, was being channeled through [the law firm] so that it
           18        could provide legal advice. .. in anticipation of litigation"); In re Gen. Motors LLC Ignition Switch Litig., 80 F. Supp. 3d
                     521, 530 (S.D.N.Y. 2015) (documents underlying investigation created by outside law firm were ?rivileged and work
           19        product because "an attorney-client privilege that fails to account for the multiple and often-overlapping purposes of
                     internal investigations would threaten to limit the valuable efforts of corporate counsel to ensure their client's compliance
           20        with the law"); Pearson v. Ariz., 2020 WL 5544373, at *3 (D. Ariz. Sept. 16, 2020) (investigation report was protected
                     work product despite the defendant's concession that "it would have investigated the incident underlying this case
           21        regardless of whether litigation was anticipated"); Pitkin v. Corizon Health, Inc., 2017 WL 6496565, at *4 (D. Or. Dec.
                     18, 2017) (holding investigation report and supporting documents were privileged, even though the investigation was
           22        required under corporate policies and contracts, because "at least one primary purpose of the investigation was to assess
                     the situation from alegal perspective, provide legal guidance, and prepare for possible litigation and/or administrative
                     proceedings"); United States ex rel. Wollman v. Mass. Gen. Hosp., Inc., 475 F. Supp. 3d 45, 65 (D. Mass. 2020) (holding,
           23
                     after in camera review, that investigation report prepared by law firm was attorney-client privileged); Smith-Brown v.
                     Vita Beauty, Inc., 2019 WL 2644243, at *3 (N.D. 111. June 27, 2019) (finding internal investigaticn documents privileged,
           24
                     but only after in camera review of each document).
                     9 See, e.g., In re High-Tech Env,. Antitrust Litig., 2013 WL 772668, at *8 (N.D. Cal. Feb. 28, 20[3) (finding sample 17
           25
                     documents reviewed in camera—out of 166 total documents—privileged, but declining to rule on remaining withheld
                     documents); Fosbre v. Las Vegas Sands Comp., 2016 WL 183476, at *7-10 (D. Nev. Jan. 14, 2016) (granting in camera
           26        review of sample of 190 documents, noting that privilege of adual-purpose document "can only be determined by
                     evaluating the communication itself'). .
           27        '9 Dolby Lab'ys Licensing Comp. v. Adobe Inc., 402 F. Supp. 3d 855, 868-76 (N.D. Cal. 2019) (in challenge of over 4,000

                     privileged documents, court reviewed asample in camera and appointed special master to decide future privilege
           28        disputes); In re Lidoderm Antitrust Litig., 2016 WL 861019, at *7 (N.D. Cal. Mar. 7, 2016) (analyzing sample documents
                     in camera "to provide guidance [on] ...ongoing assertions of privilege").

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               1    camera review of 20 communications among non-attorneys. Ex. B at 17:15-21.

                             5.     Facebook cannot be ordered to produce privileged materials without the Special

               3    Master conducting such an analysis and applying the "primary purpose" and "because of" tests to

               4    those materials. Facebook respectfully asks the Special Master to reconsider his Tentative Order to

               5    the extent he is ordering production of communications over which Facebook is asserting privilege,

               6    without conducting the in camera review that the Ninth Circuit requires.

               7    V.       Facebook seeks reconsideration of the Tentative Order's holding that Facebook must

               8             produce attorney audits and "all memoranda" prepared by its consulting experts.

               9             Facebook respectfully seeks reconsideration of the Tentative Order's holding that "all

               1
               0    memoranda prepared by [Facebook's consulting experts]" and "all audits," including attorney audits,

               11   "are within the scope of Judge Corley's order." Tentative Order ¶11. Judge Corley's Order does not

           12       find discoverable "all audits" or "all memoranda" by Facebook's consulting experts. With respect to

           13       audits, Judge Corley's Order states: "Plaintiffs are not seeking documents created by counsel,

           14       counsel's edits, or any communications with counsel. Facebook has not explained how anon-

           15       attorney's interview or audit of adeveloper would be protected from discovery by the attorney-client

           16       privilege." Ex. Lat 6. As for memoranda, Judge Corley's Order describes as discoverable two

           17       specific types of memoranda prepared by these experts: "background and technical reports." id.

           18                1.     Judge Corley's Order is clear that she is ordering Facebook to produce only non-

           19       attorney audits. Her order states "Plaintiffs are not seeking documents created by counsel, counsel's

           20       edits, or any communications with counsel." Ex. Lat 6. She also explained that she was ordering

           21       Facebook to produce certain audit reports because "Facebook has not explained how anon-attorney's

           22       interview or audit of adeveloper would be protected from discovery by the attorney-client privilege."

           23       Id. There is no fair way to read this ruling to find attorney audits to be within the scope of Judge

           24       Corley's Order. Nor has Facebook had an opportunity to create arecord regarding attorney audits

           25       given that Plaintiffs did not seek these materials, as Judge Corley recognized.

           26               2.      Judge Corley's order also does not find every single memorandum prepared by

           27       Facebook's consulting experts discoverable. Her Order refers specifically to two types of

           28       memoranda prepared by Facebook's consulting experts—"background and technical reports."


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                1          3.      During the December 4hearing before the Special Master, the parties and the Special

                    Master discussed production of memoranda prepared by outside experts. Consistent with Judge

               3    Corley's prior guidance, the only "memoranda" discussed at the hearing were the "background and

               4    technical reports" prepared by Facebook's consulting experts that Judge Corley had ordered

                5   produced—not aseparate category of materials. Southwell Decl.'[ 4.

               6           4.      Other memoranda prepared by Facebook's consulting experts are outside the scope of

                7   Judge Corley's guidance and the scope of documents she ordered the Special Master to work with the

                8   parties to produce. Facebook has never had an opportunity to submit briefing or an evidentiary

               9    record regarding the other types of memoranda that its outside experts created or to demonstrate that

               1
               ()   these materials contain privileged information and work product. Id. Nor has the Special Master or

               11   Judge Corley conducted an in camera review of the other types of memoranda Facebook's experts

               12   prepared in order to analyze privilege under the "primary purpose" and "because of" tests.

           13              5.      Facebook respectfully asks the Special Master to reconsider his order that Facebook

           14       produce these materials. Facebook should not be ordered to produce additional types of memoranda

           15       that Judge Corley did not identify as potentially discoverable and for which Facebook has not had an

           16       opportunity to develop arecord demonstrating privilege. At minimum, Facebook must be provided an

           17       opportunity to submit briefing and an evidentiary record regarding its claim of privilege over

           18       memoranda prepared by its outside experts beyond those addressed by Judge Corley, as neither the

           19       parties nor Judge Corley have ever previously addressed these materials.

           20                                                  CONCLUSION

           21              Facebook respectfully asks the Special Master to reconsider his ruling. In the event that the

           22       Special Master does not reconsider or modify the Tentative Order, Facebook respectfully requests a

           23       stay of the order pending appeal to Judge Corley. Facebook requests ahearing on this motion.

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                    Dated: December 15, 2021              GIBSON, DUNN & CRUTCHER, LLP

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           21                                             Attorneys for DEfendant Facebook, Inc.

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                8
                                                  UNITED STATES DISTRICT COURT
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                                                NORTHERN DISTRICT OF CALIFORNIA
                                                     SAN FRANCISCO DIVISION
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               11
                    IN RE :FACEBOOK,INC. CONSUMER                    CASE NO. 3:18-MD-02843-VC
                    PRIVACY USER PROFILE LITIGATION
               12
                                                                     DECLARATION OF ALEXANDER
                                                                     SOUTHWELL IN SUPPORT OF
           13
                                                                     FACEBOOK'S M OTION FOR
                    This document relates to:
                                                                     RECONSIDERATI ON
           14

           15       ALL ACTIONS .

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                1           I, Alexander H. Southwell, hereby declare as follows:

                            1.          Iam an attorney licensed to practice law in the State of New York. Iam apartner with

                3
                    the law firm of Gibson, Dunn & Cruteher LLP. Isubmit this declaration in support of raccbook'5
               4
                    Motion for Reconsideration. Imake this declaration on my own knowledge, and Iwould testify to the
                5
                    matters stated herein under oath if called upon to do so.
                6

                7           2,          1led the Gibson Dunn team engaged to develop and conduct the App Developer

                8   Investigation ("ADI"), and my team worked with                         and                  to investigate

                9   millions of apps as part of the ADI.

               10
                            3.          On December 8, 2021, the Special Master ordered Facebook to produce on arolling
               11
                    weekly basis various materials created as part of the ADI, including "all memoranda prepared by
               12
                                   or                  and all background reports, technical reports, audits, and non-attorney
               13
                    developer interviews in connection with the ADI." Order IT 13. The Order requires Facebook to begin
               14

               15   its productions of materials with those relating to apps for which audits and/or non-attorney intervicv,

               16   are available. Id.

               17           4.          When discussing "memoranda" prepared by                     or                  at IlL

               18
                    hearing on December 4, 2021, we discussed the background and technical reports prepared by 1.
               19
                                                       which Judge Corley had ordered produced for six apps in her September
           20
                    8, 2021 Order. We did not discuss any other categories or types of "memoranda," largely because that
           21
                    was not part of Judge Corley's erder. Other memoranda created byl                     and
           22

           23       contain privileged information and attorney work product, and were drafted under the specific direction

           24       of Gibson Dunn for the purposes of allowing Gibson Dunn to assess and advise Facebook on potential

           25
                    legal risks.
           26
                            5.          The Special Master's order instructs Facebook to produce materials on arolling basis
           27
                    each week, but does not state when those productions are to begin. Facebook would need at least three
           28


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                I   to five weeks to begin producing an initial collection of the materials described by the order—including

                    background and technical reports and audits and interviews conducted by non-attorneys.              These
                3
                    materials arc not currently collected in adocument-review platform. Collection of these materials
               4
                    would likely require multiple weeks to complete arid may involve collecting from varied document
                5
                    repositories, sources, and custodians. Then they would need to be transferred into adocument-review


                7   platform. Uploading the background and technical reports to adatabase for review on arolling basis

                8   would likely require at least two-four days to complete for each group of documents collected from

                9   particular repository, source, or custodian.

               10
                           6.      Once the materials are uploaded to areview platform they will need to be reviewed.        I
               11
                    believe there are              ackground reports and          technical reports, each of which varies in
               12
                    length from dozens to many hundreds of pages. ALM materials are nuanced and unique, and Facebook
               13
                    will need to staff and train areview team to review them.      It would likely take at least two to three
               14

           15       weeks to recruit and train reviewers (it will be more difficult to recruit and staff reviewers around thk.

           16       holidays) and then for them to review the first set of materials required for production under the Special

               17   Master's order. Additional time will likely be required to recruit and train areview team with enough

               18
                    members to review the substantial volume of total reports. Iam informed and aware that, at the same
               19
                    time that this review would be conducted, Facebook is separately completing areview of many millions
           20
                    of documents in connection with other document requests that have been issued in this case. This
           21
                    separate review places further constraints on the resources of our vendors, the senor attorneys who are
           22

           23       needed to manage and quality check the review, and the in-house attorneys at Facebook. In total, a

           24       preliminary estimate, without the benefit of testing and subject to change, is at least three months to

           25
                    complete areview of all of the background and technical reports (once the reviewers begin), even if
           26
                    we are able to recruit and train areview team of say thirty attorneys.
           27

           28



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                           7.      The tentative order further states that "within five days of receiving the first rolling

                    production from Facebook, Plaintiffs may request all non-attorney internal Facebook communications

                    communications with                     or                   or communications with third party app
               4
                    developers in connection with a statistically significant sample of the reports provided," and that
                5
                    Facebook must provide such communications within ten business days. Order 11 14-15.
                6

                7          8,      It would not be feasible for Facebook to produce all such communications within ten

                8   days of receiving such arequest. The ADI team did not collect and store communications organized

                9   by report. Providing communications in connection with agiven report created as part of the AD!

               10
                    would require Facebook to collect all ADI-related communications and then identify and conduct a
               11
                    careful analysis of whether each communication relates in any way to one of the reports. The time to
               12
                    complete this process would vary widely depending on the report and it could take weeks to identify
               13
                    and review communications related to arelatively simple report and far more for more complex reports,
               14

               15   as explained more below.

               16          9.      It is my understanding that the Special Master's order requires communications to be

               17   collected and produced from the 26 ADI-related custodians to which the parties agreed previously. The

               18
                    complete inboxes of these custodians have not been collected, except for the 3ADI custodians who are
               19
                    among the other 81 custodians in this case. These custodians' inboxes would need to be collected
           20
                    uploaded to areview database, and searched for ADI-related communications that rcfcr to any of thL
           21
                    apps referenced in the first set of reports Facebook produces.
           22

           23              10.     Under the Special Master's order, Facebook's first producion would                includL

           24       background and technical reports associated with apps for which Facebook al3o has audits and/or

           25
                    interviews conducted by non-attorneys.       There are             background and technical reports
           26
                    associated with the audits Facebook conducted that concern around
           27
                    apps. Given the quick timing of Facebook's reconsideration motion, we are continuing to assess what.
           28


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                     if any, interviews and related reports fall within the Order, which could potentially increase the number

                     of reports and associated apps.
                3
                            11.     Iestimate that reviewing ADI-related communications referencing the                  app.
                4
                     addressed by Facebook's audits alone, to identify any communications "in connection with" thL
                5
                     background and technical reports that address those apps, could take months.
                6

                7           12.     First, Iestimate the volume of communications would, at minimum, be in the order of

                8                                                           locuments. When Facebook previously collected

                9    and reviewed ADI communications associated with just six apps, the review involved approximately

               I()
                     6,000 documents.'    Irecognize that the tentative order contemplates production specifically of non-
               11
                     attorney internal Facebook communications or communications with Facebook's consulting experts.
               12
                     As apractical matter, this limitation would not significantly narrow the number of communication ,
               13
                     Facebook would need to collect and review.         In order to accurately assess which non-attorney
               14

               15    communications may be "in connection" with aparticular report, Facebook would likely need to assess

               16    most, if not all, ADI related communications regarding the apps referenced in each report to get afull

               17
                     picture of the work that went into each report and which non-attorney communications relate to that

               18
                     work. Put differently, understanding the context of isolated non-attorney communications will requirc
               19
                     assessing surrounding attorney communications that the Special Master has not ordered produced. My
           "0
                     team also found this to be true during the parties' prior sampling exercise for thz six exemplar apps.
           21

                     When we briefed to Judge Corley Facebook's claim of privilege over the 20 non-attorney


           23        communications Plaintiffs selected for review in camera, we frequently needed to review large number ,

           24        of attorney communications to understand the full context of non-attorney communications, and v,L

           25

           26
                      This number is distinct from the number of entries that appeared on Facebook's logs for two
           27         reasons. First, Facebook produced any non-privileged materials from that review. Second,
                      Facebook produced aseparate privilege log for each of the six apps that were part of the sampling
           28         exercise. When adocument referenced more than one of the six apps, it appeared on the privilege
                      log created for each app that it referenced.

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                1   referred Judge Corley to certain attorney communications to help her understand the context of the

                    non-attorney communications Plaintiffs had selected for her review. Dkt. 613 at 11-15,17-19.
                3
                           13.     Second, significant familiarity with the ADI would be required to review accurately
                4
                    whether communications were in connection with abackground and/or technical report. The ADI was
                5
                    complex and nuanced, and—in my experience and professional judgment—only attorneys who worked
                6

                7   on the ADI would be able to accurately review communications to determine if they were "in

                8   connection with" aparticular background or technical report. Communications in connection with a

                9   report often times would not say so explicitly and may not even explicitly reference the ADI.

               10
                    Conversely, apps and developers that were the subject of abackground or technical report created as
               11
                    part of the ADI will commonly appear in communications with ADI custodians that were not in
               12
                    connection with an ADI background and/or technical report.        To understand whether particular
           13
                    communications were "in connection with" areport, the reviewer will need to understand the context
           14

           15       of each report, the types of communications that may have occurred around each individual report

           16       (which would have varied based on the circumstances), and be able to distinguish carefully among

           17       ADI-related communications that were related to reports, ADI-related communications that were not
           18
                    related to reports, and communications about apps addressed by reports that were not related to ADI at
           19
                    all.
           20
                           14.     For example, because the ADI covered millions of apps, many of which were active on
           21
                    the Facebook Platform while the ADI was ongoing, communications from different Facebook
           22

           23       stakeholders about and with developers of these apps would have been                 common.     Such

           24       communications would likely have included some of the ADI custodians, but many of even these

           25
                    communications may not have been related to the ADI but instead would have been related to other
           26
                    Facebook purposes and initiatives. Reviewers with deep, personal knowledge of the ADI would be
           27
                    needed in order to accurately distinguish these materials.
           28


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                           15.    There are currently two Gibson Dunn associates who have the required familiarity with

                   the AIN to conduct this review accurately. Two other attorneys who have the requisite familiarity to

                   conduct this review are on leave and will not return to the firm until at least late January.
               4
                           16.    Moreover, many, if not most, ADI related communications "in connection with" a
               5
                   background or technical report, would contain attorney advice or attorney work-product that would
               6

               7   need to be reviewed carefully for privilege, redacted, and carefully quality checked for accuracy and

               8   consistency across communications. Gibson Dunn reviewed and relied on background and technical

               9   reports to create work product and provide legal advice to Facebook and to direct                      and

           10
                                    to take action in furtherance of the investigation for the purpose of assessing litigation
           11
                   risk. Communications "in connection with" background and technical reports in most cases will relate
           12
                   directly to Gibson Dunn's work-product and advice.
           13
                           17.    More than 300 Gibson Dunn attorney hours were spent to collect, review, produce, and
           14

           15      log documents and communications for the six exemplar apps. More than 90% of that time was from

           16      attorneys with deep, personal familiarity with ADI. The privilege logs that Facebook prepared for just

           17      6 apps, contained more than 6,000 entries.        Conducting a similar review for lapps could

           18
                   potentially require Facebook to logs                                     documents and require hundreds
           19
                   of thousands of attorney hours (accounting for many mill ions of dollars of billable hours) to complete.
           20

           21

           22

           23             Ideclare under penalty of perjury under the laws of the United States of America that the

           24      foregoing is true and correct. Executed on December 15, 2021 in New York, New York.

           25

           26

           27


           28
                                                                                    Alexander H. Southwell



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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



                                           MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,           CASE NO. 3:18-MD-02843-VC-JSC

                                           HON. VINCE CHHABRIA
This document relates to:                  COURTROOM 4— I7TH FLOOR
                                           SPECIAL MASTER: DANIEL GARRIE ESQ.
ALL ACTIONS
                                           ORDER REGARDING PRODUCTION OF
                                           ADI RELATED DOCUMENTS




              ORDER REGARDING PRODUCTION OF AD1 RELATED DOCUMENTS

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                                           BACKGROUND

        1.       On September 8, 2021, Judge Corley issued an order granting Plaintiffs' motion

to compel the production of materials in connection with Facebook's app developer investigation

("ADI") that involved areview of all "apps that had access to large amounts of data before [Fa-

cebook] changed [its] platform policies in 2014." See https://aboutib.com/news/2019/09/an-up-

date-on-our-app-developer-investigation/.

        2.       Pursuant to the order:

                 In light of Facebook's unchallenged public proclamations as to the business
                 purpose of the AD!, the Court finds that the ADI served adual purpose and
                 that, as ageneral matter, documents generated as part of that investigation
                 were not created because of litigation. On or before September 21, 2021, Fa-
                 cebook shall produce the background and technical reports, audits and devel-
                 oper interviews of the six exemplar apps chosen by the parties as Facebook
                 has offered no special reasons why those particular documents are privileged
                 other than what has been addressed. The parties shall work with the Special
                 Master regarding production of additional materials consistent with the guid-
                 ance offered by this Order. See Exhibit A (Order Granting Motion to Compel
                 AD! Materials).

        3.       According to Judge Corley's order, Facebook produced 11 documents related to

the ADI. Following this production, Plaintiffs raised multiple issues in connection with Face-

book's ADI production and requested "all memoranda prepared by                          and/or

             related to ADI of all apps it investigated or investigated at Facebook's direction, the

background and technical reports, audits, and developer interviews, and internal Facebook com-

munications regarding these materials (including those pertaining to the six exemplar apps)." See

Exhibit B (Plaintiffs' Email of September 24, 2021).

        4.       The parties subsequently met and conferred regarding Facebook's ADI produc-

tion, but were unable to resolve the outstanding issues.




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         5.    On October 26, 2021, Special Master Garrie issued Order Regarding Outstanding

AD! Issues which ordered the parties to provide summaries of the outstanding ADI issues and

the parties' respective positions.

        6.     On October 22, 2021, Plaintiffs submitted their initial statement. Plaintiffs argue

that pursuant to Judge Corley's order, Facebook should produce the following in connection with

the ADI: (1) all memoranda prepared by                       or ==n; (2) all background

reports, technical reports, audits, and developer interviews; (3) all internal Facebook communica-

tions relating to items 1and 2; (4) all communications with                  or

related to items 1and 2; and (5) all communications with third-party app developers. See Exhibit

C (Plaintiffs' Statement Concerning ADI Issues in Advance of Hearing). Plaintiffs also argued

that Facebook's production of 11 reports relating to the six exemplar apps pursuant to Judge Cor-

ley's order was incomplete because Facebook's privilege logs include references to additional

reports relating to these apps that were not provided. Id.

         7.    On October 22, 2021, Facebook submitted its initial statement. Facebook argues,

among other things, that (1) Facebook produced all documents ordered by Judge Corley; and (2)

the five categories of ADI-related documents Plaintiffs request go beyond the scope of Judge

Corley's order. See Exhibit D (Facebook's Supplemental Submission Re: ADD.

         8.    On November 4, 2021, Plaintiffs submitted their response. Plaintiffs argue, among

other things that (1) Facebook should produce additional reports regarding the six exemplar apps

because additional reports were identified in Facebook's privilege logs; and (2) Facebook failed

to show how the five categories of ADI-related documents Plaintiffs request are not "consistent

with the guidance offered by" Judge Corley's order. See Exhibit E(Plaintiffs' Response Re

ADI),




                                                  2
               ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS

                                                                                                     0036
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        9.     On November 4, 2021, Facebook submitted its response. Facebook argues, among

other things that (1) Facebook's production pursuant to Judge Corley's order is complete; (2)

Plaintiffs' requests for all reports and memoranda for all apps or developers investigated in

phases two or three of the ADI and beyond the scope of Judge Corley's order; and (3) there is no

basis for Plaintiffs to request ADI related communications because Judge Corley previously re-

viewed these communications in camera and did not order the production of such communica-

tions. See Exhibit F(Facebook's Response Re: ADI).

        10.    A hearing was held on December 4, 2021, regarding the parties' submissions and

other information related to the ADI issues.

                                           FINDINGS

        11.    Special Master Garde finds that Plaintiffs' requests for all memoranda prepared

by                 or                 and all background reports, technical reports, audits, and

developer interviews in connection with the ADI are within the scope of Judge Corley's order as

the order explicitly includes these categories of documents. See Exhibit A ("Facebook shall pro-

duce the background and technical reports, audits and developer interviews of the six exemplar

apps chosen by the parties").

        12.    Special Master Garrie fmds that Judge Corley's order does not exclude non-attor-

ney internal Facebook communications, communications with                       or


     or communications with third party app developers from the scope of ADI documents to be

produced, but rather only addresses reports, audits, and interviews. Id. at 6("The documents dis-

cussed in this Order—background and technical reports, audits, and interviews prepared and con-

ducted by non-attorneys—are work product, not attorney-client privilege material."). As aresult,




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Special Master Garrie finds that additional information regarding the relevance of such commu-

nications is necessary to determine whether such communications should be produced.

                                                  ORDER

          13.        Facebook is to produce, on arolling weekly basis, all memoranda prepared by

                     or                 and all background reports, technical reports, audits, and non-

attorney developer interviews in connection with the ADI. 1Such production is to begin with the

reports for which related audits and non-attorney interviews are available.

          14.        Within five days of receiving the first rolling production from Facebook, Plain-

tiffs may request all non-attorney internal Facebook communications, communications with!.

                or                   or communications with third party app developers in connection

with astatistically significant sample of the reports provided.

          15.        Within ten business days of receiving the request for communications from Plain-

tiffs, Facebook is to provide such communications for the reports selected by Plaintiffs.

          16.        After reviewing the communications from the sample of reports, Plaintiffs may

request additional ADI related communications upon ashowing that the communications are rel-

evant.




IT IS SO ORDERED.




         December 8, 2021                                               F
                                                          Daniel Garrie
                                                          Discovery Special Master




IFacebook is to update any applicable privilege logs as appropriate pursuant to the Privilege

Protocol.


                                                      4
                     ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS

                                                                                                          0038
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                      EXHIBIT B
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                          UNITED       STATES    DISTRICT           COURT


                         NORTHERN DISTRICT             OF    CALIFORNIA


Before    The   Honorable        Jacqueline       Scott       Corley,       Magistrate          Judge


IN RE    FACEBOOK,       INC.,    CONSUMER
PRIVACY USER       PROFILE
LITIGATION.
                                                            NO.    18-md-02843       VC    (JSC)




                                          San    Francisco,          California
                                          Tuesday,          April    6,   2021



                TRANSCRIPT        OF    PROCEEDINGS          BY    ZOOM WEBINAR



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                (APPEARANCES       CONTINUED       ON FOLLOWING             PAGE)




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                       Official    Reporter




                                                                                                        0040
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16
     Also    Present:             Judge    Gail       Andler,    JAMS
17                                Discovery Mediator


18


19


20


21


22


23


24


25




                                                                                                 0041
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 1   Tuesday - April       6,   2021                                    9:00 a.m.


 2                                PROCEEDINGS


 3                                        ---000---


 4               THE CLERK:       Court   is now in session.          The Honorable


 5   Jacqueline    Scott    Corley presiding.


 6        Calling Civil action 3:18-md-2843,                In Re Facebook,        Inc.,


 7   Consumer Privacy User Profile Litigation.


 8        And you can start.


 9               MR.   LOESER:     Good morning,        Your Honor.     Derek Loeser


10   from Keller Rohrback with Can                 Laufenberg,    David Ko,   and Chris


11   Springer also      from Keller Rohrback.


12               THE COURT:       Good morning.


13               MS.   WEAVER:     Good morning,        Your Honor.     Leslie Weaver


14   of Bleichmar,      Fonti    & Auld with Matt Melamed and Anne Davis.


15               THE COURT:       Good morning.


16               MR.   SNYDER:     Good morning,        Your Honor,    and good


17   morning,    Judge Andler.         This   is    Orin Snyder    from Gibson Dunn.


18   With me on the Zoom conference                are Deborah Stein,    Russell


19   Falconer,    and Martie      Kutscher Clark.         I think that's      it   for our


20   group.


21               THE COURT:       Yes.    That's all      I see.     Good morning.


22               MR.   SNYDER:     Good morning.


23               JUDGE ANDLER:         Good morning,      Your Honor.     Gail Andler


24   from JAMS.


25               THE COURT:       Good morning,        Judge Andler.




                                                                                             0042
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 1           All right.        So I understand,     Judge Andler,    you have agreed

 2   to assist       the parties with mediating their discovery issues,


 3   and so thank you everyone for your statement.

 4           Let me give you sort of my thoughts as sort of when I

 5   threw out       there this     somewhat novel    idea of a discovery

 6   mediator -- maybe not           so novel;    maybe you've done that before,

 7   Judge    -- what    I envisioned.

 8           So I didn't appoint a special master.               I sort of   see

 9   Judge Andler's          role more akin to when the parties choose

10   private mediation --           right?    -- you choose a private mediator to

11   help you resolve the entire case.               Instead,    here the parties

12   have    selected a private mediator to help you resolve all those

13   little battles          in the bigger case;     right?     So the discovery

14   dispute is       sort of a small battle in there.

15           So    I don't    --   I want us to keep those roles the same so I

16   don't want recommendations              from Judge Andler or anything like

17   that.        I think that actually in some ways would make it harder

18   for her to do her job because then the parties would be                   sort of

19   posturing to get a recommendation out of her as well as

20   everyone having confidential,             very candid,     open communications

21   allowing her to use her experience to help you sort of come up

22   with a resolution.

23           And then in addition,           the request about    setting the rules.

24   So when parties choose private mediation,                the judges,    we're not

25   involved in any way other than we try to make                 sure the parties




                                                                                         0043
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 1   have the discovery that they need to have a meaningful

 2   mediation;    right?    So I leave that to Judge Andler.      If she's

 3   going to say to a party,      "You need to have such and such here,"

 4   I assume you will follow that because you-all retained her

 5   because you actually want to move the discovery process

 6   forward;    but   I really just view it just like a private mediator

 7   except that she's mediating the discovery disputes.

 8        And to that end,      then,   I would also think that just    like

 9   when I serve as a settlement judge,        I don't have any

10   communications with the trial judge about the case unless           I

11   have the parties'      consent.    So I would assume she may have

12   communications with me,      but it would be with the parties'

13   consent.

14        And it could be something --        I would expect it would be

15   things    like,   "Judge Corley,   the parties are going to -- we

16   weren't able to resolve this dispute.        We narrowed it.      It's

17   going to be presented to you in this        format.   What do you think

18   about that?"      Maybe or not.     It's completely sort of up to all

19   of you and Judge Andler how to do that,        but that is also

20   another role is when you're unable and you're still at impasse

21   on something,     she can then help you figure out     -- because we

22   often have a lot of discussions just how it's going to be

23   presented,    that she can help you figure out how to present it:

24   Timing,    page length,   all those kinds of things.

25        And as you know,      I've signed every stipulation you've




                                                                               0044
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 1   submitted to me.         If you submit me a stip,          I will sign it.          If

 2   you come to agreement with her,             I'll sign it,     unless    it's,

 3   like    --    it's going to be 50 pages.          Well,   1 might    sign it,      but

 4   I probably won't        read it all.

 5           So that's sort of how I see that.              And I thought what

 6   might be helpful now is to go through the parties'                    statement,

 7   and there are a couple things             I think I need to rule on but

 8   then sort      of give you examples of how I think Judge Andler may

 9   help you address        those things      so that    I don't have to then

10   rule.

11           And one reason why is          it will be much faster that way,             and

12   also it will be more accurate because you-all know your case

13   and what's going on so much better than I do,                 and Judge Andler

14   is going to know it as well because               she's going to have the

15   privilege of        spending more time with you.

16           So,   anyway,   does anyone have any just         thoughts?      So that's

17   sort    of my thoughts.        You wanted some guidance.            Those are my

18   thoughts.

19                 MR.   LOESER:    Sure.     Thank you,    Your Honor.      We

20   appreciate the guidance.            I think it's helpful       for the parties.

21           I will say from the plaintiffs'             perspective,     the requests,

22   and some of which you went             through,   were made based on the

23   notion that we want           to make sure that Judge Andler has             the

24   authority and the tools that are helpful and necessary to move

25   disputes      forward because what we really don't want to have




                                                                                               0045
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 1   happen is to end up sort of           stimied at this turn or stimied at

 2   that turn;      and if Judge Andler simply had some other tool that

 3   she could utilize to move the parties             forward,   that that would

 4   be provided.

 5           So,   for example,      requiring the parties to have someone

 6   with authority attend,           if what you're saying is that's really

 7   up to Judge Andler,           if that's something she wants to request,

 8   she can,      then I think that that's helpful.

 9           Similarly,     if Judge Andler finds herself         in the midst   --

10   and I'm sorry for speaking as           if you're not there --

11                 JUDGE ANDLER:      That's all right.

12                 MR.   LOESER:     -- obviously you are,    Judge Andler --     in

13   the midst of a dispute that's highly technical,                she may find it

14   useful to have someone with some technical expertise come on

15   board to help get through that dispute.

16           And so really what we're saying is          if   it's okay for

17   Judge Andler in her role as discovery mediator to utilize to

18   ask the parties        "Please do this and please do that,"         and that

19   that can be brought to bear,           I think that would be very helpful

20   in moving disputes past everyone's just disagreeing to actually

21   getting to resolution.

22                 THE COURT:      Yeah.   I mean,   I assume you-all,    when I

23   threw out      that   idea,   you-all actually pretty readily agreed to

24   it of a discovery mediator because you want the process to

25   work.




                                                                                       0046
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 1           But    it    is a voluntary process just          like private mediation.

 2   It's a voluntary process,                but you-all selected Judge Andler


 3   because of her,             because    I looked,   her tremendous expertise and

 4   knowledge;          that,   you know,     I assume that    if she asks    for

 5   something,          you'll do it because that's why you selected her

 6   because you actually want to try to move things                     forward a

 7   little faster and more smoothly than I'm able to help you do.

 8                 MR.     SNYDER:       Thank you,     Judge Corley.

 9           Nice to meet you,             Judge Andler.     This   is Orin Snyder from

10   Gibson Dunn.

11           Lawyers always say we're delighted to have you help us

12   reach agreement on discovery disputes,                   but   in this case     it   is

13   heartfelt and sincere because                I can say,    and Judge Corley would

14   attest,       this has not been the finest moment               in efficient

15   discovery process,             and so we truly do welcome your involvement.

16           And our goal          is to resolve every discovery dispute without

17   having to hopefully bother Judge Corley again.                      She's been

18   incredibly patient,             and both parties understand why she made

19   the suggestion.              This   is a case that     taxes   the federal

20   judiciary in a way that's not                fair to other litigants and other

21   parties.        So having a voluntary mediator like you is really the

22   best    outcome that we can imagine here so we're looking forward

23   to    it.

24           And we also agree that you should work with us                   to develop

25   the most flexible,             efficient,    fluid,    fair,   reasonable,




                                                                                               0047
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 1   pragmatic approach to get us there;             and so we're in your hands

 2   to help us figure that out but,            you know,   we want to roll up

 3   our sleeves and get discovery done.              It's very costly.   We have

 4   a hundred people reviewing documents as we speak.               We want to

 5   get to the       finish line so we can get to the next stage of the

 6   litigation;          and with your help,   we're confident that we'll do

 7   that so we look forward to that.

 8                  THE COURT:     So if we can go through some of the

 9   issues,    and then I'll          just sort of suggest where I think -- and

10   it's completely up to you guys and Judge Andler,              but where she

11   might be able to assist.

12        So one of the issues is the document production.                I

13   understand that Facebook proposed a schedule I think very

14   recently.        But,    again,    that's something she can set up a

15   discovery mediation with the parties to sit down,              and really I

16   think setting some deadlines would be very useful,              and can talk

17   to you about what's realistic and how to get it done and

18   priorities and those kinds of things and hopefully work out

19   some schedule.

20        And even Facebook raised an issue of              there being a lot of

21   nonresponsive hits that may also be something that she could

22   work with all the parties in coming up with something that

23   maybe reduces that that everyone's comfortable with.

24        The great thing about having a neutral that you trust               --

25   right?    --    is    the neutral can sort of look under the hood and if




                                                                                    0048
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 1   the neutral tells one side or the other something,                       you have

 2   confidence in her that           it's    -- you don't just have to rely on

 3   the other side;         right?   That's the nice thing about a neutral.

 4   So I'm hoping that we can work out some deadlines there so we

 5   can really get          that discovery completed.

 6           The same thing with respect            to,   you know,    the 30(b)(6)

 7   depositions.        So what I envision is            -- again,   these are just

 8   suggestions,       I'm not ordering anything,            which is,      you know,

 9   you'll have these regularly scheduled discovery mediations and

10   you'll have these agendas.              One   is the 30(b) (6).         I think what

11   plaintiffs       say and Facebook says         sort of didn't meet         in your

12   statement       about what each side's position is;              but,    again,    she

13   can sit    there with you and help you get it out,                 get whatever

14   documents you want or not and if               it's not,      then get    it

15   presented to me some way.

16           Let's    see,   a couple other things          that   I think maybe.        One

17   is   the testimony --        sworn testimony and written discovery from

18   the regulatory action.           So let me ask Facebook.             With respect

19   to the transcripts that you've agreed to produce,                       have you

20   identified for plaintiffs who those are that you have the

21   deposition or sworn transcripts?

22               MR.    FALCONER:      I'm not     sure that we have,         Your Honor,

23   but we'd be happy to.

24               THE COURT:        Yeah.     So I think you should do that

25   within the week as well as              identify those that you're




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 1   withholding;     right?

 2              MR.   FALCONER:     From the noncustodians?

 3              THE COURT:       Yeah.    I mean,    I don't   --   I'll   just tell

 4   you my view,     which is    if they gave testimony that's relevant to

 5   the issues    in this case,     then it would be discoverable absent

 6   there being some other reason why.              It would be relevant.              And

 7   I don't know --     I know it's not deliberative process privilege

 8   so we already went through that before.

 9        But at a minimum within a week identify who you're

10   producing when and identify who you're not producing.                       And,

11   again,    that can go on your agenda,          and I've given you some

12   guidance with respect to that.

13        I don't know with respect to the             -- yeah.

14        Then there's     the issue of the letters.           And I don't

15   know --    I don't know,     like,   what   the plaintiffs mean by


16   "discovery responses";        right?      So they've already produced the

17   documents,    for example,     that were produced to the FTC.                So by

18   "discovery responses,"        what   is   it that the plaintiff        is

19   referring to?

20              MS. WEAVER:       Good morning,     Your Honor.       Lesley Weaver

21   for plaintiffs.

22        We discussed this a little bit at the last hearing.

23   Instead of propounding formal written interrogatories,                      the FTC

24   asked questions,     substantive questions,           and requested in their

25   letters    sworn responses;     and we then      --   in the last hearing you




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 1   told us to identify those letters and Facebook should produce

 2   the responses.           So we've identified the letters,      but we have

 3   not received the responses.

 4                  THE COURT:     Okay.

 5           All right.       And what is Facebook's position on that?

 6                  MR.   FALCONER:   So we received plaintiffs'      requests.

 7   We don't have an exact number,            but    it's 100 to 200 questions

 8   that they've asked for responses            for.     It's taking us   some time

 9   to gather the responses and then assess them for the same kinds

10   of    issues that we talked about at the hearing last time with

11   Your Honor.          So we are   in the process of doing that and happy

12   to confer with plaintiffs once we've completed --               just once we

13   have our arms around what did they ask for,              what do the

14   responses       look like,    how much of   it    is responsive or

15   nonresponsive.

16           And,    again,   you know,    we understood the Court to say

17   "Let's get kind of a narrowed request               from plaintiffs and then

18   the parties can meet and confer about what               should be produced

19   and what shouldn't";          and we think that's the kind of thing that

20   we could perhaps hopefully work through with Judge Andler on

21   some of the questions go outside the bounds of the case,                 some

22   of them are within;          you know,   what's a fair kind of reasonable

23   proportional scope of production kind of balancing relevancy

24   and burden concerns.

25                  THE COURT:     Well,   I don't know that there's going to




                                                                                        0051
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 1   be a great deal of burden if we're only talking about                        100 or

 2   200 questions and the answers;              right?       So I don't know that

 3   there's burden.

 4         You had raised before confidentiality issues or things.                              I

 5   don't know that that applies either.                    I think it might be

 6   Facebook's confidentiality in which case then it can be

 7   produced subject      to a protective order.                  So I think we need

 8   something a little bit more definitive in terms of timing.

 9         When did they provide you with the questions that they

10   wanted Facebook's      responses      to?

11               MR.   FALCONER:       My memory is maybe it was March 22nd,

12   but   I'm going by memory so don't quote me on that.

13               THE COURT:      Oh,    all right.          Does    that   seem about

14   right?

15               MS.   WEAVER:     Yes,   Your Honor.

16               THE COURT:      Okay.     All    right.       So not      tremendously

17   long ago.

18         All right.      Put that on your agenda then.

19               MR.   LOESER:     Your Honor,         if   I may,    just very briefly,

20   as you well know,      we keep having arguments about relevancy and

21   scope;   and so I would just ask if with that example of                      these

22   letters and everything else,           if Facebook is going to be

23   withholding based upon some scope or relevancy contention,                           that

24   they tell us what      it   is so that       if    it's problematic,        we can

25   bring that to Judge Andler or to you if                   it    is a problematic      --




                                                                                                     0052
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 1                 THE COURT:        You identified the questions,            the    100    to

 2   200 questions,         that you want whatever Facebook's response was


 3   to the FTC.          So they need to tell you          "We're producing these

 4   responses";         and if there's       some that    they're not,      they have to

 5   identify specifically            "We're not"       and for what      reason.

 6                 MR.    LOESER:     Okay.     Thank you.

 7                 THE COURT:        That's what you mean;         right?     Yeah.        No,

 8   they have to do that.

 9                 MR.    KO:     Your Honor,    David Ko.

10          Just    to follow-up on that,            does your guidance at          the

11   previous hearing with respect to the related deposition

12   transcripts         in which you suggested that            really they should only

13   be redacting for confidentiality and privilege grounds,                             does

14   that   same guidance apply with respect                to these written

15   responses      as well?

16                 THE COURT:        Yes.     I mean,    right,   there's going to be a

17   protective order.             You can only use it for purposes of               this

18   litigation and all those kinds of things,                    they can be produced

19   to that;      but,    yes,    just    like regular    --   that's    just what we do.

20   We don't redact            for relevance.

21                 MR.    KO:     Thank you,    Your Honor.

22                 THE COURT:        All    right.    I guess,    let's    see,   another


23   issue that      I think would be terrific or might be helpful                        for

24   you to work with Judge Andler is                 there's the issue as          to

25   whether Facebook has responded completely to the question of




                                                                                                  0053
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 1   identifying all companies that Facebook agreed to exchange

 2   information with,             and there's a dispute arising out of what was

 3   testified to at the 30(b)(6).

 4           That,       to me,    seems like an issue that        --    right?    -- you can

 5   show Judge Andler,             "Here's    their deposition --        here's

 6   Judge Corley's ruling,             here's    the deposition testimony,           and

 7   here's    sort of"       --    then the parties can just           say what    their

 8   position is and she can help you work through it;                       right?

 9           I mean,       my hope    is,    like with all mediators,        that you take

10   to heart       --    when they have a view of something,              that you take

11   it    to heart and your position -- you may disagree or disagree,

12   but    it may help shape your position somewhat and she may have

13   compromises or things             in mind and creative things.

14           Okay.        And then you agreed on all the search terms.                     Thank

15   you.

16           Just    so you think,          Judge Andler,   they don't agree on

17   anything,       they do,      and actually have worked quite hard.

18                  JUDGE ANDLER:           Excellent.

19                  MR.    LOESER:     And we agreed on Judge Andler,

20   Judge Corley.

21                  THE COURT:       And Judge Andler,      yes.

22                  JUDGE ANDLER:           Thank you.


23                  MS.    WEAVER:     In less    than a year.

24                  THE COURT:       Yeah.      That actually was pretty quick.

25           So now I'd actually like to talk to you about,                       unless




                                                                                                    0054
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 1   there's       anything else,                about    the ADI          documents,          the    app


 2   developer       investigation documents.


 3           And    sort    of       let me       tell    you what             my thinking is          about


 4   that,    and    I did review the Massachusetts                                  Supreme    --    the    Supreme


 5   Judicial       Court       --    I can't          remember       --       the    highest       court    of


 6   Massachusetts          decision;             and my view             is          and also       I think       I


 7   have    the benefit,             which they didn't                   have,       at    looking at       some


 8   documents       in    camera          --    my view       is,    and this             is what    I'm going


 9   to    tell    you my tentative view is,                         is    that       certainly the


10   investigation was                done       in anticipation of                   litigation,       but       also


11   I can't       conceive          of    how    it   wouldn't           have been done otherwise                     as


12   well;    right?


13           I mean,       Facebook wasn't                going to             let    --    well,    because       they


14   said it.        When       they said to             the public             and    to    their users


15   "We're       doing    this       to protect you,"                they didn't             say    "But    our


16   primary purpose was                   to protect          our    shareholders";                right?


17           I mean,       if    they were             immune    from liability,                they    still


18   would have gone             and looked back even                      though the platform had


19   changed;       right?           There       are    some    apps       that       were    suspended


20   because       they were          --    or you       considered them to be bad actors                              or


21   concerned about             that,          and    I think that            would have been done.


22           All    that's       to       say,    though,       there          certainly are going                to be


23   documents       in    there          that    are,    A,    attorney-client                privilege;          or,


24   B,   attorney work product.                        For example,             if    Gibson Dunn made


25   edits    to    requests          for       information or those                   kinds    of    things,




                                                                                                                             HU-S-;
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 1    that's    classic work product               that's not going to be

 2    discoverable.              Any advice that was given is not going to be

 3    discoverable.

 4            But   in terms of        the ADI     team,    at    least    from what      I've

 5    seen,    it   looks        like a lot   of    that was      just generated there

 6    separate that may have             then been reviewed but would have been

 7    done anyway.

 8            But   also the way        I was      looking at      it   in looking through

 9    and looking at             those documents      is    that a lot of      it   I don't

10    think is      relevant        at all , and so what          I wanted to know from

11    plaintiffs       --    and this    I sort of was           thinking about      it    after

12    reading the Massachusetts               case where the AG did much more

13    targeted discovery,             and sort of get a sense              from the plaintiffs

14    because       I think this will be helpful.

15            Because       I'm afraid I'm just going to rule on these 20

16    documents      and then we're going to be back here with every

17    single document               I don't   think plaintiffs            need every single

18    document.        There's certain          information,        like you say,         that you

19    need and maybe it's not             even going to be privilege.                  There's

20    going to be other information that may be privilege and I

21    actually think you don't even need.

22            So what       is    it precisely that         the plaintiffs need from that

23    investigation?

')4                 MR.     KO:     Your Honor,      this    is David Ko.       I can speak to

25    that    first.
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    1           I think to directly answer that question,                  what we need and

        what we've asked for and what we've                  identified in our brief are

    3   the   facts underlying the             investigation that       relate to our

    4   claims,      and   in particular which apps were              in violation or       in

    5   potential violation of which Facebook policies and over what

        period of      time these entities were             in violation of these

    7   policies and the specific conduct                  that caused them to be         in

    8   violation.         And that's obviously relevant              to our claims

    9   regarding whether or not               Facebook allowed third parties to

10      access user information and whether Facebook properly monitored

11      the disclosure of            this    information as     they claim they did.

12              And so that         really relates big picture,          you know,    our

13      argument      that    the    facts underlying these communications are

14      what we're really seeking .               That    really I think responds         to

15      your question most directly.

16                   THE     COURT:     Right.     So you don't need to know --             you

17      don't need to know,            like,    when a request       for information was

18      sent.     I know you've been provided responses                  to those    so   I

19      don't    think I'm saying anything.               You don't     even know when it

20      was   sent    or re-sent or when the             response was    received or any of

21      those kinds of         things.       You want     -- well,   you have been

22      provided with the            responses    --   right?   --   and the actual

23      requests      that    went    out.

7   4                MR.     KO:     Correct.

25                   THE     COURT:     And --    okay.




                                                                                                   (HIR
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 1           All right.       So let me hear from Facebook.      With that    in

 2   mind in terms of your privilege log,           how does that change that


 3   or does    it,    or maybe you already understood that?

 4               MS.    KUTSCHER CLARK:     Your Honor,    it's a little bit

 5   difficult because this          is the first time we're hearing this

 6   request.     To date we have never received an information

 7   request.     We just      received a request   for all of   the ADI


 8   documents.        So I think this    is definitely something we would

 9   need to think about a little bit more.

10           I think what might make sense is         if plaintiffs want to

11   issue a request,         then we can look at   it in context;    but what

12   was a little bit         tricky in the briefing was we were dealing

13   with a request for all of the ADI documents and then plaintiffs

14   said,    "Well,    give us the underlying facts,"      but we had never

15   received a specific request          for specific facts.

16               MR.    KO:   Your Honor,   I think that's a

17   mischaracterization.          I think we've asked repeatedly about this

18   information.        You know,   we've conferred about ADI,      as you know,

19   for well    --    almost over a year now and we presented these

20   issues    to Your Honor last June.        You know,   you accurately

21   ordered this privilege log to make sure that you had the proper

22   context.

23           And throughout      those discussions,   we have asked over and

24   over again that we obtain the actual facts underlying this

25   investigation;       and if   there's any doubt about this,      this   is




                                                                                     0058
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 1   obviously included in our briefing.                  We made it   clear that

 2   that's what we wanted in our briefing and,                 in fact,   we put       it


 3   in our proposed order.             So I'm a bit      surprised that

 4   Ms.   Kutscher Clark believes          that   this    is the first time that            --

 5                THE COURT:      All    right.    This    is good because      it's

 6   giving Judge Andler a hint of why I thought a discovery

 7   mediator would be useful.


 8          So    let me ask you this:        Do you need information,           then,

 9   about apps that were         investigated but         Facebook in the end took

10   no action against?

11                MR.   KO:    Yeah.    That's why I was very precise in

12   saying that there could have been a potential violation.                          We

13   need to know that         -- we need to know the thought process,                 if

14   you will.       I mean,    not    the privileged information but           to the

15   extent      there was an escalation but not an enforcement,                 that       is

16   still relevant because that            relates to whether or not           they're

17   actually and accurately monitoring the disclosure of this

18   information as they suggest.

19                THE COURT:      Okay.


20                MS.   KUTSCHER CLARK:       Your Honor,      I think we need an

21   actual discovery request.             I hear everything Mr.        Ko is    saying,

22   and of course we've discussed this extensively,                   but we do not

23   have any interrogatories asking for information like this.

24   Right now what       I'm hearing is      "We want all of the facts

25   underlying ADI,"         and that's a difficult         thing to respond to.




                                                                                                   0059
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 1           So I think this needs to start with an actual request in

 2   writing that we can look at and evaluate,                 and then we can

 3   narrow it from there.             But,   you know,   a request     for any

 4   information underlying ADI or,              for instance,    Mr.    Ko is saying

 5   any violation of a Facebook policy,               Facebook has a lot of

 6   policies.        Some of those policies might be relevant here,                 some

 7   of them might not be.             So I think we need to see an actual

 8   request that we can evaluate.

 9                 MR.    SNYDER:   Martie,     can I jump in here?

10           Judge,      we agree that a narrowing makes a lot of            sense and

11   we're asking for a discovery request not to have form over

12   substance or to delay but to facilitate and hopefully we can

13   cut through all this because I think what you said makes

14   absolute sense.

15           For    example,   we've already given them the suspensions

16   list.     That,      they have.     Escalations      -- you know,   a lot of the

17   escalations         involved my firm and legal advice;           some did,   some

18   didn't.        So if we see    -- you know,     "all the facts"       is very

19   vague.        We don't know what that means because we have thousands

20   of facts       -- millions of facts,        because we had investigators

21   looking at all myriad of things.               So as precise a request as

22   they can make,         then we can hopefully cut through a lot of this

23   and give them the nonprivilege stuff that is responsive and

24   relevant.

25           I mean,      we really want to get through this ADI piece,              but




                                                                                             0060
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 1   right now we're kind of              shooting in the dark because all           facts

 2   underlying the investigation,              having been involved in that


 3   investigation,            I don't know what    that means.       I really don't.

 4                  THE COURT:       That's not what       they're   --   I understand

 5   that.

 6           So then my next question is,              because you had suggested,

 7   I'm prepared then to rule on the motion but Facebook had


 8   said --       and,   as    I said,   my tentative view is I don't

 9   necessarily agree with the Massachusetts                  -- well,     I think we

10   all agree about the dual purpose doctrine and what the

11   Ninth Circuit rule is with respect                  to that.    The Massachusetts

12   court kind of         --   kind of applied the same rule.             I mean,   they

13   at one point did use the same rule,                  and without     really any

14   analysis sort of came to the conclusion that                    it was   -- well,

15   I'm not       sure what      it was.    I'm not     sure they were applying the

16   same rule as         the Ninth Circuit.

17           So    I'm prepared to issue a ruling,            but I wanted to ask

18   Facebook about what they're --              I don't know what more you would

19   say,    but    I want to make sure it's fair because I understand --

20   it's clear that this            investigation was set up with the intent

21   to make it privileged.               That's clear.      That's not dispositive,

22   but that's clear.             So given that,      I do want to make sure that

23   they are able to fairly present               it,    and so that's why --

24                  MR.   SNYDER:     Because   I would respectfully disagree

25   with the following:             I think that because when it was           set up,




                                                                                              0061
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 1   it was set up for the reason you said because we wanted to

 2   assure our users that the platform,           you know,   was safe and had

 3   been safe in the past,         but   it was not   set up so that we can --

 4   so that we can shroud it in a privilege.              It was set up      it

 5   was set up in a privilege way because we understood that to the

 6   extent we have to take enforcement action,             it would require,

 7   you know,    legal advice and the lawyers were embedded in and

 8   involved in,      you know,    hundreds and hundreds of decisions on a

 9   weekly,    daily basis about escalation,          about all manner of the

10   investigation.

11        So it wasn't just that           lawyers were put in to make it

12   privilege.        Lawyers were embedded in.        In fact,   we set up the

13   investigation because it required legal advice at every turn.

14               THE COURT:       That may be what you're saying.        I don't

15   know that    I have seen --       I don't know that    I have --

16               MR.    SNYDER:     I can --

17               THE COURT:        I don't know that I've seen that.       That's

18   why I want to ask:           Is there anything else that you want to

19   present in an admissible format as opposed to the attorney --

20               MR.    SNYDER:    Yes.   What   I would like to do,

21   Your Honor,       because my partner Alex Southwell was literally

22   living in Palo Alto with a number of my partners and associates

23   for weeks    if not months,       in the guts of this investigation,

24   again,    not as a fig leaf but as lawyers practicing law and

25   advising the client,          I think it would be helpful for the Court




                                                                                     0062
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 1   in its determination for us to put in an affidavit where we can

 2   outline in a nonprivilege way the extent to which legal advice

 3   was involved at every step in the investigation.

 4          That might even be helpful to the plaintiffs in then

 5   identifying what       it is they want to know because,       as    I said,

 6   all of the    -- all --    I don't know what percentage but a

 7   substantial number of the decisions made by the investigators

 8   on the field were made sitting next to lawyers,             texting,

 9   e-mailing with lawyers,       at every turn.     Hundreds    --    I haven't

10   seen our privilege log,       but it must be tens if not hundreds of

11   thousands of entries of iterative discussions between my team

12   and the investigators because they were living together for

13   months and months and months doing this investigation hand in

14   glove,    hand in hand,    shoulder to shoulder.

15               THE   COURT:   Yeah,   but don't   forget what the test is         in

16   the Ninth Circuit       is dual purpose and would the investigation

17   have occurred anyway;       and it's inconceivable to me that if

18   Facebook had been immune from liability,          that they wouldn't

19   have gone in and investigated the apps to see if there were any

20   other bad actors there.

21          That's just     -- that's just inconceivable to me that,          of

22   course,    they would have gone in and investigated those apps;

23   and,   therefore,    my view is that those facts discovered,           the

24   facts,    not the advice given,      the facts would be discoverable.

25   So I'm just       saying that's what my view is,    but   I will allow you




                                                                                          0063
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 1   to submit       an affidavit.

 2           And I know before I said no affidavits,                    but now having


 3   looked at       it all,      I think that that would be a mistake              --

 4                  MR.    SNYDER:       Thank you.

 5                  THE COURT:       --    an error on my part to rule

 6   definitively on that without doing that.                        And then,   of course,

 7   I'll    let    --    but,   as you said,       a nonprivileged affidavit.


 8                  MR.    SNYDER:       Yes,   Your Honor.

 9                  MR.    KO:   And,     Your Honor,     will we be allowed to

10   respond to that affidavit?

11                  THE COURT:       Yes.       You're going to get        to see it and

12   then you're going to get               to respond.

13                  MR.    KO:    Because I think just to preview what              -- you

14   know,    Mr.    Snyder,      what    I hear him saying is simply because of

15   the volume,          that   somehow this       is all privilege.        But as you

16   correctly pointed out,               both the dual purpose and the facts

17   underlying the investigation is what we are entitled to.

18           And it's clear --            I mean,    I get     --   I understand that    it

19   was a massive investigation,                 but   just    the sheer fact that      it

20   involved lots of            communications does not take away from the

21   fact    that we would be entitled to the underlying facts

22   regarding the escalation of                 these apps and the subsequent

23   enforcement to the extent that was done.                        And so that's what we

24   are seeking and I think it's pretty clear what we would be

25   entitled to here.




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 1               MS. WEAVER:       Your Honor,       if    I can --

 2               THE COURT:       That will shorten the privilege log if you

 3   only did the sample privilege log for six apps greatly;                     right?

 4   None of those e-mails about           "Are you available for this

 5   meeting?"    or   "Can we move it?"       or    "Should you change the weekly

 6   report so that      it has this information?"

 7               MR.   SNYDER:     No.

 8               THE COURT:       You don't need any of that;           right?    You

 9   just want the facts.          You just want what's          in the report.

10               MR.   LOESER:     Your Honor,       I'm going to raise my hand,

11   and I have a question about this affidavit.

12           And if the notion is that Facebook is going to submit the

13   affidavit of a lawyer,         I'm wondering how that works in this

14   case.     That would appear to,         then,    be a witness.

15           And one of the central claims            is a failure to monitor,          and

16   I'm a little --      I guess I'm confused as to how a lawyer

17   testifying in this action about the work that that lawyer did,

18   some of which would be privilege,               some would not,     wouldn't be a

19   waiver of the attorney-client privilege or at                    least introduce a

20   lawyer as a witness.          And I'm just throwing that question out

21   there wondering how that works.

22               THE COURT:       I don't know.           This is a perfect thing I

23   think for you-all to discuss with Judge Andler;                   right?    So --

24   and I appreciate,      Mr.    Loeser,    you being very candid about that.

25   Essentially you're,         like,   warning them,        "Just because we're




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 1   sitting here doesn't mean if you submit some affidavit,                      that

 2   we're not going to argue there's             some waiver."         And I

 3   appreciate you being transparent about that,                    and Facebook will

 4   have to think about that           -- have to think about that.

 5           And of course,     then,    there is the issue in Massachusetts

 6   the court did hold that it was work product but that,                      you know,

 7   the fact work product was discoverable in any event.                       And so

 8   maybe this is a way of working through that as well and getting

 9   that    information.     And you could,          for example,     show

10   Judge Andler a lot of those documents.

11               MS. WEAVER:      Your Honor,         and on a related note,       you

12   know,    to the extent that Facebook is raising as a defense in

13   this action to the negligence claims and the invasion of

14   privacy that they investigated and maintained users privacy,

15   we're entitled to discovery.            So it's akin to the waiver

16   argument but      it exists whether or not they put               in a declaration

17   by a lawyer.       If Facebook is going to rely on the investigation

18   as a defense,      we should get discovery of             it.

19               THE COURT:      Well,    that   is    --   sure.    Of course.    But   I

20   don't know if that's the case.              They'll have to make that

21   decision.       Yeah,   they'll have to make that decision.

22           Okay.    So there we are.       I've punted everything I think

23   except that within a week Facebook has to tell you which

24   deposition transcripts they're producing and which ones they

25   are not.




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 1        And,    Judge Andler,      it would be great      if you were able to

 2   join us on all of       these hearings.       I think that would be

 3   useful.

 4               JUDGE ANDLER:       I'd be happy to.       I just have to have

 5   notice so that my case manager can let the counsel in my

 6   arbitrations and mediations           that are scheduled through 2022

 7   know that we will have a later start              in those    sessions.   So it

 8   will be pretty easy for Matt to do that.               So if    counsel just

 9   give enough notice,         I'm happy to do that.

10               THE COURT:      And we'll be by video.

11               JUDGE ANDLER:      Great.

12               THE COURT:      For as    long as the Administrative Office

13   of the U.S.       Courts allow us     to be by video,    we will be by

14   video.

15               JUDGE ANDLER:      Thank you.

16               THE COURT:      So I'm hoping that will be permanent.

17               JUDGE ANDLER:      Thank you.

18               THE COURT:      So why --

19               MR.   LOESER:    A lot of people agree with you,

20   Your Honor.

21               THE COURT:      Yeah.    No,   I know.    Yeah.     I have a lot of

22   these cases right now that           I'm managing that have attorneys

23   from all across the country and it            just makes      so much sense,

24   unless you're an airline.

25        So shall we meet again in,            say,   three weeks you think?




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 1              MR.    SNYDER:        Sounds good.

 2              THE COURT:          Yeah.     How about April 27th?    And is

 3   8:30 better?

 4        Let me ask Judge Andler.               We can start earlier at    8:30   if

 5   that's better.

 6              JUDGE ANDLER:           That's usually much better for me if

 7   it's not   inconvenient          for counsel and the Court.

 8              THE COURT:           I think we've done that.      Why don't we do

 9   April 27th,      then,    at    8:30 a.m.     And I expect between now and

10   then you will meet and mediate your little cases.

11        All right.          Great.     Thanks,    everyone.    I hope you have a

12   vaccine plan if you don't already have a vaccine.                  Soon it will

13   be open to everyone.

14              ALL:     Thank you,         Your Honor.

15              JUDGE ANDLER:           Thank you,    Counsel,   and we will be in

16   touch so we can set            something up.

17                      (Proceedings adjourned at         9:37 a.m.)

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 I1




 3                          CERTIFICATE OF REPORTER


               I certify that the       foregoing      is   a correct transcript


      from the record of proceedings       in the above-entitled matter.


 6

 7    DATE:   Wednesday,   April   7,   2021


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11


12               Jo Ann Bryce,     CSR No.     3321,   RMR,   CRR,   FCRR
                               U.S.     Court Reporter
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                      UNITED    STATES    DISTRICT          COURT


                     NORTHERN DISTRICT          OF    CALIFORNIA


BEFORE   THE   HONORABLE     JACQUELINE       SCOTT    CORLEY,       MAGISTRATE       JUDGE


IN RE:   FACEBOOK,    INC.    CONSUMER           )
PRIVACY USER    PROFILE LITIGATION.              )     NO.    18-MD-2843       VC    (JSC)
                                                       San    Francisco,       California
                                                       Monday,       July    13,    2020


          TRANSCRIPT OF       ZOOM VIDEOCONFERENCE             PROCEEDINGS


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       (Appearances    continued,       next page)




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                                                                        0072
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 1   Monday   - July 13,       2020                                                  8:32     a.m.


 2                                PROCEEDINGS


 3                THE COURT:          Calling Civil Action              18-2842,    In Re


 4    Facebook.     Counsel,      starting with plaintiff,                 please    state your


 5    appearances.


 6                MR.   LOESER:        Good morning.             It's   Derek Loeser     for


 7    plaintiffs.


 8                THE COURT:          Good morning.


 9                MS.   WEAVER:        Good morning,         Your Honor.       Leslie Weaver


10    with BFA.     Anne Davis         and Angelica Ornelas               are with me.


11                THE COURT:          Good morning.


12                MR.   KO:     Good morning,         Your Honor.           David Ko,    Keller


13    Rohrback,    also on behalf         of plaintiffs.


14                MS.   LAUFENBERG:           And good morning,            Your Honor.       Can


15    Laufenberg on behalf            of plaintiffs.


16                THE COURT:          Good morning.          So,    for Facebook?


17                MS.   STEIN:        Good morning,         Your Honor.       I saw Orin


18    Snyder's    name up      a moment       ago,   but    it    looks    like he's    no


19    longer on this         screen.


20                THE CLERK:          I promoted him,            and I don't    see him.


21                MS.   STEIN:        I'm getting text messages               saying there         is


22    a little bit      of    a technical       error,      but    I think he'll be on


23    momentarily.


24                THE CLERK:          Okay.


25                MS.   STEIN:        Yeah.     He   says    it    says    "Waiting."




                                                                                                        0073
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 1          And,    this      is Deborah Stein for Facebook.                And I'm here


 2   with Martie      Kutscher Clark.             And hopefully Orin Snyder will be


 3   here   in a moment.             I'm not    sure;   maybe he     should disconnect         and


 4   try again.


 5          Do you think that's              the best    thing,     for him to hang up and


 6   try again?


 7                 THE CLERK:           Sure.     I mean,    as   soon as    I see his     name,


 8    I will promote him to a panelist.


 9                 THE COURT:          No apologies       needed.


10          (Off-the-Record discussion)


11          (A pause       in the proceedings)


12                 MR.     SNYDER:       (Inaudible)


13                 THE COURT:           Can't    hear you,    Mr.    Snyder.


14                 MR.     SNYDER:       Okay.     I apologize.        My iPad was      not


15    allowing me        to    connect,      so now I'm on my iPhone.


16                 THE COURT:          We    can see you now.


17                 MR.     SNYDER:       Okay.     Great.     Thank you      so much.      I


18    apologize.         I don't      know why.


19                 THE COURT:          Not     a problem.     Not    a problem.     Why don't


20    you go ahead and make your appearance;                      everyone     else has.


21                 MR.     SNYDER:       Okay.     Orin Snyder       for defendants,       from


22    Gibson Dunn.            Thank Your Honor.


23                 THE COURT:          We do have       a court     reporter this morning,


24    taking down the           transcript.


25          All    right.       So    thank you very much,          everyone,    for your




                                                                                                     0074
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 1   statements.           I thought we       should just discuss       them,   the     issues,

 2   in the order the parties presented them.

 3           First,       with respect       to plaintiffs'       document production.

 4   Not   really sure,        plaintiffs          say they're not withholding

 5   anything.

 6           The only thing I guess                that Facebook raised was       some

 7   potential dispute regarding the production of documents versus,

 8   maybe,       interrogatories.           But    I didn't understand plaintiffs'

 9   statement       to    say that    they were refusing to produce those

10   documents.

11           I don't know if anyone                from the plaintiffs wants       to

12   respond.

13                  MS.     WEAVER:        Angelica Ornelas will be addressing this

14    for us,      Your Honor.

15                  MS.     ORNELAS:        Thank Your Honor.

16           So    I think what we've tried to do here                is explain that we

17   are   searching for responsive materials,                    to the extent    that    they

18   are   in plaintiffs'        possession.

19           What we are excluding from the                search are materials          from

20   the user account and user archive,                   itself,    for a couple of

21   different       reasons.        One    is as    to the offensive ads that

22   Facebook is          seeking,    it's not clear that          that content    is

23   located within those             sources,       to begin with.     There does appear

24   to be    identification of advertisers                that    sent content    to the

25   users.       But     the ads,    themselves,       do not appear to be       in the




                                                                                                  0075
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 1   archive.

 2        So that      is one of     the reasons why we don't               think that

 3   should be    is encompassed within our search.                   If    that helps.

 4                THE COURT:        Well,   what you're    saying is that you

 5    can't produce them.           That you don't      -- you don't have the

 6    ability to produce them.

 7               MS.   ORNELAS:       From the Facebook user account and

 8    archive.

 9        But otherwise,       if    the plaintiffs do have            standalone

10   records of things      like the offensive ads             that    Facebook is

11   seeking,    we are searching and collecting those                     items.

12               MS.   KUTSCHER CLARK:          Your Honor,      if    I could respond

13    to that    for a minute,       I'd appreciate      it.

14                THE COURT:        Go ahead.

15               MS.   KUTSCHER CLARK:          The   issue here       isn't    limited to

16    advertisements.

17        And I just want       to start by saying we're not                  seeking

18   discovery from the there was here to abuse the plaintiffs,                           or

19   to harass them.       It's because we think this case                   should have

20   been dismissed on standing grounds at               the motion-to-dismiss

21   stage,   and Judge Chhabria held that we would have an

22   opportunity to      seek discovery from the plaintiffs regarding

23   their allegations,      and an opportunity to move to dismiss

24   individual plaintiffs on standing grounds.

25        And to that end,          the plaintiffs have a lot of allegations




                                                                                               0076
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 1   in their complaint,        not   just about   the advertisements,      to the

 2   effect    that because of conduct        Facebook engaged in,       they

 3   experienced certain activity on the Facebook platform.

 4        That    includes     that   the plaintiffs     received what    they call

 5   highly offensive advertisements;           that    they received friend

 6   requests    from people they call        "trolls"   who they didn't

 7   actually know;     that    they experienced third-party interference

 8   with their accounts,        so someone who was not       them was posting on

 9   their accounts.      We have requested information from plaintiffs

10   regarding those allegations.

11        So for instance,        documents    sufficient    to show any highly

12   offensive advertisements           they actually received,     or documents

13   sufficient    to   show any friend requests         they received from

14   trolls,    so people they didn't actually know.            And plaintiffs

15   seem to have taken the categorical position that               they will not

16   produce any materials        from their Facebook accounts.

17        And for us that's problematic,           because Facebook's not       in a

18   position to    identify that        information.    We don't know if a

19   particular friend request came from someone the plaintiffs knew

20   or did not know,     whether a post on their account was a post a

21   particular plaintiff actually made,           or whether a third party

22   gained access to an account mained that post.

23        So we're just        requesting materials       to show that    type of

24   information.

25                THE COURT:      But    I don't understand    --   I don't hear




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 1    them saying that        they're refusing to identify that.                     Of

 2    course,    that's relevant.            That's not what           I heard.

 3           I guess what      I heard is      they don't         --   they don't know how

 4   they could necessarily access and show that                        to Facebook,      but

 5   they could identify for it.               The allegation was made              in the

 6   complaint,    so obviously,        they have to be able to identify it.

 7           Is that what you're        saying,         Ms.   Ornelas?

 8                MS.   ORNELAS:       Your Honor,            to the extent that      the

 9   plaintiffs do have those records                    in their possession,         custody,

10    or control,       they're going to be produced.                  However,     to the

11    extent    that    Facebook is asking us             to search through the

12    Facebook user platform and archive,                      the records that      they are

13    requesting don't appear to be contained in those sources.

14           So we are agreeing to search and collect materials,                          to the

15   extent    they exist.      But    for    --   for right now,         it doesn't      appear

16   like those materials are within the platform and the archive,

17   which is why we are anticipating carving them out of our

18   search.

19                THE COURT:         And just      to    --   how would they identify --

20    how would they go about and find to produce to Facebook an ad

21    that    they found,     that    they believed was offensive?

22                MS.   KUTSCHER CLARK:            Sure.        So there's a lot of ways

23    that    they could do this.            And we've actually discussed this

24   previously,        so   I'm a little      surprised to hear the response

25    today,    because previously the response has been:                         If you want,




                                                                                                   0078
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 1    we can look.

 2          So    for instance,       on Facebook plaintiffs have a feature

 3   called:          Download your information.           And you can download there

 4   sort of a history of all of your activity on Facebook,                          and

 5   pretty much everything you've ever done on Facebook.                           And they

 6   would be able to find a lot of               this   information there.

 7          Many Facebook users          --

 8                     THE COURT:     Would it    show ads?

 9                    MS.     KUTSCHER CLARK:     I don't know,         off the top of my

10    head,      if    it would show every ad,       but    I believe certain

11    advertising information would be reflected there.

12          A lot of this          information also comes across through

13   emails.          So a lot of users have their accounts               set up to      send

14   information to them by email,               as well,    so users would receive

15   emails.

16          And I do just want          to clarify,      we're not       just   talking

17   about advertisements.             You know,    some of      this    is about    friend

18   requests people received.                And they --

19                     THE COURT:     I'm just    taking    --   I'm just taking it

20    I'm taking it one at a time.                Because you said that           they

21    refused,         I --    I'm just not hearing that.          I'm just trying to

22    figure out.

23          How would they --          I know they could describe to you an ad

24   that   they recall          seeing that    they found was offensive.             I'm

25   trying to         figure out,    because this       is a dispute about a




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 1   document production,               how --       how are you saying they should

 2   actually produce to you that ad?

 3           What    is the       search that         they're       supposed do?     What    --    at

 4   least    for the ads,          I don't         think you know.

 5           Okay.     So now as         to    --

 6                   MS.    KUTSCHER CLARK:                No.     For their ads,    I see three

 7    ways they could find the                  information.           First,    they could go

 8    through their download-their-information file,                              and any ads

 9    that are contained within it                        they could produce the relevant

10    pages of their download-their-information file or,                              you know,

11    screenshot       it and produce               it.

12           To the extent any ads were received from Facebook by

13   email,    they could produce those as emails.                         To the extent any

14   ads are currently on their Facebook news                           feed,    they could

15   produce those materials by,                     again,      either screenshotting or

16   PDFing the pages.

17                   THE COURT:          Okay.        So,    Ms.    Ornelas,    are you

18    downloading the             information files              for your clients?

19                   MS.    ORNELAS:          Sure,       Your Honor.     So when we       -- we

20    have downloaded that               information.              And that's what    I was

21    referring to earlier,               where       it appears       that within that       file,

22    there    is    some limited advertiser information.                         The ads,

23    themselves,          do not appear to be               located within that          file.

24           With respect         to,    you know,          stand-alone emails or

25   screenshots,          that    is   something that we are             searching for,          and




                                                                                                         0080
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 1   collecting,      and reviewing.

 2           The   issue is     to the extent    that       Facebook believes             the ads,

 3   themselves,      are within the download file that Ms.                    Kutscher just

 4   described,      that's where     I think the disconnect             is here.

 5                 MS.   WEAVER:     Your Honor,       if    I may just explain,                the

 6    archive that we're talking about               is a select     subset of users'

 7    platform activity that          Facebook designates and allows users to

 8    download.       Ordinarily,     users don't       that.     And that's             --

 9    Facebook produced that          to us,    already.        So when Ms.          Ornelas

10    says that      they excluded advertisement,              that's because             it    is

11    not    the entire world of       Facebook activity.

12           And I think it's exactly right             that,    really,       the

13   information that         Facebook wants     is better suited to a

14   contention interrogatory or a deposition.                    It's    really not a

15   document      request    that's proportional           to the needs here,                because

16   we can communicate that.           And the      second piece        is    --

17                  THE COURT:      Well,   why --     I don't hear       --    I don't hear

18    that    it's proportionality.           I hear that you don't have                      it.

19                 MS.   WEAVER:     That's    true,    as well.     I guess             the

20    question is,       yes,    could we go through the archives                   and maybe

21    identify some reference to an ad?                 I don't know.

22           But   these are,     you know,    highly --       these are       --    they're

23   not    sorted that way.        There's no section that          says:           Here are

24   the advertising.           We're not aware that we have             it.        If    Facebook

25   produced it      to us,     maybe that would help.           But we don't have




                                                                                                         0081
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 1   them right now.

 2         And Facebook knows what advertisements                     it   serves    to these

 3   plaintiffs.         Right?    They know what agreements               they have,          and

 4   who's been allowed to advertise on the platform.

 5         But,   you know,        for example,      to come at       this another way,

 6   let me just     say that our allegations aren't                  --   really,       the

 7   heart of the case        is not about      specific          individual

 8   advertisements.         Although,      each of our plaintiffs received

 9   notice that     Cambridge Analytica obtained their data,                       so

10   Facebook knows that already.

11         But    the heart of our case         is    that    it's    the volume of data

12   and advertisements           that people got because Facebook was

13   funneling all of this           information out.

14         And we    still don't even have            from Facebook documents

15   sufficient     to    show which third parties accessed their data.                              If

16   Facebook produced that           to us,   which they still haven't,                  we

17   could go to our plaintiffs and say:                Of    these millions of apps,

18   which do you find offensive that were advertising to you?

19         But    it's kind of asking us          to answer from information that

20   Facebook exclusively has.              And that's       --   that's one of our

21   issues.

22                THE COURT:        Well,    it's kind of a chicken --               it's a

23    chicken-and-egg thing,           I think.       I don't know about            that.        But

24    --   I don't know if         I necessarily agree with that.

25         But    it does    sound like the way to approach this                    is,    first,




                                                                                                           0082
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 1   perhaps to do        it as    interrogatories.           And then the plaintiffs

 2   will    identify,    you know:         These are the ads...

 3           Whatever the question is,              whatever your question is about

 4   standing,      ask that.      And then perhaps           then go to the documents.

 5                  MS.   STEIN:     Your Honor,       if    I may,    to that point,             I

 6    think our issue here           is as we were meeting and conferring,                        we

 7    were repeatedly told by plaintiffs                    that    they wouldn't          search

 8    for these various           things    like troll       requests,       and --       and these

 9    were things that were              specifically pled.           We did not hear from

10    plaintiffs that        they did not have access                to this    information.

11           Obviously,     if they don't have          it,    they don't have it.                But

12   for some of these        --    and Martie,       I think,       was going to go on

13   into detail which ones              they were.     For some of          these

14   categories,      plaintiffs have         it.     They can say --          if there's

15   something on their Facebook              --    in their Facebook history that

16   shows activity that weren't              their    (audio interference)               post,

17   they should produce those to us.                  They've been telling us they

18   won't    even search.

19           And,   you know,      the    suggestion that          there's    some

20   proportionality issue here,              I mean,       that's    the first       time we've

21   heard that      this case has         some    sort of proportionality problem.

22   I mean,      we've been working night and day on production on our

23   end.     We keep getting told about how huge this case                          is    from

24   plaintiffs'      perspective.

25           So   I think having them do some               searching of the accounts




                                                                                                         0083
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 1   to produce a very discrete number of documents                          is not a lot    to

 2   ask.

 3           And our fear that         is going down the            interrogatory path,

 4   we're then going to be told that a contention                         'rog is

 5   premature,       and they don't have the           information.          We're just     --

 6                   THE COURT:       No,   no,   no.   No,    because       I'm telling you

 7    now,    I'm saying,      they're       suggesting do that         first.        They made

 8    the allegations         in their complaint.             So,   what     is the

 9    information that         they had that        those allegations were based

10    on?     Right?       That's what you want         to know first.

11           And then --      I mean,       to the extent      there    is    some friend

12   requests,       for example,      they say that      they got         that   they weren't

13   aware of or that         they believe was a troll,               that    they should be

14   --    is there any reason,         Ms.   Ornelas,    you can't          identify that?

15                   MS.   ORNELAS:     Your Honor,      this goes back to the way

16    that    the    information is provided in the download file.                        There

17    are certain lists of different                types of        friend requests,       for

18    example accepted friends,               removed friends,         rejected friends.

19    There    is,    you know,   no list within the download file of,                     you

20    know,    particularly suspicious             friend requests.

21           So to the extent         there are     suspicious        friend requests

22   captured within those different                lists,     that would be          something

23   that,    of course,      we could respond to an interrogatory asking us

24   to    identify which of      the requests appearing on these different

25   lists were considered suspicious.




                                                                                                   0084
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 1                   MS.   KUTSCHER CLARK:        Well,        --

 2                   MR.   LOESER:    Your Honor,            Derek Loeser      --

 3                   MS.   KUTSCHER CLARK:         --    if    I can respond to that,              I

 4    think the concern is we're not asking for plaintiffs to                                 look

 5    at    their file and send us a specified list by Facebook of

 6    suspicious       friend requests.          We can see who requested them to

 7    be friends.

 8           We need them to identify for us:                       Which were the        friend

 9   requests that you thought were from trolls?                            Who were the

10   people you don't actually know in real                         life?   And we have no

11   way to do that.

12           So    I think what Ms.        Ornelas      is    saying is      they are able to

13   look at       the file and,     you know,       it might not be captured in one

14   particular area,         they might have to do some work,                      but   they're

15   able to       see a record of who requested their clients                        to be

16   friends.

17           And we would like them to produce the pages of the file

18   that    show friend requests           from people they did not actually

19   know,    who they believed to have been trolls.

20                   THE COURT:      All    right.       But    the first half of that

21    sounded like an interrogatory.                    You want       them to identify

22    those friend requests.               But   I mean       -- maybe      it goes hand in

23    hand,       because they identify it by looking at                     the page,      and

24    seeing it.

25           Mr.    Loeser,   you wanted to say something?




                                                                                                        0085
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 1                MR.   LOESER:      Yeah.   I think,     Your Honor,       you're on        --

 2    I think you've      sort of     figured out exactly what         the problem

 3    is,    and your suggestion is a good one,            and one that          --   it's

 4    working talking about          for a minute.

 5           Certainly,   a contention       'rog asking them to explain the

 6   basis    for allegations       in the complaint,      that does       --    that's

 7   always    seemed to us    like what     this   request was really after.

 8   Because they're not asking for information;                  they've all the

 9   information.       They're asking us      to characterize the

10   information.       And that's exactly what a contention                'rog is.

11           And obviously,    if we receive that         'rog,   we'll answer it

12   with the    information we have.         But   I think it      is also very

13   true,    we don't yet have       from Facebook the most critical

14   information in this case,          which is who did they give our

15   plaintiffs'    data to or sell access          to,   and what    information did

16   they provide.

17           Once we have that       information,    we can completely answer

18   the contention interrogatory.            But at present,        we can only

19   answer with what      limited information we have.

20                THE COURT:        You can answer it,      based on the

21    allegations that you made          in the complaint.          I mean,       that's

22    the whole    --   it's a chicken-and-egg thing,             right?

23           Because their argument as        to standing that Judge Chhabria

24   will have to decide       is    if you didn't know that you were

25   receiving a friend request          from someone      suspicious,          how you




                                                                                                   0086
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 1   were harmed by it.            Right?

 2                   MR.    LOESER:    Right.

 3                   THE COURT:       Right?     So that's             sort of a chicken and

 4    egg.     So to       say:   Well,     until we know who sent                 it    --   no.     You

 5    made allegations            in the complaint of             some     injury,       thus    far.

 6           And they want        to know,     what       is    that based upon.

 7                   MR.    LOESER:    Right.        I would          --

 8                   THE COURT:       Sounds    like       --    I don't know --

 9                   MR.    LOESER:    Yeah,    I guess          --

10                   THE COURT:       I don't know if             I'd call        it a contention

11    interrogatory so much as               like:        Identify for us,              you alleged

12    X.     Okay,    who is      -- who did the          friend request come                 from?

13                   MR.    LOESER:    Right.        I guess          I would describe           it as

14    part of a chicken and an egg.                   Because they've              focused on this

15    one aspect of the case which is,                     you know,        ads   that people

16    received that          they found offensive.

17           But   the heart of       the case       is    they took information,                   user

18   data,    and they shared it with third parties.                          That then led to

19   a variety of things.             One of    those things was ads that people

20   found offensive.

21           But the basis of         the case       is    that       they took data,           and they

22   shared it without consent.

23           But   I hear what you are          saying.

24                   THE COURT:       Well,    that's your argument to Judge

25    Chhabria.        And I get      it.




                                                                                                             0087
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 1           Like,    you may think okay,             you can whack that away,               but

 2   you're not going to win your standing argument,                              anyway.

 3           Okay,    but    they're    still entitled to do their discovery on

 4   what    they believe their argument                   is,    to make their argument.                I

 5   mean,    I --    I hear what you're             saying.        But   that doesn't mean

 6   they don't get          the discovery on those allegations.

 7                   MR.    LOESER:     Right.

 8                   THE COURT:        It may ultimately not prevail.                   But    this

 9    is    just discovery.

10           Okay.     So    --

11                   MR.    LOESER:     To be clear,             though   --    I'm sorry,

12    Your Honor.           But    to be clear on what we would be able to do                        if

13    we received a contention interrogatory today,                             we would be able

14    to answer with regard to the                   information we have at present.

15           But as discovery unfolds and we get                      the      information we're

16   waiting for,          then obviously,       that would be            supplemented with a

17   lot more     information.

18                   THE COURT:        Right.        But what       I understand

19    Ms.    Kutscher saying is you made certain allegations                           in the

20    complaint,       and they want       to know the basis                for them now.

21           And to the extent,          then    --    for example,            if your clients

22   had in mind particular friend requests,                         if   they did,    then,       you

23   know,    look at       that    file and    --    or    --    I don't know how you would

24   do    it or if you can do it          --    identify that            friend request.

25                   MS.    WEAVER:     Your Honor,          we will do that.          And we




                                                                                                              0088
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 1    have always      said we would search for everything off                   the

 2    platform,    which is what we had when we                  filed.

 3           I mean,   the other piece,         of course,        and the proof problem

 4   in the case at a specific              level    is   that   Facebook,    itself,       has

 5   said they can't      identify how our individual plaintiffs were

 6   harmed.

 7           And certainly,     the    friends of         friends,    when friends gave

 8   permission so that        third parties          I didn't know about because

 9   they downloaded those apps,              that's what we need to try to

10   understand from Facebook how those                   systems work.

11           Because   I --   this    is one of       those odd cases where the

12   plaintiffs don't know specifically how they were harmed.                               They

13   just know the vol-        --    that's not       sweeping.       But   in some    sense,

14   there's two pieces.            There's    the narrow,       kind of,    what happened

15   to me    specifically,     and what offensive ads.

16           And then there     is    the    larger portion of         the case,      which

17   is:     I didn't understand that when I was                  sending a private

18   message and attaching a photo to one                   friend,    that that data and

19   information was being sent              to literally so many third parties,

20   Facebook tells us they can't              identify them all.

21           And so we're     still working on that              second piece.        And

22   that's why we keep hearing it as                 sort of a contention

23   interrogatory.

24           But we will give them the              information we currently

25   possess,    and identify and respond to a 'rog based on what we




                                                                                                    0089
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 1   now know,      but we're just conditioning that on there's a lot

 2   that we have yet         to learn.

 3                  THE COURT:      No,    no,    no,    I understand.        And that's an

 4    argument      for Judge Chhabria in terms of what                 the    --

 5                  MS.   WEAVER:    Got    it.

 6                  THE COURT:      -- was,       and the    standing,    as to

 7    discovery.

 8                  MS.   KUTSCHER CLARK:          And I do want       to be clear if         I

 9    may,    for a second,      I think that           the argument    that Ms.      Weaver

10    is making might apply to certain types of                   requests,         and we

11    don't need to dig into those right now.

12           But   the    specific ones     that we're talking about,               for

13   instance,      friend requests        from trolls,       there's no information

14   that plaintiffs would need from Facebook to identify friend

15   requests      from people they don't know.               The plaintiffs either

16   knew the people,         or didn't know the people.               I don't      think

17   there's       something they would need from Facebook to identify

18   that.

19           Another one of      the requests has           to do with interference on

20   their Facebook accounts.              So one of       the things we want         to know

21   is:     Were there posts on your account?                 Did something appear on

22   your wall that you didn't do,                yourself?

23           The plaintiffs don't need information from Facebook to

24   say:     This post on my wall          this day wasn't       from me.          Someone

25   else did it.




                                                                                                   0090
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 1           That's the type of          stuff we're     seeking right now,           because

 2   there are allegations about              those things     in the complaint.              So

 3   I don't    think there          should be any delay answering questions

 4   like that.

 5                   MS.   WEAVER:      We will answer with what            --

 6                   THE COURT:       What   they need to do is        review the

 7    downloaded file             from the user activity.      And it may or may not

 8    be    in there.        I just don't know how complete            it    is.

 9           Like,    somebody sitting here today probably can't                     remember

10   the name,       exactly,       or anything like that.       Right?          So they need

11   to review the          file.    And maybe    it's   in there,     maybe       it's not.

12           But,    I guess       I don't hear the plaintiffs         saying that        their

13   clients aren't going to be reviewing that downloaded file.

14                   MS.   ORNELAS:      Well,   Your Honor,    that    file,      when

15    taking into account             the volume that      it measures to date,           we're

16    talking about          116,000 documents      that   total,    you know,

17    somewhere       in the ballpark of 46 gigabytes of data.

18           So that       is a significant volume to be         searching,         which is

19   why our initial position was carving that voluminous                           source

20   out,    and instead,          focusing on the documents        that plaintiffs

21   have,    things       like    screenshots or emails,      things       like that.

22   Because what we do know is,              for example,     when there          is a

23   suspicious       log-in attempt,        a user is notified by Facebook,                 at

24   least    that's my understanding.             And they get an email that

25   says:     Hey,    was this you?         You have logged in from halfway




                                                                                                    0091
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 1   across the globe.

 2           So things    like that,       you know,          we are    searching for.     But

 3   to the extent       that,    you know,          Facebook thinks         it's proportional

 4   to have us    search through that volume of data without knowing

 5   whether that kind of content                is    in the download file         itself,     we

 6   just don't    think that       that       is,    you know,       proportional at    this

 7   time.

 8           Particularly when --

 9                THE COURT:        I guess          I don't    --    I don't understand.

10           So either    --    like,    either it       shows       friend requests,    or it

11   doesn't.     And if       it doesn't,       it doesn't.           You can figure that

12   out.

13                MS.    KUTSCHER CLARK:              It does,       yes.

14                THE COURT:        All    I will       say is       this:   The plaintiff

15    certainly can't argue             standing based on some friend requests

16    that    they then didn't          search for within their file.                That's

17    all.

18           I mean,    you'll produce whatever evidence you produce,

19   right?     And then that's          it.     You're held to it.

20           So that's    --    that's    the direction I'm going to give.

21   That's all.        I mean,    I don't       really quite          --

22                MS.    WEAVER:        I understand Your Honor.

23                THE COURT:        Yes,       it will    take the plaintiff         some time

24    to cull through their files.                    Okay.     They're the named

25    plaintiffs.




                                                                                                      0092
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 1                      MS.   WEAVER:        Yeah.     We will do that,         Your Honor.

 2           I think the other point,                  though,    is    that    there    is    --   there

 3   remains       --    for example,         if    Facebook has a list of trolls and

 4   had a list of            suspicious apps and we can show them to our

 5   plaintiffs,          they may remember.

 6           But    I hear your point.                We'll give the       specific

 7   information we have now.                      And later on,       we will be       --    we'll be

 8   amending any             'rog responses,         once discovery is complete.                   And

 9   then a judge can make a ruling on standing.

10                      THE COURT:       Okay.        Okay.    All     right.

11           Let's       see.    So the next area was             the app developer

12   investigation.             And so       --

13                      MR.   SNYDER:        Your Honor,      may I be heard on that one?

14                      THE COURT:       Yes.

15                      MR.   SNYDER:        So Your Honor,       thank you.        This       is both

16    not    right,       and also not accurately described by the plaintiffs

17    in the       submission.

18           Let me be very brief.                   The   so-called     "app developer

19   investigation"             is an internal         investigation conducted by my law

20   firm,    Gibson Dunn,          in the wake of            the Cambridge Analytica

21   events,       commenced in 2018.

22           And the purpose of               this    internal    investigation that my

23   partner Al Southwell               is    leading was       to advise Facebook about

24   legal risks and exposures,                     including in this          lawsuit

25   (Indicating),            relating to apps on the Facebook platform prior




                                                                                                             0093
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 1   to 2015.     It's been ongoing since that         time.

 2           And first,   plaintiffs wanted every single document

 3   relating to that       internal   investigation,      including my law

 4   firm's    files.     That was obviously overbroad.

 5           To be clear,    we are producing documents          relating to this

 6   investigation.       What   I mean by that,     Your Honor,     is when my law

 7   firm,    working with Facebook and outside consultants,               discovered

 8   activity prior to 2015        involving third-party apps that           it

 9   wanted to follow up with,         and communicated with those

10   third-party apps,       those communications are not privileged.

11   Those communications we are producing,            and have produced.           In

12   fact,    we have already produced 16,000 documents             related to the

13   investigation.       And as we continue our production,             we will

14   continue to produce thousands of documents              relating to the

15   investigation.

16           What we are objecting to,      and only objecting to,          is    core

17   attorney/client and work-product communications,                such as my law

18   firm's    internal analysis.       Such as communications between my

19   law firm and counsel at        Facebook concerning the         investigation.

20           What we propose makes      sense here    is   that we conclude our

21   production relating to this         internal    investigation.       And once

22   plaintiffs have reviewed these materials and identified apps

23   that    they believe to be relevant,      or want      --   or --   or want

24   additional documents,        they can issue more tailored requests              for

25   information specific        to particular apps.




                                                                                            0094
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 1          For example,     let's assume hypothetically in 2012                  there was

 2   some app that did something that            the    investigation uncovered.

 3   We then,    as part of our investigative protocol,               communicated

 4   with that app.        Call   it App X.     We wrote them a letter.                 That

 5   letter will be produced          and they will       then have the name of

 6   that app.      And any communications with that app.

 7          In one or two instances,          only,    we actually --       I think one,

 8   maybe,    we filed a lawsuit against a company.                That    is all

 9   public.

10          After they review those documents,             we can take       --   we can

11   then meet and confer,        and there can be a live dispute.                     Right

12   now,   there   is no live dispute other than they say they want

13   everything.        And they are focusing on a Massachusetts Superior

14   Court ruling.        And as we told the Court         --    which --    which --

15   which was a motion to compel by the Massachusetts Attorney

16   General regarding a completely different               --    substantially

17   different document       requests   than plaintiffs.

18          We objected to that       request    in Massachusetts because,                as

19   framed,    it did invade attorney/client privilege,               work product,

20   and the    like.     The Superior Court      ruled against us.

21          But Facebook took that up to the Supreme Judicial Court                            in

22   Massachusetts,       and they granted the extraordinary review of the

23   Superior Court's work product determination.                   That    is    in

24   litigation.        And so nothing that's happening in Massachusetts

25   should either bind or control here.




                                                                                                     0095
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 1          This    is not       right.     When they get      the tens of thousands of

 2   documents they will            see that      there are    --    I'm making it up      --

 3   ten,   20,    30,    40,    50 different apps       -- maybe more,      I don't know

 4   the number      -- maybe Martie does             -- with which we communicated

 5   as a result of our investigation.                  They'll know the names of

 6   those apps.          They can then follow up and ask questions about

 7   those apps.          We're going to turn over all              those documents.

 8          What we're not          turning over is our law firm's              files,    and

 9   our communications with our client                  that were all pursuant           to

10   this privileged investigation.

11                  THE COURT:          When is     that production going to be

12    complete?

13                  MR.    SNYDER:        Martie?

14                  MS.    KUTSCHER CLARK:           So we made a production on

15    Wednesday that            included about       10,000 additional pages of

16    materials with the third parties.                   We're continuing to review

17    them.       The volume       is extraordinarily high,           because    it    includes

18    every communication with apps about                  this      investigation.

19          I think it would probably take us another several weeks to

20   work through the rest of               the documents.          I think it's      in the

21   range of tens of thousands of additional documents to review.

22   And we're actively working on that.

23          But again,          these   include every letter that went             to an app

24   saying they were suspended,               and why.       So once the production is

25   complete,      plaintiffs will have the ability to identify any apps




                                                                                                   0096
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 1   that were          suspended for reasons           they're concerned about,            or

 2   that are actually relevant                    to the case.

 3          And as Mr.           Snyder said,        then they could request additional

 4   information about               those apps,      and we'd have       something narrower

 5   and more tailored that we can focus on.

 6                      MR.   KO:     Your Honor,      this    is David    --

 7                      MR.   SNYDER:        Let me make one more point,           Your Honor,

 8    because       --    so there's nothing           --    there's no sort of nefarious

 9    suggestion.

10          As     it    turns out,        the vast majority of apps            that were

11   suspended were            suspended because we wrote them,                 saying:     "Dear

12   Mr.    or Mrs.       App,      we have these questions           for you,"    and they

13   never wrote back.                Probably out of business,           or didn't care.

14           We then suspended them for non-compliance with our

15   platform rules because they simply ignored our initial                               inquiry.

16           So    I think a high majority,                 if not   in the nineties,       high

17   nineties of the so-called suspended apps                         (Indicating quotation

18   marks)       are just apps about which we had questions and followup.

19          And then they never wrote back to us,                       and we said       "You're

20   suspended because you're a scofflaw,                       you didn't      respond to us."

21                      MR.   KO:     This    is David Ko on behalf of plaintiffs.

22           May I respond?

23                      THE COURT:         Yes.

24                      MR.   KO:     So I'm a bit      surprised,      first of all,       that

25    Mr.    Snyder says            this   issue    is premature.      We have been going




                                                                                                      0097
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 1    back and forth on this.

 2          And as you know,           in last hearing,      you did direct         Facebook

 3   to try and get      to a final position on this                 issue so that we

 4   could actually brief          it.     We thought we came to some               sort of

 5   final position,        as you can tell        from what Mr.        Snyder is      saying.

 6   He refuses to actually have a final position on this.

 7          And on the communications             in particular that they are

 8   claiming they will produce to suggest                   that we    should narrow our

 9   subsequently --        subsequently narrow our request,                  that doesn't

10   make   sense to us      for a variety of        reasons.         Including,     most

11   notably,   the   fact what         they are offering to produce here are

12   internal communications with third parties.                       That has nothing

13   to do and has no bearing on the relevance of                      the    internal

14   documents and communications             that we are entitled to.

15          I understand what Mr.           Snyder is    saying,       that there      is a

16   certain degree of        those communications            that could be

17   privileged.      But    it   is    inconceivable that all of             them are.       And

18   all you have to do is             take one   look at     the    statement     that we

19   attached or the exhibit             that we attached to our statement                that

20   shows their publicly-available announcement about this ADI                             in

21   which they claim --          Facebook claims       --    that    this    is   something

22   that   involved hundreds of people.               Not    just attorneys.          Right?

23          They don't      say it's an employer-driven investigation.

24   They say this     involved external           investigators.            They say it

25   involved policy groups at             Facebook.     They say it          involved




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 1   engineers,      hundreds of people that were                involved in this

 2   investigation.          Platform operations           folks.      Developer

 3   operations.

 4        This      resulted     --   this    investigation       --   which is ongoing,

 5   by the way --        has   resulted in thousands,            tens of      thousands of

 6   apps being suspended.

 7        So even if Mr.          Snyder is correct          in saying that           the vast

 8   majority of them relate to some                 sort of     investigation in which

 9   third parties did not            respond,     you still have a substantial

10   amount of third parties            that are potentially in violation of

11   Facebook's      (Inaudible).

12        So   --

13                  MR.   SNYDER:     And     --   and plaintiffs will get             the names

14    of any -- plaintiffs will get any communications                             that we had

15    with any third-party app which puts                   them on notice of either a

16    perceived,      suspected or actual violation.                   They will have,

17    chapter and verse,          the names,        serial numbers,         addresses of

18    those apps.

19                  MR.   KO:   Yeah.

20                  MR.   SNYDER:     And the       fact   is,   yes   --    the    fact   is   this

21    was a large         investigation,       because the company committed to

22    conduct a retrospective               investigation to see            if there was a,

23    quote,   "another Cambridge Analytica out                   there,"      close quote.

24    Turns out      there wasn't.

25        Having said that,            it    takes a lot of engineers and a lot of




                                                                                                        0099
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 1   people at          the company,           and a lot of   lawyers,    I might       say.     It

 2   wasn't       just Mr.      Southwell.          We had a big team of         lawyers

 3   working with a big team at                     Facebook to look prior to 2015             at

 4   every single third-party app to determine which ones complied,

 5   and which ones didn't.

 6           And the plaintiffs are going to have a cornucopia of

 7   information about               third-party apps.        And I just would

 8   respectfully suggest                  that    they be a little patient.

 9           As Martie         said,       we're going to complete the production.

10   And I assume they'll have a lot of questions                         to ask about         those

11   apps,    and a lot of work to do to follow up.                      And we will           follow

12   up with respect            to any third-party communications with those

13   apps.

14           So    --

15                      MR.   KO:        The   fundamental disconnect      is,    so,

16    Mr.    Snyder is basically suggesting that we just received this

17    information,            right,       about external communications that              they

18    had with third parties,                     and a potential     list of    these apps.

19           We are entitled to much more.                    This    is discovery related

20   to our case that               is    fundamentally about        Facebook allowing

21   third-party app developers                     to misuse and abuse     it.     Information

22   of user content            information.

23           External communications with third party developers                               is one

24   tranche of that.                Right?        Internal documents and communications

25   related to their analysis                     from non-attorneys     that are not




                                                                                                         0100
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 1   privileged are obviously relevant and responsive to our

 2   requests regarding their enforcement policies.                             And so that's

 3   what we're asking.

 4           And that's what         the disconnect             is here,    Your Honor.

 5                   THE COURT:       So is    it   Facebook's position that,                for

 6    example,       any communications among engineers                     that didn't

 7    involve attorneys,          because they all               come under the umbrella of

 8    this    lawyer-directed investigation,                     they're privileged?

 9                   MR.   SNYDER:    Your Honor,           the engineers were all

10    working.        There were      internal      legal        teams,    external   legal

11    teams.        And everything that was done within the rubric of this

12    investigation is at            the direction of             counsel.

13           Let me make another point              though,           Your Honor,   just    to be

14   clear    --

15                   THE COURT:       So that's       --

16                   MR.   SNYDER:    Yes.      Yes.

17                   THE COURT:       I just want know if that's a yes.

18                   MR.   SNYDER:    Yes,     yes.

19                   THE COURT:      All    right.         So    --

20                   MR.   SNYDER:    But Your Honor,                 here's what plaintiffs

21    have failed to mention.

22           This    so-called     "ADI,"     which is          really an internal         legal

23   investigation,         is   separate and apart              from Facebook's normal and

24   regular enforcement activities.

25           Facebook has an enforcement               team.          And all   it does     is




                                                                                                     0101
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 1   enforce the rules and regulations and policies on the platform.

 2   That   enforcement         team works with engineers on a regular basis,

 3   and --      and is not done at           the    --    in the ordinary course,       under

 4   the direction of counsel.

 5          And we have produced and will produce numerous documents,

 6   because plaintiffs have asked for them,                      concerning our ordinary

 7   enforcement activities which do involve engineers and policy

 8   people.      And that       stands      in sharp contrast          to the legal

 9   investigation that my firm conducted.

10          And so    --      and Martie,       I don't know what         the volume of

11   those documents are,              but   they are fairly voluminous.

12                  THE COURT:          Okay.       But what    I guess       I don't

13    understand,        at    some point you're going to have to produce a

14    privilege log.            Because just because you say they're

15    privileged doesn't mean that                   the plaintiffs have to accept

16    that.

17          So    I'm trying      --    so when      -- when do you intend to do that?

18                 MS.     KUTSCHER CLARK:            If    I could respond briefly,

19    because      I think there's a little bit of a misunderstanding

20    here.

21          The concern we're having at                    the moment    is    the requests

22   we're receiving from plaintiffs keeps changing.                             When we came

23   before the Court           last    time,   we were under the             impression that

24   the plaintiffs were           seeking the materials            that       the

25   Massachusetts AG'd requested.                    So we went back and we talked to




                                                                                                  0102
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 1   the plaintiffs about our position as                 to those materials.

 2           During that discussion,            the plaintiffs     told us    for the

 3   first    time    --   or at    least we understood for the        first    time    --

 4   that    they are      seeking every single document           from the

 5   investigation,         about    the    investigation,    related to the

 6   investigation.          That's a really different           request,    and it's

 7   extraordinarily broad.

 8           And our position with respect            to privilege and whether and

 9   to what    extent we could prepare a privilege                log is very

10   difficult       to analyze when we're talking about every single

11   document.        It would be a privilege         log with millions and

12   millions of entries.             So what we're       suggesting right now is

13   that we    finish producing the            letters   that   show who was

14   suspended,       and why,      so that    the plaintiffs can make a more

15   tailored request.

16           And at    that point,         we're not necessarily objecting to

17   producing any of the underlying information.                    So for instance,

18   what we understand the plaintiffs ultimately want                      is underlying

19   data    showing platform violations,            or showing what an app did

20   with users'       data.

21           To the extent         that we can uncover that underlying data,

22   we're not objecting to digging up that data and providing it                            to

23   plaintiffs       so that      they can do their own analysis.            What we're

24   objecting to doing is            taking our attorney files and the work

25   that our attorneys and attorney-led team did to look at that




                                                                                                   0103
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 1   data,    and analyze      it,   and make decisions about             that data,       and

 2   simply handing it over to the plaintiffs.

 3                MR.   LOESER:       Your Honor,        if   I may,    just briefly.

 4    Because again,      I think your question went                  right to the heart

 5    of the matter.

 6           If we have two engineers            talking about         Facebook's data

 7   policies    in connection and then fallout                 from Cambridge

 8   Analytica,    can that possibly be privileged.                     And I think the

 9   reason why we      feel    like this controversy is               ready to be

10   briefed,    the parties are taking positions                    that are directly

11   contrary on a large body of               information that we believe            is

12   directly relevant.

13           If you go to the exhibit we provided,                    which is   Facebook's

14   public announcement of            the ADI       investigation,      this does not       say

15   Gibson Dunn lawyers are conducting an internal                       investigation

16   for the purpose of         legal advice.

17           And I'll   just    read what       it    says,   because    I think it    should

18   give a pretty good idea            --

19                THE COURT:         No,     I understand.          But you're not

20    seeking,    are you,      like,      memos among Gibson Dunn attorneys.

21                MR.   LOESER:       No.      No.    We are not       seeking privileged

22    information.      We're        seeking    --

23                THE COURT:         Okay.

24                MR.   LOESER:       Yeah.      We want      the    information --    like,

25    for example,      one of       the categories of people            involved,    from




                                                                                                    0104
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 1    their announcement,         they say:       Among the people      involved in

 2    this are policy specialists.

 3        They say      (As read):

 4                "We promised that we would review all of the apps

 5                that had access         to large amounts of        information

 6                before we changed our platform policies                in 2014.     It

 7                has   involved hundreds of people:            attorneys,    external

 8                investigators,         data scientists,      engineers,    policy

 9                specialists,      platform partners and other teams across

10                the country."

11        And the next      line    is    really critical       for this.

12                "Our review helps us            to better understand patterns of

13                abuse in order to root out bad actors among

14                developers."

15        That    is a business activity,            and it    is a critical business

16   activity for this case.             We are not    interested in the      legal

17   advice and the      legal communications.             We want   the business

18   activity information that would be produced because                    it's

19   directly relevant and responsive.                If   they want   to withhold it,

20   they need to log it.          But    it's certainly not going to be

21   privileged.

22                MR.   SNYDER:     Well,    we    strongly,   respectfully

23    disagree,    because my law firm was            involved in every decision.

24                THE COURT:       Okay,    but we're not going to adjudicate

25    that now.




                                                                                            0105
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 1                    MR.     SNYDER:        Right.

 2                    THE COURT:            The question,             though,    because     it's not       --

 3    so they're not              seeking the           stuff       that's clearly privileged,              so

 4    you don't have to worry about                           that.        And I don't even think

 5    that      ever really even needs                      to be    logged,    because that would

 6    be a waste of time.

 7           But with respect               to the other stuff,                there's arguments

 8   there.      Both ways.             Privilege            is not clear,       and there's

 9   arguments both ways.

10           And so the question is                     then,       how,    how --   I certainly --

11   it's not      --    I can't adjudicate that                      right now,      like   just

12   generally out            there.        It has          to be done       in context.      Right?

13           So maybe the thing to do                        --    I do,    I have to say,     I just

14   think,     Mr.     Loeser,        I understand,              but we're not       in a great rush,

15   you noticed,           so    --   is   start       reviewing those documents,              and then

16   see   --   we can take a subset.                        Because the way I'm going to be

17   able to adjudicate this                     is    take       some exemplars,      and rule,      and

18   then the parties then can use that and apply it.                                    Right?       You

19   don't need the log of every single document.

20           So maybe what you do is you take a particular app,                                     or you

21   get   some names or something,                         right,    and we    focus on that

22   subset,     and I adjudicate that.                           That's not going to resolve the

23   privilege        for everything,                 but    it will be a roadmap that              the

24   parties can then apply.                      But       I think we are going to need a

25   certain set         --      I want     it    to be       in context of a particular




                                                                                                                  0106
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 1   document.       So the question is:             How do we get       there.

 2          And I don't         think we necessarily need to wait until all

 3   the production is done.               I don't    think that    is    the case.     The

 4   parties    should get        together and decide on,          you know --    I don't

 5   know what      it    is that    the plaintiffs      think necessarily are

 6   there.     Maybe Facebook can come up with --                 I don't know             a

 7   hundred documents           that you're going to log.

 8                  MR.    SNYDER:       We can also be helpful,          Your Honor.

 9   And,     and --      because the vast majority --         I think it's

10    99 percent,         but   that's    just    from what my partner,       you know,

11    has allowed to.

12          Since the vast majority are people we wrote to and

13   suspended because they didn't write back to us,                       you know,    maybe

14   we can highlight a couple of ones where we had further

15   activity,      they wrote back to us,            we engage with them.

16          And then we can go behind the curtain,                  so to speak,       on

17   your exemplar idea,            and we can take a look at what our work

18   product and attorney/client activity was behind the contain,

19   look at what         engineers were doing,         and then figure out how to

20   tee up a privilege exemplar for handful of apps.

21                  THE COURT:       Well,       and for example,    Mr.    Loeser brought

22    up like policy            (audio interference),      things    like that.        That's

23    not going to be particular to an app.

24          But maybe plaintiffs can point out,               you know,       because

25   what's    --




                                                                                                 0107
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 1                 MR.     LOESER:     Your Honor,   you're breaking up on us.

 2          (Off-the-Record discussion)

 3          (A pause       in the proceedings)

 4                 THE COURT:         I'm back.

 5                 MR.     LOESER:     We   lost you right when you started

 6    talking about policy specialists.

 7                 THE COURT:         I came to the courthouse         so I'd have good

 8    internet.       I got    the Court give me an upgraded laptop,                and

 9    it's,   like,      worse than ever.         I'm actually at      the courthouse,

10    where there's very few people here.

11          In any event.        So,    you know,    I think,     you know,

12   plaintiffs      -- maybe    starting with this          --   identify some

13   documents that you think that you would be entitled to.                           Like

14   discussions among the policymakers               that    Facebook was      referring

15   to.

16          Facebook then,       you know,      look at   them,    and just     say:    Oh,

17   no,   yeah,    I can produce those now.

18          But    I think we're just going to have to do it                  sort of     in

19   tranches.       But    I agree with the plaintiffs,            I don't    think we

20   need to wait until         the end because       I don't     think it     is

21   necessarily specific            to particular apps.

22          I think this       suggests     there's broader things going on that

23   would be relevant,         and that may very well not be privileged.

24   But   I don't    think there's anything right now.                I --

25                 MR.     SNYDER:     The reason that makes         sense,   Your Honor,




                                                                                                0108
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 1    is   that,   you know,     without       reviewing attorney/client

 2    privileges,         we did have an internal protocol            for this      internal

 3    investigation.          Sort of an escalation protocol.               And so things

 4    did follow a particular prescribed course                    in the    investigation

 5    of an app.          And it was a massive undertaking,               because the

 6    company had to literally evaluate every app prior to 2015.

 7   And so there          is an established protocol            that governs

 8    escalation of these app            investigations.         And policy was

 9    involved in some of            those.

10           But   I think we    -- we can work with plaintiffs,               I think,

11   and identify our own protocol               for how to frame the privilege

12   inquiry,      and then key it up          for Your Honor when it's         ripe.

13                 MR.     LOESER:     Well,    Your Honor,      for the exemplar

14    approach to work,         it would need to be         --    let's    take policy

15    specialists,         for example.        We would say:      Look,     we want   --   and

16    I don't know if         there's a way for us         to connect       it to   some

17    particular app or not;            it depends on what other discovery we

18    got.     But we want all         the conversations and discussions that

19    relate to      --    in which policy specialists were               involved.

20           For the exemplar to work,            Facebook would then need to

21   provide that,         or produce a log that         identifies everything that

22   they're not providing.             It can't be      some cherrypicked set of a

23   couple of documents here and there that                  try to somehow prove

24   the point      that Orin's       trying to make.       It needs       to provide the

25   parties with the full ambit of               the   information,       so that we can




                                                                                                  0109
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 1   then meaningfully brief             the dispute.

 2                THE COURT:        So of    the   --

 3                MS.    STEIN:     It    sounds   like we have our work cut out

 4    for us on a meet-and-confer,             Your Honor.          I mean,       this    is one

 5    of the    issues that we've been trying to focus plaintiffs on,

 6    which is the over-breadth of             the request.          And we've been

 7    trying to discuss:           What do you actually want?

 8           And so    I think this will help give us               some       structure    for a

 9   meet-and-confer process,             so that we can get a better sense as

10   to what plaintiffs are          looking for.

11                THE COURT:        Well,    they actually do want everything.

12    They do want       everything.

13                MR.    SNYDER:     Yes.

14                THE COURT:        They recognize there are certain things

15    that    they can't get,       because of privilege.                But    the thing is

16    that    there's a fine       line    in these types of         things,       what    is

17    privileged and what's not privileged.                      And so,       yeah.     So what

18    they want       is everything.        That   is    true.     But    they recognize

19    there's    some things       they can't get.

20           But maybe    it's    to take    it off      in chunks.        Maybe,      you know,

21   start with the policy stuff.              But      that's going to take             some

22   work,    then,   reviewing it,        saying:      Well,     maybe we can't          really

23   defend privilege here.

24           Or if you're going to log it all,               then log it all,             and

25   we'll make a decision.              I think you probably can approach it




                                                                                                     0110
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 1   that way.

 2                MR.   KO:      Your Honor,       David Ko          --

 3                MR.   SNYDER:      Yeah,       the problem --

 4                MR.   KO:      Just one    --    one more point             to make    in

 5    response to what both Mr.             Snyder and Mr.                Stein have been

 6    saying.

 7        So,    the exemplar approach and the                      sample documents.

 8   Again,    all that    they are offering to produce to us are external

 9   communications and          (audio interference)               with third parties.

10        As Mr.    Loeser was       indicating,             there are a whole          swath of

11   documents related to internal documents and communications

12   regarding their analysis,             right,       that may not have escalated to

13   the point of notifying a third party regarding this                            escalation

14   protocol that Mr.        Snyder alludes            to.     Right?

15        And so there are a wide range of categories of documents

16   that we are entitled to,             based on our discovery requests.

17                THE COURT:        No,    Mr.    Ko,    I understand.           I'm not

18    limiting it.        What    I'm saying is,             there's no way I can resolve

19    this,    just on a general          thing.        It has      to be     specific.       Some

20    things may be privileged,             and some things not.

21        I'm trying to figure out                --    if    there are millions of

22   things,    I'm just      saying let's        just       take    it    in pieces.

23                MR.   KO:      Sure.

24                THE COURT:        So start with what you want,                   most

25    important,    what you think is             the most yield,             or what you think




                                                                                                      0111
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 1    would be the best exemplar for me to rule on.                               What area.

 2    Like    --

 3                   MR.    KO:       Yeah,     and here's an example of               --

 4                   THE COURT:           Not waiving your right              to get        everything

 5    else.

 6                   MR.    KO:        Sure.    And I understand that,             Your Honor.

 7           And here       is an example          for why this          issue   is,    to a certain

 8   extent,       ripe.        You know,       in addition to the policy specialists

 9   that Mr.       Loeser alluded to,             the app      --   the ADI very clearly

10   involved external                investigators.        So there are documents that,

11   by their own very nature,                   they've presumably waived the

12   privilege.

13           So communications             --

14                   THE COURT:           Well,    that's    --      I don't accept          that

15    statement,       at all.           That    is way too simplistic.

16                   MR.    SNYDER:        Our law firm --

17                   THE COURT:           Uh-uh,    I don't need to do that.                   That   is

18    not a correct             statement of       the   law,     Mr.   Ko,   that just because

19    an external          --    if    the external      investigator was hired by

20    Gibson & Dunn,             it may very well be privileged.

21           So anyway --

22                   MR.    KO:       That's     fair,   you are absolutely correct.

23    All    I'm saying is,             in response to that             statement,      they're

24    identifying a categorical privilege and assertion over all

25    these documents,                excluding this narrow category of documents




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 1    that    they claim they're going to produce regarding

 2    communications with third-party app developers.                        So    it kind of

 3    runs both ways          is all      I'm saying,     Your Honor.

 4                  MS.   WEAVER:         Your Honor,     if   I may,   I think we heard

 5    an offer from Mr.          Snyder that we had not previously heard.

 6   And we actually started this discussion months ago by asking

 7    about    the escalation process.              So,    if we got a deadline        for

 8    Facebook to         send to us       the documents       sufficient to describe

 9    the escalation process,               we might be able to identify

10    categories.

11           We're a little constrained,             because we don't know,           really,

12   what    to ask for.       We would only be working off experience                  in

13   other cases about how investigations were run,                      and we know that

14   Facebook is really specialized.                 So we don't have a lot of

15   insight,       really,    into how it was        run.       Certainly prior to,     you

16   know,    2018.       We know about       their communications with third

17   parties because we've             seen them,    both in the public domain and

18   documents that we've received here.

19           But    I think getting a description from Facebook about:

20   These are the teams,            this    is who did what,        something like that

21   by a certain date within a reasonable amount of                       time,   then we

22   can dig in and make a proposal about:                       These are the test

23   categories we want.             If    that's   the direction Your Honor wants

24   to go    in.

25                  MR.    SNYDER:        Your Honor,     that    is all privileged,




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 1    which is why I say,             without waiving privilege,               I was    simply

 2    saying that we can't             -- we had engineers,              we had outside

 3    consultants,         we had lawyers,           we had policy people all working

 4    together to          investigate every app on the platform prior to

 5    2015.

 6         And you know,         if we meet and confer and they asked us

 7   about those consultants,             I would say Gibson Dunn hired them.

 8   And they all were Covelled                (phonetic),        and they're all working

 9   within --       at    the direction of counsel.               But    --

10                   MS.   WEAVER:      Well,       if   I may,   this    is where we begin

11    to get     confused.       Because       if    they are categorically saying

12    everything is privileged,                then maybe we        should brief        that.

13    That can't be right.

14         So    I don't know what we have to do to                      --

15                   THE COURT:        I agree.

16                   MS.   WEAVER:      Yeah.

17                   THE COURT:        I doubt       that   that's correct.        But a lot

18    of   it may be,        and a lot of       it may not.         So to brief        it gets us

19    nowhere,       unless we do it       in context.            That's all.

20                   MS.   WEAVER:      So how can we develop an understanding?

21    As plaintiffs,          to understand how these things are reviewed,

22    I'm a bit       stymied.

23                   THE COURT:        Well,    I think we        start with something.

24    Like,     we   start with something.

25                   MR.    SNYDER:     I think the judge had a great                  idea.




                                                                                                     0114
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 1                  THE COURT:          Focus        on    something.              They produce a log,


 2   and then,       and then we          --    we    --       we    --    I rule       on that.        Right?


 3   So we    start       with    --


 4                  MS.   WEAVER:         But    I'm concerned,                   Your Honor,       that


 5   they'll       cherry-pick only privileges                            communications         between


 6   lawyers       and    --


 7                  MR.    SNYDER:        No.        No,       we have          an obligation       --


 8                  MS.   WEAVER:         --    get       to    the heart          of    the    issue    --


 9                  MR.    SNYDER:        We have          an ob-          --


10          (Reporter          interruption)


11                  MR.    SNYDER:        Your Honor                --


12                  MS.   WEAVER:         My apologies.


13                  THE COURT:          So     this       is what you do.                 You    start


14   with    --    ask    for communications                   among policy people,                that       no


15   lawyers were on.              Just      start with that.                     You ask for that.


16   Right?


17                  MR.    SNYDER:        Or another                --


18                  THE COURT:          Or ask        for communications                   among the


19   external       investigators,             which no             lawyers were          on.


20          In other words,            that's,        right,             going to be your Backs


21   (phonetic)      case.        So   start by asking                    for those.


22                  MR.    SNYDER:        I thought,                Judge,       you had an excellent


23   idea.        Let's    say there's App X that we had correspondence


24   with,    and    it's       in those       16,000          pages.           And we have back and


25   forth with an app about                   some platform violation.




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 1           They can then ask us with respect             to that particular app

 2   and --       and engagement with that app,          what    is behind the

 3   curtain?        You know,       who else communicated at       Facebook before

 4   you sent       that?     And we can look at    those documents,             and

 5   determine what's privileged and what's not.

 6           And if we make a categorical privilege claim with respect

 7   to everything so-called             "behind the curtain,"       that could be

 8   teed up for Your Honor because that would be                   illustrative of an

 9   approach to a particular app enforcement                   that grows out of the

10   legal    investigation.

11                   MR.    LOESER:    And Your Honor,     I think,    again,          for this

12    to work --          and this    is Derek Loeser speaking --          we will come

13    up with a couple categories             that we will choose.

14           They may not be the categories          that Mr.       Snyder would like

15   us to choose,          but   they will be the categories        that we think

16   will    show as best we can,          when we don't have the          information

17   when we are making the choices,             why there       is a problem with the

18   approach that          they're taking.

19                   MR.    SNYDER:    And I just want     to warn everyone or

20    caution everyone,            this was a massive     investigation because the

21    CEO committed to Congress and the public                   that he was going to

22    direct       this    investigation.

23           So    if you ask,       just as a caution    --    narrate,    no    --    for

24   every communication between consultants and among consultants,

25   that will be probably tens of millions of communications.




                                                                                                   0116
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 1   Because every time we told a consultant                        to do something with

 2   respect      to an app,          and it was always a legal direction,                   the   --

 3   the consultants didn't direct                     the    investigation,    I imagine that

 4   the consultants then went off                     into consultant-land and

 5   exchanged 10 million emails before they came back with the work

 6   product,       brought      it    to counsel,          and then a decision was made.

 7           So the volume here               is    -- we    should look at    the volume.          My

 8   guess    is we're talking about many tens of millions of

 9   documents.

10                      MR.   LOESER:        Well,   Your Honor,     we haven't       received

11    many millions of anything.                     But     I think a lot of what

12    Mr.    Snyder just         said sort of highlights             the problems and the

13    reasons why I think this will                     result    in briefing.

14           For one,         maybe we'll          start as a category the

15   communications between the CEO and the data policy people.                                    And

16   this    is    --    I mean,      everything you'll          read about    this    from their

17   public       statements,         this    is a very public activity that             Facebook

18   has done.           And it's very important,               clearly,   to get     this

19   information about             this      investigation to its users.              That's why

20   they keep posting about                  it.

21           We can come up with some categories                     that we think will

22   make clear to the Court what                     the problem is and where the

23   limits of privilege are.

24           As you've,         I think,       rightly noted,       we do not want access

25   to and understand that we don't get access                        to privileged




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 1   communications.          But     there's a lot here that's not privileged.

 2   And we know that because of                the public          things       that Facebook has

 3   said,    including what          the CEO has          said.

 4           And we'll       figure out       some categories             that    try and bring

 5   this    into    focus    for the Court.

 6                   THE COURT:        I think that's             the way to do it.         And I

 7    guess on Wednesday,             you did get          some    --    about    10,000 pages,

 8    and you can look at             that and see          if    that helps.

 9           But    I do want    to    --    I don't       think necessarily we should

10   wait    to adjudicate       it,    but    I do want          to adjudicate       it   in a

11   context.        And it'll be just one                small piece,       and that      then

12   will,    I think --       I've    found,       at    least,    that'll help with the

13   other,    the other side.              Okay,    so that will be on your agenda to

14   discuss.

15           Okay.     I do have a settlement at                   9:30    so we have to      --   I'm

16   going to be       late for.

17           Let's    see.    Oh,     the    search terms.              So the    stipulation that

18   the parties       signed said that             Facebook was going to provide

19   search terms          for a broad spectrum of custodians.

20           So tell me how Facebook has come up with that broad

21   spectrum of custodians             that    they will provide on July 21st.

22                   MS.   KUTSCHER CLARK:               Sure,    Your Honor.       And,    I think

23    the    issue that was         raised in the           statement was a bit of a

24    misunderstanding.             So I think we can resolve that                    easily.

25           The    search term protocol provides a deadline to propose




                                                                                                          0118
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 1   search terms         for each custodian.              We divided the custodians

 2   into eight groups.             And what we       said is we would propose a

 3   comprehensive         set of    search terms by the 21st.              But   the

 4   deadline to propose            search terms          for the first    four groups        is

 5   also the 21st,        with future deadlines              for other groups.

 6           The way we understood that               is we'll be providing a

 7   comprehensive         set of    search terms          that will apply broadly next

 8   week,    but we're not proposing any terms                  that are    specific to

 9   custodians we have not yet                  interviewed,    until    the deadlines         for

10   those custodians.

11           So the     idea is     there will be a comprehensive set of terms

12   for the first         four groups          that will    include terms that         are

13   specific to the custodians within those groups.                         So we talk to

14   those people,        we learn jargon,           we    learned code names.          We'll

15   include that         sort of    information.           To the extent groups of

16   custodians were not            interviewed,          we're not going to have

17   specific terms         for those people yet because we're still talking

18   to them.

19                  THE COURT:           But    they will be    included in the broader

20    search terms.

21                  MS.   KUTSCHER CLARK:            I'm sorry;    I just didn't

22    understand some of            --

23                  THE COURT:           Sorry.     But what you're       saying is      --

24    but    --   but   is the broader search terms will apply to them.

25    You just won't have the                  specific    search terms.




                                                                                                       0119
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 1                 MS.    KUTSCHER CLARK:              Yes,       exactly.


 2           And the one        thing    I do want          to clarify,                just       to make         sure


 3   we're all     on the       same page,       is    there          is    one RFP,          a single RFP


 4   that    is not     covered by the          first       four groups                of    custodians.


 5           So because we will           not yet       have          spoken to any of                   the


 6   custodians       about     the    issues with that                RFP,       we did not             intend to


 7   propose a comprehensive              set    of    search terms                for that            one


 8   specific     RFP.        But    otherwise,       they will             all be          covered,         in


 9   addition to        the    specific    terms       for the             first       four groups.


10                 MS.    WEAVER:        Which RFP          is    that?


11                 MS.    KUTSCHER CLARK:              Don't          hold me          to    this;       off      the


12    top of my head,           I think    it's       22.        But       I would need to                  look


13    again at my notes.


14                 MS.    WEAVER:        Okay.        This       is    the       first we're             learning


15    of    it.   But    we're       fine with that,             Your Honor.                 The       statement


16    did read as        though they were             limiting             it    to 41.           We


17    understand,        and I think you will understand the point.


18                 MS.    KUTSCHER CLARK:              Yeah.           I think          it was          just      a


19    misunderstanding.               We're happy to             talk more about                   it.


20                 THE COURT:           Okay,    great.           What          else    should we            talk


21    about?


22                 MS.    WEAVER:        Your Honor,             very briefly,                just


23    43(b)(2)(C),        I think you've          seen kind of                   an example            of    the


24    crossing of        ships       in the night.


25           For example,           you know,    with regard to ADI,                         it    has      been




                                                                                                                          0120
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 1   very hard for us          to get our arms around what            Facebook is

 2   withholding.        And we,    for example,         have told Facebook that we

 3   will tell them if we are withholding anything,                     any categories

 4   of documents that are responsive.                   And things got a little

 5   flipped around.

 6        I think we originally framed it as:                   Let us know if you

 7   categorically object          to any RFP.          And they --    initially they

 8   said yes,       then they said    --   the    final    response was only 19,

 9   which is ADI.

10        But    then when we dug in,          and we started meeting and

11   conferring,       it became unclear to us whether Facebook is taking

12   a position with regard to certain categories of documents that

13   are responsive.           Meaning we're not objecting categorically to

14   an RFP,    but are they withholding some small               subset that       is

15   responsive that       they haven't       identified to us because they're

16   saying no,       that's not    relevant?       And the whole point of

17   34(b)(2)(C)       is to make that      transparent,       so the parties can

18   engage.

19        And,       and this    is what we understand now,            Facebook is

20   saying:    Well,    for search term documents,            we're not    ready yet.

21   And we understand that,          and we will wait.

22        But we want          to know now for categories of RFPs where

23   search terms are not          required,      has    Facebook decided that       there

24   are responsive materials which are not                  relevant?     And we heard

25   some of    it    today.     Some of    it came out      in their statement.         But




                                                                                                0121
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 1   that's the conversation that we want                     to have.      And we think

 2   we're entitled to that.

 3                  MR.     SNYDER:     Your Honor,      just briefly,        they raised

 4    the    same    issue with Judge Chhabria with regard to our FTC

 5    production.           And Judge Chhabria ruled,            clearly consistent with

 6    the federal rules,            that defendants,          like all parties,        are

 7    presumed to conduct             their relevance review in good faith and

 8    are not       required to make         such disclosures which are not

 9    required.        That    is   to say,     there's no requirement          that we

10    identify irrelevant documents                in advance.

11           We are going to.          We've produced 1,200,000 pages of

12   documents,       including,       I think,    40-   or 60,000        that are    internal

13   Facebook documents,            already.      We will continue to produce

14   responsive relevant documents.                 The rules        require that.         We've

15   done    it.    And we don't have an obligation to say what                       is

16   irrelevant and not being produced.                   That's      just backwards.

17   It's been rejected by Judge Chhabria.                     And really,      we think,

18   you know,       it makes no sense whatsoever.

19                  MS.     WEAVER:     Well,   we don't       see   --   go ahead.

20                  THE COURT:         I guess what      --    for example,     something

21    that's been produced are documents                  that were produced to the

22    FTC.     Right?

23           And so    --

24                  MR.     SNYDER:     Yes.

25                  THE COURT:         --   one question is:          Did you withhold




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 1    anything that's not            relevant?

 2                  MR.    SNYDER:     That was asked of us.                    And Judge

 3    Chhabria      said we did not have to              --   I don't know the answer to

 4    that,   but    --

 5                  MS.    KUTSCHER CLARK:         No,    we didn't.             He didn't

 6    withhold anything on relevance grounds,                        no.

 7                  MR.    SNYDER:     We did not.

 8                  THE COURT:        Okay.      You did not.            Okay.         All right.

 9          So,   Ms.     Weaver,    what   is   -- what      is   the     --    the    search

10   terms,   I get,       were not    --   they can't know until                 they've

11   searched.

12          So what       is    -- with respect     to what's been done                  so far,

13   what   is the concern?

14                  MS.    WEAVER:     Other regulatory documents,                      so they

15    produced to the            ICO and DCMS     in the UK.          Those are          regulatory

16    bodies.       Did they categorically decide that                      there were

17    portions of those            inquiry not     relevant        to our case?

18          For example,          this has arisen        --   this    is    in a slightly

19   different      context       -- with regard to PwC documents.                       They have

20   said PwC was         looking at    things not        relevant         to the case.           But

21   we don't know what            those are,     even generally,               by topic.     And if

22   they told us,         we might agree.         But    they're just making the

23   decision,      without       sharing it with us.

24          They have          said at different points:              We're only producing

25   certain kinds of materials               relating to advertising.                    We don't




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 1   know where they're drawing that               line.        This has arisen in the

 2   context of the financial documents,                  the RFPs      that    seek

 3   information about         their finances.           So,    how are they drawing the

 4   line been between what            they think is          relevant,      and what   they

 5   think isn't?

 6           These are all         things where we need them to take a

 7   position,    and frankly,         some of    these things,         it would be

 8   helpful    if they did it         in writing.        Because when we have these

 9   conversations,       it's circular for us.                And we   --    there's

10   misunderstanding.             And if    they put    it on paper,        we can see    it,

11   and it's helpful.

12                MS.    STEIN:       Your Honor,       we have not       taken a

13    categorical position on anything that we're withholding.

14    We're doing this,            as plaintiffs do in every case.                Which is we

15    meet and confer         --    I mean,    we've had a gazillion

16    meet-and-confers on plaintiffs'               RFPs,       to use a technical

17    estimation of the time.               And then,     our reviewing and producing

18    documents    for relevance the way --               and responsiveness the way

19    parties do    in every case.

20           There's no category of documents                  that we're sort of

21   secretly setting aside.                Documents are either responsive and

22   relevant,    or they're not.             Most of    this    it's very hard to argue

23   about    in a vacuum,         which is what we've repeatedly said to

24   plaintiffs.        But   these are why the          --    the   search term ones,         as

25   Ms.   Weaver has noted,          you know,    it's       fighting about      it    in a




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 1   vacuum about what         the    scope   is going to be.

 2                THE COURT:         We're not    --

 3                MS.   STEIN:       Right.     For the      specific RFPs,             we've had

 4    very detailed conversations about what's getting produced.

 5    There's been no categorical objection to some                         sort of          --    I

 6    mean,    this use of      the term "categorical,"              there's no bucket of

 7    documents that we're            setting aside as        irrelevant.              We    look at

 8    documents on a document-by-document basis,                     as     they populate.

 9   And,     you know,   a reviewer will         look at      them for whether

10    they're responsive or not.              But,     I mean,    it's no different

11    than any other case.

12          And it's    just    really been very challenging for us because

13   we keep getting asked about              categorical,       you know,         objections.

14   We don't have a categorical,             you know,      bucket        that we're

15   refusing to produce.

16                MR.   LOESER:        Your Honor,      if   I can    --

17                THE COURT:          For the PwC documents,           were there

18    documents that were withheld as non-responsive                         --    as       --    yeah,

19    as not    relevant?

20                MS.   KUTSCHER CLARK:          Your Honor,         that's a difficult

21    question to answer because plaintiffs'                   (audio interference)

22    the PwC documents,         it's a much more complicated request,                             where

23    they asked for the documents              referenced in particular PwC

24    reports.     Ands the      issue there      is more about            the fact          that

25    it's very difficult            for us   to identify what         PwC,       as    a third




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 1    party,       relied on.      So there have not been relevance objections

 2    to those documents.             Some of      them haven't been produced

 3    because we're having difficulties                    identifying them.

 4           But    for all other materials,             what we have consistently

 5   told plaintiffs         is we are determining relevance based on the

 6   four theories of            liability that Judge Chhabria laid out               in his

 7   motion-to-dismiss order.               Judge Chhabria said these are the

 8   four theories that are              in play in the case.           And we are making

 9   every relevance determination,                based on those           four theories.

10   And that's what we have consistently told the plaintiffs.

11                   THE COURT:      But,    so,   but     I do think,       I do think that

12    you do have an obligation to,                as part of        the meet-and-confer,

13    explain       --   give examples.       For example:           This    is a document

14    that    is    responsive to your requests but              that we decided was

15    irrelevant.          Just explain that.

16                   MR.   KO:    Your Honor,       this    is David Ko again.        And

17    just    --    I completely agree,         that's what we've been asking and

18    in the context of           this    specific example of          PwC that we're

19    discussing is exactly where               it's come up.

20           I'm a bit      surprised that Ms.           Kutcher Clark is        saying that

21   they are not withholding on relevance grounds due to                          some

22   technical misunderstanding of our requests.                        They have made       it

23   clear in their meet-and-confers                 to us    that    they believe that

24   both the Facebook privacy program and PwC                       (inaudible)    contains

25   large amounts of            information they believe are not relevant                  to




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 1   this case.

 2          And so we asked them to identify what                 those are,     because

 3   our view of those reports by PwC and the underlying Facebook

 4   privacy program is         that we believe most of           it    is relevant.       And

 5   we have provided them with examples why.                    They have refused to

 6   give us examples         in response for what        is not relevant.

 7           So you   --

 8                  MS.    KUTSCHER CLARK:       May I respond to those?

 9           (Reporter interruption)

10                  MR.    SNYDER:    Sorry,    my phone keeps on falling down.

11    That's what's happening.               I'm muting it;      I apologize.

12                  MS.    KUTSCHER CLARK:       The   issue with the PwC

13    documents,      Mr.    Ko is correct      in that we don't believe

14    everything PwC looked into over a ten-year period is

15    necessarily relevant           to this case.       However,       we haven't

16    provided had a detailed analysis of                that,   because those

17    materials haven't actually been requested.                       And we've talked

18    about      those,    ad nauseam.

19           The plaintiffs did not           serve a document         request   for all of

20   the documents between Facebook and PwC.                  They served a very

21   different      request.     So we have been talking about that request.

22   And at      this point    it would be premature to do the type of work

23   Mr.    Ko   is describing,      because we don't have         it a request      for

24   that    information.

25                  THE COURT:       Okay.     All   right.   So the only guidance




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 1    I'm going to give here             is    that      if    --    if    responsive documents

 2    are being withheld on the ground that you decided they're not

 3    relevant,         I do think,    and I --          I --       that you should --           as part

 4    of the meet-and-confer,               you explain why,                and you give an

 5    example.          That   that's part of           the meet-and-confer process.

 6    If   --    if   it's being withheld on relevance grounds.                             If   it's

 7    not,      then there's not.           But    if    it    is,    then you should sort of

 8    give the other side an explanation as                           to how you're drawing

 9    that      line.

10                    MR.   LOESER:    Your Honor,             this       is Derek Loeser.         That

11    would be very helpful.

12                    MR.   SNYDER:    Judge,       I'm having             --   I know Your Honor's

13    late.

14           Are you suggesting that every time a reviewer                             --    I'm not

15   being facetious.            Every time a reviewer takes a document and

16   asks whether it's           relevant,        we have to make a notation so that

17   we can explain?

18                    THE COURT:      No,     of course         I'm not         suggesting that at

19    all,      Mr.   Snyder,    and I don't.           What        I said is as part of the

20   meet-and-confer process,                 generally when you've made decisions

21    as to what's relevant,            what       --    they say somewhat

22    categorically,           but   sort of give         --    just give an explanation:

23    This      is the direction that we gave our reviewers.                            Right?

24    This      is where we draw,       where we drew the line.

25           That's what        I'm saying.         Like,       generally --




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 1                  MR.     SNYDER:    Understood.

 2                  THE COURT:        --    drew the    line.    And they can say:

 3    Okay,    I understand that,            I agree.     We don't want those

 4    documents.           We already have a lot of documents              --

 5                  MR.     SNYDER:    We've done that;         we've done that

 6    already,       and I've even done that on earlier meet-and-confers.

 7   We will do        it again,      and we will do it with force and clarity

 8    again.        But we will make that clear.

 9          Thank you.

10                  THE COURT:        Okay.

11                  MR.     LOESER:    Your Honor,       I do think that would be

12   helpful.        An example would be the conversation we had about

13   ADI.      Clearly,       they made the decision that all              information

14    that was       internal would be withheld.                But when you    look at

15    their offer for what            they're producing,          they talk about      all

16    these communications with third parties,                     but   they're not    --

17    they haven't          'fessed up to what         they actually were doing,          was

18    eliminating from what            they intended to produce everything that

19   was    internal to Facebook.

20          So that kind of conversation would allow the parties                        to

21   quickly realize where the disconnects are.

22                  MS.     STEIN:    ADI    is completely --

23                  THE COURT:        As    I understand the ADI,         they believe,

24    their position is          that everything that was done as part of

25    their    --    the    investigation,      and whether they were outside




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 1   investigators          or   internal     Facebook people,                   is privileged.


 2   What      they've agreed to produce                 are    the       communications          like


 3   with the app developers,                because       clearly they're not                   part    of


 4   Facebook.         They weren't        hired at        the direction of                the


 5   attorneys.


 6                  MR.   LOESER:     Right.


 7                  THE COURT:       But     I understand                it's    a broad privilege.


 8   So   --   okay.


 9          When    shall we have       --    is    it    two weeks?


10                  MS.   WEAVER:     Yes,     Your Honor,                that would be          fine.


11                  THE CLERK:       (Inaudible)


12                  MS.   WEAVER:     That's        Friday the             31st?


13                  THE COURT:       Go back to           Friday.


14                  MS.   WEAVER:     I'm sorry;           this          is Monday,    isn't       it?        My


15   fault.


16                  THE COURT:       We were meeting on Fridays,                       so    that's


17   fine.


18          Ms.    Means,    how does      Friday the           31st       look?


19                  THE CLERK:       Oh,     the    31st       is    fine.       Do you want        9:00


20   or   8:30?


21                  THE COURT:       Can we do           8:30       again?


22                  THE CLERK:       Yes.


23                  THE COURT:       Okay.         All    right.           We'll    have    the


24   statement       due whatever the          schedule             is    that    I set.     That       seems


25   to be working well.




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 1                   MS.    STEIN:      Your Honor,      on the    schedule,    if   --    if we

 2    could build in a little bit more time between when can we

 3    get    --    sort of do the         initial exchange,        and then when we do

 4    the final exchange,               I think that would be helpful.

 5           It's    just    --   the    schedule has proven a little bit             tight as

 6   we have to       sort of work through issues,                often with our client,

 7   and get approvals.              It would    --    right now,    we typically have a

 8   24-hour turnaround.

 9                   THE COURT:         So what would you propose?

10                   MS.    STEIN:       I think 48 hours would be better,                or at

11    least       36 hours.

12                   THE COURT:         Ms.   Weaver,    can you work something out

13    with them?

14                   MS.    WEAVER:      Yes,   of course.        That's no problem.

15                   THE COURT:         Okay.    Whatever you guys work out               is   fine

16    with me.

17                   MS.    STEIN:      Thank you.

18                   MS.    KUTSCHER CLARK:           Your Honor,    one more timing

19    request.

20           We're    starting to find that during our meet-and-confers,

21   we're    sort of returning a little bit                to the game of

22   whack-a-mole we were all playing before we                      started meeting with

23   you.     And we're finding that we're having a little bit of

24   difficulty focusing and making progress,                      due to the    sheer

25   number of       issues that are on meet-and-confer agendas,                     and being




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 1   discussed.

 2           And we're just hoping that perhaps we could have a little

 3   bit of guidance limiting the number of               issues,    or at    least

 4   focusing the number of         issues,    so that we can make       sure we are

 5   moving forward with those things,               and not    spinning our wheels

 6   on 15    things    instead of making progress on five.

 7                MS.   WEAVER:    May I respond to that,           Your Honor?

 8                THE COURT:      Yes.

 9                MS.   WEAVER:    We believe that        it has been very narrow.

10    We haven't       raised any pressures of         issues    that we haven't

11    previously --       like ADI,   there are a number of          issues that we

12    have,    in fact,   been sitting on.

13           We understand      -- we worked would with them to give             them

14   six weeks to do this         first    set of    search terms.     But certainly,

15   there are all kinds of         issues    --    deposition protocols,       all

16   kinds of things       --   that we have been waiting on.           So    I'm really

17   kind of baffled by that.             And I don't know what       issues we have

18   been raising.

19           I do think it's      true that    Facebook asks us       to send them a

20   detailed email before each meet-and-confer on the topics we

21   wish to discuss,       which we have been doing.

22           So this    is a little bit out of         left    field to me,   but we

23   are really trying to work with the               system here.

24                THE COURT:      Okay.      I don't know what       I can do,    sort

25    of out of context.




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 1              MS.   STEIN:    Yeah,    I don't    think   --    I don't    think

 2   Ms.   Kutscher Clark meant     it    in any way to suggest            that there

 3   was a lack of cooperation on either side.                   I think we're just

 4   all dealing with a lot of          issues,    and thought we were making

 5   more progress when it was          sort of    tailored in advance as to

 6   what we   should specifically be discussing.

 7              MS.   KUTSCHER CLARK:       Exactly.

 8              THE COURT:      I see.     I think what you have to discuss

 9   is the ADI.      Right?    You're going to get         the    search terms on

10   July 21st.

11              MS.   KUTSCHER CLARK:       (Nods head)

12              THE COURT:      You have the plaintiffs'               production,

13   because now you have to discuss how you're going to get that

14   information.      And you have the defendant's ongoing production.

15              MS.   WEAVER:    And the 34(b)(2)(C)         issues,       if they are

16   withholding.

17              THE COURT:      Well,    yeah.     That's   related to their

18   production and if     they're withholding anything.                  So I think

19   those are the topics.        It's a lot.

20         Sounds   like things are moving forward.

21              MS.   WEAVER:    We are,    in fact,    meeting and conferring

22   slightly less than we were doing it             three times a week which,

23   although that was productive,          that was a little            intense.

24              THE COURT:      That was    intense.

25              MR.   LOESER:    Well,    and Your Honor,         at    the beginning




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 1   of   every meet-and-confer we have                 ten minutes    of generally


 2   getting along really well.


 3                  MS.   WEAVER:      That's       true.


 4                  THE COURT:        You're    all    getting along just          fine.     You


 5   know,    these are very trying times.


 6                  MS.   STEIN:      We've    all    learned a lot    about       each other.


 7                  THE COURT:        Yeah.     Yeah.


 8                  MR.   SNYDER:      Judge,       that's because    I stopped


 9   attending them.


10                  MR.   LOESER:      That was       a huge   advantage     for all       of us,


11   that's       true.


12          (Laughter)


13                  MR.   KO:    At   least    now you      freely admit     it,   Orin.


14                  THE COURT:        All   right.      I will    see you,    then,    on the


15   31st    at    8:30   a.m.


16                  MR.   LOESER:      Thank Your Honor.


17                  MR.   SNYDER:      Thank Your Honor.


18                  THE CLERK:        Court    is    adjourned.     Thank you,       everyone.


19          (Proceedings         concluded)


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                               CERTIFICATE OF REPORTER


            I,    BELLE      BALL,    Official      Reporter      for   the   United   States

Court,   Northern       District       of   California,     hereby       certify that     thr


foregoing    is    a correct         transcript      from the      record of


proceedings       in   the    above-entitled matter.




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                        Belle    Ball,      CSR   8785,    CRR,    RDR


                               Tuesday,      July    14,   2020
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER           MDL No. 2843
PRIVACY USER PROFILE LITIGATION          Case No. 18-md-02843-VC-JSC



This document relates to:                JOINT STATUS UPDATE

ALL ACTIONS                              Judge: Hon. Vince Chhabria and
                                         Hon. Jacqueline Scott Corley
                                         Courtroom: VIA VIDEO CONFERENCE
                                         Hearing Date: January 15, 2021
                                         Hearing Time: 8:30 a.m.




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       The parties respectfully submit this Joint Status Update in advance of the Court's

discovery conference scheduled for January 15, 2021 at 8:30 a.m.

                               I.      PLAINTIFFS' STATEMENT


         1.     Issues the Parties Have Addressed Since the Last Discovery Conference

       a.       Facebook's Document Production: Document production following the

agreement on search terms is not proceeding at the pace envisioned by the parties' joint

stipulation. The protocol agreed upon by the parties provided that Facebook would produce

documents on arolling basis 30 days after agreement upon terms, or by December 7, 2020. On

that day, however, Facebook produced fewer than 500 search term documents. Facebook

promised to produce its next installment of documents on January 11. On that day, Facebook

produced just 1,561 documents. These numbers do not square with Facebook's earlier

representations that the search terms ordered and agreed upon, as applied to Groups 1-4, would

hit on roughly 3million documents. Plaintiffs seek firm deadlines by which Facebook will

commence and conclude meaningful document productions arising out of the search terms that

the parties have negotiated for nine months, as well as transparency into why document

production is proceeding so slowly.

       b.       Search Terms: Unfortunately, the cooperation the parties have engaged in the

past did not continue following the last discovery conference. Pursuant to the parties' stipulated

Search Terms Protocol (Dkt. 573) Facebook delivered aproposal on November 13, which was

narrowed from the Court's earlier rulings. Facebook withdrew two previously proposed search

strings as well as custodians previously proposed for thirty-one search strings, and added just six

search strings. Facebook's initial proposal identified 839,789 documents. Plaintiffs delivered

their counterproposal on November 23, proposing additional custodians for 111 strings, revisions

to six strings, and 35 additional terms. Plaintiffs' counterproposal identified 2,446,701

documents, adding 1,606,912 documents. On December 3, Facebook delivered initial hit reports

that were inaccurate in many ways. Following Plaintiffs' identification of numerous deficiencies,



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Facebook delivered corrected reports on December 14 and December 18. Also on December 14,

Facebook delivered its response, which rejected Plaintiffs' counterproposal in its entirety. The

parties met and conferred regarding the competing proposals between December 15 and 22,

before breaking for the holidays. The parties exchanged "best and final offers" on January 8, and

Facebook now has an additional ten days to deliver hit reports on those proposals. Three business

days after hit reports are circulated, on January 21, the parties will identify remaining custodian

and string disputes for submission to the Court and may identify alimited number of strings for

sampling.

       Despite the opportunity these exchanges presented, the parties reached little substantive

agreement so far. At the outset, Facebook took an uncompromising position—entirely rejecting

each one of Plaintiffs' proposals (including additional custodians and strings), without seeking to

discuss them in the twenty-day period prior to the deadline for its response. Moreover,

Facebook's response was unreasonable—for example, it proposed custodians with zero hits 250

times across 29 strings. Indeed, Facebook has proposed and re-proposed custodians with no

document hits, despite its representations that it is carefully considering and narrowly tailoring

its proposed custodians to each search string. Facebook's failure to engage meaningfully by

substantively discussing the parties' proposals over the course of the past month means that the

parties now have an extremely limited opportunity to make substantive counterproposals before

submission of their disputes to the Court. Had Facebook provided even aportion of the January 8

proposal in December, the parties would be much farther along. Still, Plaintiffs remain hopeful

that the parties will be able to resolve asignificant number of the remaining disputes following

review of updated hit counts.

       c.       30(b)(6) Witnesses: The Court's Discovery Order No. 11, entered on December

11, 2020, required Facebook to provide a30(b)(6) witness regarding user data as articulated by

Discovery Order No. 9and another 30(b)(6) witness regarding how Facebook monetizes —

directly or indirectly —and values user data. Plaintiffs issued anarrow, targeted and specific

deposition notice on December 18, 2020 limited to the topics identified by the Court, and did so


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specifically to avoid dispute at the deposition about the scope of testimony set forth in the notice.

See attached. Facebook has objected to this notice on numerous grounds, set forth in anine

page, single-spaced letter received at 11:00 pm last night, including that Plaintiffs' topics do not

adhere to Discovery Order No. 9. Plaintiffs believe the more specific notice that we served is

appropriate and will prevent scope disputes at the deposition regarding the designated topics;

however, Plaintiffs are not interested in engaging in alengthy dispute with Facebook regarding

the language of the deposition notice and believe the Parties' time is better spent on the

deposition itself. Accordingly, if and to the extent deemed appropriate by the Court, Plaintiffs

propose, in the alternative, the three topics set forth in the Order for the time period 2012-2017:

(1) identification of what data Facebook collects and obtains from auser's on-platform and off--

platform activity, and how Facebook maintains and uses it, including data inferred from that

activity and data; (2) how Facebook shares or makes accessible to which third parties all data

described in Topic 1; (3) how Facebook monetizes—directly or indirectly—and thus values user

data described in Topic 1. Plaintiffs ask that these depositions proceed remotely no later than the

second week of February.

       d.       Discovery of Named Plaintiffs: Plaintiffs produced an additional 3,224

documents, totaling 5,364 pages, since the last discovery conference on December 9, 2020, and

continue to review documents for future rolling productions. Consistent with Facebook's

preference, Plaintiffs are providing supplemental interrogatory responses on arolling basis.

Further supplemental information will be served on or before January 22, 2021. As discussed

with Facebook, Plaintiffs will also prepare asuperseding, omnibus set of responses to the

pending interrogatories once all supplemental responses are complete.

       e.       Privilege Log Issues: To date, Facebook has provided privilege logs

corresponding solely to productions completed by September 18, 2020. Plaintiffs challenged

1,599 of Facebook's 4,432 initial privilege log entries on October 2, 2020. Facebook responded

on December 2, 2020, providing arevised privilege log on December 7, 2020. The parties

continue to discuss remaining challenges. Plaintiffs have identified to Facebook the following


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two categories of documents as astarting point for substantive discussions: 1) 152 documents for

which the withheld information was disclosed to email distribution lists whose individual

recipients are not identified, and 2) 459 documents listed for which no attorney is identified on

the log, no attorneys are visible on the face of the documents, and the withheld information does

not appear to seek, contain, or provide legal advice. Plaintiffs believe that substantive discussion

on these topics will aid in narrowing the remaining privilege log disputes.

       1.       ADI: Pursuant to the order this Court entered on October 6, 2020, Facebook

produced on December 10, 2020 privilege logs for six exemplar apps that were investigated as

part of ADI. Other than correspondence with app developers consisting of 65 pages of

documents, Facebook asserted attorney client privilege over every email, chart, table, slide,

diagram, agenda, task list, chart, and spreadsheet associated with the company's investigation of

these six apps. It is Plaintiffs' understanding that the Court wishes to view examples of

purportedly privileged documents to assess the privilege claims. July 13 Tr. 36:16-19 ("Because

the way I'm going to be able to adjudicate this is to take some exemplars, and rule, and then the

parties then can use that and apply it.") Plaintiffs identified to Facebook 400 documents where

the logs show that no attorney was an author or recipient. In light of Discovery Order No. 7,

which "anticipates that briefing on the privilege dispute will commence no later than some time

in January 2021[,]" Plaintiffs proposed abriefing schedule to Facebook on December 22, 2020,

but Facebook believes any such briefing is premature. Plaintiffs therefore propose that they

provide asubset of these documents for an in camera review along with an opening brief by

January 29, 2021. Plaintiffs seek guidance from the Court on the total number of documents it

would like to review.

       For its part, Facebook has asked that the parties engage in another months-long, drawn-

out meet and confer regarding each of the thousands of privilege log entries. Plaintiffs do not

believe that this is what the Court contemplated and ask for submission deadlines to bring these

issues to aclose.

       g.       Confidentiality of Documents in the Public Domain: Facebook has asked the


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Court to further maintain adocument under seal, claiming confidentiality despite the fact that the

document can be found on several public websites. Plaintiffs have been willing to submit the

matter to the Court based upon the briefs already on file but, in the spirit of compromise, have

agreed to Facebook's request for an extended briefing schedule which will be submitted as a

stipulation for Court approval.

       h.       Facebook's Responses and Objections to Plaintiffs' Fourth Set of

Interrogatories: Facebook served its Responses and Objections to Plaintiffs' Fourth Set of

Interrogatories on November 20, 2020. Plaintiffs have since identified several deficiencies in

Facebook's responses that remain unresolved and sought to discuss them. For example,

Plaintiffs have asked Facebook to answer interrogatories about the company's "business

partners" as Judge Chhabria defined them in his order on the motion to dismiss. PTO No. 20 at

8. Facebook has insisted upon limiting its responses to integration partners, which are a

narrower group of companies than the business partners described by Judge Chhabria. Plaintiffs

expect to file amotion to compel in accordance with the Court's order on briefing matters but

would appreciate any guidance the Court wishes to provide.

       Facebook has also not verified its substantive interrogatory responses. The identities of

those who verify the interrogatories on behalf of Facebook are relevant to ongoing custodian and

deposition discussions. As such, Plaintiffs ask that Facebook provide these verifications no later

than January 22, 2021, more than two months after responses were provided.

       i.      Sworn Testimony and Written Discovery Responses in Related Actions:

Plaintiffs have requested the deposition transcripts and written discovery responses from the ten

governmental and regulatory actions the company has identified as related to this action.

Facebook has produced documents from those actions but to date has not produced relevant

evidence from the same actions in the form of testimony or sworn responses. Plaintiffs request

guidance from the Court on adeadline by which these materials will be produced.




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                                 FACEBOOK'S STATEMENT

       Facebook addresses the work completed since the December 9conference, provides an

update on the ordered 30(b)(6) deposition, and responds to the issues Plaintiffs raise.

1.     Progress since the December conference

       Facebook's document production and review continues. Facebook's primary focus has

been its ongoing document review, including review of the 3.1 million documents (including

families) that hit on the final search strings for the 38 custodians in Groups 1to 4. Facebook

produced nearly 14,000 documents since December 7(not 2,000, as Plaintiffs say).

       Search string negotiations are ongoing. Substantial resources continue to be dedicated to

search string negotiations. Facebook made asearch string proposal for the 43 custodians in

Groups 5to 8, which proposed adding more than 1.5 million documents to the 3.1 million

documents it is reviewing currently. Plaintiffs' counter-proposal demanded more than 2,600

changes that would have added nearly 7million documents to Facebook's review. Facebook

invested hundreds of hours to evaluate and provide written responses to all 2,600 proposed

changes.' The parties met and conferred before the holidays and exchanged final proposals on

January 8. The parties will continue negotiations in accordance with their stipulation. Dkt. 573.

       Facebook logged 6,100 privileged documents. Facebook served 6privilege logs, which

log approximately 6,100 documents, under the parties' sampling protocol to log exemplar

materials from Facebook's attorney-driven App Developer Investigation (Dkt. 518).

       Facebook responded to Plaintjs' 30(b)(6) deposition notice. Facebook provided its

initial response to Plaintiffs' 30(b)(6) deposition notice on January 13 (attached as FB Exhibit

A) and is prepared to meet and confer with Plaintiffs on the topics for the deposition.

       The parties negotiated two stipulations. The parties negotiated and agreed to an Expert

Stipulation. They also agreed to aschedule to brief the confidentiality of leaked materials.



 I The hits Plaintiffs cite for the parties' proposals do not include families, and their statement

 that Facebook "withdrew" previously proposed strings/custodian combinations is inaccurate.
 Facebook replaced certain strings with strings the Court ordered for Groups 1-4, which the
 parties' stipulation requires. See Dkt. 573 IT 2.


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        Plaintuf, did not amend their interrogatoiv responses. Facebook continues to await

substantive answers to the interrogatories it served in August that ask Plaintiffs to identify the

"sensitive" information they believe this case to be about, as Discovery Order No. 11 directs.

H.      Upcoming 30(b)(6) Deposition

        Despite the Court's instructions, the proposed 30(b)(6) deposition notice Plaintiffs served

is not narrowly tailored to the two areas of inquiry the Court identified in Discovery Order No

11. Instead, it purports to notice adeposition for Feb. 5on 12 sweeping, generalized topics that

concern nearly every aspect of Facebook's business. The notice's breadth, number of subject

areas, and lack of specificity make it impossible for Facebook to meaningfully prepare a

witness—much less on aprompt timetable. To move the ball forward, on Wednesday Facebook

sent Plaintiffs aletter describing with reasonable particularity the topics on which it is able to

prepare adeponent to address the issues the Court identified. See FB Exhibit A. Facebook is

hopeful that its efforts to specify these areas of inquiry will help the parties reach agreement on

appropriate topics, allow Facebook to prepare awitness, and avoid unnecessary disputes during

the deposition. Once the topics are settled, the parties should agree on adate for the deposition.

HI.     Additional Issues Raised by Plaintiffs

        Plaintiffs' portion of the joint update continues aconcerning trend of asking the Court for

rulings on issues that have not been raised to Facebook or about which the parties are actively

meeting and conferring. The meet-and-confer process is supposed to be agenuine effort to reach

negotiated resolution without Court intervention, not aperfunctory box to be checked on the path

to motion practice (which should not be considered inevitable). By using their status updates to

seek rulings on unripe issues, Plaintiffs are undermining the meet-and-confer process, forcing

Facebook to brief significant issues in fewer than 24 hours and in an artificially confined space,

and imposing on the Court to issue premature and potentially unnecessary rulings.

        Plaint4i have not raised challenges to Facebook 's ADI privilege logs. Plaintiffs'

submission assumes it is aforegone conclusion that the Court will engage in in camera review of

AD1 documents, jumping straight to the question of how many documents the Court will review.


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But Plaintiffs have not made ashowing that in camera review is necessary or appropriate.

        Facebook served 6ADI privilege logs on Dec. 10—one related to each app selected for

the sampling exercise to show the universe of materials related to each investigation. Under the

parties' stipulation, Plaintiffs were required, within 30 days, to "identify in writing any particular

privilege log entries that it asserts are not privileged" and explain its challenges "with reasonable

specificity ...as to each privilege log entry"—to be followed by aresponse and meet and confer

process. Dkt. 462 TT D(1)-(4). Plaintiffs have not served any challenges to the logs, much less

particularized objections. Instead, Plaintiffs sent an email telling Facebook they intend to brief

and seek in camera review of every single entry on Facebook's logs that does not include the

name of an attorney. They attached to their email alist of these entries, which account for 400 of

the 6100 documents Facebook logged, but refuse to identify the bases for their challenges.

        This unrestrained approach sweeps in hundreds of highly detailed entries that indicate

clearly the logged documents reveal legal advice from Gibson Dunn and other attorneys and

make aprima facie showing of privilege. See, e.g., United States v. ChevronTexaco, 241 F.

Supp. 2d 1065, 1077 (N.D. Cal. 2002) (communications between non-lawyers revealing

counsel's advice are privileged). Plaintiffs' list even includes entries for attachments to

privileged emails, disclosing the attachment was produced independently or is ablank .htm file.

It appears Plaintiffs identified 400 documents to challenge by simply running asearch for entries

where no attorney appears, without even reading Facebook's detailed entries for each document.

        "Once aparty has made aprima facie showing that adocument is privileged," it is

incumbent upon the challenging party to "show afactual basis sufficient to support areasonable,

good faith belief that in camera inspection may reveal evidence that information in the materials

is not privileged." Rembrandt v. Apple, 2016 WL 427363, *3 (N.D. Cal. Feb. 4, 2016). If

Plaintiffs wish to challenge Facebook's logs, they must articulate alegally and factually

sufficient challenge "as to each ...entry," allow Facebook to respond, and meet and confer in

good faith. Dkt. 462 11¶ D(1)-(4). Plaintiffs repeatedly take shortcuts—creating enormous

volumes of unnecessary work for Facebook. Now they are asking the Court to review extensive


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briefing and large swaths of documents to check Facebook's work, when they have not even

conducted asufficiently careful review to raise targeted and particularized challenges.

       The additional privilege issues Plaint,fs raise are not ripe. At the outset of discovery,

Plaintiffs demanded Facebook produce materials it produced to government entities in related

investigations/actions. Facebook produced these materials as they were produced to the

government—maintaining any redactions. Facebook served aPrivilege Log for nearly 4,500 of

these documents, the majority of which relate to narrow preexisting redactions.

       Plaintiffs have no basis to challenge this log; they received what they requested—cloned

productions from government actions. But Plaintiffs sent Facebook aletter listing 10 categorical

bases on which they purport to challenge 1,599 redactions made in other matters. The vague list

includes "no counsel is present," "the document does not appear to contain the solicitation or

provision of legal advice," and "the document does not appear to have been created in

anticipation of litigation." Plaintiffs list hundreds of documents purportedly falling into each

category, with no other detail. Even if Plaintiffs were entitled to challenge redactions from

cloned productions (they are not), this is not an appropriate way to raise challenges. Plaintiffs

must detail "with reasonable specificity" specific factual and legal bases for challenging "each

... individually logged document," Dkt. 462 lj D(2), so Facebook can meaningfully assess them.

       Plaink(fs' request that Facebook produce an arbitrary number cf documents each month

is unworkable. Facebook has dozens of attorneys reviewing documents and will continue to

make productions every four weeks. But Facebook cannot guarantee acertain production

volume each month, no matter how many documents it reviews, because the number of

documents produced depends on how many reviewed documents are responsive/non-privileged.

To date, the review set generated by the search strings has had avery low responsiveness rate,

further confirming that Plaintiffs already received the documents most relevant to this case in the

materials produced to regulators and that Plaintiffs' proposed searches are wildly overbroad.

       Plainkji seek to brit!' unripe issues about FB's interrogatory responses. Facebook

served more than 500 pages of interrogatory responses in November. Plaintiffs now say they


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identified "several deficiencies" they wish to brief, but only discussed one with Facebook: the

meaning of "business partners." The parties are meeting-and-conferring on that issue on Friday

afternoon, so it is concerning that Plaintiffs predetermined they will "file amotion to compel."

       In any event, Facebook answered the interrogatories consistent with Plaintiffs' own

definitions. Plaintiffs' interrogatories defined "Business Partners" as "the third parties with

whom Facebook partnered to develop and integrate Facebook on avariety of devices and

operating systems," citing alist of "integration partners" Facebook provided to Congress. This

tracks Plaintiffs' Complaint, which raises allegations about this same list of "integration

partners" (SACC, Dkt. 491,   TT 430-440),   and the Motion to Dismiss Order, which recognizes

that the "non-exclusive list of companies that the complaint identifies as business partners ...

came from ...[Facebook's list of] 'integration partnerships' ...in aletter to ...the House of

Representatives" (Pretrial Order 20, Dkt. 298 at 9). Facebook will be amending its interrogatory

responses within the next two weeks, and will serve its verifications with those amendments.

       Plaintjs are not entitled to corlidential materialsfrom government investigations.

Facebook agreed to kick-start discovery by re-producing responsive documents it produced in 10

related government investigations/actions. Plaintiffs now demand written discovery and

deposition transcripts from those matters. There is ageneral presumption against this type of

"cloned discovery." In re Volkswagen "Clean Diesel" Marketing, Sales Practices, and Prods

Liability Lit., 2017 WL 4680242, at *1-2 (N.D. Cal., Oct. 18, 2017). That presumption is even

stronger here, given Plaintiffs seek materials that would reveal confidential aspects of 10

government investigations, many of which are governed by confidentiality agreements that

would not even allow production of the materials. 2 If the Court is inclined consider Plaintiffs'

request to compel production of these documents, Facebook respectfully requests full briefing.



 2 Nor would it be efficient for Facebook's counsel to coordinate with the law firms that
 handled these 10 related actions to locate, analyze, and redact the materials Plaintiffs seek.
 Plaintiffs can ask their own interrogatories, and producing deposition transcripts will not reduce
 the number of depositions in this action, as Plaintiffs will not agree to forgo deposing agiven
 witness if prior testimony from the witness is produced. They seek transcripts as impeachment
 material. See In re TFT-LCD Antitrust Litig., 2013 WL 12171856, at *3 (N.D. Cal. May 29,
 2013) (rejecting "side excursion[s] into ...['other lawsuit[s] ...to gauge ...credibility.")

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Dated: January 14, 2021                         Respectfully submitted,



KELLER ROHRBACK L.L.P.                          BLEICHMAR FONTI & AULD LLP

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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

       Executed this 14th day of January, 2021, at Oakland, Washington.



                                             Is/ Lesley E. Weaver
                                             Lesley E. Weaver




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                                   CERTIFICATE OF SERVICE

          I, Lesley E. Weaver, hereby certify that on January 14, 2021, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.


                                                Is' Lesley E. Weaver




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               PLAINTIFFS'
                   EXHIBIT A



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Plaintifs' Co-Lead Counsel

Additional counsel listed on signature page



                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC


This document relates to:                            PLAINTIFFS' NOTICE OF DEPOSITION
                                                     OF DEFENDANT FACEBOOK, INC.
ALL ACTIONS                                          PURSUANT TO FEDERAL RULE OF
                                                     CIVIL PROCEDURE 30(b)(6)


       TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT under Federal Rules of Civil Procedure 26 and

30(b)(6), Plaintiffs, by their counsel, will take the deposition of Defendant Facebook, Inc.

("Facebook") at 9:00 a.m. on February 5, 2021 via remote audio-video conference and through a

remote platform deposition service mutually agreed upon by the parties. The deposition will be

taken before aperson authorized by law to administer oaths under Federal Rules of Civil

Procedure 28(a) and shall continue from one day to the next, excluding Sundays and holidays,

until the examination is completed.

       Pursuant to Rule 30(b)(6) and the Court's Discovery Order No. 11 (Dkt. No. 588),

Defendant is hereby notified of its duty to designate one or more officers, directors, managing

agents or other persons most knowledgeable or qualified to testify on its behalf concerning the



PLNOTICE 30(B)(6) DEPOSITION                     1                                     MDL No. 2843
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matters set forth below in Topics 1-12. Each such designee produced to testify has an affirmative

duty to have first reviewed all Documents, reports, and other matters known or reasonably

known or available to Facebook and to familiarize himself or herself with all potential witnesses

known or reasonably available to provide informed, binding answers at the deposition.

Defendant Facebook shall inform Plaintiffs of such designations(s) at areasonable time prior to

the deposition(s), but no later than 7days before the deposition(s), by setting forth the identity of

the person(s) designated to testify with respect to the matters specified below in Topics 1-12. The

deposition will continue on the day noticed and for additional days, if necessary, excluding

Sundays and holidays until completed.

        Plaintiffs issue this notice pursuant to Discovery Order No. 11 and reserve the right to

notice and conduct additional Rule 30(b)(6) depositions of Defendant on separate, non-

duplicative topics.

Dated: December 18, 2020


KELLER ROHRBACK L.L.P.                                    BLE1CHMAR FONTI & AULD LLP

By:     /s/ Derek W. Loeser                               By:     /s/ Lesley E. Weaver
        Derek W. Loeser                                           Lesley E. Weaver

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                                 Plaintufs' Co-Lead Counsel




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                                  CERTIFICATE OF SERVICE

        Ihereby certify that Ihave served atrue and correct copy of:

    • PLAINTIFFS' NOTICE OF DEPOSITION OF DEFENDANT FACEBOOK, INC.
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(b)(6)


via Email on this 18th day of December, 2020 to the person(s) set forth below:

Joshua Seth Lipshutz                              Kristin A. Linsley
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 Orin Snyder                                      Martie Kutscher-Clark
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        Ideclare under penalty of perjury pursuant to the laws of the United States of America

that the foregoing is true and correct.

        Executed at Seattle, Washington, on December 18, 2020.


                                             /s/ Sarah Skaggs
                                             Sarah Skaggs




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                                          SCHEDULE A

  I.     DEFINITIONS AND RULES OF CONSTRUCTION

         In the event of any conflict or ambiguity between the following definitions, common

usage and reference to any cited rules, statutes, or regulations should be used to provide the

broadest interpretation of the term in question.

         1.     "Business Plan" means any plan created or prepared by Facebook regarding

Facebook's historical and future business strategy, including but not limited to Facebook's

historical and future operations, and Facebook's historical and future financial positions.

         2.     "Computer System" or "Computer Systems" include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, interne site, intranet site, and the

software programs, applications, scripts, operating systems, or databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

         3.     "Content and information" refers to the definition in footnote 2of the First

Amended Complaint ("FAC"), referring to "content" and "information" as Facebook's

Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has

generally used "information" to mean facts and other information about Users, including the

actions they take, and "content" to mean anything Users post on Facebook that would not be

included in the definition of "information." Content and Information also includes both

personally identifiable content and information and anonymized content and information that is

capable of being de-anonymized. See FAC      ril 223-224.   Content and Information includes data

that identifies, relates to, describes, is capable of being associated with, or could reasonably be

linked, directly or indirectly, with aparticular User, such as:




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           a.    Identifiers such as areal name, alias, postal address, unique personal identifier,

                 online identifier, Internet Protocol address, email address, account name, social

                 security number, driver's license number, passport number, or other similar

                 identifiers.

           b.    Characteristics of protected classifications under California or federal law.

           c.    Commercial information, including records of personal property, products or

                 services purchased, obtained, or considered, or other purchasing or consuming

                 histories or tendencies.

           d. Biometric information.

           e.    Internet or other electronic network activity information, including, but not

                 limited to, browsing history, search history, and information regarding a

                 consumer's interaction with an Internet Web site, application, or advertisement.

           f.    Geolocation data.

           g. Audio, electronic, visual, thermal, olfactory, or similar information.

           h.    Professional or employment-related information.

            I.   Education information, defined as information that is not publicly available

                 personally identifiable information as defined in the Family Educational Rights

                 and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

           j.    Inferences drawn from any of the information identified in this paragraph to

                 create aprofile, dossier, or similar collection of information about aconsumer

                 reflecting the consumer's preferences, characteristics, psychological trends,

                 predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.




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        4.       "Discovery Order No. 9" refers to the Court's October 29, 2020 Order (Dkt. No.

557), in which held, inter alia, that the discoverable data at issue in this case includes "Data

collected from auser's on-platform activity; Data obtained from third parties regarding auser's

off-platform activities; and Data inferred from auser's on or off-platform activity."

        5.       "Data Warehouse" refers to refers to the open source, peta-byte (and potentially

larger) scale data warehousing framework based on Hadoop that was developed by the Data

Infrastructure Team at Facebook, also known as the "Hive."

        6.       "Discovery Order No. 11" refers to the Court's December 11, 2020 Order (Dkt.

No. 588), in which it ordered, inter alia, Defendant Facebook "to provide a30(b)(6) witness

regarding the discoverable user data as articulated by Discovery Order No. 9. (Dkt. No. 557.)

Facebook shall also provide a30(b)(6) witness on how it monetizes—directly or indirectly—and

thus values user data."

        7.       "Document" is defined to be synonymous in meaning and equal in scope to the

usage of this term pursuant to Fed. R. Civ. P. 34(a)(1)(A), and includes, without limitation, any

writing, drawing, graph, chart, photography, phonorecord, Electronically-Stored Information (as

defined herein) or digitally encoded data, database, graphic, and/or other data compilations from

which information can be obtained, translated if necessary, by the respondent through detection

devices into reasonably usable form, or other information, including originals, translations and

drafts thereof, and all copies bearing notations and marks not found on the original. The term

"Document" further means any document now or at any time in the possession, custody, or

control of the entity to whom this document request is directed (together with any predecessors,

successors, affiliates, subsidiaries, or divisions thereof, and their officers, directors, employees,

agents and attorneys), including drafts. Without limiting the term "control" as used in the



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preceding sentence, aPerson is deemed to be in control of adocument if the Person has the right

or ability to secure the document or acopy thereof from another Person having actual possession

thereof, including, but not limited to, work product contracted by You from others. Documents

that are identical but in the possession of more than one Person or entity are separate documents

within the meaning of this term. Also, adraft or non-identical copy is aseparate document within

the meaning of this term.

       8.         "Electronically-Stored Information" or "ESI" includes, but is not limited to, the

following:

             a.   all items covered by Fed. R. Civ. P. 34(a)(1)(A);

             b.   information or data that is generated, received, processed, and recorded by

                  computers and other electronic devices, including metadata (e.g., author,

                  recipient, file creation date, file modification date, etc.);

             c.   internal or external web sites, intranets and extranets;

             d.   output resulting from the use of any software program, including, without

                  limitation, word processing documents, spreadsheets, database files, charts,

                  graphs and outlines, electronic mail, texts, Facebook Messenger, WhatsApp, AOL

                  Instant Messenger (or similar programs), bulletin board programs,

                  screenshots/screengrabs, screen sharing recordings, webcasts, screencasts,

                  operating systems, source code, PRF files, PRC files, batch files, ASCII files, and

                  all miscellaneous media on which they reside regardless of whether said

                  electronic data exists in an active file, adeleted file, or file fragment; and

             e.   activity listings of electronic mail receipts and/or transmittals; and any and all

                  items stored on computer memories, hard disks, floppy disks, CDROM, magnetic



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                tape, microfiche, or on any other media for digital data storage, or transmittal,

                such as, but not limited to, personal digital assistants (e.g., iPhones), hand-held

                wireless devices (e.g., BlackBerrys), or similar devices, and file folder tabs, or

                containers and labels appended to, or relating to, any physical storage device

                associated with each original or copy of all documents requested herein.

        9.      "Hive" refers to the open source, peta-byte (or potentially larger) scale data

warehousing framework based on Hadoop that was developed by the Data Infrastructure Team at

Facebook, also known as the Data Warehouse.

        10.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify the request,

definition, or instruction but not to limit the topic.

        11.     "Policies and Procedures" mean any formal or informal policy, procedure, rule,

guideline, internal manuals, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your employees to follow in performing their jobs.

        12.     "Marketing Plan" means any plan created or prepared by Facebook regarding

Facebook's historical and future marketing or advertising strategy.

        13.     "User Data" or "Data" refers to the categories of Content and Information

referenced by the Court in Discovery Order No. 9(Dkt. No. 557), including "Data collected from

auser's on-platform activity; Data obtained from third parties regarding auser's off-platform

activities; and Data inferred from auser's on or off-platform activity."

        14.     "You" or "your" or "Facebook" or "Defendant" means Defendant Facebook, Inc.,

together with your predecessors, successors, parents, subsidiaries, divisions or affiliates (foreign

or domestic), and their respective current and former officers, directors, agents, attorneys,



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accountants, employees, partners, managers, members or other persons occupying similar

positions or performing similar functions, and all persons acting or purporting to act on its

behalf

         15.    Words used in the plural include the singular, and words used in the singular

include the plural.


11.      RELEVANT TIME PERIOD

         Unless otherwise specified or agreed upon by the parties, consistent with Discovery

Order No. 11, the relevant time period for purposes of this Notice is January 1, 2012 through

December 31, 2017.

III.     MATTERS FOR TESTIMONY

         1.     The format, nature, and location of User Data as set forth in Discovery Order No.

9, including how and why such Data is collected, obtained, or inferred, and how it is maintained.

         2.     The name, location, and function of all of Facebook's electronic or database

systems that contain User Data, including but not limited to Hive and Data Warehouse, whether

stored on an individual user level or in another form.

         3.     The identity, nature and location at Facebook of all the metadata associated with

User Data, including but not limited to nodes, edges, and fields, as set forth in

https://developers.facebook.com/docs/graph-api/overview/.

         4.     How User Data is or can be associated or linked to specific Facebook users—such

as User IDs or other unique identifiers such as e-mail addresses and IUDs, as set forth in

PwC_CPUP_FB00030737-38—and the identity, nature, and location of all such associations,

including but not limited to nodes, edges, and fields, as set forth in

https://developers.facebook.com/docs/graph-api/overview/.



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       6.          Identification of the types of third parties to which Facebook makes User Data

accessible or with which Facebook shares User Data.

       7.          For each type of third party identified in Topic 6, identify what kinds of User Data

Facebook shares or makes accessible; for what general purposes it is shared or made accessible;

and how Facebook ensures it is used for those purposes.

       8.          The Policies and Procedures applicable to how User Data is collected, obtained,

inferred, created, and maintened, and how it is shared or made accessible to third parties,

including any data deletion and retention policies related to User Data, and the impact of the

litigation hold placed in this case to such Policies and Procedures.

       9.          For each type of third party identified in Topic 6, identify how Facebook shares or

makes User Data accessible, including the format of such data, the metadata shared or made

accessible, and the nodes, edges, and fields as set forth in

https://developers.facebook.com/docs/graph-api/overview/.

        10.        How Facebook monetizes—directly or indirectly—and values User Data.

        11.        The identity, location, and retention of Documents related to how Facebook

monetizes—directly or indirectly—and values User Data, including but not limited to:

              a.   All such Marketing Plans and Business Plans created or prepared by Facebook;

              b. All such Documents, including drafts and correspondence, created or prepared by

                   Facebook to share with third parties, including but not limited to institutional and

                   individual investors, venture capitalists, and/or private equity firms;

              c.   All such Documents created in connection with preparing Facebook's quarterly

                   and annual reports and/or any other of Facebook's publicly available filings to the

                   SEC related to how Facebook generates revenue, and materials regarding the key



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               metrics identified by Facebook in these reports such as Daily Active Users

               (DAU), Monthly Active Users (MAU), and Average Revenue Per User (ARPU).

        12.    The identity of all third parties that helped Facebook create or prepare any of the

Documents described in Topic 11 above.




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                 EXHIBIT A




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Plaintijfs' Co-Lead Counsel

Additional counsel listed on signature page



                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC


This document relates to:                            PLAINTIFFS' NOTICE OF DEPOSITION
                                                     OF DEFENDANT FACEBOOK, INC.
ALL ACTIONS                                          PURSUANT TO FEDERAL RULE OF
                                                     CIVIL PROCEDURE 30(b)(6)


       TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT under Federal Rules of Civil Procedure 26 and

30(b)(6), Plaintiffs, by their counsel, will take the deposition of Defendant Facebook, Inc.

("Facebook") at 9:00 a.m. on February 5, 2021 via remote audio-video conference and through a

remote platform deposition service mutually agreed upon by the parties. The deposition will be

taken before aperson authorized by law to administer oaths under Federal Rules of Civil

Procedure 28(a) and shall continue from one day to the next, excluding Sundays and holidays,

until the examination is completed.

       Pursuant to Rule 30(b)(6) and the Court's Discovery Order No. 11 (Dkt. No. 588),

Defendant is hereby notified of its duty to designate one or more officers, directors, managing

agents or other persons most knowledgeable or qualified to testify on its behalf concerning the



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matters set forth below in Topics 1-12. Each such designee produced to testify has an affirmative

duty to have first reviewed all Documents, reports, and other matters known or reasonably

known or available to Facebook and to familiarize himself or herself with all potential witnesses

known or reasonably available to provide informed, binding answers at the deposition.

Defendant Facebook shall inform Plaintiffs of such designations(s) at areasonable time prior to

the deposition(s), but no later than 7days before the deposition(s), by setting forth the identity of

the person(s) designated to testify with respect to the matters specified below in Topics 1-12. The

deposition will continue on the day noticed and for additional days, if necessary, excluding

Sundays and holidays until completed.

        Plaintiffs issue this notice pursuant to Discovery Order No. 11 and reserve the right to

notice and conduct additional Rule 30(b)(6) depositions of Defendant on separate, non-

duplicative topics.

Dated: December 18, 2020


KELLER ROHRBACK L.L.P.                                    BLE1CHMAR FONTI & AULD LLP

By:     /s/ Derek W. Loeser                               By:     /s/ Lesley E. Weaver
        Derek W. Loeser                                           Lesley E. Weaver

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Can Campen Laufenberg (admitted pro hac vice)             Anne K. Davis (SBN 267909)
David J. Ko (admitted pro hac vice)                       Matthew P. Montgomery (SBN 180196)
Benjamin Gould (SBN 250630)                               Angelica M. Omelas (SBN 285929)
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                                 Plaintufs' Co-Lead Counsel




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                                  CERTIFICATE OF SERVICE

        Ihereby certify that Ihave served atrue and correct copy of:

    • PLAINTIFFS' NOTICE OF DEPOSITION OF DEFENDANT FACEBOOK, INC.
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(b)(6)


via Email on this 18th day of December, 2020 to the person(s) set forth below:

Joshua Seth Lipshutz                              Kristin A. Linsley
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 cdavis@gibsondunn.com



        Ideclare under penalty of perjury pursuant to the laws of the United States of America

that the foregoing is true and correct.

        Executed at Seattle, Washington, on December 18, 2020.


                                             /s/ Sarah Skaggs
                                             Sarah Skaggs




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                                          SCHEDULE A

  I.     DEFINITIONS AND RULES OF CONSTRUCTION

         In the event of any conflict or ambiguity between the following definitions, common

usage and reference to any cited rules, statutes, or regulations should be used to provide the

broadest interpretation of the term in question.

         1.     "Business Plan" means any plan created or prepared by Facebook regarding

Facebook's historical and future business strategy, including but not limited to Facebook's

historical and future operations, and Facebook's historical and future financial positions.

         2.     "Computer System" or "Computer Systems" include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, interne site, intranet site, and the

software programs, applications, scripts, operating systems, or databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

         3.     "Content and information" refers to the definition in footnote 2of the First

Amended Complaint ("FAC"), referring to "content" and "information" as Facebook's

Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has

generally used "information" to mean facts and other information about Users, including the

actions they take, and "content" to mean anything Users post on Facebook that would not be

included in the definition of "information." Content and Information also includes both

personally identifiable content and information and anonymized content and information that is

capable of being de-anonymized. See FAC      ril 223-224.   Content and Information includes data

that identifies, relates to, describes, is capable of being associated with, or could reasonably be

linked, directly or indirectly, with aparticular User, such as:




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           a.    Identifiers such as areal name, alias, postal address, unique personal identifier,

                 online identifier, Internet Protocol address, email address, account name, social

                 security number, driver's license number, passport number, or other similar

                 identifiers.

           b.    Characteristics of protected classifications under California or federal law.

           c.    Commercial information, including records of personal property, products or

                 services purchased, obtained, or considered, or other purchasing or consuming

                 histories or tendencies.

           d. Biometric information.

           e.    Internet or other electronic network activity information, including, but not

                 limited to, browsing history, search history, and information regarding a

                 consumer's interaction with an Internet Web site, application, or advertisement.

           f.    Geolocation data.

           g. Audio, electronic, visual, thermal, olfactory, or similar information.

           h.    Professional or employment-related information.

            I.   Education information, defined as information that is not publicly available

                 personally identifiable information as defined in the Family Educational Rights

                 and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

           j.    Inferences drawn from any of the information identified in this paragraph to

                 create aprofile, dossier, or similar collection of information about aconsumer

                 reflecting the consumer's preferences, characteristics, psychological trends,

                 predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.




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        4.       "Discovery Order No. 9" refers to the Court's October 29, 2020 Order (Dkt. No.

557), in which held, inter alia, that the discoverable data at issue in this case includes "Data

collected from auser's on-platform activity; Data obtained from third parties regarding auser's

off-platform activities; and Data inferred from auser's on or off-platform activity."

        5.       "Data Warehouse" refers to refers to the open source, peta-byte (and potentially

larger) scale data warehousing framework based on Hadoop that was developed by the Data

Infrastructure Team at Facebook, also known as the "Hive."

        6.       "Discovery Order No. 11" refers to the Court's December 11, 2020 Order (Dkt.

No. 588), in which it ordered, inter alia, Defendant Facebook "to provide a30(b)(6) witness

regarding the discoverable user data as articulated by Discovery Order No. 9. (Dkt. No. 557.)

Facebook shall also provide a30(b)(6) witness on how it monetizes—directly or indirectly—and

thus values user data."

        7.       "Document" is defined to be synonymous in meaning and equal in scope to the

usage of this term pursuant to Fed. R. Civ. P. 34(a)(1)(A), and includes, without limitation, any

writing, drawing, graph, chart, photography, phonorecord, Electronically-Stored Information (as

defined herein) or digitally encoded data, database, graphic, and/or other data compilations from

which information can be obtained, translated if necessary, by the respondent through detection

devices into reasonably usable form, or other information, including originals, translations and

drafts thereof, and all copies bearing notations and marks not found on the original. The term

"Document" further means any document now or at any time in the possession, custody, or

control of the entity to whom this document request is directed (together with any predecessors,

successors, affiliates, subsidiaries, or divisions thereof, and their officers, directors, employees,

agents and attorneys), including drafts. Without limiting the term "control" as used in the



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preceding sentence, aPerson is deemed to be in control of adocument if the Person has the right

or ability to secure the document or acopy thereof from another Person having actual possession

thereof, including, but not limited to, work product contracted by You from others. Documents

that are identical but in the possession of more than one Person or entity are separate documents

within the meaning of this term. Also, adraft or non-identical copy is aseparate document within

the meaning of this term.

       8.         "Electronically-Stored Information" or "ESI" includes, but is not limited to, the

following:

             a.   all items covered by Fed. R. Civ. P. 34(a)(1)(A);

             b.   information or data that is generated, received, processed, and recorded by

                  computers and other electronic devices, including metadata (e.g., author,

                  recipient, file creation date, file modification date, etc.);

             c.   internal or external web sites, intranets and extranets;

             d.   output resulting from the use of any software program, including, without

                  limitation, word processing documents, spreadsheets, database files, charts,

                  graphs and outlines, electronic mail, texts, Facebook Messenger, WhatsApp, AOL

                  Instant Messenger (or similar programs), bulletin board programs,

                  screenshots/screengrabs, screen sharing recordings, webcasts, screencasts,

                  operating systems, source code, PRF files, PRC files, batch files, ASCII files, and

                  all miscellaneous media on which they reside regardless of whether said

                  electronic data exists in an active file, adeleted file, or file fragment; and

             e.   activity listings of electronic mail receipts and/or transmittals; and any and all

                  items stored on computer memories, hard disks, floppy disks, CDROM, magnetic



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                tape, microfiche, or on any other media for digital data storage, or transmittal,

                such as, but not limited to, personal digital assistants (e.g., iPhones), hand-held

                wireless devices (e.g., BlackBerrys), or similar devices, and file folder tabs, or

                containers and labels appended to, or relating to, any physical storage device

                associated with each original or copy of all documents requested herein.

        9.      "Hive" refers to the open source, peta-byte (or potentially larger) scale data

warehousing framework based on Hadoop that was developed by the Data Infrastructure Team at

Facebook, also known as the Data Warehouse.

        10.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify the request,

definition, or instruction but not to limit the topic.

        11.     "Policies and Procedures" mean any formal or informal policy, procedure, rule,

guideline, internal manuals, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your employees to follow in performing their jobs.

        12.     "Marketing Plan" means any plan created or prepared by Facebook regarding

Facebook's historical and future marketing or advertising strategy.

        13.     "User Data" or "Data" refers to the categories of Content and Information

referenced by the Court in Discovery Order No. 9(Dkt. No. 557), including "Data collected from

auser's on-platform activity; Data obtained from third parties regarding auser's off-platform

activities; and Data inferred from auser's on or off-platform activity."

        14.     "You" or "your" or "Facebook" or "Defendant" means Defendant Facebook, Inc.,

together with your predecessors, successors, parents, subsidiaries, divisions or affiliates (foreign

or domestic), and their respective current and former officers, directors, agents, attorneys,



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accountants, employees, partners, managers, members or other persons occupying similar

positions or performing similar functions, and all persons acting or purporting to act on its

behalf

         15.    Words used in the plural include the singular, and words used in the singular

include the plural.


11.      RELEVANT TIME PERIOD

         Unless otherwise specified or agreed upon by the parties, consistent with Discovery

Order No. 11, the relevant time period for purposes of this Notice is January 1, 2012 through

December 31, 2017.

III.     MATTERS FOR TESTIMONY

         1.     The format, nature, and location of User Data as set forth in Discovery Order No.

9, including how and why such Data is collected, obtained, or inferred, and how it is maintained.

         2.     The name, location, and function of all of Facebook's electronic or database

systems that contain User Data, including but not limited to Hive and Data Warehouse, whether

stored on an individual user level or in another form.

         3.     The identity, nature and location at Facebook of all the metadata associated with

User Data, including but not limited to nodes, edges, and fields, as set forth in

https://developers.facebook.com/docs/graph-api/overview/.

         4.     How User Data is or can be associated or linked to specific Facebook users—such

as User IDs or other unique identifiers such as e-mail addresses and IUDs, as set forth in

PwC_CPUP_FB00030737-38—and the identity, nature, and location of all such associations,

including but not limited to nodes, edges, and fields, as set forth in

https://developers.facebook.com/docs/graph-api/overview/.



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       6.          Identification of the types of third parties to which Facebook makes User Data

accessible or with which Facebook shares User Data.

       7.          For each type of third party identified in Topic 6, identify what kinds of User Data

Facebook shares or makes accessible; for what general purposes it is shared or made accessible;

and how Facebook ensures it is used for those purposes.

       8.          The Policies and Procedures applicable to how User Data is collected, obtained,

inferred, created, and maintened, and how it is shared or made accessible to third parties,

including any data deletion and retention policies related to User Data, and the impact of the

litigation hold placed in this case to such Policies and Procedures.

       9.          For each type of third party identified in Topic 6, identify how Facebook shares or

makes User Data accessible, including the format of such data, the metadata shared or made

accessible, and the nodes, edges, and fields as set forth in

https://developers.facebook.com/docs/graph-api/overview/.

        10.        How Facebook monetizes—directly or indirectly—and values User Data.

        11.        The identity, location, and retention of Documents related to how Facebook

monetizes—directly or indirectly—and values User Data, including but not limited to:

              a.   All such Marketing Plans and Business Plans created or prepared by Facebook;

              b. All such Documents, including drafts and correspondence, created or prepared by

                   Facebook to share with third parties, including but not limited to institutional and

                   individual investors, venture capitalists, and/or private equity firms;

              c.   All such Documents created in connection with preparing Facebook's quarterly

                   and annual reports and/or any other of Facebook's publicly available filings to the

                   SEC related to how Facebook generates revenue, and materials regarding the key



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               metrics identified by Facebook in these reports such as Daily Active Users

               (DAU), Monthly Active Users (MAU), and Average Revenue Per User (ARPU).

        12.    The identity of all third parties that helped Facebook create or prepare any of the

Documents described in Topic 11 above.




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                                                                                                                           Direct -«1 213 229.7164
   January 13, 2021                                                                                                        Fax: +1 213.229.6164
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  VIA E-MAIL

   Derek W. Loeser
   Keller Rohrback L.L.P.
   1201 Third Avenue, Suite 3200
   Seattle, WA 98101

   Lesley E. Weaver
   Bleichmar Fonti & Auld LLP
   555 12th Street, Suite 1600
   Oakland, CA 94607

   Re:    In re Facebook, nc. Consumer Privacy User Prcjile Litigation

   Counsel:

          We write in response to Plaintiffs' December l8, 2020 30(b)(6) deposition notice (the
  "Notice"), which purports to notice adeposition for February 5on twelve sweeping topics—
  entirely untethered from the Discovery Order authorizing the Notice—without conferring
  with Facebook on scheduling as Local Rule 30-1 requires. Given Judge Corley's clear
  instructions regarding the purpose of this deposition and the topics it should cover, we are
  disappointed that the Notice continues Plaintiffs' pattern of misusing civil discovery in
  pursuit of aroving investigation into all aspects of Facebook's business.

           We will work with Plaintiffs to tailor the scope of the Notice consistent with
   Discovery Order No. 11 so that Facebook can meaningfully prepare its designee(s). We will
   also cooperate with Plaintiffs on finding amutually agreeable date for the deposition that
   allows Facebook sufficient time to prepare its designee(s) after the topics are finalized.
   However, the Notice as drafted neither is "narrowly tailored" to two areas of inquiry as Judge
   Corley instructed nor particularizes topics with the "painstaking specificity" required to
   prepare acorporate designee on "particular subject areas ...that are relevant to the issues in
   dispute." Uscho/d v. Carriage Servs., Inc., No. 4:17-cv-4424, 2019 WL 8298261, at *3
   (N.D. Cal. Jan. 22, 2019).'




    'As per Judge Corley's direction, this letter serves as Facebook's initial response to Plaintiffs'
     proposed notice. See Mt. 588 at 2. Facebook reserves its right to serve formal objections at a
     later date (including to any amended or supplemental notice that Plaintiffs might serve).


          Beijing. Brussels   Century City. Dallas •Denver •Dubai .Frankfurt •Hong Kong •Houston •London •Los Angeles     Munich
                    New York    Orange County •Palo Alto •Paris •San Francisco •Sao Paulo   Singapore •Washington, D.C.

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   I.      The court ordered adeposition on two narrowly tailored areas of inquiry.

           Judge Corley ordered an early 30(b)(6) deposition on two specific areas of inquiry:
  (i) the scope of "discoverable user data" and (ii) how Facebook "monetizes ... and thus
  values user data." (Discovery Order No. 11, Dkt. 588 at 1-2). She further instructed, "[t]tle
  30(b)(6) topics shall be narrowly tailored to assist Plaintiffs with identifying relevant
  discovery in the above two areas." (Id. at 2).

           A.     The scope of "discoverable user data."

          The deposition is intended to identify any additional document collections that may
  be needed to satisfy Discovery Order 9. That Order identifies three categories of data that
  are discoverable to the extent they are shared with (or accessible by) third parties: "(i) data
  collected from auser's on-platform activity; (ii) data obtained from third parties regarding a
  user's off-platform activities; and (iii) data inferred from auser's on or off-platform
  activity." Dkt. 557 at 2. Judge Corley instructed that the deposition should address whether
  information in each of these three categories was shared with or made accessible to third
  parties between 2012 and 2017, and whether any additional shared data should be produced
  under Discovery Order 9. Dkt. 588 at 1-2. As Facebook has explained, its investigation to
  date indicates that the "Download Your Information" ("DYI") file that Facebook makes
  available to users and produced to Plaintiffs includes all discoverable user data under
  Discovery Order 9.

          Consistent with Judge Corley's order, Facebook is prepared to offer one or more
  30(b)(6) deponents to testify on the following narrowly tailored topics regarding the use of
  user data between 2012 and 2017. For the purposes of the deposition, Facebook will
  consider data to have been shared with or made accessible to third parties to the extent it was
  transmitted to athird party or the third party was able to directly access or view the
  information. Facebook will not consider data to have been shared with or made accessible to
  athird party to the extent Facebook used the data only internally, including to provide a
  service to athird party.

           Topic 1: Data collected from auser's on-platform activity

           Collected data. Facebook's designee will be prepared to testify about whether
           Facebook collects the following types of information from users' on-platform
           activity, depending on how auser used Facebook's products: (i) information and
           content the user provided, (ii) the user's networks and connections on Facebook's
           products, (iii) the user's usage of Facebook's products, (iv) information about
           transactions the user made on Facebook's products, and (v) things others did and




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        information they provided about the user while using Facebook's products. Facebook
        intends to offer this testimony to identify the categories of information Facebook may
        have collected from auser's on-platform activity. Facebook does not intend for the
        designee to provide details about the categories of information Facebook may have
        collected from auser's on-platform activity, except as described below.

        Shared and produced data. Facebook's designee will be prepared to testify about
        whether the types of information the Company maintains from auser's on-platform
        activity are included in the user's DYI file, and whether, as aresult, the DYI file
        includes all available information from the user's on-platform activity that may have
        been shared with or made available to third parties.

        To the extent the designee identifies any categories of on-platform activity that are
        not included in the DYI file, the designee will be prepared to testify about whether
        that data was shared with third parties, and—if it was not—whether it was used for a
        different purpose.

        Topic 2: Data obtained from third parties regarding auser's off-platform
        activities

        Collected data. Facebook's designee will be prepared to testify about
        whether advertisers, app developers, and publishers could send Facebook
        information about a user's activities off Facebook through Facebook
        Business Tools—including information about the user's device, websites
        the user visited, purchases the user made, the ads the user saw, and how the
        user used their services. Facebook's designee will further be prepared to
        testify about whether Facebook may have received information about a
        user's online and offline actions and purchases from third-party data
        providers who had the rights to provide Facebook with that information.
        Facebook intends to offer this testimony to identify the categories of
        information Facebook may have received from third parties. Facebook does
        not intend for its designee to provide details regarding the categories of
        information it may have received from third parties, except as described
        below.

        Shared data. Facebook's designee will be prepared to testify about whether
        Facebook shared or otherwise made accessible to third parties the categories
        of information it received from other third parties.




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        To the extent the designee identifies any categories of information from
        third parties regarding users' off-platform activity that may have been
        shared, the designee will testify about whether that category of data appears
        in the DYI file.

        Data that was not shared or made accessible. Facebook's designee will be
        prepared to testify about whether Facebook used information obtained from
        third parties about auser's off-platform activities for any purpose other than
        the following purposes, none of which involved sharing data obtained from
        third parties with other third parties: (1) to provide, personalize, and improve
        its products; (ii) to provide measurement, analytics, and other business
        services; (iii) to promote safety, integrity, and security; (iv) to communicate
        with users, and (v) to research or innovate for social good. Facebook
        intends to offer this testimony to confirm that data obtained from third
        parties served adifferent purpose.

        Topic 3: Data inferred from auser's on or off-platform activity

        Collected data. Facebook's designee will be prepared to testify about
        Facebook's ability to draw certain inferences from data it obtains from users
        and/or third parties. The purpose of this testimony is to confirm that
        Facebook has this ability. Facebook does not intend for its designee to
        provide details regarding Facebook's technology during the relevant period
        or the nature of the inferences that Facebook's tools may have drawn, except
        as described below.

        Shared data. Facebook's designee will be prepared to testify about whether
        Facebook shared or otherwise made accessible to third parties any category
        of information it inferred about users.

        To the extent the designee identifies any categories of inferred data that may
        have been shared or made accessible to third parties, the designee will
        testify about whether that category of data appears in the DYI file.

        Data that was not shared or made accessible. Facebook's designee will be
        prepared to testify about whether Facebook used data inferred from auser's
        on or off-platform activity for any purpose other than the following
        purposes, none of which involve sharing data obtained from third parties
        with other third parties: (i) to provide, personalize, and improve its products;
        (ii) to provide measurement, analytics, and other business services; (iii) to




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          promote safety, integrity, and security; (iv) to communicate with users, and
          (v) to research or innovate for social good. The purpose of this testimony
          is to confirm that data Facebook did not share or make accessible to third
          parties served adifferent purpose.

          B.      How Facebook "monetizes ... and thus values user data."

          This area of inquiry is intended to help Plaintiffs understand how Facebook makes
  use of user data to earn revenue, so that Plaintiffs are able to issue document requests
  targeting financial data that is relevant to the issues in this case. To that end, the deposition
  should address at a high level how Facebook makes use of user data to sell targeted
  advertising on the platform (revenues from which account for the majority of Facebook's
  revenue and are outside the scope of discovery in this case), and how (if at all) Facebook
  otherwise monetizes user data.

         Consistent with Judge Corley's order, Facebook is prepared to offer one or more
  30(b)(6) deponents to testify on the following narrowly tailored topics regarding how user
  data was monetized between 2012 and 2017.

          Topic 4: How Facebook monetized user data.

          Data was not sold. Facebook's designee will be prepared to testify that
          Facebook did not sell any user information to anyone during the relevant
          time period and will explain that selling user data would undermine
          Facebook's business model, which relies on user data to place
          advertisements.

          Advertising revenue. Facebook's designee will be prepared to testify about
          Facebook's use of user data to target advertisements, which accounted for
          between 84% and 98% of Facebook's revenue each year during the relevant
          time period, and about whether Facebook shared user data with, or
          otherwise made it accessible to, third parties as part of its targeted
          advertising business. Because targeted advertising is not at issue in this
          case, Facebook's deponent will provide ageneral overview of Facebook's
          advertising platform and confirm that user data was not shared or otherwise
          made accessible to third parties through targeted advertising. Facebook
          does not intend for its deponent to provide testimony regarding the details
          or mechanics of Facebook's advertising platform or Facebook's
          relationships with third parties whose advertisements Facebook places.




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          Other sources of revenue. Facebook's designee will be prepared to testify
          about Facebook's sources of revenue other than advertising and whether
          user data was shared or otherwise made accessible to third parties in
          connection with those other sources of revenue. Because the purpose of this
          testimony is to allow Plaintiffs to identify any relevant revenue source(s) so
          that they can make appropriate discovery requests, Facebook does not
          intend for its deponent to provide additional details regarding its revenue
          sources.

          Valuation materials. Facebook's designee will be prepared to testify about
          whether the Company, in its regular course of business from 2012 to 2017,
          calculated the retail value of its users' data. To the extent the deponent
          testifies that Facebook did calculate the retail value of its users' data in the
          regular course of its business, the deponent will identify the form of any
          such valuations. Because the purpose of this testimony is to assist Plaintiffs
          to request relevant materials, Facebook does not intend for the deponent to
          provide testimony regarding specific materials or the contents of any such
          materials.

    11.   The Notice is untethered from the Court's Order, fails to provide the specificity
          needed to prepare a30(b)(6) deponent, and violates various procedural rules.

          Rather than narrowly tailor the Notice to the topics above, the Notice seeks a
  boundless inquisition into nearly every aspect of Facebook's business, without regard for the
  Court's instructions or the live theories of the case. Compounding this problem, the noticed
  topics are exceedingly vague and overbroad, making it impossible for Facebook to prepare
  its corporate designee(s), and it suffers from numerous procedural defects. Facebook
  summarizes each of these issues below, which it reserves the right to address in more detail
  in formal Responses and Objections to the Notice.

          A.      The Notice is entirely untethered from the ordered areas of inquiry.

           The Notice veers away from the two areas of inquiry the Court authorized for an
   early 30(b)(6) deposition—discoverable user data and how Facebook monetizes user data.
   The Notice also makes no effort to "narrowly tailor" its topics "to assist Plaintiffs with
   identifying relevant discovery in [those] two areas." Dkt. 588 at 1-2.

          On the issue of discoverable user data, the Court made clear that the primary purpose
  of the deposition is to identify what categories of user data are shared with third parties and
  whether any shared data remains unproduced. The notice does not even address these issues.




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          The notice instead seeks testimony on all of the Company's "Policies and
  Procedures" relating to how user data is "collected, obtained, inferred, created, and
  maintained, and how it is shared or made accessible to third parties." (Topic 8). It asks
  Facebook to prepare awitness to identify the third parties who access data. (Topic 6). On
  the issue of third parties, the Notice then asks for testimony regarding "the format"
  including "the nodes, edges, and fields" of the data provided to each third party (Topic 9),
  why the data is shared with each third party (Topic 7), and "how Facebook ensures" that
  third parties use the data for proper purposes (Topic 7).

          The Notice goes on to request an ESI deposition regarding "the format, nature, and
  location" at Facebook of all user data (Topic I), how user data "is maintained" (Topic 1),
  and the "identity, nature, and location of all the metadata associated with user data" (Topic
  3). The notice doesn't stop there. It also asks for testimony about "all of Facebook's
  electronic or database systems that contain user data," how data is stored in each database
  (Topic 2), and technical details regarding how data "is or can be associated or linked" to
  users and "the identity, nature, and location of all such associations, including but not limited
  to nodes, edges, and fields" (Topic 4). These topics are far afield from the limited inquiry
  the Court ordered for this early 30(b)(6) deposition.

           The same issues plague the requests concerning monetization. The purpose of this
  deposition is to help Plaintiffs to better understand how user data fits into Facebook's
  business model so that they can request relevant financial discovery. The only noticed topic
  that even attempts to address this issue is Topic 10 ("How Facebook monetizes—directly or
  indirectly—and values user data.") But Topic 10 merely parrots the general area of
  testimony the Court ordered without following her instruction to propose "narrowly tailored"
  topics on that issue. The Notice then proposes several additional topics that fall far outside
  the area of inquiry the Court ordered. It asks for testimony regarding "the identity, location,
  and retention" of all documents regarding how the Company monetizes data, including
  all of the Company's marketing and business plans, all materials prepared for and
  correspondence with investors, and all documents underlying the company's public financial
  filings. (Topic 11). The notice goes on to demand testimony regarding all of the third
  parties who assisted Facebook to create any document relating to monetization (Topic 12).

         These topics have virtually nothing to do with the narrow areas of inquiry the Court
  ordered or any live issue in the case. Instead, anumber of Plaintiffs' proposed topics seek
  testimony only about Facebook's electronic databases, how Facebook stores and maintains
  ESI, the structure of Facebook's ESI, the location of Facebook's ESI, and Facebook's
  document retention policies. The Court has already rejected Plaintiffs' request to conduct an
  ESI deposition of this nature, and many of Plaintiffs proposed topics appear to be lifted




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  directly from this previously rejected notice. See May 15, 2020 lieg Tr. at 6:16-22; ECF
  No. 436 at 1.

         B.      Facebook cannot meaningfully prepare awitness on the noticed topics.

          Even if the noticed topics were within the ordered areas of inquiry, the Notice does
  not allow Facebook to meaningfully prepare one or more witnesses. As an initial matter, the
  sheer breadth of the notice and number of subject areas would likely require Facebook to
  prepare adozen or more witnesses on virtually hundreds of different issues. This would not
  be reasonable or practical under normal circumstances and certainly is not practical within
  the timeframe in which the Court expects this deposition to take place.

          Even putting aside the number and breadth of the topics raised, the Notice fails to
  "provide fair warning" of the topics Plaintiffs seek to address. Uschold v. Carriage Set-vs.,
  Inc., No. 4:17-cv-4424, 2019 WL 8298261, at *3 (N.D. Cal. Jan. 22, 2019). In order to
  provide afair opportunity to prepare acorporate designee, Rule 30(b)(6) requires "the
  requesting party ...to designate, with painstaking specificity, the particular subject areas
  that are intended to be questioned, and that are relevant to the issues in dispute." Id.

          The Notice fails woefully short of satisfying Rule 30(b)(6)'s particularity
  requirement. For example, anumber of noticed topics use the phrase "including but not
  limited to" to describe their subject matter. This approach has been rejected by courts as
  failing Rule 30(b)(6)'s "reasonable particularity requirement" because it "defeats the purpose
  of requiring the noticing party to delineate categories at all." Tri-State Hop. Supply Coq). v.
  United States, 226 F.R.D. 118, 125 (D.D.C. 2005); see also Trustees cfBos. Univ. v.
  Everlight Elecs. Co., 2014 WL 5786492, at *3 (D. Mass. Sept. 24, 2014). One topic includes
  ademand for testimony on all of the Company's data policies and procedures (Topic 8) and
  another seeks testimony regarding how Facebook "ensures" third parties use data for proper
  purposes (Topic 7). These topics fail to provide Facebook with any guidance as to what
  specific information Plaintiffs will be seeking regarding the Company's data policies and
  enforcement measures, and they appear to seek testimony regarding hundreds of issues
  across numerous departments. Plaintiffs' remaining topics suffer from similar flaws.

          Even if they had been properly framed, many of Plaintiffs' topics simply are not
  suitable for deposition testimony—much less the limited 30(b)(6) deposition ordered in this
  case. Plaintiffs ask Facebook to prepare a30(b)(6) deponent on ESI topics, including the
  location and format of extraordinarily vast amounts of data. The Notice asks for testimony
  regarding "the format, nature, and location" at Facebook of any document Facebook
  possesses that includes or draws upon asingle piece of information relating to any user
  (Topic 1) and the "identity, nature, and location of all the metadata associated with" such




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  documents (Topic 3). The Notice also asks for testimony about how data "is or can be
  associated or linked" to users and "the identity, nature, and location of all such associations,
  including but not limited to notes, edges, and fields" (Topic 4). It is not practical or efficient
  to prepare a30(b)(6) deponent on the locations of such vast amounts of data—much of
  which is not even within the scope of relevant discovery. This is particularly true given that
  the parties have already spent hundreds of hours exchanging correspondence and meeting
  and conferring on the nature and locations of Facebook's EST.

          Facebook similarly cannot reasonably prepare adeponent on Topic 11, which
  demands that Facebook prepare adeponent to identify and testify to the location of all of the
  Company's marketing and business plans, all materials prepared for and correspondence with
  investors, and all documents underlying the company's publicly financial filings. The
  operative terms in Topic 11 are defined so broadly that it is impossible for Facebook to
  understand, much less cabin, what Plaintiffs intend to capture. Whatever that might be, it
  would require preparation of adesignee on an enormous volume of documents with no
  meaningful connection to the issues in this case, and the testimony would not serve to limit
  or focus Plaintiffs' request for discovery into an essentially unlimited set of financial
  documents.

          Many of Plaintiffs' topics are also inappropriate because they are duplicative of
  discovery Facebook already provided through more appropriate discovery mechanisms. For
  instance, Topic 7asks Facebook to identify the types of data it shares with third parties and
  for what purpose each type of data is shared. This Topic is largely redundant of several of
  Plaintiffs' Interrogatories, to which Facebook provided approximately 500 pages of written
  responses. See Facebook's R&Os to Interrogatory Nos. 9, 10, 11, 13, 14, 15, 27, & 34.
  Similarly, Topic 2requests "the name, location, and function of all of Facebook's electronic
  or database systems that contain User Data." Facebook already provided Plaintiffs extensive
  informal and formal written discovery about its databases.

          Facebook wishes to effectively prepare its designee(s) to testify. It also wishes to
  avoid unnecessary disruptions and the need to engage the Court to resolve objections during
  this deposition. Plaintiffs' failure to draft appropriate, narrowly tailored, and specific topics
  invites an unproductive deposition that is unlikely to satisfy the parties' or the Court's goals.

          C.     Additional Defects

          The Notice also suffers from numerous procedural defects.

           Plaintiffs improperly noticed the deposition for February 5. Plaintiffs purport to
   notice the Deposition for February 5, 2021, but did not meet and confer with Facebook about




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  this date, as the Local Rules require. See Civil L.R. 30-1. Regardless, it is premature to set a
  deposition date, as the parties have not yet agreed on topics, which will dictate the time
  Facebook needs to sufficiently prepare awitness. Facebook suggests the parties meet and
  confer regarding areasonable date after the parties have agreed on (or the Court has ordered)
  the deposition topics.

          Plaintiffs improperly demand that the deposition continue indefinitely. Absent a
  Court order or an agreement between the parties, adeposition in no event may adeposition
  exceed "1 day of 7hours." Fed. R. Civ. P. 30(d)(1). Ignoring this limitation, Plaintiffs'
  notice twice directs that the "deposition ...shall continue from one day to the next,
  excluding Sundays and holidays, until the examination is completed," suggesting that
  Plaintiffs intend to question Facebook's corporate designee(s) indefinitely. This direction is
  contrary to Rule 30(d)(1). And under the circumstances here, given that Judge Corley
  ordered anarrowly tailored deposition on discrete topics within the two identified areas of
  inquiry, the deposition should be limited to five hours.

          Plaintiffs improperly demand that Facebook disclose its corporate designee(s) in
  advance of the deposition. Plaintiffs' notice purports to require Facebook to identify "the
  person(s) designated to testify with respect to the matters specified" in each topic at least
  seven days before the deposition. There is no such requirement in the Federal Rules or the
  Local Civil Rules. Because a30(b)(6) deposition is limited to information known or
  reasonably available to Facebook—and not any witness's personal knowledge—the identity
  of the corporate designee(s) should not affect Plaintiffs' preparation.

          Facebook is prepared to meet and confer with Plaintiffs regarding each of these issues
   and Facebook's proposed topics at Plaintiffs' earliest convenience.

   Sincerely,

    Otil. kJ-64       /   iO
   Deborah L. Stein




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                                   UNITED STATES DISTRICT COURT

 3                               NORTHERN DISTRICT OF CALIFORNIA

 4

 5      IN RE: FACEBOOIC, INC. CONSUMER                    MDL No. 2843
        PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC (JSC)
 6

 7                                                         DISCOVERY ORDER NO. 12

 8

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10

11           This MDL matter has been assigned to this Court for management of discovery. The Court

12    held adiscovery status conference on January 15, 2021 and this Order memorializes the decisions

13    made at the hearing.

14       A. ADI. Plaintiffs shall select 20 entries, from the previously identified 400 entries, for in

15           camera review by the Court and notify Facebook by January 22, 2021—or earlier if

16           possible—of the specific entries selected. The Parties shall then simultaneously brief the

17           Court, limiting the respective briefs to 20 pages total, by February 5, 2021. By that same

18           date, Facebook shall submit the documents for in camera review to

19           jscsettlement@cand.uscourts.gov.

20       B. 30(b)(6) Depositions. The Parties have thus far been unsuccessful in negotiations

21           regarding the 30(b)(6) deposition required by Discovery Order No. 11. (Dkt. No. 588.)

             The Court orders the Parties to conduct the deposition in the month of February, preferably

23           prior to the next status conference. Further, the deposition shall be no longer than 10 hours

24           in total (over at least two days). The scope of the depositions shall be limited to the

25           discoverable user data as defined by Discovery Order No. 9, (Dkt. No. 557), and how

26           Facebook monetizes—directly or indirectly—and thus values user data. The purpose of

27           the depositions is to gain abetter understanding of Facebook's internal operations, related

28           to the scope of the depositions as described above; whether particular user data is not


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                                               shared, not admissible, or not monetized, is not avalid reason to object to aparticular

                                               deposition question. If the deponent is unable or unprepared to answer particular

                                   3           questions, that can be addressed with further, more targeted, 30(b)(6) depositions if

                                   4           needed.

                                   5       C. Next Status Conference. The next video status conference shall be February 24, 2021 at

                                   6           8:30 a.m. The Parties shall submit ajoint status update by February 23, 2021 at 12:00 p.m.

                                   7           IT IS SO ORDERED.

                                   8    Dated: January 15, 2021

                                   9

                                  10                                                                            Itt
                                                                                                    JA    UELINE SCOTT CORL
                                  11                                                                United States Magistrate Judge

                                  12
Northern District of California
 United States District Court




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                           UNITED    STATES      DISTRICT        COURT


                      NORTHERN DISTRICT OF                CALIFORNIA


Before   The   Honorable         Jacqueline       Scott    Corley,       Magistrate          Judge



IN RE:    FACEBOOK,        INC.                     NO.    18-MD-02843          VC    (JSC)
          CONSUMER     PRIVACY USER
          PROFILE     LITIGATION.




                                          San    Francisco,       California
                                          Friday,    January       15,    2021


      TRANSCRIPT      OF    REMOTE    ZOOM VIDEO          CONFERENCE      PROCEEDINGS


APPEARANCES     VIA   ZOOM:


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                                   ANNE    K.    DAVIS,    ATTORNEY AT LAW




               (APPEARANCES        CONTINUED       ON FOLLOWING          PAGE)




Reported Remotely By:              Ana    Dub,    RMR,    RDR,    CRR,    CCRR,       CRG,       CCG
                                   CSR No.       7445,    Official       U.S.    Reporter




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 1   APPEARANCES VIA ZOOM:     (CONTINUED)


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12                            ATTORNEY AT LAW


13


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 1   Friday,    January 15,          2021                                          8:30    a.m.


 2                                    PROCEEDINGS


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 4               THE CLERK:           Court    is now in session.        The Honorable


 5   Jacqueline      Scott     Corley presiding.


 6           Calling Civil Action             18-MD-2843,    In Re:     Facebook,       Inc.


 7   Consumer Privacy User Profile.


 8           Counsel,    starting with plaintiffs,             can you please       state


 9   your appearance.


10               MS.    WEAVER:        Good morning.        It's   Lesley Weaver of


11   Bleichmar,      Fonti     & Auld.        And today with me       I have Anne Davis,


12   Matt Montgomery,          and Angelica Ornelas.


13               MR.    LOESER:        Good morning,       Your Honor.     Derek Loeser


14   from Keller Rohrback with Can                  Laufenberg and David Ko and


15   Chris    Springer,       also    from Keller Rohrback.


16               MS.    STEIN:       Good morning,        Your Honor.     Deborah Stein


17   for Facebook from Gibson Dunn.                   I'm here with Josh Lipshutz,


18   Russ    Falconer,    and Martie          Kutscher.


19               THE COURT:          Good morning.


20           Okay.     Just    so you know,         I have a criminal matter at           9:00;


21   so we're going to hit             sort    of   the high points.


22           Let's   start with the ADI because,              as   I understood it,        this


23   was    sort of different          from the     other privilege      log because


24   Facebook has       taken the position that because all                these


25   documents,      interviews        --   I don't    know what    the ADI   is   --   were




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 1   created as part of a lawyer-directed investigation,                         they're

 2   privileged.


 3           So    I don't      --    I don't think it's premature in the sense

 4   now that you've gone through the                    stip,    the process that the

 5   parties agreed to,               you were able to narrow it down.             I think

 6   now is       the time to --         and plaintiffs have         focused on,   I guess,

 7   their e-mails or memos,                 or whatever it would be,       in which

 8   there's no attorney on the string,                    on that.     And so   I think

 9   that's       ripe to go forward.

10           I don't know what meeting and conferring will do.                       As you

11   explained,          you put very detailed explanations of why it's

12   privileged.             Either they don't believe you or,            what's often the

13   case,    they want confirmation.                  Right?     So that's why we'll do

14   some samples.

15           So what         I was going to suggest         --    sometimes when we do

16   these,       if    the parties need guidance,              including the party

17   claiming they're privileged,                 I let each side pick any number.

18   I don't       see why Facebook should maybe pick any.                  It really

19   should be          I just think plaintiff.            I was going to say pick 20.

20           And then let's just get simultaneous briefs because,                       while

21   I do this          all the time,        I know with respect to investigations,

22   it'd be nice to bring me up to speed on the state of the law

23   with respect to that and privilege.                        And then I'll review them.

24           So that would be my proposal.

25                     MS.   STEIN:    All    right.     Thank you,    Your Honor.




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 1           I think the issue here is that while this exercise started

 2   as,    you know,    what I think was      intended by plaintiffs           to be

 3   some sort       of categorical challenge to investigate              --   to an

 4   investigation,       the way this has played out           in the privilege log

 5   is    that we've logged about        6,000 entries.        Plaintiffs have said

 6   they want       to challenge anything that doesn't have a lawyer on

 7   it.     But the logs look very much like you would expect an

 8   ordinary privilege log to look like,                 where the entries      that

 9   they're challenging facially say things                 like,   you know,    "E-mail

10   revealing advice       from Gibson Dunn concerning the structure of a

11   legal    investigation,"      you know,       things like that;      "E-mail

12   summarizing advice from Gibson Dunn"                 or from someone from

13   Facebook in-house counsel.            So it's not necessarily something

14   that    is any different      than you would ordinarily see.

15           And we    feel that plaintiffs haven't           -- are just      saying:


16   We want    to challenge everything.            But    there really isn't a

17   rhyme or reason that connects            it    to how this started out as a

18   challenge to whether this            investigation was privileged.

19                  THE COURT:   Well,    they've now challenged 400 out of

20   6,000.     So that's good.       That's narrowed --         right?    -_

21   considerably.

22           And I think whenever there's not a lawyer on it

23   right?    --    that's always more on the edges.            That's more on the

24   edges.     So I think that the showing sufficient                to allow the

25   in camera review is         there.     I feel more comfortable when I have




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 1   it   in context and I can see it.                That's why I say just do a

 2   sample,    and then that       should be the end of           the matter.

 3               MS.    KUTSCHER CLARK:            Your Honor,    if   I can add to that,

 4   I think a concern we have about                 jumping directly into briefing,

 5   particularly if the briefing is going to be simultaneous,                             is we

 6   don't actually really know what we're briefing at this point.

 7   We don't know what plaintiffs'                 position is.       We don't know why


 8   they think these particular documents are not privileged.

 9           Each one of    these documents,             the way they're logged

10   and,    you know,   we've     looked at them carefully --              they're

11   summarizing legal advice;                they're conveying legal advice.              This

12   isn't    -- you know,       we're not standing on a work

13   product assertion.

14               THE COURT:        No,       no.   But it's your burden.             It's your

15   burden;    so you know what             to brief.    Whatever it     is that meets

16   your burden.        Right?     It's your burden.            It's not      their burden.

17   It's your burden to show that                 they're privileged.          So    --

18               MS.    STEIN:     Yes,       Your Honor.    And --

19               THE COURT:        --    whatever the case law is,             whatever it

20   is   that says     just because an attorney isn't                 -- which you did a

21   little bit    --    isn't on the string doesn't mean,                if    it's

22   conveying legal advice             --    it shouldn't be very long.

23               MS.    STEIN:     So just for clarity,          Your Honor,         is what

24   you're asking for for briefing where plaintiffs                      challenge

25   certain entries,       they pick certain entries              that   they want to




                                                                                                   0203
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 1   challenge;      we respond why we believe our log has made the

 2   showing that we're entitled to show;                   and then Your Honor will

 3   decide who's         right on the        law and decide which ones,         if any,

 4   you're going to review in camera?

 5                 THE COURT:         Well,    I think I'll    just    review them all

 6   in camera with the briefs and then decide:                       Yes,   the privilege

 7   was appropriately invoked.

 8          And then that should be the end of                 the matter.       Right?    I

 9   don't then expect           --   if,   let's   say,   all 20   I believe were

10   properly invoked,           that   should be the end of the matter because

11   plaintiff should really be picking the 20 out of the 400 that

12   they feel most         strongly might not be privileged.                Right?   So

13   it's sort of an exemplar in that                 state.

14          If   I don't agree,         well,    then it becomes more complicated.

15   Right?

16                 MS.    STEIN:      Right.     I guess    sort of a parallel

17   question is         that,   because this       is in the context of an

18   investigation,         I suspect we may want           to provide supporting

19   information.          You may not be able to tell,             Your Honor,    from the

20   face   --   some of the documents,             I think you will be able to see

21   that   it's    revealing direct attorney communications or whatnot.

22   Others may be something that was at the direction of counsel

23   which may require context.

24                 THE COURT:         But isn't that on the log that you already

25   provided to them,           or did you just say --         I don't think you




                                                                                               0204
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 1   attached -- did you just say "Direction of counsel" with

 2   identifying the counsel or...

 3               MS.   STEIN:   I think it depends on the entry,

 4   Your Honor.       But given that this was an attorney-driven

 5   investigation,      I would --    I just don't know what kind of

 6   additional information Your Honor might want for us to support

 7   that aspect.

 8               THE COURT:     Whatever you think meets your burden,

 9   that's all.

10               MS.   STEIN:   Thank you.

11               THE COURT:     Whatever you think you need,         or maybe more

12   than you think you need,         to meet your burden.        Right?

13               MR.   KO:   Your Honor,    this is David Ko on behalf of

14   plaintiffs.

15           And thank you for that.        I think that's what we've been

16   wanting to do,      quite frankly,     since last spring and summer,      to

17   give you --

18               THE COURT:     I'm going to stop you,      Mr.    Ko.

19               MR.   KO:   Okay.

20               THE COURT:     You should retract the last thing you

21   said.     Not productive.       Not helpful.   Okay?

22               MR.   KO:   Sounds good.    Scratch that     from the record.

23   I fulfill my New Year's resolution.

24           But let me ask for some context        -- or some clarification

25   on the 20,    because with respect to the 400          entries that we have




                                                                                     0205
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 1   identified to Facebook,             those include both parent documents and

 2   attachments.

 3           So our assumption would be the 20                   --   the 20,    you know,

 4   exemplars that we propose to you would be both -- you know,                              one

 5   document or one communication would be both the parent and the

 6   attachment or attachments.                So    --

 7               THE COURT:          Yeah.     There were 400 entries.              So 20

 8   entries.

 9              MR.       KO:   Well,    I guess      that's what          I was hoping to get

10   clarification on,          Your Honor,         because the 400 comprises

11   documents that         reflect both the parent and the underlying

12   attachments.

13               THE COURT:          You mean a single entry would comprise

14   both?

15               MR.      KO:   Well,   no.     There would --             for example,    there

16   could be seven entries             that   relate to one document.

17           So the way that Facebook has                 logged these materials,           they

18   include    --   for example,        if    there's an e-mail and then a

19   diagram,   you know,        they claim that          there's a diagram that was

20   attached to the e-mail             that    is also privileged.             And then

21   there's also another attachment                  -- because oftentimes          in

22   e-mails we attach one or more attachments                        --   and then there's a

23   spreadsheet.          So what    they've done         is   they've      separately logged

24   those.     So   --

25               THE COURT:          That's okay.         20 entries.




                                                                                                    0206
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 1           And look,     if   it turns out one of           the entries involving an

 2   e-mail,      I say,   "Oh,   not privileged,"           well,    then you're going to

 3   have a discussion anyway;              and maybe       something then that was

 4   attached,      if   it's not    in your 20,         we'll have a discussion

 5   about.

 6           Just 20     entries.

 7                MR.    KO:    Understood.         Thank you,       Your Honor.

 8                MR.    MONTGOMERY:        Okay.        Your Honor,    before we move on,

 9   quick question.

10           How long do you want the briefs?

11                THE COURT:        I don't think they should be long.                  I

12   mean,    I'm thinking,       like,     ten pages.        But you tell me because

13   it's    --   I don't know.

14                MS. WEAVER:        Ten pages       is fine.        We can do that.        And

15   when would you --

16                THE COURT:        Well,    let me ask Facebook because           it    is

17   their burden.


18                MS.    STEIN:     Thank you,       Your Honor.

19           I think it's       -- because we don't necessarily know what's

20   being challenged,          it's a little bit up in the air.                I think

21   we'll probably need more than ten pages                    for 20 documents

22   because we may need to provide                 --

23                THE COURT:        Okay.     So one page             no more than one

24   page per document.           I don't mean --           just 20    total.   Right?        You

25   can divide it up any way you want among the 20 entries,                        but 20




                                                                                                     0207
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 1   total.


                   MS.
                   THE WEAVER:
                       COURT:           Yeah.
                                         Your Honor,             the       one    thing      I would ask

 3


 4                  MS.   WEAVER:        --    is    that       if    we    are    --   if    they are


 5   putting       in   declarations          that       we're       seeing       for   the    first       time,


 6   plaintiffs         would    like    an opportunity to                      respond      to any new


 7   information that's               provided.


 8           I mean,      to your point             --


 9                  THE   COURT:        1 don't          want declarations.                   I don't       want


10   declarations.


11                 MS.    WEAVER:        Okay.


17                  THE   COURT:        I want       the    log of          the    entries.          I want

13   what    was    logged      for    the    entries.           And then          I want briefs,            like


14   the    argument.


15                  MS.   WEAVER:        Okay.


16                  THE   COURT:        No declarations.


17                 MR.    MONTGOMERY:           Okay.


18                  THE   COURT:        I want       to make          this       simple.       If    we need


19   more,    then we can get more                  at    the    time.


20                 MR.    MONTGOMERY:           Last       question,             I promise,         on ADI.


21           We proposed         filing our brief                on January 29th.                   Is    that

nn
     still    a deadline         the    Court       wants       us    to hold to?


23                  THE   COURT:        Well,       that    seems          a little       soon.          I don't


24   know.     When are you going to                     identify          --    when are     the


25   plaintiffs         going to       identify the             20?




                                                                                                                     0208
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 1                MR.   MONTGOMERY:        We could do it within seven days;           so

 2   by next      Friday.

 3                 THE COURT:    Okay.       So that would be the 22nd.           So

 4   I think a brief by the 29th might be a little                   --    how about the

 5   5th?     Does that work,       Ms.    Stein?

 6                MS.   STEIN:   For plaintiffs to submit an opening brief

 7   on the 5th?

 8                 THE COURT:    No.       I thought we were just going to have

 9   simultaneous briefs.

10                MS.   STEIN:   I think that's going to be a little bit

11   fast    for us,    Your Honor,       if we've just found out what the

12   entries are.

13                 THE COURT:    That's two weeks.          Well,    no,   because you

14   already logged them.           Right?     It's merely putting down into

15   more paper the analysis that's already been done because

16   they've already been logged.

17           I mean,    and also,    I thought       this was going on in other

18   cases and this is not new or -- ADI.                 I mean,    we've known this

19   is at    issue.     You know.        You have your argument as to why

20   they're privileged.         I assume somewhere in a file,              virtual,

21   there's a memo,        quite thorough,         with all the law and anything.

22   It   just needs to be turned into a brief.

23           So   I think the 5th would be fine.            That's    two weeks.

24           But if you can identify,          Mr.    Montgomery,    before the 22nd,

25   that would be helpful.




                                                                                             0209
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 1                MR.     MONTGOMERY:      We will try to do so,            Your Honor.

 2                 THE COURT:      I mean,       same thing.     It    shouldn't         take   --


 3   I mean,      you've had those.         You've analyzed them.                It's    the 400

 4   to the 20.

 5           Okay.       All right.     So that     takes care of the ADI.

 6           And then I'll have argument             if    I need it.       If    I need

 7   something more,         I will.     I promise.         I don't want to make a

 8   decision that         I'm not comfortable with.

 9           Okay.       So the 30(b) (6)       deponent,    so I did read the notice

10   and Facebook's letter.             And then now plaintiff has another

11   proposal      --    I guess you're     --    I don't know,       Ms.   Stein,      you seem

12   to be the lead today --            just more generally.

13           I mean,      the idea was     --    right?     We went through this whole

14   exercise about         the scope of discovery.            Long,    long months.            And

15   then Facebook was         saying:      Well,    actually,    we've already

16   produced everything within that                scope.     And so that's            sort of

17   like,    let's just cut to it.              Right?

18           And so what about plaintiffs'                proposal in the statement

19   now,    just those three topics,             which is essentially the topic:

20   What    is   it    that you -- what        information do you gather about

21   users?       What do you do with it?

22                 MS.    STEIN:   Well,    Your Honor --

23                 THE COURT:      And how do you monetize it?

24                 MS.    STEIN:   --   that's what we endeavored to do in the

25   letter that we sent plaintiffs,                was to take those three topics




                                                                                                       0210
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 1   and put some more meat on the bones of what we would be

 2   preparing a witness on,            because the topics,                as Your Honor

 3   proposed,      which really is exactly what our letter fleshes

 4   out   --

 5                 THE COURT:        Well,    except this.           I don't mean to

 6   interrupt you,         because we're done at                9:00.     Except that your

 7   letter is more like a topic and a directive.                              Right?     "Data was

 8   not   sold."        It's   sort of almost        like a directive to the witness

 9   will testify.

10         No.      The witness will testify as                   to what the witness

11   knows.       And that may be what you believe,                      but that's not the

12   topic,     that data was not           sold.     The topic          is:    How do they

13   monetize it? wherever that may lead.                         It may lead that the data

14   was not      sold.     Right?

15          But the problem I had with the                   letter was         it    jumped to the


16   conclusion as to           -- not the topic,           as    to what      it was going to

17   be,   almost    like a directive.

18          But    if you take what plaintiff                says and yours and you take

19   out the directives,           then I think that's              --    then you are on the

20   same page.

21                 MS.    STEIN:     Yes.     Your Honor,          I don't think we were

22   intending to direct a witness on anything.                            I think what we

23   were trying to do was explain,                  you know,       more      --    in more

24   particularity what a witness               --    the    subjects within this that a

25   witness was going to be            focused on,          because we obviously need




                                                                                                       0211
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 1   to be able to prepare witnesses                      --    one or more witnesses to

 2   meaningfully testify.

 3              And the topics,          just the three big categories could go in

 4   a lot of different places.                      And I think the       fact that

 5   plaintiffs'             notice looks different             from what we thought this

 6   was    is a good reason for that.

 7              So,    I mean,       we certainly didn't          intend to be suggesting

 8   that we were directing a witness                      to testify --

 9                     THE COURT:        Well,       I'm just    looking at Topic 4,        how

10   Facebook monetized user data.                       First,    data was not sold.

11              No,    that's not       the topic.        That's not what      their question

12   is.        Their question is:                 How did they monetize it? wherever it

13   may lead.

14              And a lot       of    this    is coming from because you guys have

15   made representations,                   all    in good faith,    all what you've been


16   told.           Right?    And so now it's           like,    okay,   where is    it coming

17   from?

18              So    I don't even know,             actually --    this is   just    sort of a

19   preliminary initial                "Let's get       started,"    because we seem to

20   be    --    like,       I just couldn't          figure out how to break through all

21   this       stuff.

22                     MS.    STEIN:     Sure.

23                     THE COURT:        So I don't even know that            the    --   and if

24   the witness             is asked something they can't answer,                  then they

25   can't answer.              Right?        That's okay.        Then we know.       Like,   it's




                                                                                                      0212
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 1   exploratory in that sense.             So   --

 2               MS.    STEIN:    Right.    We    --

 3               MR.    LOESER:     Your Honor --

 4               MS.    STEIN:    --    just wanted -- we just wanted to make

 5   sure,    Your Honor,      what we were trying to avoid for any

 6   30(b)(6).        We have an obligation to prepare,       and we want to

 7   make sure that everyone's on the same page and we get there and

 8   we don't spend the day fighting about the scope of the

 9   deposition.

10           So what we were trying to do in our letter was really just

11   say:     Hey,    here's what we're prepping the witness on,          the

12   subjects.        Here's how we understand it.        You know,    if there's

13   some disagreement on this,            if we're missing something,     let us

14   know.

15           We do not expect       -- we don't want this to be a directive,

16   Your Honor.        You know,      that's not the intention.      It was sort

17   of more of a blueprint of how we were going to be focusing,

18   you know,       with our client on what questions needed to be

19   answered,       but,   you know,    certainly not a directive.

20               MR.    LOESER:     Your Honor?

21               THE COURT:       Yes.

22               MR.    LOESER:     Derek Loeser.      If I could be heard for a

23   moment.

24           This topic      -- you know,    there's no sense talking about the

25   past.     I know Your Honor isn't interested in it.              So I'll just




                                                                                      0213
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 1   try and be practical here.

 2             We have an order.        The order indicates what the subjects

 3   are.       You issued another order indicating that             there needed to

 4   be a 30(b)(6)       notice.       We took the three topics       that were the

 5   subject of Discovery Order Number 9 and we reduced them to very

 6   concrete,      very specific topics.           They track directly to the

 7   order.

 8                 THE COURT:        You mean,    you're talking about your

 9   notice,      or are you talking about what's in your CMC statement?

10                 MR.   LOESER:      I'm talking about our notice and why

11   we   --

12                 THE COURT:        Okay.     I don't want to talk about your

13   notice.       That was way beyond what I had in mind too.

14                 MR.   LOESER:      Okay.

15                 THE COURT:        That was way beyond what       I had in mind.

16   So   I don't want to talk about your notice.

17             Because you put       something in your CMC statement.        I want

18   to talk about that         --

19                 MR.   LOESER:      Okay.    What we put     in our --


20                 THE COURT:           what you put    in your CMC statement.

21                 MR.   LOESER:      Right.     What we put    in our statement was:

22   We're happy to go back to just having a deposition that                  is

23   defined by those three topics.                But what we'd like to avoid is

24   having a deposition in which most of the deposition is                  spent

25   fighting with Facebook about whether we get to ask all of the




                                                                                         0214
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 1   questions we want      to about      those three topics.           And so   --

 2               THE COURT:      You can ask.           They may not be able to

 3   answer.     So it would be best to spend your time on what the

 4   witness    is able to answer.

 5               MR.   LOESER:    And --

 6               THE COURT:      This    is not    --    it doesn't come up against

 7   anything or anything like that.               It's      like an exploratory --


 8   frankly,    I wish I could be there and ask the questions because

 9   I want to know.

10               MR.   LOESER:    Well,    Your Honor,        you are --

11               MS. WEAVER:      We wouldn't mind,           Your Honor.

12               MR.   LOESER:    --    invited.

13               THE COURT:      I'm not.     But       I will   --

14               MR.   LOESER:    You are welcome.

15               THE COURT:       I'm not.        You can hire a special master

16   for that,    if you want.

17               MR.   LOESER:    I guess here's what            I'm trying --

18               MS.   KUTSCHER CLARK:       Your Honor,         I --

19               MR.   LOESER:    We have a letter from them,              which is   like

20   a bit of a maze,      and it says what is and is not going to be the

21   subject of    this testimony.

22        I disagree and we all on the plaintiff side wholeheartedly

23   disagree with the various and many and confusing limitations

24   their letter describes.

25        If what that      letter indicates            is   that when we go to the




                                                                                              0215
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 1   deposition,      those are the objections that they're going to make

 2   and they're going to follow the roadmap that they have put                          in

 3   their letter about what they're not going to allow the witness

 4   to testify to,      I think that that would be             --    it's highly

 5   inefficient.       Also,    it would just be completely inappropriate,

 6   given the scope of the -- just the general three topics that

 7   the witness      is supposed to be testifying about.                  That's kind of

 8   the practical problem that we see.

 9        And we're happy to go ahead and go take the deposition,

10   but I fear that what we're going to get is,                     where they've set

11   forth in this detailed letter this path,                  this narrow path that

12   they want this witness to travel,               it's just going to be a huge

13   problem because the path has nothing to do with the areas that

14   we're entitled to take discovery.

15              THE    COURT:        The problem is,    we're never going to get

16   to that depo if I leave it to you all just to negotiate the

17   scope.    We're never.           It'll be five months          from now until      it

18   gets there.       It just needs to get started and get there.

19        I mean,      maybe    --    I think the place to start,            actually,       is

20   for Facebook to identify:                Here's the general topics.

21        I mean,      they're not       --    it shouldn't    --    it's not   --   this is

22   pretty basic stuff in some sense.                Right?        This   is to get at

23   the basic.       Like,    one of the main questions is user data,                  what

24   is collected and what            is done with it.        Right?       That's it.

25   That's   it.




                                                                                                   0216
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 1           And so there have been representations that have been made

 2   that    the stuff that's been produced is all.             So there are

 3   people there.

 4           So,   Facebook,      identify to plaintiffs who's going to be the

 5   deponent.        Right?

 6           That'll then let you know somewhat what that person knows

 7   or doesn't know.          And then the       same thing with the


 8   monetization.

 9           I think that's a start,            and then you go and we'll    see what

10   we get.       And if you don't get what          I think you should get,       no

11   one's going anywhere;          we can come back and do it again.             This

12   is   just     to try to break through that         logjam and get    started.

13                 MR.   LOESER:     I hear that,    Your Honor,    and I appreciate

14   that.       And obviously,     we will jump right      in and try and do

15   that.       I think Facebook obviously understands that this             is a

16   witness       that's supposed to be prepared to testify,            and so

17   hopefully the witness comes prepared to testify about                  the full

18   range of topics that these             issues relate to.

19                 THE COURT:      Well,    that's what Ms.   Stein said.     That's

20   why she sent the letter,             because they understand that      they have

21   to prepare the witness           to testify.

22                 MR.   LOESER:    But    --


23                 MS.   STEIN:    That's exactly --

24                 MR.   LOESER:     --   I mean,   I don't want to bore    -- you

25   know,    I'm sorry to -- we can move on;            but what   the letter says




                                                                                          0217
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 1   is what    they're going to prepare the witness                to testify about.

 2              THE COURT:      That's what       I said.        Isn't   that what    I

 3   said at    the beginning?       That's what      I said.       They heard it.

 4   I'm confident that they heard it,             that that's not going              that

 5   that's not going to happen.

 6        For example,       it can't be     --   I'll give you an example.

 7        Well,    did you gather this type of              --   did you gather this

 8   type of    information about users?

 9        No.     The witness    can't answer that because that

10   information wasn't shared.

11        Right?

12              MR.   LOESER:    Okay.

13              THE COURT:      That's a different question.                The question

14   is what did they gather,          and then what was          shared.

15              MS.   STEIN:    Right.

16              THE COURT:      Whether it was        shared or not.         Right?

17        Ms.   Stein is     shaking    --

18              MS.   STEIN:    Right.

19              THE COURT:      --   her head "yes."

20        We're all     --

21              MS.   STEIN:    Right.

22              THE COURT:      --   on the same      --

23              MR.   LOESER:    Right.      And so    --

24              MS.   STEIN:    We understand --

25              MR.   LOESER:    -- by the same        --




                                                                                              0218
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 1               MS.   STEIN:     --    that,    and that was what our letter was

 2   intended to communicate,            that they would get to ask questions

 3   about the scope of what was collected and then they would

 4   narrow it down to find out what was shared or accessed.

 5           But Mr.   Loeser identified our concern,             Your Honor,     is that

 6   they're primed to say that our witness isn't prepared.                       And we

 7   really -- we take this            seriously.     It's important.        We know

 8   it's binding on the company.               And so we want to do the best

 9   that we can to,      you know,       make everyone happy here.

10           You know,   we will take Your Honor's topics.               Our letter

11   should not be viewed as a directive.                  If there's something that

12   plaintiffs looked at and think is missing,                  you know,     we should

13   discuss that before the depositions so that we know and we can

14   make sure the witness is prepared.

15           But we were trying to cover the              --   in doing this    letter,

16   we were trying to cover the landscape of everything.                       And,

17   you know,    I'm sorry some of           it sounded like a directive.             We

18   were just really trying to flesh out what we thought this

19   meant.     And the categories of things that we listed of what was

20   collected,    we think that's everything.                 So we were just really

21   trying to be comprehensive here so that we were all on the same

22   page.

23               THE COURT:       So,   Mr.     Loeser,   if you look at the topics

24   from their letter,         as opposed to what's underneath,             does that

25   cover --    I think that covers everything.




                                                                                             0219
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 1                 MS.   WEAVER:      I think,       Your Honor --

 2                 MR.   LOESER:      Well,    not    really.      I mean,     the topics

 3   identify the categories that are indicated in the Court's

 4   orders;      but then there's this complicated roadmap about what                            is

 5   and isn't going to be testified about.

 6                 THE COURT:        That's why I said if you just                  look at the

 7   topics,      that covers everything             --   right?   -- the topics.

 8                 MR.   LOESER:      Well,    I believe that        the topics           identify

 9   the categories         that are set       forth in the order.             So    --

10                 THE COURT:        Okay.

11                 MR.   LOESER:      -- yes,    those are the topics.

12                 THE COURT:        There we are.          So that's the guidance.

13   That's what the witness should be prepared to testify to.

14          And as       I said,   and Facebook said they understand.                      That

15   Facebook believes         something wasn't             shared or that       the purpose

16   ultimately wouldn't be admissible is not a reason not to answer

17   the question.          Right?

18                MR.    LOESER:      Okay.     And so we're not          --

19                 THE COURT:        It's discovery --

20                 MR.   LOESER:      --    doing things

21                 THE COURT:        --    as to what user was        -- what       information

22   was collected,         what did they do with it,              how,   why.

23          And then,       where that       leads    to,   what the consequence of

24   that   is,    who knows?

25                MR.    LOESER:      So let me just          --




                                                                                                        0220
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 1              THE COURT:        Great.

 2              MR.    LOESER:        Not to beat a dead horse,        to use a bad

 3   metaphor here,         but the    --   I'll    just read a statement      in their

 4   letter,   and I think that this will provide clarification on

 5   what will happen with that.

 6        Page 3 of their letter,              at   the bottom of the page,       there's

 7   a statement      (reading):

 8                "Facebook does not intend for its designee to

 9        provide details regarding the categories of

10        information it may have received from third parties,

11        except as described below."

12        Well,    we're not going to limit our questioning to the

13   narrow scope that         this    letter seems to suggest        the witness will

14   be testifying about.

15        And I think what Your Honor is                 saying is we're just

16   focused on the main topics;              we don't need to worry about the

17   limitations      set    forth in this letter because the witness will

18   be prepared to testify about the full                 topic;   and it's

19   testimony --      Facebook will not have made the decision not to

20   prepare the witness         to testify to this limitation that's              set

21   forth in this      letter.

22              THE COURT:        Well,      I guess    the question is   "details."

23   Right?    Details,       I don't know what         that means,   "details,"

24   versus    sort of categories or things              like that.    If we're going

25   to go into details about all those,                 then you're going to run




                                                                                             0221
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 1   out of time.         So   --   right?

 2          It's sort of a high-level:                 Genesis of it was,           again,      that

 3   Facebook's representation,               after we went through all this

 4   briefing about        the scope of discovery as to plaintiffs'                        user

 5   information,        that they had,        in fact,         produced all of

 6   plaintiffs'        user information.         So,      that is      shared.

 7          So let's now find out what                is   it    that   they collect about

 8   users.

 9                MR.    LOESER:      Okay.     I hear Your Honor.

10                THE COURT:        Whether it be from a third party,                   whether

11   it be from their own            -- whatever it         is.       Whatever it    is.     What

12   is   it?

13          And categories.           Right?     If    there's a particular detail,

14   they're not going to be able to go into details about                            --    I

15   don't know -- which apps or this or that or that.                            Right?        This

16   is   just   --

17                MR.    LOESER:     No.      I hear that.

18                THE COURT:         --   high level.

19                MR.    LOESER:     And I agree with you.

20                MS.   WEAVER:       Your Honor --

21                MS.    KUTSCHER CLARK:        And,       Your Honor       --

22               MR.     LOESER:     All     I'm talking         --

23               MS.    WEAVER:       You're right.             Let's get    started.      We'd

24   love a date,        and we will       take this deposition according to your

25   direction.




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 1           And so if Ms.          Stein wants to identify who they'll be

 2   producing,       we're ready,        you know,      early February to take this

 3   deposition.

 4                  THE COURT:       Well,    I don't know about         --    in February.

 5           But,    Ms.    Kutscher Clark,        you were trying to say something.

 6                  MS.    KUTSCHER CLARK:         Oh.     I just wanted to assure

 7   the Court that the type of               language      surrounding the type of

 8   detail that would be testified to is                    really intended to zoom in

 9   on what's       relevant here.

10           The    idea was,       to the extent        the deponent,    for instance,

11   testifies       that particular data is used only for a security

12   feature,       you know,       to make sure that        there   isn't a security

13   breach on the platform,              they don't then need to go into detail,

14   for instance,          about how that security feature operates.

15           That's all we're            intending to convey there.                Let's get    to

16   the types of data and the types of uses                    that are actually

17   relevant here,          and,   of   course,    we'll provide testimony about

18   that.     But    if    it's clearly outside the scope of what we're

19   talking about          in this case,      a high-level explanation should be

20   sufficient.

21                  THE COURT:       Okay.     I don't think Mr.         Loeser disagrees

22   with that.

23                  MR.    MONTGOMERY:       Before Your Honor has            to    leave us,

24   can I just clarify that we're talking about,                     really,         two

25   depositions:           one deposition about the monetization and one




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 1   deposition about data?

 2               THE COURT:        Yeah.     I mean,      I don't know.       It   seems

 3   like the data would be the longer deposition.                     Right?

 4               MR.    MONTGOMERY:        I think we're anticipating,             you know,

 5   a full day for each,          if that's permissible by the Court.

 6               MS.    STEIN:     That sounds      --    for,   you know,    a 30(b)(6)

 7   and when -- on two topics,             when you often get seven hours for

 8   one 30(b) (6),      like,   we understand these are important topics,

 9   but,   you know,     I think two full days            is,   you know,    a little bit

10   of overkill here.           I think,    you know,      a few hours      --

11               THE COURT:        Ten hours.

12               MS.    STEIN:     --   each for an --

13               THE COURT:        Ten hours.       Ten hours.       And I would think

14   that plaintiffs would want most of                  it to go to the user

15   information.        I mean,    that    --   I mean,    seven hours for that

16   I think you could do easily.                I don't know.       Maybe not.       I

17   don't know.

18          Ten hours.

19               MS. WEAVER:        We will take the deposition,              and we will

20   report back.

21               THE COURT:        But not in --         ten hours over two days,

22   though --      right?   -- not one day.         Or even more.        However you

23   want to do it.

24          Okay.      Excellent.

25               MS.    STEIN:     And,    Your Honor,      just   for clarification,




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 1   you know,     I understand that plaintiffs want the                identities of

 2   these witnesses.        I don't know them yet.             I don't know who --

 3               THE COURT:       Oh,   no,   no,   no.   I understand you don't.

 4   No,   no.   They didn't      --    I actually brought that up.

 5          I just thought,       when you tell them,        then that gives them

 6   comfort     -- right?   -- that you're not taking the engineer from

 7   wherever.      Right?      You're actually --        there are people within

 8   Facebook who actually know this information -- right?                    --   that

 9   they're high enough up that they have the big picture.

10               MS.   STEIN:     Right.

11               THE COURT:       So my thinking was that when you share

12   that name,     that'll give them some comfort that the person will

13   be -- when you say "be prepared"               -- right?    --   it's like you

14   can't tell them what         -- you can prepare them in the sense of

15   what they should prepare to testify.                 They're going to have to

16   know or do the gathering to know.

17               MS.   STEIN:     Correct,     Your Honor.

18          One thing that       I would just appreciate some clarification

19   on.    These witnesses are not being deposed in their personal

20   capacity right now.          So I just want to make sure that we're not

21   going to be       -- you know,     by giving them the names in advance,

22   we're not going to be seeing e-mails that these people are

23   being shown and impeached and whatnot;                that this is a

24   deposition to get       information from them,          but not to start a

25   whole cross-examination of them in their personal capacity.




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 1                  MS. WEAVER:       Deb,    we agree with that,        except    to the

 2   extent    if    it relates to the topic of            the deposition,        we may


 3   introduce --         obviously,       we'll be introducing exhibits and if a

 4   deponent's name has to be on it.

 5           But we agree,         not personal capacity.         This    is a

 6   corporate deposition,            both of    them.

 7                  THE COURT:       There may be e-mails.         Right?      There's


 8   documents they reviewed that               lead them to believe that            there

 9   was other user information that was collected about users.

10   Right?     So they will probably show the deponent one of                       those

11   e-mails and say:          Well,       doesn't   this mean this?        Right?

12                  MS.   STEIN:     Yes,    Your Honor.

13                  THE COURT:       That would be the objective.

14                  MS.   STEIN:     I normally -- unless         someone is also being

15   deposed in their personal capacity,                 I normally don't         share the

16   name of a 34(b)(6)            deponent    in advance of a deposition.             So I

17   just don't want this to sort of get turned into something that

18   is not a 30(b)(6)         deposition.

19                  THE COURT:       Okay.     It won't.    All    right?     And there'll

20   be a record.          So no worries.

21                  MS.   WEAVER:     And is Your Honor planning on providing

22   dates    for the depositions?

23                  THE COURT:       No.     I said it needs      to happen by --       in

24   February.

25                  MS.   WEAVER:     Okay.     Is   this a leap year?




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 1                                         (Laughter.)

 2                 THE COURT:       I don't think so.

 3                 MS.   WEAVER:     I think not.

 4                 MS.   STEIN:     It's an odd year;           so   I don't think so.

 5                 MS.   WEAVER:    Sorry,       Deb.     No February 29th.

 6                 THE COURT:      Okay.     I have a change of plea.

 7          Just    let me give some guidance as to deposition


 8   transcripts or written discovery.                    I mean,     clearly,   anything

 9   that   Facebook has      said under oath about              relevant topics      is

10   relevant.       And I would think discovery,                unless   there's   some

11   privilege I'm not aware of             --    right?       So if they did an

12   interrogatory answer on a relevant                   topic,     that's discoverable.

13                 MS.   STEIN:    Your Honor,          this   is a very serious      issue

14   for us,   especially because this              is    in the context of government

15   investigations.         And we're dealing with government entities who

16   often don't even want us             to get    the transcript because          it's

17   their investigation.           So,    you know,       having this     clone discovery

18   issue about what's going on in government                       investigations    is a

19   very significant        issue,    and respectfully --

20                 THE COURT:      Well,    that's different than --             that's

21   different than an interview.                 I thought what was        in the letter

22   was depositions.

23                 MS.   WEAVER:    Your Honor,          it's both depositions and the

24   FTC,   who has unequivocally stated in this proceeding that they

25   do not object to us           receiving information.             We have the FTC's




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 1   written letters that ask for sworn responses                      to substantive

 2   answers.

 3                  THE COURT:       So,   okay.    Let me just,       because I'm --

 4                  MS.   WEAVER:     We just want     --

 5                  THE COURT:       I'm just giving guidance.            I'm not ruling.

 6   I'm just giving guidance because it's not                      ripe and presented to

 7   me.

 8          My guidance        is,   for example,     if    --    it's almost   like Jencks

 9   material.        Right?

10                  MS. WEAVER:       Right.

11                  THE COURT:       If a witness made statements on the

12   topics,    if    they're going to be a witness                in the case,   if

13   they're going to be deposed,               then I think it's certainly

14   relevant what they said under oath in another case on the same

15   topics.        Right?     Not   if    it was unrelated.        And the same thing


16   with interrogatory responses.                 And then I gave a caveat,           which

17   is,   unless     there's some privilege of which I'm not aware.

18           That's all.        That's just the guidance that             I'm giving.

19                  MS. WEAVER:       Okay.     We will bring it before you if we

20   can't resolve it.

21                  THE COURT:       Okay.     I guess we need a next date.             What

22   is    today?     Today is the 15th.

23          How about        February 24th at       8:30?        Maybe you'll have taken

24   that depo,       and I'm sure there'll be             lots to discuss.

25                                           (Laughter.)




                                                                                                0228
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 1              MS.   WEAVER:    That's    fine here.


2               MS.   STEIN:    That's    fine,   Your Honor.


 3              MR.   LOESER:    We will all be       so knowledgeable by then,


 4   Your Honor.

 5                                      (Laughter.)


 6              THE COURT:      It's true.        I wish I could take the depo.


 7   I would.


 8              MR.   LOESER:    You really are       invited.   We'll send


 9   you --

10              MS.   WEAVER:    You know,    some judges have done things


11   like that.

12              THE COURT:      Yeah.     I wish I had time,     but no time.


13        All right.      Thank you very much.


14              MS.   STEIN:    Thank you,    Your Honor.


15              MS. WEAVER:      Thank you,       Your Honor.


16              MR.   LOESER:    Thank you,       Your Honor.


17                     (Proceedings adjourned at        9:05 a.m.)


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                             CERTIFICATE OF REPORTER

 3              I certify that the foregoing is a correct transcript

 4   from the record of proceedings in the above-entitled matter.

 5


 6   DATE:    Monday,   January   18,     2021




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 9           Ana Dub,   CSR No.   7445,    RDR,    RMR,   CRR,   CCRR,   CRG,   CCC
                    Official Reporter,           U.S.   District Court
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                              UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC



This document relates to:                      PLAINTIFFS' MOTION TO COMPEL
                                               PRODUCTION OF DOCUMENTS
ALL ACTIONS                                    RELATED TO FACEBOOK'S APP
                                               DEVELOPER INVESTIGATION

                                               Judge: Hon. Jacqueline Scott Corley
                                               Courtroom: 4, 17th Floor




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                                     I.     INTRODUCTION

         In 2018, the world learned that Cambridge Analytica's app on the Facebook platform had

misused asubstantial and alarming amount of Facebook users' private information. In the wake

of this scandal, Facebook publicly announced the App Developer Investigation ("ADI"),

described as an effort to investigate whether other apps may have similarly misused users'

information. Facebook said the ADI would review every app on the platform "that had access to

large amounts of information," and that it would involve hundreds of people, including not just

attorneys, but also "external investigators, data scientists, engineers, policy specialists, platform

partners and other teams across the company." )The ongoing ADI has thus far resulted in the

suspension of tens of thousands of apps for reasons including "inappropriately sharing data

obtained from [Facebook], making data publicly available without protecting people's identity or

something else that was in clear violation of [Facebook's] policies."2

         Facebook has characterized the ADI as anew and distinct endeavor that was entirely

lawyer-driven, and thus entirely privileged. In reality, the ADI was acontinuation of Facebook's

longstanding if lackluster investigative and enforcement efforts. Long before the ADI began,

Facebook's DevOps team attempted—unsuccessfully—to enforce policies designed to prevent

third party apps from misusing user information. Dressed up with anew name and trumpeted

with repeated press releases, the stated purpose of the ADI was the same as FB's existing

program: to protect users' data from misuse by third-party apps.

         Given the clear relevance of the ADI to Plaintiffs' claims, Plaintiffs seek discovery

related to the ADI that does not explicitly contain legal advice. But to date, Facebook has refused

to produce virtually all documents generated or uncovered by the ADI ("the ADI Materials"),

claiming that they are shielded from production by work product or attorney client privilege.

Pursuant to this Court's instructions and the parties' agreement, Facebook has now produced




 An Update on Our App Develciper Investigation, Facebook (Sept. 20, 2019),
 https://about.tb.com/news/2019/09/an-update-on-our-app-developer-invest igat ion/
2Id.


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privilege logs for six apps investigated as part of the ADI, containing over 6,000 entries. 3 These

logs show that, other than correspondence with the app developers related to the Requests for

Information ("RFIs") sent by Facebook, the Company is claiming work-product protection and

attorney-client privilege over every email, chart, table, slide, image, diagram, agenda, task list,

chart, and spreadsheet associated with the investigation. Facebook has asserted that every one of

those documents in the logs is privileged in full and has withheld each of them in their entirety.

       From these sample logs, Plaintiffs identified 400 entries that fail to identify an attorney as

an author or recipient. From these 400, pursuant to Discovery Order No. 12, ECF No. 602,

Plaintiffs selected 20 for in camera review. 4 Following that review, informed by the Court's

review of the 20 documents as well as the arguments below, Plaintiffs respectfully ask the Court

to rule that the ADI is not categorically work product or privileged. Importantly, Plaintiffs rely in

this motion solely upon items in the public record, cognizant of this Court's admonition against

declarations and evidentiary submissions. 5

       First, Facebook's blanket work-product claims fail both because the ADI was not

conducted in anticipation of litigation and because the logs do not identify any such litigation.

Rather, Facebook repeatedly and publicly stated that the purpose of ADI was not to prepare for

litigation but to "make sure that people can continue to enjoy engaging social experiences on

Facebook while knowing their data will remain safe." 6 Because the stated purpose of the ADI




3 Joint Status Update at 4, ECF No. 599 (Jan. 24, 2021). These six are the apps the parties agreed
  upon as asampling of the more than 100,000 apps Facebook identified as part of the ADI. See
  Facebook, Inc.'s Administrative Mot. to File Under Seal, ECF No. 514; see also Stipulation &
  Order re Process to Log Exemplar Materials from Facebook's App Developer Investigation,
  ECF No. 518; Further Stipulation & Order re Process to Log Exemplar Materials from
  Facebook's App Developer Investigation, ECF No. 533.
4 Joint Status Update at 4. In addition, the electronic versions of the logs containing the 400


  entries without an attorney and the 20 selected by Plaintiffs for in camera review were
  provided to the Court in connection with the parties' stipulation that the Court entered on the
  day of this filing, February 5, 2020. See ECF No. 610, If 3.
5 See Hr'g Tr. 11:2-16 (Jan. 15, 2021) ("I don't want declarations. I   don't want declarations ...
  No declarations.") (emphasis added). To the extent Facebook relies on declarations in its brief,
  Plaintiffs respectfully request the Court strike and ignore them.
6 An Update on Our App Devekper Investigation, supra note 1.




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was to reassure users that Facebook would protect user data, not to prepare for litigation, it is not

entitled to work-product protection.

       Second, even if Facebook had an unstated litigation-related motive for conducting the

ADI, the law is clear that to claim work-product protection over such dual-purpose documents,

Facebook must establish that the documents at issue would not have been produced in

substantially similar form absent the prospect of litigation. United States v. Richey, 632 F.3d 559,

567-68 (9th Cir. 2011). Here, Facebook has repeatedly claimed that it had been investigating

third-party misuse of Facebook users' information since at least 2012. App reviews were

business as usual and would have been performed whether litigation was anticipated or not. They

are thus not work product.

       Third, the ADI Materials are not categorically protected by the attorney-client privilege.

The privilege does not apply to the underlying facts and information regarding the ADI,

including the information Plaintiffs seek, including which third-party apps violated which

policies over what period of time, and what user data and information these third parties obtained

and ultimately misused. Plaintiffs are entitled to this information given the central relevance of

the ADI to Plaintiffs' claims—and in particular to the fourth category of misconduct upheld by

Judge Chhabria regarding Facebook's failure to monitor (see Pretrial Order No. 20 at 9-10, ECF

No. 298).

       Finally, the ADI Materials are not protected by the attorney-client privilege because the

privilege does not protect communications made primarily for business purposes. The mere

presence of attorneys does not change that fact, particularly where, as Facebook itself admits, the

investigation involved hundreds of non-attorneys—many of whom were engaged in the effort

before it was rebranded "the ADI." And where no attorneys are present, as is the case with

respect to the entries submitted here, Facebook's argument is even weaker.

       Thus, Plaintiffs respectfully request that, in addition to any guidance the Court sees fit to

provide, the Court order that (1) the 20 documents selected for in camera review should be

produced, (2) Facebook is not entitled to acategorical claim of privilege over the entirety of the


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ADI, and (3) Facebook produce, at aminimum, all of the underlying facts and information

regarding the ADI, including which third-party apps violated which Facebook policies over what

period of time and what user information they obtained and misused.

       Significantly, at 4:02 p.m. on the day this brief was due to be filed, Facebook sent

Plaintiffs aletter (attached hereto as Exhibit A), stating that one of the 20 documents Plaintiffs

selected for in camera review is not in fact privileged and seeming to suggest that the procedure

agreed to by the parties and ordered by the Court should somehow be altered accordingly. This

letter came on the day of filing even though Plaintiffs identified the document at issue to

Facebook more than two weeks ago, on January 21, 2021, and Facebook had several weeks to

review and log these documents. The letter itself demonstrates that there is little or no distinction

between ADI and Facebook's other enforcement efforts. In any event, Plaintiffs insist that

Facebook submit this document for in camera review along with the remaining selected entries

in accordance with the parties' stipulation governing this process.'

                                II.    STATEMENT OF FACTS

A.     Facebook's Enforcement Efforts

       Long before Facebook first announced the ADI, Facebook's purported promise to enforce

privacy protections were critical to users and akey business strategy for the company. It had

policies in place to attempt to enforce third-party app developers from misappropriating user data

and information. For example, from at least 2010 to 2014, the Platform Policy, which governed

the conduct of apps on the platform, stated that Facebook "can take enforcement action against

you and any or all of your applications if we determine in our sole judgment that you or your

application violates Facebook Platform Terms and Policies." 8 From 2014 to at least 2018, the

Platform Policy stated that Facebook "may enforce against your app or website if we conclude




7 See ECF No. 514, shpra note 3.
8 Facebook Plaiform Policies (Apr. 25, 2012),


  https://web. archive. org/web/20120501025801/http://develop ers. facebo ok. corn/policy! (last
  visited Feb. 5, 2021).

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that your app violates our terms or is negatively impacting the Platform." 9 The Platform Policy

also indicated that le]nforcement is both automated and manual, and can include disabling your

app, restricting you and your app's access to platform functionality, requiring that you delete

data, terminating our agreements with you and any other action that we deem appropriate."    1°


Facebook's Statement of Rights and Responsibilities ("SRR")—governing Facebook's

relationship with users—affirmed this promise of enforcement, stating from at least August 2009

to April 2018 that Facebook would "require applications to respect your privacy, and your

agreement with that application will control how the application can use, store, and transfer that

content and information." 11 The SRR further stated that application developers must meet or

comply with the requirements set out in Facebook's Platform Policies. 12

           Indeed, in 2012 Facebook claimed that it had "put in place an enforcement program to

prevent and respond to potential developer misuse of user information" (the "Enforcement

Program"). 13 According to Facebook, its internal "Development Operations" or "DevOps" team

"has consistently played acentral role in enforcing Facebook's [P]olicies and protecting user

data and Facebook's Platform." 14 This ongoing enforcement program included the "regular and

proactive monitoring of apps" and investigations into "potential app violations." 15 Facebook


99Facebook Pla form Policy (Mar. 25, 2015),
 https://web.archive.org/web/20160412175450/https://developers.facebook.com/policy/ (last
 visited Feb. 5, 2021).
10   Id.

" Second Amended Consolidated Complaint If 559, ECF No. 491 (citing Statement cf Rights and
 Responsibilities, Facebook (June 18, 2010),
 https://web.archive.org/web/20100618224059/http://www.facebook.com/terms.php (last visited
 Feb. 5, 2021).
12 Id.

13 Decision & Order re Attorney General's Petition to Compel Compliance with Civil
  Investigative Demand Pursuant to G.L. c. 93A, §7("Healey Order") at 3(citing the Petition to
  Compel Compliance with Civil Investigative Demand Pursuant to G.L. c. 93A, §7(the
  "Petition") If 27), Healey v. Facebook, Inc., Suffolk Superior Court Action No. 1984CV02597-
  BLS-1 (Jan. 17, 2020), https://newenglandinhouse.com/files/2020/01/Short-Form-Decision-
  and-Order-Regarding-AGs-Petition-to-Compel-Compliance-with-CID-Facebook-Jan.-
  2020.pdf.
14
   Id. (citing Petition If 28).
15 Letter from Facebook, Inc. to Chairman Chuck Grassley, Ranking Member Dianne Feinstein,


  U.S. Senate Committee on the Judiciary, Facebook's Response to U.S. Senate Committee on

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also stated, "we regularly take enforcement action against apps. For example, in 2017, we took

action against about 370,000 apps, ranging from imposing certain restrictions to removal of the

app from the plat fo rm. "16

         Thus, at least since 2012, Facebook has claimed that it was investigating, evaluating, and

taking action against app developers that were violating its policies. Of course none of this was

effective. Indeed, in the wake of the Cambridge Analytica scandal and the vast amounts of data

being misused by this particular app, Facebook rechristened its enforcement efforts as the "ADI"

and issued press releases seeking to reassure users that it was protecting their data. The first such

press release, in March 2018, stated that the ADI involved a"review all of the apps that had large

amounts of information." 17 Facebook touted the breadth of the effort, saying that:


         It has involved hundreds of people: attorneys, external investigators, data scientists,
         engineers, policy specialists, platform partners and other teams across the company. Our
         review helps us to better understand patterns cf abuse in order to root out bad actors
         among devekpers.

         We initially identified apps for investigation based on how many users they had and how
         much data they could access. Now, we also identify apps based on signals associated with
         an app's potential to abuse our policies. Where we have concerns, we conduct amore
         intensive examination. This includes abackground investigation cf the devekper and a
         technical analysis cf the app's activity on the plaform. Depending on the results, arange
         of actions could be taken from requiring developers to submit to in-depth questioning, to
         conducting inspections or banning an app from the platform. 18

In September 2019, Facebook claimed that the ADI had investigated millions of apps, suspended

tens of thousands, and that the ADI was "not yet complete" as Facebook continued to investigate

and suspend appS. 19

         Facebook also launched apublic-relations campaign led by CEO Mark Zuckerberg.

Zuckerberg made public posts to users describing Facebook's ongoing efforts and



  the Judiciary Questions for the Record at 121-22 ("Facebook's Response") (June 8, 2018),
  https://www.judiciary.senate.gov/imo/media/doc/Zuckerberg%20Responses%20to%20Judiciar
  y%20Committee%20QFRs.pdf.
16 Id. at 6.

17 An Update on Our App Devekper Investigation, shpra note 1.

18
   Id. (emphasis added).
19 Id.



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acknowledging their continuation, noting that the Company took "important steps afew years

ago in 2014 to prevent bad actors from accessing people's information ...But there's more we

need to do and I'll outline those steps here: First, we will investigate all apps that had access to

large amounts of information before we changed our platform to dramatically reduce data access

in 2014, and we will conduct afull audit of any app with suspicious activity." 2° In April 2018,

Zuckerberg testified to Congress that "[w]e're now investigating every single app that had access

to alarge amount of people's information on Facebook in the past. And if we find someone that

improperly used data, we're going to ban them from our Platform and tell everyone affected."21

He admitted "that we didn't do enough" to protect users' data. "We didn't take abroad enough

view of our responsibility," he said, "and that was abig mistake, and it was my mistake, and I'm

sorry. Istarted Facebook, Irun it, and I'm responsible for what happens here." 22 Such public

proclamations do not portray aconfidential, lawyer-driven inquiry conducted for litigation

purposes only.

B.     Plaintiffs' Requests for the ADI Materials

       In November 2019, Plaintiffs issued document requests for information related to the

ADI, and, in particular, documents related to two phases of the ADI: Enhanced Examination and

Enforcement. These phases, under which suspicious apps were "escalated" for special

investigation or action, were disclosed in adeclaration that Facebook submitted in the

Massachusetts Attorney General's action against it. After meeting and conferring over this

request for over four months, Facebook told Plaintiffs and the Court that the ADI was

categorically privileged except for alimited set of documents related to RFIs that Facebook had

sent to third-party app developers and to the apps' responses to those RFIs. Plaintiffs then

sought guidance from the Court in June and July 2020, asking to brief these issues.

       The Court initiated the process that led to this briefing. The parties spent the next several


20 Mark Zuckerberg ("Zuckerberg Post"), Facebook (Mar. 21, 2018),
  https://www.facebook.com/zuck/posts/10104712037900071
21 Facebook's Use and Protection cf User Data: Hearing Mfore the H. Energy and Commerce


  Comm. ("Zuckerberg Statement", 2018 WL 1757479 at 10 (Apr. 11, 2018).
22 Id. at 9.




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weeks negotiating aprotocol to select apps for which Facebook could conduct areview,

producing non-privileged documents and logging the rest. The parties selected six apps from

three different categories: apps that were investigated but not suspended in the ADI; apps that

were suspended for non-cooperation; and apps that were suspended for some reason other than

non-cooperation. 23 The parties also agreed on aset of custodians for Facebook to review. 24

          Ultimately, in December 2020, Facebook produced six different privilege logs (one for

each app) totaling over 6,000 entries. 25 Every single document identified in these logs is being

withheld in its entirety. The entries included not just emails but excel files, agendas, chats, slides,

images, tables, task trackers, diagrams, and reports. 26 And, despite Facebook's promise that

Plaintiffs would receive a"cornucopia" of information about the six apps, 27 Facebook has

produced only 65 pages of material reflecting Facebook's RFIs from these apps, and in some

instances, the apps developers' RFI responses.

          In reviewing Facebook's logs, Plaintiffs identified 400 entries that reflect no attorneys. 28

The attorney-free entries include ahandful of emails conclusively stating that they reflect the

sharing of legal advice, and also attachments such as agendas, images, tables, slides, diagrams,

excel files, data files, graphics, task trackers, chat messages, and charts. 29 For instance, one of

these entries indicates that it is an




                                                                                                    30




23See Decl. of Martie Kutscher in Supp. of Facebook, Inc.'s Administrative Mot. to File Under
 Seal, ECF No. 514-1 at Ex. A(1)(B).
24 id.

25   Joint Status Update at 4.
26 Id.

27 See Hr'g Tr. 30:6-8 (July 13, 2020) (Mr. Snyder: "And the plaintiffs are going to have a
  cornucopia of information about third-party apps. And Ijust respectfully suggest that they be a
  little patient.").
28 Joint Status Update at 4.

29 id.

" See Plaintiffs' selections to Facebook Exemplar ADI-Related Privilege Logs ("Entry Log"),
 line 8of 20 (FB-ADI-0000003177-3178). The electronic version of this log was provided to the

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Another indicates that it is a                                                          3l Yet


another indicates that is a                                                              p2Notably,
the attachments also include transmissions to and from third party                    and afile that

was created in September 2014, years before the ADI was started. 33

       Consistent with Discovery Order No. 12, Plaintiffs selected 20 of the 400 entries for an in

camera review and notified Facebook of its selections on January 21, 2020. ECF No. 602 at 1.

C.     Status of the Massachusetts Attorney General Action

       Facebook's categorical claim of privilege over the ADI has already been considered and

rejected by another court. In Healey, the Massachusetts Attorney General is investigating access

and use of Facebook user data by third-party app developers and through that action seeks

documents regarding the ADI. 34 The trial court in Healey rejected Facebook's work-product

claim in its entirety and confined the attorney-client privilege to asmall subset of documents (for

which Facebook would produce aprivilege log). 35 The Healey court specifically concluded that

"Facebook's ADI is fairly described as 'business as usual.'"36 The court continued, "[t]he record

shows that Facebook, as part of its normal business operations, has been engaged in acontinuous

review of Platform apps for possible violations of its Policies since 2012, and that the ADI is just

another iteration of that program. .The Court therefore concludes that Facebook's ADI is not

being conducted 'in anticipation of litigation or for trial,' and would have been undertaken by the

Company 'irrespective of the prospect of litigation.'"37

       Facebook appealed this decision to the Massachusetts Supreme Court. The Court held




  Court in connection with the parties' stipulation that the Court entered on the day of this filing,
  February 5, 2020. See ECF No. 610, ¶3.
31 See Entry Log, line 9of 20 (FB-ADI-0000004847-4850).


32 See Entry Log, line 11 of 20 (FB-ADI-0000003217-3218).


33 See Entry Log, line 14 of 20 (FB-ADI-0000002536-2537).


34 Healey Order at 7-9.

35 Id. at 16-18.

36 Id. at 14.


37 Id. at 14-15.



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oral argument on December 4, 2020, and its decision is currently pending. 38 Notably, the Court

inquired whether this Court had ruled on the ADI privilege issues. Facebook's counsel

incorrectly suggested that "they may well be waiting for this Court." 39 The parties here are not

and have never been waiting for any other court to rule on these issues. °

                                       III.    ARGUMENT

A.      The ADI Materials Are Not Protected by the Work Product Doctrine

        1.     Applicable Standard

       Federal law provides the governing law on the scope and extent of the attorney work-

product doctrine in federal court. Connolly Data Sys., Inc. v. Victor Techs., Inc., 114 F.R.D. 89,

95 (S.D. Cal. 1987); F.D.I.C. v. Fid. & Deposit Co. cf Md., 196 F.R.D. 375, 381 (S.D. Cal.

2000); United Coal Cos. v. Powell Constr. Co., 839 F.2d 958, 966 (3d Cir. 1988) ("the work-

product privilege is governed, even in diversity cases, by auniform federal standard embodied in

Fed.R.Civ.P. 26(b)(3) ..."). Under federal law, Federal Rule of Civil Procedure ("FRCP")

26(b)(3)(A) provides that, "a party may not discover documents and tangible things that are

prepared in anticipation of litigation or for trial. .." Fed. R. Civ. P. 26(b)(3)(A). Further, "[t]he

party seeking to invoke the work-product doctrine bears the burden of establishing that any

documents claimed as work product were prepared in anticipation of litigation." Nel4port Pac.

Inc. v. Cty. cf San Diego, 200 F.R.D. 628, 632 (S.D. Cal. 2001). As set forth below, Facebook

has failed to meet its burden here.

       2.      The ADI Materials Were Prepared to Assure the Public that Facebook
               Cared About User Privacy

       Facebook and its representatives have repeatedly and publicly stated that the ADI was

conducted to protect user privacy as promised to users. For example, Facebook announced the



38 Oral Argument, Attorney General v. Facebook, Inc., No. SJC-12946 (Dec. 4, 2019),
  https://boston.suffolk.edu/sjc/pop.php?csnum=SJC 12946.
39 Id. at 16:50.


4° In addition to the Massachusetts Attorney General action, the District of Columbia Attorney

  General has an action against Facebook and has also sought to compel production of materials
  associated with the ADI. See District cf Columbia v. Facebook, Inc., No. 2018-CA-008715-B
  (D.C. Super. Ct. 2018).

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ADI to the public, in apress release which stated in part, "[w]e have aresponsibility to everyone

who uses Facebook to make sure their privacy is protected. That's why we're making changes

to prevent abuse." 41 A subsequent public press release stated that reviewing apps as part of the

ADI "helps us to better understand patterns of abuse in order to root out bad actors among

developers."' That press release continued, "our goal is to bring problems to light so we can

address them quickly, stay ahead of bad actors and make sure that people can continue to enjoy

engaging in social experiences on Facebook while knowing their data will remain safe." 43

Indeed, on April 10, 2018, Mark Zuckerberg, Facebook's CEO, testified to the U.S. House of

Representatives that "to make sure no other app developers are out there misusing data, we're

now investigating every single app that had access to alarge amount of people's information on

Facebook in the past."44 By these repeated public statements Facebook made very clear that the

purpose of the ADI was to root out misbehaving apps and protect user information, not litigation.

As such, the ADI Materials are not protected work product.

         3.     Even if Facebook Had Conducted the ADI Partially in Anticipation of
                Litigation, the ADI Materials Would Still Not Be Protected

         Even if the ADI was initiated in part due to litigation—and there is no evidence in the

public record that it was—there can be no doubt that any litigation purpose was, at most, in

addition to the stated purpose of protecting user data. Under the law of the Ninth Circuit, "where

adocument serves adual purpose, that is, where it was not prepared exclusively for litigation,

then the 'because of test is used." Richey, 632 F.3d at 567-68(citation omitted). "In applying

the 'because of standard, courts must consider the totality of the circumstances and determine

whether the 'document was created because of anticipated litigation, and would not have been

created in substantially similar form but for the prospect of litigation.' Id. at 568 (citation

omitted). The question, then, is whether Facebook can establish that the ADI Materials would



41 Cracking Down on Plaiform Abuse, Facebook (Mar. 21, 2018),
  https://about.fb.com/news/2018/03/cracking-down-on-platform-abuse/ (emphasis added).
42 An Update on Our App Devekper Investigation, supra note 1(emphasis added).

43 Id.


44   Zuckerberg Statement, 2018 WL 1757479 at 10.

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not have been created in substantially similar form absent the prospect of litigation. It cannot.

       The record shows that Facebook had been claiming to enforce its policies for years before

the ADI began, albeit weakly and ineffectively, and these public relations campaigns were just

the precursor to the widely-touted ADI. As established above, on April 11, 2018, Zuckerberg

testified before the U.S. House of Representatives, stating that "[w]e've had areview process for

apps for years. We've reviewed tens of thousands of apps ayear and taken action against a

number of them." 45 Facebook told the Senate Judiciary Committee that in 2017 alone, the year

before the Cambridge Analytica scandal came to light, that it had taken enforcement action

"against about 370,000 apps, ranging from imposing certain restrictions to removal of the app

from the platform." 46

       This evidence makes clear that Facebook was claiming to investigate apps for potential

violations of its privacy policies for public relations purposes long before such efforts were

christened the "AD!." Facebook cannot establish that the ADI Materials would not have been

created in substantially similar form absent the prospect of litigation. See Richey, 632 F.3d at

568 (appraisal report held not to be work product because there was no "evidence in the record

that Richey would have prepared the appraisal work file differently in the absence of prospective

litigation"); Anderson v. Marsh, 312 F.R.D. 584, 593 (E.D. Cal. 2015) (police department

investigative report of ashooting incident held not to be work product because "these documents

would have been created in substantially similar form regardless of the prospect of litigation");

In re Capital One Consumer Data Sec. Breach Litig., No. 1:19MD2915, 2020 WL 2731238, at

*4 (E.D. Va. May 26, 2020), ci'd, 2020 WL 3470261 (E.D. Va. June 25, 2020) ("[T]he fact that

the investigation was done at the direction of outside counsel and the results were initially




45 Zuckerberg Statement, 2018 WL 1757479 at 43; see also Facebook's Answer to Pls.' First
  Am. Consolidated Compl. fr 564, ECF No. 373 ("Facebook admits that it implemented a
  comprehensive privacy program following its 2012 Consent Decree with the FTC.").
46 Facebook's Response, stipra note 15 at 6.


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provided to outside counsel, does not satisfy the 'but for' formulation."). 47 The ADI Materials

are thus not protected work product.

       4.      Plaintiffs Have aSubstantial Need for the ADI Materials and Cannot Obtain
               Their Substantial Equivalent by Other Means.

       Even if the ADI Materials were protected work product, Plaintiffs have sufficient need of

them to overcome such protection for any fact work product involved. A party may obtain

discovery of fact work product materials if "the party shows that it has substantial need for the

materials to prepare its case and cannot, without undue hardship, obtain their substantial

equivalent by other means." Fed. R. Civ. P. 26(b)(3)(A)(ii). The fourth category of misconduct

recognized by Judge Chhabria in his order on the motion to dismiss was Facebook's failure to

properly enforce its policy prohibiting third party apps from using information about Facebook

users for any purpose other than enhancing the interaction between the apps and the user. PTO

No. 20 at 9-10, ECF No. 298. Such data misuse by third parties was precisely the focus of the

ADI. 48 Thus, Plaintiffs have substantial need for the ADI Materials and cannot obtain them

elsewhere. Thompson v. C & H Sugar Co., No. 12-CV-00391 NC, 2014 WL 595911, at *4 (N.D.

Cal. Feb. 14, 2014) (finding plaintiffs had demonstrated asubstantial need for investigation

documents where the investigation were relevant to the litigation and plaintiffs could not obtain

the fact underlying the investigation from other sources); Waymo LLC v. Uber Techs., Inc., No.

17CV00939WHAJSC, 2017 WL 2485382, at *13 (N.D. Cal. June 8, 2017) (M.J. Corley)

(finding in dicta that plaintiff had "met its burden of showing asubstantial need" for documents

related to investigation by Stroz Friedberg hired by defendant).

       Plaintiffs also cannot obtain these materials by other means without undue hardship.

According to Facebook, the ADI "involved hundreds of people: attorneys, external investigators,

data scientists, engineers, policy specialists, platform partners and other teams across the

company" and that the "investigation has addressed millions of apps. Of those, tens of thousands


47 Facebook has sought to distinguish the ADI from its earlier investigative and enforcement
  efforts by asserting that the ADI was "retrospective," but all investigations and enforcement
  actions are retrospective by nature.
48 Cracking Down on Pla form Abuse, shpra note 41.




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have been suspended ..."49 Conducting such an investigation without Facebook's unique insider

knowledge would essentially be impossible and is clearly constitutes undue hardship.

Vallabhaipurapu v. Burger King Cotp., 276 F.R.D. 611, 618 (N.D. Cal. 2011) (M.J. Corley)

(finding that plaintiffs had aright to the survey information performed by defendant where

plaintiffs would incur significant cost and time to compile the information themselves and the

surveys presented the only present source of the information.). Even if Plaintiffs could duplicate

Facebook's investigation and issue thousands of third-party subpoenas, many of the app

developers are now defunct. Accordingly, Plaintiffs either cannot obtain the ADI Materials by

other means at all or cannot do so without undue hardship. Any fact work product in the ADI

Materials is therefore discoverable.

B.        The ADI Materials Are Not Protected by the Attorney-Client Privilege

          1.     Applicable Standard

          The attorney-client privilege protects "confidential communications between attorneys

and clients," if they "are made for the purpose of giving legal advice." Richey, 632 F.3d at 566

(citation omitted). When (1) legal advice is sought (2) from aprofessional legal adviser in his

capacity as such, (3) the communications relating to that purpose, (4) made in confidence (5) by

the client, (6) are at his instance permanently protected (7) from disclosure by himself or by the

legal adviser, (8) unless the protection is waived. See id.

          The federal courts apply the privilege strictly: "Because it impedes full and free

discovery of the truth, the attorney-client privilege is strictly construed." United States v. Martin,

278 F.3d 988, 999 (9th Cir. 2002) (quoting Weil v. Inv./Indicators, Research & Mgmt., Inc., 647

F.2d 18, 24 (9th Cir. 1981)). As acorollary, "the party asserting" the attorney-client privilege

"bears the burden of proving that it applies." Dolby Labs. Licensing Coq,. v. Adobe Inc., 402 F.

Supp. 3d 855, 863 (N.D. Cal. 2019) (citation omitted). Facebook has failed to meet this burden

here.




49   An Update on Our App Devekper Investigation, supra note 1.

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       2.      The Underlying Facts and Information Part of the ADI Are Not Privileged

       It is axiomatic that "the privilege only protects disclosure of communications; it does not

protect disclosure of the underlying facts by those who communicated with the attorney[.]"

Upjohn Co. v. United States, 449 U.S. 383, 395 (1981); see also Sky Valley Ltd. P'ship v. AIX

Sky Valley, Ltd., 150 F.R.D. 648, 663 (N.D. Cal. 1993) ("[T]he privilege ...blocks access only

to communications, not to underlying information, data, or documents."). A party invoking the

privilege can only "prevent access to confidential communications, not to underlying evidence or

facts, even if privileged communications alluded to such evidence or facts." Sky Valley, 150

F.R.D. at 663-64. Indeed, Gibson Dunn has authored articles about the attorney-client privilege

in which it acknowledges that the privilege "protects the communication but not the underlying

information." 5° As such, Plaintiffs are entitled to all of the underlying facts and information

regarding the ADI, including which third-party app developers violated which Facebook policies

over what period of time, and the information that these third parties obtained without user

consent.

       Nevertheless, Facebook has sought to cloak the entirety of the ADI under aclaim of

privilege excepting only asmattering of documents between Facebook and third parties related

to RFIs sent by Facebook. This attempt to limit production to only communications with third

parties is untenable. As aresult of the ADI, Facebook has banned aps from its platform for

"reasons including inappropriately sharing data obtained from us, making data publicly available

without protecting people's identity or something else that was in clear violation of our

policies." 51 These reasons represent the underlying facts and information that are not protected

by the privilege. Documents concerning them should be produced.

       Furthermore, Facebook's claims that Plaintiffs are in fact obtaining this discovery is

belied by the record. For these six apps alone, Facebook produced just 65 pages of documents


50 F. Joseph Warren, Daniel P. Chung & A. Syarief, Privilege — United States at 2, Gibson, Dunn
  & Crutcher (Nov. 2018), https://www.gibsondunn.com/wp-
  co ntent/up lo ads/do cuments/pub licat io ns/Warin-Chung-Know-how-US -Privilege-GIR-
  November-2016.pdf.
51 An Update on Our App Devekper Investigation, supra note 1.




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consisting of RFIs sent by Facebook and to four of the six apps, and their responses to the RFIs.

No information in these documents reflect what policies were violated, what specific data was

obtained, or any of the reasons behind the action taken or not taken against these apps. On the

other hand, Facebook seeks to withhold more than 6,000 documents for just these six apps alone.

Thus, Facebook is attempting to protect the clear and overwhelming majority of these documents

pursuant to the attorney-client privilege and Plaintiffs have no other source for that information.

       3.      Because the Attorney Client Privilege Does Not Protect Communications
               Made Primarily for Business Purposes, Facebook Cannot Claim Privilege
               Over All the ADI Materials.

        "[T]he attorney-client privilege does not protect business communications and advice."

SanDisk Corp. v. Round Rock Research LLC, No. 11-CV-05243-RS (JSC), 2014 WL 691565, at

*3 (N.D. Cal. Feb. 21, 2014). "When acommunication may relate to both legal and business

advice, the proponent of the privilege must make aclear showing that the primary purpose of the

communication was securing legal advice." Dolby Labs., 402 F. Supp. 3d at 873 (citation

omitted); see also SanDisk, 2014 WL 691565, at *3 (when communications "serve both legal

and business purposes, there is general agreement that the privilege applies where the primary or

predominant purpose of the attorney-client consultation is to seek legal advice or assistance")

(citation omitted).

       As set forth above, since at least 2012, Facebook has engaged in an effort—albeit

unsuccessfully—to monitor third-party apps and enforce its policies against them. This is a

textbook example of abusiness purpose. As afurther effort in the same vein, the ADI has as one

of its goals "the business purpose of addressing issues of continuing concern to management."

Marceau v. 1BEW, 246 F.R.D. 610, 613 (D. Ariz. 2007).

       Facebook has also failed to make the required clear showing that every ADI document

has as its "primary or predominant purpose" the provision or seeking of legal advice or

assistance. As many courts have recognized, determining "[t]he predominant purpose of a

particular document" generally requires "document-by-document analysis to decide what

information, document, or line the attorney client privilege applies to." Fourth Age Ltd. v.


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Warner Bros. Dig. Distrib., Inc., No. CV 12-09912 AB (SHX), 2015 WL 12720324, at *7 (C.D.

Cal. Aug. 6, 2015) (citing In re Cty. cf Erie, 473 F.3d 413, 420-21 (2d Cir. 2007)). For that

reason, a"claim of privilege must be made and sustained on aquestion-by-question or

document-by-document basis; ablanket claim of privilege is unacceptable. The scope of the

privilege should be strictly confined within the narrowest possible limits." United States v.

Christensen, 828 F.3d 763, 803 (9th Cir. 2015) (citation omitted); see also LightGuard Sys., Inc.

v. Spot Devices, Inc., 281 F.R.D. 593, 600 (D. Nev. 2012) ("When determining whether a

document seeks legal advice, courts have examined the nature, content, and context in which the

document was prepared.") (citing AT&T Coip. v. Microscft Coip., No. 02-0164 MHP (JL), 2003

WL 21212614, at *3 (N.D. Cal. Apr. 18, 2003)).

       Facebook's blanket claim of privilege is justified by none of the reasons Facebook has

advanced. It is not enough that the ADI involved the violation of Facebook's policies, because

the policies are not themselves privileged. See, e.g., Stevens v. Corelogic, Inc., No. 14-cv-1158-

BAS(JLB), 2016 WL 397936, at *5 (S.D. Cal. Feb. 2, 2016) (holding that corporation's legal

compliance policies were not privileged). Nor is it enough that attorneys were involved in the

ADI. See, e.g., In re CV Therapeutics, Inc. Sec. Litig., No. C-03-3709 SI(EMC), 2006 WL

1699536, at *4 (N.D. Cal. June 16, 2006) ("The mere fact that adocument was sent to an

attorney does not make it aprivileged communication."), as clar,fied on reconsideration, No. C-

03-3709 SI (EMC), 2006 WL 2585038 (N.D. Cal. Aug. 30, 2006); Shcp,fy Inc. v. Express

Mobile, Inc., No. 20-MC-80091-JSC, 2020 WL 4732334, at *3 (N.D. Cal. Aug. 14, 2020) (M.J.

Corley) ("[T]he inclusion of an attorney on the communication does not itself bring adocument

within the privilege's ambit.").

       Furthermore, the privilege does not apply if the legal advice is incidental. See Neuder v

Battelle Pac. Nw. Nat'l Lab., 194 F.R.D. 289, 293 (D.D.C. 2000). Here, Facebook has repeatedly

claimed that primary purpose of the ADI was to assess its prior risk and bring litigation against

third party apps violating the Company's policies. But of the millions of apps and app developers

it has reviewed and the tens of thousands it has suspended, Facebook has filed just two lawsuits



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against three companies. 52 The statistics simply do not support Facebook's claim that the entire

investigation was solely for alegal purpose. Instead, the primary purpose of the ADI is exactly

what Facebook has publicly stated: to root out misuse of user data and enforce its data use

policies. That purpose is abusiness one.

       Especially dubious is Facebook's blanket claim of privilege over even those ADI

communications or documents exchanged solely among non-attorneys. For example, atechnical

discussion among software engineers, even if prompted by arequest from an attorney, is not

itself privileged. See Dolby Labs., 402 F. Supp. 3d at 867 (discussing Datel Holdings Ltd. v.

Microscft Co/1J., No. 09-cv-05535, 2011 WL 866993 (N.D. Cal. Mar. 11, 2011)). Similarly, if

there is no evidence that adocument is received or reviewed by counsel, the document is not

privileged—again, even if the document was created at counsel's request. See MediaTek Inc. v.

Freescale Semiconductor, Inc., No. 4:11—cv-05341 YGR (JSC), 2013 WL 5594474, at *4 (N.D.

Cal. Oct. 10, 2013); see also Shcply Inc., 2020 WL 4732334, at *3 (declining to find documents

were entitled to attorney-client privilege where they were prepared for simultaneous review by

legal and non-legal attorney). To claim privilege over communications between non-attorneys,

Facebook must clearly show that in them "the employees discuss or transmit legal advice given

by counsel," or "an employee discusses her intent to seek legal advice about aparticular issue."

Dolby Labs., 402 F. Supp. 3d at 866 (citation omitted). "A vague declaration that states only that

the document reflects an attorney's advice is insufficient to demonstrate that the document

should be found privileged." Id. (citation omitted). The entries here fall in that category, as

Facebook's descriptions of those that Plaintiffs selected for in camera review simply reflect that

legal information was conveyed, shared, or relayed, without any further specificity, including




52An Update on Our App Devekper Investigation, shpra note 1("We've also taken legal action
 when necessary. In May, we filed alawsuit in California against Rankwave, aSouth Korean
 data analytics company that failed to cooperate with our investigation. We've also taken legal
 action against developers in other contexts. For example, we filed an action against LionMobi
 and JediMobi, two companies that used their apps to infect users' phones with malware in a
 profit-generating scheme.").

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with respect to the attachments that were selected for review. 53

         4.     Even if Facebook's Claim of Privilege is Accepted, Should Facebook Rely on
                the ADI as aDefense, the Privilege Is Waived

         Finally, to the extent that the attorney-client privilege is found to apply to the ADI, any

effort by Facebook to rely on the ADI as adefense in this case in the future would waive the

privilege. "The privilege which protects attorney-client communications may not be used both as

asword and ashield." Chevron Coq,. v. Pennzoil Co., 974 F.2d 1156, 1162 (9th Cir. 1992)

(citation omitted). Thus, when aparty—through an affirmative act, such as adefense—puts

privileged information at issue, such that "fairness requires disclosure of the protected

communication" to the other party, the privilege is implicitly waived. Id.; see also, e.g., United

States v. Bilzerian, 926 F.2d 1285, 1292-93 (2d Cir. 1991).

         In its public statements, Facebook has often pointed to the ADI as evidence of how

seriously it takes its users' privacy. 54 Should Facebook try to use the ADI as alegal defense—for

example, to support its affirmative defense that it exercised reasonable efforts, Answer to Pls.'

First Am. Consolidated Compl. at 128, ECF No. 373—Plaintiffs must in fairness be given an

opportunity to probe what the ADI has done or failed to do. Facebook "cannot invoke the

attorney-client privilege to deny [Plaintiffs] access to the very information that [they] must

refute" to defeat adefense to liability. Chevron, 974 F.2d at 1163.

                                       IV.     CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that, in addition to any guidance

the Court may provide, the Court grant Plaintiffs' Motion to Compel, and order that (1) the 20

documents selected for in camera review be produced in their entirety, (2) Facebook is not

entitled to acategorical claim of privilege over the entirety of the ADI, and (3) Facebook

produce all of the underlying facts and information regarding the ADI, including which third

party apps violated which Facebook policies over what period of time and what Facebook user

information they obtained and misused.


53   ECF No. 602 at 1.
54   An Update on Our App Devekper Investigation, supra note 1.

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Dated: February 5, 2021                              Respectfully submitted,



KELLER ROHRBACK L.L.P.                               BLEICHMAR FONTI & AULD LLP


By:     /s/ Derek W. Loeser                          By:       /s/ Lesley E. Weaver
        Derek W. Loeser                                        Lesley E. Weaver


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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

       Executed this day of February, 2021, at Seattle, Washington.



                                             /s/ Derek W. Loeser
                                             Derek W. Loeser




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                                   CERTIFICATE OF SERVICE

          I, Sarah Skaggs, hereby certify that on February 5, 2021, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:


                 Anjeza Hassan
                 annie.saragyahoo.com

                                                151 Sarah Skaggs
                                                Sarah Skaggs




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 4                                  UNITED STATES DISTRICT COURT

 5                               NORTHERN DISTRICT OF CALIFORNIA

 6

 7      IN RE: FACEBOOK, INC. CONSUMER                   Case No. 18-md-02843-VC (JSC)

 8      PRIVACY USER PROFILE LITIGATION
                                                         FURTHER ORDER RE: ADI
                                                         PRIVILEGE DISPUTE

10                                                       Re: Dkt. No. 699

11

12

13           In March 2018, in response to the disclosure of the Cambridge Analytical data-sharing

14    incident, Facebook initiated an app developer investigation (ADI) that involved areview of all

15    "apps that had access to large amounts of data before [Facebook] changed [its] platform policies in

16    2014." See https://about.fb.com/news/2019/0 9/
                                                   an-update-on-our-app-dev eloper-i nvestigati on.


17    Facebook told the public that its investigation

18                   has involved hundreds of people: attorneys, external investigators,
                     data scientists, engineers, policy specialists, platform partners and
19                   other teams across the company. Our review helps us to better
                     understand patterns of abuse in order to root out bad actors among
20                   developers.
11    Id. Facebook nonetheless argues in this litigation that all documents and communications

11    generated in connection with the ADI are protected from discovery under the attorney-client and

23    work product privileges. (Dkt. No. 612.)

24           The parties thereafter submitted briefs on the issue (Dkt Nos. 611, 612), and Facebook

25    submitted certain of the withheld documents for in camera review. At the discovery conference

26    on April 6, 2021, the Court expressed her view that much of the ADI documentation is

27    discoverable. While outside counsel's edits and advice might not be discoverable, the underlying

28    facts are discoverable since Facebook would have conducted the investigation regardless of any


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  1     potential legal liability. (Dkt. No. 657 at 16-17.) In response Plaintiffs stated that they, in fact, are

 2      only seeking the underlying facts and not legal advice. In particular, Plaintiffs explained they are

 3      seeking:
                         which apps were in violation or in potential violation of which
 4                       Facebook policies and over what period of time these entities were in
                         violation of these policies and the specific conduct that caused them
 5
                         to be in violation. And that's obviously relevant to our claims
                         regarding whether or not Facebook allowed third parties to access
 6                       user information and whether Facebook properly monitored the
                         disclosure of this information as they claim they did.
 7
        (Id. at 18.) The Court therefore ordered the parties to meet and confer to see if they could agree on

        aproduction. (Dkt. No. 655.)
 9
                By the time of the June 23, 2021 status conference, the parties had not reached agreement.
10
        Accordingly, the Court ordered the parties to submit afurther discovery dispute joint letter brief
11
        by July 2, 2021. (Dkt. No. 693.) They have now done so. (Dkt. No. 699.) Facebook proposes that
1?
        it produce the following information as to each App that it suspended as aresult of the
13
        investigation:
14              a. App ID: Each App's unique app identifier.

15              b. App Name: The name of each app.
                c. App Creation Date: The date on which the app was created on the Facebook
16             Platform.

17              d. Ever Installed Users: The number of Facebook users that have ever installed the
                app on Facebook as of April 28, 2019.
18              e. Developer(s): A list of all developer accounts, including user name and user ID,
                associated with the app, which includes users listed as having the following roles:
19
                administrator, creator, developer, and disabled.
10
                f. Business(es): A list of all businesses identified as being an "Owner" of the app in
-) 1           Facebook's records as of April 28, 2019. This is adata field the developer has the
                option of including.
               g. API Call Information:
                         i. A list of the API call permissions granted for each app by users.
23
                         ii. The total number of users that granted the app each permission to access
24                         data through the API as of April 28, 2019.

25      (Dkt. No. 699-1 at 4(footnotes omitted).)

26             Plaintiffs contend that this information omits critical, relevant information. In particular,

27      Plaintiffs seek documents (not created by lawyers) from the "Enhanced Examination phase" that

28      involve background and technical investigations to identify the potential for data misuse. Mkt.
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      No. 699 at 5.) They also seek documents from the "Enforcement phase," including Facebook

 7    conducted audits and interviews. (1d.) As the Court understands, Facebook has not offered to

 3    produce any of this information. None of these documents were part of the in camera review the

 4    Court earlier conducted.

 5           Although the Court has before it the declaration in support of privilege that Facebook

 6    submitted in the Massachusetts Attorney General action (Dkt. No. 699-5), on or before August 2,

 7    2021 Facebook may submit afurther declaration with supporting exhibits in support of its

 8    assertion that these investigatory materials are privileged from discovery. Plaintiffs may respond

 9    to the declaration and any attached exhibits on or before August 9, 2021. No further briefing is

10    required. Facebook already submitted a25 page brief in support of its privilege assertion.

11           IT IS SO ORDERED.

12    Dated: July 26, 2021

13

14
                                                                  JA Q LINE SCOTT CORLE
15                                                                United States Magistrate Judge
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                       EXHIBIT J
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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       IN RE: FACEBOOK, INC. CONSUMER                     Case No. 18-md-02843-VC (JSC)

                                   8       PRIVACY USER PROFILE LITIGATION
                                                                                              ORDER FOLLOWING JUNE 23, 2021
                                                                                              DISCOVERY CONFERENCE

                                  l()      This Order relates to:

                                  11       ALL ACTIONS

                                  12
Northern District of California
 United States District Court




                                  13            The Court held afurther discovery status conference with the parties on June 23, 2021.

                                  14     This Order confirms the matters discussed.

                                  15                1. The parties shall file ajoint proposed case schedule by July 2, 2021. If they cannot

                                  16                    stipulate to the full schedule, by that same date they shall submit competing

                                  17                    proposals on any issue on which they do not agree. Each side is limited to one

                                  18                    page per disputed issue to explain why the Court should adopt that side's proposal.

                                  19                2. The parties shall file astipulation regarding Facebook's production of App

                                  20                    Developer Investigation (ADD documents by July 2, 2021. If the parties are not in

                                  /1                    agreement, then by that same date they shall file adiscovery dispute joint letter

                                                        which identifies the documents Facebook has agreed to produce and which

                                  23                    additional documents Plaintiffs believe should be produced.

                                  24                3. The parties shall file astipulation regarding the use of technology assisted review

                                  /5                    (TAR) to filter non-responsive documents out of Facebook's review set by July 2,

                                  26                    2021. If the parties are not in agreement, then by that same date they shall file a

                                  27                    discovery dispute joint letter regarding the issue.

                                  28                4. The parties have resolved their disputes regarding search strings 5-8.


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                                    1              5. The Court will issue awritten order on Facebook's motion to maintain the

                                                       confidentiality of the documents that were made public in violation the Six4Three

                                                       litigation protective order. (Dkt. No. 643.) In the interim, should Plaintiffs seek to

                                   4                   use any such documents in this action, they shall file them under seal and Facebook

                                   5                   will have the burden to show that they are properly sealable in accordance with

                                   6                   Civil Local Rule 79-5(b).

                                   7               6. The Court sets afurther discovery status conference for July 28, 2021 at 8:30 a.m.

                                   8                   The parties shall file ajoint status update by noon July 27, 2021.

                                   9            IT IS SO ORDERED.

                                  10     Dated: June 23, 2021

                                  11

                                  12
Northern District of California
 United States District Court




                                                                                                      A    UELINE SCOTT COI         Y .-
                                  13                                                                 United States Magistrate Judge

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               9
                                                 UNITED STATES DISTRICT COURT
           10
                                               NORTHERN DISTRICT OF CALIFORNIA
           11                                       SAN FRANCISCO DIVISION

           12

           13      IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION.
           14                                                            DECLARATION OF ALEXANDER H.
                                                                         SOUTHWELL IN SUPPORT OF
           15      This document relates to:                             FACEBOOK'S POSITION IN THE
                                                                         PARTIES' JULY 2, 2021 LETTER BRIEF
           16      ALL ACTIONS                                           REGARDING ADI PRIVILEGE DISPUTE

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Gibson, Dum &
                       SOUTH WELL DECLARATION I
                                              N SUPPORT OFFACEBOOK'S POSITION IN THE PARTIES' JULY 2, 2021 LEIFER BRIEF
Crutcher LLP
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                           I. Alexander H. Southwell, hereby declare as follows:

                           1.        Iam an attorney licensed to practice law in the State of New York. Iam apartner

                3   with the law firm of Gibson, Dunn & Crutcher LLP. Isubmit this declaration in support of Face-

               4    book's position in the parties' July 2, 2021 letter brief regarding their ADI privilege dispute

               5    (Dkt. 699). This declaration is submitted pursuant to the Court's instructions in its July 26, 2021

               6    Order (Dkt. 711) and to provide the facts necessary for the Court to consider Facebook's claim

               7    of privilege. Nothing contained herein should be construed as awaiver of any protection from

               8    disclosure, including without limitation the attorney-client communication privilege and work

               9    product doctrine and Facebook reserves all such rights and protections. Imake this declaration

           10       based on my own knowledge, and Iwould testify to the matters stated herein under oath if called

           11       upon to do so.

           12                                       The AIM Developer Investization

           13              2.        Facebook initiated the Application Developer Investigation ("ADI" or the

               14   "Investigation") because, in the wake of the reporting of data misuse by Cambridge Analytica in

               17   March 2018, Facebook anticipated that it would have to respond to known and expected legal

                    challenges in connection with applications and developers that may have had access to certain data

               I7   because they were active before Facebook placed additional, significant limitations on the amount

               Is   and type of data developers could request from users through the Facebook Platform in 2014.

               I
               ()          3.        Facebook retained outside counsel (Gibson, Dunn & Crutcher LLP) experienced with

           NO
           -        cybersecurity and data privacy internal investigations to design and direct anew investigation that

           21       could, among other things, gather the facts necessary for providing legal advice to Facebook about

                    litigation, compliance, regulatory inquiries, and other legal risks facing the company resulting from

                    potential data misuse and activities by third-party app developers operating on the prior version of

           24       Facebook's platform.

           7
           ,5
                           4.        Iled the Gibson Dunn team engaged to develop and conduct the Investigation. Iam a

                    former federal prosecutor and have more than two decades of experience with large-scale, corporate

                    investigations, including fluency in privilege law and its application to conducting internal

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                    investigations, as well as technology, data privacy, and cybersecurity investigations, which Ibrought

                    to hear in leading the ADI.

                            5_      As described in the Declaration of Stacy Chen, attached as Exhibit A, alegal-led

                4   investigation is not Facebook's usual response when the company determines that violations of its

                    Platform policies may have occurred. Unlike in the typical case, an attorney-led investigation was

                    necessary here because the internal Facebook teams that address potential Platform policy violations

                7   neither had the capacity nor were they set up to: (i) address the company's legal risks with respect to

                8   the historical Platform; (ii) address compliance risks with applicable laws regarding the historical

                    Platform; or (iii) assess Facebook's position in pending or anticipated litigation or regulatory

                    inquiries. Moreover, given the historical focus of the investigation's inquiry, significant investigation

                    was required to develop the framework and baseline data that would form the foundation of the

                    investigation. Unlike Facebook's other enforcement efforts, the ADI is in essence an historical

                    investigation to try to identify any misuse of data in violation of Facebook's policies and associated

               14   legal liabilities, in connection with the first version of the Platform.

               15           6.      As Ms. Chen explained, in setting up the legally-driven ADI, Facebook anticipated

               16   that it would have to respond to known and expected legal challenges in connection with apps and

               17   developers that may have had access to certain data because they were active before Facebook placed

               18   additional, significant limitations on the amount and type of data developers could request from users

           19       through the Facebook Platform in 2014. From the outset, the company contemplated areview of

           20       potentially millions of apps that would inform the company's legal strategy.

           21               7.      Facebook anticipated such legal challenges in part because the extensive media

           22       attention surrounding the Cambridge Analytica events almost immediately triggered litigation and

                    regulatory inquiries, including, for example:

           24           • legal matters related to apps and developers that, like Dr. Aleksandr Kogan and his App,

                            thisisyourdigitallife, may have misused information from the time period before Facebook

                           placed additional limitations on developers;
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                        • legal matters involving Facebook and its directors and officers alleging, inter alia. violations

                           of the U.S. securities laws and breach of fiduciary duties;


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                        • legal matters alleging, inter cilia, violations of consumer protection statutes and common law

                            claims for breach of contract and fraud; and

                        • investigations and potential enforcement actions against the company at both the state and

                4           federal levels and from international regulators.

                            8.      Exhibit A of the Chen Declaration includes alist of all pending domestic and

                     international litigation relating to the Cambridge Analytica events and the misuse of user data by

                7    third-party apps as of October 2019, when the declaration was executed. This multitude of threatened

                X    and pending litigation was and is the backdrop of the ADI and, as such, has been the primary driving

                     force behind the decisions made by Gibson Dunn and Facebook counsel throughout the AD! process

               I()          9.      Iled our Gibson Dunn team, and we worked with Facebook's in-house attorneys and

               11    members of Facebook's Partnerships, Data Policy, and DevOps teams on the ADI. Iand my team at

               12    Gibson Dunn also led the recruitment and retention of technical experts and investigators for the

                     ADI, including two leading forensic consulting firms with expertise in assisting with technology-

               14    focused internal investigations. These firms operated as an extension of the Gibson Dunn team to

               15    support our provision of legal advice to Facebook, and the investigators worked under the direction

           16        of Gibson Dunn and Facebook Legal. The "ADI team," as used herein_ is comprised of Gibson Dunn

           17        lawyers and paralegals, our experts from the two leading forensic consulting firms, and Facebook in-

           18        house counsel and internal partners including subject matter experts, all of whom operated at the

           19        direction of counsel. At its largest, the ADI team consisted of over 300 members. Gibson Dunn's

           2(1       confidential engagement letters with the two leading forensic consulting firms are attached, and filed

           21        under seal, as Exhibits B, C and D.

           22               10.     Gibson Dunn and in-house counsel needed to partner with the outside expert

           23        consulting firms and Facebook personnel to effectively advise Facebook of legal risk. The ADI team

           24        worked at the direction of counsel, relied on counsel's input and guidance, and played anecessary

           25        role in facilitating legal advice by counsel and implementing that advice by the company. The ADI

           26        was an iterative process through which ADI team members, including counsel and subject matter

           27        experts, were able to learn as the investigation progressed. As such, documents initially drafted by

           28        members of the ADI team were generally prepared by or at the direction of counsel, and counsel


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                    edited or otherwise helped shape their contents to ensure they were serving the legal purpose for

                    which they were created.

                            11.      Gibson Dunn and in-house counsel took steps to ensure that communications by and

                4   among the ADI team remained confidential and privileged, including by instructing the team to limit

               5    communications about ADI and access to investigatory documents to only employees, consultants,

               6    and counsel who needed access to them for purpose of facilitating legal advice. In addition, materials

                7   created in the course of the ADI were stored securely, with access limited to those necessary to the

                8   investigation.

                            12.      The three investigative steps of the ADI are laid out in the Chen Declaration at

                    paragraphs 11-20.

            11                                        Plaintiffs' Requests for Documents

                            13.      Iunderstand that Plaintiffs have sought certain categories of documents and

           13       information about ADI. Because Facebook has received multiple articulations of these requests. see

            14      Exhibit E, Iaddress the requests as articulated in the July 26, 2021 Order issued by Judge Jacqueline

            15      Scott Corley [Dkt. No. 711] (the "Order").

            16              14.      As described by the Court's order, the first category of documents Plaintiffs seek are

               17   those "documents (not created by lawyers) from the 'Enhanced Examination phase' that involve

               IS   background and technical investigations to identify the potential for data misuse." Order at 2(citing

           19       Dkt. No. 699 at 5). Although this category is not entirely clear. as Iunderstand it, this request seeks

                    all ADI-related documents and communications generated by anon-attorney in connection with any

           )1       app specifically examined by one or more background or technical investigation reports.

           22               15.      As described by the Court's order, the second category of documents Plaintiffs seek

           23       are those "documents from the `Enforcement phase,' including Facebook conducted audits and

           24       interviews." Order at 2(citing Dkt. No. 699 at 5). Although this request is also not entirely clear, I

                    understand it to seek all documents and communications regarding potential and actual enforcement

                    against apps or developers, including audits and interviews, regardless of whether such documents

                    and communications were actually conveyed to third parties and regardless of author.




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                                                       The Enhanced Examination Phase

                             16.     In the Enhanced Examination phase, apps were selected for further review by counsel

                3    through proprietary risk-based approaches based on counsel's assessment of where and how the

                4    greatest legal risk to the company might arise to provide legal advice to Facebook regarding potential

                5    risks and active and potential litigation.

                6            17.     Once an app or developer had been identified for further review based on criteria that

                7    my team had devised, Gibson Dunn and in-house counsel directed our forensic consultants to conduct

                8    intensive background and technical investigations, collect and compile specific evidence that counsel

                     believed particularly salient to their legal analyses, and report their findings to counsel (i.e., the

               1()   Enhanced Examination process). A report for asingle developer could include extensive technical

               11    and other details and these reports were specifically tailored by counsel, in substance and format, so

               12    that counsel could evaluate the potential for data misuse and associated legal risks. Reports varied

               13    tremendously based on counsel's instructions and what counsel determined was needed to provide

               14    legal advice and many were hundreds of pages long.

               15            18.     Enhanced Examination also included application of aproprietary model (called the

           16        Risk-Prioritization Formula) developed under the guidance and with the advice of counsel that

            17       assisted in assessing the risks related to access to data, and the associated legal risks to Facebook,

            18       based in part on the permissions granted to apps and the number of users that authorized specific

               19    permissions. The Risk-Prioritization Formula was used exclusively in the ADI to prioritize apps for

           2()       review during the Enhanced Examination phase.

           21                19.     Facebook has already produced tens of thousands of pages of communications with

                     developers regarding apps that were reviewed in the AD! through December 2019 because these

           23        communications with third parties are not privileged, regardless of whether the communications were

           24        created by lawyers or non-lawyers. From these communications, Plaintiffs know the app names, app

                     IDs. and contact information for the developers associated with many of the apps that the ADI team

           '2(1      assessed through the Enhanced Examination phase.

           -_' 7             20.     Beyond those communications with external developers, there are numerous

                     communications and documents created at the direction of counsel to assist counsel in the provision

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               1   of legal advice and that contain or reveal the mental impressions and advice of counsel. Facebook

                   has not produced these documents because they are privileged. As noted above, Gibson Dunn

               3   worked directly with the rest of the ADI team to design ADI-specific investigation reports to contain

               4   information relevant to counsel's evaluation of the potential for data misuse and associated legal risk.

               5      a.   Background reports. Counsel designed the background reports to capture information

               6           counsel deemed relevant to assessing the risk of data misuse and legal risk to Facebook.

               7           These reports varied in content depending on the particulars of the investigation, as directed

               8           by counsel. For example, Gibson Dunn and Facebook's in-house legal team often sought

               9           different information from different types of developers (e.g., corporate vs. individual), when

           10              providing legal advice.

           11         b.   Technical reports. Counsel devoted substantial time with the rest of the ADI team, to work

           12              through the technical information available about apps and developers on Facebook's

           13              platform. understand the significance of that data, and weigh the value of various technical

           14              details to our legal risk analysis. With our ADI consulting experts, we identified which

           15              details were most relevant to our legal risk analysis for inclusion in the reports. When we

           16              needed amore nuanced understanding about the data to render our legal advice to Facebook,

           17              working with our technical experts, we designed proprietary analytics (that had not before

           18              existed at Facebook and were used exclusively in ADI) in order to score. rank, and better

           19              understand the available data. Because our counsel team consistently had questions about

           20              certain data points to assist in the rendering of legal advice, over time, those questions were

           21              built into the structure of the reports, so that counsel would have the answer at their fingertips

           22              to streamline their legal decision-making process.

           23         c.   To facilitate our attorney review at scale, we instructed the ADI team regarding the criteria

           24              and information that were important to us in rendering our opinion on legal risk, and

           25              requested that they, based on these attorney-selected criteria, include preliminary

           26              recommendations in their reports to facilitate Gibson Dunn's legal advice about the risk of

           27              data misuse.

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                       d.   In connection with preparation and review of the background and technical investigation

               2            reports, there were extensive internal communications with counsel and at the direction of

               3            counsel regarding apps or developers in the Enhanced Examination phase between and among

               4            both attorney and non-attorney members of the ADI team, all of whom worked together to

               5            obtain the information required by Gibson Dunn for the provision of legal advice to

               6            Facebook. Such communications were sent for the purpose of analyzing the legal risk posed

               7            by an app or developer, including whether such legal risk warranted further investigation or

               8            enforcement.

               9            21.      Although counsel may not have drafted each of these documents directly, the

           10      documents created as part of the Enhanced Examination phase were created at the direction of

           11      counsel, reflect attorney advice and mental impressions regarding the evidence counsel deemed

           12      important in rendering legal advice, and were directly used by counsel to provide legal advice to

           13      Facebook.

           14                                         The Enforcement Phase of the AIM

           15               22.      The "Enforcement phase" refers to the final phase of ADI, in which counsel reviewed

           16      the results of the investigations prepared at our direction (as explained in paras. 16-21, supra),

           17      recommended next steps to Facebook in-house counsel for approval, and drafted requests for

           18      information or other follow-up sent to developers. If we determined that an information request

           19      response was inadequate, we may have attempted various additional methods of engagement with the

           20      developer, including conducting interviews or requesting audits of data security or storage

           21      infrastructure.

           22               23.      In consultation with the rest of the ADI team, the Gibson Dunn team also determined

           23      on acase-by-case basis if any additional enforcement action was appropriate, such as suspending the

           24      developer and/or the app. We made recommendations about whether Facebook should take legal

                   steps, including sending cease and desist letters, or engaging in litigation against developers.

           211              24.      As previously noted, Plaintiffs already have tens of thousands of pages of
               7
                   communications with developers, many of which refer or relate to the Enforcement phase, including

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               audits and interviews specifically, because these communications with third parties are not

               privileged. These include the RFIs Facebook sent developers and their responses.

                       25.    Beyond the external documents, there are alarge volume of internal ADI documents,

               related to the "Enforcement phase" of ADI. These documents were created by or at the direction of

               counsel to facilitate legal advice, and they contain or reveal the mental impressions and advice of

               counsel related to enforcement options.

                  a.   Written Memoranda and Recommendations. Following our review of the materials

                       created during the Enhanced Examination phase, Gibson Dunn drafted individualized

                       recommendations containing advice and legal analysis for Facebook in-house counsel

                       regarding whether to pursue various enforcement methods—including interviews and audits

                       as well as litigation—and why. Our recommendations often highlighted the information and

                       open questions most relevant to our team's legal analysis of the risk of data misuse in detail,

                       and offered arecommended method of either pursuing further engagement to address our

                       concerns or taking legal measures, as discussed above. Our recommendations also may have

                       weighed various, competing options for enforcement, along with the strengths and

                       weaknesses of each.

                  b.   Draft Internal Documents. In connection with these recommendations, my team at Gibson

                       Dunn worked with the other internal and external ADI team members to draft other

                       documents that would guide further engagement or legal action. For example, when assisting

                       counsel to evaluate the potential for further enforcement and associated legal risk, the ADI

                       team frequently prepared memoranda analyzing the adequacy or implication of developer

                       responses to prior enforcement actions and created other internal documents in support of

                       such analysis. like notes and impressions from conversations or other interactions with

                       developers. At the direction of counsel, the ADI team also often iterated on the content of

                       potential follow-up communications to developers, the precise points to cover in apotential

                       interview, or allegations that would be stated in acomplaint. This work was conducted to

                       provide legal advice to Facebook.




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               1      c.   In connection with the drafting of these documents and the provision of the legal advice

                           contained therein, there were extensive internal communications at the direction of counsel

               3           among and between both attorney and non-attorney members of the AD! team, all of whom

               4           worked together for Gibson Dunn to provide legal advice to Facebook. These

               5           communications were often sent for the purpose of discussing these recommendations, and

               6           draft internal documents composed in connection with those recommendations, like draft

               7           complaints and interview outlines, were all necessary for the provision of legal advice.

               8           26.    Iam aware that at various times the Plaintiffs have emphasized to the Court that they

               9   seek "the facts underlying the investigation," April 6, Hearing Tr. 18:3 [Dkt. No. 657] and "not legal

           10      advice," Order at 2(citing id.). Indeed, at mediation sessions in which Iparticipated over the course

           11      of four months, Plaintiffs suggested that Facebook could satisfy their requests for "facts underlying

           12      the investigation" by producing specific data points Plaintiffs sought about certain apps addressed

           13      through AD!. Facebook offered to produce data for alist of apps already requested by and produced

           14      to Plaintiffs, as well as other information, subject to anon-waiver agreement. At the final mediation

           15      on this issue, Plaintiffs presented amaterially different request that also sought large volumes of

           16      internal ADI emails and documents. See Dkt. 699-2. Facebook continues to be willing to provide the

           17      data it previously offered to provide Plaintiffs so long as producing that information will not be

           18      construed to waive Facebook's claim of privilege or the work-product protection with respect to ADI.

           19              27.    Attached as Exhibit E is adocument laying out three steps that would need to occur

           20      for Facebook to execute any order requiring Facebook, over its objection, to comply with Plaintiffs'

           21      additional ADI requests. As noted above and in Exhibit E, the scope of Plaintiffs' requests is not

           22      clear, and may reach many millions of documents. To the extent Plaintiffs seek underlying

           23      information about apps relevant to their claims (as Plaintiffs repeatedly indicated they sought

           24      throughout the parties' mediations), it remains far more efficient for Facebook to produce that factual

           25      information directly in response to an appropriately scoped discovery request than it would be to

           26      collect and review millions of pieces of ADI-related communications and documents to determine if

           27      they contain any factual information that can somehow be extracted from the accompanying

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               1   privileged discussions—an exercise that would be extremely burdensome and would likely take many

                   months (if not more) to complete.

               3

               4          Ideclare under penalty of perjury under the laws of the United States of America that the

               5   foregoing is true and correct. Executed on August 2, 2021 in New York, New York.

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                                                                                     Alexander H. Southwell
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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7      IN RE: FACEBOOK, INC. CONSUMER                     Case No. 18-m(1 -02843-VC (JSC)

                                   8      PRIVACY USER PROFILE LITIGATION
                                                                                             ORDER GRANTING MOTION TO
                                   9                                                         COMPEL ADI MATERIALS

                                  10                                                         Re: Dkt. Nos. 611, 612, 699, 711, 719, 720,

                                  11                                                         721, 727, 729

                                  12
Northern District of California
 United States District Court




                                  13            In early 2018, the public learned that "Cambridge Analytica, aBritish political consulting

                                  14    firm, used personal information from millions of Facebook accounts to send targeted political

                                  15    messages during the 2016 presidential election." hi re Facebook, Inc. Consumer Privacy User

                                  16    Prcfile Litigation, 402 F.Supp.3d 767, 777 (N.D. Cal. Sep. 9, 2019). "In the months that followed,

                                  17    reports emerged suggesting that the ability of ...entities like Cambridge Analytica to obtain

                                  18    sensitive Facebook user information was the norm rather than the exception." Id. Following the

                                  19    disclosure, Facebook initiated an app developer investigation (ADI) that involved areview of all

                                  20    "apps that had access to large amounts of data before [Facebook] changed [its] platform policies in

                                  21    2014." See Imps://about.fb.cominews/2019/0 9/
                                                                                    an-update-on-our-app-developer-investi gallon/.


                                  22    As the ADI, or, more precisely, the information the ADI uncovered, is directly relevant to

                                  23    Plaintiffs' claims in this MDL action, Plaintiffs seek information learned from and generated by

                                  24    the ADI. While Facebook has agreed to produce some data, it resists disclosure of reports, audits

                                  25    and interviews created or conducted by non-attorneys on the grounds that such documents are

                                  26    protected by attorney-work product or the attorney-client privilege. After several rounds of

                                  27    briefing and attempts among the parties to resolve, or at least narrow, the dispute, the issue is now

                                  28    ripe for decision.


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  1                                           DOCUMENTS AT ISSUE

                 Facebook's ADI consisted of three phases: (1) Detection and Identification of offending

          apps, (2) Enhanced Examination, and (3) Enforcement. In the Enhanced Examination Phase, the

 4        ADI forensic team conducted intensive background and technical investigations of the identified

          apps that, among other things, might identify the potential for data misuse. (Dkt. No. 699-5 gif 17.)

 6        In the Enforcement phase, to assist Facebook with deciding whether to take action against an app,

  7       additional investigation might be conducted including interviews or audits of data security or

  8       storage infrastructure. (Id. II 19.). Plaintiffs seek material from the second and third phases that

 9        does not involve communications with lawyers or content created by lawyers. While Facebook

10        has agreed to produce some information (Dkt. No. 699-1 at 4), it refuses on privilege grounds to

11        produce the reports, audits and interviews, and non-attorney communications related to the same.

12                                                     ANALYSIS

13               The parties agree that federal law governs this dispute. (Dkt. Nos. 611-2 at 16, 612-2 at 12,

14        699 at 4, 727 at 5n.1) (applying federal law).) "The work product doctrine protects from

15        discovery documents and tangible things prepared by aparty or his representative in anticipation

16        of litigation." United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011). "To qualify for work-

17        product protection, documents must: (1) be 'prepared in anticipation of litigation or for trial' and

18        (2) be prepared 'by or for another party or by or for that other party's representative." in re

19        Grand July Sulpoena (Mark To,j/Tolf Envtl. Mgmt, 357 F.3d 900, 907 (9th Cir. 2004). A finding

2(1       that adocument was prepared in anticipation of litigation, however, does not always end the

.7.) 1    inquiry.

                         In circumstances where adocument serves adual purpose, that is,
                         where it was not prepared exclusively for litigation, then the "because
23                       of" test is used. Dual purpose documents are deemed prepared
                         because of litigation if in light of the nature of the document and the
24                       factual situation in aparticular case, the document can be fairly said
                         to have been prepared or obtained because of the prospect of
25                       litigation. In applying the because of standard, courts must consider
                         the totality of the circumstances and determine whether the document
26                       was created because of anticipated litigation, and would not have been
                         created in substantially similar‘form but for the prospect cf litigation.
27

28        Richey, 632 F.3d at 567-68 (emphasis added). The party resisting production of material based on
                                                             2
                                                                                                             0280
     CaseCase 3:18-md-02843-VC
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 1    the work product privilege bears the burden of proving that the privilege applies. See Hernandez v,

 2    Tanninen, 604 F.3d 1095, 1102 (9th Cir. 2010).

 3           Facebook has met its burden of proving that the documents were prepared in anticipation

 4    of litigation. Shortly before Facebook initiated the ADI, anationwide consumer class action was

 5    filed against Facebook in this Court. (Dkt. No. 1). Within weeks, more than 40 actions were filed

 6    which were consolidated into this Multi-District Litigation. Facebook offers evidence that the

 7    ADI was launched in part to address potential regulatory and litigation risks posed by apps that

      had been on the Facebook platform since before Facebook changed in policies in 2014. (Dkt. No.

 9    699-5, Dkt. No. 720.)

10           Facebook's own public pronouncements about the ADI, however, demonstrate that the

11    documents were not created exclusively in anticipation of litigation and that, in fact, Facebook

12    would have conducted the ADI in substantially similar form even in the absence of potential

13    litigation. See Richey, 632 F.3d at 568.

14           On March 21, 2018, Mark Zuckerberg, Facebook's CEO, publicly posted:

15
                     Iwant to share an update on the Cambridge Analytica situation—
16                   including the steps we've already taken and our next steps to address
                     this important issue.
17
                     We have aresponsibility to protect your data, and if we can't then
18                   we don't deserve to serve you. I've been working to understand
                     exactly what happened and how to make sure this doesn't happen
19
                     again.
10


                     [VV]e already took the most important steps afew years ago in 2014
21                   to prevent bad actors from accessing people's information in this
                     way. But there's more we need to do and I'll outline those steps
                     here:

23
                     First, we will investigate all apps that had access to large amounts of
74                   information before we changed our platform to dramatically reduce
                     data access in 2014, and we will conduct afull audit of any app with
25                   suspicious activity. We will ban any developer from out platform
                     that does not agree to athorough audit. And if we find developers
26                   that misused personally identifiable information, we will ban them
                     and tell everyone affected by those apps.
27

28    Mr. Zuckerberg concluded:

                                                        3
                                                                                                         0281
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 1
                    Istarted Facebook, and at the end of the day I'm responsible for
                    what happens on our platform. I'm serious about doing what it takes
                    to protect our community. While this specific issue involving
                    Cambridge Analytica should no longer happen with new apps today,
                    that doesn't change what happened in the past. We will learn from
 4                  this experience to secure our platform further and make our
                    community safer for everyone going forward.


      https://www.facebook.com/zuck/posts/1010471203790007. This statement specifically identifies

 7    the purpose of the ADI as serving Facebook's business goal of protecting Facebook's customers'

 8    data by figuring out what happened, how it happened, and removing apps that misused customers'
 9    data so that Facebook could "secure our platform further and make our community safer for
10
      everyone going forward." Id.
11           Two months later, Facebook updated the public on the "app investigation and audit" Mr.
12    Zuckerberg promised on March 21, 2018.

13
                    The investigation process is in full swing, and it has two phases.
14                  First, acomprehensive review to identify every app that had access
                    to this amount of Facebook data. And second, where we have
15                  concerns, we will conduct interviews, make requests for information
                    (RFI)—which ask aseries of detailed question about the app and the
16
                    data it had access to—and perform audits that may include on-site
17                  inspections.

18                  We have large teams of internal and external experts working hard
                    to investigate these apps as quickly as possible. To date thousands
19                  of apps have been investigated and around 200 have been
10                  suspended—pending athorough investigation into whether they did
                    in fact misuse any data. Where we find evidence that these or other
21                  apps did misuse data, we will ban them and notify people via this
                    website. It will show people if they or their friends installed an app
                    that misused data before 2015—just as we did for Cambridge
                    Analytica.
23
                    There is alot more work to be done to find all the apps that may
24
                    have misused people's Facebook data—and it will take time. We are
25                  investing heavily to make sure this investigation is as thorough as
                    possible. We will keep you updated on our progress.
26

27    https://fb.com/new/2018/05/update-on-app-auditl. This statement again demonstrates that a"core

28    purpose" of the ADI was abusiness rather than legal purpose: to assure its customers that it was

                                                       4
                                                                                                     0282
       CaseCase 3:18-md-02843-VC
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  1     conducting athorough investigation to remove bad apps and advise customers if their data may

 2      have been misused. And the ADI was being conducted "as quickly as possible," —not because of

  3     fast-tracked litigation, as the pace of this MDL surely demonstrates—but because of the need to

 4      weed out the bad apps to protect Facebook's consumers, its good will, and its business.

  5            Facebook provided afurther update on "our ongoing App Developer Investigation" on

 6      September 20, 2019. Facebook explained that its investigation

  7                    has involved hundreds of people: attorneys, external investigators,
                       data scientists, engineers, policy specialists, platform partners and
  8                    other teams across the company. Our review helps us to better
                       understand patterns of abuse in order to root out bad actors among
  9                    developers.

1       Facebook explained further

11                     that where it has concerns, it "conduct[s] a more intensive
                       examination. This includes background investigation of the developer
17                     and a technical analysis of the app's activity on the platform.
                       Depending on the results, a range of actions could be taken from
13                     requiring developers to submit to in-depth questioning, to conducting
                       inspections or banning an app from the platform.
14
        https://about.fb.cominews/2019/an-update-on-ou r-app-develop er-i nvest i
                                                                                gat i
                                                                                    on/. Facebook told
15
        the public about its investigation, including the background and technical analysis it now claims is
16
        privileged work product, to assure the public that Facebook was cleaning up its platform and thus
17
        generate trust in its site—a classic business purpose. The ADI team members Facebook identified
18
        were enlisted to help Facebook "better understand patterns of abuse in order to root out bad
19
        actors."
7)(1
               In light of Facebook's own statements, the Court finds that Facebook would have
  1

        conducted the ADI in substantially the same form even in the absence of potential litigation; that
  ")


        is, that Facebook did not initiate the AD1 because of the prospect of litigation. See Phoenix Techs.
23
        Ltd. v. Villware, Inc., 195 F. Supp. 3d 1096, 1105 (N.D. Cal. 2016) (holding that dual purpose
24
        documents were not protected work product because they served abusiness purpose independent
25
        of litigation). Facebook's assertion that the ADI served only alitigation purpose (Dkt. No. 727 at
26
        3) is patently implausible in light of Facebook's public pronouncements. It is inconceivable that
27
        Facebook would not have initiated aspeedy, large-scale-subject matter specialist investigation into
28

                                                         5
                                                                                                         0283
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 1    app data misuse in the absence of potential litigation. Such assertion could only be true if the

 2    Court found that Facebook was lying to the public when it stated that the purpose of the ADI was

 3    to root out bad apps and secure Facebook's platform so that consumers could have faith in the

 4    company. Facebook, unsurprisingly, does not offer any evidence to support such afinding.

 5    Indeed, after asking the Court for the opportunity to submit additional evidence, it provided a

 6    declaration from outside counsel which does not even acknowledge these statements. There is no

 7    evidence from anyone at Facebook that addresses the repeated public proclamations as to the

 8    obvious business purpose of the ADI.

 9           Facebook's suggestion that these materials may also be protected by the attorney-client

10    privilege is unpersuasive given that Plaintiffs are not seeking documents created by counsel,

11    counsel's edits, or any communications with counsel. Facebook has not explained how anon-

12    attorney's interview or audit of adeveloper would be protected from discovery by the attorney-

13    client privilege under federal law. At best such material would be attorney work product. For the

14    reasons explained above, it is not under the totality of the circumstances here given Facebook's

15    public exhortations of the business purpose behind its ADI.

16                                          MOTION TO STRIKE

17           Facebook moves to strike Plaintiffs' response to Facebook's supplemental declaration.

18    (Dkt. No. 727.) For the most part the response addresses the declaration and thus is

19    unobjectionable. The new argument as to the attorney-client privilege "primary purpose" test is

20    stricken and, in any event, is moot as the Court is not addressing the application of the attorney-

21    client privilege. The documents discussed in this Order—background and technical reports,

      audits, and interviews prepared and conducted by non-attorneys—are work product, not attorney-

23    client privilege material. The Court has nonetheless reviewed Facebook's motion to strike's

24    substantive arguments, including the cases buried in footnote 1, and none persuade the Court

25    otherwise.

26                                              CONCLUSION

27           In light of Facebook's unchallenged public proclamations as to the business purpose of the

28    AD!, the Court finds that the ADI served adual purpose and that, as ageneral matter, documents

                                                        6
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                                        generated as part of that investigation were not created because of litigation. On or before

                                   2    September 21, 2021, Facebook shall produce the background and technical reports, audits and

                                   3    developer interviews of the six exemplar apps chosen by the parties as Facebook has offered no

                                   4    special reasons why those particular documents are privileged other than what has been addressed.

                                   5    The parties shall work with the Special Master regarding production of additional materials

                                   6    consistent with the guidance offered by this Order.

                                   7           This Order disposes of Docket Nos. 611, 612, 699, 720, 727.

                                               IT IS SO ORDERED.

                                   9    Dated: September 8, 2021

                                  10

                                  11
                                                                                                            ELINE SCOTT CORL
                                  12                                                                 United States Magistrate Judge
Northern District of California
 United States District Court




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                      EXHIBIT M
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                                                             not be obtained without undue hard-
                    487 Mass. 109
                                                             ship, such that information was subject
               ATTORNEY GENERAL                              to disclosure to extent it was fact work
                             V.                              product.
                 FACEBOOK, INC.                         Ordered accordingly.
                     SJC-12946

    Supreme Judicial Court of Massachusetts,            1. Pretrial Procedure c'35
                    Suffolk.                                Privileged Communications and Con-
                                                                 fidentiality c168
              Argued December 4, 2020.
                                                              Social networking company did not
               Decided March 24, 2021.
                                                        waive its attorney-client and work product
    Background: Attorney General filed peti-
                                                        objections to Attorney General's requests,
    tion, seeking an order compelling social
                                                        contained within third civil investigative
    networking company to comply with re-
                                                        demand, that sought identities of applica-
    quests, contained within civil investigative
                                                        tions and developers that company re-
    demands, that sought identities of applica-
                                                        viewed at various stages of internal inves-
    tions and developers that company re-
                                                        tigation conducted by its law firm, other
    viewed at various stages of internal inves-
                                                        information associated with review of iden-
    tigation conducted by its law firm, other
                                                        tified applications, and internal communi-
    information associated with review of iden-
                                                        cations about those applications, despite
    tified applications, and internal communi-
                                                        contention it waived such objection by fail-
    cations about those applications. The Supe-
                                                        ing to move to modify or set aside demand;
    rior Court Department, Suffolk County,
                                                        company worked with Attorney General
    Brian A. Davis, J., 2020 WL 742136, al-
                                                        and communicated its objections to de-
    lowed petition in part. Company applied
                                                        mand, including its assertions of privilege,
    for direct appellate review, which was
    granted.                                            and company also complied with requests
                                                        in demand it believed called for nonprivi-
    Holdings:    The Supreme Judicial Court,
                                                        leged information.
    Kafker, J., held that:
    (1) some, but not all, information requested        2. Pretrial Procedure c'35
       by Attorney General demand was pro-                  Privileged Communications and Con-
       tected from disclosure on basis of attor-                 fidentiality c173
       ney-client privilege;                                  Party asserting the protections of the
    (2) although some of information sought             attorney-client    privilege   and    the    work
        was covered by work product doctrine,           product doctrine bears the burden of prov-
        remand was appropriate to determine             ing both the privilege and the doctrine
        whether information was protected as            apply.
        opinion work product or subject to dis-
                                                        3. Privileged Communications and Con-
        closure as fact work product;
                                                                 fidentiality C ,102
    (3) information was prepared in anticipa-
                                                              The "attorney-client privilege"        pro-
        tion of litigation, as required for it to
                                                        tects all confidential communications be-
       be covered by work product doctrine;
                                                        tween aclient and its attorney undertaken
        and
                                                        for the purpose of obtaining legal advice.
    (4) Attorney General established substan-
                                                             See publication Words and Phrases
       tial need for information requested in                for other judicial constructions and
       civil investigative demand that could                 definitions.




                                                                                                            0287
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    4. Privileged Communications and Con-              9. Privileged Communications and Con-
            fidentiality c106, 156                            fidentiality C ,145
          The attorney-client privilege covers             Information requested by Attorney
    the flow of confidential communications in         General   in   civil    investigative   demand,
    both directions, from the attorney to the          which sought documents from social net-
    client and from the client to the attorney,        working company sufficient to identify ap-
    as the purpose of the privilege is to enable       plications and developers that company
    clients to make full disclosure to legal           reviewed at various stages of internal in-
    counsel of all relevant facts so counsel may       vestigation conducted by its law firm, and
    render fully informed legal advice, with the       other information associated with review
    goal of promoting broader public interests         of identified applications, was not protect-
    in the observance of law and administra-           ed from disclosure on basis of attorney-
    tion of justice.                                   client privilege; Attorney General did not
                                                       require production of any documents or
    5. Privileged Communications and Con-
                                                       communications exchanged between com-
            fidentiality c ,112
                                                       pany and its attorneys, and requests per-
          A construction of the attorney-client
                                                       mitted company to comply without disclos-
    privilege that would leave internal investi-
                                                       ing any such communications.
    gations wide open to third-party invasion
    would effectively penalize an institution for      10. Privileged         Communications      and
    attempting to conform its operations to                   Confidentiality C ,145
    legal requirements by seeking the advice               Information requested by Attorney
    of knowledgeable and informed counsel.             General   in   civil    investigative   demand,
    6. Privileged Communications and Con-              which sought all of social networking com-
            fidentiality C ,123                        pany's internal communications and inter-
                                                       nal correspondence concerning categories
          Attorney-client   privilege   applies   to
                                                       of applications and developers that compa-
    corporations.
                                                       ny reviewed at various stages of internal
    7. Privileged Communications and Con-              investigation conducted by its law firm was
            fidentiality C ,123                        protected from disclosure due to attorney-
          The attorney-client privilege for busi-      client privilege; investigation was initiated
    ness organizations is essential in light of        in part to gather facts needed to advise
    the vast and complicated array of regulato-        company on various legal risks it faced.
    ry legislation confronting the modern cor-
                                                       11. Privileged         Communications      and
    poration.
                                                              Confidentiality c ,102
    8. Privileged Communications and Con-
                                                           The attorney-client privilege applies
            fidentiality c ,112
                                                       to communications between counsel and
          Despite the strong protections given         client made as part of an internal investi-
    to material subject to attorney-client privi-      gation that is undertaken to gather facts
    lege, the privilege is to be construed nar-        for the purposes of providing legal advice.
    rowly, because it frustrates the investiga-
    tive or fact-finding process, and creates an       12. Pretrial Procedure c359
    inherent tension with society's need for full          The "work product doctrine" protects:
    and complete disclosure of all relevant evi-       (1) documents and tangible things; pre-
    dence during implementation of the judi-           pared (2) by or for another party or by or
    cial process.                                      for that other party's representative, in-




                                                                                                         0288
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    eluding his or her attorney, consultant,             18. Pretrial Procedure c'35
    surety, indemnitor, insurer, or agent; and
                                                               Opinion work product may be re-
    (3) in anticipation of litigation or for trial.
                                                         flected in interviews, statements, memo-
    Mass. R. Civ. P. 26(b) (3).                          randa, correspondence and in countless
           See publication Words and Phrases             other tangible and intangible ways.         Mass.
           for other judicial constructions and          R. Civ. P. 26(b) (3).
           definitions.
                                                         19. Pretrial Procedure c'35
    13. Pretrial Procedure c'35
                                                               Opinion work product is only discover-
           The work product protection is broad-
                                                         able, if at all, in rare or extremely unusual
    er than the attorney-client privilege, in
                                                         circumstances.       Mass. R. Civ. P. 26(b) (3).
    that it is not restricted solely to confiden-
    tial communications between an attorney              20. Pretrial Procedure c'35
    and client.     Mass. R. Civ. P. 26(b) (3).
                                                               Although it is discoverable in some
                                                         circumstances, fact work product is still
    14. Pretrial Procedure c'35
                                                         protected so that each side must under-
           The purpose of the work product doc-          take its own investigation of the relevant
    trine is to establish a zone of privacy for          facts and not simply "freeload" on oppos-
    strategic litigation planning to prevent one         ing counsel.       Mass. R. Civ. P. 26(b) (3).
    party from piggybacking on the adver-
    sary's preparation.     Mass. R. Civ. P. 26(b)       21. Pretrial Procedure c359
    (3).                                                       When a factual document selected or
                                                         requested by counsel exposes the attor-
    15. Pretrial Procedure c359
                                                         ney's thought processes and theories, it
           Document is prepared "in anticipation         may be appropriate to treat the document
    of litigation," for purposes of work product         as opinion work product, even though the
    doctrine if, in light of nature of document          document on its face contains only facts.
    and factual situation in particular case,            Mass. R. Civ. P. 26(b) (3).
    document can be fairly said to have been
    prepared because of prospect of litigation.          22. Pretrial Procedure c'35
    Mass. R. Civ. P. 26(b) (3).                                Not every item which may reveal
           See publication Words and Phrases             some inkling of lawyer's mental impres-
           for other judicial constructions and          sions, conclusions, opinions, or legal theo-
           definitions.                                  ries is protected as opinion work product,
                                                         as the focus, selection, or arrangement of
    16. Pretrial Procedure c359
                                                         facts must reflect attorney's thought pro-
           Anticipation of litigation, for purposes      cess in some meaningful way.          Mass. R.
    of work product doctrine, does not have to           Civ. P. 26(b) (3).
    be primary purpose or motivation.         Mass.
    R. Civ. P. 26(b) (3).                                23. Pretrial Procedure c'35

                                                               Information      may   appropriately    be
    17. Pretrial Procedure c359
                                                         treated as fact work product if it can be
           Document that would have been pre-            produced in a format that removes any
    pared irrespective of prospect of litigation         portions that contain attorney opinions,
    is not covered by work product doctrine.             thoughts, or conclusions.      Mass. R. Civ. P.
    Mass. R. Civ. P. 26(b) (3).                          26(b) (3).




                                                                                                             0289
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    24. Antitrust       and     Trade     Regulation     of anticipated litigation.     Mass. R. Civ. P.
            c343                                         26(b) (3).

          Although      information     requested   by   27. Pretrial Procedure c'35
    Attorney General in civil investigative de-                Work product doctrine applies as long
    mand, which sought documents from social             as corporation had the prospect of litiga-
    networking company sufficient to identify            tion in mind.       Mass. R. Civ. P. 26(b) (3).
    applications and developers that company
    reviewed at various stages of internal in-           28. Pretrial Procedure c'35

    vestigation conducted by its law firm, and                 Party seeking fact work product is
    other information associated with review of          required to demonstrate substantial need
    identified    applications,    was    covered   by   and undue hardship absent its production.
    work product doctrine, remand was appro-             Mass. R. Civ. P. 26(b) (3).
    priate to determine whether information              29. Pretrial Procedure c359
    was protected as opinion work product or
                                                               A "substantial need" exists, as re-
    subject to disclosure as fact work product.
                                                         quired for party to obtain fact work prod-
    Mass. R. Civ. P. 26(b) (3).
                                                         uct, where the information is relevant and
                                                         the requesting party cannot reasonably ob-
    25. Antitrust       and     Trade     Regulation
                                                         tain the information         or its   substantial
            c341
                                                         equivalent elsewhere; there also must be
          Information requested by Attorney
                                                         special circumstances excusing the party's
    General      in   civil   investigative   demand,
                                                         failure to obtain the requested materials
    which sought documents from social net-
                                                         itself.   Mass. R. Civ. P. 26(b) (3).
    working company sufficient to identify ap-
                                                              See publication Words and Phrases
    plications and developers that company                    for other judicial constructions and
    reviewed at various stages of internal in-                definitions.
    vestigation conducted by its law firm, and
                                                         30. Pretrial Procedure c359
    other information associated with review
                                                               When deciding whether a substantial
    of identified applications, was prepared in
                                                         need exists for discovery of documents cre-
    anticipation of litigation and, thus, was
                                                         ated in response to a litigation threat,
    covered by work product doctrine; investi-
                                                         courts consider, among other factors: (1)
    gation was staffed by outside counsel and
                                                         the importance of the materials to the
    forensic consultants and had methodology
                                                         party seeking discovery for case prepara-
    distinct from company's ongoing enforce-
                                                         tion: (2) the difficulty the party will have
    ment program, it was focused on past vio-
                                                         obtaining it by other means: and (3) the
    lations, not ongoing operations, and served
                                                         likelihood the party, even if he or she
    to defend company against vast litigation
                                                         obtains the information by independent
    it was facing, rather than just improving
                                                         means, will not have the substantial equiv-
    its ongoing operations.        Mass. R. Civ. P.
                                                         alent of the documents he or she seeks.
    26(b) (3).
                                                         31. Pretrial Procedure c359, 406
    26. Pretrial Procedure c'35
                                                               The substantial need inquiry, when
          Simply funneling an organization's in-         deciding whether party is entitled to ob-
    vestigation through outside counsel does             tain fact work product, requires a careful
    not bring with it the protection of the work         examination of whether non-disclosure will
    product doctrine if the organization would           impair the truth-seeking function of dis-
    have conducted these activities irrespective         covery.      Mass. R. Civ. P. 26(b) (3).




                                                                                                             0290
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                               MM. GEN. v. FACEBOOK, INC.                          Mass.    877
                                   Mess 164 N.E.3d 873 (Mass. 2021)


    32. Antitrust    and   Trade   Regulation          Thomas 0. Bean & Anuj Khetarpal,
           <3-43                                    Boston, for Association of Corporate Coun-
         Attorney General established substan-      sel.
    tial need for information requested in civil      Ariel Fox Johnson, of the District of
    investigative demand, which sought docu-
                                                    Columbia, & Joseph Jerome, for Common
    ments from social networking company
                                                    Sense Media.
   sufficient to identify applications and de-
   velopers that company reviewed at various          Steven P. Lehotsky, Kevin P. Martin,
   stages of internal investigation conducted       Boston, William E. Evans, Boston, Ben
   by its law firm, and other information as-       Robbins, & Martin J. Newhouse, Boston,
   sociated with review of identified applica-      for Chamber of Commerce of the United
   tions, that could not be obtained without        States of America & another.
   undue hardship, such that information was           David A. Vieinanzo, Boston, of New
   subject to disclosure to extent it was fact      Hampshire, Mark Tyler Knights, Hannah
   work product; information was central to         R. Bornstein, Boston, & Marissa Elkins,
   investigation, as it identified applications     Amherst, for National Association of Crim-
   that might have misused user data on pri-        inal Defense Lawyers.
   or version of company's platform, Attorney
                                                       Alan Butler & Megan lorio, of the Dis-
   General had mandate to investigate such
   potential misuse of user data as well as         trict of Columbia, & Cailriona Fitzgerald
   any misrepresentations by company, it was        for Electronic Privacy Information Center.
   unlikely Attorney General would be able to         James M. Campbell, Boston„ for Law-
   obtain substantial equivalent of informa-        yers for Civil Justice.
   lion, and Attorney General undoubtedly
   would incur enormous costs and delay in            Present: Budd, C.J., Gaziano, Lowy,
   her investigation if the information was not     Cypher, & Kafker, JJ.
   disclosed. Mass. R. Civ. P. 26(b) (3).
                                                       KAFKER, J.

      Attorney at Law, Attorney-client rela-         _Lo in this case we address the applica-
    tionship, Work product. Attorney General.       bility of the attorney-client privilege and
    Consumer Protection Act, Investigative          the work product doctrine to an internal
                                                    investigation conducted by the respondent,
    demand. Privileged Communication.
                                                    Facebook, Inc. (Facebook). After public
      PgrmoN filed in the Superior Court De-
                                                    reporting revealed potential widespread
    partment on August 15, 2019.
                                                    misuse of Facebook user data by third-
         The case was heard by Brian A. Davis,
                                                    party applications (apps), Facebook hired
    J.
                                                    alaw firm, Gibson, Dunn & Crutcher LLP
      The Supreme Judicial Court granted an         (Gibson Dunn), to conduct a far-reaching
    application for direct appellate review.        investigation to identify the extent to
                                                    which apps had misused user data and
      Felicia H. Ellsworth, Boston, for the
                                                    advise Facebook on potential resulting le-
    respondent.
                                                    gal liabilities. This investigation is known
       Sara E. Cable, Assistant Attorney Gen-       as the app developer investigation (ADI).
    eral, for the petitioner.                       Around the same time, the Attorney Gen-
      The following submitted briefs for amici      eral opened an investigation into Facebook
    curiae:                                         under G. L. c. 93A, focusing on whether




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    Facebook misrepresented the extent to               for the sixth request, seeking internal com-
    which it protected or misused user data.            munications about the apps, we have de-
       As part of that investigation, the Attor-        termined that this request encompasses
    ney General served Facebook with several            both privileged and nonprivileged commu-
    civil investigative demands (demands). At           nications, and therefore requires prepara-
    issue are six requests contained within             tion of a privilege log and further review
    these demands that sought the identities of         as determined by the judge.'
    the apps and developers that Facebook                  1. Background. a. Facebook Platform.
    reviewed at various stages of the ADI,              Facebook provides social networking ser-
    other information associated with the re-           vices through its website and mobile app.
   view of the identified apps, and internal            It has over 1billion daily users and over 2
   communications about those apps. Face-               billion active accounts. Users generate a
   book asserted that both the attorney-client          variety of data through their use of Face-
   privilege and the work product doctrine              book. In 2007, Facebook launched the first
   protected this information. The Attorney             version of the Facebook Platform. The
   General filed a petition in the Superior             Platform connects Facebook users with
   Court seeking an order compelling Face-              third-party app developers and enables
   book to comply with the disputed requests.           users to share Facebook data with the
   A judge concluded that most of the infor-            apps and developers. The Platform allows
   mation is neither privileged nor work                these third parties to integrate their apps
   product, as it was not prepared in anticipa-         with the data generated by users and col-
   tion of litigation, and that even if it was          lected by Facebook. For our purposes, the
   prepared in anticipation of litigation, it is        practical effect of the Platform is that
   all factual information.                             third-party developers are given access to
      We conclude that the Attorney General's           Facebook user data. The Attorney General
   targeted requests allow Facebook to tailor           alleges that over 9 million apps and web-
   its responses to the first five of the six           sites had integrated with the Platform as
  _L irequests to avoid disclosure of commu-            of March 31, 2012.
   nications protected by the attorney-client             Use of the Platform by apps and devel-
   privilege. We also conclude, however, that           opers is governed by various policies, in-
   the documents sought by the first five               cluding Facebook's Platform policy, terms
   requests were prepared in anticipation of            of service, and data use policy. As relevant
   litigation and therefore are covered by the          here, these policies prohibited third-party
   work product doctrine. We further con-               developers from selling or licensing the
   clude that a remand is required to sepa-             data they obtained from Facebook users.
   rate "opinion" work product from "fact"              The policies also prohibited developers
   work product for at least some of these              from sharing user data with "any ad net-
   documents. To the extent the work prod-              work, data broker or other advertising or
   uct is fact work product, we conclude that           monetization-related service." A developer
   the Attorney General has satisfied the               had to register to use the Platform and
   heavy burden of demonstrating asubstan-              affirmatively agree to comply with the var-
   tial need for the information. Finally, as           ious policies governing use of the Platform;

    I.     We acknowledge the arnicus briefs submit-      England Legal Foundation, the National As-
         ted by the Association of Corporate Counsel,     sociation of Criminal Defense Lawyers, the
         Common Sense Media, the Chamber of Com-          Electronic Privacy Information Center, and
         merce of the United States and the New           Lawyers for Civil Justice.




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  Ilphowever, as of late 2013, apps generally              After this screening mechanism was put in
   could be launched on the Platform without               place, Facebook rejected the requests of
   any review or approval by Facebook.                     roughly fifty percent of apps that sought
       Facebook has an internal enforcement                access to the additional user data.
    program that monitors and responds to                    b. Cambridge Analytica incident In
    developer misuse of the Platform. This is              March 2018, several news outlets reported
    known as its developer operations team.2               on an incident involving Facebook, an indi-
    This enforcement team monitors daily app               vidual named Aleksandr Kogan, and a
    and developer behavior with the goal of                company named Cambridge Analytica,
    "identifying abnormalities that might sig-             Briefly, Kogan used an app on the prior
    nal potential policy violations." The activi-          version of the Platform to access and col-
    ties of this enforcement program generally             lect the data of as many as 87 million
    are not led by attorneys, however. In addi-            Facebook users worldwide, roughly 70 mil-
    tion to monitoring compliance, this team               lion of whom were located in the United
    enforces Facebook's policies according to              States. Kogan sold this data to Cambridge
    its own rubrics and protocols. By way of               Analytica, a political data analytics and
    illustration, Facebook estimates that it               advertising firm, and other related entities.
    took enforcement action against about                  Cambridge Analytica used this data to cre-
    370,000 apps in 2017 as a result of these              ate "psychographic profiles" on the Face-
    routine enforcement efforts.                           book users. Cambridge Analytica then
       In April 2014, Facebook revised its Plat-           used these profiles to target Facebook
    form and the accompanying policies to im-              users with political advertising. According
    prove protections for user data.' These                to Facebook, this conduct violatediv the
    changes "enhance[d] users' ability to con-             Platform policies described above in multi-
    trol app developers' access to their infor-            ple ways!
    mation." Specifically, they restricted the               The 2018 reporting of this incident
    categories of information apps could access            sparked a wave of litigation against and
    and gave users more tools to limit the type            investigations into Facebook. By the end
    of information apps could access. Facebook             of 2018, Facebook faced at least five secu-
    also added a screening mechanism that                  rities class actions, eight derivative actions,
    required apps and developers to obtain                 three books and records actions, and thir-
    Facebook's approval before getting access              ty-nine consumer-based suits, most of
    to many advanced categories of user data.              which also were class actions.5 This nun-

    2.     Among the impounded materials in this                bridge Analytica from the Platform at that
         case are detailed descriptions of the developer        time. Facebook also did not disclose the viola-
         operations team provided to the Attorney               tions to the users whose information was im-
         General by Facebook.                                   plicated at the time. Instead, Facebook only
                                                                pursued enforcement action against Kogan
    3.     Facebook formally refers to the version of           and obtained assurances that Kogan and
         the Platform that was in effect before these           Cambridge Analytica had deleted all of the
         changes as "Graph API v. 1.0." We refer to it          improperly collected data. The subsequent re-
         as the "prior version" of the Platform.                porting in 2018 revealed that, contrary to
                                                                those representations, Cambridge Analytica
    4.     Facebook first learned that Kogan and Cam-           had not deleted the Facebook user data.
         bridge Analytica had accessed the data in
         December 2015, again from public reporting.       5.     All but one of these consumer lawsuits have
         At that point, Facebook suspended Kogan's              been consolidated in a multidistrict litigation
         app from the Platform. It did not ban Cam-             in the United States District Court for the




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    ber swelled to at least sixty-five litigations         vestigation or to exclude apps that pose
    before the end of 2019. Facebook is also               less risk. Using four different methods,
    being investigated by a number of State,               Facebook has reviewed millions of apps
    Federal, and foreign regulators.                       and determined which ones should be in-
                                                           vestigated further.' If an app is identified
      c. ADI.‘ Facebook launched the ADI
                                                           by one of the methods used during the
    investigation soon after the reporting on
                                                           first phase, then the app warrants further
    Cambridge Analytica in March 2018. Ac-
                                                           review by the ADI team. The second phase
    cording to Facebook, the purpose of the
                                                           focuses on enhanced examination. This
    ADI is to "gather the facts necessary for
                                                           phase involves "background" or "technical"
    providing legal advice to Facebook about
                                                           investigations of the apps escalated in the
    litigation, compliance, regulatory inquiries,
                                                           first phase. The third phase involves en-
   and other legal risks facing the company
                                                           gagement with, and potentially enforce-
   resulting from potential data misuse and
                                                           ment against, apps or developers that vio-
   activities by third-party app developers op-
                                                           lated Facebook's policies.
   erating on the prior version of the Plat-
   form." The goal of the ADI, therefore, is to               The ADI involves various types of per-
   identify any other apps that misused user               sonneL Facebook's in-house legal team and
   data on the prior version of the Platform               Gibson Dunn hired multiple forensic con-
   and assess Facebook's potential legal lia-              sulting firms to assist with the investiga-
   bility as aresult of any uncovered misuse.              tion. At times, the ADI has included as
   Facebook states that the ADI has been                   many as 300 internal and external experts.
   "designed, managed, and overseen" by                    Despite the number of people involved in
   Gibson Dunn and Facebook's in-house                     the investigation, Facebook represents
   counsel, and these attorneys "devised and               that it has taken various steps to ensure
   tailored the ADI's methods, protocols, and              that the ADI remains confidential. This
   strategies to address the specific risks                includes limiting communications about the
   posed by these legal challenges." Gibson                investigation and restricting access to doc-
   Dunn recruited and retained the outside                 uments.
   technical experts and investigators in-
                                                              d. Attorney General's investigation.
   volved in the ADI.
                                                           Shortly after the media coverage of the
      Counsel also developed the framework                 Cambridge Analytica incident in March
    for the ADI. In broad terms, the ADI                   2018, the Attorney General began investi-
    consists of three separate phases. The first           gating Facebook under G. L. c. 93A, §6.
    phase focuses on detection and identifica-             The purpose of the investigation is to iden-
    tion. The goal of this phase iJ 4either to             tify any other apps that misused user data
    elevate an app or developer for closer in-             and assess whether Facebook followed its

         Northern District of California. See In re:         (2) the categorical method, in which the ADI
         Facebook, Inc., Consumer Privacy User Pro-          investigative team, relying on past investiga-
         file Litigation, U.S. Dist. Ct., No. 18-md-         tive experience, groups apps and developers
         02843-VC, MDL No. 2843 (N.D. Cal.).                 into categories and prioritizes them for re-
                                                             view; (3) the escalations method, in which
    6.     Some details regarding the ADI are im-
         pounded. Therefore, our discussion of the ADI       apps are prioritized based on information
         here does not include certain details.              from other sources, both internally and exter-
                                                             nally; and (4) the kw impact method, in
    7.     The four methods are (1) the user-impact          which apps that do not pose as much legal
         method, in which apps with a large number           risk as others are deprioritized for review.
         of installing users are prioritized for review;




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    policies and commitments to its users re-                      gram (to the extent not already pro-
    garding user data. Over the course of the                      duced), media reporting and inquiries,
    investigation, the Attorney General has is-                    and other referrals from internal Face-
    sued three demands. The first demand was                       book teams .. .
                                                                                 ;[91

    issued in April 2018. The second demand,                       "4. The group of apps and/or developers
    issued in June 2018, sought information on                     on which, to date, Facebook has con-
    the apps that Facebook had suspended and                       ducted a'detailed background check ...
    information on Facebook's internal policies                    to gauge whether the app or developer
    and procedures surrounding apps. As part                       has engaged in behavior that may pose a
    of its response, Facebook provided the At-                     risk to Facebook user data or raise sus-
    torney General with detailed information                       picions of data misuse, to identify con-
    on how it has conducted the ADI.                               nections with other entities of interest,
         The third demand, issued on November                      and to search for any other indications
    5, 2018, is the subject of this dispute. In                    of fraudulent activity' ..
    this demand, the Attorney General sought                       "5. The group of apps on which, to date,
    thLL 5identities of and information regard-                    Facebook has conducted a 'technical re-
    ing the apps and developers that Facebook                      view' to analyze 'available technical in-
    identified and reviewed as part of the ADI.                    formation about the apps derived from
    Specifically, the Attorney General took the                    Facebook's available internal usage rec-
    detailed descriptions of the ADI that Face-                    ords in order to gauge data collection
    book provided and used that language in                        practices -- such as the disproportionate
    her requests. In response, Facebook pro-                       collection o:fL 6data and broad data re-
    vided updated information on suspended                         quests -- which may suggest data mis-
    apps but refused to comply with several of                     use' .. .; and
    the requests.
                                                                   "6. All of Facebook's internal communi-
         There are six contested requests at the                   cations and internal correspondence con-
    center of this dispute. The judge below                        cerning the apps that 'had access to
    described these requests as follows:                           large amounts of Facebook data before
         "1. The group of 6,000 apps with alarge                   the 2014 changes to [Facebook's] Plat-
         number of installing users [81       .
                                              ;                    form took effect,' and/or for which Face-
         "2. The group of apps and developers                      book has conducted an 'in-depth review,'
         that fall within certain categories that,                 a 'Background        Information   Investiga-
         based on Facebook's 'past investigative                   tion' or a'Technical Investigation.'"
         experience,' present an elevated risk of             The first five requests require Facebook to
         potential policy violations ..                       produce documents sufficient to identify
         "3. The group of apps and developers                 the apps and facts concerning them (app
         that were reported to Facebook from                  information). Specifically, the first five re-
         outside of the ADI process, such as                  quests seek the identity of all the apps
         through the Data Abuse Bounty Pro-                   described in the requests. For some of the

    8.    The apps sought in the first request were           9.     The data abuse bounty program provides
         not simply the apps that had the largest num-             third parties an avenue to refer apps that may
         ber of installing users; these apps were select-          have engaged in wrongful conduct to Face-
         ed using a combination of factors, including              book. Facebook has complied with this por-
         the number of installing users and permis-                tion of the first contested request and identi-
                                                                   fied apps and developers flagged through this
         sions to certain types of data.
                                                                   program.




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    apps, the Attorney General also seeks the         Facebook has also provided the Attorney
    following additional factual information:         General with numerous narrative respons-
    the app developer or publisher; whether           es at various stages of the investigation.
    the app was released to the public; the           As part of these narratives, Facebook has
    date the app was first released to the            provided the Attorney General with ade-
    public; the date Facebook first reviewed          tailed overview of the ADI and a general
    the app's privacy policy; the "basis and          summary of the criteria used in each
    initial source(s) of reports, allegations or      phase. Throughout its engagement with
    concerns of data misuse of user informa-          the Attorney General, Facebook empha-
    tion obtained or accessed through the             sized that it was not waiving any applica-
    app"; the categories of user information          ble privilege over the investigation.
    for which the app obtained permissions;             Facebook also has produced at least 15,-
    the number of users who downloaded or             000 documents across seven productions in
    installed the app; and the number of users        response to the third demand. This in-
    who did not download or install the app           cludes communications with developers
    but whose information was still accessed or       and requests for information. Similarly,
    obtained by the app.                              Facebook has met with the members of
       For each of these five requests, the At-       the Attorney General's investigative team
    torney General provided that "Din lieu of         on numerous occasions.
    documents in response to this Request, the          f. Public statements about ADI. Face-
    Commonwealth will accept information in a         book has made several public statements
    spreadsheet format." Facebook therefore           about the ADI since its inception. Face-
    is not required to produce any existing           book publicly announced its investigation
    documents sent to or created by the ADI           into the Kogan incident on March 21, 2018.
    team in regard to the first five requests;        In this statement, Facebook said, 'We will
    rather, it simply is required to assemble a       investigate all apps that had access to
    list of apps that is responsive to each           large amounts of information before we
    request and provide the additional re-            changed our platform in 2014 to reduce
    quested information concerning those              data access, and we will conduct a full
    apps. The sixth request is different, how-        audit of any app with suspicious activity. If
    ever; it seeks internal communications            we find developers that misused personally
    about many of those apps.                         identifiable information, we will ban them
     e. Prior productions. Throughout the in-         from our platform." It also said that it
   vestigation, Facebook has engaged exten-           would "tell people affected by apps that
   sively with the Attorney General. Face-            have misused their data" and expand its
   book has provided the Attorney General             program for rewarding people who report
   with the name of every app and developer           data misuse by app developers.
   that it has suspended from the Platform.w             In the months that followed, Facebook
   Similarly, Facebook provided the Attorney          made other public statements about the
   General with the identities onw any devel-         ADI. On April 11, 2018, Mark Zuckerberg,
   opers that it sought to interview or audit         the chief executive officer of Facebook,
   or from which it requested information.            testified before Congress, stating,

    10. Only one app     Kogan's app — has been         suspended each app. Instead, it provided gen-
      suspended for actual misuse of user data.         eral explanations for why groups of apps were
      When it provided the identities of other sus-     suspended, which was often because of their
      pended apps, Facebook did not explain why it      affiliation with aparticular developer.




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      "We're in the process of investigating            searchers as well as companies with only
      every app that had access to a large              limited protections in place."                 Facebook
      amount of information before we locked            also informed the public, "Since launching
      down our platform in 2014. If we detect           our investigation in March, we have inves-
      suspicious activity, we'll do a full foren-       tigated thousands of apps. And we have
      sic audit. And if we find that someone is         suspended more than 400 due to concerns
      improperly using data, we'll ban them             around the developers who built them or
      and tell everyone affected."                      how the information people chose to share
    He also told Congress that, at that time,           with the app may have been used -- which
    "around 200 apps ... from a handful of              we are now investigating in much greater
    developers" had been suspended pending              depth."
    investigation into whether they misused                Finally, in September 2019, Facebook
    data.                                               announced:
    _L 8Facebook provided a more detailed
                                                           "We wanted to provide an update on our
    public update on the API in a press re-
                                                           ongoing          [ADD,      which   we      began    in
    lease in May 2018:
                                                           March of 2018 as part of our response to
      "The investigation    process is in       full
                                                           the episode involving Cambridge Analy-
      swing, and it has two phases. First, a
                                                           tica.
      comprehensive review to identify every               Li
                                                                • • •
      app that had access to this amount of
      Facebook data. And second, where we                  "We initially identified apps for investi-
      have concerns, we will conduct inter-                gation based on how many users they
      views, make requests for information                 had and how much data they could ac-
      (RFI) -- which ask a series of detailed              cess. Now, we also identify apps based
      questions about the app and the data it              on signals associated with an app's po-
      has access to -- and perform audits that             tential to abuse our policies. Where we
      may include on-site inspections.                     have concerns, we conduct amore inten-
      "We have large teams of internal and                 sive examination. This includes a back-
      external experts working hard to inves-              ground investigation of the developer
      tigate these apps as quickly as possible.            and a_L 9technical analysis of the app's
      To date thousands of apps have been                  activity on the platform. Depending on
      investigated and around 200 have been                the results, a range of actions could be
      suspended -- pending athorough investi-              taken from requiring developers to sub-
      gation into whether they did in fact mis-            mit to in-depth questioning, to conduct-
      use any data. Where we find evidence                 ing inspections or banning an app from
      that these or other apps did misuse data,            the platform. ...
      we will ban them and notify people via               "To          date,   this   investigation    has    ad-
      this website. It will show people if they            dressed millions of apps. Of those, tens
      or their friends installed an app that               of thousands have been suspended for a
      misused data before 2015 -- just as we               variety of reasons while we continue to
      did for Cambridge Analytica."                        investigate.
      Facebook provided another public up-                 "It is important to understand that the
    date in August 2018. It stated that it had             apps that have been suspended are asso-
    suspended an app "for failing to agree to              ciated with about 400 developers. This is
    our request to audit and because it's clear            not necessarily an indication that these
    that [the app] shared information with re-             apps were posing a threat to people.




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      Many were not live but were still in lao General had demonstrated asubstantial
      their testing phase when we suspended need for the information. The judge then
      them. It is not unusual for developers to concluded that the attorney-client privilege
      have multiple test apps that never get did not apply to most of the information
      rolled out. And in many cases, the devel- sought because the app information was
      opers did not respond to our request for factual in nature and because Facebook
      information so we suspended them, hon- had "touted" the ADI in public and there-
      oring our commitment to take action. fore could not claim a privilege over the
      "In a few cases, we have banned apps investigation. The judge further concluded
      completely. That can happen for any that the wording of the sixth request was
      number of reasons including inappropri- broad enough that it likely sought some
      ately sharing data obtained from us, privileged communications that included
      making data publicly available without "requests for legal advice and/or legal ad-
      protecting people's identity or some- vice on the part of Facebook and its attor-
      thing else that was in clear violation of neys ...." He emphasized that he was not
      our policies. We have not confirmed oth- compelling the production of such commu-
      er instances of misuse to date other than nications and ordered Facebook to prepare
      those we have already notified the public adetailed privilege log so that the Attor-
      about, but our investigation is not yet ney General could challenge any assertions
      complete. We have been in touch with of privilege. Facebook appealed, and we
      regulators and policymakers on these granted its application for direct appellate
      issues. We'll continue working with them revi ew. n

      as our investigation continues."
                                                       2. Discussion. a. Waiver of objections to
       g. Procedural history. In August 2019,
                                                    demand. Before reaching the merits, we
    the Attorney General filed a petition to
                                                    first address the Attorney General's argu-
    compel compliance with the third demand
                                                    ment that Facebook has waived its objec-
    in the Superior Court. Facebook opposed
                                                    tions to the third demand by failing to
    the petition, arguing that the requests
                                                    move to modify or set it aside under G. L.
    sought information protected by the attor-
                                                    c. 93, §6(7). The Attorney General argues
    ney-client privilege and work product doc-
                                                    that § 6 (7), as well as our decision in
    trine. A hearing was held on the petition
                                                    Attorney Gen. v. Bodimetric Profiles, 404
    on November 7, 2019.
                                                    Mass. 152, 533 N.E.2d 1364 (1989) (Bodi-
       In January 2020, aSuperior Court judge
                                                    metric), require recipients of demands to
    largely granted the Attorney General's pe-
                                                    file such a motion to preserve any objec-
    tition. He first concluded that the work
                                                    tions to a demand, something that Face-
    product doctrine did not apply because the
                                                    book did not do here.
    ADI was a continuation of Facebook's on-
   going app enforcement program, rather              In Bodimetric we held that "failure to
   than done in anticipation of litigation. He      bring such amotion pursuant to [§ 6 (7)]
   also concluded that even if the app infor-       constitutes a waiver by the person to
   mation was work product, it nonetheless          whom the [demand] is served." Bodimetric,
   was discoverable because it constituted          supra at 154, 533 N.E.2d 1364. The recipi-
   fact work product and the Attorney               ent of the demand in that case refused to

    11. Facebook's attempts to stay the judge's       tion and communications to the Attorney
      order pending appeal were unsuccessful. Fa-     General subject to a protective order during
      cebook has been producing the app informa-      the pendency of this appeal.




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    comply with it and merely sent a letter                    [2]   b. Legal standards. This case impli-
    stating its objections to the Attorney Gen-            cates both the attorney-client privilege and
    eral. Id, at 155, 533 N.E.2d 1364. We fur-             the work product doctrine. We review the
    ther explained that "[t]he recipient [of a             applicability of both de novo. Commission-
    demand] may not remain passive ... rais-               er of Revenue v. Comcast Corp., 453 Mass.
    ing legal arguments only after the Attor-              293, 302, 901 N.E.2d 1185 (2009) (Com-
    ney General brings a motion to compel."                cast). Facebook, as the party asserting the
    Id. Despite the fact that the recipient had            protections, bears the burden of proving
    "[sent] a letter to the Attorney General
                                                  that both the privilege and the work prod-
    stating its objections to the [demand,] -•• uct doctrine apply. Id. at 304, 901 N.E.2d
    [m]erely informing the Attorney General
                                                  1185. See Clair v. Clair, 464 Mass. 205,
    of its refusal to comply [did] not suffice to
                                                  215, 982 N.E2d 32 (2013) ("The party
    shift the burden to the Attorney General
                                                  asserting attorney-client privilege has the
    to take the next legal step." Id. The judge
                                                  burden of establishing that the privilege
    below rejected this argument, concluding
                                                  applies to the communications at issue").
    that, under Bodimetric, a judge has the
    discretion to deem afailure to file atimely
    motion for relief as awaiver of the right to    [3-7 .
                                                         1 c. Attorney-client privilege. We
    object to ththil demand but is not obligat-   begin  with the attorney-client privilege.
    ed to do so. The judge then determined                 The attorney-client privilege protects "all
    that Facebook had not waived its right to              confidential        communications   between    a
    object to the demand.                                  client and its attorney undertaken for the
                                                           purpose of obtaining legal advice." Suffolk
      [1] We agree that Facebook has not
                                                            Constr. Co. v. Division of Capital Asset
   waived its objections to the demand.
                                                            Mgt., 449 Mass. 444, 448, 870 N.E.2d 33
   Whereas the recipient of the demand in
                                                            (2007). See Comcast, 453 Mass. at 303, 901
   Bodimetric refused to comply altogether,
                                                            N.E.2d 1185 (elements of privilege). See
   Facebook's engagement with the Attorney
                                                           also Mass. G. Evid. § 502(b) (2021). 12 The
   General has been far from passive. In-
   stead, Facebook has worked with the At-                 privilege covers the flow of confidential
   torney General and communicated its ob-                 communications in both directions — from
   jections to the third demand, including its             the attorney to the client and from the
   assertions of privilege. Facebook has also              client to the attorney -- as the "purpose of
   complied with the requests in the demand                the privilege is to enable clients to make
   that Facebook believes call for nonprivi-               full disclosure to legal counsel of all rele-
    leged information. Moreover, finding waiv-             vant facts ... so that counsel may render
    er here could discourage cooperation with fully informed legal advice,' with the goal
    the Attorney General and result in in- of 'promotling] broader public interests in
    creased litigation whenever the Attorney the       observance      of     law    and
    General serves a demand. We therefore lz administration of justice." Comcast, su-
    conclude that Facebook has not waived its pra, quoting Suffolk Constr. Co., supra at
    objections to the demand.                 449, 870 N.E.2d 33. We have emphasized

    12.   The attorney-client privilege applies to cor-       array of regulatory legislation confronting the
      porations. See Upjohn Co. v. United States,             modern corporation: " In re Kellogg Brown
      449 U.S. 383, 389-390, 101 S.Ct. 677, 66                8t. Root Inc., 756 F.3(.1 754, 757 (D.C. Cir.
      L.Ed.2d 584 (1981). Indeed, "the attorney-              2014), cert. denied, 574 U.S. 1122, 135 S.Ct.
      client privilege for business organizations fisl        1163, 190 L.Ed.2d 914 (2015), quoting Lk
      essential in light of 'the vast and complicated         'ohn Co., supra at 392, 101 S.Ct. 677.




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    the value of protecting confidential attor-     denied, 467 U.S. 1246, 104 S.Ct. 3524, 82
    ney-client communications, as the "social       L.Ed.2d 831 (1984). See also Lluberes v.
    good derived from the proper performance        Uncommon Prods., LLC, 663 F.3d 6, 24
    of the functions of lawyers acting for their    (1st Cir. 2011) ("attorney-client privilege
    clients ... outweigh[s] the harm that may       must be narrowly construed because it
    come from the suppression of the evi-           comes with substantial costs and stands as
    dence." Hanover Ins. Co. v. Rapo & Jen-         an obstacle of sorts to the search for
    sen Ins. Servs., Inc., 449 Mass. 609, 615-      truth" [citation omitted]). We also have
    616, 870 N.E.2d 1105 (2007), quoting Com-       recognized that the privilege can be
    monwealth v. Goldman, 395 Mass. 495, 502,       waived. Comcast, supra at 303, 901 N.E.2d
    480 N.E.2d 1023, cert. denied, 474 U.S.         1185.
    906, 106 S.Ct. 236, 88 L.Ed.2d 237 (1985).
                                                       In balancing these competing concerns
    See Matter of aGrand Jury Investigation,
                                                    and determining whether the privilege ap-
    437 Mass. 340, 351, 772 N.E.2d 9 (2002)
                                                    plies, we focus on the distinctions between
    (Grand Jury Investigation) ("Considerable
                                                    attorney-client communications and under-
    public benefit inures when an institution
                                                    lying facts. As we explained in Chambers
   voluntarily scrutinizes its own operations
                                                    v. Gold Medal Bakery, Inc., 464 Mass. 383,
   for the purpose of seeking advice from
                                                    392, 983 N.E.2d 683 (2013):
   counsel on how to comply with the law,
   particularly where today's increasingly          j a3"[The distinction between communica-
   dense regulatory terrain makes such com-          tions and underlying facts] is crucial be-
   pliance 'hardly an instinctive matter' "). "A     cause attorney-client privilege only pro-
   construction of the attorney-client privi-        tects against disclosure of confidential
   lege that would leave internal investiga-         communications made to render legal
   tions wide open to third-party invasion            services. [Comcast, 453 Mass. at 305, 901
   would effectively penalize an institution for      N.E.2d 1185]. It does not immunize un-
   attempting to conform its operations to            derlying facts available from another
   legal requirements by seeking the advice           source from discovery just because a
   of knowledgeable and informed counsel."            client disclosed the facts to an attorney.
   Grand Jury Investigation, supra.                   See M.S. Brodin & M. Avery, Massachu-
                                                      setts Evidence § 5.4.4 (8th ed. 2007 &
       [8] Despite the strong protections giv-
                                                      Supp. 2013), quoting Upjohn Co. v. Unit-
    en to material subject to the attorney-
                                                      ed States, 449 U.S. 383, 395-396 [101
    client privilege, "[w]e consistently have
                                                      S.Ct. 677, 66 L.Ed.2d 584] (1981) [(Up-
    held that the privilege is to be construed
                                                      john)] CA fact is one thing and acommu-
    narrowly." Clair, 464 Mass. at 215, 982
                                                      nication concerning that fact is an en-
    N.E.2d 32, citing Comcast 453 Mass. at
                                                      tirely different thing')."
    304, 901 N.E.2d 1185. We do so because
    the privilege "frustrate[s] the investigative   In Upjohn, supra, the United States Su-
    or fact-finding process ... [and] create[s]     preme Court explained this distinction:
    an inherent tension with society's need for       "The privilege only protects disclosure
    full and complete disclosure of all relevant      of communications; it does not protect
    evidence during implementation of the ju-         disclosure of the underlying facts by
    dicial process" (citation omitted). Corn-         those who communicated with the attor-
    cast, supra. See Hanover Ins. Co., 449            ney: '[T]he protection of the privilege
    Mass. at 615, 870 N.E.2d 1105, quoting In         extends only to communications and not
    re Grand Jury Investigation No. 83-2-35,          to facts.... The client cannot be com-
    723 F.2d 447, 451 (6th Cir. 1983), cert.          pelled to answer the question, "What did




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      you say or write to the attorney?" but           client communications themselves. This is
      may not refuse to disclose any relevant          acrucial distinction; as the Supreme Court
      fact within his knowledge merely be-             explained in Upjohn, 449 U.S. at 396, 101
      cause he incorporated a statement of             S.Ct. 677, a client "may not refuse to dis-
      such fact into his communication to his          close any relevant fact within his knowl-
      attorney.'     . Here, the Government            edge merely because he incorporated a
      was free to question the employees who           statement of such fact into his communica-
      communicated with [the company's law-            tion to his attorney" (citation omitted).
      yer] and outside counsel." (Emphasis in
      original; citation omitted.)                       The app information sought by the At-
       This distinction is important and some-         torney General in the first five requests
    what collapsed by the advocacy in the              differs from the type of information that
    instant case. Facebook interprets the re-          has been deemed covered by the attorney-
    quests as seeking confidential communi-            client privilege. For example, Upjohn in-
    cations between Facebook and its outside           volved responses to questionnaires and in-
    counsel or information that does not ex-           terview notes that included responses to
    ist independently of such communica-               questions. See Upjohn, 449 U.S. at 397,
    tions. This fails to take into account the         101 S.Ct. 677. Corporate employees com-
    fact that the underlying data about apps'          municated factual information to the cor-
    breaches of privacy policies is all inde-          poration's attorneys in response to re-
    pendently discoverable and cannot be               quests from the attorneys for information.
    protected by Facebook's initiation of its          The Court held that such communications
    own factual investigation. The attorney-           of factual information were covered by the
    client privilege only protects communica-          privilege. Id. at 396, 101 S.Ct. 677. Similar-
    tions between the attorney and the client          ly, in Federal Trade Comm'n v. Boehring-
    about such factual information, not the            er Ingelheim Pharms., Inc., 180 F. Supp.
    facts themselves.                                  3d 1, 30-32 (D.D.C. 2016) (Boeluinger III),
       [9] i. First five requests. The first five      affd, 892 F.3d 1264, 1266 (D.C. Cir. 2018)
    requests do not require the production of          (Boehringer IV), the court held that the
    any communications between Facebook                privilege shielded, among other things,
    and counseljap during the ADI process.'            PowerPoint presentations and spread-
    Rather, these requests only seek docu-             sheets that summarized facts and analyzed
    ments "sufficient to identify" the apps that       how various litigation and settlement out-
    fall within the five categories of requested       comes would have an impact on the compa-
    documents identified supra or lists of the         ny financially. Company employees pre-
    apps themselves, and other information as-         pared the documents and sent them to the
    sociated with those apps. While this cer-          company's general counsel at her request
    tainly requires the production of factual          to assist her with settlement negotiations.
    information relevant to the Attorney Gen-          Boelyinger III, supra at 32. In affirming
    eral's investigation, and such factual infor-      the conclusion that the documents were
    mation has almost certainly been contained         privileged, the United States Court of Ap-
    in attorney-client communications, it does         peals for the District of Columbia Circuit
    not require the production of the attorney-        emphasized:

    13. On the other hand, the sixth contested            seeks communications.
      request, which we address infra, explicitly




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      "[T]he attorney-client privilege 'only          communications and internal correspon-
      protects disclosure of communications'          dence concerning" several categories of
      .... [It]  does not prevent the [Federal        apps sought in the other requests. Face-
      Trade Commission's] discovery of the            book refused to comply with this request
      underlying facts andj afidata possessed         and asserted that it called for the produc-
      by [the company] and its employees....          tion of privileged communications. The
      But [it] does protect the communication         judge below ordered Facebook to produce
      of facts by corporate employees to the          adetailed privilege log identifying any doc-
      general counsel when ...the communi-            uments it was withholding on the basis of
      cations were for the purpose of obtain-         the privilege. While this case proceeded on
      ing or providing legal advice" (emphasis        appeal, Facebook provided the Attorney
      in original).                                   General with at least two privilege logs
    Boehringer IV, supra at 1268.                     responsive to this request."
      In the first five requests, the Attorney           [11] As explained above, the attorney-
   General is not requiring the production of         client privilege certainly applies to commu-
   documents or communications that were              nications between counsel and client made
   exchanged between Facebook (including              as part of an internal investigation that is
   its employees) and its attorneys, and the          undertaken to gather facts for the pur-
   requests permit Facebook to comply with-           poses of providing legal advice. See, e.g.,
   out disclosing any such communications.            Grand Jury_lig6 Investigation, 437 Mass. at
   Therefore, Facebook cannot rely on the             351, 772 N.E.2d 9. See also Upjohn, 449
   attorney-client privilege as abasis for re-        U.S. at 390, 101 S.Ct. 677. The ADI is such
   fusing to comply with these requests. We           an investigation, as it was initiated in part
   reiterate that "Mlle client cannot be com-         to gather the facts needed to advise Face-
   pelled to answer the question, 'What did           book on various legal risks facing the coin-
   you say or write to the attorney," particu-        pany. See Comcast, 453 Mass. at 303, 901
   larly where those communications occur             N.E.2d 1185 (elements of privilege). As
   during an internal investigation (citation         such, any confidential communications re-
   omitted). See Upjohn, 449 U.S. at 396, 101         lating to the ADI among Facebook, Gibson
   S.Ct. 677. Facebook is not being compelled         Dunn, and other members of the ADI
   to answer those questions, however, and it         team would almost certainly be privileged.
   does not have to produce any communica-            There may also be other responsive com-
   lions with its attorneys. Given the flexibili-
                                                      munications between counsel and client
   ty provided to Facebook in its response,           outside the ADI that are privileged. At the
   the factual information it is required to          same time, the breadth of the request
   produce in response to the first five re-
                                                      includes communications outside the ADI
   quests is thus not covered by the attorney-
                                                      that may not otherwise involve attorney-
   client privilege. As will be explained infra,
                                                      client communications. The Attorney Gen-
   however, as framed, the requests do impli-
                                                      eral is seeking communications dating
   cate the work product doctrine.
                                                      back to April 30, 2014, which is years
      [10] ii. Sixth request. The sixth request       before the ADI began in the spring of
    broadly seeks "[a]ll of Facebook's internal       2018.'5 The request, on its face, also ap-

    14. In one log, Facebook identified seven cate-     tries over which Facebook is asserting the
      gories for which it is withholding documents      privilege.
      on a categorical basis. This includes 40,108
                                                      15. Facebook represents that it "has never
      documents. The other log contained 947 en-
                                                        claimed that the privilege derived from the




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    plies to communications between Facebook                2015) (Boehringer II), cert. denied, 577
    employees who are not lawyers and are                   U.S. 1102, 136 S.Ct. 925, 193 L.Ed.2d 790
    not acting at the direction of lawyers. Fur-            (2016)." "The purpose of the doctrine is to
    ther sorting out of this request is required.           establish a 'zone of privacy for strategic
      We therefore agree with the judge be-                 litigation planning ... to prevent one par-
    low that the appropriate course of action is            ty from piggybacking on the adversary's
    for Facebook to prepare a detailed privi-               preparation." Comeast, 453 Mass. at 311-
    lege log so that the Attorney General can               312, 901 N.E2d 1185, quoting United
    challenge any assertions of privilege.                  States v. Adhnan 68 F.3d 1495, 1501 (2d
                                                            Cir. 1995).
       [12-14] d. Work product doctrine. Fa-
    cebook also argues that the app informa-
    tion requested is protected by the work                    [15-17] A document is prepared in an-
    product doctrine. The work product doc-                 ticipation of litigation if, "in light of the
    trine "protects (1) `documents and tangible             nature of the document and the factual
    things,' [prepared] (2) 'by or for another              situation in the particular case, the docu-
    party or by or for that other party's repre-            ment can be fairly said to have been pre-
    sentative (including his attorney, consul-              pared because of the prospect of litiga-
    tant, surety, indemnitor, insurer, or                   tion" (emphasis added). Comcast 453
    agent),' and (3) 'in anticipation of litigation         Mass. at 317, 901 N.E.2d 1185, quoting
    or for trial." McCarthy v. Slade Assocs.,               United States v. Adlman 134 F.3d 1194,
    Inc., 463 Mass. 181, 194, 972 N.E2d 1037                1202 (2d Cir. 1998) (Adlman II). Anticipa-
    (2012), quoting P.M.          Lauriat,    S.E.          tion of litigation does not have to be the
    McChesney, W.H. Gordon, & A.A. Rainer,                  primary purpose or motivation. Ccmacast,
    Discovery § 4:5 (2d ed. 2008 & Supp.                    supra at 317 n.28, 901 N.E2d 1185. But a
   2011).' Importantly, "[t]he work product                 document that would have been prepared
   protection is broader than the attorney-                 "irrespective of the prospect of litigation"
   client privilege in that it is not restricted            is not covered by the work product doc-
  _LE solely to confidential communications                 trine (citation omitted). Id. at 318-319, 901
   between an attorney and client." Federal                 N.E2d 1185. See Adlman II, supra at 1202
   Trade Comm'n v. Boehringer Ingelheim                     ("documents that are prepared in the ordi-
   Pharms., Inc., 778 F.3d 142, 149 (D.C. Cir.              nary course of business or that would have

      [ABU attaches to pretADII communications."                seeking discovery has substantial need of
      Rather, "it has only withheld pretADI] com-               the materials in the preparation of his case
      munications to the extent they are privileged             and that he is unable without undue hard-
      on other grounds."                                        ship to obtain the substantial equivalent of
                                                                the materials by other means. In ordering
    16. Rule 26 (b) (3) of the Massachusetts Rules
      of Civil Procedure, 365 Mass. 772 (1974),                 discovery of such materials when the re-
      states:                                                   quired showing has been made, the court
         "Subject to the provisions of subdivision              shall protect against disclosure of the men-
         (b)(4) of this rule, a party may obtain dis-           tal impressions, conclusions, opinions, or
        covery of documents and tangible things                 legal theories of an attorney or other repre-
        otherwise discoverable under subdivision                sentative of a party concerning the litiga-
         (b)(1) of this rule and prepared in anticipa-          tion!'
         tion of litigation or for trial by or for anoth-
        er party or by or for that other party's            17. At the same time, it is also narrower than
         representative (including his attorney, con-         the attorney-client privilege, as it only pro-
        sultant, surety, indenmitor, insurer, or              tects documents prepared in anticipation of
         agent) only upon ashowing that the party             litigation. Boehringer II, 778 F.3d at 149.




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    been created in essentially similar form            Trust Co., 85 Mass. App. Ct. 418, 425, 10
    irrespective of the litigation" not covered).       N.E.3d 659 (2014) (same). Although it is
      [18, 19] If the work product doctrine             discoverable in some circumstances, fact
   applies, the court must determine what               work product is still protected so that
   type of work product is at issue. Rule 26            "each side must undertake its own investi-
   (b) (3) differentiates between two types of          gation of the relevant facts and not simply
   work product. The greatest protection is             freeload on opposing counsel." Boehringer
   provided to opinion work product, or work            II, 778 F.3d at 156.
   product that conveys the "mental impres-
   sions, conclusions, opinions, or legal theo-           [21-23]   The line between fact work
   ries of an attorney or other representative          product and opinion work product is not
   of a party concerning the litigation." See           always dear. Indeed, a[w]hen a factual
   Mass. R. Civ. P. 26 (b) (3), 365 Mass. 772           document selected or requested by counsel
   (1974). Opinion work product "may be re-             exposes the attorney's thought processes
   flected in interviews, statements, memo-             and theories, it may be appropriate to
   randa, correspondence and in countless               treat the document as opinion work prod-
   other tangible and intangible ways." Miller          uct, even though the document on its face
   v. Holzmann, 238 F.R.D. 30, 32 (D.D.C.               contains only facts." Id. at 151. Yet "not
   2006). See Securities & Exch. Comm'n v.              every item which may reveal some inkling
   Collinslas& Allman Corp., 256 F.R.D.                 of a lawyer's mental impressions, conclu-
   403, 410 (S.D.N.Y. 2009) (opinion work               sions, opinions, or legal theories is protect-
   product "constitutes legal documents                 ed as opinion work product" In re San
   drafted by an attorney -- her mental im-             Juan Dupont Plaza Hotel Fire Litig., 859
   pressions, conclusions, opinions, and legal          F2d 1007, 1015 (1st dr. 1988). The focus,
   theories"). Opinion work product is only             selection, or arrangement of the facts must
   discoverable, if at all, "in rare or 'extreme-       reflect the attorney's thought process in
   ly unusual' circumstances." Comcast, 453             some "meaningful way." Boehringer II, su-
   Mass. at 315, 901 N.E.2d 1185, quoting               m. See Boehringer III, 180 F. Supp. 3d
    Reporters' Notes to Rule 26 (b) (3), Mass.          at 26, quoting Boehringer II, supra at 152
    Ann. Laws Court Rules, Rules of Civil               (fact information is not opinion work prod-
    Procedure, at 545 (LexisNexis 2008).                uct where "[n]one of the documents re-
       [20] In contrast, all other work prod-           veal[s] how [the attorney] analyzed the
    uct is discoverable "upon a showing that            data she requested or what data or scenar-
    the party seeking discovery has substantial         ios she presented to her client. In other
    need of the materials ... and that he is            words, she did not 'sharply focu[s] or
    unable without undue hardship to obtain             wee[d]' the facts contained in these docu-
    the substantial equivalent of the materials         ments such that revealing these facts
    by other means." Mass. R. Civ. P. 26 (b)            would reveal her legal impressions of the
    (3). This type of work product is often             case"). Importantly, where a document
    referred to as fact work product See Corn-          contains both fact and opinion work prod-
    cast, 453 Mass. at 314, 901 N.E.2d 1185             uct, acote may still order its production if
    (differences between opinion and fact work          the opinion portions carthpbe redacted or
    product); Cahaly v. Benistar Prop. Exch.            removed. Boehringer II, supra. 18 Ultimate-

    18. In other words, information may appropri-         portions that contain attorney opinions,
      ately be treated as fact work product if it can     thoughts, or conclusions. See McCarthy, 463
      be produced in a format that removes any            Mass. at 197-198 & n.34, 972 N.E.2d 1037.




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   ly, as long as disclosing the information              [26] We disagree with the judge on
   would not reveal an attorney's "mental              this point. We recognize that the existence
   impressions, conclusions, opinions, or legal        of an ongoing compliance program is an
   theories," it is not entitled to near-absolute      important consideration when assessing
   protection and is subject to disclosure             whether an internal investigation was un-
   upon a showing of substantial need and              dertaken in anticipation of litigation. In-
   undue hardship. See Mass. R. Civ. P. 26             deed, simply funneling an organization's
    (3) (3).                                           investigation through outside counsel does
       [24] Applying these principles, we con-         not bring with it the protection of the work
    clude that the app information required to         product doctrinelaoif the organization
    be produced is clearly covered by the work         would have conducted these activities irre-
    product doctrine. We also conclude that if         spective of anticipated litigation. See, e.g.,
    this app information is not opinion work           In re Premera Blue Cross Customer Data
    product, Facebook must disclose that in-           Sec. Breach Litig., 296 F. Supp. 3d 1230,
    formation, because the Attorney General            1245-1246 (D. Or. 2017) (merely directing
    has demonstrated a substantial need for            consultant to report to outside counsel and
    the information and could not obtain it            label communications "privileged" or
    without undue hardship. The difficult issue        "work product" insufficient to treat reports
    is separating fact from opinion work prod-         created as in anticipation of litigation).
    uct in the first five requests. We set out
    the mode of analysis here but remand to               Here, however, the ADI is meaningfully
    the judge its application to the specific          distinct from Facebook's ongoing enforce-
    requests.°                                         ment program. It is staffed by outside
       [25] i. In anticipation of litigation. We       counsel and outside forensic consultants,
    begin with the threshold question whether          and it has its own distinct methodology. It
    the information is protected by the work           is focused on past violations, not ongoing
    product doctrine. In assessing whether             operations, and it serves a very different
    the app information required to be pro-            purpose: defending Facebook against the
    duced is work product, the parties focus           vast litigation it is facing, rather than just
    on the third element — whether the app             improving its ongoing operations. The rec-
    information was prepared "in anticipation          ord here does not support the contention
    of litigation." The judge below did as well,       that Facebook's compliance and enforce-
    concluding that Facebook's existing app            ment team could have or would have con-
    enforcement efforts and its public state-          ducted amassive investigation into poten-
    ments about the ADI demonstrate that               tial past misconduct in the ordinary course
    the ADI was not done in anticipation of            of business.' This was not business as
    litigation.                                        usual for Facebook.

      See also Washington Bancorp. v. Said, 145           enormous investigation herself. While nor-
      F.R.D. 274, 278-279 (D.D.C. 1992) (index was        mally prohibited, rule 26 permits such piggy-
      discoverable fact work product even though it       backing where there is asubstantial need and
      contained sonic opinion work product that           undue hardship.
      could be redacted or removed prior to pro-
                                                       20. Tellingly, Facebook did not initiate an in-
      duction).
                                                         vestigation when it first learned of Kogan's
    19. We recognize that the Attorney General is        misconduct in 2015. Instead, it waited until
      "piggy-backing" on the extensive factual and       substantial public reporting in 2018 made liti-
      technical investigation undertaken by Face-        gation and regulatory investigations a near
      book rather than attempting to engage in this      certainty.




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      [27] The Attorney General argues that          due hardship. See Mass. R. Civ. P. 26 (b)
   "the purpose of the ADI was to improve            (3). The judge below concluded that the
   the Platform and remedy the loss of user          app information is not opinion work prod-
   trust" and not because of impending litiga-       uct, because the requests seek "indisput-
   tion. The fact that the ADI also serves           ably factual information" like the identity
   business purposes does not alter the analy-       of apps or developers. Facebook counters
   sis. In Comcast, 463 Mass. at 317 n.28, 901       that "but for the involvement, analysis,
   N.E.2d 1186, we rejected a formulation of         and advice of counsel, the [app informa-
   the work product doctrine that excludes           tion] the Attorney General seeks would
   documents that were primarily prepared            not exist," because it is the product of
   for a business or other nonlitigation pm—         "criteria designed by, and reflecting the
   pose. Instead, we made clear that the             legal judgment of, Facebook's counsel."
   work product doctrine applies as long the         For this reason, Facebook argues that the
   corporation "had the prospect of litigation       app information should be considered opin-
   in mind." Id. at 318, 901 N.E.2d 1185,            ion work product.
   quoting Adlman II, 134 F.3d at 1204. See            In deciding whether this is opinion work
   Comcast, supra at 319, 901 N.E.2d 1185            product, we focus on what the specific
   (documents "created 'because of' the rea-         information requested would reveal and
   sonability possibility of litigation" covered     not on the ADI as awhole. We also focus
   by doctrine). That the ADI also serves Fa-        on what the requested information would
   cebook's business purposes independent of         divulge about the confidential as opposed
   litigation, therefore, does not mean that         to the publicly revealed aspects of the ADI
   the work product doctrine does not apply.         process, that is, whether the documents
       The determinative question is whether         required to be produced reveal confidential
    Facebook compiled the app information            aspects of the ADI process or just those
    because of the prospect of litigation or         publicly announced.
    whether it would have compiled the app             We begin with the recognition that the
    information regardless of the prospect of        underlying factual information about the
    litigation. See Comcast, 453 Mass. at 318-       apps, and the potential privacy violations,
    319, 901 N.E.2d 1185 (document prepared          that the Attorney General sought was not
    "irrespective of the prospect of litigation"     protected by the work product doctrine.
    is not covered by work product doctrine).        Had Facebook not informed the Attorney
    Given the focus of the ADI, its structure        General how it conducted its own factual
    and design, and its litigation purposes, we      investigation, the Attorney General would
    concludthr that Facebook has established         have been free to perform her own thor-
    that the ADI was initiated, and the app          ough investigation of all the underlying
    information compiled, in anticipation of liti-   factual information to uncover data misuse
    gation. Therefore, the app information is        by apps.
    work product.                                      The requests, however, do seek the
       ii. Fact or opinion work product. The         names of the apps, and other associated
    next issue is whether the app information        information, identified by Facebook's own
    is properly considered opinion work prod-        investigatory process. They do so tracking
    uct, which is only discoverable in extreme       Facebook's own methodology and public
    circumstances, or fact work product, which       disclosures. This clearly asks for work
    is discoverable if the Attorney General          product; the only question is whether it is
    demonstrates a substantial need and un-          fact or opinion work product.




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      In answering this question, we focus on         We begin with the five requests, and the
    the flexibility allowed in the response, the    names of the apps that fall into these
    particular factual information requested,       requests. They are:
    and the previous public disclosures. As            "1. The group of 6,000 apps with alarge
    drafted, the requests allow Facebook to            number of installing users ...;
    tailor its response to remove any and all          "2. The group of apps and developers
    notes, impressionsdkvand legal analysis            that fall within certain categories that,
    except the names themselves and the spe-           based on Facebooles 'past investigative
    cific additional factual information re-           experience,' present an elevated risk of
    quested, and what those names and this             potential policy violations ...;
    additional factual information themselves          "3. The group of apps and developers
    reveal. See In re Chrysler Motors Corp.            that were reported to Facebook from
    Overnight Evaluation Program Litig., 860           outside of the ADI process    ;
    F2d 844, 846 (8th Cir. 1988) (tape was not         "4. The group of apps and/or developers
    opinion work product where it "d[id] not           on which, to date, Facebook has con-
    itself contain counsel's mental impressions,       ducted a 'detailed background check'
    conclusions or legal theories"); In re San              [and]
    Juan Dupont Plaza Hotel Fire Litig., 859           "5. The group of apps on which, to date,
    F2d at 1014 (opinion work product "en-             Facebook has conducted a 'technical re-
    compass[ed] materials that contain the
    mental impressions, conclusions, opinions        -123Some of this information has been
    or legal theories of an attorney"; rest was     discussed in public statements made by
    ordinary work product [emphasis added]).        Facebook. Facebooles chief executive offi-
                                                    cer testified before Congress that Face-
      Facebook also previously has publicized       book was "investigating every app that had
    general statements regarding the ADI re-        access to a large amount of information"
    flected in the five requests, thereby fur-      and that it considered "suspicious activity"
    ther reducing the risk that the disclosure      to be apps that had "a significant number
    of the names of the apps and some of the        of users and ... sought to access signifi-
    additional factual information requested        cant or unexpected data fields." Similarly,
    about those apps will reveal confidential       in its September 2019 release, Facebook
    opinion work product See New York               announced to the public that it was con-
    Times Co. v. United States Dep't of Jus-        ducting "background investigations" and
    tice, 939 F.3d 479, 496 (2d Cir. 2019) ("We     "technical analyses." It also publicized that
    first evaluate whether ... public state-        it was "analyz[ing] potentially suspicious
    ments about the memoranda were specific         activity from our analysis of logs and us-
    enough to have effectuated disclosure of        age patterns by these apps" and "con-
    parts of the memoranda and accompanying         duet[ing] an audit using internal and exter-
    exhibits, thereby waiving the work product      nal experts."
    privilege with respect to those parts").           All these public disclosures are impor-
    That being said, the specifics of the five      tant because acorporate defendant cannot
    requests and additional information re-         publicize its "internal investigation to as-
    quested must be considered to determine         sert the propriety of its actions to third
   whether fact or opinion work product is          parties and simultaneously ... block third
   being sought, or whether further review is       parties from testing whether its represen-
    required to make this determination.            tations about the internal investigation are




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   accurate." Grand Jury Investigation, 437       formation requested will reveal counsel's
   Mass. at 354, 772 N.E.2d 9. Facebook also      thought processes as well as purely factual
   has provided to the Attorney General more      information. If undisclosed strategic deci-
   specific information on the ADI framework      sion-making by counsel, including the as-
   and an overview of the types of criteria       sessment of legal risk or liability, is re-
   that guide each phase. See In re Stein-        vealed by the factual analysis, such factual
   hardt Partners, L.P., 9 F.3d 230, 235 (2d      analysis may be classified as opinion work
   Cir. 1993) (disclosure of protected thought    product. A good example of arequest pos-
   processes to adversary waives work prod-       ing such risk is the second request, which
   uct protection). This more specific informa-   would force Facebook to identify which
   tion also helped the Attorney General          apps it determined, based on its "past
   frame the five requests. In this unusual       investigative experience,' presented] an
   context, where (1) the underlying facts on     elevated risk of potential policy violations."
   the apps and their data breaches are dis-      This reference to past investigatory expe-
   coverable; (2) the general scope and meth-     rience and evaluation of elevated risk of
   odology, and some of the results, of Face-     violations appears to seek to reveal undis-
   book's internal investigation have been        closed aspects of the ADI process that
   made public as part of its defense of its      may divulge counsel's investigatory prac-
   actions; and (3) Facebook already ex-          tices, legal risk assessment, and other
   plained its more specific methodology for      thought processes and impressions. This is
   conducting its factual investigation to its    quite different from some of the more
   adversary the Attorney General, it is diffi-   straightforward factual requests, seeking
   cult to discern how opinion work product       for example the names and details con-
   would be divulged by production of the
                                                  cerning the 6,000 apps that Facebook has
   names of the apps, and most of the other
                                                  targeted for having a large number of
   purely factual information requested in the
                                                  users or the groups of apps that were
   first five categories of apps. See Boehring-
                                                  reported to Facebook outside the ADI pro-
   er II 778 F.3d at 152, quoting In re San
                                                  cess.
   Juan Dupont Plaza Hotel Fire Litig., 859
   F.2d at 1015 ("There is no 'real, nonspecu-       Some of the categories of additional fac-
   lative danger of revealing the lawyer's        tual information requested raise similar
   thoughts' when the thoughts are already        concerns. In particular, for some of the
   well-known"). See also New York Times          apps, the Attorney General is seeking the
   Co., 939 F.3d at 495, quoting Rockwell         "basis and initial source(s) of reports, alle-
   Intl Corp. v. United States Dep't of Jus-      gations or concerns of data misuse of user
   1      235 F.3d 698, 605 (D.C. Cir. 2001)      information obtained or accessed through
   ("common sense suggests that verbal de-        the app." Whether at least this last catego-
   scription of the contents of adocument, if     ry of additional information seeks to probe
   sufficiently specific, is as 'inconsistent     into counsel's undisclosed thought process-
  ja4with the maintenance of secrecy' of that     es requires further investigation by the
   document as would be disclosure of the         judge.
   document itself").                               In sum, we cannot conclude on the rec-
       Nonetheless, acareful comparison of the    ord before us that none of the information
    specific factual information requested, and   requested falls into the category of opinion
    the particular public statements already      work product, as the judge determined. It
    made regarding the investigatory process,     is true that the app information here is
    is necessary to determine whether the in-     readily distinguishable from more typical




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   examples of opinion work product, such as            perform this type of document-by-docu-
   the memorandum in Comcast that con-                  ment work product review.'
   tained "a detailed analysis of various cor-
                                                           [28] iii. Substantial need and undue
   porate entities and addressred] various op-
                                                        hardship. Although further line drawing is
   tions, and attendant litigation risks, for [a]
                                                        required by the judge to determine what
   stock sale in light of applicable Massachu-
                                                        information requested is fact work product
   setts law," Comcast, 453 Mass. at 300, 901
                                                        and what is opinion work product, we rec-
   N.E.2d 1185, or the memorandum in
                                                        ognize, based on the record before us, that
   Schaeffler that analyzed the tax implica-
                                                        a significant amount of information ulti-
   tions of business transactions and included
                                                        mately will be determined to be fact work
   advice related to potentiall ypinvestigation
                                                        product. We therefore address the issue
   by a Federal agency, Schaeffier v. United
                                                        whether the fact work product must be
   States, 806 F.3d 34, 43-45 (2d Cir. 2015).
                                                        produced. This requires the Attorney Gen-
   We also recognize that some aspects of the
                                                        eral to demonstrate substantial need and
   ADI process already have been publicized
                                                        undue hardship. See Mass. R. Civ. P. 26
   widely, and Facebook cannot claim protec-
                                                        (b) (3). Absent such substantial need and
   tion for opinion work product for investiga-
                                                        undue hardship, the Attorney General
   tory procedures it has publicly proclaimed.
                                                        would be expected and required to do her
   See Grand Jury Investigation, 437 Mass.
                                                        own investigation. See Baker v. General
   at 354, 772 N.E.2d 9. See also New York
                                                        Motors Corp., 209 F.3d 1051, 1054 (8th
   Times Co., 939 F.3d at 496 (public state-
                                                        Cir. 2000) (fact work product "not discov-
   ments describing contents of work product
                                                        erable unless the party seeking discovery
   that are "sufficiently specific ... are tanta-
                                                        has a substantial need for the materials
   mount to public disclosure of ... the rele-
                                                        and the party cannot obtain the substantial
   vant [work product]" and therefore consti-
                                                        equivalent of the materials by other
   tute waiver). The question that remains is
                                                        means" [emphasis added]).
   whether some of the factual information
   about the apps that Facebook is required              126[29-31] A substantial need exists
   to produce will reveal any meaningful pre-           where the fact information is relevant and
   viously undisclosed attorney thoughts or             the requesting party cannot reasonably ob-
   strategies. See Boehringer II, 778 F.3d at           tain the information or its substantial
   152, citing In re San Juan Dupont Plaza              equivalent elsewhere. See Boehringer III,
   Hotel Fire Litig., 859 F.2d at 1015. To              180 F. Supp. 3d at 14, citing Boehringer
   answer that question, remand is required             II 778 F.3d at 155. There also must be
   that compares the specific requests, partic-         "'special circumstances' excus[ing] the
   ularly those identified in this opinion as           movant's failure to obtain the requested
   problematic, the previous public disclo-             materials itself." Boehringer II, supra.
   sures, and what the particular information           When interpreting the analogous Federal
   requested would reveal. The incomplete               rule, courts consider, among other factors,
   record here does not allow us to perform             "(1) the importance of the materials to the
   such review ourselves. The judge is also             party seeking them for case preparation,
   much better positioned than this court to            (2) the difficulty the party will have obtain-

    21. Because Facebook has now started to pro-          work product. The judge also may conduct
      duce information responsive to the first five       further hearings with counsel to discuss spe-
      requests, the judge will be able to review the      cific requests and the risks of disclosure of
      disclosed information in camera when deter-         counsel's thoughts, impressions, or opinions
      mining whether the disclosures reveal opinion       that they may present.




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   ing them by other means, and (3) the             facts on abroader scale than [that] avail-
   likelihood that the party, even if he obtains    able to atypical civil litigant").
   the information by independent means,              The great difficulty in obtaining this in-
   will not have the substantial equivalent of      formation also is obvious. Given the scope
   the documents he seeks." Burrow v. Forjas        of the ADI, the millions of apps to be
   Taurus S.A., 334 F. Supp. 3d 1222, 1229          analyzed, and the vast quantity of informa-
    (S.D. Fla. 2018), citing Advisory Commit-       tion at issue, uncovering this otherwise
    tee Note (1970) to Fed. R. Civ. P. 26.          discoverable factual information would be
    Ultimately, "[t]he 'substantial need' inqui-    thr monumental, if not Herculean, task
    ry requires a careful examination of            absent Facebook disclosing the app infor-
    whether non-disclosure will impair the          mation. See In re San Juan Dupont Plaza
    truth-seeking function of discovery." Boeh-     Hotel Fire Litig., 859 F.2d at 1019 ("scope
    ringer II, supra at 156.                        of this massive litigation and its conse-
                                                    quent special needs called for unorthodox
      [321   Here, several considerations sup-      measures").
    port the Attorney General's claim of a             Finally, it is unlikely that the Attorney
    substantial need for the fact work product.     General would be able to obtain the sub-
    The app information is certainly relevant       stantial equivalent of this app information,
    and important; it is central to the Attorney even with extraordinary efforts. As the
    General's investigation, as it identifies    Attorney General argues, only Facebook
    apps that may have misused user data on      has access to the information and data that
    the prior version of the Platform. See Ca-   are necessary to identify the apps that
          85 Mass. App. Ct at 425, 10 N.E.3d     have potentially misused user data. An
    659, citing McCarthy, 463 Mass. at 195,      important part of the ADI framework is
    972 N.E2d 1037 (substantial need exists      Facebook's own knowledge of and experi-
   where work product at issue central to ence with the Platform and the apps and
   claims). The Attorney General has aman- developers that operate on it. Through its
   date to investigate such potential misuse of design of the Platform and its ongoing
   Massachusetts users' data as well as po- efforts to police the Platform, Facebook
   tential misrepresentations by Facebook, has developed valuable expertise that has
   and considerable authority with which to guided the ADI, relying on its own internal
   do so. See Exxon Mobil Corp. v. Attorney knowledge and expertise regarding its
   Gen., 479 Mass. 312, 323-324, 94 N.E.3d Platform and apps to guide its internal
   786 (2018), cert. denied, — ITS. —, 139 searches. Without such expertise, there-
   S. Ct. 794, 202 L.Ed.2d 570 (2019) (Attor- fore, it is unclear whether the Attorney
   ney General has "manifest interest in en- General would be able to replicate the
   forcing G. L. c. 93A"). There is also a work of the ADI and identify many of the
   strong public interest in disclosure in cases apps and developers that may be misusing
   in which the Attorney General is investi- user data.
   gating potential unfair or deceptive trade      This is not a case where the internal
   practices involving Massachusetts consum- investigation involved simply interviewing
    ers that is absent in atypical civil dispute.   key employees and other witnesses or re-
    See Boeluinger III, 180 F. Supp. 3d at 14,      viewing a manageable number of docu-
    quoting Boehringer II, 778 F.3d at 157 ("in     ments, tasks that can be easily replicated
    the investigatory context here," Federal        by third parties or government investiga-
    Trade Commission "was entitled to learn         tors. See, e.g., In re Intl Sys. & Controls




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   Corp. Sec. Litig., 693 F.2d 1235, 1240 (5th       Chrysler Motors Corp. Overnight Evalua-
   Cir. 1982) ("discovery of work product will       tion Program Litig., 860 F.2d at 846 ("con-
   be denied if a party can obtain the infor-        siderable delay" factor supporting undue
   mation he seeks by deposition"); Gay v.           hardship); Resolution Trust Corp. v. Heis-
   P.K. Lindsay Co., 666 F.2d 710, 713 (1st          erman, 151 F.R.D. 367, 376 (D. Colo. 1993)
   dr. 1981), cert. denied, 456 U.S. 975, 102        (undue hardship exists where it would be
   S.Ct. 2240, 72 L.Ed.al 849 (1982) ("there is      "extremely difficult, not to mention waste-
   in general no justification for discovery of      ful, for defendants to attempt to replicate
   the statement of a person contained in            [opposing party's] three-year investiga-
   work product materials when the person is         tion" in complex case "involv[ing] massive
   available to be deposed"). Rather, it is an       amounts of documentation").
   enormously complex effort in which coun-             As explained above, the Attorney Gener-
   sel and the ADI team analyzed millions of         al undoubtedly would incur enormous costs
   apps and enormous amounts of data. This           and delay in her investigation if the app
   analysis was also enabled in large part by        information is not disclosed. Through the
   Facebook's prior expertise in developing          ADI, Facebook has reviewed millions of
   and policing the Platform. Facebook is not        apps to determine whether they potentially
   only in afar better position than the Attor-      misused user data. When the Attorney
   ney General, but also essentially uniquely        General filed the petition to compel in
   positioned to identify which apps potential-      August 2019, the ADI had been operating
   ly misused user data. Therefore, we are           for nearly one and one-half years. More-
   persuaded that the Attorney General               over, so great was the task of the ADI that
   would be unable to otherwise obtain the           the investigative team has at times swelled
   substantial equivalent of the factual app         to include hundreds of outside experts.
   information, even with an extraordinary           There is no other way for the Attorney
   expenditure of time and resources. See            General to try to obtain this information
   Ward v. Peabody, 380 Mass. 805, 817-818,          other than to essentially recreate and du-
   405 N.E.2d 973 (1980) (that materials are         plicate the work of the ADI. See, e.g., In
   not available from any other source is "fa-       re Chrysler Motors Corp. Overnight Eval-
   vorable to requiring production").                uation Program Litig., 860 F.2d at 846
     1 28For these same reasons, the Attorney        (undue hardship exists where "replication
    General has demonstrated that she is un-         of the [work product] would involve dupli-
    able to obtain the requested information or      cation of effort and considerable delay and
    its substantial equivalent without undue         expense"); Washington Bancorp. v. Said,
    hardship. Undue hardship may exist where         145 F.R.D. 274, 279 (D.D.C. 1992) ("the
    shielding fact work product would impose         time and money it would take" to review
    extraordinary expense on the requesting          2,400 boxes of documents to create docu-
    party. See, e.g., In re Intl Sys. & Controls     ment index constitutes undue hardship be-
    Corp. See. Litig., 693 F.2d at 1241 ("[I]n       cause "no value and only waste in requir-
    the ordinary case, the cost of one or afew       ing such a duplicative effort"). Facebook
    depositions is not enough to justify discov-     acknowledges this reality; its position is
    ery of work product.... But there have           simply that the Attorney General must
    been cases in which unusual expense has          conduct her own independent investigation
    constituted undue hardship" [emphasis            for reasons of adversarial fairness. To seek
    added]). Also relevant is the amount of          to obtain the app information, therefore,
    time it would take to obtain or produce the      the Attorney General would have to ex-
    materials independently. See, e.g., In re        pend ania9exorbitant amount of public




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    resources and conduct amultiyear investi-
                                                                 487 Mass. 140
    gation to obtain information that Facebook
    already has in its possession. Such effort          In the MATTER OF Doreen
    and expense is sufficient to demonstrate                 M. ZANKOWSKI.
    undue hardship. See, e.g., Collins & Aik-
    man Corp., 256 F.R.D. at 411 ("A page-by-                     SJC-12850
    page manual review of ten million pages of
                                                  Supreme Judicial Court of Massachusetts,
    records is strikingly expensive in both
                                                                  Suffolk.
    monetary and human terms and consti-
    tutes 'undue hardship' by any definition").            Argued October 7, 2020.
      In sum, we conclude the Attorney Gen-
                                                           Decided March 25, 2021.
    eral has demonstrated both substantial
    need and undue hardship for the fact work     Background: In an attorney discipline
    product about the apps.                       case, hearing panel recommended suspen-
                                                  sion from the practice of law for one year
      3. Conclusion. For the reasons de-
                                                  and aday, but the Board of Bar Overseers
    scribed above, we conclude that the first
                                                  modified the recommendation to a two-
    five requests are not covered by the at-
                                                  year suspension. The Board filed an infor-
    torney-client privilege, as they do not re-
                                                  mation in the Supreme Judicial Court, Suf-
    quire the production of communications
                                                  folk County, and a single Justice of the
    between Facebook and its counsel. As the
    sixth request does include communications     Supreme Judicial Court, Gaziano, J., is-
    covered by the attorney-client privilege,     sued six-month suspension. Bar counsel
    Facebook must produce aprivilege log as       appealed.
    required by the Superior Court judge. We      Holdings: The Supreme Judicial Court,
    therefore affirm the judge's order in these   Lowy, J., held that:
    respects.                                     (1) attorney violated rules of professional
     We also conclude, however, that the              conduct governing excessive fees, dis-
   work product doctrine applies to the docu-         honesty, and fitness to practice law by
   ments requested, and aremand is required           overbilling clients, and
   to determine whether some of the docu-         (2) two-year suspension from the practice
   ments requested constitute opinion work
                                                      of law was appropriate discipline.
   product. We therefore reverse and remand
                                                  Remanded for order of suspension.
   the decision of the Superior Court judge
   concluding that the work product doctrine
   does not apply and that, even if it did,
                                                  1. Attorneys and Legal Services 4=1161
   none of the documents required to be pro-
   duced would reveal opinion work product.           In attorney disciplinary proceeding,
   Finally, we conclude that the Attorney         Supreme Judicial Court reviews record to
   General has demonstrated that there is         determine whether single justice's decision
   substantial need and undue hardship re-        is supported by sufficient evidence, free
   quiring the production of the documents        from errors of law, and free from any
   that do constitute fact work product.          abuse of discretion.

      So ordered.                                 2. Attorneys     and    Legal      Services
                                                        cs=.1163(5)
                                                       While Supreme Judicial Court reviews
                                                  entire record in attorney disciplinary pro-




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                       EXHIBIT N
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Facebook's Brief In Opposition To
  Plaintiffs' Request For Privileged
            Investigatory Materials


      FILED TEMPORARILY UNDER SEAL




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            11

            12                                   UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
            13                                      SAN FRANCISCO DIVISION

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                   IN RE: FACEBOOK, INC. CONSUMER                  CASE NO. 3:18-MD-02843-VC
            16
                   PRIVACY USER PROFILE LITIGATION,
                                                                   DEFENDANT FACEBOOK, INC.'S BRIEF
            17
                                                                   IN OPPOSITION TO PLAINTIFFS'
                   This document relates to:                       REQUEST FOR PRIVILEGED
            18
                                                                   INVESTIGATORY MATERIALS
                   ALL ACTIONS
            19
                                                                   Judge: Hons. Vince Chhabria and
                                                                   Jacqueline Scott Corley
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                                                             INTRODUCTION

                          This brief addresses twenty privilege-log entries Plaintiffs challenge on the basis that the entries

                   do not include the names of attorneys.        Plaintiffs offer no explanation for their position that

                   communications among non-attorneys cannot be privileged. And there is none. The attorney-client
               4

                   privilege and work-product doctrine frequently protect communications between non-attorneys,
               5
                   including in the scenarios Plaintiffs challenge. Indeed, the majority of the entries Plaintiffs dispute
               6
                   refer only to the top email on achain that is otherwise among attorneys and explicitly summarizes or

                   discusses counsel's legal advice. See Scalia v. Int'l Longshore & Warehouse Union, 336 F.R.D. 603,
               8
                   618 (N.D. Cal. 2020).    In other instances, Plaintiffs challenge log entries for materials created by
               9
                   experts whom counsel retained specifically to assist in providing Facebook with legal advice. See Todd
            I()
                   v. MAR Surgical Co., No. CV-14-05263-MWF (RZx), 2015 WL 13388227, at *5 (C.D. Cal. Aug.
            11
                   21, 2015) (citing United States v. Richey, 632 F.3d 559, 566 (9th Cir. 2011) and United States v. Kovel,
            12
                   296 F.2d 918,922 (2d Cir. 1961)). Decades of well-established case law leaves no doubt that materials
            13     of this nature are privileged and protected from disclosure.

            14            The entries Plaintiffs challenge are also protected from disclosure because each relates to

            15     materials from an internal legal investigation, designed and directed by Facebook's outside counsel,

            16     Gibson, Dunn & Crutcher. This investigation—referred to as the App Developer Investigation ("ADI"

            17     or "Investigation")—was designed to assess legal risks as Facebook faced astorm of lawsuits and

            18     regulatory scrutiny in the wake of reporting on data misuse by Cambridge Analytica in March 2018.

                   Based on its experience conducting these types of investigations, and with an eye toward litigation,
            19
                   counsel designed and developed aconfidential, privileged investigation to gather the facts needed to
            "
            )(1)

                   provide advice to Facebook about litigation, compliance, regulatory inquiries, and other legal risks.
            -)1

                   The Investigation was retrospective in nature, its details were kept confidential, and, at all times,

                   counsel worked toward aquintessentially legal goal: to identify and address potential legal exposure
            23
                   arising from other apps that posed risks similar to those unearthed in connection with Cambridge
            "
            )4
                   Analytica, before Facebook put additional safeguards in place in 2014.
            -)5
                          Plaintiffs now seek to bypass the limits of discovery and demand that Facebook hand over its
            -) 6
                   attorneys' assessment of the risks that certain apps and developers may pose for the Company in this
            )7
            -
                   lawsuit and others. But that is precisely what the long-standing laws of privilege and work product are
           28      designed to prevent. Indeed, in structuring and directing the Investigation, Facebook relied on the well-

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               1    established protections for such legal investigations grounded in seminal cases like qjohn Co. v.

                    United States, 449 U.S. 383 (1981) and Rule 26(b)(3). Communications and documents prepared in

                    connection with the Investigation are privileged whether or not an attorney sent or received them.

                             This brief proceeds in two parts. First, Facebook describes the Investigation and explains why
               4

                    Investigation materials—including those sent and received by non-attorneys, such as those
               5
                    challenged—are protected by the attorney-client privilege and work-product protection.           Second,
               6
                    Facebook addresses each of the specific log entries Plaintiffs challenge and details how each reflects

                    counsel's legal advice or work prepared at counsel's direction to allow counsel to advise Facebook.
               8
                             The Court should deny Plaintiffs' request and hold that materials from Facebook's Investigation

                    conducted by and at the direction of counsel are protected by the attorney-client privilege and work-
            10
                    product protection and that each of the documents Plaintiffs challenge was properly withheld.
            11
                                                                 BACKGROUND
            12
                    1.       In March 2018, The Media Reports Data Misuse by Cambridge Analytica
            13               On March 17, 2018, media outlets broke the news that acompany called Cambridge Analytica

            14      misappropriated data regarding millions of Facebook users from an app developer named Aleksandr

            15      Kogan. Kogan had created apersonality quiz app on Facebook's platform five years earlier called

            16      "thisisyourdigitallife." SACC, Dkt. 491      ri   394, 397. Through that app he obtained data from users

            17      who downloaded it. Consistent with Facebook's pre-2014 policies, he also obtained limited data about

            18      those users' friends through "friend sharing," so long as those friends "had their privacy settings set to

            19
                    allow it." id.   ¶¶ 397-99.   Kogan then violated Facebook's policies and terms of use and sold this data

                    to Cambridge Analytica. id. ¶411. Facebook changed its platform in 2014 to reduce data access (e.g
            ")(1)
                    transitioned away from friend sharing)
            -)1

                    II.      This Case and Dozens of Related Cases are Filed Against Facebook

                             Three days after the media broke the Cambridge Analytica story, a nationwide consumer
            23
                    protection class action was filed against Facebook in this Court on March 20, 2018. See Price v.
            "
            )4
                    Facebook, No. 3:18-cv-01732-VC (N.D. Cal.), Dkt. 1. This was just the tip of the iceberg. Given the
            -)5
                    nature of the news, Facebook anticipated it soon would face aflood of litigation. And it was right.
            -) 6
                    Within weeks, asingle class action morphed into nearly 40 (which were consolidated into this MDL)
            )7
            -
                    and Facebook faced dozens of other lawsuits and regulatory inquiries across the country. At least sixty-
           28       five cases relating to the Cambridge Analytica events and information shared with third parties through

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               1   friend sharing have been filed since March 2018, in addition to inquiries from numerous regulators.

                   III.    Facebook Hires Gibson Dunn to Design and Launch aRetrospective Internal
                           Investigation to Assess Legal Risk

                           To prepare for anticipated and actual litigation, Facebook's in-house legal team hired Gibson,
               4   Dunn & Crutcher, to conduct an internal investigation and advise the company on its litigation risks

               5   and strategy.   The Investigation was structured as aconfidential, internal, retrospective, and legal-

               6   driven review into developers and apps that were active on Face. .book before it changed its platform

                   in 2014 to reduce data access and transition away from friend sharing. The Investigation's primary

               8   purpose was to review apps that had access to large amounts of data before the 2014 platform changes,

                   with the core goal of uncovering and assessing legal risks posed by other apps that obtained data
               9

                   through friend sharing and providing legal advice to Facebook about legal challenges those apps might
            1()
                   present in this litigation and other related cases.
            11
                           Gibson Dunn has extensive experience conducting cybersecurity and data privacy internal
            12
                   investigations, and with Facebook's in-house counsel, it managed and oversaw all stages of the
            13
                   Investigation.' Under counsel's leadership, the team devised and tailored the Investigation's methods,
            14
                   protocols, and strategies. Gibson Dunn also led the recruitment of and retained technical experts and
            15
                   investigators, including two leading forensic consulting firms with expertise in assisting with
            16
                   technology-focused investigations. 2
            17
                           Facebook attorneys, along with acore Investigation team, including employees with expertise
            18     from various departments, collaborated with Gibson Dunn to build out the Investigation. Counsel also

            19     took steps to ensure that communications by and among individuals working on the Investigation

            20     remain confidential and privileged, including by limiting communications about the Investigation and

            -)1    restricting access to investigatory documents.

                   IV.     The Investigation Is Distinct from Facebook's Regular Enforcement Efforts

            23             Consistent with its litigation purpose, the Investigation is fundamentally different than

            "
            )4
                   I See Decl. of Stacy Chen in Support of Respondent's Opposition to the Attorney General's Petition, At-
            -)5    torney General v. Facebook, Inc., (Mass. Super. Jan. 17, 2020) (No. 1984cv02597-BLS-1, Dkt. 29) (hereinaf-
                   ter "Chen Decl."). Facebook does not submit declarations in support of its brief pursuant to the Court's in-
            -) 6
                   structions but refers the Court to the January 17, 2020 Declaration of Stacy Chen, which addresses the factual
                   assertions made in this brief. Id. If the Court would like additional declarations to support Facebook's factual
            )7
            -      representations, Facebook will submit them at the Court's request.
                   2    Gibson Dunn attorneys and members of the consulting firms at times used Facebook email accounts
           28      (@fb.com), rather than their own firm's email accounts, in order to access internal Facebook tools and infor-
                   mation required for the Investigation.

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               1   Facebook's preexisting monitoring, compliance, and enforcement efforts.             Facebook's ordinary

                   policing of its platform is conducted by ateam known as Developer Operations, or "DevOps." DevOps

                   monitors, in real time, daily app and developer behavior with the aim of identifying abnormalities that

                   might signal potential policy violations. DevOps enforces Facebook policies, and has developed its
               4

                   own rubrics and procedures for how to enforce those policies against bad actors. On occasion, DevOps
               5
                   may elevate an issue to attorneys for guidance, but it is generally not alegal-supervised effort.
               6
                          By contrast, the Investigation was launched following the 2018 media reports about Cambridge

                   Analytica specifically to address potential regulatory and litigation risks—including in this case—
               8
                   posed by apps that had been on the Facebook platform before it changed its policies in 2014. The
               9
                   Investigation is not aroutine, ordinary course, or real-time policy monitoring effort. It is aretrospective
            1()
                   legal lookback, focused on afinite, albeit large, set of apps and developers that may have had access
            11
                   to large sets of user data before 2014. Unlike DevOps, which operates under the guidance of non-
            12
                   lawyer employees, the Investigation is and always has been attorney-led and it has served primarily to
            13     inform legal decision-making.     Indeed, Facebook's counsel has used information generated in the

            14     Investigation to advise the company about how to respond to numerous litigations—including this

            15     one—to mitigate legal risks, and to initiate lawsuits against developers.

            16     V.     Plaintiffs Demand Access to All of Facebook's AD! Materials

            17            Plaintiffs now seek to improperly commandeer the fruits of Facebook's confidential, privileged

            18     internal Investigation. Like Facebook, Plaintiffs want to explore whether other bad actors may have

                   misused Facebook user data before Facebook changed its data-sharing policies in 2014. But rather
            19

                   than investigate those issues through proper civil discovery tools, Plaintiffs demanded that Facebook
            ")()
                   produce every single document from, about, or relating to its Investigation, which was designed to
            -)1

                   identify legal risks and provide legal advice about those risks. See July 13, 2020 Hr'g Tr. at 40:11-12.

                   This unrestrained request asked Facebook to hand over hundreds of thousands (perhaps millions) of
            23
                   privileged documents created specifically to assess legal risks, including in this case.
            "
            )4
                          A.      Facebook Produces Non-Privileged Materials
            -)5
                          In response to Plaintiffs' blanket demand for Investigation documents, Facebook agreed to
            -) 6
                   produce materials related to its regular platform enforcement efforts, consistent with the fourth live
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            -
                   theory of this case—which concerns Facebook's efforts to enforce how certain third parties used user
           28      data. See Pretrial Order 20, Dkt. 298 at 9.      Facebook already produced thousands of documents

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               1   regarding app enforcement, and the parties have also negotiated 25 search strings regarding platform

                   enforcement that hit on hundreds of thousands of additional documents.

                           Facebook further agreed to collect and produce non-privileged materials relating to the

                   Investigation and already produced more than 30,000 pages of non-privileged materials from the
               4
                   Investigation, which are communications with third parties about the Investigation.                     These
               5
                   communications are largely with the apps Facebook investigated, and include, among other things,
               6
                   Facebook's Requests for Information, the apps responses to those requests, and correspondence with

                   the apps regarding the results of Facebook's Investigation, including if the app had been suspended.
               8
                           Facebook objected only to producing Investigation materials that constitute attorney-client
               9
                   communications and documents reflecting its attorneys' strategy, mental impressions, conclusions, and
            10
                   legal theories. It also made clear that—given the large number of privileged documents—it would be
            11
                   unduly burdensome for Facebook to review and log all privileged documents from the Investigation. 3
            12
                           B.      The Court Orders the Parties to Identify Representative Materials
            13             Recognizing the significant volume of documents at issue, the Court directed the parties to take

            14     this privilege dispute "in pieces," July 13, 2020 Hr'g Tr. at 41:22, and to devise an exemplar privilege

            15     log to provide Plaintiffs and the Court with representative entries to assess Facebook's privilege claim.

            16             Facebook proposed, and the parties agreed to, a logging exercise that would provide a

            17     comprehensive and representative sampling to fully address this dispute. See Dkt. 518, 518-A. The

            18     parties agreed to six exemplar apps (of the millions addressed by ADI) falling into three categories and

                   core ADI custodians against whose files Facebook would run the selected apps' names and ID numbers.
            19
                           Facebook then reviewed the materials identified.          It produced responsive, non-privileged
            -) 0

                   materials relating to the exemplar apps, which consist of third-party communications relating to the
            -)1
                   Investigation. Facebook prepared and served six privilege logs—one for each exemplar app—which

                   collectively contain about 6,100 entries. These logs have been provided to the Court as Excel files.
            23
                           C.      Plaintiffs Challenge Privileged Documents Not Sent or Received by Attorneys
            "
            ),4
                           Under the parties' stipulation, Plaintiffs were required to "identify in writing any particular
            -)5
                   privilege log entries that it asserts are not privileged" and explain the challenges "with reasonable
            -) 6


            )7
            -
                   3     Nor should Facebook have to. The Parties stipulated that they need not log as privileged "[c]ommunica-
                   tions between aparty and its outside counsel or inside counsel, or between inside and outside counsel, in con-
            28     nection with this Action (on or after the March 20, 2018 commencement of the Action), and work product ma-
                   terial prepared in connection with this Action (after commencement of the Action)." Dkt. 462 at ¶C(5).

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                                            PRIVILEGED INVESTIGATORY MATERIALS                                                01;27,
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               1   specificity ...as to each privilege log entry." Dkt. 462 $1 D(1)-(4). In violation of this requirement,

                   Plaintiffs challenged every single entry on Facebook's logs that does not include the name cf an

                   attorney (about 400 of the 6100 entries). Plaintiffs provided no basis for their sweeping challenges and

                   refused to meet and confer in an effort to narrow the parties' dispute, as their stipulation requires. Id.
               4

                            On January 15, the Court ordered Plaintiffs to "select 20 entries, from the previously identified
               5
                   400" from which it would assess Facebook's privilege claim, Discovery Order 12, Dkt. 602 If A, and
               6
                   advised "that should be the end of the matter." Jan. 15, 2021 Tr. at 6:2. Plaintiffs identified 20 entries,

                   but provided no basis for challenging them other than that they do not include the names of attorneys.
               8
                                                                  ARGUMENT

                   I.       ADI is aPrivileged Legal Investigation 4
            10
                            Contrary to Plaintiffs' blanket challenge, communications and documents prepared in
            11
                   connection with the Investigation—which was created and led by attorneys to advise Facebook in
            12
                   actual and anticipated litigation—are privileged and protected by the work-product doctrine whether
            13     or not an attorney sent or received them. Nearly all of the documents Plaintiffs challenge contain

            14     communications between an attorney and client for the purpose of giving legal advice, while others are

            15     communications containing information collected for purposes of seeking legal advice. All were part

            16     of Facebook's attorney-driven Investigation and are protected from disclosure.

            17              A.     Investigation Materials are Protected by the Attorney-Client Privilege

            18              "The attorney-client privilege protects confidential communications between attorneys and

                   clients, which are made for the purpose of giving legal advice." United States v. Sanmina Corp., 968
            19
                   F.3d 1107, 1116 (9th Cir. 2020) (citing 4john, 449 U.S. at 389). It is "the oldest of the privileges for
            20
                   confidential communications known to the common law," and its "purpose is to encourage full and
            -)1
                   frank communication between attorneys and their clients and thereby promote broader public interests

                   in the observance of law and administration of justice." Ujjohn, 449 U.S. at 389. "More than three
            23
                   decades ago, the Supreme Court held that the attorney-client privilege protects confidential employee
            "
            )4
                   communications made during abusiness's internal investigation led by company lawyers." In re
            -)5

                         Facebook anticipates Plaintiffs will cite aruling regarding the Investigation from the Massachusetts Supe-
            -) 6
                   rior Court with respect to certain documents sought by the Massachusetts Attorney General in connection with
                   an ongoing regulatory investigation. This is ared herring. First, this decision is on appeal to the Massachu-
            )7
            -
                   setts Supreme Judicial Court, which granted direct review of the Superior Court's decision. Second, while the
                   Superior Court rejected Facebook's work-product assertion as to certain of the information requested by the
            28     Massachusetts Attorney General (which is being considered on appeal), the court recognized that many of the
                   materials may be protected by the attorney-client communications privilege.

                                                                 6
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                1    Kellogg Brown & Root, Inc., 756 F.3d 754, 756 (D.C. Cir. 2014) (Kavanaugh, J.). Facebook relied

                     upon these well-settled legal principles in designing and conducting the Investigation, and they

                     decisively protect Facebook's Investigation documents.

                                    1.      The Attorney-Client Privilege Protects Non-Lawyer Communications
                4

                            Plaintiffs'   primary   argument   is   that   the   attorney-client   privilege   cannot   apply to
                5
                     communications an attorney did not send or receive. This is not the law. The attorney-client privilege
                6
                     protects communications between non-attorneys in all of the scenarios Plaintiffs challenge.             For

                     example, documents and communications between non-attorneys that summarize, relay, or discuss
                8
                     obtaining legal advice are protected by attorney-client privilege. See, e.g., Fosbre v. Los Vegas Sands
                9
                     Corp., 2016 WL 183476, at *9 (D. Nev. Jan. 14, 2016).              Likewise, communications containing
               1()
                     information "compiled by [employees] for the purpose of seeking legal advice and later communicated
            11
                     to counsel are [also] protected by attorney-client privilege." AT&T Corp. v. Microscft Corp., 2003 WL
            1")
                     21212614, at *3 (N.D. Cal. Apr. 18, 2003)). And, contrary to Plaintiffs' challenges, attorney-client
            13       privilege often applies to third parties retained by counsel. Todd, 2015 WL 13388227, at *5 (citing

            14       Richey, 632 F.3d at 566 and Kovel, 296 F.2d at 922). Plaintiffs' boilerplate challenge to every entry

            15       on Facebook's logs that does not include the name of an attorney ignores these well-settled rules.

            16                      2.      The Attorney-Client Privilege Protects Factual Communications

            17              The Supreme Court has also long recognized that the attorney-client privilege extends to

            18       communications in which aclient provides its lawyer with facts necessary to render legal advice. See

                     Ugohn, 449 U.S. at 390. As the Court recognized in Uljohn, the attorney-client privilege exists "to
            19
                     protect not only the giving of professional advice to those who can act on it but also the giving cf
            ")(1)
                     irformation to the lawyer to enable him to give sound and irformed advice." id. (emphasis added).
            -) 1
                     Courts routinely hold that even purely factual exchanges involving nonlegal personnel are protected

                     from disclosure so long as those facts are gathered at counsel's direction for the purpose of providing
            23
                     legal advice. See AT&T, 2003 WL 21212614, at *3; Fed. Trade Comm 'ii v. Boehringer Ingelheim
            "
            )4
                     Pharms., Inc., 180 F. Supp. 3d 1, 30, 34 (D.D.C. 2016) (attorney-client privilege protects "factual
            -)5
                     material compiled during acorporation's internal investigations ....at counsel's request for later use
            -) 6
                     in providing legal advice" and "extend[s] to communications between corporate employees who are
            )7
            -
                     working together to compile facts for in-house counsel to use in rendering legal advice").
            28              Gibson Dunn and Facebook's legal team designed and conducted the Investigation specifically


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                              DEFENDANT FACEBOOK, INC.'S BRIEF IN OPPOSITION TO PLAINTIFFS' REQUEST FOR
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                                              PRIVILEGED INVESTIGATORY MATERIALS                                             0T, 2R
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               1
                   to gather facts needed to provide legal advice about litigation and other legal risks. The attorney-client

                   privilege protects communications gathering and conveying these facts.

                                   3.       Facebook's Public Statements Did not Waive Privilege

               4           Plaintiffs previously suggested that Facebook waived privilege over the Investigation because

               5   it made high-level public statements disclosing that it was conducting an investigation. 5 Given the

               6   highly publicized nature of the Cambridge Analytica events—and consistent with Facebook's ongoing

                   commitment to transparency—Facebook has made occasional generalized public statements about the
               7
                   Investigation. But these high-level statements mention only the Investigation's existence and general
               8
                   goals, 6 do not disclose the substance of attorney-client communications, and do not create waiver.
               9
                           Courts in this Circuit have recognized implicit waivers of privileged communications only
            10
                   where aparty has used the attorney-client privilege as both a"sword" and a"shield" to gain alitigation
            11
                   advantage. See, e.g., Firjan, Inc. v. Sonicwall, Inc., 2018 WL 4998149, at *4 (ND. Cal. Oct. 15, 2018)
            1
            7
                   (citing Chevron Corp. v. Pennzoil Co., 974 F.2d 1156 (9th Cir. 1992); Apple Inc. v. Samsung Elecs.
            13
                   Co., Ltd., 306 F.R.D. 234, 241-43 (N.D. Cal. 2015)). Nothing of the sort occurred here. Facebook
            14
                   never affirmatively used statements about the Investigation as asword to advance its case, nor have
            15     any of Facebook's statements put the substance of the communications Plaintiffs challenge at issue.
            16     See, e.g., Dukes v. Wal-Mart Stores, Inc., 2013 WL 1282892, at *6-9 (N.D. Cal. Mar. 26, 2013) (Corley,

            17     M.J.) (privilege not waived by generalized statements that provided "no information about the actual

            18     content" of aprivileged memorandum, and the company had not attempted to use it in litigation).

            19     II.     Investigation Materials Fall Within the Work-Product Protection

           20              The work-product protection also covers the materials that Plaintiffs seek. The work-product

            -)1    doctrine, which is grounded in Federal Rule of Civil Procedure 26(b)(3), "protects 'from discovery

                   documents and tangible things prepared by aparty or his representative in anticipation of litigation.'"

                   Sanmina Corp., 968 F.3d at 1119 (quoting Admiral Ins. Co. v. U.S. District Court, 881 F.2d 1486, 1494
            23
                   (9th Cir. 1989)). The doctrine "shelters the mental processes of the attorney... and protects both
            74


            -)5
                   5    Because this briefing is simultaneous, Facebook responds to the arguments it anticipates Plaintiffs will
                   make. If the court is inclined to make aruling based on an argument Facebook has not anticipated, Facebook
            76     requests the opportunity to submit supplemental briefing on that issue before the Court issues aruling.
                   6    For example, on March 21, 2018, Facebook's founder Mark Zuckerberg publicly announced the Investi-
            )7
            -
                   gation, explained its purpose as "investigat[ing] all apps that had access to large amounts of information before
                   we changed our platform to dramatically reduce data access in 2014," and stated that the company would in-
           28      form users if their personal data is found to have been abused. See Ittps://www.facebook.conilzuck/posts/
                   10104712037900071.

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               1   material prepared by agents for the attorney as well as those prepared by the attorney himself" id.

                   (internal quotations and citation omitted). "The primary purpose of the work-product rule is to prevent

                   exploitation of aparty's efforts in preparing for litigation." id.

                          Plaintiffs seek to end-run this doctrine. Rather than serve tailored discovery requests to develop
               4

                   their case, they seek to commandeer work conducted by Facebook's counsel in connection with
               5
                   assessing legal risks certain apps and developers may pose for Facebook in this case and other related
               6
                   actions. The Court should reject this transparent attempt to invade Facebook's attorney work product.

                          A.      The Materials Were Created Because of Actual and Anticipated Litigation
               8
                          The work-product protection extends to documents generated in connection with an
               9
                   investigation, so long as the materials were prepared "because cf the prospect of litigation." Richey,
            1()
                   632 F.3d at 568 (emphasis added). This is true even if documents prepared at the direction of counsel
            11
                   to assist in defending against litigation also prove useful for other purposes, which is often the case.
            12
                   See In re Grand Jury Sulpoena (Mark Totj/TorfEnvtl. Mgmt.), 357 F.3d 900, 908-09 (9th Cir. 2004).
            13     The key question in determining whether information was generated "because of' litigation is whether

            14     it "would not have been created in substantially similar form but for the prospect of that litigation."

            15     Phoenix Techs. Ltd. v. YMware, Inc., 195 F. Supp. 3d 1096, 1102 (N.D. Cal. 2016) (quoting In re

            16     Grand Jury Sutpoena, 357 F.3d at 908).

            17            The investigatory materials at issue were unquestionably created because of anticipated and

            18     actual litigation. When Facebook commenced the Investigation, it faced numerous lawsuits, including

                   this one, and the prospect of many more to come—all concerning the issues on which the Investigation
            19
                   focused. Facebook's in-house and outside counsel designed the Investigation to gather the facts needed
            20
                   to provide legal advice to Facebook about litigation, compliance, regulatory inquiries, and other legal
            -)1

                   risks facing the Company. There is no question the materials at issue here would not have been created

                   but for those actual and anticipated actions.
            -r)
                          B.      Factual Investigatory Materials Are "Opinion" Work Product
            "
            )4
                          The work product protection covers factual materials created as part of alegal investigation.
            -)5
                   Investigatory materials created in connection with "a litigation-related investigation are likely to be
            -) 6
                   permeated with the investigator's own impressions and possibly even attorney theories or strategy, and
            -)7
                   are therefore protected from discovery." Mitchell Eng'g v. City & Cty. cf S.F., 2010 WL 1853493, at
            28     *1 (N.D. Cal. May 6, 2010) (internal citations omitted). Attorneys "use[] their knowledge about the

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               1   facts and theories of the case to identify and filter which facts and comments [are] important to [an]

                   investigation." S.E.C. v. Schroeder, 2009 WL 1125579, at *7 (N.D. Cal. Apr. 27, 2009), oljections

                   overruled, 2009 WL 1635202 (N.D. Cal. June 10, 2009). For this reason, even factual data can reflect

                   counsel's opinions or legal theories, when compiled at an attorney's direction. See, e.g., id.
               4
                           Some of the documents Plaintiffs challenge are factual in nature. Those materials are the direct
               5
                   result of analyses involving attorney-derived criteria and judgment about legal risk, and thus reflect the
               6
                   thought processes of counsel concerning, among other things, the types of app features or activities

                   counsel identified as indicating potential policy violations and where counsel would look for potential
               8
                   data and privacy vulnerabilities. Without counsel's mental impressions, analysis, and legal advice, the
               9
                   information Plaintiffs seek would not exist. Plaintiffs may serve proper discovery requests to develop
            10
                   facts in support of their case. But they cannot simply piggyback on counsel's work. See Richey, 632
            11
                   F.3d at 567 ("The work-product doctrine covers documents or the compilation of materials prepared
            12
                   by agents of the attorney in preparation for litigation."). The documents and information from the
            13     Investigation are quintessential examples of privileged materials protected from disclosure.

            14     III.    Each of the Documents Plaintiffs Challenge is Independently Privileged

            15             As discussed above, the materials Plaintiffs seek are categorically protected under the attorney-

            16     client privilege and the work-product doctrine, which the documents Plaintiffs challenge illustrate.

            17             Plaintiffs initially challenged wholesale every entry on Facebook's privilege logs that does not

            18     include the name of an attorney (about 400 of 6100 entries). Plaintiffs then identified 20 of those

                   entries to brief. The entries Plaintiffs identified in fact confirm that the Investigation was directed by
            19
                   attorneys for the purpose of assessing legal risks. Indeed, most of the entries Plaintiffs challenge are
            -) 0

                   the top email on an email chain among attorneys, attachments originally circulated by or to attorneys.
            -)1
                   or materials created to seek legal advice.'

                           Facebook addresses the entries Plaintiffs identified for this briefing below, explaining how each
            23
                   entry is privileged. 8 Facebook reminds the Court that Plaintiffs have not identified any bases for their
            "
            ),4


            -)5
                   7     If Plaintiffs had fulfilled their obligation to meet and confer about the challenged documents, Facebook
                   would have provided Plaintiffs with this context. This would likely have avoided burdening the Court with
            -) 6
                   this and other straightforward privilege disputes.
            )7
            -           Facebook agreed to produce two documents it logged originally—a communication Plaintiffs identified
                   (FB-ADI-0000003224) and its parent email. These documents are not ADI-related and were inadvertently
            28     captured by the searches used for this exercise. See Ex. A (letter fund D. Stein). Facebook confirmed it is not
                   withholding other similar materials. Id. For this reason, Facebook discusses 19 documents (not 20) below.

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                 1   challenges other than that no attorney appears on the challenged entries they dispute.           Because

                     Facebook is not aware of the specific arguments Plaintiffs intend to make, for each document, Facebook

                     describes the challenged entry, explains why the referenced document is facially privileged, and

                     provides surrounding context to better illustrate the document's privileged nature. Facebook submits
                4

                     each of the challenged documents as exhibits for in camera review, in addition to other documents,

                     such as the email chain by which challenged attachments were sent, to provide additional context. 9
                6
                              A.      Documents Summarizing, Reflecting, or Relaying Attorney Advice are Privileged
                7
                              Plaintiffs challenge anumber of documents that summarize or relay counsel's legal advice,

                     which are addressed in this section. Such materials are indisputably privileged—even when they are
                9
                     sent by non-attorneys to other non-attorneys. "Communications between non-attorney employees for
               10
                     purposes of obtaining or relaying legal advice are protected by the attorney-client privilege." Fosbre,
               11
                     2016 WL 183476, at *9; see also Scalia, 336 F.R.D. at 618 (when "employees discuss or transmit legal
               12
                     advice given by counsel," the communications are protected).
               1.3       Document #            Log ID #                 Bases for Withholding

                         Document 1            FB-ADI-000000054 I       Attorney-client privilege; work product.
               14

                          Plaintiffs challenge an attachment, likely because it was sent by one non-lawyer to another non-
               15
                          lawyer, but this document is privileged on its face. The context further confirms that the
                          attachment was sent as part of aprivileged conversation, pursuant to aprivileged investigation
               16
                          directed by counsel, and originally circulated by an attorney. Plaintiffs concede the attachment
                          as originally circulated by an attorney is privileged by not challenging the underlying email.
               17
                          The challenged document plainly summarizes Gibson Dunn's advice on the investigation
           18             and its preliminary findings for its client, making it both aprivileged communication and
                          protected by the work-product doctrine. The challenged document is aset of slides.
           19

           20
                          The full email chain further demonstrates that the challenged attachment is properly
           21             withheld as privileged. The email to which the challenged document is attached is the top email
                          on achain among attorneys. The chain originates with                the in-house attorney =
           22                                                                                                    emairis
                          marked       Pnv an "ATTORNEY WORK PRODUCT CREATED IN ANTICIPATION OF
           23             LITIGATION AT THE DIRECTION OF COUNSEL." Plaintiffs do not dispute that
                                                                       is privileged or that the slides are priMlual
           24             attached to            email,

           25             When Gibson Dunn's legal advice was forwarded a ain               it did not waive irivilee.

           26
                                                                subset uent discussion of this .
                                                                                               rivile ed email
           27

           28        9    On these materials Facebook highlights in yellow names of Gibson Dunn attorneys and consultants re-
                     tained by Gibson Dunn, many of whom used "®fb.com" email addresses for their work on the Investigation.

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                1


                     Document 1#             Log ID #                 IBases for Withholding
                     Document 2              FB-ADI-0000000004         Attorney-client privilege; work product.
               4
                      Plaintiffs challenge as Document 2an earlier version of Document 1. As discussed above, this
                      is aset of slides conveying counsel's advice and work product. Ex. 2A.
                5
                      The context of the full email chain—which contains a discussion of legal advice and is
                6     indisputably privileged—further demonstrates that the challenged document was properl
                      lo ed and withheld.


                8
                                                                                                                          is
                      discussion among core ADI team members,                                                        waives
                      privilege over slides providing adetailed description of counsel's advice and findings.
            10
                     Document #            ILog ID #                  IBases for Withholding
            11
                     Document 3              FB-ADI-0000004935        IAttorney-client privilege; work product.
            1')
                      Plaintiffs challenge an image embedded in an email, likely because it was sent by one non-lawyer
            13        to another non-lawyer, but this image is privileged on its face. The surrounding context further
                      shows the image was sent as part of aprivileged communication, pursuant to an investigation
            14        directed by counsel and was circulated to Gibson Dunn attorneys. Plaintiffs concede the image
                      as originally circulated to Gibson Dunn is privileged by not challenging the underlying email.
            15
                       The challenged image plainly summarizes Gibson Dunn's legal advice on the
            16         Investigation's focus and key priorities for its client, making it both a privileged
                       communication and protected by the work-product doctrine. The image summarizes Gibson
            17         Dunn's advice re ardin the Investigation's score and desi

               1S      The full email chain—which details Gibson Dunn's findings and recommendations and
                       solicits legal advice—further demonstrates the challen ed ima ewas ro led withheld as
               19      privile. ed.

            20

            21                                                                                P ainti s onot aissute tIS
                       emai   ortie ima.es as emiei ie. in it


            23                                                               Pmatt sagain o not eispute tat tese
                      commumcations see         g ega a vice wit        te images embedded lower on the chain) are
            "
            )4        privileged.
                      Privilege still attaches when one core ADI team member responds directly to another on
            25        this chain. Plaintiffs' challen eis iresumabi based on the fact that, in the to email on the
                      chain,
            -) 6


            -) 7

           28            Due to the manner in which documents are processed and produced for litigation, the images appear as
                    separate documents here, but they were not intended to be, and were not, freestanding.

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               1     team members regarding advice sought from counsel is plainly privileged and does render the              -
                     privilege waived for an image that was originally circulated to counsel and provides asummary
                     of counsel's advice and findings.


                    Document #           ILog ID #                  1Bases for Withholding       Em—
               4
                    Document 4            IFB-ADI-00000048 78       IAttorney-client privilege; work product.

               5
                     Plaintiffs challenge this email, presumably because it was a communication between non-
                     lawyers, but the email is plainly privileged. The challenged email cannot be separated from the
               6
                     rest of the email chain, which was initially sent to in-house counsel          and Gibson Dunn
                     attorneys pursuant to aprivileged investigation, and which Plaintiffs concede is privileged.
                     The challenged email relays Gibson Dunn's advice, making it both a privileged
               8     communication and Drotected by the work- roduct doctrine.




            1

            11       The full email chain, which includes Gibson Dunn attorneys and summarizes their legal
                     advice, further demonstrates that the email was properly withheld as privileged. The
            1')      challen ed email is the top email on an email chain sent to numerous attorneys. id. The chain

            13                                                                        is a                PRIV an
                     "ATTORNEY WORK PRODUCT CREATED IN ANTICIPATION OF LITIGATION AT THE
            14       DIRECTION OF COUNSEL." Recipients include Gibson Dunn attorneys, as well as Facebook's
                     lead in-house counsel on the Investigation at the time                 Plaintiffs do not dispute
            15       that this email is privileged. The subsequent communications on the email thread include a
                     discussion about Gibson Dunn's legal advice and seek additional legal advice from Gibson
            16       Dunn. Plaintiffs also do not dispute that these emails are Drivile2ed.

            17

            18      Document #             Log ID #                  Bases for Withholding
                    Document 5             FB-ADI-0000006118         Attorney-client privilege; work product.
            19

                     Plaintiffs likely challenge this attachment because it was sent by one non-lawyer to another non-
            'NJ
                     lawyer, but the attachment is facially privileged. The email chain further shows it was originally
            -)1      sent by a Gibson Dunn attorney, in a privileged conversation, pursuant to the privileged
                     Investigation. Plaintiffs concede the attachment as circulated by Gibson Dunn is privileged by
                     not challenging the underlying email or its attachments (which include the challenged
                     document).
            23       The challenged document relays Gibson Dunn's advice on the Investigation's design,
                     status, and next steps, making it both aprivileged communication and protected b the
            24       work- roduct doctrine.

            -)5                                                     It is a ees Privi ege          on ii entia
                     Attorney Wor Pro uct —Attorney-C lent Communication," and it is facially privileged.
            -) 6
                     The full email chain, which discusses afuture meeting between Gibson Dunn and Facebook
                     about ADI. further demonstrates the challenged document was properly withheld as
            )7
            -



            28          The email contains anumber of embedded images, which due to production format appear as grey boxes
                   with separate email attachments. These images are attached for the Court's convenience as Exhibits 4B -
                                                                                                                         E.

                                                               13
Gibson, Dunn 8.
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                 1     privileged. The email to which the challenged document is attached is the top entry in achain
                       among attorneys. The chain reflects that the challenged document was prepared and originally
                       sent by a Gibson Dunn attorney in advance of a meeting with Gibson Dunn and Facebook
                       personnel. Ex. 5B (second communication in thread). Plaintiffs do not dispute that earlier emails
                       on the chain from Gibson Dunn attorneys (including the email circulating this document) are
                       privileged.
                4
                       Forwarding Gibson Dunn's analysis to an ADI team member does not constitute waiver.
                       Plaintiffs' challenge is presumably based on the fact that arecipient of Gibson Dunn's analysis,
                       forwarded it to another original recipient of Gibson Dunn's email for the purposes of providing
                       instructions regarding the upcoming meeting. Nothing about this discussion among ADI team
                6
                       members to prepare for meeting with counsel waives privilege.

                             B.      Communications With and Among Experts Operating at the Direction of
                                     Counsel are Privileged

                             Plaintiffs challenge various communications with and documents prepared by experts retained
                9
                     by Gibson Dunn to assist it in providing legal advice to Facebook. These experts were engaged directly
               10
                     by Gibson Dunn to operate as an extension of counsel and to support counsel in investigating,
               11
                     understanding, and identifying apps and developers that could have potentially misused user data and
           1
           2
                     advising Facebook about legal risk issues. The experts assisted in interpreting technical findings and
               13
                     data. They also assisted in developing an investigative framework that reflected counsel's assessment
               14
                     of risky app and developer profiles, how counsel should prioritize its review, and when Facebook
               15
                     should pursue further action.

               16            The attorney-client privilege extends to "communications with athird party" where, as here,

               17     that third party has been retained as an agent for the purposes of assisting alawyer in providing advice

           18        to aclient." Todd, 2015 WL 13388227 at *5 (citing Richey, 632 F.3d at 566 and Kovel, 296 F.2d at

           19        922). "The vital element to the assertion of the privilege ...is that the communication be made in

           20
                     confidence for the purpose of obtaining legal advice from the lawyer." id. (internal quotations and

                     citation omitted). Similarly, the work-product protection extends to the work and mental impressions
           21

                     of consultants retained by counsel to assist in the provision of legal advice.          See Fed. R. Civ. P.

                     26(b)(3)(A) ("[A] party may not discover documents and tangible things that are prepared in

                     anticipation of litigation or for trial by or for another party or its representative ....").
           24

                      Document # —            Log 11) #                  Bases for Withholding
               )ti
                      Document 6              FB-ADI-0000004849          Attorney-client privilege;   work product
                      Document 7              FB-ADI-0000004850          Attorney-client privilege;   work product
           26         Document 8              FB-ADI-0000004851          Attorney-client privilege;   work product
                      Document 9              FB-ADI-0000003218          Attorney-client privilege;   work product
           27
                       Plaintiffs challenge four attachments, presumably because they were attached to emails sent by
           )8
           -           a non-lawyer to other non-lawyers, but these documents are facially privileged. The context
                       provided in the full email chains shows that the attachments were originally circulated to in-

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                1   home attnrneve—includin a
                               in aprivileged communication, pursuant to the privileged Investigation. Plaintiffs
                    concede the attachments as originally circulated are privileged by not challenging the underlying
                    email or the challenged document as attached to it.
                    The challenged documents reflect Gibson Dunn's legal advice and were prepared at the
                    direction of counsel to facilitate adiscussion about the Investigation's structure, making
               4
                    them both privileged communications and protected by the work-product doctrine.
                5   The first attachment (FB-ADI-0000004849) is an agenda prepared at Facebook Le al's direction
                    to facilitate a discussion
                6
                                The agenda is labeled "AC PRIV," is privileged on its face as an attorney-client
                    communication, and is also protected by the work-product doctrine.
                    The second attachment FB-ADI-0000004850 is atable of investigative records
                8




            10                               or the continued provision of legaladvice. It reveals the menta
                    impressions of counsel, and it is privileged on its face and protected by the work-product
            11      doctrine.

            1')     The third attachment FB-ADI-0000004851 is also atable of investi ative records

            13                                                                                      A atn, the table

            14
                                                                                                            an   it is
            15
                    privi ege •on its ace an •protecte   yt i
                                                            ewor -pro •
                                                                      uct octrme.
                    The fourth attachment (FB-ADI-0000003218) is adiagram depicting the Investigation's fact-
            16      development workflow that was created            at the direction of Facebook Legal and Gibson
                    Dunn                                                                          for the continued
            17      provision of legal advice. Ex. 6-9D. For the same reasons as the first three attachments, it is
                    privileged on its face and protected by the work-product doctrine.
               1S
                    The email chain to which the four challenged documents are attached includes core ADI
                    attorneys, reveals counsel's analyses and recommendations, and further demonstrates that
               19
                    its attachments are privileged. Ex. 6-9E. The email to which the challen ed documents are
                    attached is the top entry in achain originally sent to attorneys.
            20

            -)1
                                                                                    Painti s onot isputet at tis
                    emai ,inc    ing teattac     ents as origina ytransmitte    is privileged.
                    Providing these privileged documents to other employees performing work on the
            23      Investigation does not constitute a waiver. Plaintiffs a ear to ar ethat the first three
                    challenged attachments are not srivileged because
            "
            )4


            -)5                               In orming ot u
                                                           er emp oyees wor ng on ti
                                                                                   eInvestigation a out it       oes
                    not constitute awaiver.
            -) 6
                    Plaintiffs also will likely argue that the fourth challenged attachment is not privileged because
                    one of the employees who received                     email then forwarded the message (with its
            -) 7
                    attachments) to herself, using adifferent                 See Ex. 6-9F (top email showing same
                    attachments). Nothing about this record-keeping action waives privilege.
            28


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                          DEFENDANT FACEBOOK, INC.'S BRIEF IN OPPOSITION TO PLAINTIFFS' REQUEST FOR
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               1   Document #           Jlog ID #                IBases for Withholding
                   Document 10           FB-ADI-0000002534         Attorney-client privilege; work product.


                                                      tecontext o tis mat tustrates tat it is aprivi eget
               4    communication sent at teI
                                            irection of Gibson Dunn pursuant to the privileged Investigation.

               5

               6




               8                                          Such internal communications
                               re privileged communications sent at the direction of Gibson Dunn, pursuant to the
                    Investigation, conducted by Gibson Dunn and Facebook Legal in order to address and advise on
                    legal risks associated with third party developer access to and use of data.
            1
                    The challenged communication is between consultants acting at Gibson Dunn's direction
                    in order to compile information to facilitate Gibson Dunn's ability to advise its client
            11
                    making the email both 0r1v11e2ed and protected by the work-product doctrine.
            1')
                                                                         ,aconsultant
                                                                         working at the direction o counse
            13
                    access to adocument that was compiled in order to gather information needed for Gibson Dunn
                    to provide legal advice. To this end, the email includes an attached spreadsheet that reflects
            14
                    Gibson Dunn's advice related to specific apps and developers, and reveals information gathered
                    by the investigative team at Gibson Dunn's direction for use in providing further advice
            15
                    regarding ongoing investigations.           The email sharing this information is privileged and
                    protected by the work-product doctrine.
            16

            17     Document #It          Log ID #                  Bases for Withholding

            18     Document 11           FB-ADI-0000002537         Attorney-client privilege; work product.

            19

            'NJ                    The context illustrates that this spreadsheet is a privileged communication
                    between agents of Gibson Dunn sent at the direction of Gibson Dunn pursuant to ADI.
            -)1
                    The challenged document reflects Gibson Dunn's legal advice to its client on next steps in
                    the Investigation, making it both aprivileged communication and protected by the work-
                    product doctrine. The challenged attachment was compiled by core ADI investigators, reflects
                    the core investigative and enforcement efforts of the ADI, and was sent in furtherance of the
            23      ADI. It is atracker document that collects relevant information for the provision of legal advice,
                    and reflects legal advice rendered by Gibson Dunn and the status of various app- or developer-
            "
            )4      specific investigations conducted as part of ADI. The document reflects both aconfidential
                    attorney-client communication and opinion work product, and it is privileged on its face.
            -)5
                    The fact that the privileged table was sent to aconsultant acting at Gibson Dunn's behalf
            -) 6
                    does not waive privilege or the work-product doctrine.

            )7
            -
                                    But as with Document 10, the email demonstrates that consultants working at the
                    direction of Gibson Dunn merely shared access to adocument that gathered information required
            28


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                                                                    16
                          DEFENDANT FACEBOOK, INC.'S BRIEF IN OPPOSITION TO PLAINTLFFS' REQUEST FOR
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                                          PRIVILEGED INVESTIGATORY MATERIALS
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                      for the continued provision of legal advice by Gibson Dunn.     This exchange does not waive
                      privilege over the table.


                     Document #            Lou I
                                               I) #                 Bases for With holdin
                     Document 12           FB-ADI-0000002505       IAttorney-client privilege; work product.
                4



                                   in this context, the communication is privileged. Ex. 12.
                6

                                  — is ocument revea stese processes an. t          team sintema met ot s. T ere
                      are two attachments to the email, over which Facebook does not assert privilege because they
                      were sent to external developers, and those have been independently produced. See Log Entry
                      FB -ADI -0000002506, FB-ADI-0000002507.

                9
                           C.      Images Used to Communicate in Privileged Communications are Privileged
            10
                           Plaintiffs challenge images used to convey substantive information during privileged
               11
                    discussions on Facebook's internal instant messaging platform. Memes, emojis, and other images have

                    become ahallmark of the way people communicate, particularly on instant-messaging platforms, and

            13      they provide asuccinct way to convey substantive information. For instance, athumbs up can convey

               14   agreement or permission. A thumbs down can convey disagreement, or displeasure. Adding asmiley

            1s      face to an otherwise rude comment may convey sarcasm.          When these images are used during

            16      privileged conversations they are privileged. See Restatement (Third) of the Law Governing Lawyers

           17       § 69 (privilege reaches communications "in any form," including "communication through

                    technologically enhanced methods" and "nonverbal communicative acts"); see also 24 Fed. Prac
           18
                    Proc. Evid. §5484 (1st ed.) (finding privileged "objects ...used as amethod of communication.")
           19
                           Plaintiffs challenge two embedded images, both of which were used during privileged
           20
                    discussions on Facebook's internal instant messaging platform.       During these discussions, the
           21
                    challenged images would have appeared in-line, alongside and as asubstitute for substantive text. But
           22
                    due to the manner in which documents are processed and produced, they appear as attachments to the
           23
                    chat messages (which themselves appear similar to emails).
           24        Document #            Log II) #               jBases for Withholding

           25        Document 13           FB-ADI-0000000085        Attorney-client privilege; work product.

           26         Plaintiffs likely challenge this image because it was sent by one non-attorney to another non-
                      attorney, but the image was used to communicate in aprivileged chat.
           27         The challenged image, Ex. 13A, communicates understanding in achat conversation about
                      Gibson Dunn's recommendations
           28                            making it a privileged communication and protected by the work-


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                                                                     17
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                      product doctrine. The chat in which the challenged image was sent concerns counsel's
                      recommended next steps for certain apps and developers discussed during ameeting with in-
                      house counsel and Gibson Dunn. See Ex. 13B at p. 4 (referencing a".png"). The discussion
                      between these ADI team members is privileged, including images used to communicate. For
                      additional context re ardin this discussion, Facebook submits ase s
                                                                                        arate email—that Plaintiffs
                      do not challen e.
                4

                                                                                                 image is privileged in tis

                6

                     Document               ILog ID #                    Bases for Withholding

                     Document 14             FB-ADI-0000003178           Attorney-client privilege; work product.
                8
                       Plaintiffs likely challenge this image because it was sent by one non-attorney to another non-
                9
                       attorney, but the image was used to communicate understanding in aprivileged chat.

               10     The challenged embedded image, Ex. 14A, is used to communicate understanding in a
                      message                                                                    .making it both a
               11     privileged communication and protected by the work-product doctrine. See Ex. 14B.
                      Context demonstrates that the challenged ima eis facially rivile ed and orotected by the work -
               12      roduct doctrine.

               13

               14

               1s
                      conversation about enforcement measures performed at Gibson Dunn's direction is plainly
                      privileged. In this context, the image is privileged.
               16
                            D.      Facts Collected at the Direction of Counsel are Privileged
               17
                            Finally, Plaintiffs challenge various documents reflecting facts compiled at the direction of
               18
                    counsel. These materials are protected from disclosure. The attorney-client privilege protects "factual
               19
                    material compiled during acorporation's internal investigation ... at counsel's request for later use in
           20
                    providing legal advice" and "extend[s] to communications between corporate employees who are
           21       working together to compile facts for in-house counsel to use in rendering legal advice." Fosbre, 2016

           22       WL 183476, at *9; see also Boehringer Ingelheim Pharms., 180 F. Supp. 3d at 30, 34. The work-

           23       product protection similarly extends to work compiled by non-attorneys at counsel's direction. The

           -) 4     doctrine "shelters the mental processes of the attorney ... and protects both material prepared by agents

           )s
           -        for the attorney as well as those prepared by the attorney himself." Sanmina Cotp., 968 F.3d at 1119

           26       (internal quotation marks and citation omitted).

           27

                      12 To the extent Plaintiffs challenge the image files in Documents 13 and 14 divorced from their context as
           28
                    part of privileged chats, the images have been produced independently in other, non-privileged contexts.

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                                                                         18
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               1                              to"   ID #               Bases for NVithhoidin _

                     Document 15             IFB-ADI-0013131301051   IAttorney-client privilege; work product.

                        Plaintiffs may have challenged this email because it was sent by one non-attorney to another
                        non-attorney, but the email is privileged. The rest of the chain, which includes Gibson Dunn
               4        attorneys and Plaintiffs concede is privileged by not challenging it, provides additional context
                        that shows the email was sent at the direction of counsel pursuant to aprivileged investigation.
               5         The challenged email was sent at the direction of Counsel and discusses the process for
                         compiling information needed for Gibson Dunn to render legal advice, making it both a
               6         privileged communication and protected by the work-product doctrine. The challenged
                         document is the second of two emails on a chain regarding counsel's recommendation


               8                                                                                           It is marked
                         "Attorney Client Privileged" and "Attorney [W]or     [P]roduct," and conveys that its contents
                         should be kept confidential. Plaintiffs concede            original email is privileged by not
                         challen    it.
            1
                                                              This communication is plainly privileged ecause it is a
            11           communication between individuals working at "at the direction of" Facebook legal and Gibson
                         Dunn, id., discussing how to carry out these attorneys' fact-gathering directives.
            1")

            13          Document #            Log ID #                 Bases for Withholding

                    Document 16               FB-ADI-0000001328       Attorney-client privilege; work product.
            14
                        The challenged document is           response to the email                      above and is
            15
                        privileged for the same reasons.                          response also shows he is working
                        with aGibson Dunn attorney (Nathan Powell) on collecting investigation-related facts.
            16

            17       Document #            410).1_
                                           -                         fBases for Withholding

            18      Document 17               FB-ADI-0000001325       Attorney-client privilege; work product.

            19           Plaintiffs likely challenge this task message because it is sent to anon-attorne, but this task
                         document is privileged.
            -) 0
                                                                                              The contents of this task
            -)1          are privileged, and additional context confirms that the task was created at the direction of
                         counsel pursuant to aprivileged investigation.
                         The challenged document provides significant detail on methods employed in the
                         Investigation summarizing Gibson Dunn's advice, making it both a privileged
            23           communication and rotected b the     k oduct doctrine. The task email

            "
            )4
                                         •
            -)5


            -) 6
                         Additional materials reveal that the task was created at counsel's direction, further
                         demonstrating that it was properly withheld as privileged. This particular task was created
            )7
            -
                                        at counsel's direction, which the following additional documents (none of which
                         are challenged) demonstrate:
            28
                   13
                          Comments from "Task Reaper" and "Butterfly Bot" were generated automatically.
                                                                  19
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                               DEFENDANT FACEBOOK, INC.'S BRIEF IN OPPOSITION TO PLAINTIFFS' REQUEST FOR
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                1




               4

               5     Document #             Log ID #                IBases for Withholding
                     Document 18          IFB-ADI-0000003275        IAttorney-client privilege; work product.
               6

                      Plaintiffs presumably challenge this excel spreadsheet because it was sent by one non-attorney
                      to another non-attorney, but the spreadsheet is privileged. The timing of this document illustrates
                      that it was compiled at the direction of counsel in order to prepare ADI.
               8
                      The challenged spreadsheet compiles data at the request of Facebook Legal in order to
                      structure the Investigation, making it both aprivileged communication and protected by
                      the work- roduct doctrine.
            1
                                                It reveals counse's impressions and determinations regarding whic
            11        various criteria could eused by counsel to assess legal risk. This information is privileged and
                      protected work product.
            1")       Surrounding context reveals the spreadsheet was created as part of Facebook Legal's
                      initial efforts to design the investigation. The challenged spreadsheet is attached to an email
            13                                                                            The email is sent on March
                      21, 2018, four da safter the Cambrid eAnal Ica sto broke, the da after this liti ation began,
            14

            15
                     Document #           ILog ID #                  Bases for Withholding
            16
                     Document 19           FB-ADI-0000004860         Attorney-client privilege; work product.
            17
                      Plaintiffs presumably challenge this chat because it involves non-attorneys, but the chat is
            18
                      privileged because it reflects fact-gathering methods conducted at the request of Facebook Legal.
                      The challenged chat exchange requests factual information necessary for Facebook Legal
               19     to render legal advice related to app enforcement, making it both a privileged
                      communication and protected by the work-product doctrine.
            20

            -)1       gathered          ormation at the direction of Facebook Lega, and Facebook Legal used this
                      information to advise on further enforcement measures. This factual discussion is privileged
                      and, like each of the documents above, was properly withheld.

            23                                                 CONCLUSION

            "
            )4             The Court should deny Plaintiffs' request for Facebook's investigatory files, hold that materials
            -)5     from Facebook's Investigation are protected by the attorney-client privilege and work-product doctrine,

            -) 6    and hold that each of the documents Plaintiffs challenge was properly withheld as privileged.

            )7
            -



            28


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                             DEFENDANT FACEBOOK, INC.'S BRIEF IN OPPOSITION TO PLAINTIFFS' REQUEST FOR
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               1   DATE: February 5, 2021             Respectfully submitted,


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            21
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            23

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                           DEFENDANT FACEBOOK, INC.'S BRIEF IN OPPOSITION TO PLAINTIFFS' REQUEST FOR
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                      UNITED      STATES DISTRICT COURT


                     NORTHERN DISTRICT OF CALIFORNIA


Before The   Honorable Vince         Chhabria,     Judge


IN RE:   FACEBOOK,    INC.   CONSUMER     )
PRIVACY USER PROFILE LITIGATION)
                                                 NO.    18-md-02843       VC


                                     San Francisco,        California
                                     Thursday,     March 5,      2020


                        TRANSCRIPT OF PROCEEDINGS
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           (APPEARANCES      CONTINUED ON THE FOLLOWING PAGE)



Reported By:         Marla   F.   Knox,   RPR,   CRR,    RMR,    Official       Reporter




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APPEARANCES:    (CONT ,D)


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 1   Thursday - March 5,         2020                                         2:03 p.m.

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 3                                        ---000---

 4               THE CLERK:       Calling Case Number 18-MD-2843,                 In Re:

 5   Facebook Inc.       Consumer Privacy User Profile Litigation.

 6        Counsel,       for Plaintiffs please state your appearances                        for

 7   the record.


 8               MR.   LOESER:     Hi,   this    is Derek Loeser for Plaintiffs.

 9   With me in my office are Can               Laufenberg and David Ko and also

10   appearing are Lesley Weaver and Annie Davis and Matt

11   Montgomery.

12               THE CLERK:      Thank you.       And for Defendant.

13               MR.   SNYDER:     Good afternoon,        Judge.        It is Orin Snyder

14   for Facebook from Gibson Dunn,              and with me on the phone are

15   Deborah Stein,      Josh Lipshutz and Martie Kutscher.

16               THE COURT:      Okay.     Hi,    Everybody.          So it    sounds   like

17   everything is going great.

18               MR.   SNYDER:     All over the world,              Your Honor.

19               THE COURT:      Yeah.     I don't really know where to start

20   or what   to do with you at this point.                  I guess    --    I will   --    let

21   me start with this:         You know,       there   is    --    for a while now we

22   have been discussing Facebook's production of the same

23   documents    that    it produced to the FTC.

24        And,    you know,      the Plaintiffs have been asking for me to

25   order Facebook to simply turn over all the same documents.                              And




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 1   I responded that          I thought out of       fairness       to Facebook,     if

 2   Facebook wanted to review all                those documents again and,              you

 3   know,    sort of try to determine whether it produced some stuff

 4   to the FTC that       it shouldn't produce to the Plaintiffs                    --

 5   either because       it    is privileged or too far afield from this

 6   litigation or something like that                --    that    that would be

 7   appropriate.

 8           And so    I gave them --         I said that they could do that.                   It

 9   sounds    like    from reading your papers,             that    Facebook is prepared

10   to make that production by the end of this month;                        that   is,    all

11   of the stuff that          it turned over to the FTC minus whatever it

12   concludes    it should withhold for privilege reasons or for

13   relevance reasons          in this      litigation.

14           I assume that that would cover the vast majority of the

15   documents that       the Plaintiffs would want                in this litigation.

16   Am I wrong about          that?     And if    I'm wrong about         that,   what am I

17   missing?

18               MR.   LOESER:         So,   Your Honor     --   this    is Derek Loeser.

19   Just before       I start,    it    sounds    like    someone      is on a cell phone

20   or something.        While you were speaking there was probably

21   breathing.        It makes    it a little hard to hear the Court.                     So if

22   there is a mute someone can press,                   that would be useful.

23               THE COURT:        Do you need --          do you need me to repeat

24   what    I said?     I mean the short version --

25               MR.   LOESER:         No.    I think I heard --




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 1               THE COURT:      Okay,    go ahead.

 2               MR.   LOESER:    Sorry.     Yeah,     I think the short


 3   version        I guess I will repeat          it back to you to make sure                I

 4   have   it      is whether Facebook's offer to produce FTC materials

 5   after its privilege and relevancy review at the end of March is

 6   sufficient or not.

 7          And here is our concern:             First,     on this question of

 8   privilege review,       there   is no privilege remaining for these

 9   documents     in the Ninth Circuit.

10          So that's     -- we will circle back to that              later,       but

11   Your Honor has       indicated that     there     is    --

12               THE COURT:      You mean because they waived the privilege

13   by turning it over to FTC?

14               MR.   LOESER:    Yes.     The Ninth Circuit,         with every

15   circuit     except   for the Eighth Circuit,           has    rejected any notion

16   that you can voluntarily turn information over to a government

17   agency and retain attorney-client privilege for that

18   information.

19               THE COURT:      Yeah,    but one of        the things   --

20               MR.   LOESER:    Yeah,    but    --

21               THE COURT:      One of    the things that we discussed was

22   that   -- you know,     they might have reasons              to do a more careful

23   review in this       case than in their interactions with the FTC;

24   right.      So maybe there could have been inadvertent                   --

25   privileged documents        inadvertently produced to the FTC;                      right?




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 1               MR.   LOESER:    Yeah.      I don't want   to distract because I

 2   think this might be something we have to brief,                 and the Court


 3   would have to rule on whether there              is such a thing as

 4   inadvertent production in which you can preserve a privilege.

 5               THE COURT:      Okay.

 6               MR.   LOESER:     I don't think anything Facebook did when

 7   turning documents over to the Government would be considered

 8   anything other than a waiver of an attorney-client privilege,

 9   but   I think --

10               THE COURT:      Okay --

11               MR.   LOESER:     -- what    I was   --

12               THE COURT:       I don't know a lot about      --    sorry.   I was

13   just going to say:          I don't know a lot about that issue.           So

14   that may be that      is    something you ultimately need to brief.

15   That's    fine.

16               MR.   LOESER:    So the heart of your question is the

17   relevancy review and why are we not              satisfied with Facebook

18   simply saying they are going to conduct a relevancy review and

19   give us what makes it         through their screen.

20           I guess   I would put    it   to you this way:     One,    we are very

21   concerned about that review and whether their interpretation of

22   relevance coincides in any meaningful way with our own.                   From

23   everything we have heard from Facebook so far,              they have a

24   very,    very narrow view of what         is relevant here.       That's the

25   first concern.




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 1          The second concern is the whole reason why we spent months

 2   fighting with Facebook to get            the FTC correspondence was              so


 3   that we could look and see and evaluate really what was given

 4   to the FTC.       And we have that       correspondence and we have gone

 5   through it.

 6          And,    frankly,    based on your review -- with the exception

 7   of    some very discrete categories            --    there   is a very clean


 8   overlap between those two matters.                   So what we said to Facebook

 9   is:    Okay,    let's    talk about    that.        We both have read this

10   correspondence.          Tell us what you think is not            relevant by

11   category so we can come to some agreement                    so you can then do

12   your review once and produce the documents once.

13          What we are very concerned about with the October deadline

14   is    the process   that    Facebook has       in mind would involve them

15   unilaterally pulling documents out of production;                       not telling

16   us what      they pulled and not       logging it in any way -- which is

17   what    they said they are going to do                  and then us having to

18   sit there and try to piece together what has been removed.

19           It   is very likely that we would disagree with what they


20   are going to do,         and then we would have a fight and motions

21   practice.      And then if we prevail,              another production would

22   have to occur.          And that in and of          itself   --

23                 THE COURT:     How is    that different         from --    let's   say

24   the FTC action never happened;            right.        And you submitted

25   document requests,         you know,    that were similar to what the FTC




                                                                                            0347
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 1   didn't ask but the FTC action never happened.                                    And then

 2   Facebook would be going through                        its documents and deciding what

 3   to   --    and they would do an initial                      cut    --    they would take an

 4   initial cut.            They would have an              initial universe of documents

 5   and they would go through                     those,   and they would pull out                 stuff

 6   that      they conclude           is not      responsive       to your requests.

 7             And they would never be required to do a log of                               the    stuff

 8   that      they pulled out and determined was                         irrelevant or

 9   non-responsive to your request.                         So    I guess,          why should they

10   have to do that here?

11                   MR.   LOESER:          Well,    the    technical          reason why    is under

12   Rule      34    if you are reviewing materials and                         it    is a set of

13   materials,        you do have           to    log or provide             some    information on

14   how you are           calling documents out.

15             Here,   we are not           talking    --   we     live       in a world where they

16   have already done                all   this work,       and they have already produced

17   these documents;             and we have asked for them in discovery.                            So

18   if   they are going to remove                   something from a production of

19   materials         that we have          asked for that             already exist,       the

20   standard mechanism under the discovery rule                                 is    for them to tell

21   us how they are removing,                    what they are removing and what                    the

22   basis      is   for    --   of    it   is.

23             But   I do think that              the point you make             it    certainly brings

74   to mind,        you know,         why are we bothering with any of                     this.     And

25   the reason why we                are bothering with            it    is    that we    felt the
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 1   fact that they have already gathered documents based on an

 2   investigation that very significantly,                 if not entirely,

 3   overlaps with this case,            it    is just a much faster way to get

 4   this    information.

 5           Now,    I understand Facebook doesn't want this to be faster.

 6   But the fact of the matter is they have gathered this

 7   information.           They have reviewed it.         They have used search

 8   terms and custodians for the production,                  and we would get a

 9   significant head-start here if these materials could be turned

10   over as opposed to having to wait to do this whole mechanism

11   and process over again starting as               if   it hasn't already

12   happened.        So that's problem one.

13           Problem two is really the question of               search terms and

14   custodians,          which is something we want to talk about today;

15   and,    perhaps,      we should talk about       it next.     But really,    you

16   know,    we asked for the FTC materials because it obviously is

17   relevant and overlaps and because it                  is a means and a method to

18   just get this moving much faster than having to start all over

19   again.

20                  MR.    SNYDER:    Your Honor,    may I be heard?     It   is Orin

21   Snyder.

22                  THE COURT:       Sure.

23                  MR.    SNYDER:   How are you,     Judge?     Nice to be talking

24   to you on the phone.             Sorry we are not there in person,          but

25   thanks    for accommodating our request.




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 1           This    is a little bit   like either The Twilight Zone or

 2   Alice In Wonderland because the roles here seem to be reversed.


 3   We,    as   the Defendant,   are eager    --    in fact,   chomping at the

 4   bit    --   to prosecute our defenses.         And we are trying to

 5   proceed,       not only in an efficient manner but           in a prompt

 6   manner,      in getting to document production and then depositions.

 7          And we have given search terms and --               to the other side


 8   and we are producing the documents,              the FTC documents.            We are

 9   reviewing them --       not categorically.         We are reviewing them

10   document by document just as you had suggested we do.                         We have

11   agreed to provide that by the 31st.

12           What    the Plaintiffs are saying is,        Judge,     we are not even

13   ready to engage on search terms.               We don't want     to even give

14   you any Plaintiffs for depositions until we know what                     search

15   terms you and the FTC agree to and until we basically figure

16   out what theory of the case we want because they are confined

17   now,    Your Honor,    to the   four topics that you identified

18   having gone through their kitchen sink complaint                  --    and

19   identified as four potential theories.

20           On those theories we are prepared to produce documents

21   pursuant to the proper document           request promptly.            We are

22   working literally every day around the clock to do that.

23           We are not    seeking to delay anything.           We   intend to comply

24   with the October cutoff date.            We are ready to proceed on the

25   merits of our defenses.




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 1           And it       is the Plaintiffs,         Judge,    truly --   and we can walk

 2   you through how they are holding up things at every turn;                          and

 3   we believe,          respectfully,      it   is because they are not       content

 4   with these       four theories,         and they want to search around for

 5   something else that             they can allege either           in the pleading or

 6   otherwise.

 7           And,    Your Honor,       the metrics belie any notion of delay

 8   here.     Not only did we respond to their 1,400 paragraph

 9   Complaint,       we produced already 150,000 pages of documents.                     We

10   are promptly producing the FTC documents.                       We gave them the

11   search terms.

12           We met and conferred with them for over 15 hours.

13                  THE COURT:       Could I ask you          --

14                  MR.    SNYDER:    Ninety --

15                  THE COURT:       Sorry to interrupt.

16                  MR.    SNYDER:     Sure.

17                  THE COURT:       Part of the problem with this discussion

18   is,   you know,        this is nobody's         fault;    but   I don't have the

19   ability based on the amount of time I have spent on this and

20   the amount       -- and based on the            information you have given me

21   and based on the things that you both are saying here today --

22   I don't have the ability to determine who                       is in the wrong,   who

23   is being unreasonable.                I mean,   no matter how --

24                  MR.    SNYDER:     Right.

25                  THE COURT:        --   no matter how much either of you pound




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 1   the podium --

 2               MR.    SNYDER:   I have a suggestion -- but I have a

 3   suggestion for the Court.           And I think that you said:     Where do

 4   we go and what do we do from here?

 5        We,    Facebook,    want to follow the Federal Rules of Civil

 6   Procedure with dispatch and the utmost good-faith.             We are

 7   already producing hundreds of thousands of documents before the

 8   parties have even agreed to an ESI protocol,             search terms or

 9   custodians.

10        If the Plaintiffs would meet and confer with us on ESI

11   protocol,    search terms and custodians,          we will get to work in a

12   hurry,   Judge;     and we will produce whatever is responsive,

13   relevant and non-privileged.

14               THE COURT:       I wonder if the best way to move things

15   along is    --    I,m interested in both of your thoughts on this          --

16   but I wonder if I should try to find a Magistrate Judge who can

17   sit down with you-all         --   refer this case to a Magistrate Judge

18   for discovery purposes and have it be somebody who can sit down

19   with you-all in person once every two weeks to sort of make

20   sure that things are still moving;           make sure that the

21   Plaintiffs are not unfairly picking at Facebook;             to make sure

22   that Facebook is not adopting an artificially narrow definition

23   of relevance;       and just to     -- you know,   is there somebody with

24   the -- and,       frankly,   somebody who knows something about

25   electronic discovery.




                                                                                      0352
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 1           You know,          that is not something that                    I ever -- you know,

 2   as a lawyer in my practice                     --    as a lawyer I never had to deal

 3   with electronic discovery or hardly ever.                                 You know,    and it   is

 4   rare that anything comes up for me as a District Judge.

 5           Maybe what we need is                  somebody who can really roll up

 6   their sleeves with some expertise on this                                stuff and help you

 7   cut through it all.


 8                  MR.    SNYDER:          Your Honor,          it   is Mr.      Snyder.   The   issue

 9   there is       --    we are always happy to meet with a Magistrate Judge

10   if   there is an impasse.

11           What    I'm trying to explain                  --    I guess,        not effectively --

12   to the Court          is    it   is    so premature because the Plaintiffs are

13   not coming to the table                  in the ordinary course as a Plaintiff

14   prosecuting a case normally would,                           which would be chomping at

15   the bit    to get          custodians,         search terms and --

16                  THE COURT:             Right.        But,    again --      sorry to interrupt

17   but,    again,       I'm not      in a position to know whether that's

18   actually true or not;                  right.        I don't      --   all    I know sitting

19   here is    that we have two sides                     in a massive case that are

20   having a tremendous amount of difficulty even,                                  you know,

21   figuring out the terms under which they are going to negotiate

22   the production of discovery,                        and --

23                  MR.    SNYDER:          You know what,            Judge         we are okay with

24   that,    Judge.        I think --         look,       we know --         and I know this

25   sounds overly declarative.                      We know that we are not only in




                                                                                                           0353
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 1   good-faith but we are working hard to do the right thing here.

 2   And if Your Honor wants a Magistrate Judge to evaluate that,                            we


 3   are confident that the Judge will agree because we are ready to

 4   go.

 5           We have a year to prove and we think win our case,                      and we

 6   do not want to delay anything.                It    really is the Plaintiff who

 7   put the brakes on.             So if Your Honor thinks that going in front


 8   of a Magistrate Judge            is    constructive,    we are all for it

 9   because we do not want            this case to be delayed.          We want to go

10   forward on the current            schedule.

11                 THE COURT:        And,   you know,    maybe    --

12                 MR.    LOESER:     Your Honor --

13                 THE COURT:        -- we set    something up where you are just

14   required --         you know,    sorry to make you fly all         these times;

15   but    it   is just    like an in-person meeting.

16           I mean,      I had a real problem case awhile back where                 I --    I

17   felt    the need to do this,            and there were just regular in-person

18   meetings with the Magistrate Judge.                   And,   you know,   things

19   got    --   things started moving along once I did that.

20           Mr.   Loeser?

21                 MR.    LOESER:     Your Honor,       it's Derek Loeser.      If    I

22   could be heard.

23                 THE COURT:        Go ahead.

24                 MR.    LOESER:     We don't have any problem with a

25   Magistrate Judge.          We think Magistrate Judge Corley,              for




                                                                                                   0354
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 1   example,    is someone who has a lot of experience with issues

 2   like this.        I will say --

 3               THE COURT:      That's the person --        that's the person who

 4   fixed my last problem case.            Anyway,     sorry.   Go ahead.

 5               MR.   LOESER:   We would be in favor of that because I

 6   can tell you that,       you know,      it   is nice to hear Mr.   Snyder

 7   and I understand that he may not have a great grasp on the

 8   meet-and-confers and disputes that have occurred because he

 9   hasn't been on any of those meet-and-confer calls                -- but I can

10   tell you,    we have tried very hard for a very long time to

11   engage Facebook and have a reasonable conversation about search

12   terms and custodians.

13        We have offered up what seemed to us like common-sense

14   solutions;    like,   why don't we start with what you have already

15   gathered for the FTC.          Why don't we look at the custodians you

16   have used there.        Why don't we look at the search terms.              They

17   rejected all of that.

18        They have no organizational charts they claim;                no charts

19   that are -- not called organizational charts but have the same

20   information.       You know,    if    in discovery it ends up being the

21   case that    such materials actually exist,            which wouldn't

22   surprise us,       I guess Facebook would have some explaining to do.

23        In the absence of any of this detailed information,                we

24   have just    sort of gone out on the Internet to come up with as

25   much information as we can to put together search terms and




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 1   custodians.     Facebook has refused to discuss those.

 2          So the idea that we have somehow --        Plaintiffs    in a

 3   litigation want to slow down discovery is pretty ridiculous and

 4   obviously untrue.        We would welcome biweekly -- we will sit

 5   down with a Magistrate three times a week if           that's what      it

 6   takes.    We will be there as much as we need to be there.               We

 7   will   fly there.     We want this     case to move.   We want to meet

 8   the deadline.

 9          What we don't want to have happen is what           Facebook has

10   structured here,      which is they have produced 150,000 documents

11   that   relate only to a handful of named Plaintiffs.            The

12   materials are produced in a fashion that makes             them largely

13   unusable.     They have achieved what Your Honor said they should

14   not do which is bifurcate discovery.

15          And at the present rate with what they are doing with

16   discovery,    meeting that deadline seems very,        very challenging.

17   We want   to meet that deadline.        We want to come there,        and we

18   will talk to anyone that we need to talk to make that happen.

19               THE COURT:     Okay.     I think that's what    I'm going to

20   do.

21          Are there any --     I mean --    I will preface my question that

22   I'm about    to ask you with the statement that        I am generally

23   very reluctant      to appoint anybody from outside the court

24   system,   you know,    Special Master,     Special Discovery Master,

25   what have you.




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 1           But    I just wanted to check.           I know it happens a lot          in

 2   MDLs    that a Special Discovery Master is appointed,                   somebody


 3   from outside the court.              So even though I'm --          I doubt    I would

 4   do it.        I just wanted to ask people what they thought about

 5   that    as opposed to a Magistrate Judge.

 6                 MS.     STEIN:     Thank you,    Your Honor.     This is Deborah

 7   Stein for Facebook just chiming in.                    I think we are comfortable


 8   with a Magistrate Judge and are happy to participate in that

 9   process.

10           You know,       I take    it from Plaintiffs'       Counsel    that,   you

11   know,    he would like someone             from Facebook who has been involved

12   in these calls to,             you know,    address    the Court    today on this.

13           And I have been involved in the calls.                 I don't think that

14   Plaintiffs       --

15                 THE COURT:         Well,    I don't need --    I appreciate       it,    but

16   I don't       really want       to hear anymore discussion of who is right

17   or wrong.

18                 MS.     STEIN:     Okay.

19                 THE COURT:         Simply because we can be here          for three

20   hours,    and I still would not be a position to know who is right

21   or wrong.

22           Do you-all       -- do you-all have a suggestion or a request

23   for a Magistrate Judge?

24                 MS.     STEIN:     We are fine,    Your Honor,       with whoever you

25   would like.           I think that       from our perspective,       you know,    I




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 1   think what would make sense on a timing front would be whatever

 2   Your Honor thinks would make sense for the           initial meeting and


 3   then,    you know,    on a going forward basis     for the Magistrate to

 4   make determinations as       to when the next meeting would make

 5   sense.

 6           There are probably some instances where two weeks,           you

 7   know,    is really too quick.     And maybe there are other instances

 8   where,    you know,    a follow-up call or something is required.

 9   But,    you know,    I think having a standing two-week in-person

10   might be a bit onerous and might make more           sense to have     it

11   tied to,    you know,    specific milestones.

12               MS. WEAVER:     Your Honor,   if   I might,   this   is Lesley

13   Weaver on behalf of Plaintiffs.

14           And just to chime in here,    I think --     if   I'm hearing the

15   Court correctly,       I do think having somebody very skilled in ESI

16   would be very helpful       in this case.

17           We think a lot of this production needs to be done            in

18   native    form.     And that's going to be more complex than,         I

19   think,    even ordinarily occurs    in your run-of-the-mill antitrust

20   or securities case just because of          the natural environment a

21   lot of the subject material       lives in.

22           Magistrate Judge Corley certainly has        that experience.        I

23   think Magistrate Judge Beeler does.            If Your Honor decided that

24   he wanted to consider a Special Master,           we would be happy to

25   discuss    that.     And Judge Laporte,   who is now at JAMS,      might be




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 1   a good candidate given her expertise with ESI as well.                       So

 2   those are just        three options I think we would be comfortable

 3   with.

 4                 MR.   SNYDER:    Your Honor,    may I suggest          that we meet

 5   and confer and suggest a name             if we can agree on one just

 6   because we are going to want to get client                   input on this one.

 7   Judge Grewal may have an opinion.


 8                                         (Laughter)

 9                 MR.   LOESER:    Your Honor,    Derek Loeser       --    I'm sorry,   go

10   ahead.

11                 THE COURT:      Yeah,    that's fine.        I mean,    even if you

12   agree on a name,        you may not get      that name just because          -- you

13   know,    it   is going to depend on people's           schedules;      but why

14   don't you go ahead and send -- go ahead and send Kristen an

15   e-mail telling us what          -- you know,       whether -- whether the

16   parties want to jointly recommend somebody or jointly request

17   somebody and that        can be   -- you can do that by Monday.              Does

18   that sound okay?

19                 MR.   LOESER:    Great,   Judge.      That    sounds fine,

20   Your Honor.         Just won't be any great         surprise    if the three

21   names we just provided are likely the ones                   that we think make

22   the most sense.

23                 THE COURT:      Okay.

24                 MR.   LOESER:    In the meantime we have a collection of

25   issues    that we need to advance with all due* dispatch.                    And so




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 1   I'm not    sure where that leaves us with those issues.           I think

 2   the meet-and-confer process with regard to those issues is

 3   frankly at an impasse and it is not any great need to keep

 4   going around in circles.

 5         So I suppose we will send in this e-mail.           Hopefully we

 6   will have an agreement          in the next couple of days or if no

 7   agreement,       the Court can simply indicate who the Special Master

 8   will be.     And it would then be the plan to submit these

 9   disputes to the Magistrate or Special Master.

10               THE COURT:     I'm happy to,   you know,   make an attempt to

11   cut through some of the stuff if          it would be helpful to you.

12         I will start with Facebook.          I have a question of

13   Facebook.        I'm looking at Footnote 2 of Facebook's case

14   management statement.

15         It   says    (reading):     "Plaintiff's contend Facebook has not

16   completed production of certain FTC correspondence that the

17   parties discussed with the Court.          This is untrue.    Facebook

18   has produced all document demands and correspondence that it

19   agreed to provide from the FTC proceedings."

20         That was a little ambiguous to me.          I don't know if that

21   was just    --    it was sort of a mistake in the way you worded it.

22   But   "we have produced everything that we agreed to provide."

23         I thought that I ordered you to provide all correspondence

24   between you and the FTC about document production.            So I just

25   wanted to get clear whether you have provided -- whether you




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 1   have disclosed to the Plaintiffs all           correspondence between you

 2   and the FTC regarding document production.


 3              MS.   KUTSCHER:     Your Honor,    this    is Martie Kutscher at

 4   Gibson.

 5        I think the wording of        the footnote was just a little bit

 6   unclear.     There was nothing intentional about that wording.               At

 7   the last case management        conference we had discussed that


 8   Facebook had already produced all document demands from the FTC

 9   from its 2018/2019      investigation as well as correspondence from

10   the FTC describing the scope of        those demands.

11        And we understood that        the Court had ordered us         to produce

12   the same materials from the earlier FTC proceeding.                 So we

13   produced those materials.

14        The parties had separately discussed producing additional

15   correspondence from the 2018/2019 investigation from Facebook

16   regarding the scope of what was produced in that                investigation,

17   and that correspondence has been produced.

18              THE COURT:    Okay.     A related issue       is   that the

19   Plaintiffs want     search terms that were used to prepare the FTC

20   productions.      I'm not really seeing what          is wrong with

21   providing the Plaintiffs with search terms              that were used to

22   prepare the FTC productions.         It may --       it may streamline the

23   process of    figuring out what search terms           to use and what

24   search terms not     to use,    and I don't    see how Facebook is harmed

25   in any real way by providing those to the Plaintiffs.




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 1                 MS.   STEIN:   Your Honor,    this    is Deborah Stein again.

 2          This    is an issue that we have gone around with Plaintiffs


 3   on and we actually prepared a joint            letter on because it         is an

 4   important      issue.    And for some reason the matter that we had

 5   fully briefed did not get presented to Your Honor.

 6          We have a concern about this          for a variety of reasons.           We

 7   do think that        it will end up creating inefficiencies because


 8   these are different cases with different requests                     for

 9   production.

10          And we have a concern that what             is really going on here       is

11   that   they are looking for the FTC search terms                for different

12   reasons   than efficiency purposes;          that they are looking to sort

13   of   second-guess the FTC investigation.             And we have provided

14   them with very broad,         lengthy boolean searches          that they are

15   free to build upon and make            -- propose searches       that they think

16   hit upon their actual request            for production that are tethered

17   to their request        for production and what        is at    issue in this

18   case as opposed to the FTC case.

19          They are getting the FTC documents             from us    starting with

20   search terms        that have already been used and run and that they

21   are getting the documents            for doesn't   really advance getting

22   them more documents here.

23                 THE COURT:     Well,    I mean your argument       --

24                 MS.   STEIN:   And for some reason we have been unable to

25   get them to either build upon --




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 1                  THE COURT:           Sorry to interrupt.                Hello?

 2                  MS.   STEIN:         --    that we have provided them or for them


 3   to even provide their own search terms.                            I,    frankly,    have never

 4   dealt with a case where Plaintiffs don't                           send over boolean

 5   search terms.           I mean,          they are often broader than what we want

 6   to see;       but,   you know,           here we just got a list of words that

 7   includes things          like       "likes"      and --


 8                  MR.   SNYDER:         But before         -- Deborah,       let me just add to

 9   that.     This       is Orin Snyder from Gibson Dunn.

10           Your Honor,          here    is the problem.             They are getting all          the

11   FTC documents that relate to the                        --   to their case.         The FTC

12   investigated other things that have nothing to do with this

13   case at all.           Let's call          it X,      Y and Z.

14                  THE COURT:           I know but         --

15                  MR.   SNYDER:        And we should not             --

16                  THE COURT:           It sounds         like you're arguing --          if   I may

17   interrupt,       it sounds          like what you are saying is that                  if you

18   turn over the search terms                   that you used for the FTC documents,

19   then they are going to react in an overzealous way to that and

20   they are going to start demanding stuff                           that    isn't relevant to

21   this    litigation,          and that       is   --    it is   just going to be a

22   distraction.

23           But    that,    of    course,       can be dealt with.             If they start

24   asking    --    if receiving those search terms                        starts causing them

25   to ask for stuff that                they shouldn't be entitled to in this




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 1   litigation,      that can be dealt with at that               time.

 2          On the other hand,         maybe the search terms            that you used

 3   would help inform the search terms                 that are used in this case.

 4   And it   feels a little bit         like you are just hiding the ball by

 5   not being willing to give them those search terms.

 6              MR.    SNYDER:    No,    Your Honor.        Your Honor took pains to

 7   identify four potential theories buried in their pleading.                              And

 8   the Court held in its decision that the case is                       limited to

 9   those four theories.

10              THE COURT:       For now.

11              MR.    SNYDER:    --    and anything else          --   right.      For now.

12   And,   therefore,    we should be engaging in discovery based on

13   those theories with search terms and custodians.                           They want now

14   discovery into essentially what                the FTC asked us to produce

15   that has nothing to do with this case which is a classic

16   fishing expedition.

17              THE COURT:       Yeah,       but   --

18              MR.    SNYDER:    And we have agreed          --

19              THE COURT:       --    all    I'm asking you to give them is the

20   search terms.

21              MR.    SNYDER:    Right.

22              THE COURT:       I'm not asking you to give them the

23   documents.

24              MR.    SNYDER:    But the search terms are the key --                   it    is

25   the same thing effectively,              Your Honor,   because        it    identifies




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 1   areas that have nothing to do with this case,                       and it would lead

 2   not only to unnecessary motion practice but                    --

 3                 THE COURT:      Oh,     there    is going to be plenty of

 4   unnecessary motion practice in this case.                     I don't think we

 5   need to worry about           that.

 6                 MR.   SNYDER:     But the Court has already held at the

 7   last   CMC,    the January one,         that not all materials produced to

 8   the FTC must be reproduced here.                  Giving them the search terms

 9   would be an end-run around that                 ruling.

10          This    is not   FTC versus       Facebook.        This is    the Plaintiffs

11   versus Facebook.

12                 THE COURT:      Why?     Why?      I'm not    saying you give them

13   access   to the universe of documents               searched.        I'm just saying

14   you give them the search terms to help them --                       to help them

15   inform their position on what                 the search terms       should be.

16                 MR.   SNYDER:     That's not why they want them.

17          Martie,      go ahead.

18                 MS.   KUTSCHER:       One of the bigger issues we are also

19   facing on this        issue    is what the Plaintiffs requested in their

20   document request was all of              the FTC materials and then a slew

21   of other materials.            So they have those requests and they have

22   twenty-some odd additional              requests.

23          We are giving them the FTC materials,                  and the FTC search

24   terms are crafted around those materials.                     They are not crafted

25   for the additional searches or the additional requests the




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 1   Plaintiffs had made.

 2           So using the FTC search terms as a starting point just

 3   isn't really an effective way to start because those searches

 4   are tailored towards the documents they are already getting

 5   from the FTC productions and really are not tailored or

 6   relevant to the additional document demand,             and that's what we

 7   need to figure out,         the searches     for those demands.

 8               MR.   LOESER:    Your Honor --

 9               THE COURT:      But you can make those arguments after you

10   give them the search terms.            YOU   can make those arguments after

11   you give them the search terms.              You can say:    Here is the

12   search terms,     but we can't     -- we can't be tied to this because

13   it   is going to produce a bunch of stuff that is              irrelevant.    I

14   mean,   what am I missing?

15               MR.   LOESER:    Which,    Your Honor,   is exactly why we want

16   the search terms.        I'm sorry to interrupt,       Mr.   Snyder,   but you

17   know,   what we are hearing is a lot of description of things

18   that were after that were inappropriate,             and we were searching

19   for materials that were not related to our case.

20           That is all not true.         We want the search terms

21   specifically to identify things that are related to the case.

22   And if it kind of seems like hiding the ball,                that's exactly

23   what it    is.    These terms resulted in the production of

24   materials for an investigation that significantly overlaps.

25   They are a good starting place.




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 1         When we get the terms,        we can look at ones.              If they don't

 2   relate to this matter,        we will cross      them off the list.           If we


 3   want to argue with Facebook about what does or doesn't relate

 4   to matter,      then that   is the meet-and-confer we were trying to

 5   have with them which they refuse to have.

 6          It   just doesn't make      sense to claim that these terms are

 7   not helpful or unrelated.          Obviously they are.           They resulted

 8   in the production for an investigation that overlaps

 9   substantially with this case.

10          I can promise the Court and Mr.           Snyder and everybody else

11   on the phone,      we have no intention of using them

12   inappropriately or for any purpose other than identifying

13   appropriate search terms for the subject matter of our case.

14   We have no other intention.

15               MR.   SNYDER:   Your Honor,      we have    --    this    is

16   Mr.   Snyder.     We have briefed this already.              Your Honor's point,

17   it wouldn't be fair to weigh in without more information;                         that

18   you need three hours.         If   I can respectfully request,             this    is a

19   big issue for Facebook for reasons            that we set       forth in our

20   briefing.

21         We believe this       should be a threshold issue or be for the

22   Magistrate Judge,      and it would be unfair for Your Honor,                 based

23   on this     limited record,    to rule on this issue.

24         We are not hiding the ball at all.               This has to do with

25   them getting results of        search   --   searches    that    --    Facebook




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 1   conducted internally to produce documents                 to the FTC.

 2           The way the Federal Rules work is the parties meet and


 3   confer and agree on search terms based on the case before them.

 4   And we would respectfully request that once the Magistrate

 5   Judge is    in place,    this will be the       first     issue to address;         and

 6   that we abide that rather than have it               --   frankly,   a ruling on

 7   at best a partial       record.

 8               THE COURT:       It sounds    like you are working on briefing

 9   already.     Why don't you submit a letter brief to me,                   a joint

10   letter,    by Monday.       And then I will decide whether to rule on

11   it or kick it to the Magistrate Judge.

12               MR.   SNYDER:     That    sounds great.

13               MR.   LOESER:     Your Honor,    Derek Loeser.         That    sounds

14   fine.     We do have the materials already prepared.                 In case you

15   are    interested in knowing,         they weren't    filed because after we

16   prepared our portion,         Facebook indicated that         it would provide

17   us with search terms and custodians.               We waited for that.

18   That's when we got their 9 custodian and 12                 search strings

19   which wasn't worth waiting for.              So we have those materials.

20               THE COURT:       The only other thing I want to say right

21   now,    and I'm going to      --   I mean,   I have said it a number of

22   times on the record already --            I am concerned      --   you know,

23   without making any suggestions about anybody,                 you know,      whether

24   anybody is acting in bad faith or being dilatory or anything

25   like that,    I am concerned that Facebook has,              you know,      often




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 1   made statements reflecting an unduly narrow view of what should

 2   be turned over to the Plaintiffs.

 3           And,       you know,       this is a big case.        I mean,   there is often

 4   a lot of talk about proportionality and whatnot.                        This is a big

 5   case.        It    is a significant       issue.     You know,    and there is

 6   this    is not the type of case where we are going to be saying:

 7   Well,    that might end up --             that effort might end up uncovering

 8   some relevant information;                but,    you know,    it is just too

 9   expensive or difficult,                and so we are not going to make

10   Facebook do it.

11           This       is really not one of those cases where that                is

12   very --       that type of argument          is    likely to carry the day.         You

13   know,    and,          as I have said a number of times,          you know,    the best

14   way to figure out what happened as                   it relates to the claims

15   that are going forward now is to --                   for Facebook to produce all

16   information,             all documents about the practices associated with

17   giving third parties access to friends'                   information and

18   friends'          of    friends information.

19           And I --

20                     MR.    SNYDER:    Your Honor,     may I be heard on that

21   because Your Honor has no basis for concern on that                        score.

22           If    I was there,          I would look you in the eyes.          I'm telling

23   you,    Judge,          we are not only acting in good-faith;           we are eager

24   to produce documents,               whatever the expense,        that are relevant

25   to the issues in this case.




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 1          And we have been trying to do that by meeting and

 2   conferring and trying to get moving in accordance with the

 3   Federal Rules of Civil          Procedure which is,          you ask us    for

 4   documents.        We meet and confer on custodians and search terms,

 5   and we produce documents.

 6          We are not        saying expense.       What we are saying is        --

 7   Your Honor knows          the history of      the case as well as we do.            It

 8   started in'       18.    Your Honor gave them discovery on five topics.

 9   They filed a Complaint.           Your Honor identified deficiencies                in

10   that   Complaint.        They filed a new Complaint.            Your Honor sifted

11   through this kitchen sink Complaint and identified the viable

12   potential    theories.       And on those theories not only is              there no

13   ball hiding,       we want to get on with it.           It    is not that

14   complicated.

15               THE COURT:        I have heard --

16               MR.    SNYDER:     But,   Judge    -- what they want to do,

17   Judge,   is they really are           still   looking for a better theory and

18   that's what this          is all about.       Otherwise,     they would be acting

19   like a Plaintiff and saying:              Okay.     Let's get    the search terms

20   and let's get the custodians.

21          Instead,     they want to backdoor FTC search terms because

22   they are looking for some other theory of                  the case.      But    I am

23   confident,    Your Honor,       that when you see our performance on the

24   issues   in this        case in terms of our production of documents,

25   you will have no basis          for concern because we want to get on




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 1   with it because we think those documents actually are the key

 2   to us winning this case.

 3                 THE COURT:      I can't wait.        Okay.   So we will   -- we

 4   will hear from you-all on a couple of things by Monday.                       And in

 5   the meantime,        I will   look into the possibility of a Magistrate

 6   Judge referral for discovery purposes.

 7                 MR.   SNYDER:    Great.     Thank you.

 8                 MR.   LOESER:    Derek Loeser.         Before we all hang up and

 9   go our separate ways,          can I raise a couple other discrete

10   issues?

11                 THE COURT:      Only if    it   is   really quick.

12                 MR.   LOESER:    Yeah.    One is just this process        for

13   having Your Honor receive joint               submissions on disputes,        and

14   it's   just    really a housekeeping thing.

15          Under your rules,        you know,      there is a procedure where

16   each side puts together five pages and submits                 it to the Court.

17   One of the problems we have been having with these sort of

18   endless meet-and-confers is             there is no deadline to actually

19   submit    the materiality to the Court.              And that was the basis

20   for our proposal where there would be five days after a

21   meet-and-confer for one party to submit the materials and then

22   three days after that          for the other side.

23          I do think it would remove a real practical problem we are

24   having in terms of the speed with which things can get                   to the

25   Court.




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 1               THE COURT:      Yeah,    that's    --    I hear you.     And we will

 2   let the Magistrate Judge figure out how they want to address

 3   that.

 4               MR.   LOESER:    Okay.    And the very last            thing is we have

 5   a UK Plaintiff which Your Honor has noted before.                      The UK

 6   Plaintiff we have wishes to withdraw.                 We have two other UK

 7   Plaintiffs who are prepared to substitute in.                      Claims are

 8   exactly the same and simply it would be two people substituting

 9   in for one      substituting out.

10           We have asked Facebook to consent.               They refuse.         They

11   have    indicated they are going to oppose our substitutions.                        And

12   so if that's      really the position they are going to take at this

13   stage of the case that we are in,              then we will be filing a

14   motion just asking for substitution for this purpose.

15               THE COURT:      Okay.     I mean --       I was   --   I may be

16   ignorant on this      topic.    I was    scratching my head about whether

17   the class could include everybody in the UK or people from the

18   UK.     But assuming it can,        I can't imagine denying a request to

19   substitute in Plaintiffs at           this    relatively early stage in the

20   case.     But   -- and maybe Facebook can consider my comment                   in

21   deciding whether to oppose it.               But    if they --     if they want to

22   oppose    it,   they have a right to do so;            and I will decide the

23   motion.

24               MR.   LOESER:    Okay.    Your Honor,        and for Plaintiffs we

25   are looking really forward to a process where there are more




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 1   than    12   search       terms    and    9 custodians.           We    appreciate      the   time,


     Your Honor,         has    spent    dealing with          these       issues   today.


 3                 THE    COURT:        All    right.        Thank you.


 4                 MR.    SNYDER:        Thank you.


                  MS.     STEIN:        Good night.


 6                 MR.    LOESER:        Thank you.


 7                         (Proceedings         adjourned at          1:47    p.m.)


 8                                               ---000---


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10                                     CERTIFICATE OF REPORTER


11                We     certify that          the    foregoing       is    a correct   transcript


12   from the      record of       proceedings          in    the   above-entitled matter.

13


14   DATE:        Sunday,      March     8,    2020


15


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19                                     Marla    F.    Knox,    RPR,    CRR
                                         U.S.        Court Reporter
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER                MDL No. 2843
PRIVACY USER PROFILE LITIGATION,              CASE NO. 3:18-MD-02843-VC-JSC

                                              Hon. Vince Chhabria
This document relates to:                     Courtroom 4— 17th Floor
                                              Special Master: Daniel Garrie, Esq.
ALL ACTIONS
                                              SUPPLEMENTAL ORDER REGARDING
                                              THE USE OF TAR

                                              JAMS REF. NO: 1200058674




                     SUPPLEMENTAL ORDER REGARDING THE USE OF TAR

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                                         BACKGROUND

         1.    On August 18, 2021, Special Master Daniel Game ("Special Master Garrie") and

Judge Gail Andler declared an impasse on the issue of whether Facebook should be compelled to

use Technology Assisted Review ("TAR") in their review and production.

        2.     Pursuant to the Protocol for Resolving Discovery Disputes, Plaintiffs submitted

their opening brief regarding the use of TAR on August 30, 2021. Plaintiffs argue that requiring

Facebook to implement TAR is within the Special Master's discretion and that Facebook should

be compelled to use TAR because (a) TAR will increase the pace of discovery, which Plaintiffs

assert is currently insufficient to meet the needs of the case; and (b) implementing aTAR proto-

col will increase cooperation and transparency in discovery, which Plaintiffs assert have been in-

sufficient thus far as "Facebook has continued to assert an unduly narrow view of relevance".

See Exhibit A (Plaintiffs' Brief Regarding the Use of TAR).

        3.     Pursuant to the Protocol for Resolving Discovery Disputes, Facebook submitted

their Opposition to Motion to Compel TAR on September 9, 2021. Facebook argues that (a) the

ESI Protocol forecloses Plaintiffs' request that the Special Master compel TAR; (b) the case Law

unanimously rejects Plaintiff's' request for an order compelling TAR; (c) Plaintiffs offer no justi-

fication for an order compelling Facebook to use TAR; and (d) compelling Facebook to use TAR

at this stage would delay discovery. See Exhibit B (Facebook's Opposition to Motion to Compel

TAR).

        4.     Under the Protocol for Resolving Discovery Disputes, Plaintiffs submitted their

Reply Brief Regarding the Use of TAR on September 14, 2021, in which they argue, among

other things, that (a) implementing TAR will make discovery more efficient; (b) TAR will ad-




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vance cooperation and transparency; (c) Plaintiffs have identified numerous deficiencies in Face-

book's production; (d) Facebook is not on track to meet the substantial completion deadline; and

(e) Facebook's governmental productions are the bare minimum of what's required. See Exhibit

C (Reply Brief Regarding the Use of TAR).

        5.     On September 22, 2021, Special Master Garrie issued an Order Regarding the Use

of TAR in which he ordered Facebook (a) to provide responses regarding the tools and method-

ologies used in their review; and (b) to make available atechnical knowledgeable in the analyt-

ics, review tools, and methodologies used in Facebook's production to guide Special Master Gar-

re through an in-camera review of samples of the documents reviewed and to explain the review

process. See Exhibit D (Order Regarding the Use of TAR).

        6.     On September 30, 2021, Facebook responded to the tools and methodologies used

in its review according to the Order Regarding the Use of TAR. See Exhibit E (FB Supplemental

Submission re: TAR).

        7.     On October 5, 2021, Special Master Game held an ex parte hearing with Counsel

for Facebook and atechnical resource was available to discuss the FB Supplemental Submission

re: TAR and Facebook's review process.

        8.     On October 7, 2021, Facebook submitted the Declaration of Danny Thong ISO

Facebook's Opposition to Plaintiffs' Motion to Compel TAR which clarifies Facebook's use of

analytics and other tools in their review. $ee Exhibit F(Declaration of Danny Thong ISO Face-

book's Opposition to Plaintiffs' Motion to Compel TAR).

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                              ORDER REGARDING THE USE OF TAR

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                                            FINDINGS

        9.     Special Master Garrie finds that it is not appropriate to compel aparty to use TAR

without a"showing of gross negligence in the review and production process, the failure to pro-

duce relevant specific documents known to exist or that are likely to exist or other malfeasance."

Winfield v. City ofNew York, No. 15-cv-05236, 2017 WL 5664852, *4 (SDNY November 27,

2017) at *9; see also In re Mercedes-Benz Emissions Litig., No. 2:16-CV-00881, 2020 WL

103975, at *2 (D.N.J. January 9, 2020) (the court "left open the possibility of compelling the use

of TAR "if Plaintiffs contend that Defendants' actual production is deficient.").

        10.    Special Master Garrie finds that Plaintiffs do not offer sufficient justification for

compelling Facebook to use TAR because there do not appear to be deficiencies in Facebook's

production to date and Facebook appears to be on pace to meet the January 31, 2022 deadline for

substantial completion of discovery.

        11.    Special Master Garrie finds that implementing TAR at this stage is not likely to

make discovery more efficient as Facebook has already completed over two thirds of its review

and Facebook is on pace to meet the substantial completion deadline for discovery.

         12.   Special Master Garrie fmds that advancing cooperation and transparency is not

sufficient justification for compelling TAR as Facebook's supplemental submissions regarding

their review have clarified their use of analytics and other tools. See Exhibits E and F. Facebook

has only used analytics and other tools to prioritize documents for review, not to filter nonre-

sponsive documents, which is permitted by the ES! Protocol.

         13.   Special Master Garrie finds that Facebook's production does not appear to date to

be deficient based on Facebook's submissions, the ex parte hearing, and in-camera review of pro-

duction samples.




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        14.    Special Master Garrie finds, based on Facebook's submissions, the ex parte hear-

ing, and in-camera review of production samples, that Facebook appears to be on pace to meet

the substantial completion deadline for discovery as they have already reviewed over two thirds

of the documents in the review population.

        15.    Special Master Garrie finds that Plaintiffs argument that "Facebook's govermnen-

tal productions are the bare minimum of what's required" fails because Facebook's governmen-

tal productions account for approximately 12% of the documents produced to date.



                                             ORDER

        16.    Special Master Garrie denies the Plaintiffs' request to order Facebook to use

TAR_




IT IS SO ORDERED.



                                                     7' • I)     IP"
       October 9, 2021
                                                    Daniel Garrie
                                                    Discovery Special Master




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                              ORDER REGARDING THE USE OF TAR

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                            UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



                                             MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,             CASE NO. 3:18-MD-02843-VC-JSC


                                             HON. VINCE CHHABRIA
This document relates to:                    COURTROOM 4— 17 TH FLOOR
                                             SPECIAL MASTER: DANIEL GARRIE ESQ.
ALL ACTIONS
                                             ORDER REGARDING PRODUCTION OF
                                             ADI RELATED DOCUMENTS




              ORDER REGARDING PRODUCTION OF AD! RELATED DOCUMENTS

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                                           BACKGROUND

        1.       On September 8, 2021, Judge Corley issued an order granting Plaintiffs' motion

to compel the production of materials in connection with Facebook's app developer investigation

("ADI") that involved areview of all "apps that had access to large amounts of data before [Fa-

cebook] changed [its] platform policies in 2014." See https://aboutib.cominews/2019/09/an-up-

date-on-our-app-developer-investigation/.

        2.       Pursuant to the order:

                 In light of Facebook's unchallenged public proclamations as to the business
                 purpose of the ADI, the Court finds that the ADI served adual purpose and
                 that, as ageneral matter, documents generated as part of that investigation
                 were not created because of litigation. On or before September 21, 2021, Fa-
                 cebook shall produce the background and technical reports, audits and devel-
                 oper interviews of the six exemplar apps chosen by the parties as Facebook
                 has offered no special reasons why those particular documents are privileged
                 other than what has been addressed. The parties shall work with the Special
                 Master regarding production of additional materials consistent with the guid-
                 ance offered by this Order. See Exhibit A (Order Granting Motion to Compel
                 ADI Materials).

        3.       According to Judge Corley's order, Facebook produced 11 documents related to

the ADI. Following this production, Plaintiffs raised multiple issues in connection with Iace-

book's ADI production and requested "all memoranda prepared b                           andior

             related to ADI of all apps it investigated or investigated at Facebook's direction, the

background and technical reports, audits, and developer interviews, and internal Facebook com-

munications regarding these materials (including those pertaining to the six exemplar apps)." See

Exhibit B (Plaintiffs' Email of September 24, 2021).

        4.       The parties subsequently met and conferred regarding Facebook's ADI produc-

tion, but were unable to resolve the outstanding issues.




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         5.    On October 26, 2021, Special Master Garrie issued Order Regarding Outstanding

ADI Issues which ordered the parties to provide summaries of the outstanding ADI issues and

the parties' respective positions.

         6.    On October 22, 2021, Plaintiffs submitted their initial statement. Plaintiffs argue

that pursuant to Judge Corley's order, Facebook should produce the following in connection with

the ADI: (1) all memoranda prepared by                       or               (2) all background

reports, technical reports, audits, and developer interviews; (3) all internal Facebook communica-

tions relating to items 1and 2; (4) all communications with                  or

related to items 1and 2; and (5) all communications with third-party app developers. See Exhibit

C (Plaintiffs' Statement Concerning ADI Issues in Advance of Hearing). Plaintiffs also argued

that Facebook's production of 11 reports relating to the six exemplar apps pursuant to Judge Cor-

ley's order was incomplete because Facebook's privilege logs include references to additional

reports relating to these apps that were not provided. Id.

         7.    On October 22, 2021, Facebook submitted its initial statement. Facebook argues,

among other things, that (1) Facebook produced all documents ordered by Judge Corley; and (2)

the five categories of ADI-related documents Plaintiffs request go beyond the scope of Judge

Corley's order. See Exhibit D (Facebook's Supplemental Submission Re: ADI).

         8.    On November 4, 2021, Plaintiffs submitted their response. Plaintiffs argue, among

other things that (1) Facebook should produce additional reports regarding the six exemplar apps

because additional reports were identified in Facebook's privilege logs; and (2) Facebook failed

to show how the five categories of ADI-related documents Plaintiffs request are not "consistent

with the guidance offered by" Judge Corley's order. See Exhibit E (Plaintiffs' Response Re:

ADI).




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        9.     On November 4, 2021, Facebook submitted its response. Facebook argues, among

other things that (1) Facebook's production pursuant to Judge Corley's order is complete; (2)

Plaintiffs' requests for all reports and memoranda for all apps or developers investigated in

phases two or three of the ADI and beyond the scope of Judge Corley's order; and (3) there is no

basis for Plaintiffs to request ADI related communications because Judge Corley previously re-

viewed these communications in camera and did not order the production of such communica-

tions. See Exhibit F(Facebook's Response Re: ADI).

        10.    A hearing was held on December 4, 2021, regarding the parties' submissions and

other information related to the ADI issues.

                                           FINDINGS

        11.    Special Master Garde finds that Plaintiffs' requests for all memoranda prepared

by                 or                 and all background reports, technical reports, audits, and

developer interviews in connection with the ADI are within the scope of Judge Corley's order as

the order explicitly includes these categories of documents. See Exhibit A ("Facebook shall pro-

duce the background and technical reports, audits and developer interviews of the six exemplar

apps chosen by the parties").

        12.    Special Master Garrie finds that Judge Corley's order does not exclude non-attor-

ney internal Facebook communications, communications with                       or

     or communications with third party app developers from the scope of ADI documents to be

produced, but rather only addresses reports, audits, and interviews. Id. at 6("The documents dis-

cussed in this Order—background and technical reports, audits, and interviews prepared and con-

ducted by non-attorneys—are work product, not attorney-client privilege material."). As aresult,




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Special Master Game finds that additional information regarding the relevance of such commu-

nications is necessary to determine whether such communications should be produced.

                                                  ORDER

         13.         Facebook is to produce, on arolling weekly basis, all memoranda prepared by

                     or                 and all background reports, technical reports, audits, and non-

attorney developer interviews in connection with the ADI. ISuch production is to begin with the

reports for which related audits and non-attorney interviews are available.

          14.        Within five days of receiving the first rolling production from Facebook, Plain-

tiffs may request all non-attorney internal Facebook communications, communications with!.

                or                   or communications with third party app developers in connection

with astatistically significant sample of the reports provided.

          15.        Within ten business days of receiving the request for communications from Plain-

tiffs, Facebook is to provide such communications for the reports selected by Plaintiffs.

         16.         After reviewing the communications from the sample of reports, Plaintiffs may

request additional ADI related communications upon ashowing that the communications are rel-

evant.




IT IS SO ORDERED.




         December 8, 2021                                   D-t F
                                                          Daniel Garrie
                                                          Discovery Special Master




IFacebook is to update any applicable privilege logs as appropriate pursuant to the Privilege

Protocol.


                                                      4
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     EXHIBIT A
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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA



                                          IN RE: FACEBOOK, INC. CONSUMER                      Case No. 18-md-02843-VC (JSC)

                                   8      PRIVACY USER PROFILE LITIGATION
                                                                                              ORDER GRANTING MOTION TO
                                   9                                                          COMPEL ADI MATERIALS

                                                                                              Re: Dkt. Nos. 611, 612, 699, 711, 719, 720,

                                                                                              721, 727, 729

                                  12
Northern District of California
 United States District Court




                                  13            In early 2018, the public learned that "Cambridge Analytica, aBritish political consulting

                                  14    firm, used personal information from millions of Facebook accounts to send targeted political

                                  15    messages during the 2016 presidential election." In re Facebook, Inc. Consumer Privacy User

                                  16    Profile Litigation, 402 F.Supp.3d 767, 777 (N.D. Cal. Sep. 9, 2019). "In the months that followed,

                                  17    reports emerged suggesting that the ability of ...entities like Cambridge Analytica to obtain

                                  18    sensitive Facebook user information was the norm rather than the exception." Id. Following the

                                  19    disclosure, Facebook initiated an app developer investigation (ADI) that involved areview of all

                                  20    "apps that had access to large amounts of data before [Facebook] changed [its] platform policies in

                                  21    2014." See https://about.tb.com/news/2019/09/an-update-on-our-app-developer-investigationi.

                                  11
                                        As the ADI, or, more precisely, the information the ADI uncovered, is directly relevant to

                                  13    Plaintiffs' claims in this MDL action, Plaintiffs seek information learned from and generated by

                                  24    the ADI. While Facebook has agreed to produce some data, it resists disclosure of reports, audits

                                  25    and interviews created or conducted by non-attorneys on the grounds that such documents are

                                  26    protected by attorney-work product or the attorney-client privilege. After several rounds of

                                  27    briefing and attempts among the parties to resolve, or at least narrow, the dispute, the issue is now,

                                  28    ripe for decision.


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                                           DOCUMENTS AT ISSUE

 2            Facebook's ADI consisted of three phases: (1) Detection and Identification of offending

 3     apps, (2) Enhanced Examination, and (3) Enforcement. In the Enhanced Examination Phase, the

 4     ADI forensic team conducted intensive background and technical investigations of the identified

 5     apps that, among other things, might identify the potential for data misuse. (Dkt. No. 699-5 If 17.)

 6     In the Enforcement phase, to assist Facebook with deciding whether to take action against an app,

 7     additional investigation might be conducted including interviews or audits of data security or

 8     storage infrastructure. (Id. II 19.). Plaintiffs seek material from the second and third phases that

 9     does not involve communications with lawyers or content created by lawyers. While Facebook

       has agreed to produce some information (Dkt. No. 699-1 at 4), it refuses on privilege grounds to

11     produce the reports, audits and interviews, and non-attorney communications related to the same.

12                                                  ANALYSIS

13            The parties agree that federal law governs this dispute. (Dkt. Nos. 611-2 at 16, 612-2 at 12,

14     699 at 4, 727 at 5n.1) (applying federal law).) "The work product doctrine protects from

15     discovery documents and tangible things prepared by aparty or his representative in anticipation

16     of litigation." United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011). "To qualify for work-

17     product protection, documents must: (1) be 'prepared in anticipation of litigation or for trial' and

18     (2) be prepared 'by or for another party or by or for that other party's representative." In re

19     Grand Jury Subpoena (Mark Torf/Torf Envtl. Mgmt, 357 F.3d 900, 907 (9th Cir. 2004). A finding

20     that adocument was prepared in anticipation of litigation, however, does not always end the

21     inquiry.

22                    In circumstances where adocument serves adual purpose, that is,
                      where it was not prepared exclusively for litigation, then the "because
23                    of' test is used. Dual purpose documents are deemed prepared
                      because of litigation if in light of the nature of the document and the
24                    factual situation in aparticular case, the document can be fairly said
                      to have been prepared or obtained because of the prospect of
                      litigation. In applying the because of standard, courts must consider
                      the totality of the circumstances and determine whether the document
2(1                   was created because of anticipated litigation, and would not have been
                      created in substantially similarform butfor the prospect of litigation.
27

28     Richey, 632 F.3d at 567-68 (emphasis added). The party resisting production of material based on
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      the work product privilege bears the burden of proving that the privilege applies. See Hernandez v.

      Ta 'waren, 604 F.3d 1095, 1102 (9th Cir. 2010).

 3           Facebook has met its burden of proving that the documents were prepared in anticipation

 4    of litigation. Shortly before Facebook initiated the ADI, anationwide consumer class action was

 5    filed against Facebook in this Court. (Dkt. No. 1). Within weeks, more than 40 actions were filed

 6    which were consolidated into this Multi-District Litigation. Facebook offers evidence that the

 7    ADI was launched in part to address potential regulatory and litigation risks posed by apps that

 8    had been on the Facebook platform since before Facebook changed in policies in 2014. (Dkt. No.

 9    699-5, Dkt. No. 720.)

to           Facebook's own public pronouncements about the ADI, however, demonstrate that the

11    documents were not created exclusively in anticipation of litigation and that, in fact, Facebook

12    would have conducted the ADI in substantially similar form even in the absence of potential

13    litigation. See Richey, 632 F.3d at 568.

14           On March 21, 2018, Mark Zuckerberg, Facebook's CEO, publicly posted:

15
                     Iwant to share an update on the Cambridge Analytica situation—
16
                     including the steps we've already taken and our next steps to address
                     this important issue.
17
                     We have aresponsibility to protect your data, and if we can't then
IS                   we don't deserve to serve you. I've been working to understand
                     exactly what happened and how to make sure this doesn't happen
19
                     again.
20
                     [W]e already took the most important steps afew years ago in 2014
21                   to prevent bad actors from accessing people's information in this
                     way. But there's more we need to do and I'll outline those steps
                     here:

                     First, we will investigate all apps that had access to large amounts of
24                   information before we changed our platform to dramatically reduce
                     data access in 2014, and we will conduct afull audit of any app with
25                   suspicious activity. We will ban any developer from out platform
                     that does not agree to athorough audit. And if we find developers
26                   that misused personally identifiable information, we will ban them
                     and tell everyone affected by those apps.
27

28    Mr. Zuckerberg concluded:

                                                        3
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                        Istarted Facebook, and at the end of the day I'm responsible for
                        what happens on our platform. I'm serious about doing what it takes
                        to protect our community. While this specific issue involving
     3                  Cambridge Analytica should no longer happen with new apps today,
                        that doesn't change what happened in the past. We will learn from
     4                  this experience to secure our platform further and make our
                        community safer for everyone going forward.
     5

     6    littps://www.facebook.com/zuck/posts/1010471203790007. This statement specifically identifies
     7    the purpose of the ADI as serving Facebook's business goal of protecting Facebook's customers'

     8    data by figuring out what happened, how it happened, and removing apps that misused customers'
     9
          data so that Facebook could "secure our platform further and make our community safer for

          everyone going forward." Id.
II               Two months later, Facebook updated the public on the "app investigation and audit" Mr.
12        Zuckerberg promised on March 21, 2018.
13
                        The investigation process is in full swing, and it has two phases.
14                      First, acomprehensive review to identify every app that had access
                        to this amount of Facebook data. And second, where we have
15                      concerns, we will conduct interviews, make requests for information
                        (RFI)—which ask aseries of detailed question about the app and the
16
                        data it had access to—and perform audits that may include on-site
17                      inspections.

18                      We have large teams of internal and external experts working hard
                        to investigate these apps as quickly as possible. To date thousands
19                      of apps have been investigated and around 200 have been
                        suspended—pending athorough investigation into whether they did
                        in fact misuse any data. Where we find evidence that these or other
21                      apps did misuse data, we will ban them and notify people via this
                        website. It will show people if they or their friends installed an app
                        that misused data before 2015—just as we did for Cambridge
                        Analytica.
e)


                        There is alot more work to be done to find all the apps that may
24
                        have misused people's Facebook data—and it will take time. We are
                        investing heavily to make sure this investigation is as thorough as
                        possible. We will keep you updated on our progress.
26

27        littps://tb.cominew/2018/05/undate-on-app-audit/. This statement again demonstrates that a"core

28        purpose" of the ADI was abusiness rather than legal purpose: to assure its customers that it was

                                                          4
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                                   1    conducting athorough investigation to remove bad apps and advise customers if their data may

                                   2    have been misused. And the ADI was being conducted "as quickly as possible," —not because of

                                   3    fast-tracked litigation, as the pace of this MDL surely demonstrates—but because of the need to

                                   4    weed out the bad apps to protect Facebook's consumers, its good will, and its business.

                                   5           Facebook provided afurther update on "our ongoing App Developer Investigation" on

                                   6    September 20, 2019. Facebook explained that its investigation

                                   7                      has involved hundreds of people: attorneys, external investigators,
                                                          data scientists, engineers, policy specialists, platform partners and
                                   8                      other teams across the company. Our review helps us to better
                                                          understand patterns of abuse in order to root out bad actors among
                                   9                      developers.

                                  10    Facebook explained further

                                  11                      that where it has concerns, it "conduct[s] a more intensive
                                                          examination. This includes background investigation of the developer
                                  12                      and a technical analysis of the app's activity on the platform.
Northern District of California
 United States District Court




                                                          Depending on the results, a range of actions could be taken from
                                  13                      requiring developers to submit to in-depth questioning, to conducting
                                                          inspections or banning an app from the platform.
                                  14
                                        https ://a bout. fb_com/news/2019/a n-update-on-our-app-devel ope r-invest igation/. Facebook told
                                  15
                                        the public about its investigation, including the background and technical analysis it now claims is
                                  16
                                        privileged work product, to assure the public that Facebook was cleaning up its platform and thus
                                  17
                                        generate trust in its site—a classic business purpose. The ADI team members Facebook identified
                                  18
                                        were enlisted to help Facebook "better understand patterns of abuse in order to root out bad
                                  19
                                        actors."
                                  20
                                                   En light of Facebook's own statements, the Court finds that Facebook would have
                                  21
                                        conducted the ADI in substantially the same form even in the absence of potential litigation; that
                                  22
                                        is, that Facebook did not initiate the ADI because of the prospect of litigation. See Phoenix Techs.
                                  23
                                        Ltd. v. Villware, Inc., 195 F. Supp. 3d 1096, 1105 (N.D. Cal. 2016) (holding that dual purpose
                                  24
                                        documents were not protected work product because they served abusiness purpose independent
                                  25
                                        of litigation). Facebook's assertion that the ADI served only alitigation purpose (Dkt. No. 727 at
                                  26
                                        3) is patently implausible in light of Facebook's public pronouncements. It is inconceivable that
                                  27
                                        Facebook would not have initiated aspeedy, large-scale-subject matter specialist investigation into
                                  28

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      app data misuse in the absence of potential litigation. Such assertion could only be true if the

      Court found that Facebook was lying to the public when it stated that the purpose of the ADI was

 3    to root out bad apps and secure Facebook's platform so that consumers could have faith in the

 4    company. Facebook, unsurprisingly, does not offer any evidence to support such afinding.

 5    Indeed, after asking the Court for the opportunity to submit additional evidence, it provided a

 6    declaration from outside counsel which does not even acknowledge these statements. There is no

 7    evidence from anyone at Facebook that addresses the repeated public proclamations as to the

 8    obvious business purpose of the ADI.

 9           Facebook's suggestion that these materials may also be protected by the attorney-client

I
0     privilege is unpersuasive given that Plaintiffs are not seeking documents created by counsel,

I1    counsel's edits, or any communications with counsel. Facebook has not explained how anon-

12    attorney's interview or audit of adeveloper would be protected from discovery by the attorney-

13    client privilege under federal law. At best such material would be attorney work product. For the

14    reasons explained above, it is not under the totality of the circumstances here given Facebook's

15    public exhortations of the business purpose behind its ADI.

16                                          MOTION TO STRIKE

17           Facebook moves to strike Plaintiffs' response to Facebook's supplemental declaration.

Is    (Okt. No. 727.) For the most part the response addresses the declaration and thus is

19    unobjectionable. The new argument as to the attorney-client privilege "primary purpose" test is

20    stricken and, in any event, is moot as the Court is not addressing the application of the attorney-

21    client privilege. The documents discussed in this Order—background and technical reports,

22    audits, and interviews prepared and conducted by non-attorneys—are work product, not attorney-

23    client privilege material. The Court has nonetheless reviewed Facebook's motion to strike's

24    substantive arguments, including the cases buried in footnote 1, and none persuade the Court

25    otherwise.

26                                              CONCLUSION

27           In light of Facebook's unchallenged public proclamations as to the business purpose of the

28    ADI, the Court finds that the ADI served adual purpose and that, as ageneral matter, documents

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                                   1    generated as part of that investigation were not created because of litigation. On or before

                                        September 2I, 2021, Facebook shall produce the background and technical reports, audits and

                                        developer interviews of the six exemplar apps chosen by the parties as Facebook has offered no

                                   4    special reasons why those particular documents are privileged other than what has been addressed.

                                   5    The parties shall work with the Special Master regarding production of additional materials

                                   6    consistent with the guidance offered by this Order.

                                               This Order disposes of Docket Nos. 611, 612, 699, 720, 727.

                                               IT IS SO ORDERED.

                                   9    Dated: September 8. 2021

                                  10

                                  11
                                                                                                       ('QUELINE SCOTT CORL
                                  12                                                                 United States Magistrate Judge
Northern District of California
 United States District Court




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     EXHIBIT B
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Thanks,
Martie


Martie Kutscher Clark



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<judgeandlerPicloud.corn>
Subject: ADI


[WARNING: External Email]




We write to follow up on our prior correspondence regarding ADI on September 11, and your
production of 11 documents earlier this week in response to Judge Corley's September 9order
granting Plaintiffs' motion to compel ADI materials. Doc. 736.


We first note that of the 11 documents you produced, two are letters to third-party app developers.
This is surprising to us since you previously represented several times that you already produced all
such communications. See e.g., June 19, 2020 Hr'g T. 14:23-15:2 (Mr. Snyder: "[Wje did identify
third parties with respect to which we took certain enforcement measures. We sent them letters.
We terminated them. In afew cases, we sued them. All of Facebook's communications with those
third parties are fair game. We're going to produce those."); Facebook's Brief in Opposition to
Plaintiff's Request for ADI Materials, Doc. 612 at 5("Facebook further agreed to collect and produce
non-privileged materials relating to the Investigation and already produced more than 30,000 pages
of non-privileged materials from the Investigation, which are communications with third parties
about the Investigation."); Joint Discovery Dispute Letter to J. Corley, Doc. 699-1 ("Facebook has



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produced awealth of information: ... Facebook's requests to and communications with the
developers."). Contrary to these representations, you clearly have not produced all communications
with third parties seeking your enforcement measures in light of your production of these two
letters. Please produce all such communications immediately. We reserve all rights with respect to
your prior inaccurate representations to Plaintiffs and the Court with regard to these
communications.


Second, Judge Corley's Sept. 9Order required Facebook to produce "background and technical
reports, audits and developer interviews ..." Doc. 736 at 7. The 11 documents you produced
consisted of 9memoranda from                                  and                        — Facebook's outside consultants
for AD! —and two cease and desist letters as noted above. Please confirm that you have not withheld
any other documents pertaining to the six exemplar apps referenced in the Sept. 9Order. If you
have withheld any materials, please immediately provide the basis for doing so.


Third, as required by Judge Corley's order to work with Special Master Garrie regarding the
production of additional materials related to ADI and our prior request to meet and confer after
review of your production, we request all memoranda prepared by                                          and/orIM
             related to ADI of all apps it investigated or investigated at Facebook's direction, the
background and technical reports, audits, and developer interviews, and internal Facebook
communications regarding these materials (including those pertaining to the six exemplar apps).


We are available to confer next week on these issues if necessary. Thank you.




David Ko
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     EXHIBIT C
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 5

 6     Plaint,fi' Co-Lead Counsel

 7     Additional counsel listed on signature page

 8
                                UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
10

11
       IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
12     PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC

13                                                    PLAINTIFFS' STATEMENT
       This document relates to:                      CONCERNING THE ADI ISSUES IN
14                                                    ADVANCE OF HEARING
       ALL ACTIONS
15                                                    Judge: Hon. Vince Chhabra
                                                      Hon. Jacqueline Scott Corley
16                                                    Special Master Daniel Garrie
                                                      Courtroom: 4, 17th Floor
17
                                                      JAMS Ref. No.: 1200058674
18
                                                      ORAL ARGUMENT REQUESTED
19

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 1               Pursuant to the Special Master's October 15, 2021 email Order, Plaintiffs submit the

       following preliminary statement concerning the ADI issues.

       I.        ISSUE

 4               Judge Corley has held that "the ADI served adual purpose and that, as ageneral matter,

       documents generated as part of that investigation were not created because of litigation." Dkt. No.

       736 at 6-7. She directed Plaintiffs to work with Facebook and the Special Master regarding

 7     production of additional ADI materials consistent with the Order. The issue now before the Special

 8     Master is what additional ADI materials should Facebook produce?
 ()
       II.       EXAMPLE OF ISSUE
10
                 While Plaintiffs believe the Order justifies the production of abroader scope of documents,
11
       as an interim step and to expedite production, Plaintiffs request that Facebook produce the
12
       following related to phases two and three of the ADI: 1
13
                     1. All memoranda prepared by                       or
14
                     2. All background reports, technical reports, audits, and developer interviews;
15
                     3.   All internal Facebook communications relating to items 1and 2;
16
                     4. All communications with                    or                 related to items 1and
17
                          2; and
18
                     5. All communications with third-party app developers. 2
1')
                 The parties met and conferred about Plaintiffs' requests on October 12. Facebook failed to
20
       offer aproposal for how it planned to comply with Judge Corley's Order, including its guidance to
21
       produce "additional [ADI] materials consistent with the guidance offered by this Order." Dkt. No.

       736 at 2.
23

24

            ADI consisted of three phases: (1) Detection and Identification of offending apps, (2) Enhanced
       Examination, and (3) Enforcement. See Dkt. No. 736 at 2.
26
        See June 19, 2020 Hr'g T. 14:23-15:2 (Facebook's counsel: "[W]e did identify third parties with
27     respect to which we took certain enforcement measures. We sent them letters. We terminated
       them. In afew cases, we sued them. All of Facebook's communications with those third parties
28     are fair game. We're going to produce those.")
       PLAINTIFFS 'STATEMENT                              1                                    MDL No. 2843
       CONCERNING ADI ISSUES                                                    CASE No. 18-mn-02843-VC-JSC
                                                                                  JAMS REF. No.: 1200058674
                                                                                                        039
      Case 3:18-md-02843-VC Document 804-3 Filed 01/11/22 Page 404 of 1031



       iii.   PLAINTIFFS' POSITION

 2            Under the dual-purpose doctrine and pursuant to Judge Corley's Order, Dkt. No. 736,

 3     Plaintiffs are entitled to production of the materials requested above. The Order granted Plaintiffs'

 4     motion to compel Facebook to produce "material from the second and third phases" of the ADI. Id.

       at 2. The second phase concerned "Enhanced Examination"; the third, "Enforcement." Id. The

 6     Court explained that, because "Facebook would have conducted the ADI in substantially the same

       form even in the absence of potential litigation," the materials Plaintiffs moved to compel are not

       protected from production. id. at 6; see United States v. Richey, 632 F. 3d 559, 568 (9th Cir. 2011)
 ()    (where a document was not prepared exclusively for litigation, it qualifies for work-product

       pi otection only if it "would not have been created in substantially similar form but for the prospect

11     of litigation") (citations omitted); see also In re Grand Jury, 13 F.4th 710 (9th Cir. 2021) (dual-

12     purpose attorney-client communications are protected only where the primary purpose concerns

13     legal advice that may not have been provided absent the privilege).

14            As a first step, the Court ordered Facebook to "produce the background and technical

1.5    reports, audits and developer interviews" of six exemplar apps previously identified by the parties

16     for the purpose of briefing. Id. at 6-7. In response, Facebook produced 11 documents. Nine were

17     memoranda prepared by                      or                    two external consultants Facebook

18     retained to assist with ADI. These memoranda contain awealth of relevant information about why

19     these apps were being investigated and what user data they collected. On October 12, Facebook

20     asserted its production relating to the six exemplar apps was complete. However, Facebook's

21     privilege logs concerning those apps identify numerous reports, including 99 reports without

       counsel listed, which are not or are exceedingly unlikely to be privileged. Facebook should

23     complete its production for the six exemplar apps. Facebook should also produce all such

24     memoranda for any apps or developers investigated in phases two or three of the ADI, all other

       additional or related "background reports, technical reports, audits, and developer interviews" for

26     all apps or developers investigated in phases two or three of the ADI, and any internal Facebook

27     communications regarding the ADI--in particular, apps investigated during phases two or three of

28
       PLAINTIFFS 'STATEMENT                             2                                     MDL No. 2843
       CONCERNING ADI ISSUES                                                    CASE No. 18-mn-02843-VC-JSC
                                                                                  JAMS REF. No.: 1200058674
                                                                                                         040
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  1    the ADI. In addition, Facebook should produce all communications with                       or.

       regarding the ADI. The Order provides Facebook no basis for withholding any of these

       communications. Finally. Facebook should produce all third-party communications related to ADI;

 4     despite earlier representations it would produce all such documents, it recently produced two

 5     additional letters, and conceded that it has not.



        Dated: October 22, 2021
                                                               Respectfully submitted,

        KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONT! & AULD LLP

        13% :   /
                5/ Derek W. Loeser                             By:    /s/ Lesley E. Weaver
                Derek W. Loeser                                       Lesley E. Weaver

11      Derek W. Loeser (admitted pro hac vice)                Lesley E. Weaver (SBN 191305)
        Can Campen Laufenberg (admitted pro hac vice)          Anne K. Davis (SBN 267909)
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       PLAINTIFFS 'STATEMENT                               3                                  MDL No. 2843
       CONCERNING ADI ISSUES                                                   CASE No. 18-MD-02843-VC-JSC
                                                                                 JAMS REF. No.: 1200058674
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               11
                                                   UNITED STATES DISTRICT COURT
               12                                 NORTHERN DISTRICT OF CALIFORNIA
                                                      SAN FRANCISCO DIVISION
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               14
                     1N RE: FACEBOOK, INC. CONSUMER                      MDL NO. 2843
               15    PRIVACY USER PROFILE LITIGATION                     CASE NO. 3:18-MD-02843-VC-JSC

               16                                                        FACEBOOK'S SUPPLEMENTAL
                     This document relates to:                           SUBMISSION RE AD!
               17
                     ALL ACTIONS                                         Judge: Hon. Vince Chhabria
               18                                                        Hon. Jacqueline Scott Corley
                                                                         Special Master Daniel Garrie
               19                                                        Courtroom: 4, 17th Floor

           20                                                            JAMS Ref. No.: 1200058674

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                1            In response to the Special Master's Order dated October 15, 2021 regarding AD!, Facebook

                -)   states as follows:

                3            Issue #1: Plaintiffs identify two letters to the developer                           Ithat

                4    Facebook included in its September 21 production of AD1 materials pursuant to Judge Corley's Alll

                5    Order. Plaintiffs say these letters were not produced previously, which they believe conflicts with

                6    Facebook's prior representations about its productions. Plaintiffs say Facebook previously

                7    represented that it had produced all correspondence with developers in connection with AD!.

                8            Example: Plaintiffs identify two letters (i) aletter from Alexander H. Southwell of Gibson

                9    Dunn to                              dated March 30, 2018; and (ii) aletter from Mr. Southwell to

               10                                dated March 13, 2019.

               11            Facebook's Position: Plaintiffs' representations are wrong. The March 30, 2018 letter from

               1/    Alexander H. Southwell to                               was produced to Plaintiffs on July 8, 2020 as

               13    Bates Number FB-CA-MDL-01159181. It is incorrect that Facebook produced this letter for the first

               14    time last month; Plaintiffs have had this letter for over 15 months. Mr. Southwell's second, March

            15       13, 2019, letter was not produced previously. This is because it was not within the set of materials

            16       the parties agreed would be collected and produced in response to Plaintiffs' RFP 21, which requests:

               17    "Communications between Facebook and Third Parties relating to the All!, including but not limited

               18    to Communications that Facebook provided to the Massachusetts Attorney General's Office."

               19            For each of Plaintiffs' RFPs, the parties either agreed to atargeted collect on or custodians

           20        and search strings that would be used to identify potentially responsive materials. In May 2020, the

           21        parties agreed Facebook would conduct atargeted collection for RFP 21, and that they would not

           22        negotiate custodians and search strings. The parties specifically agreed Facebook would collect and

           23        produce developer correspondence from the email account typically used to communicate with.

           24        developers about AD! (Facebook's                          account). Facebook produced these

           25        materials, which amounted to more than 30,000 pages of communications with third parties. Mr.

           26        Southwell's March 13, 2019 letter was not previously collected and produced because the

           27                  account was not copied as arecipient on the transmittal email for this particular letter. This

           28        does not conflict with Facebook's prior representations. Facebook represented that it was not

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                1   asserting privilege over its ADI communications with developers, and it produced the materials the

                    parties agreed Facebook would collect and produce. See, e.g., June 19, 2020 Hr'g Tr. 15:1-2

               3    ("Facebook's communications with those third parties are fair game."); Dkt. 612 at 5("Facebook

               4    further agreed to collect and produce non-privileged materials relating to the Investigation and

                5   already produced more than 30,000 pages of non-privileged materials from the Investigation, which

               6    are communications with third parties about the Investigation."); see also Reinsdoif v. Skechers

                7   U.S.A., Inc., 296 F.R.D. 604, 615 (C.D. Cal. 2013) ("[W]hile parties must impose areasonable

                8   construction on discovery requests and conduct areasonable search when responding to the requests,

               9    the Federal Rules do not demand perfection.").

               1
               ()           Issue #2: Facebook's September 21 production of documents in response to Judge Corley's

               11   ADI Order includes eleven documents, which amount to 379 pages. Plaintiffs assert, without basis,

               12   that the production must be incomplete because Plaintiffs expected Facebook to produce more

           13       documents.

           14               Example: Plaintiffs provide no example of materials missing from Facebook's September 21

           15       production, and Facebook is aware of none.

           16               Facebook's Position: Facebook has produced all materials Judge Corley ordered Facebook

           17       to produce by September 21. Judge Corley ordered Facebook to produce "background and technical

           18       reports, audits and developer interviews of the six exemplar apps chosen by the parties" previously

           19       for asampling exercise designed to identify examples of privileged ADI documents. Dkt. 736 at 7.

           20       Facebook produced nine background and technical reports for the six apps, as well as two cease-and-

           21       desist letters demanding audits. ADI ultimately did not conduct forensic audits or developer

           22       interviews for any of the six apps, so there are no more documents to produce with respect to the six

           23       apps.

           24               Issue #3: Plaintiffs demand that Facebook produce five broad categories of ADI materials:

           25       (a) background and technical reports for every app addressed by ADI; (b) audits for every app

           26       addressed by ADI; (c) developer interviews for every app addressed by ADI; (d) all memoranda

           27       prepared by expert consultants retained by Gibson Dunn related to ADI; and (e) communications

           28       regarding the previous four categories of materials.


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                1           Example: Not applicable.

                            Facebook's Position: Facebook informed Plaintiffs that: (i) Facebook is evaluating what

                3    materials it maintains in the categories Judge Corley described as potentially discoverable in her

                4    September 9, 2021 Order; (ii) Plaintiffs' requests appear to go far beyond Judge Corley's order,

                5    includes requests Judge Corley has already rejected, and should be confined to the categories of

                6    materials Judge Corley described as potentially discoverable; and (iii) it was premature for Facebook

                7    to identify what non-privileged materials it may be able to produce, and Facebook would provide a

                8    preliminary position the week of October 25.

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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC-JSC



This document relates to:                           PLAINTIFFS' RESPONSE TO
                                                    FACEBOOK'S SUPPLEMENTAL
ALL ACTIONS                                         SUBMISSION RE ADI

                                                    Judge: Hon. Vince Chhabria
                                                    Hon. Jacqueline Scott Corley
                                                    Special Master Daniel Garrie

                                                    JAMS Ref. No.: 1200058674


       Pursuant to Special Master Daniel Game's order regarding ADI, Plaintiffs submit

responses to each issue Facebook raises in its October 22, 2021 submission.

       Facebook's Issue #1: Plaintiffs identify two letters to the developer
                    that Facebook included in its September 21 production of ADI
       materials pursuant to Judge Corley's ADI Order. Plaintiffs say these letters were
       not produced previously, which they believe conflicts with Facebook's prior
       representations about its productions. Plaintiffs say Facebook previously
       represented that it had produced all correspondence with developers in connection
       with ADI.


       Response to Issue #1: More than ayear ago, Facebook's counsel represented that it

would produce all correspondence with third parties regarding ADI: "[W]e did identify third


PLRESPONSE TO FACEBOOK SUPP.                    1                                    MDL No. 2843
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parties with respect to which we took certain enforcement measures.... All of Facebook's

communications with those third parties are fair game. We're going to produce those." June 19

2020 lieg Tr. at 14:23-15:2 (emphasis added). However, correspondence with one third-party

app developer,                             was produced for the first time in September 2021,

after Judge Corley's Order. Facebook asserts that the correspondence was not produced earlier

because the sender failed to copy the email address that Facebook represented would capture

such correspondence for its production. The AD1 involves an investigation of "millions of apps,"

as Facebook publicly proclaims. Facebook's failure to produce this document earlier, coupled

with the likelihood that numerous additional communications with apps investigated during

phases 2or 3exist, raises the quesiion of whether all such AD1-related correspondence has been

produced. Facebook should be required to produce all such ihird-party communications

immediately.

       Facebook's Issue #2: Facebook's September 21 production of documents in
       response to Judge Corley's AD! Order includes eleven documents, which anrount
       to 379 pages. Plaintiffs assert, without basis, that the production must be
       incomplete because Plaintiffs expected Facebook to produce more documents.


       Response to Issue #2: Judge Corley's AD! Order required Facebook to produce

"background and technical reports, audits and developer interviews of the six exemplar apps

chosen by the parties." Dkt. 736 at 7. In response to this Order, Facebook produced only

(a) nine memoranda prepared by either Nor             the two external consultants Facebook

retained to assist with ADI, and (b) two letters to third-party app developers. Facebook's

submission states that it has no other materials to provide. Facebook is asserting that      and

lomehow prepared nine lengthy memoranda (one is 223 pages) without the benefit of any

other background reports, audits, or interviews. Facebook's privilege logs refute that assertion. In

the privilege logs concerning the six exemplar apps that Facebook provided to Plaintiffs last

year, there arc 99 references to reports. Plaintiffs request an order requiring Facebook to produce

all withheld background documents on the six exemplar apps, including technical reports and

developer interviews, and to explain how it is construing each of the categories in Judge Corley's


PLRESPONSE TO FACEBOOK SL`PP.                    2                                     MDL No. 2843
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ADI order. Plaintiffs made the latter request in the parties' original meet and confer on October

13. Facebook has ignored the request—just as it has ignored its October 22 promise that, by the

week of October 25, it would provide Plaintiffs with its "preliminary position" on materials it

"may be able to produce."

       Facebook's Issue #3: Plaintiffs demand that Facebook produce five broad
       categories of ADI materials: (a) background and technical reports for every app
       addressed by ADI; (b) audits for every app addressed by ADI; (c) developer
       interviews for every app addressed by ADI; (d) all memoranda prepared by expert
       consultants retained by Gibson Dunn related to ADI; and (e) communications
       regarding the previous four categories of materials.


       Response to Issue #3: Facebook does not explain why Plaintiffs' requests are not

"consistent with the guidance offered by" the ADI Order. Dkt. No. 736 at 7. Plaintiffs seek

production of (1) all memoranda prepared by                    or                  and (2) all

background reports, technical reports, audits, and developer interviews. These are precisely what

Judge Corley ordered for the six exemplar apps and arc therefore explicitly -consistent with the

guidance offered by" the Order. For similar reasons, Plaintiffs should receive (3) all internal

Facebook communications relating to documents in categories one and two; and (4) all

communications with                    or                 related to documents in categories one

or two. Facebook's own discussions of the results of the ADI are evidence critical to Plaintiffs'

negligence and breach of contract claims, among other issues. Plaintiffs also request (5) all

communications with third-party app developers. This request merely seeks what Facebook's

counsel told Plaintiffs and the Court more than ayear ago would be produced. Stipra at 2.

Finally, Plaintiffs emphasize that these requests arc limited to documents from ADI phases two

and three.




PLRESPONSE TO FACEBOOK SUPP.                     3                                     MDL No. 2843
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Dated: November 4, 2021                              Respectfully submitted,



KELLER ROHRBACK L.L.P.                               BLEICHMAR FONTI & AULD LLP


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PLRESPONSE TO FACEBOOK SUPP.                  1                                     MDL No. 2843
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                      UNITED      STATES      DISTRICT       COURT


                     NORTHERN     DISTRICT       OF    CALIFORNIA


BEFORE   THE   HONORABLE      JACQUELINE       SCOTT     CORLEY,      MAGISTRATE       JUDGE


IN RE:   FACEBOOK,    INC.     CONSUMER           )
PRIVACY USER    PROFILE      LITIGATION.          )     NO.    18-MD-2843       VC    (JSC)
                                                        San    Francisco,       California
                                                        Friday,       June    19,    2020


          TRANSCRIPT     OF    ZOOM VIDEOCONFERENCE             PROCEEDINGS


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       (Appearances    continued,        next    page)




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 1   about that      specific    request,      there are a whole        set of other

 2   requests that         clearly,    it's material.

 3          So the bottom line          is we want   to get    this process        started

 4   of getting these documents            related to this ADI          investigation,

 5   which is      fundamentally relevant         to all our claims.            Right?

 6   Because      it's about    the enforcement of      Facebook's policies

 7   against      third parties       that are taking data from Facebook's

 8   platform.

 9                 MR.     SNYDER:    Your Honor,    this   is Mr.      Snyder.     I'm

10    going to defer to Ms.            Stein for a moment.

11           I just want      to frame the      issue just very briefly,           which is

12   that    the app developer investigation was an internal                     legal

13   investigation.

14          My law firm actually supervised it,               at   the direction of

15   in-house counsel at         Facebook.      And it's    the privileged

16   documents that we are objecting to.

17          We are going to          -- what happened was we conducted an

18   internal      investigation of       --   retrospectively,      Your Honor,         of

19   all    third-party apps on the Facebook platform,                  to go back in

20   time and see        if there were any Cambridge Analytica-like

21   incidents.       It    turned out    there were none.

22          But    as a result of       that   searching retrospective           internal

23   examination,        we did identify third parties with respect                 to

24   which we took certain enforcement measures.                   We    sent    them

25   letters.      We terminated them.           In a few cases,        we   sued them.




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 1              All of Facebook's          communications with those third parties

 2   are    fair game.         We're going to produce those.                   And so they're

 3   going to get a substantial amount of                         information relating to

 4   all enforcement actions we took with third parties as a result

 5   of our privileged internal                review.

 6              Much of the      information has already been produced.                       Some

 7   of    it    is    in the queue     for production right now.

 8              And so there's going to be a lot of                   information they're

 9   going to get about our enforcement measures.

10              And what we're objecting to producing is                   the    information

11   that       Facebook's counsel generated,                which is my law firm working

12   with in-house            lawyers at     Facebook.

13              And that's what       is    the ADI,       or the app developer

14   investigation.            That's      separate and apart          from,    then,

15   enforcement actions            that we took.            And that    is,    to the extent

16   responsive          --   and I think most        it    is,    if not all of    it   --   we're

17   going to be producing that.

18              The extent      to which those        investigative matters are

19   privileged is the            subject of a pending appeal              in Massachusetts.

20   And the Massachusetts              Supreme Court         recently granted

21   extraordinary review of an order that                        required us to produce

22   what we          said was privileged materials.

23              But   even the order in that           case,      Your Honor,     recognizes

24   that many of the materials                that    the plaintiffs here are asking

25   for are protected by the attorney/client privilege.




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 3

 4                                  UNITED STATES DISTRICT COURT

 5                               NORTHERN DISTRICT OF CALIFORNIA

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 7      IN RE: FACEBOOK, INC. CONSUMER                     Case No. 18-md-02843-VC        (JSC)

 8      PRIVACY USER PROFILE LITIGATION
                                                           ORDER GRANTING MOTION TO
 9                                                         COMPEL ADI MATERIALS

10                                                         Re: Dkt. Nos. 611, 612, 699, 711, 719, 720,

11                                                         721, 727, 729

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13            In early 2018, the public learned that "Cambridge Analytica, aBritish political consulting

14    firm, used personal information from millions of Facebook accounts to send targeted political

15    messages during the 2016 presidential election." in re Facebook, Inc. Consumer Privacy User

16    Prcfile Litigation, 402 F.Supp.3d 767, 777 (N.D. Cal. Sep. 9, 2019). "In the months that followed,

17    reports emerged suggesting that the ability of ...entities like Cambridge Analytica to obtain

18    sensitive Facebook user information was the norm rather than the exception." Id. Following the

19    disclosure, Facebook initiated an app developer investigation (ADI) that involved areview of all

20    "apps that had access to large amounts of data before [Facebook] changed [its] platform policies in

21    2014." See https://about. fb.com/news/2019/09/an-update-on-our-app-developer-investigati

      As the ADI, or, more precisely, the information the ADI uncovered, is directly relevant to

23    Plaintiffs' claims in this MDL action, Plaintiffs seek information learned from and generated by

24    the ADI. While Facebook has agreed to produce some data, it resists disclosure of reports, audits

25    and interviews created or conducted by non-attorneys on the grounds that such documents are

26    protected by attorney-work product or the attorney-client privilege. After several rounds of

27    briefing and attempts among the parties to resolve, or at least narrow, the dispute, the issue is now

28    ripe for decision.


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 1                                        DOCUMENTS AT ISSUE

             Facebook's ADI consisted of three phases: (1) Detection and Identification of offending

 3    apps, (2) Enhanced Examination, and (3) Enforcement. In the Enhanced Examination Phase, the

 4    ADI forensic team conducted intensive background and technical investigations of the identified

 5    apps that, among other things, might identify the potential for data misuse. (Dkt. No. 699-5 If 17.)

 6    In the Enforcement phase, to assist Facebook with deciding whether to take action against an app,

 7    additional investigation might be conducted including interviews or audits of data security or

 8    storage infrastructure. (Id. ¶ 19.). Plaintiffs seek material from the second and third phases that

 9    does not involve communications with lawyers or content created by lawyers. While Facebook

10    has agreed to produce some information (Dkt. No. 699-1 at 4), it refuses on privilege grounds to

11    produce the reports, audits and interviews, and non-attorney communications related to the same.

12                                                ANALYSIS

13           The parties agree that federal law governs this dispute. (Dkt. Nos. 611-2 at 16, 612-2 at 12,

14    699 at 4, 727 at 5n.1) (applying federal law).) "The work product doctrine protects from

15    discovery documents and tangible things prepared by aparty or his representative in anticipation

16    of litigation." United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011). "To qualify for work-

17    product protection, documents must: (1) be 'prepared in anticipation of litigation or for trial' and

18    (2) be prepared 'by or for another party or by or for that other party's representative." In re

19    Grand Jury Sulpoena (Mark Toij/Toif Envtl. Mgmt, 357 F.3d 900, 907 (9th Cir. 2004). A finding

20    that adocument was prepared in anticipation of litigation, however, does not always end the

/1    inquiry.

                     In circumstances where adocument serves adual purpose, that is,
                     where it was not prepared exclusively for litigation, then the "because
23                   of' test is used. Dual purpose documents are deemed prepared
                     because of litigation if in light of the nature of the document and the
                     factual situation in aparticular case, the document can be fairly said
                     to have been prepared or obtained because of the prospect of
25                   litigation. In applying the because of standard, courts must consider
                     the totality of the circumstances and determine whether the document
26                   was created because of anticipated litigation, and would not have been
                     created in substantially similarform butfor the prospect cf litigation.
27

28    Richey, 632 F.3d at 567-68 (emphasis added). The party resisting production of material based on
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 1    the work product privilege bears the burden of proving that the privilege applies. See Hernandez v.

      Tanninen, 604 F.3d 1095, 1102 (9th Cir. 2010).

 3           Facebook has met its burden of proving that the documents were prepared in anticipation

 4    of litigation. Shortly before Facebook initiated the ADI, anationwide consumer class action was

      filed against Facebook in this Court. (Dkt. No. 1). Within weeks, more than 40 actions were filed

 6    which were consolidated into this Multi-District Litigation. Facebook offers evidence that the

 7    ADI was launched in part to address potential regulatory and litigation risks posed by apps that

      had been on the Facebook platform since before Facebook changed in policies in 2014. (Dkt. No.

 9    699-5, Dkt. No. 720.)

10           Facebook's own public pronouncements about the ADI, however, demonstrate that the

11    documents were not created exclusively in anticipation of litigation and that, in fact, Facebook

1?    would have conducted the AD1 in substantially similar form even in the absence of potential

13    litigation. See Richey, 632 F.3d at 568.

14           On March 21, 2018, Mark Zuckerberg, Facebook's CEO, publicly posted:

15
                     Iwant to share an update on the Cambridge Analytica situation—
16                   including the steps we've already taken and our next steps to address
                     this important issue.
17
                     We have aresponsibility to protect your data, and if we can't then
18                   we don't deserve to serve you. I've been working to understand
                     exactly what happened and how to make sure this doesn't happen
19
                     again.
20
                     [W]e already took the most important steps afew years ago in 2014
                     to prevent bad actors from accessing people's information in this
                     way. But there's more we need to do and I'll outline those steps
                     here:

                     First, we will investigate all apps that had access to large amounts of
                     information before we changed our platform to dramatically reduce
                     data access in 2014, and we will conduct afull audit of any app with
                     suspicious activity. We will ban any developer from out platform
                     that does not agree to athorough audit. And if we find developers
26                   that misused personally identifiable information, we will ban them
                     and tell everyone affected by those apps.
27

28    Mr. Zuckerberg concluded:

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                     Istarted Facebook, and at the end of the day I'm responsible for
                     what happens on our platform. I'm serious about doing what it takes
                     to protect our community. While this specific issue involving
 3                   Cambridge Analytica should no longer happen with new apps today,
                     that doesn't change what happened in the past. We will learn from
 4                   this experience to secure our platform further and make our
                     community safer for everyone going forward.


 6    https://www.facebook.com/zuck/posts/1010471203790007. This statement specifically identifies
 7    the purpose of the ADI as serving Facebook's business goal of protecting Facebook's customers'
 8    data by figuring out what happened, how it happened, and removing apps that misused customers'
 9
      data so that Facebook could "secure our platform further and make our community safer for
10    everyone going forward." id.
11           Two months later, Facebook updated the public on the "app investigation and audit" Mr.
12    Zuckerberg promised on March 21, 2018.

13
                     The investigation process is in full swing, and it has two phases.
14                   First, acomprehensive review to identify every app that had access
                     to this amount of Facebook data. And second, where we have
15                   concerns, we will conduct interviews, make requests for information
                     (RFI)—which ask aseries of detailed question about the app and the
16
                     data it had access to—and perform audits that may include on-site
17                   inspections.

18                   We have large teams of internal and external experts working hard
                     to investigate these apps as quickly as possible. To date thousands
19                   of apps have been investigated and around 200 have been
                     suspended—pending athorough investigation into whether they did
20
                     in fact misuse any data. Where we find evidence that these or other
21                   apps did misuse data, we will ban them and notify people via this
                     websitc. It will show people if they or their friends installed an app
22                   that misused data before 2015—just as we did for Cambridge
                     Analytica.
23
                     There is alot more work to be done to find all the apps that may
24
                     have misused people's Facebook data—and it will take time. We are
25                   investing heavily to make sure this investigation is as thorough as
                     possible. We will keep you updated on our progress.
26

27    https://fb.cominew/2018/05/update-on-app-auditi. This statement again demonstrates that a"core

28    purpose" of the ADI was abusiness rather than legal purpose: to assure its customers that it was

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 1    conducting athorough investigation to remove bad apps and advise customers if their data may

      have been misused. And the ADI was being conducted "as quickly as possible," —not because of

 3    fast-tracked litigation, as the pace of this MDL surely demonstrates—but because of the need to

 4    weed out the bad apps to protect Facebook's consumers, its good will, and its business.

 5           Facebook provided afurther update on "our ongoing App Developer Investigation" on

 6    September 20, 2019. Facebook explained that its investigation

 7                   has involved hundreds of people: attorneys, external investigators,
                     data scientists, engineers, policy specialists, platform partners and
                     other teams across the company. Our review helps us to better
                     understand patterns of abuse in order to root out bad actors among
 9
                     developers.

10    Facebook explained further

11                   that where it has concerns, it "conduct[s] a more intensive
                     examination. This includes background investigation of the developer
12                   and a technical analysis of the app's activity on the platform.
                     Depending on the results, arange of actions could be taken from
13                   requiring developers to submit to in-depth questioning, to conducting
                     inspections or banning an app from the platform.
14
      https://about.tb.com/news/2019/an-update-on-our-app-developer-investigation/. Facebook told
15
      the public about its investigation, including the background and technical analysis it now claims is
16
      privileged work product, to assure the public that Facebook was cleaning up its platform and thus
17
      generate trust in its site—a classic business purpose. The ADI team members Facebook identified
18
      were enlisted to help Facebook "better understand patterns of abuse in order to root out bad
19
      actors."
20
             In light of Facebook's own statements, the Court finds that Facebook would have
21
      conducted the ADI in substantially the same form even in the absence of potential litigation; that

      is, that Facebook did not initiate the ADI because of the prospect of litigation. See Phoenix Tee/is.
23
      Ltd. v. VAlware, Inc., 195 F. Supp. 3d 1096, 1105 (N.D. Cal. 2016) (holding that dual purpose

      documents were not protected work product because they served abusiness purpose independent

      of litigation). Facebook's assertion that the ADI served only alitigation purpose (Dkt. No. 727 at
26
      3) is patently implausible in light of Facebook's public pronouncements. It is inconceivable that
27
      Facebook would not have initiated aspeedy, large-scale-subject matter specialist investigation into
28

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 1    app data misuse in the absence of potential litigation. Such assertion could only be true if the

 2    Court found that Facebook was lying to the public when it stated that the purpose of the ADI was

 3    to root out bad apps and secure Facebook's platform so that consumers could have faith in the

 4    company. Facebook, unsurprisingly, does not offer any evidence to support such afinding.

 5    Indeed, after asking the Court for the opportunity to submit additional evidence, it provided a

 6    declaration from outside counsel which does not even acknowledge these statements. There is no

 7    evidence from anyone at Facebook that addresses the repeated public proclamations as to the

 8    obvious business purpose of the ADI.

 9           Facebook's suggestion that these materials may also be protected by the attorney-client

10    privilege is unpersuasive given that Plaintiffs are not seeking documents created by counsel,

11    counsel's edits, or any communications with counsel. Facebook has not explained how anon-

12    attorney's interview or audit of adeveloper would be protected from discovery by the attorney-

13    client privilege under federal law. At best such material would be attorney work product. For the

14    reasons explained above, it is not under the totality of the circumstances here given Facebook's

15    public exhortations of the business purpose behind its AD!.

16                                          MOTION TO STRIKE

17           Facebook moves to strike Plaintiffs' response to Facebook's supplemental declaration.

18    (Dkt. No. 727.) For the most part the response addresses the declaration and thus is

19    unobjectionable. The new argument as to the attorney-client privilege "primary purpose" test is

20    stricken and, in any event, is moot as the Court is not addressing the application of the attorney-

21    client privilege. The documents discussed in this Order—background and technical reports,

      audits, and interviews prepared and conducted by non-attorneys—are work product, not attorney-

      client privilege material. The Court has nonetheless reviewed Facebook's motion to strike's

      substantive arguments, including the cases buried in footnote 1, and none persuade the Court

25    otherwise.

26                                              CONCLUSION

27           In light of Facebook's unchallenged public proclamations as to the business purpose of the

28    AM, the Court finds that the ADI served adual purpose and that, as ageneral matter, documents

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                                   1    generated as part of that investigation were not created because of litigation. On or before

                                   2    September 21, 2021, Facebook shall produce the background and technical reports, audits and

                                   3    developer interviews of the six exemplar apps chosen by the parties as Facebook has offered no

                                   4    special reasons why those particular documents are privileged other than what has been addressed.

                                   5    The parties shall work with the Special Master regarding production of additional materials

                                   6    consistent with the guidance offered by this Order.

                                   7           This Order disposes of Docket Nos. 611, 612, 699, 720, 727.

                                   8           IT IS SO ORDERED.

                                   9    Dated: September 8, 2021

                                  10

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                                                                                                       C ELINE SCOTT CORL
                                  12                                                                 United States Magistrate Judge
Northern District of California
 United States District Court




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               11
                                                   UNITED STATES DISTRICT COURT
               12                                 NORTHERN DISTRICT OF CALIFORNIA
                                                      SAN FRANCISCO DIVISION
               13

               14
                     1N RE: FACEBOOK, INC. CONSUMER                    MDL NO. 2843
               15    PRIVACY USER PROFILE LITIGATION                   CASE NO. 3:18-MD-02843-VC-JSC

               16                                                      FACEBOOK'S RESPONSE TO
                     This document relates to:                         PLAINTIFFS' STATEMENT
               17                                                      CONCERNING THE ADI ISSUES IN
                     ALL ACTIONS                                       ADVANCE OF THE HEARING
               18
                                                                       Judge: Hon. Vince Chhabria
               19                                                      Hon. Jacqueline Scott Corley
                                                                       Special Master Daniel Garrie
           20                                                          Courtroom: 4, 17th Floor

           '1                                                          JAMS Ref. No.: 1200058674



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                I          Pursuant to the Special Master's October 15, 2021 Order, Facebook respectfully submits this

                2   response to Plaintiffs' description of pending ADI issues. The Special Master allowed each party one

                3   paragraph to respond to each issue raised by the other party. Because Plaintiffs combined many issues

               4    under a single issue heading—likely in an effort to limit Facebook's response on a number of

                5   complicated issues to asingle paragraph—Facebook responds to each separate issue raised by Plaintiffs




                7          Issue #1: Plaintiffs assert: "Facebook should produce all third-party communications related

                8   to ADI; despite earlier representations it would produce all such documents, it recently produced two

                9   additional letters, and conceded that it did not." Ex. M at 3.

               10          Facebook's Response: As discussed in Facebook's opening submission tp the Special Master,

               11   Ex. N, Facebook's production in response to RFP 21 (Exhibit A) is complete. Facebook produced the

               12   third-party communications related to ADI that the parties agreed Facebook would collect and

               13   produce; one of the documents Plaintiffs claim was improperly withheld was actually produced in Jul)

               14   2020 and the other is outside the scope of the materials the Parties agreed Facebook would produce in

               15   response to this request. The Parties agreed in May 2020 that Facebook would collect and product

                    materials responsive to RFP 21 by collecting third-party correspondence from its

               17   email account. Facebook did. To provide abit more detail, Plaintiffs continue to falsely claim that

               18   Facebook's September 21, 2021 production under Judge Corley's ADI Order included two letters with

               19   third parties that Facebook previously withheld improperly. Facebook has corrected Plaintiffs several

           "
           70       times. See Ex. L. One of the letters Plaintiffs say Facebook improperly withheld until September 2021

           21       (from Alexander H. Southwell of Gibson Dunn to                               was, in fact, produced in

           22       July 2020 as Bates Number FB-CA-MDL-0 1159181. Even though Facebook has pointed Plaintiffs to

           23       the Bates Number associated with its prior production cf this letter, Plaintiffs continue to make this

           24       false accusation.   Similarly, as Facebook explained, the other letter Plaintiffs say was withheld

           25       improperly (also from Mr. Southwell to                                 was not ?roduced previously

           26       because the                       email account was not copied as arecipient on the transmittal email

           27       for this particular letter, and the parties agreed that Facebook would collect materials responsive to

           28       RFP 21 through atargeted collection from Facebook's                        email account. The Parties


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                1   spent more than one year negotiating how Facebook would collect materials potentially responsive to

                    each of Plaintiffs' requests for production, and the Special Master should reject Plaintiffs' efforts to

               3    unwind and expand past agreements now.

               4           Issue #2: Plaintiffs assert that Facebook's production of "background and technical reports,

               5    audits and developer interviews' of six exemplar apps previously identified by the parties for the

               6    purpose of briefing" is incomplete under Judge Corley's ADI Order, because "Facebook's privilege

               7    logs concerning those apps identify numerous reports, including 99 reports without counsel listed,

               8    which are not or are exceedingly unlikely to be privileged." Ex. M at 2.

               9           Facebook's Response: Facebook produced the background and technical reports Judge Corley

               1
               ()   ordered Facebook to produce for six specific apps; the additional "reports" Plaintiffs now seek are

               11   beyond the scope of Judge Corley's order and Plaintiffs' own requests.        In thmanding additional

           12       materials beyond the scope of Judge Corley's Order, Plaintiffs deliberately conflate ADI-related emails

           13       and attachments Facebook logged in late 2020 with the underlying factual materials Judge Corley

           14       ordered Facebook to produce in September 2021. The parties already litigated whether emails and

           15       attachments Facebook logged previously were discoverable, Judge Corley conducted an in-camera

           16       review, and Judge Corley did not order asingle one of these communications produced. By way

           17       of background, Plaintiffs initially demanded all ADI-related documents and communications.

           18       Facebook objected to that request on privilege grounds, and Judge Corley asked the parties to identify

           19       asample of materials to work through privilege issues. Ex. C at 44:23-48:8. To do this, the parties

           20       agreed to six exemplar apps; Facebook then logged responsive emails (and their families) hitting on

           21       those Apps' names or IDs from certain custodians' files.      Exs. D, E.   Under the Parties' ESI and

           22       Privilege Protocols, Facebook logged full families, so long as any document in the family was ADI-

           23       related and any document in the family hit on one of the six exemplar apps' names or IDs. While

           24       Plaintiffs have not clarified which privilege-log entries they claim should be produced, materials

           25       labeled "reports" could have been logged for avariety of reasons if they happened to be attached to a

           26       document family that was logged. After Facebook logged these emails and attaclunents, Plaintiffs

           27       moved to compel their production, Ex. F, and Judge Corley conducted an in camera review. After

           28       conducting this review, Judge Corley expressed concerns about the ADI emails and attachments that


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                1   Plaintiffs demanded: "a lot of it Idon't think is relevant at all"—some materials are "privilege[d] and

                    Iactually think you don't even need." Ex. G 17:8-21. Judge Corley then pressed Plaintiffs on "what...

               3    precisely [it is] that the plaintiffs need from th[e] investigation." id. at 17:22-23. Plaintiffs clarified

               4    they did not seek the materials that Facebook had logged:                "[T]he facts underlying these

                5   communications are what we're really seeking." id. at 18:13-15; id. at 18:1-4 (Mr. Ko). After the

               6    parties were not able to successfully negotiate the "underlying facts" Facebook would produce,

                7   Plaintiffs moved to compel an entirely different set of materials. Judge Corley explained:

                8          Plaintiffs seek documents (not created by lawyers) from the 'Enhanced Examination
                           phase' that involve background and technical investigations to identify the potential for
               9           data misuse. (Dkt. No. 699 at 5.) They also seek documents from the Enforcement
                           phase,' including Facebook conducted audits and interviews. (Id.).
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               0
                    Ex. Iat 2-3 (citing Ex. H at 5). She further clarified: "None of these documents were part of the in
               11
                    camera review the Court earlier conducted [of materials Facebook logged]." id. at 3. Judge Corley
               12
                    ultimately ordered Facebook to produce "the background and technical reports, audits and developer
           13
                    interviews of the six exemplar apps [previously] chosen by the parties." Ex. K at 7. Judge Corley
           14
                    ordered Facebook to produce specific reports Plaintiffs requested and the Parties briefed on July 2,
           15
                    2021, see Ex. Iat 2-3; Ex. Jat IN 14-15,20,25, and she did not order Facebook to produce any of the
           16
                    emails and attachments Facebook logged many months earlier, which had been part of her in camera
           17
                    review in February 2021 and are separate and distinct from the specific reports she later ordered
           18
                    produced. Facebook complied with these instructions.
           19
                           Issue #3:    Plaintiffs assert that in addition to the 99 reports or memoranda identified on
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                    Facebook's privilege logs for the six exemplar apps that were not produced, "Facebook should also
           21
                    produce all such memoranda for any apps or developers investigated in phases two or three of the
           22
                    ADI." Ex. M at 2.
           23
                           Facebook's Response:        Like Plaintiffs' request for unspecified "reports," Plaintiffs' broad
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                    request for all ADI-related memoranda was not part of Plaintiffs' narrowed request for facts underlying
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                    ADI or among the materials addressed in Judge Corley's ADI Order. Such awide-ranging and new
           26
                    request is beyond the scope of Judge Corley's Order, demands materials protected by the attorney-
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                    client privilege and work-product doctrine, seeks materials Plaintiffs have conceded they are not
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                    seeking, see shpra Issue #2, and should be rejected.

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                1           Issue #4:   Plaintiffs assert that "Facebook should also produce ... any internal Facebook

                    communications regarding the ADI—in particular, apps investigated during phases two or three of the

               3    ADI." Ex. M at 2-3. Plaintiffs also assert that "Facebook should produce all communications" with

               4    its technical experts "regarding the ADI." Id. at 3.

                5           Facebook's Response:       Plaintiffs' request for all internal ADI communications and all

               6    communications with Facebook's consulting experts relating to ADI seeks to relitigate arequest Judge

                7   Corley rejected and Plaintiffs previously abandoned. As discussed above, in February 2021 Plaintiffs

                8   moved to compel all communications regarding ADI, and Judge Corley reviewed in camera twenty

               9    communications of Plaintiffs' choosing.     Ex. F.     Plaintiffs later abandoned their request for ADI

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               ()   communications, stating, "the facts underlying these communications are what we're really seeking."

               11   Ex. G at 17:22-23,18:1-4,13-15 (Mr. Ko). This concession led to months of mediation regarding the

               12   "facts" Plaintiffs sought. Judge Corley's ADI Order describes her understanding of the underlying

           13       facts Plaintiffs sought:

           14              Plaintiffs seek documents (not created by lawyers) from the 'Enhanced Examination
                           phase' that involve background and technical investigations to identify the potential for
           15              data misuse. (Dkt. No. 699 at 5.) They also seek documents from the 'Enforcement
                           phase,' including Facebook conducted audits and interviews. (Id.).
           16
                    Ex. Iat 2-3 (citing Ex. H at 5).     Judge Corley further clarified that "[n]one of these documents
           17
                    [Plaintiffs now request] were part of the in camera review [of ADI emails] the Court earlier conducted."
           18
                    Id. at 3. Judge Corley's September 8ADI Order resolved both Plaintiffs' new request for "underlying
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                    facts" about ADI and their prior motion to compel ADI correspondence. See Ex K at 7("This Order
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                    disposes of Docket No[.] 611 [Plaintiffs' Motion to Compel Production of Documents Related to
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                    Facebook's App Developer Investigation]"). In doing so, Judge Corley did not order production of
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                    my documents she reviewed in camera or any other internal ADI communications. There is no basis
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                    for Plaintiffs to demand these materials now. Nor is there any basis for Plaintiffs to demand ADI-
           24
                    related communications with counsel, which are protected by the attorney-client privilege. Plaintiffs
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                    explicitly assured Judge Corley that they were "not interested in the legal advice and legal
           26
                    communications."      Ex. C at 35:16-17; see also id. at 34:19-22.         Judge Corley repeated this
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                    understanding in her ADI Order, stating: "Plaintiffs are not seeking documents created by counsel,
           28
                    counsel's edits, or any communications with counsel." Ex. K at 6. Judge Corley, the Parties, and the

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                1   mediators have spent nearly two years narrowing Plaintiffs' ADI document requests, and Judge

                    Corley's instruction to work with the Special Master on additional productions consistent with her

               3    order was not an invitation for Plaintiffs to rewrite earlier proceedings or to renege on past promises.

               4           Issue #5:    Plaintiffs assert that "Facebook should also produce ... all other additional or

                5   related" background reports and technical reports "for all apps or developers investigated in phases two

               6    or three of the ADI." Ex. M at 2.

                7          Facebook's Response: Plaintiffs' demand for immediate production of all background and

                8   technical reports is premature and inconsistent with Judge Corley's and Judge Chhabria's repeated

               9    instructions. Over its objection, Facebook has produced all of the background and technical reports

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               ()   Judge Corley ordered Facebook to produce.           Judge Corley's ADI Order specifically required

               11   production of "background and technical reports" related to six exemplar apps, and Facebook produced

               12   these materials. To the extent the Special Master is inclined to compel Facebook to produce additional

           13       privileged background and technical reports over its objection, Facebook must be provided an

           14       opportunity to review these materials for document-specific privilege issues within them, such as

           15       attorney-client communications, attorney work product (e.g., attorney edits), or other privileged

           16       information (e.g., trade secrets, personally-identifiable information). Facebook presented evidence to

           17       Judge Corley that background and technical reports from ADI are not uniform in nature, Ex. J111117,

           18       20-21, and Judge Corley recognized that ADI materials are likely to include privileged information

           19       and attorney work product. Specifically, Judge Corley advised that "facts" underlying ADI would be

           20       discoverable but that Facebook would not be required to produce any information that is "(a) attorney-

           21       client privilege[d]; or (b) attorney work product," noting that things such as attorney "edits" and "any

           22       advice that was given" would not be discoverable. Ex. G at 16:22-25, 17:1-3. To that end, Judge

           23       Corley's ADI Order did not require production of "communications with lawyers or content created by

           24       lawyers," Ex. K at 2, and did "not address[] the application of attorney-client privilege," id. at 6. Judge

           25       Corley's order plainly provides Facebook an opportunity to review for individualized privilege issues

           26       any additional materials it is ordered to produce over its objection. Such areview is also consistent

           27       with Judge Chhabria's repeated instructions that "it would [not] be appropriate. .. to order" Facebook

           28       to produce documents without reviewing them. See, e.g., Ex. B at 8:10-9:10. Should Facebook be


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                1   ordered to produce additional background and technical reports, any such production will also be

                    contingent on Plaintiffs' agreement that they will be produced on aHighly Confidential—Attorneys'

               3    Eyes Only basis. These reports contain highly sensitive business information about Facebook and the

               4    third parties investigated. They also contain unconfirmed information regarding third parties. The

               5    background and technical reports were intended to identify potential concerns about third-parties for

               6    counsel to investigate further; in many cases these potential concerns were not confirmed or were later

                7   proven to be inaccurate based on additional evidence gathered by the ADI team.

               8           Issue #6:   Plaintiffs assert that "Facebook should also produce ... all other additional or

               9    related ...audits[] and developer interviews for all apps or developers investigated in phases two or

               10   three of the ADI." Ex. M at 2(internal quotation marks omitted).

               11          Facebook's Response:      Judge Corley ordered Facebook to produce "audits and developer

           12       interviews of the six exemplar apps chosen by the parties." Ex. K at 7. She reasoned: "Plaintiffs are

           13       not seeking documents created by counsel, counsel's edits, or any communications with counsel.

           14       Facebook has not explained how anon-attorney's interview or audit of adeveloper would be protected

           15       from discovery by the attorney-client privilege."      id. at 6.   Facebook did not conduct audits or

           16       interviews of any of the six example apps.     To the extent the Special Master is inclined to order

           17       production of the materials Judge Corley described for other apps, Facebook will investigate what, if

           18       any, "non-attorney's interview[s] or audit[s]" of developers exist for other apps investigated by ADI.

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                       EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC



This document relates to:                      PLAINTIFFS' SECOND SET OF
                                               REQUESTS FOR PRODUCTION TO
ALL ACTIONS                                    DEFENDANT FACEBOOK, INC.

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor




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communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook's investigation."

REQUEST FOR PRODUCTION NO. 21

         Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General's

Office. See Chen Declaration If 37.

REQUEST FOR PRODUCTION NO. 22

         All "Privacy Risk Assessment[s]," and notes or agenda relating to Facebook's "focused

subject-matter-specific meetings," "focused subject-matter-specific discussions," "weekly intra-

and inter-team meetings," and "Privacy Summit[s]," as detailed in "Facebook's Privacy Program

Overview" included in any PricewaterhouseCoopers LLP ("PwC") assessment report prepared

pursuant to the FTC Consent Order.

REQUEST FOR PRODUCTION NO. 23

         Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

REQUEST FOR PRODUCTION NO. 24

         Documents sufficient to identify all Third Parties to which Facebook granted access to

Users' Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

REQUEST FOR PRODUCTION NO. 25

         All Documents relating to agreements or partnerships described in Request No. 24.




PLAINTIFFS' SECOND SET OF RFPsTO                 15                                   MDL No. 2843
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                      UNITED STATES DISTRICT COURT


                     NORTHERN DISTRICT OF CALIFORNIA


Before The Honorable Vince            Chhabria,        Judge


IN RE:   FACEBOOK,    INC.,    CONSUMER      )
PRIVACY USER PROFILE LITIGATION.)                NO.    18-md-02843 VC



                                      San Francisco,           California
                                      Wednesday,        January 8,       2020


                        TRANSCRIPT OF PROCEEDINGS


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Also   Present:    Katherine Martin,          Facebook


           (APPEARANCES       CONTINUED ON THE FOLLOWING PAGE)



Reported By:                 Marla    F.   Knox,   RPR,    CRR,    Official       Reporter




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 1   Wednesday - January 8,             2020                                  2:14 p.m.


 2                                 PROCEEDINGS


 3                                             ---000---


 4               THE CLERK:        Calling Case Number              18-MD-2843,     In Re:


 5   Facebook,    Inc.,    Consumer Privacy User                 Profile Litigation.


 6           Counsel,    please    step    forward to the podiums and               state your


 7   appearances       for the record.


 8               MR.    LOESER:     Derek Loeser for Plaintiffs.                  Happy New


 9   Year,   Your Honor.


10               THE COURT:        Hello.


11               MS.    WEAVER:     Lesley Weaver              for Plaintiffs.


12               THE COURT:        Hello.


13               MS.    LAUFENBERG:        Good afternoon,            Your Honor,    Can


14   Laufenberg    for    Plaintiffs.


15               THE COURT:        Hello.


16               MS.    DAVIS:    Anne Davis             for   Plaintiffs.


17               THE COURT:        Hello.


18               MR.    SAMRA:     Josh Sarnia           for   Plaintiffs.


19               THE COURT:        It    seems       like your team is       growing.


20   I guess    that makes       sense.        And your team is         --


21               MR.    LIPSHUTZ:        Ours       is   shrinking,    Your Honor.


22               MR.    LOESER:     This       is    a good trend.       We grow and they


23   shrink.


24               MR.    LIPSHUTZ:       Good afternoon,            Your Honor,    Josh


25   Lipshutz    for Facebook.




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 1              THE COURT:       I guess    if you don't have Mr.            Snyder here,

 2   you have already shrunk.

 3              MR.   LIPSHUTZ:     In some elements,          yes,   Your Honor.

 4              MR.   LOESER:     And we were wondering how to make fun of

 5   him in his absence,        Your Honor.

 6              THE COURT:       We will find a way.           Sorry.

 7              MS.   KUTSCHER:     Martie Kutscher       --

 8              THE COURT:       Sorry.

 9              MS.   KUTSCHER:     --    for Defendants.

10              THE COURT:       Sorry.     What was your name?

11              MS.   KUTSCHER:     Martie Kutscher.

12              MS.   MARTIN:     And Katherine Martin for Facebook.

13              THE COURT:       Okay.     And --

14              THE CLERK:       Hold on.     And Defense on the phone?

15              MS.   BECKAGE:     Hi,    good afternoon,       Your Honor,      Jennifer

16   Beckage of Beckage PLLC for non-prioritized Defendant Aleksandr

17   Kogan.

18              MS.   JAWORKSI:     Your Honor,       this is Mynah Jaworski

19   also on behalf of non-prioritized Defendant Aleksandr Kogan.

20              THE COURT:       So do you-all have anything on the agenda

21   or   are you just here to kind of monitor it?

22              MS.   BECKAGE:     Thank you,       Your Honor.       This    is Jennifer

23   Beckage.    Yes,   we wanted to be available to the extent any

24   discussions may impact our clients.

25              THE COURT:       Okay.     Just   chime in any time you need to




                                                                                            0814
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 1   I just    figured if you had anything in particular you wanted to

 2   discuss,    we would get that out of the way first.

 3               MS.   BECKAGE:     Not at this time.       Thank you,

 4   Your Honor.

 5               THE COURT:       So as you can see,    you-all are not the

 6   most    interesting case I have today.

 7                                      (Laughter)

 8               MR.   LOESER:     We can see that.

 9               THE COURT:       So I did read your case management

10   statement last night.          It sounds like you have some relatively

11   inconsequential beefs that maybe you have resolved by now about

12   how to proceed with discovery.            But what do you want to talk

13   about?

14               MR.   LOESER:     I think we can start      there,   Your Honor,

15   and --    first of all,      Happy New Year.

16               THE COURT:       You too.

17               MR.   LOESER:     We are here and ready to move this case.

18           Discovery is going very,        very slowly.     I think you

19   probably get a sense of that from the letters that we have been

20   bothering you with and Facebook as well.               And the disputes that

21   exist there in some sense they should be easy to resolve.                 You

22   know,    whether Facebook gives us the rest of the FTC letters,

23   that shouldn't be complicated.            Obviously that earlier

24   investigation is relevant to our case;            but they signal to us

25   kind of a huge gap between Facebook's general understanding of




                                                                                     0815
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 1   what discovery it should be producing and our view of what we

 2   need to advance this case.

 3        And so every one of the disputes we are having kind of

 4   keep coming back to the same thing.          We are getting very,   very

 5   little.    We have been at this case for a while.        We have 47

 6   pages of correspondence from the first FTC production,         a

 7   smattering of materials that were produced in the preliminary

 8   discovery packet before the Motion To Dismiss.          And then we

 9   were going to get what was described as a substantial

10   production before this conference.          What we got was about 500

11   pages of information,    much of which we didn't request.       They

12   sent us   five different copies of their articles of

13   incorporation.

14        And the really big issues,       the things that we have been

15   talking about that Your Honor featured at         the last conference,

16   the general discovery about who they share with,         who gets

17   access,   who accessed the Plaintiffs'       information generally or

18   specifically,    we have none of    that.

19        And so where we started last time was talking about

20   Government productions.     It has always seemed to us that         if

21   Facebook has already produced something,         you can make this a

22   lot more efficient for them;       and they can make it more

23   efficient for themselves by starting with those productions.

24        Even there,    we thought we were clear with Facebook that we

25   wanted the documents that show what they gave the FTC for all




                                                                                0816
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 1   of    the documents they have given the FTC.                      And what we    found

 2   out    late in December was,            in fact,    they were only giving us the

 3   documents         for the later things.

 4          So    --    and we are    just talking about          the documents that

 5   describe      --

 6                 THE COURT:        What they said,       if    I recall correctly --         I

 7   remember dealing with this on like,                  I don't know,       January 2nd

 8   or something like that            --    they have said that they want to give

 9   you all of the FTC document requests and correspondence with

10   the FTC about those document requests                  from 2012       forward.    They

11   have already given you the 2018/2019                  stuff.        They just don't

12   think you should get the pre-2012                  stuff.     Am I remembering that

13   accurately?

14                MR.     LIPSHUTZ:     That's correct.

15                MR.     LOESER:     That's correct.           And,    frankly --

16                 THE COURT:        And my inclination on that             is that    I don't

17   think it was         important    for you to get       the pre-2018 stuff on an

18   expedited basis.

19                MR.     LOESER:     Right.

20                 THE COURT:        I don't think it       is    important    for you to

21   get the pre-2012         stuff on an expedited stuff.                 I also don't see

22   any reason you shouldn't get the 2012                  -- pre-2012       stuff.     I

23   understand there         is a lower likelihood that that stuff will be

24   relevant or lead to the            --    lead to the discovery of material

25   that    is   relevant now,       but it's    --    there seems       like enough of a




                                                                                                   0817
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  1   possibility that             it    is worth ordering them to provide                       it,    and

      it   is not burdensome enough to be worried about                                  it   too much.

 3              So   I'm going to order Facebook to provide                             the pre-2012

 4    stuff      too,    but    I don't           think    it needs          to be on   an expedited

 5    basis.

 6                   MR.     LIPSHUTZ:            And to be clear,              Your Honor,     we never

 7    said we wouldn't.                 We    said we would review those materials                          as

 8    part of        the ordinary process of responding to their discovery

 9    request.          It   was   just a question of                   --


10                   THE     COURT:          Well,    just       to be clear,       you are ordered to

11    provide the pre-2012                   stuff    as well       in that       category.

1')             On the question of whether Facebook should be required

13    without doing any further review to turn over exactly what                                            it

14    turned over to the Government,                         I don't          think it would be

15    appropriate            for me to order that.

16              If   Facebook wants               to go through          the expense of        reviewing

17    all that        stuff again            --    I mean,       this    is one although        I have

18    relatively little experience as a lawyer or a judge,                                      for that

19    matter,        in discovery matters,                  one thing I do have experience                       in


20    is   --    from back in the day                 --    is    turning stuff         over to the

21    Government.            And when you            turn    stuff       over    to the Government,

7'7
      you worry --           you do worry less               about       relevance.       You do worry

21    less about privilege.                       You do worry less about               turning over

24    something that might not be                         subject       to discovery because           it    is

25    not relevant           at all but would be embarrassing because you are




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 1   dealing with the Government and you are trying to -- you know,

 2   it   is a different calculus.

 3          So if Facebook wants to review all that               stuff again,       I

 4   think it    is helpful to have the requests           from the FTC and maybe

 5   other agencies too.

 6          I don't know.        And it   is helpful to have the dialogue that

 7   occurred between the agency and Facebook about                 those requests.

 8   If   Facebook wants to review the         stuff again,       you know,    and

 9   wants to spend the time and money on that,              I don't think I can

10   order them not       to do that;     to turn it over before doing that.

11               MR.   LIPSHUTZ:     Again,   Your Honor,    we are in the

12   process of doing that and we are responding --                 the very first

13   document request       that we were obligated to respond to were due

14   on December 26th.        The responses were due on December 26th.                   We

15   responded to those.          We turned over actually 3,200 pages of

16   documents,    not 500 pages.

17               THE COURT:       Okay.   So that's   --   that    issue is now

18   resolved.

19               MR.   LOESER:     With one caveat,    Your Honor,      that    is

20   probably worth noting.          I certainly understand the         idea that

21   Facebook if       it wants to re-review things        should.     There are

22   certain things       in the Ninth Circuit the attorney-client

23   privilege    is waived for documents produced to the Government.

24          So if what they are doing is reviewing for privilege,                    that

25   would seem unnecessary.          If they are reviewing for relevance,




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 1   that was the purpose of getting these letters so that              --

 2               THE COURT:      Well,   but I'm assuming --    I don't know but

 3   I'm assuming that you can have these            -- you know,   there could

 4   still be an inadvertent production that wouldn't waive the

 5   privilege,    and they would want to be maybe more careful about

 6   not making an inadvertent production to you,             not the

 7   Government.       I don't know.

 8               MR.   LOESER:    That's fine.      I guess our concern --    and

 9   this will be the concern that goes through all of the

10   discussion we have today --          is how much time.     And we are

11   you know,    Your Honor entered a schedule that we are obviously

12   very aware of.       The substantial completion date is in October.

13   There is a tremendous amount we need to get from Facebook and

14   review and analyze.         So if we can have --     and maybe this is

15   something that Mr.       Lipshutz and I should have discussed -- but

16   a timeframe for when this production review would occur would

17   be very helpful,      not just for the later FTC production but the

18   earlier one as well.

19               THE COURT:      I trust that you-all are not going to do

20   what unfortunately I see in a lot of civil cases and that is,

21   wait until the eleventh hour and then start doing discovery.

22   assume you are not going to allow that to happen,              and you are

23   going to come to me well in advance if you are concerned that

24   it   is happening.     And I --     I'm hopeful that Facebook knows me

25   well enough not to try that.           So --




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 1                MR.   LIPSHUTZ:     We do,       Your Honor.        And we are well

 2   underway.       We actually have three different meet-and-confers

 3   set up for next week alone.              The process is underway.               We

 4   suggested even cancelling this conference,                      and they wanted it

 5   but everything is underway.

 6                THE COURT:       Okay.     So    in terms of        -- you mentioned

 7   that    there is    --   that we forgot to impose a due date               for the

 8   Answer.      When do you want to file your Answer?                    I mean,    it

 9   shouldn't      take long.

10                MR.   LIPSHUTZ:     No.     We    --

11                THE COURT:       The Complaint          is not that long.

12                                          (Laughter)

13                MR.   LIPSHUTZ:     I sense the humor in your remarks.                   It

14   won't come through on the transcript unless                       someone points it


15   out.

16           We would ask for thirty days,                Your Honor.     And we would

17   ask we only have to respond to the prioritized claims.                           We

18   haven't obviously moved on the non-prioritized claims yet.

19                THE COURT:       Any objection to that?

20                MR.   LOESER:     Not really.           I guess     I would like to see

21   an Answer to the whole Complaint;                   but   if   they want to parse it

22   that way,      that's    --

23                THE COURT:       Twenty-eight days            from today and only

24   the    --   only the prioritized claims.

25                MR.   LIPSHUTZ:     Thank you,          Your Honor.




                                                                                                 0821
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 1               MR.    LOESER:     If    --

 2               THE COURT:       When in doubt           --    I mean,    there could be a


 3   little ambiguity from my ruling about what                         is going forward and

 4   what    is not.     If   there is any doubt,              you answer it.

 5               MR.    LIPSHUTZ:        Understood,      Your Honor.         To be clear,      I

 6   was only referring to the claims at the end.                         We will respond

 7   to the factual allegations but the claims at the end --


 8               THE COURT:       All right.         Okay.        Sounds good.

 9           And then I think there was one other thing that was maybe

10   hanging.

11               MR.    LIPSHUTZ:        I don't know if this was it,

12   Your Honor,       but we wanted to just raise,                Your Honor,      the

13   possibility of       filing an early Summary Judgment Motion on the

14   2009    consent    issue.    If you recall your Motion To Dismiss,                      Your

15   Honor expressed questions of whether the pre-2009 consents

16   consented to the post-2009 privacy policies.                         That was

17   important because everybody post-2009 was                         found to have

18   consented to friend sharing.

19           We think we can resolve that                issue pretty quickly in a

20   Summary Judgment Motion.              And it would basically mean that

21   everybody in this case will have consented to friend sharing

22   which will    substantially narrow the                issues at stake in this

23   case.

24               THE COURT:       Well,        I mean,   I think that's        --   that's

25   probably a premature request because we                      --   we are going to do




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 1   all    -- we are not going to have a Summary Judgment Motion on

 2   that without doing all          the discovery that we are contemplating

 3   that    relates    to that   issue.

 4           So if you want to come back after you can establish that

 5   you have turned over everything relating to those claims,

 6   then --

 7                MR.   LIPSHUTZ:     Yes.

 8                THE COURT:      -- we can talk about          that.

 9                MR.   LIPSHUTZ:     Thank you,       Your Honor.      That works

10   fine.

11                MR.   LOESER:     And there       is some irony in the request        in

12   that    it   is the pre-2012     information that they seem particularly

13   unhappy about producing so             --

14                MR.   LIPSHUTZ:     No.        Actually,   we agreed we would turn

15   over everything pre-2012          related to the          issue I just mentioned.

16                MR.   LOESER:     Right.        And that   is another issue here is

17   that    -- we received their responses             to our second production

18   request.      And,   you know,    they really highlight            the significant

19   issues we are going to have on the                scope of discovery.

20           And just one issue to flag is that Facebook has decided

21   that    -- with the limited exception of                some pre-2012 policies

22   and information       --   they are not        interested in producing

23   documents,      information,     that are dated prior to 2012.             That   is

24   clearly something we will be meeting and conferring on this

25   week.




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 1           In light of    the Court's order and in reference to the

 2   claims    that predate that time period,              we obviously need


 3   discovery that predates that.

 4               THE COURT:      Yeah,    I mean,    I certainly do and -- you

 5   know,    I'm not casting any judgment at              this    early stage on

 6   either side       in the way they are handling this;              but,    you know,

 7   the only other comment         I will make      is    it has seemed like I have

 8   had to really pound into Facebook's head that there is going to

 9   be discovery on the general practices relating to,                       you know,

10   friend sharing and all of that,              right.     And hopefully I won't

11   have to continue doing that pounding.                  I'm -- my sense is that

12   I probably won't.        And you should be           in a position where you

13   can plow ahead.

14               MR.   LIPSHUTZ:       Yeah.


15               THE COURT:      Oh,    I remembered the other thing was


16   something about org charts.               Facebook really doesn't have any

17   org charts?       No org charts      in the entire organization?

18               MR.   LIPSHUTZ:       That    is correct,    Your Honor.        We faced

19   this    issue   in other litigations as well;            but yes,    that    is

20   correct.

21               THE COURT:      Is there a philosophy behind that?

22               MR.   LOESER:     Chaos.

23                                        (Laughter)

24               MR.   LIPSHUTZ:       I don't know,       Your Honor.

25               THE COURT:      Chaos?        Disrupting?        An org chart would be




                                                                                             0824
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 1   too contrary to constantly disrupting --

 2               MR.    LIPSHUTZ:     I don't know the answer.          We did offer

 3   to meet and confer and try to provide                information to substitute

 4   for that,    but we don't have those.

 5               THE COURT:       Okay.        Anything else?

 6               MR.    LOESER:     A few other housekeeping things,

 7   Your Honor,       and I will go through them pretty quickly because                  I

 8   know you have had a long day.

 9          One of the     issues that we need a little guidance on:                 A

10   number of    the Plaintiffs          --    the named Plaintiffs    in the

11   Complaint    --    have other counsel who represent them.              To date in

12   this case based upon Your Honor's instructions,                   we have not

13   involved any other firms or any other counsel.                    We would like

14   to be able to authorize the firms that represent those folks to

15   be    involved in representing their clients               in discovery,    so for

16   depositions and producing documents,                things of that    sort that

17   relate specifically to their representation.

18               THE COURT:       Does that mean you wouldn't be involved in

19   it?

20               MR.    LOESER:     No.

21               THE COURT:       Does that mean that you wouldn't be

22   jointly representing those Plaintiffs                in their depositions and

23   whatnot?

24               MR.    LOESER:     No.        We would absolutely be there,     but     it

25   is generally speaking folks that have counsel that they have




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 1   hired to be involved in the case;          want to have their counsel

 2   there and those counsel want to be there.             We will -- we

 3   understand the Court's concern about this             issue generally and

 4   an issue that has been raised in this district.              So we will be

 5   very careful to make sure that the tasks that these folks are

 6   authorized to do are limited specifically to as-needed tasks to

 7   represent their clients.

 8             THE COURT:      Any -- you seem like you want to say

 9   something.

10             MR.   LIPSHUTZ:     It    is the first    I'm hearing of this,

11   Your Honor.     I suppose    if their own --       if they want separate

12   lawyers to be present       for their depositions in addition to

13   Counsel here,    that seems unobjectionable.           I guess,   I would

14   object   if their own lawyers start propounding discovery.              I

15   think that would be problematic.

16             MR.   LOESER:     That won't be happening.

17             MR.   LIPSHUTZ:     I think it's okay.

18             THE COURT:      Okay.     So I will authorize that,      but could

19   I ask you to draft and submit a proposed order on that?

20             MR.   LOESER:     Sure.

21             THE COURT:      And maybe it's worth creating some

22   parameters on this     issue or some other issue that I haven't

23   thought about.

24             MR.   LOESER:     Yeah.

25             MR.   LIPSHUTZ:     We can add that to our meet-and-confer.




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 1               MR.   LOESER:     That's a good idea.

 2               THE COURT:      Yeah.

 3               MR.   LOESER:     And then another matter,     Your Honor,    we

 4   do think these conferences are extremely helpful.              We think it

 5   probably makes      sense   in this case to have them at some regular

 6   interval.     We thought perhaps        six weeks,   telephonically or in

 7   person.     I know people are obviously coming from different

 8   places.     There certainly will be some that probably can be

 9   cancelled because we have worked out all of our issues.               I

10   think it would be helpful to move things along if we have

11   something regular like that           schedule.

12               THE COURT:      Sounds    fine.

13               MR.   LIPSHUTZ:      Always happy to see you,    Your Honor.

14               THE COURT:      Always happy to see you guys.

15         I actually don't really want to do them telephonically.                  I

16   think that this case        is   significant enough and the parties are

17   well resourced enough that we           should have you in the courtroom.

18               DEFENSE COUNSEL:         Six weeks    seems a little frequent to

19   me.

20               THE COURT:      Eight weeks?

21               MR.   LIPSHUTZ:      That's fine.

22               MR.   LOESER:     That's good.

23               THE COURT:      Okay.     Sounds good.    Let's plan on that

24   and let's    schedule the next one.           Should be roughly mid-March,

25   early to mid-March.




                                                                                         0827
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 1               THE CLERK:       It   is working out to be    like the first

 2   week of March unless you want           it the second week.

 3               THE COURT:       Super Tuesday?

 4                                        (Laughter)

 5               MR.   LOESER:     What happens on Super Tuesday?

 6               THE COURT:       California Primary.

 7               MR.   LOESER:     Does that matter?

 8                                        (Laughter)

 9               THE COURT:       It matters   in the primary.

10               MR.   LOESER:     Sounds   like a good day.

11               THE COURT:       Let's not do Super Tuesday because I have

12   other stuff       -- well,   actually Super Tuesday in the afternoon

13   would be fine or Wednesday afternoon,              the 4th.

14               MR.   LIPSHUTZ:       Your Honor,   would it be possible to

15   propose   --   I know we always get       into these    issues with these

16   conferences.        Since Mr.     Snyder isn't here,    can we just propose

17   some dates with Your Honor and work with your court              staff   to

18   set   something up in the timeframe?

19               THE COURT:       Well,   part of the problem is that you guys

20   have been kind of a pain in the-you-know-what on the issue of

21   scheduling.

22                                        (Laughter)

23               MR.   LOESER:     If you can look squarely at him when you

24   say that.

25               MR.   LIPSHUTZ:       That's not    fair.




                                                                                    0828
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 1             THE COURT:       I actually don't       remember who.        I wouldn't

 2   be surprised if       it was both of you,       but a little bit too       "I'm

 3   not available for this.        I'm not available          for that"    and it   is

 4   starting to get a little time consuming for us to keep

 5   searching for dates.

 6             MR.   LOESER:     We agree.

 7             THE COURT:       So I think that we are going to schedule

 8   something now.

 9             MR.   LIPSHUTZ:     That's fine,       Your Honor.

10             THE COURT:       If Mr.    Snyder can't make it,          then you or

11   some   subset of you can come.         Somebody --       just as long as

12   somebody is authorized to make decisions.

13                     (Discussion held off the record.)

14             THE COURT:       So Thursday,       March 5th in the afternoon.

15   Is afternoons    --    is afternoon or morning better or does             it

16   matter in terms of       just general travel          schedule?

17             MR.   LIPSHUTZ:     For me the main issue is trying to

18   catch the 4:30    flight back east.           So as    long as we get out of

19   here by 3:00 o'clock,       that's    fine.

20             THE COURT:       Okay.     Why don't we do,       like,    1:00 o'clock

21   on the   5th of March.

22             MR.   LOESER:     Okay.     You know,       Your Honor,    we are going

23   to walk out of here and meet and confer,                and one of    the topics

24   will be these FTC productions.           Just    for the    sake of clarity,

25   Facebook will be providing the          letters that pertain to the




                                                                                           0829
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 1   earlier production and -- but as to the production itself,                     I

 2   assume that       the point of the meet-and-confer will be for us to

 3   confer on whether the earlier produced materials,                  as described

 4   in these letters,       is relevant to this action.             For matters    that

 5   the parties agree they are relevant,              Facebook will be producing

 6   those materials following some review;               and that    there may be

 7   some dispute for the Court            to resolve as to other matters that

 8   we think are relevant but perhaps they don't think are

 9   relevant.

10               THE COURT:      I think the way you have described it              is

11   fine.     I mean,    I was thinking of        it on maybe one higher level

12   of generality which is that the prior requests                  from FTC and

13   dialogue that occurred about that would help inform the

14   documents that you want to request of Facebook.                  Maybe that     is:

15   Hey,    I want all that stuff         that   they asked for as modified by

16   this subsequent exchange of            letters   that they had or whatever.

17               MR.   LOESER:     Okay.

18               THE COURT:      So I think we are on the same page.

19               MR.   LOESER:     I think we are.        That's helpful.     Thank

20   you.

21               THE COURT:      Anything else?

22               MR.   LIPSHUTZ:     No,    Your Honor.

23               MR.   LOESER:     No.

24               THE COURT:      Thank you.

25                       (Proceedings adjourned at 2:35 p.m.)




                                                                                            0830
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 1


                            CERTIFICATE OF REPORTER


               I certify that      the    foregoing   is    a correct   transcript


 4    from the record of proceedings         in the above-entitled matter.


 5


 6    DATE:   Monday,   January,    13,    2020

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11                          Marla F.       Knox,   RPR,    CRR
                              U.S.        Court Reporter
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                      UNITED      STATES      DISTRICT       COURT


                     NORTHERN     DISTRICT       OF    CALIFORNIA


BEFORE   THE   HONORABLE     JACQUELINE        SCOTT     CORLEY,      MAGISTRATE       JUDGE


IN RE:   FACEBOOK,    INC.     CONSUMER           )
PRIVACY USER    PROFILE      LITIGATION.          )     NO.    18-MD-2843       VC    (JSC)
                                                        San    Francisco,       California
                                                        Monday,       July    13,    2020


          TRANSCRIPT OF        ZOOM VIDEOCONFERENCE             PROCEEDINGS


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Reported By:     BELLE    BALL,    CSR    8785,       CRR,    RDR
                 Official      Reporter,        U.S.    District       Court



       (Appearances    continued,        next    page)




                                                                                               0833
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APPEARANCES,   CONTINUED:


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                                                                        0834
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 1   Monday   - July 13,       2020                                                  8:32     a.m.


 2                                PROCEEDINGS


 3                THE COURT:          Calling Civil Action              18-2842,    In Re


 4    Facebook.     Counsel,      starting with plaintiff,                 please    state your


 5    appearances.


 6                MR.   LOESER:        Good morning.             It's   Derek Loeser     for


 7    plaintiffs.


 8                THE COURT:          Good morning.


 9                MS.   WEAVER:        Good morning,         Your Honor.       Leslie Weaver


10    with BFA.     Anne Davis         and Angelica Ornelas               are with me.


11                THE COURT:          Good morning.


12                MR.   KO:     Good morning,         Your Honor.           David Ko,    Keller


13    Rohrback,    also on behalf         of plaintiffs.


14                MS.   LAUFENBERG:           And good morning,            Your Honor.       Can


15    Laufenberg on behalf            of plaintiffs.


16                THE COURT:          Good morning.          So,    for Facebook?


17                MS.   STEIN:        Good morning,         Your Honor.       I saw Orin


18    Snyder's    name up      a moment       ago,   but    it    looks    like he's    no


19    longer on this         screen.


20                THE CLERK:          I promoted him,            and I don't    see him.


21                MS.   STEIN:        I'm getting text messages               saying there         is


22    a little bit      of    a technical       error,      but    I think he'll be on


23    momentarily.


24                THE CLERK:          Okay.


25                MS.   STEIN:        Yeah.     He   says    it    says    "Waiting."




                                                                                                        0835
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 1          And,    this      is Deborah Stein          for Facebook.        And I'm here


 2   with Martie      Kutscher Clark.             And hopefully Orin Snyder will be


 3   here   in a moment.             I'm not    sure;   maybe he     should disconnect         and


 4   try again.


 5          Do you think that's              the best     thing,    for him to hang up and


 6   try again?


 7                  THE CLERK:          Sure.     I mean,    as    soon as    I see his name,


 8    I will promote him to a panelist.


 9                  THE COURT:         No apologies        needed.


10          (Off-the-Record discussion)


11          (A pause       in the proceedings)


12                 MR.     SNYDER:       (Inaudible)


13                  THE COURT:          Can't    hear you,    Mr.    Snyder.


14                 MR.     SNYDER:       Okay.     I apologize.        My iPad was not


15    allowing me        to    connect,      so now I'm on my iPhone.


16                  THE COURT:         We    can see you now.


17                 MR.     SNYDER:       Okay.     Great.     Thank you       so much.     I


18    apologize.         I don't      know why.


19                  THE COURT:         Not     a problem.     Not    a problem.     Why don't


20    you go ahead and make your appearance;                       everyone    else has.


21                 MR.     SNYDER:       Okay.     Orin Snyder       for defendants,       from


22    Gibson Dunn.            Thank Your Honor.


23                  THE COURT:         We do have       a court     reporter this morning,


24    taking down the           transcript.


25          All    right.       So    thank you very much,          everyone,    for your




                                                                                                     0836
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 1   statements.           I thought we       should just discuss           them,    the    issues,

 2   in the order the parties presented them.

 3           First,       with respect       to plaintiffs          document production.

 4   Not   really sure,        plaintiffs          say they're not withholding

 5   anything.

 6           The only thing I guess                that   Facebook raised was         some

 7   potential dispute regarding the production of documents versus,

 8   maybe,       interrogatories.           But    I didn't understand plaintiffs'

 9   statement       to    say that    they were refusing to produce those

10   documents.

11           I don't know if anyone                from the plaintiffs wants to

12   respond.

13                  MS.    WEAVER:         Angelica Ornelas will be addressing this

14    for us,      Your Honor.

15                  MS.     ORNELAS:        Thank Your Honor.

16           So    I think what we've tried to do here                  is explain that we

17   are   searching for responsive materials,                      to the extent      that    they

18   are   in plaintiffs'        possession.

19           What we are excluding from the                  search are materials            from

20   the user account and user archive,                     itself,    for a couple of

21   different reasons.              One    is as    to the offensive ads           that

22   Facebook is          seeking,    its not        clear that      that   content    is

23   located within those             sources,       to begin with.         There does appear

24   to be    identification of advertisers                  that    sent   content    to the

25   users.       But the ads,        themselves,         do not appear to be         in the




                                                                                                      0837
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 1   archive.

 2        So that       is one of    the reasons why we don't               think that

 3   should be    is encompassed within our search.                   If    that helps.

 4                THE COURT:        Well,   what you're    saying is that you

 5    can't produce them.           That you don't      -- you don't have the

 6    ability to produce them.

 7                MS.   ORNELAS:      From the Facebook user account and

 8    archive.

 9        But otherwise,       if    the plaintiffs do have            standalone

10   records of    things    like the offensive ads            that    Facebook is

11   seeking,    we are searching and collecting those                     items.

12                MS.   KUTSCHER CLARK:         Your Honor,      if    I could respond

13    to that    for a minute,       I'd appreciate      it.

14                THE COURT:        Go ahead.

15                MS.   KUTSCHER CLARK:         The   issue here       isn't    limited to

16    advertisements.

17        And I just want       to start by saying were not                   seeking

18   discovery from the there was here to abuse the plaintiffs,                           or



19   to harass them.        Its because we think this             case       should have

20   been dismissed on standing grounds at               the motion-to-dismiss

21   stage,   and Judge Chhabria held that we would have an

22   opportunity to       seek discovery from the plaintiffs regarding

23   their allegations,       and an opportunity to move to dismiss

24   individual plaintiffs on standing grounds.

25        And to that end,          the plaintiffs have a lot of allegations




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 1   in their complaint,        not    just about   the advertisements,       to the

 2   effect that because of           conduct   Facebook engaged in,       they

 3   experienced certain activity on the Facebook platform.

 4        That    includes     that    the plaintiffs      received what   they call

 5   highly offensive advertisements;             that   they received friend

 6   requests    from people they call          "trolls"   who they didn't

 7   actually know;     that    they experienced third-party interference

 8   with their accounts,        so someone who was not         them was posting on

 9   their accounts.      We have requested information from plaintiffs

10   regarding those allegations.

11        So    for instance,     documents      sufficient    to show any highly

12   offensive advertisements           they actually received,       or documents

13   sufficient    to   show any friend requests           they received from

14   trolls,    so people they didn't actually know.              And plaintiffs

15   seem to have taken the categorical position that                 they will not

16   produce any materials        from their Facebook accounts.

17        And for us that's problematic,             because Facebook's not       in a

18   position to    identify that        information.      We don't know if a

19   particular friend request           came   from someone the plaintiffs knew

20   or did not know,     whether a post on their account was a post a

21   particular plaintiff actually made,             or whether a third party

22   gained access to an account mained that post.

23        So we're just        requesting materials         to show that   type of

24   information.

25                THE COURT:      But    I don't understand      --   I don't hear




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 1    them saying that        they're refusing to identify that.                     Of

 2    course,    that's relevant.            That's not what           I heard.

 3           I guess what      I heard is      they don't         --   they don't know how

 4   they could necessarily access and show that                        to Facebook,      but

 5   they could identify for it.               The allegation was made              in the

 6   complaint,    so obviously,        they have to be able to identify it.

 7           Is that what you're        saying,         Ms.   Ornelas?

 8                MS.   ORNELAS:       Your Honor,            to the extent that      the

 9   plaintiffs do have those records                    in their possession,         custody,

10    or control,       they're going to be produced.                  However,     to the

11    extent    that    Facebook is asking us             to search through the

12    Facebook user platform and archive,                      the records that      they are

13    requesting don't appear to be contained in those sources.

14           So we are agreeing to search and collect materials,                          to the

15   extent    they exist.      But    for    --   for right now,         it doesn't appear

16   like those materials are within the platform and the archive,

17   which is why we are anticipating carving them out of our

18   search.

19                THE COURT:         And just      to    --   how would they identify --

20    how would they go about and find to produce to Facebook an ad

21    that    they found,     that    they believed was offensive?

22                MS.   KUTSCHER CLARK:            Sure.        So there's a lot of ways

23    that    they could do this.            And we've actually discussed this

24   previously,        so   I'm a little      surprised to hear the response

25    today,    because previously the response has been:                         If you want,




                                                                                                   0840
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 1    we can look.

 2          So    for instance,       on Facebook plaintiffs have a feature

 3   called:          Download your information.           And you can download there

 4   sort of a history of all of your activity on Facebook,                          and

 5   pretty much everything you've ever done on Facebook.                           And they

 6   would be able to find a lot of               this   information there.

 7          Many Facebook users          --

 8                     THE COURT:     Would it    show ads?

 9                    MS.     KUTSCHER CLARK:     I don't know,         off the top of my

10    head,      if    it would show every ad,       but    I believe certain

11    advertising information would be reflected there.

12          A lot of this          information also comes across through

13   emails.          So a lot of users have their accounts               set up to send

14   information to them by email,               as well,    so users would receive

15   emails.

16          And I do just want          to clarify,      we're not       just   talking

17   about advertisements.             You know,    some of      this    is about    friend

18   requests people received.                And they --

19                     THE COURT:     I'm just    taking    --   I'm just taking it

20    I'm taking it one at a time.                Because you said that           they

21    refused,         I --    I'm just not hearing that.          I'm just      trying to

22    figure out.

23          How would they --          I know they could describe to you an ad

24   that   they recall          seeing that    they found was offensive.             I'm

25   trying to         figure out,    because this       is a dispute about a




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 1   document production,               how --       how are you saying they should

 2   actually produce to you that ad?

 3           What    is the       search that         they're       supposed do?     What    --    at

 4   least    for the ads,          I don't         think you know.

 5           Okay.     So now as         to    --

 6                   MS.    KUTSCHER CLARK:                No.     For their ads,    I see three

 7    ways they could find the                  information.           First,    they could go

 8    through their download-their-information file,                              and any ads

 9    that are contained within it                        they could produce the relevant

10    pages of their download-their-information file or,                              you know,

11    screenshot       it and produce               it.

12           To the extent any ads were received from Facebook by

13   email,    they could produce those as emails.                         To the extent any

14   ads are currently on their Facebook news                           feed,    they could

15   produce those materials by,                     again,      either screenshotting or

16   PDFing the pages.

17                   THE COURT:          Okay.        So,    Ms.    Ornelas,    are you

18    downloading the             information files              for your clients?

19                   MS.    ORNELAS:          Sure,       Your Honor.     So when we       -- we

20    have downloaded that               information.              And that's what    I was

21    referring to earlier,               where       it appears       that within that       file,

22    there    is    some limited advertiser information.                         The ads,

23    themselves,          do not appear to be               located within that          file.

24           With respect         to,    you know,          stand-alone emails or

25   screenshots,          that    is   something that we are             searching for,          and




                                                                                                         0842
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 1   collecting,      and reviewing.

 2           The   issue is     to the extent    that       Facebook believes           the ads,

 3   themselves,      are within the download file that Ms.                     Kutscher just

 4   described,      that's where     I think the disconnect              is here.

 5                 MS.   WEAVER:     Your Honor,       if    I may just explain,              the

 6    archive that were talking about               is a select        subset         of users'

 7    platform activity that          Facebook designates and allows users                          to

 8    download.       Ordinarily,     users don't       that.      And that's          --

 9    Facebook produced that          to us,    already.          So when Ms.         Ornelas

10    says that      they excluded advertisement,                that's because         it    is

11    not    the entire world of       Facebook activity.

12           And I think its exactly right              that,      really,      the

13   information that         Facebook wants     is better suited to a

14   contention interrogatory or a deposition.                      Its    really not a

15   document      request    that's proportional           to the needs here,              because

16   we can communicate that.           And the     second piece          is    --

17                 THE COURT:      Well,   why --      I don't hear        --    I don't hear

18    that    its proportionality.            I hear that you don't have                    it.

19                 MS.   WEAVER:     That's    true,    as well.       I guess the

20    question is,       yes,    could we go through the archives                    and maybe

21    identify some reference to an ad?                 I don't know.

22           But   these are,    you know,     highly       --   these are      --    they're

23   not    sorted that way.        There's no section that            says:          Here are

24   the advertising.           Were not aware that we have               it.        If Facebook

25   produced it      to us,    maybe that would help.              But we don't have




                                                                                                          0843
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 1   them right now.

 2         And Facebook knows what advertisements                     it   serves to these

 3   plaintiffs.         Right?    They know what agreements               they have,          and

 4   who's been allowed to advertise on the platform.

 5         But,   you know,        for example,      to come at       this another way,

 6   let me just     say that our allegations aren't                  --   really,       the

 7   heart of     the case    is not about      specific          individual

 8   advertisements.         Although,      each of our plaintiffs received

 9   notice that     Cambridge Analytica obtained their data,                       so

10   Facebook knows that already.

11         But    the heart of our case         is    that    it's    the volume of data

12   and advertisements           that people got because Facebook was

13   funneling all of this           information out.

14         And we    still don't even have            from Facebook documents

15   sufficient     to    show which third parties accessed their data.                              If

16   Facebook produced that           to us,   which they still haven't,                  we

17   could go to our plaintiffs and say:                Of    these millions of apps,

18   which do you find offensive that were advertising to you?

19         But    it's kind of asking us          to answer from information that

20   Facebook exclusively has.              And that's       --   that's one of our

21   issues.

22                THE COURT:        Well,    it's kind of a chicken            --    it's a

23    chicken-and-egg thing,           I think.       I don't know about            that.        But

24    --   I don't know if         I necessarily agree with that.

25         But    it does    sound like the way to approach this                    is,    first,




                                                                                                           0844
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 1   perhaps to do        it as       interrogatories.           And then the plaintiffs

 2   will    identify,    you know:            These are the ads...

 3           Whatever the question is,                 whatever your question is                about

 4   standing,      ask that.         And then perhaps           then go to the documents.

 5                  MS.   STEIN:        Your Honor,       if    I may,    to that point,             I

 6    think our issue here              is as we were meeting and conferring,                        we

 7    were repeatedly told by plaintiffs                       that    they wouldn't          search

 8    for these various           things       like troll       requests,       and --       and these

 9    were things that were                 specifically pled.           We did not hear from

10    plaintiffs that        they did not have access                   to this    information.

11           Obviously,     if    they don't have          it,    they don't have             it.    But

12   for some of these           --    and Martie,       I think,       was going to go on

13   into detail which ones                 they were.     For some of          these

14   categories,      plaintiffs have            it.     They can say --          if    there's

15   something on their Facebook                 --    in their Facebook history that

16   shows activity that weren't                 their    (audio interference)               post,

17   they should produce those to us.                     They've been telling us they

18   won't    even search.

19           And,   you know,         the    suggestion that          there's    some

20   proportionality issue here,                 I mean,       that's    the    first    time we've

21   heard that      this case has            some    sort of proportionality problem.

22   I mean,      we've been working night and day on production on our

23   end.     We keep getting told about how huge this                          case    is    from

24   plaintiffs'      perspective.

25           So   I think having them do some                  searching of the accounts




                                                                                                            0845
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 1   to produce a very discrete number of documents                           is not a lot    to

 2   ask.

 3           And our fear that          is going down the            interrogatory path,

 4   we're then going to be told that a contention                          'rog is

 5   premature,        and they don't have the           information.          We're just     --

 6                    THE COURT:       No,   no,   no.   No,    because       I'm telling you

 7    now,     I'm saying,      they're       suggesting do that         first.        They made

 8    the allegations          in their complaint.             So,   what     is the

 9    information that          they had that        those allegations were based

10    on?     Right?        That's what you want         to know first.

11           And then --       I mean,       to the extent      there    is    some friend

12   requests,        for example,      they say that      they got         that   they weren't

13   aware of or that          they believe was a troll,               that    they should be

14   --    is there any reason,          Ms.   Ornelas,    you can't          identify that?

15                    MS.   ORNELAS:     Your Honor,      this goes back to the way

16    that    the     information is provided in the download file.                        There

17    are certain lists of different                 types of        friend requests,       for

18    example accepted friends,                removed friends,         rejected friends.

19    There     is,    you know,   no list within the download file of,                     you

20    know,     particularly suspicious             friend requests.

21           So to the extent          there are     suspicious        friend requests

22   captured within those different                 lists,     that would be          something

23   that,    of    course,    we could respond to an interrogatory asking us

24   to    identify which of       the requests appearing on these different

25   lists were considered suspicious.




                                                                                                    0846
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 1                   MS.   KUTSCHER CLARK:        Well,        --

 2                   MR.   LOESER:    Your Honor,            Derek Loeser      --

 3                   MS.   KUTSCHER CLARK:         --    if    I can respond to that,              I

 4    think the concern is we're not asking for plaintiffs to look

 5    at    their file and send us a specified list by Facebook of

 6    suspicious         friend requests.        We can see who requested them to

 7    be    friends.

 8           We need them to identify for us:                       Which were the        friend

 9   requests that you thought were                from trolls?             Who were the

10   people you don't actually know in real                         life?    And we have no

11   way to do that.

12           So    I think what Ms.        Ornelas      is    saying is      they are able to

13   look at       the   file and,   you know,       it might not be captured in one

14   particular area,         they might have to do some work,                      but   they're

15   able to       see a record of who requested their clients                        to be

16   friends.

17           And we would like them to produce the pages of the                             file

18   that    show friend requests           from people they did not actually

19   know,    who they believed to have been trolls.

20                   THE COURT:      All    right.       But    the    first half of that

21    sounded like an interrogatory.                    You want       them to identify

22    those       friend requests.         But   I mean       -- maybe      it goes hand in

23    hand,       because they identify it by looking at                     the page,     and

24    seeing it.

25           Mr.    Loeser,   you wanted to say something?




                                                                                                        0847
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 1                MR.   LOESER:      Yeah.   I think,     Your Honor,       you're on        --

 2    I think you've      sort of     figured out exactly what         the problem

 3    is,    and your suggestion is a good one,            and one that          --   it's

 4    working talking about          for a minute.

 5           Certainly,   a contention       'rog asking them to explain the

 6   basis    for allegations       in the complaint,      that does       --    that's

 7   always    seemed to us    like what     this   request was      really after.

 8   Because they're not asking for information;                  they've all         the

 9   information.       They're asking us      to characterize the

10   information.       And that's exactly what a contention                'rog is.

11           And obviously,    if we receive that         'rog,   we'll answer it

12   with the    information we have.         But   I think it      is also very

13   true,    we don't yet have       from Facebook the most         critical

14   information in this       case,    which is who did they give our

15   plaintiffs'    data to or sell access          to,   and what    information did

16   they provide.

17           Once we have that       information,    we can completely answer

18   the contention interrogatory.            But at present,        we can only

19   answer with what      limited information we have.

20                THE COURT:        You can answer it,      based on the

21    allegations that you made          in the complaint.          I mean,       that's

22    the whole    --   it's a chicken-and-egg thing,             right?

23           Because their argument as        to standing that Judge Chhabria

24   will have to decide       is    if you didn't know that you were

25   receiving a friend request          from someone      suspicious,          how you




                                                                                                   0848
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 1   were harmed by it.             Right?

 2                   MR.    LOESER:    Right.

 3                   THE COURT:       Right?     So that's             sort of a chicken and

 4    egg.     So to       say:   Well,     until we know who sent                it    --   no.     You

 5    made allegations            in the complaint of             some    injury,       thus    far.

 6           And they want         to know,    what       is    that based upon.

 7                   MR.    LOESER:    Right.        I would --

 8                   THE COURT:       Sounds    like       --    I don't know --

 9                   MR.    LOESER:    Yeah,    I guess          --

10                   THE COURT:       I don't know if             I'd call       it a contention

11    interrogatory so much as               like:        Identify for us,             you alleged

12    X.     Okay,    who is      -- who did the          friend request         come        from?

13                   MR.    LOESER:    Right.        I guess          I would describe          it as

14    part of a chicken and an egg.                   Because they've             focused on this

15    one aspect of the case which is,                     you know,       ads   that people

16    received that          they found offensive.

17           But   the heart of       the case       is    they took information,                  user

18   data,    and they shared it with third parties.                         That then led to

19   a variety of things.             One of    those things was ads that people

20   found offensive.

21           But   the basis of       the case       is    that       they took data,          and they

22   shared it without            consent.

23           But   I hear what you are          saying.

24                   THE COURT:       Well,    that's your argument to Judge

25    Chhabria.        And I get      it.




                                                                                                            0849
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 1           Like,    you may think okay,             you can whack that away,               but

 2   you're not going to win your standing argument,                              anyway.

 3           Okay,    but    they're    still entitled to do their discovery on

 4   what    they believe their argument                   is,    to make their argument.                I

 5   mean,    I --    I hear what you're             saying.        But   that doesn't mean

 6   they don't get          the discovery on those allegations.

 7                   MR.    LOESER:     Right.

 8                   THE COURT:        It may ultimately not prevail.                   But    this

 9    is    just discovery.

10           Okay.     So    --

11                   MR.    LOESER:     To be clear,             though   --    I'm sorry,

12    Your Honor.           But    to be clear on what we would be able to do if

13    we received a contention interrogatory today,                             we would be able

14    to answer with regard to the                   information we have at present.

15           But   as discovery unfolds and we get                    the      information we're

16   waiting for,          then obviously,       that would be            supplemented with a

17   lot more      information.

18                   THE COURT:        Right.        But what       I understand

19    Ms.    Kutscher saying is you made certain allegations                           in the

20    complaint,       and they want       to know the basis                for them now.

21           And to the extent,          then    --    for example,            if your clients

22   had in mind particular friend requests,                         if   they did,    then,       you

23   know,    look at       that    file and    --    or    --    I don't know how you would

24   do    it or if you can do it          --    identify that            friend request.

25                   MS.    WEAVER:     Your Honor,          we will do that.          And we




                                                                                                              0850
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 1    have always      said we would search for everything off                   the

 2    platform,    which is what we had when we                  filed.

 3           I mean,   the other piece,         of    course,     and the proof problem

 4   in the case at a specific              level    is   that   Facebook,    itself,       has

 5   said they can't      identify how our individual plaintiffs were

 6   harmed.

 7           And certainly,     the    friends of         friends,    when friends gave

 8   permission so that        third parties          I didn't know about because

 9   they downloaded those apps,              that's what we need to try to

10   understand from Facebook how those                   systems work.

11           Because   I --   this    is one of       those odd cases where the

12   plaintiffs don't know specifically how they were harmed.                               They

13   just know the vol-        --    that's not       sweeping.       But   in some    sense,

14   there's two pieces.            There's    the narrow,       kind of,    what happened

15   to me    specifically,     and what offensive ads.

16           And then there     is    the    larger portion of         the case,      which

17   is:     I didn't understand that when I was                  sending a private

18   message and attaching a photo to one                   friend,    that that data and

19   information was being sent              to literally so many third parties,

20   Facebook tells us they can't              identify them all.

21           And so we're     still working on that              second piece.        And

22   that's why we keep hearing it as                 sort of a contention

23   interrogatory.

24           But we will give them the              information we currently

25   possess,    and identify and respond to a 'rog based on what we




                                                                                                    0851
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 1   now know,      but we're just        conditioning that on there's a lot

 2   that we have yet         to learn.

 3                  THE COURT:      No,    no,    no,    I understand.        And that's an

 4    argument       for Judge Chhabria in terms of what                the    --

 5                  MS.   WEAVER:    Got    it.

 6                  THE COURT:      -- was,       and the    standing,    as to

 7    discovery.

 8                  MS.   KUTSCHER CLARK:          And I do want       to be clear if         I

 9    may,    for a second,      I think that           the argument    that Ms.      Weaver

10    is making might apply to certain types of                   requests,         and we

11    don't need to dig into those right now.

12           But   the    specific ones     that we're talking about,               for

13   instance,       friend requests       from trolls,       there's no information

14   that plaintiffs would need from Facebook to identify friend

15   requests       from people they don't know.              The plaintiffs either

16   knew the people,         or didn't know the people.               I don't      think

17   there's       something they would need from Facebook to identify

18   that.

19           Another one of      the requests has           to do with interference on

20   their Facebook accounts.              So one of       the things we want         to know

21   is:     Were there posts on your account?                 Did something appear on

22   your wall that you didn't do,                yourself?

23           The plaintiffs don't need information from Facebook to

24   say:     This post on my wall          this day wasn't       from me.          Someone

25   else did it.




                                                                                                   0852
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 1           That's the type of          stuff we're      seeking right now,           because

 2   there are allegations about               those things     in the complaint.              So

 3   I don't    think there          should be any delay answering questions

 4   like that.

 5                   MS.   WEAVER:      We will answer with what             --

 6                   THE COURT:        What   they need to do is        review the

 7    downloaded file             from the user activity.       And it may or may not

 8    be    in there.        I just don't know how complete             it    is.

 9           Like,    somebody sitting here today probably can't                      remember

10   the name,       exactly,       or anything like that.        Right?          So they need

11   to review the          file.    And maybe     it's   in there,     maybe       it's not.

12           But,    I guess       I don't hear the plaintiffs          saying that          their

13   clients aren't going to be reviewing that downloaded file.

14                   MS.   ORNELAS:      Well,   Your Honor,     that    file,      when

15    taking into account             the volume that       it measures to date,             we're

16    talking about          116,000    documents    that   total,    you know,

17    somewhere       in the ballpark of          46 gigabytes of data.

18           So that       is a significant volume to be          searching,         which is

19   why our initial position was                carving that voluminous             source

20   out,    and instead,          focusing on the documents         that plaintiffs

21   have,    things       like    screenshots or emails,       things       like that.

22   Because what we do know is,               for example,    when there           is a

23   suspicious       log-in attempt,         a user is notified by Facebook,                 at

24   least    that's my understanding.              And they get an email             that

25   says:     Hey,    was this you?          You have    logged in from halfway




                                                                                                      0853
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 1   across the globe.

 2           So things    like that,       you know,          we are    searching for.     But

 3   to the extent       that,    you know,          Facebook thinks         its proportional

 4   to have us    search through that volume of data without knowing

 5   whether that kind of          content       is    in the download file        itself,      we

 6   just don't    think that       that       is,    you know,       proportional at    this

 7   time.

 8           Particularly when --

 9                THE COURT:        I guess          I don't    --    I don't understand.

10           So either    --    like,    either it       shows       friend requests,    or it

11   doesn't.     And if       it doesn't,       it doesn't.           You can figure that

12   out.

13                MS.    KUTSCHER CLARK:              It does,       yes.

14                THE COURT:        All    I will       say is       this:   The plaintiff

15    certainly can't argue             standing based on some friend requests

16    that    they then didn't          search for within their file.               That's

17    all.

18           I mean,    you'll produce whatever evidence you produce,

19   right?     And then that's          it.     You're held to it.

20           So that's    --    that's    the direction I'm going to give.

21   That's all.        I mean,    I don't       really quite          --

22                MS.    WEAVER:        I understand Your Honor.

23                THE COURT:        Yes,       it will    take the plaintiff        some time

24    to cull through their files.                    Okay.     They're the named

25    plaintiffs.




                                                                                                      0854
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 1                      MS.   WEAVER:        Yeah.     We will do that,         Your Honor.

 2           I think the other point,                  though,    is    that    there    is    --   there

 3   remains       --    for example,         if    Facebook has a list of trolls and

 4   had a list of            suspicious apps and we can show them to our

 5   plaintiffs,          they may remember.

 6           But    I hear your point.                We'll give the       specific

 7   information we have now.                      And later on,       we will be       --    we'll be

 8   amending any             'rog responses,         once discovery is          complete.          And

 9   then a judge can make a ruling on standing.

10                      THE COURT:       Okay.        Okay.    All     right.

11           Let's       see.    So the next area was             the app developer

12   investigation.             And so       --

13                      MR.   SNYDER:        Your Honor,      may I be heard on that one?

14                      THE COURT:       Yes.

15                      MR.   SNYDER:        So Your Honor,       thank you.        This       is both

16    not    right,       and also not accurately described by the plaintiffs

17    in the       submission.

18           Let me be very brief.                   The   so-called     "app developer

19   investigation"             is an internal         investigation conducted by my law

20   firm,    Gibson Dunn,          in the wake of            the Cambridge Analytica

21   events,       commenced in 2018.

22           And the purpose of               this    internal    investigation that my

23   partner Al Southwell               is    leading was       to advise Facebook about

24   legal risks and exposures,                     including in this          lawsuit

25   (Indicating),            relating to apps on the Facebook platform prior




                                                                                                             0855
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 1   to 2015.     It's been ongoing since that         time.

 2           And first,   plaintiffs wanted every single document

 3   relating to that       internal   investigation,       including my law

 4   firm's    files.     That was obviously overbroad.

 5           To be clear,    we are producing documents           relating to this

 6   investigation.       What   I mean by that,     Your Honor,        is when my law

 7   firm,    working with Facebook and outside consultants,                  discovered

 8   activity prior to 2015        involving third-party apps that              it

 9   wanted to follow up with,         and communicated with those

10   third-party apps,       those communications are not privileged.

11   Those communications we are producing,            and have produced.              In

12   fact,    we have already produced 16,000         documents        related to the

13   investigation.       And as we continue our production,                we will

14   continue to produce thousands of documents               relating to the

15   investigation.

16           What we are objecting to,      and only objecting to,             is    core

17   attorney/client and work-product         communications,           such as my law

18   firm's    internal analysis.       Such as    communications between my

19   law firm and counsel at        Facebook concerning the            investigation.

20           What we propose makes      sense here    is    that we conclude our

21   production relating to this         internal    investigation.          And once

22   plaintiffs have reviewed these materials and identified apps

23   that    they believe to be relevant,         or want    --   or   --   or want

24   additional documents,        they can issue more tailored requests                 for

25   information specific        to particular apps.




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 1          For example,       let's assume hypothetically in 2012               there was

 2   some app that did something that              the    investigation uncovered.

 3   We then,       as part of our investigative protocol,              communicated

 4   with that       app.    Call   it App X.     We wrote them a letter.              That

 5   letter will be produced            and they will       then have the name of

 6   that app.       And any communications with that app.

 7          In one or two instances,            only,    we actually --    I think one,

 8   maybe,    we    filed a lawsuit against a company.             That   is all

 9   public.

10          After they review those documents,               we can take    --   we can

11   then meet       and confer,    and there can be a live dispute.                  Right

12   now,   there     is no live dispute other than they say they want

13   everything.        And they are     focusing on a Massachusetts             Superior

14   Court ruling.          And as we told the Court         -- which    -- which       --

15   which was a motion to compel by the Massachusetts Attorney

16   General regarding a completely different                 --   substantially

17   different document         requests   than plaintiffs.

18          We objected to that         request    in Massachusetts because,             as

19   framed,    it did invade attorney/client privilege,                work product,

20   and the    like.       The Superior Court      ruled against us.

21          But Facebook took that up to the Supreme Judicial Court                           in

22   Massachusetts,         and they granted the extraordinary review of the

23   Superior Court's work product determination.                   That   is    in

24   litigation.        And so nothing that's happening in Massachusetts

25   should either bind or control here.




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 1          This    is not       right.     When they get      the tens of thousands of

 2   documents they will            see that      there are    --    I'm making it up      --

 3   ten,   20,    30,    40,    50 different apps       -- maybe more,      I don't know

 4   the number -- maybe Martie does                  -- with which we communicated

 5   as a result of our investigation.                  They'll know the names of

 6   those apps.          They can then follow up and ask questions about

 7   those apps.          We're going to turn over all              those documents.

 8          What we're not          turning over is our law firm's              files,    and

 9   our communications with our client                  that were all pursuant           to

10   this privileged investigation.

11                  THE COURT:          When is     that production going to be

12    complete?

13                  MR.    SNYDER:        Martie?

14                  MS.    KUTSCHER CLARK:           So we made a production on

15    Wednesday that            included about       10,000 additional pages of

16    materials with the third parties.                   We're continuing to review

17    them.       The volume       is extraordinarily high,           because    it    includes

18    every communication with apps about                  this      investigation.

19          I think it would probably take us another several weeks                             to

20   work through the rest of               the documents.          I think it's      in the

21   range of tens of thousands of additional documents                         to review.

22   And we're actively working on that.

23          But    again,       these   include every letter that went             to an app

24   saying they were suspended,               and why.       So once the production is

25   complete,      plaintiffs will have the ability to identify any apps




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 1   that were          suspended for reasons           they're concerned about,         or

 2   that are actually relevant                    to the case.

 3          And as Mr.           Snyder said,        then they could request additional

 4   information about               those apps,      and we'd have      something narrower

 5   and more tailored that we can focus on.

 6                      MR.   KO:     Your Honor,      this    is David --

 7                      MR.   SNYDER:        Let me make one more point,          Your Honor,

 8    because       --    so there's nothing           --    there's no sort of nefarious

 9    suggestion.

10          As     it    turns out,        the vast majority of apps         that were

11   suspended were            suspended because we wrote them,              saying:     "Dear

12   Mr.    or Mrs.       App,      we have these questions           for you,"   and they

13   never wrote back.                Probably out of business,           or didn't    care.

14           We then suspended them for non-compliance with our

15   platform rules because they simply ignored our initial                            inquiry.

16           So    I think a high majority,                 if not   in the nineties,    high

17   nineties of the so-called suspended apps                         (Indicating quotation

18   marks)       are just apps about which we had questions and followup.

19          And then they never wrote back to us,                       and we said    "You're

20   suspended because you're a scofflaw,                       you didn't   respond to us."

21                      MR.   KO:     This    is David Ko on behalf of plaintiffs.

22           May I respond?

23                      THE COURT:         Yes.

24                      MR.   KO:     So   I'm a bit    surprised,      first of all,    that

25    Mr.    Snyder says            this   issue    is premature.      We have been going




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 1    back and forth on this.

 2           And as you know,         in last hearing,      you did direct         Facebook

 3   to try and get       to a final position on this               issue so that we

 4   could actually brief         it.     We thought we came to some               sort of

 5   final position,       as you can tell        from what Mr.        Snyder is      saying.

 6   He refuses to actually have a final position on this.

 7           And on the communications           in particular that they are

 8   claiming they will produce to suggest                  that we    should narrow our

 9   subsequently --       subsequently narrow our request,                  that doesn't

10   make    sense to us    for a variety of        reasons.         Including,     most

11   notably,    the fact what         they are offering to produce here are

12   internal    communications with third parties.                   That has nothing

13   to do and has no bearing on the relevance of                     the    internal

14   documents and communications            that we are entitled to.

15           I understand what Mr.         Snyder is    saying,       that there      is a

16   certain degree of       those communications            that    could be

17   privileged.     But    it   is    inconceivable that all of             them are.       And

18   all you have to do is            take one   look at     the    statement     that we

19   attached or the exhibit            that we attached to our statement                that

20   shows    their publicly-available announcement about this ADI                         in

21   which they claim --         Facebook claims       --    that    this    is   something

22   that    involved hundreds of people.             Not    just attorneys.          Right?

23           They don't    say it's an employer-driven investigation.

24   They say this    involved external           investigators.            They say it

25   involved policy groups at            Facebook.     They say it          involved




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 1   engineers,      hundreds of people that were            involved in this

 2   investigation.          Platform operations       folks.      Developer

 3   operations.

 4        This resulted --          this    investigation     -- which is ongoing,

 5   by the way --        has   resulted in thousands,        tens of      thousands of

 6   apps being suspended.

 7        So even if Mr.          Snyder is    correct    in saying that          the vast

 8   majority of them relate to some             sort of     investigation in which

 9   third parties did not          respond,   you still have a substantial

10   amount of third parties            that are potentially in violation of

11   Facebook's      (Inaudible).

12        So   --

13                  MR.   SNYDER:    And --    and plaintiffs will get             the names

14    of any -- plaintiffs will get any communications                         that we had

15    with any third-party app which puts                them on notice of either a

16    perceived,      suspected or actual violation.               They will have,

17    chapter and verse,          the names,    serial numbers,         addresses of

18    those apps.

19                  MR.   KO:   Yeah.

20                  MR.   SNYDER:    And the    fact   is,   yes   --    the    fact   is this

21    was a large         investigation,    because the company committed to

22    conduct a retrospective             investigation to see          if there was a,

23    quote,   "another Cambridge Analytica out               there,"      close quote.

24    Turns out      there wasn't.

25        Having said that,          it    takes a lot of engineers and a lot of




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 1   people at          the company,           and a lot of   lawyers,    I might       say.     It

 2   wasn't       just Mr.      Southwell.          We had a big team of         lawyers

 3   working with a big team at                     Facebook to look prior to 2015 at

 4   every single third-party app to determine which ones                               complied,

 5   and which ones didn't.

 6           And the plaintiffs are going to have a cornucopia of

 7   information about               third-party apps.        And I just would

 8   respectfully suggest                  that    they be a little patient.

 9           As Martie         said,       we're going to complete the production.

10   And I assume they'll have a lot of questions                         to ask about         those

11   apps,    and a lot of work to do to follow up.                      And we will           follow

12   up with respect            to any third-party communications with those

13   apps.

14           So    --

15                      MR.   KO:        The   fundamental disconnect      is,    so,

16    Mr.    Snyder is basically suggesting that we just received this

17    information,            right,       about external     communications that          they

18    had with third parties,                     and a potential     list of    these apps.

19           We are entitled to much more.                    This    is discovery related

20   to our case that               is    fundamentally about        Facebook allowing

21   third-party app developers                     to misuse and abuse     it.     Information

22   of user content            information.

23           External         communications with third party developers                       is one

24   tranche of that.                Right?        Internal documents and communications

25   related to their analysis                     from non-attorneys     that are not




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 1   privileged are obviously relevant and responsive to our

 2   requests regarding their enforcement policies.                             And so that's

 3   what we're asking.

 4           And that's what         the disconnect             is here,    Your Honor.

 5                   THE COURT:       So is    it   Facebook's position that,                for

 6    example,       any communications among engineers                     that didn't

 7    involve attorneys,          because they all               come under the umbrella of

 8    this    lawyer-directed investigation,                     they're privileged?

 9                   MR.   SNYDER:    Your Honor,           the engineers were all

10    working.        There were      internal      legal        teams,    external   legal

11    teams.        And everything that was done within the rubric of this

12    investigation is at            the direction of             counsel.

13           Let me make another point              though,           Your Honor,   just    to be

14   clear    --

15                   THE COURT:       So that's       --

16                   MR.   SNYDER:    Yes.      Yes.

17                   THE COURT:       I just want know if                that's a yes.

18                   MR.   SNYDER:    Yes,     yes.

19                   THE COURT:      All    right.         So    --

20                   MR.   SNYDER:    But Your Honor,                 here's what plaintiffs

21    have    failed to mention.

22           This    so-called     HADI,"     which is          really an internal         legal

23   investigation,         is   separate and apart              from Facebook's normal and

24   regular enforcement activities.

25           Facebook has an enforcement               team.          And all   it does     is




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 1   enforce the rules and regulations and policies on the platform.

 2   That enforcement          team works with engineers on a regular basis,

 3   and --    and is not done at            the    --    in the ordinary course,           under

 4   the direction of counsel.

 5        And we have produced and will produce numerous                              documents,

 6   because plaintiffs have asked for them,                     concerning our ordinary

 7   enforcement activities which do involve engineers and policy

 8   people.    And that        stands      in sharp contrast          to the       legal

 9   investigation that my firm conducted.

10        And so    --       and Martie,       I don't know what         the volume of

11   those documents are,             but   they are       fairly voluminous.

12                THE COURT:           Okay.       But what    I guess       I don't

13    understand,       at    some point you're going to have to produce a

14    privilege    log.        Because just because you say they're

15    privileged doesn't mean that                  the plaintiffs have to accept

16    that.

17        So    I'm trying       --    so when      -- when do you intend to do that?

18                MS.    KUTSCHER CLARK:             If    I could respond briefly,

19    because    I think there's a little bit of a misunderstanding

20    here.

21        The concern were having at                      the moment    is    the requests

22   were receiving from plaintiffs keeps changing.                             When we came

23   before the Court          last    time,   we were under the             impression that

24   the plaintiffs were          seeking the materials            that       the

25   Massachusetts AG'd requested.                   So we went back and we talked to




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 1   the plaintiffs about our position as                 to those materials.

 2           During that discussion,            the plaintiffs     told us    for the

 3   first    time    --   or at    least we understood for the        first    time    --

 4   that    they are      seeking every single document           from the

 5   investigation,         about    the    investigation,    related to the

 6   investigation.          That's a really different           request,    and it's

 7   extraordinarily broad.

 8           And our position with respect            to privilege and whether and

 9   to what    extent we could prepare a privilege                log is very

10   difficult       to analyze when we're talking about every single

11   document.        It would be a privilege         log with millions and

12   millions of entries.             So what we're       suggesting right now is

13   that we    finish producing the            letters   that   show who was

14   suspended,       and why,      so that    the plaintiffs     can make a more

15   tailored request.

16           And at    that point,         we're not necessarily objecting to

17   producing any of the underlying information.                    So for instance,

18   what we understand the plaintiffs ultimately want                      is underlying

19   data showing platform violations,               or showing what an app did

20   with users'       data.

21           To the extent         that we can uncover that underlying data,

22   we're not objecting to digging up that data and providing it                            to

23   plaintiffs       so that      they can do their own analysis.            What we're

24   objecting to doing is            taking our attorney files and the work

25   that our attorneys and attorney-led team did to look at                      that




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 1    data,    and analyze    it,   and make decisions about             that data,    and

 2    simply handing      it over to the plaintiffs.

 3                 MR.   LOESER:     Your Honor,        if   I may,    just briefly.

 4     Because again,      I think your question went              right to   the heart

 5     of the matter.

 6            If we have two engineers talking about Facebook's data

 7    policies    in connection and then fallout               from Cambridge

 8    Analytica,    can that possibly be privileged.                   And I think the

 9    reason why we feel       like this controversy is ready to be

10    briefed,    the parties are taking positions               that are directly

11    contrary on a large body of             information that we believe is

17)   directly relevant.

13            If you go to the exhibit we provided,                which is Facebook's

14    public announcement of         the ADI        investigation,      this does not say

15    Gibson Dunn lawyers are conducting an internal                     investigation

16    for the purpose of       legal advice.

17            And I'll just    read what       it    says,   because    I think it    should

18    give a pretty good idea          --

19                 THE COURT:       No,     I understand.       But you're not

20     seeking,    are you,    like,      memos among Gibson Dunn attorneys.

21                 MR.   LOESER:     No.     No.      We are not      seeking privileged

22     information.       We're seeking --

23                 THE COURT:       Okay.

24                 MR.   LOESER:     Yeah.      We want the      information --       like,

25     for example,      one of the categories of people involved,                   from




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 1    their announcement,            they say:        Among the people       involved     in

 2    this are policy specialists.

 3        They say       (As read):

 4                "we promised that we would review all of the apps

 5                that had access             to large amounts of         information

 6                before we changed our platform policies                     in 2014.         It

 7                has    involved hundreds of people:                attorneys,      external

 8                investigators,             data scientists,      engineers,       policy

 9                specialists,          platform partners and other teams                across

10                the country."

11        And the next          line    is    really critical       for   this.

I2                "Our review helps us                to better understand patterns             of

13                abuse       in order to root          out bad actors      among

14                developers."

15        That    is a business activity,                and it    is a critical business

16   activity for this          case.        We are not    interested in the         legal

17   advice and the       legal      communications.           We want    the business

18   activity information that would be produced because                          it's

19   directly relevant          and responsive.           If   they want    to withhold it,

20   they need to       log    it.     But    it's    certainly not going to be

21   privileged.

22                MR.   SNYDER:         Well,    we    strongly,   respectfully

23    disagree,    because my          law firm was       involved in every decision.

24                THE COURT:           Okay,    but we're not going to adjudicate

25    that now.
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 1                    MR.     SNYDER:         Right.

 2                    THE COURT:             The question,             though,       because       it's not       --

 3    so they're not              seeking the            stuff       that's       clearly privileged,             so

 4    you don't have to worry about                            that.        And    I don't even think

 5    that      ever really even needs                       to be    logged,       because that would

 6    be a waste of              time.

 7           But with respect                to the other stuff,                   there's arguments

 8   there.      Both ways.              Privilege            is not    clear,       and there's

 9   arguments both ways.

10           And so the question is                      then,       how,    how    --    I certainly       --

11   it's not      --    I can't adjudicate                    that    right       now,    like    just

12   generally out            there.         It has          to be done       in context.           Right?

13           So maybe the              thing to do            --    I do,    I have to say,          I just

14   think,     Mr.     Loeser,         I understand,              but we're not           in a great       rush,

15   you noticed,           so    --    is   start       reviewing those documents,                      and then

16   see   --   we can take a subset.                         Because       the way I'm going to be

17   able to adjudicate this                      is    take       some exemplars,          and rule,       and

18   then the parties              then can use that and apply it.                            Right?        You

19   don't need the              log of      every single document.

20           So maybe what you do                      is you take          a particular app,             or you

21   get   some names or               something,            right,    and we       focus on that

22   subset,     and     I adjudicate that.                        That's not going to             resolve the

23   privilege        for everything,                  but    it will be a roadmap                that    the

24   parties      can then apply.                  But       I think we are going to need a

25   certain set         --      I want      it    to be       in context          of a particular




                                                                                                                        0868
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 1   document.       So the question is:             How do we get       there.

 2          And I don't         think we necessarily need to wait until all

 3   the production is done.               I don't    think that    is    the case.     The

 4   parties    should get        together and decide on,          you know --    I don't

 5   know what      it    is that    the plaintiffs      think necessarily are

 6   there.     Maybe Facebook can come up with              --    I don't know             a

 7   hundred documents           that you're going to log.

 8                  MR.    SNYDER:       We can also be helpful,          Your Honor.

 9   And,     and --      because the vast majority --            I think it's

10    99 percent,         but   that's    just    from what my partner,       you know,

11    has allowed to.

12          Since the vast majority are people we wrote to and

13   suspended because they didn't write back to us,                       you know,    maybe

14   we can highlight a couple of ones where we had further

15   activity,      they wrote back to us,            we engage with them.

16          And then we can go behind the curtain,                  so to speak,       on

17   your exemplar idea,            and we can take a look at what            our work

18   product and attorney/client activity was behind the contain,

19   look at what         engineers were doing,         and then figure out how to

20   tee up a privilege exemplar for handful of apps.

21                  THE COURT:       Well,       and for example,    Mr.    Loeser brought

22    up   like policy          (audio interference),      things    like that.        That's

23    not going to be particular to an app.

24          But maybe plaintiffs            can point out,    you know,       because

25   what's    --




                                                                                                 0869
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 1                 MR.     LOESER:     Your Honor,   you're breaking up on us.

 2          (Off-the-Record discussion)

 3          (A pause       in the proceedings)

 4                 THE COURT:         I'm back.

 5                 MR.     LOESER:     We   lost you right when you started

 6    talking about policy specialists.

 7                 THE COURT:         I came to the courthouse         so I'd have good

 8    internet.       I got    the Court give me an upgraded laptop,                 and

 9    it's,   like,      worse than ever.         I'm actually at      the courthouse,

10    where there's very few people here.

11          In any event.        So,    you know,    I think,     you know,

12   plaintiffs      -- maybe    starting with this          --   identify some

13   documents that you think that you would be entitled to.                           Like

14   discussions among the policymakers               that    Facebook was      referring

15   to.

16          Facebook then,       you know,      look at   them,    and just     say:      Oh,

17   no,   yeah,    I can produce those now.

18          But    I think we're just going to have to do it                  sort   of    in

19   tranches.       But    I agree with the plaintiffs,            I don't    think we

20   need to wait until         the end because       I don't     think it     is

21   necessarily specific            to particular apps.

22          I think this       suggests     there's broader things going on that

23   would be relevant,         and that may very well not be privileged.

24   But   I don't    think there's anything right now.                I --

25                 MR.     SNYDER:     The reason that makes         sense,   Your Honor,




                                                                                                 0870
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 1    is   that,   you know,     without       reviewing attorney/client

 2    privileges,         we did have an internal protocol             for this    internal

 3    investigation.          Sort of an escalation protocol.                And so things

 4    did follow a particular prescribed course                     in the    investigation

 5    of an app.          And it was a massive undertaking,                because the

 6    company had to literally evaluate every app prior to 2015.

 7   And so there          is an established protocol             that governs

 8    escalation of these app            investigations.          And policy was

 9    involved in some of            those.

10           But   I think we    -- we can work with plaintiffs,                I think,

11   and identify our own protocol               for how to frame the privilege

12   inquiry,      and then key it up          for Your Honor when it's          ripe.

13                 MR.     LOESER:     Well,    Your Honor,       for the exemplar

14    approach to work,         it would need to be          --    let's    take policy

15    specialists,         for example.        We would say:       Look,     we want   --   and

16    I don't know if         there's a way for us          to connect       it to some

17    particular app or not;            it depends on what other discovery we

18    got.     But we want all         the conversations and discussions that

19    relate to      --    in which policy specialists were                involved.

20           For the exemplar to work,            Facebook would then need to

21   provide that,         or produce a log that          identifies everything that

22   they're not providing.             It    can't be    some cherrypicked set of a

23   couple of documents here and there that                  try to somehow prove

24   the point      that Orin's       trying to make.        It needs       to provide the

25   parties with the full ambit of               the    information,       so that we can




                                                                                                   0871
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 1   then meaningfully brief             the dispute.

 2                THE COURT:        So of    the   --

 3                MS.    STEIN:     It    sounds   like we have our work cut out

 4    for us on a meet-and-confer,             Your Honor.          I mean,       this    is one

 5    of the    issues that we've been trying to focus plaintiffs on,

 6    which is the over-breadth of             the request.          And we've been

 7    trying to discuss:           What do you actually want?

 8           And so    I think this will help give us               some       structure    for a

 9   meet-and-confer process,             so that we can get a better sense as

10   to what plaintiffs are          looking for.

11                THE COURT:        Well,    they actually do want everything.

12    They do want       everything.

13                MR.    SNYDER:     Yes.

14                THE COURT:        They recognize there are certain things

15    that    they can't get,       because of privilege.                But    the thing is

16    that    there's a fine       line    in these types of         things,       what    is

17    privileged and what's not privileged.                      And so,       yeah.     So what

18    they want       is everything.        That   is    true.     But    they recognize

19    there's    some things       they can't get.

20           But maybe    it's    to take    it off      in chunks.        Maybe,      you know,

21   start with the policy stuff.              But      that's going to take             some

22   work,    then,   reviewing it,        saying:      Well,     maybe we can't          really

23   defend privilege here.

24           Or if you're going to log it all,               then log it all,             and

25   we'll make a decision.              I think you probably can approach it




                                                                                                     0872
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 1   that way.

 2                MR.   KO:      Your Honor,       David Ko          --

 3                MR.   SNYDER:      Yeah,       the problem --

 4                MR.   KO:      Just one    --    one more point             to make   in

 5    response to what both Mr.             Snyder and Mr.                Stein have been

 6    saying.

 7        So,    the exemplar approach and the                      sample documents.

 8   Again,    all that    they are offering to produce to us are external

 9   communications and          (audio interference)               with third parties.

10        As Mr.    Loeser was       indicating,             there are a whole swath of

11   documents related to internal documents and communications

12   regarding their analysis,             right,       that may not have escalated to

13   the point of notifying a third party regarding this                            escalation

14   protocol that Mr.        Snyder alludes            to.     Right?

15        And so there are a wide range of categories of                            documents

16   that we are entitled to,             based on our discovery requests.

17                THE COURT:        No,    Mr.    Ko,    I understand.           I'm not

18    limiting it.        What    I'm saying is,             there's no way I can resolve

19    this,    just on a general          thing.        It has       to be    specific.      Some

20    things may be privileged,             and some things not.

21        I'm trying to figure out                --    if    there are millions of

22   things,    I'm just      saying let's        just       take    it    in pieces.

23                MR.   KO:      Sure.

24                THE COURT:        So start with what you want,                   most

25    important,    what you think is             the most yield,             or what you think




                                                                                                     0873
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 1    would be the best exemplar for me to rule on.                               What       area.

 2    Like    --

 3                   MR.    KO:       Yeah,     and here's an example of               --

 4                   THE COURT:           Not waiving your right              to get        everything

 5    else.

 6                   MR.    KO:        Sure.    And I understand that,               Your Honor.

 7           And here       is an example          for why this          issue   is,    to a certain

 8   extent,       ripe.        You know,       in addition to the policy specialists

 9   that Mr.       Loeser alluded to,             the app      --   the ADI very clearly

10   involved external                investigators.        So there are documents that,

11   by their own very nature,                   they've presumably waived the

12   privilege.

13           So communications             --

14                   THE COURT:           Well,    that's    --      I don't accept          that

15    statement,       at all.           That    is way too simplistic.

16                   MR.    SNYDER:        Our law firm --

17                   THE COURT:           Uh-uh,    I don't need to do that.                   That   is

18    not a correct             statement of       the   law,     Mr.   Ko,   that     just because

19    an external          --    if    the external      investigator was hired by

20    Gibson & Dunn,             it may very well be privileged.

21           So anyway --

22                   MR.    KO:       That's     fair,   you are absolutely correct.

23   All     I'm saying is,             in response to that             statement,      they're

24    identifying a categorical privilege and assertion over all

25    these documents,                excluding this narrow category of                     documents




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 1    that    they claim they're going to produce regarding

 2    communications with third-party app developers.                        So    it kind of

 3    runs both ways          is all      I'm saying,      Your Honor.

 4                  MS.   WEAVER:         Your Honor,      if   I may,   I think we heard

 5    an offer from Mr.          Snyder that we had not previously heard.

 6   And we actually started this discussion months ago by asking

 7    about    the escalation process.               So,    if we got a deadline       for

 8    Facebook to         send to us       the documents        sufficient to describe

 9    the escalation process,               we might be able to identify

10    categories.

11           We're a little constrained,              because we don't know,          really,

12   what    to ask for.       We would only be working off experience                  in

13   other cases about how investigations were run,                       and we know that

14   Facebook is really specialized.                  So we don't have a lot of

15   insight,       really,    into how it was        run.        Certainly prior to,    you

16   know,    2018.       We know about       their communications with third

17   parties because we've             seen them,     both in the public domain and

18   documents that we've received here.

19           But    I think getting a description from Facebook about:

20   These are the teams,            this    is who did what,         something like that

21   by a certain date within a reasonable amount of                       time,   then we

22   can dig in and make a proposal about:                        These are the test

23   categories we want.             If    that's   the direction Your Honor wants

24   to go    in.

25                  MR.    SNYDER:        Your Honor,      that    is all privileged,




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 1    which is why I say,               without waiving privilege,               I was    simply

 2    saying that we can't               -- we had engineers,              we had outside

 3    consultants,           we had lawyers,           we had policy people all working

 4    together to            investigate every app on the platform prior to

 5    2015.

 6           And you know,         if we meet and confer and they asked us

 7   about    those consultants,            I would say Gibson Dunn hired them.

 8   And they all were Covelled                  (phonetic),        and they're all working

 9   within --         at    the direction of          counsel.      But    --

10                     MS.   WEAVER:      Well,       if   I may,   this    is where we begin

11    to get       confused.       Because       if    they are categorically saying

12    everything is privileged,                  then maybe we         should brief       that.

13    That    can't be right.

14           So    I don't know what we have to do to                      --

15                     THE COURT:        I agree.

16                     MS.   WEAVER:      Yeah.

17                     THE COURT:        I doubt       that   that's    correct.     But a lot

18    of   it may be,          and a lot of       it may not.          So to brief       it gets us

19    nowhere,         unless we do it       in context.            That's all.

20                     MS.   WEAVER:      So how can we develop an understanding?

21    As plaintiffs,            to understand how these things are reviewed,

22    I'm a bit         stymied.

23                     THE COURT:        Well,    I think we        start with something.

24    Like,       we   start with something.

25                     MR.    SNYDER:     I think the judge had a great                  idea.




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 1                  THE COURT:          Focus        on    something.              They produce a log,


 2   and then,       and then we          --    we    --       we    --    I rule       on that.        Right?


 3   So we    start       with    --


 4                  MS.   WEAVER:         But    I'm concerned,                   Your Honor,       that


 5   they'll       cherry-pick only privileges                            communications         between


 6   lawyers       and    --


 7                  MR.    SNYDER:        No.        No,       we have          an obligation       --


 8                  MS.   WEAVER:         --    get       to    the heart          of    the    issue    --


 9                  MR.    SNYDER:        We have          an ob-          --


10          (Reporter          interruption)


11                  MR.    SNYDER:        Your Honor                --


12                  MS.   WEAVER:         My apologies.


13                  THE COURT:          So     this       is what you do.                 You    start


14   with    --    ask    for communications                   among policy people,                that       no


15   lawyers were on.              Just      start with that.                     You ask for that.


16   Right?


17                  MR.    SNYDER:        Or another                --


18                  THE COURT:          Or ask        for communications                   among the


19   external       investigators,             which no             lawyers were          on.


20          In other words,            that's,        right,             going to be your Backs


21   (phonetic)      case.        So   start by asking                    for those.


22                  MR.    SNYDER:        I thought,                Judge,       you had an excellent


23   idea.        Let's    say there's App X that we had correspondence


24   with,    and    it's       in those       16,000          pages.           And we have back and


25   forth with an app about                   some platform violation.




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 1           They can then ask us with respect             to that particular app

 2   and --       and engagement with that app,          what    is behind the

 3   curtain?        You know,       who else communicated at       Facebook before

 4   you sent       that?     And we can look at    those documents,             and

 5   determine what's privileged and what's not.

 6           And if we make a categorical privilege claim with respect

 7   to everything so-called             "behind the curtain,"       that    could be

 8   teed up       for Your Honor because that would be             illustrative of an

 9   approach to a particular app enforcement                   that grows       out   of the

10   legal    investigation.

11                   MR.    LOESER:    And Your Honor,     I think,    again,          for this

12    to work       --    and this    is Derek Loeser speaking       -- we will          come

13    up with a couple categories             that we will       choose.

14           They may not be the categories          that Mr.       Snyder would like

15   us to choose,          but   they will be the categories        that we think

16   will    show as best we can,          when we don't have the          information

17   when we are making the choices,             why there       is a problem with the

18   approach that          they're taking.

19                   MR.    SNYDER:    And I just want     to warn everyone or

20    caution everyone,            this was a massive     investigation because the

21    CEO committed to Congress and the public                   that he was going to

22    direct       this    investigation.

23           So    if you ask,       just as a caution    --    narrate,    no    --    for

24   every communication between consultants and among consultants,

25   that will be probably tens of millions of                   communications.




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 1   Because every time we told a consultant                        to do something with

 2   respect to an app,               and it was always a legal direction,                   the   --

 3   the consultants didn't direct                     the    investigation,    I imagine that

 4   the consultants then went off                     into consultant-land and

 5   exchanged 10 million emails before they came back with the work

 6   product,       brought      it    to counsel,          and then a decision was made.

 7           So the volume here               is    -- we    should look at    the volume.          My

 8   guess    is we're talking about many tens of millions of

 9   documents.

10                      MR.   LOESER:        Well,   Your Honor,     we haven't       received

11    many millions of anything.                     But     I think a lot of what

12    Mr.    Snyder just         said sort of highlights             the problems and the

13    reasons why I think this will                     result    in briefing.

14           For one,         maybe we'll          start as a category the

15   communications between the CEO and the data policy people.                                    And

16   this    is    --    I mean,      everything you'll          read about    this    from their

17   public       statements,         this    is a very public activity that Facebook

18   has done.           And it's very important,               clearly,   to get     this

19   information about             this      investigation to its users.              That's why

20   they keep posting about                  it.

21           We can come up with some categories                     that we think will

22   make clear to the Court what                     the problem is and where the

23   limits of privilege are.

24           As you've,         I think,       rightly noted,       we do not want access

25   to and understand that we don't get access                        to privileged




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 1   communications.             But     there's a lot here that's not privileged.

 2   And we know that because of                     the public          things       that Facebook has

 3   said,    including what             the CEO has            said.

 4           And we'll       figure out            some categories             that    try and bring

 5   this    into    focus       for the Court.

 6                   THE COURT:             I think that's             the way to do it.         And I

 7    guess on Wednesday,                you did get            some    --    about    10,000 pages,

 8    and you can look at                that and see            if    that helps.

 9           But    I do want       to      --    I don't       think necessarily we should

10   wait    to adjudicate          it,      but    I do want          to adjudicate       it   in a

11   context.        And it'll be just one                     small piece,       and that      then

12   will,    I think       --    I've      found,       at    least,    that'll help with the

13   other,    the other side.                   Okay,    so that will be on your agenda to

14   discuss.

15           Okay.     I do have a settlement at                        9:30    so we have to      --   I'm

16   going to be       late for.

17           Let's    see.       Oh,     the      search terms.              So the    stipulation that

18   the parties       signed said that                  Facebook was going to provide

19   search terms          for a broad spectrum of                     custodians.

20           So tell me how Facebook has                        come up with that broad

21   spectrum of       custodians            that    they will provide on July 21st.

22                   MS.   KUTSCHER CLARK:                    Sure,    Your Honor.       And,    I think

23    the    issue that was            raised in the             statement was a bit            of a

24    misunderstanding.                So    I think we can resolve that                   easily.

25           The    search term protocol provides a deadline to propose




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 1   search terms         for each custodian.              We divided the custodians

 2   into eight groups.             And what we       said is we would propose a

 3   comprehensive         set of    search terms by the 21st.                 But   the

 4   deadline to propose            search terms          for the    first    four groups         is

 5   also the 21st,        with future deadlines              for other groups.

 6           The way we understood that               is we'll be providing a

 7   comprehensive         set of    search terms          that will apply broadly next

 8   week,    but we're not proposing any terms                     that are    specific         to

 9   custodians we have not yet                  interviewed,       until    the deadlines            for

10   those custodians.

11           So the     idea is     there will be a comprehensive set of                     terms

12   for the      first    four groups          that will    include terms that are

13   specific to the custodians within those groups.                            So we talk to

14   those people,        we learn jargon,           we    learned code names.             We'll

15   include that         sort of    information.           To the extent groups of

16   custodians were not            interviewed,          we're not going to have

17   specific terms         for those people yet because we're still talking

18   to them.

19                  THE COURT:           But    they will be    included in the broader

20    search terms.

21                  MS.   KUTSCHER CLARK:            I'm sorry;       I just didn't

22    understand some of            --

23                  THE COURT:           Sorry.     But what you're          saying is      --

24    but    --   but   is the broader search terms will apply to them.

25    You just won't have the                  specific    search terms.




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 1                 MS.    KUTSCHER CLARK:              Yes,       exactly.


 2          And the one         thing    I do want          to    clarify,             just       to make         sure


 3   were all      on the       same page,       is    there          is    one RFP,          a single RFP


 4   that    is not     covered by the          first       four groups                of    custodians.


 5           So because we will           not yet       have          spoken to any of                   the


 6   custodians       about     the    issues with that                RFP,       we did not             intend to


 7   propose a comprehensive              set    of    search terms                for that            one


 8   specific     RFP.        But    otherwise,       they will             all be          covered,         in


 9   addition to        the    specific    terms       for the             first       four groups.


10                 MS.    WEAVER:        Which RFP          is    that?


11                 MS.    KUTSCHER CLARK:              Don't          hold me          to    this;       off      the


12    top of my head,           I think    its        22.        But       I would need to                  look


13    again at my notes.


14                 MS.    WEAVER:        Okay.        This       is    the       first were              learning


15    of    it.   But    were        fine with that,             Your Honor.                 The       statement


16    did read as        though they were             limiting             it    to 41.           We


17    understand,        and I think you will understand the point.


18                 MS.    KUTSCHER CLARK:              Yeah.           I think          it was          just      a


19    misunderstanding.               Were happy to              talk more about                   it.


20                 THE COURT:           Okay,    great.           What          else    should we            talk


21    about?


22                 MS.    WEAVER:        Your Honor,             very briefly,                just


23    43(b)(2)(C),        I think you've          seen kind of                   an example            of    the


24    crossing of        ships       in the night.


25           For example,           you know,    with regard to ADI,                         it    has      been




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 1   very hard for us          to get our arms around what               Facebook is

 2   withholding.        And we,    for example,         have told Facebook that we

 3   will tell them if we are withholding anything,                        any categories

 4   of documents that are responsive.                  And things got a little

 5   flipped around.

 6        I think we originally framed it as:                      Let us know if you

 7   categorically object          to any RFP.          And they    --    initially they

 8   said yes,       then they said --      the    final    response was only 19,

 9   which is ADI.

10        But    then when we dug in,           and we     started meeting and

11   conferring,       it became unclear to us whether Facebook is taking

12   a position with regard to certain categories of documents                              that

13   are responsive.           Meaning were not objecting categorically to

14   an RFP,    but are they withholding some               small    subset    that    is

15   responsive that       they haven't         identified to us because they're

16   saying no,       that's not    relevant?       And the whole point of

17   34(b)(2)(C)       is to make that      transparent,       so the parties          can

18   engage.

19        And,       and this    is what we understand now,               Facebook is

20   saying:    Well,    for search term documents,            were not        ready yet.

21   And we understand that,          and we will wait.

22        But we want          to know now for categories of RFPs where

23   search terms are not          required,      has    Facebook decided that          there

24   are responsive materials which are not                  relevant?        And we heard

25   some of    it    today.     Some of   it   came out     in their statement.              But




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 1   that's the conversation that we want                     to have.      And we think

 2   we're entitled to that.

 3                  MR.     SNYDER:     Your Honor,      just briefly,        they raised

 4    the    same    issue with Judge Chhabria with regard to our FTC

 5    production.           And Judge Chhabria ruled,            clearly consistent with

 6    the    federal rules,         that defendants,          like all parties,        are

 7    presumed to conduct             their relevance review in good faith and

 8    are not       required to make         such disclosures which are not

 9    required.        That    is   to say,     there's no requirement          that we

10    identify irrelevant documents                in advance.

11           We are going to.          We've produced 1,200,000 pages of

12   documents,       including,       I think,    40-   or 60,000        that are    internal

13   Facebook documents,            already.      We will      continue to produce

14   responsive relevant documents.                 The rules        require that.         We've

15   done    it.    And we don't have an obligation to say what                       is

16   irrelevant       and not being produced.             That's      just backwards.

17   It's been rejected by Judge Chhabria.                     And really,      we think,

18   you know,       it makes no sense whatsoever.

19                  MS.     WEAVER:     Well,   we don't       see   --   go ahead.

20                  THE COURT:         I guess what      --    for example,     something

21    that's been produced are documents                  that were produced to the

22    FTC.     Right?

23           And so    --

24                  MR.     SNYDER:     Yes.

25                  THE COURT:         --   one question is:          Did you withhold




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 1    anything that's not            relevant?

 2                  MR.    SNYDER:     That was asked of us.                    And Judge

 3    Chhabria said we did not have to                   --   I don't know the answer to

 4    that,   but    --

 5                  MS.    KUTSCHER CLARK:         No,    we didn't.             He didn't

 6    withhold anything on relevance grounds,                        no.

 7                  MR.    SNYDER:     We did not.

 8                  THE COURT:        Okay.      You did not.            Okay.      All right.

 9          So,   Ms.     Weaver,    what   is   -- what      is   the     --    the search

10   terms,   I get,       were not    --   they can't know until                 they've

11   searched.

12          So what       is    -- with respect     to what's been done so far,

13   what   is the concern?

14                  MS.    WEAVER:     Other regulatory documents,                   so they

15    produced to the            ICO and DCMS     in the UK.          Those are regulatory

16    bodies.       Did they categorically decide that                      there were

17    portions of those            inquiry not     relevant        to our case?

18          For example,          this has arisen        --   this    is    in a slightly

19   different      context       -- with regard to PwC documents.                    They have

20   said PwC was         looking at    things not        relevant         to the case.        But

21   we don't know what            those are,     even generally,               by topic.    And if

22   they told us,         we might agree.         But    they're just making the

23   decision,      without       sharing it with us.

24          They have          said at different points:              We're only producing

25   certain kinds of materials               relating to advertising.                 We don't




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 1   know where they're drawing that               line.        This has arisen in the

 2   context of the financial documents,                  the RFPs      that    seek

 3   information about         their finances.           So,    how are they drawing the

 4   line been between what            they think is          relevant,      and what    they

 5   think isn't?

 6           These are all         things where we need them to take a

 7   position,    and frankly,         some of    these things,         it would be

 8   helpful    if they did it         in writing.        Because when we have these

 9   conversations,       its circular for us.                 And we   --    there's

10   misunderstanding.             And if    they put    it on paper,        we can see     it,

11   and its helpful.

12                MS.    STEIN:       Your Honor,       we have not       taken a

13    categorical position on anything that were withholding.

14    Were doing this,             as plaintiffs do in every case.                Which is we

15    meet and confer         --    I mean,    we've had a gazillion

16    meet-and-confers on plaintiffs                RFPs,       to use a technical

17    estimation of the time.               And then,     our reviewing and producing

18    documents    for relevance the way --               and responsiveness the way

19    parties do    in every case.

20           There's no category of documents                  that were       sort of

21   secretly setting aside.                Documents are either responsive and

22   relevant,    or they're not.             Most of    this    its very hard to argue

23   about    in a vacuum,         which is what we've repeatedly said to

24   plaintiffs.        But   these are why the          --    the   search term ones,          as

25   Ms.   Weaver has noted,          you know,    its        fighting about      it    in a




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 1   vacuum about what         the    scope   is going to be.

 2                THE COURT:         We're not    --

 3                MS.   STEIN:       Right.     For the      specific RFPs,             we've had

 4    very detailed conversations about what's getting produced.

 5    There's been no categorical objection to some                         sort of          --   I

 6    mean,    this use of      the term      "categorical,"         there's no bucket of

 7    documents that we're            setting aside as        irrelevant.              We    look at

 8    documents on a document-by-document basis,                     as     they populate.

 9   And,     you know,   a reviewer will         look at      them for whether

10    they're responsive or not.              But,     I mean,    it's no different

11    than any other case.

12          And it's    just    really been very challenging for us because

13   we keep getting asked about              categorical,       you know,         objections.

14   We don't have a categorical,             you know,      bucket        that we're

15   refusing to produce.

16                MR.   LOESER:        Your Honor,      if   I can    --

17                THE COURT:          For the PwC documents,           were there

18    documents that were withheld as non-responsive                         --    as       -- yeah,

19    as not relevant?

20                MS.   KUTSCHER CLARK:          Your Honor,         that's a difficult

21    question to answer because plaintiffs'                   (audio interference)

22    the PwC documents,         it's a much more complicated request,                            where

23    they asked for the documents              referenced in particular PwC

24    reports.     Ands the      issue there      is more about            the    fact      that

25    it's very difficult            for us   to identify what         PwC,       as    a third




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 1    party,       relied on.      So there have not been relevance objections

 2    to those documents.             Some of      them haven't been produced

 3    because we're having difficulties                    identifying them.

 4           But    for all other materials,             what we have consistently

 5   told plaintiffs         is we are determining relevance based on the

 6   four theories of            liability that Judge Chhabria laid out               in his

 7   motion-to-dismiss order.               Judge Chhabria said these are the

 8   four theories that are              in play in the case.           And we are making

 9   every relevance determination,                based on those           four theories.

10   And that's what we have consistently told the plaintiffs.

11                   THE COURT:      But,    so,   but     I do think,       I do think that

12    you do have an obligation to,                as part of        the meet-and-confer,

13    explain       --   give examples.       For example:           This    is a document

14    that    is responsive to your requests but                 that we decided was

15    irrelevant.          Just explain that.

16                   MR.   KO:    Your Honor,       this    is David Ko again.        And

17    just    --    I completely agree,         that's what we've been asking and

18    in the context of           this    specific example of          PwC that we're

19    discussing is exactly where               it's come up.

20           I'm a bit      surprised that Ms.           Kutcher Clark is        saying that

21   they are not withholding on relevance grounds due to some

22   technical misunderstanding of our requests.                        They have made       it

23   clear in their meet-and-confers                 to us    that    they believe that

24   both the Facebook privacy program and PwC                       (inaudible)    contains

25   large amounts of            information they believe are not relevant                  to




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 1   this case.

 2          And so we asked them to identify what                  those are,       because

 3   our view of those reports by PwC and the underlying Facebook

 4   privacy program is         that we believe most of            it    is   relevant.      And

 5   we have provided them with examples why.                     They have refused to

 6   give us examples         in response      for what    is not       relevant.

 7           So you   --

 8                  MS.    KUTSCHER CLARK:       May I respond to those?

 9           (Reporter interruption)

10                  MR.    SNYDER:    Sorry,    my phone keeps on falling down.

11    That's what's happening.               I'm muting it;       I apologize.

12                  MS.    KUTSCHER CLARK:       The   issue with the PwC

13    documents,      Mr.    Ko is correct      in that we don't believe

14    everything PwC looked into over a ten-year period is

15    necessarily relevant           to this case.        However,       we haven't

16    provided had a detailed analysis of                 that,   because those

17    materials haven't actually been requested.                        And we've talked

18    about      those,    ad nauseam.

19           The plaintiffs did not           serve a document          request   for all of

20   the documents between Facebook and PwC.                  They served a very

21   different request.          So we have been talking about that request.

22   And at      this point    it would be premature to do the type of work

23   Mr.    Ko   is describing,      because we don't have          it a request       for

24   that    information.

25                  THE COURT:       Okay.     All   right.   So the only guidance




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 1    I'm going to give here             is    that      if    --    if    responsive documents

 2    are being withheld on the ground that you decided they're not

 3    relevant,         I do think,    and I --          I --       that you should --           as part

 4    of the meet-and-confer,               you explain why,                and you give an

 5    example.          That   that's part of           the meet-and-confer process.

 6    If   --    if   its being withheld on relevance grounds.                              If   its

 7    not,      then there's not.           But    if    it    is,    then you should sort of

 8    give the other side an explanation as                           to how you're drawing

 9    that      line.

10                    MR.   LOESER:    Your Honor,             this       is Derek Loeser.         That

11    would be very helpful.

12                    MR.   SNYDER:    Judge,       I'm having             --   I know Your Honor's

13    late.

14           Are you suggesting that every time a reviewer                             --    I'm not

15   being facetious.            Every time a reviewer takes a document and

16   asks whether its            relevant,        we have to make a notation so that

17   we can explain?

18                    THE COURT:      No,     of course         I'm not         suggesting that at

19    all,      Mr.   Snyder,    and I don't.           What        I said is as part of           the

20   meet-and-confer process,                 generally when you've made decisions

21    as   to what's relevant,          what       --    they say somewhat

22    categorically,           but   sort of give         --    just give an explanation:

23    This      is the direction that we gave our reviewers.                            Right?

24    This      is where we draw,       where we drew the line.

25           That's what        I'm saying.         Like,       generally --




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 1                  MR.     SNYDER:     Understood.

 2                  THE COURT:         --   drew the    line.    And they can say:

 3   Okay,     I understand that,            I agree.     We don't want those

 4    documents.           We already have a lot of documents                 --

 5                  MR.     SNYDER:     We've done that;        we've done that

 6    already,       and I've even done that on earlier meet-and-confers.

 7   We will do        it again,      and we will do it with force and clarity

 8    again.        But we will make that           clear.

 9          Thank you.

10                  THE COURT:        Okay.

11                  MR.     LOESER:     Your Honor,      I do think that would be

12   helpful.        An example would be the conversation we had about

13   ADI.      Clearly,       they made the decision that all                 information

14    that was       internal would be withheld.                But when you       look at

15    their offer for what             they're producing,         they talk about all

16    these communications with third parties,                        but   they're not    --

17    they haven't          'fessed up to what         they actually were doing,               was

18    eliminating from what             they intended to produce everything that

19   was    internal to Facebook.

20          So that kind of           conversation would allow the parties                 to

21   quickly realize where the disconnects are.

22                  MS.     STEIN:    ADI    is   completely     --

23                  THE COURT:        As    I understand the ADI,            they believe,

24    their position is          that everything that was done as part                    of

25    their    --    the    investigation,        and whether they were outside




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 1   investigators          or   internal     Facebook people,                   is privileged.


 2   What      they've agreed to produce                 are    the       communications          like


 3   with the app         developers,        because       clearly they're not part                      of


 4   Facebook.         They weren't        hired at        the       direction of          the


 5   attorneys.


 6                  MR.   LOESER:     Right.


 7                  THE COURT:       But     I understand it's                   a broad privilege.


 8   So   --   okay.


 9          When    shall we have       --    is    it    two weeks?


10                  MS.   WEAVER:     Yes,     Your Honor,                that would be          fine.


11                  THE CLERK:       (Inaudible)


12                  MS.   WEAVER:     That's        Friday the             31st?


13                  THE COURT:       Go back to           Friday.


14                  MS.   WEAVER:     I'm sorry;           this          is Monday,    isn't       it?        My


15   fault.


16                  THE COURT:       We were meeting on Fridays,                       so    that's


17   fine.


18          Ms.    Means,    how does      Friday the           31st       look?


19                  THE CLERK:       Oh,     the    31st       is    fine.       Do you want        9:00


20   or   8:30?


21                  THE COURT:       Can we        do    8:30       again?


22                  THE CLERK:       Yes.


23                  THE COURT:       Okay.         All    right.          We'll     have    the


24   statement       due whatever the          schedule             is    that    I set.     That    seems


25   to be working well.




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 1                   MS.    STEIN:      Your Honor,      on the    schedule,    if   --    if we

 2    could build in a little bit more time between when can we

 3    get    --    sort of do the         initial exchange,        and then when we do

 4    the final exchange,               I think that would be helpful.

 5           It's    just    --   the    schedule has proven a little bit             tight as


 6   we have to       sort of work through issues,                often with our client,

 7   and get approvals.              It would --      right now,     we typically have a

 8   24-hour turnaround.

 9                   THE COURT:         So what would you propose?

10                   MS.    STEIN:       I think 48     hours would be better,            or at

11    least       36 hours.

12                   THE COURT:         Ms.   Weaver,    can you work something out

13    with them?

14                   MS.    WEAVER:      Yes,   of course.        That's no problem.

15                   THE COURT:         Okay.    Whatever you guys work out               is   fine

16    with me.

17                   MS.    STEIN:      Thank you.

18                   MS.    KUTSCHER CLARK:        Your Honor,       one more timing

19    request.

20           We're    starting to find that during our meet-and-confers,

21   we're    sort of returning a little bit                to the game of

22   whack-a-mole we were all playing before we                      started meeting with

23   you.     And we're finding that we're having a little bit                        of

24   difficulty focusing and making progress,                      due to the    sheer

25   number of       issues that are on meet-and-confer agendas,                     and being




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 1   discussed.

 2           And we're just hoping that perhaps we could have a little

 3   bit of guidance limiting the number of               issues,    or at    least

 4   focusing the number of         issues,    so that we can make       sure we are

 5   moving forward with those things,               and not    spinning our wheels

 6   on 15    things    instead of making progress on five.

 7                MS.   WEAVER:    May I respond to that,           Your Honor?

 8                THE COURT:      Yes.

 9                MS.   WEAVER:    We believe that        it has been very narrow.

10    We haven't       raised any pressures of         issues    that we haven't

11    previously --       like ADI,   there are a number of          issues that we

12    have,    in fact,   been sitting on.

13           We understand -- we worked would with them to give them

14   six weeks to do this         first    set of    search terms.     But certainly,

15   there are all kinds of         issues    --    deposition protocols,       all

16   kinds of things       --   that we have been waiting on.           So I'm really

17   kind of baffled by that.             And I don't know what       issues we have

18   been raising.

19           I do think it's      true that    Facebook asks us       to send them a

20   detailed email before each meet-and-confer on the topics we

21   wish to discuss,       which we have been doing.

22           So this    is a little bit out of         left    field to me,   but we

23   are really trying to work with the               system here.

24                THE COURT:      Okay.      I don't know what       I can do,    sort

25    of out of context.




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 1              MS.   STEIN:    Yeah,    I don't    think   --    I don't    think

 2   Ms.   Kutscher Clark meant     it    in any way to suggest            that   there

 3   was a lack of cooperation on either side.                   I think we're just

 4   all dealing with a lot of          issues,    and thought we were making

 5   more progress when it was          sort of    tailored in advance as to

 6   what we   should specifically be discussing.

 7              MS.   KUTSCHER CLARK:       Exactly.

 8              THE COURT:      I see.     I think what you have to discuss

 9   is the ADI.      Right?    You're going to get         the    search terms on

10   July 21st.

11              MS.   KUTSCHER CLARK:       (Nods head)

12              THE COURT:      You have the plaintiffs'               production,

13   because now you have to discuss how you're going to get                        that

14   information.      And you have the defendant's ongoing production.

15              MS.   WEAVER:    And the    34(b) (2) (C)    issues,       if they are

16   withholding.

17              THE COURT:      Well,    yeah.     That's   related to their

18   production and if     they're withholding anything.                  So I think

19   those are the topics.        It's a lot.

20         Sounds   like things are moving forward.

21              MS.   WEAVER:    We are,    in fact,    meeting and conferring

22   slightly less than we were doing it             three times a week which,

23   although that was productive,          that was a little            intense.

24              THE COURT:      That was    intense.

25              MR.   LOESER:    Well,    and Your Honor,         at    the beginning




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 1   of   every meet-and-confer we have                 ten minutes    of    generally


 2   getting along really well.


 3                  MS.   WEAVER:      That's       true.


 4                  THE COURT:        You're    all    getting along just          fine.     You


 5   know,    these are very trying times.


 6                  MS.   STEIN:      We've    all    learned a lot    about       each other.


 7                  THE COURT:        Yeah.     Yeah.


 8                  MR.   SNYDER:      Judge,       that's because    I stopped


 9   attending them.


10                  MR.   LOESER:      That    was    a huge   advantage     for all       of us,


11   that's       true.


12          (Laughter)


13                  MR.   KO:    At   least    now you      freely admit     it,   Orin.


14                  THE COURT:        All   right.      I will    see you,    then,    on the


15   31st    at    8:30   a.m.


16                  MR.   LOESER:      Thank Your Honor.


17                  MR.   SNYDER:      Thank Your Honor.


18                  THE CLERK:        Court    is    adjourned.     Thank you,       everyone.


19          (Proceedings         concluded)


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                               CERTIFICATE        OF REPORTER


            I,    BELLE      BALL,   Official      Reporter      for   the   United States


Court,   Northern       District       of   California,    hereby certify that th ,
                                                                                  ?.


foregoing    is    a correct         transcript     from the      record of


proceedings       in   the    above-entitled matter.




                                       13411413414.
                                      /s/   Belle Ball


                        Belle Ball,         CSR   8785,   CRR,    RDR


                               Tuesday,      July   14,   2020




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                       EXHIBIT D
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                            STIPULATION AND [PROPOSED]
                                            ORDER REGARDING PROCESS TO LOG
This document relates to:                   EXEMPLAR MATERIALS FROM
                                            FACEBOOK'S APP DEVELOPER
ALL ACTIONS                                 INVESTIGATION




  STIPULATION AND [
                  PROPOSED ]ORDER REGARDING PROCE SS TO LOG EXEMPLAR MATERIALS
                   FROM FACEBOOK 'SAPP DEVELOPER INVESTIGATION
                              CASE No. 3:18-mo-02843-VC

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       By and through their undersigned counsel, the parties hereby stipulate and agree as

follows:

           1.   Whereas, on July 13, 2020, the Court ordered the parties to develop a

methodology for Facebook to log asample set of materials from its App Developer Investigation

("ADI") over which Facebook asserts aclaim of privilege;

           2.   Whereas, the parties have met and conferred extensively and exchanged

numerous proposals to develop such amethodology;

           3.   Whereas, on July 22, Plaintiffs provided Facebook with adetailed written

proposal to identify asubset of documents related to Facebook's ADI;

           4.   Whereas, on August 31, after additional meet and confers, Facebook provided

Plaintiffs adetailed written proposal outlining acomprehensive plan for Facebook to log

exemplar materials;

           5.   Whereas, on September 3, Plaintiffs provided Facebook acounterproposal;

           6.   Whereas, on September 8, the Court issued awritten order requiring the parties to

enter astipulation by September 11, 2020, detailing the process for addressing the privileged

materials that Plaintiffs seek from Facebook's ADI;

           7.   Whereas, on September 9, Facebook provided Plaintiffs arevised proposal in

response to Plaintiffs' counterproposal;

           8.   Whereas on September 11, following an additional meet and confer, Facebook

provided Plaintiffs afurther revised proposal;

           9.   Whereas, on September 11, Plaintiffs accepted the process outlined in

Facebook's further revised proposal, the agreed-upon portions of which are attached as Exhibit

A.

       THE PARTIES THEREFORE STIPULATE AND AGREE AS FOLLOWS:

       1.       By September 16, 2020, Plaintiffs will identify five apps from the lists of apps set

forth on Exhibit   A, consistent with the process identified in Exhibit A.



                                                  1
  STIPULATION AND [
                  PROPOSED ]ORDER REGARDING PROCESS TO LOG EXEMPLAR MATERIALS
                   FROM FACEBOOK 'SAPP DEVELOPER INVESTIGATION
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          2.    Facebook will thereafter begin collecting and searching for responsive documents,

consistent with the process identified in Exhibit A.

          3.    Because Facebook will not know the volume of documents that will be collected

and logged until after Plaintiffs identify exemplar apps, the parties agree that they will be

prepared to stipulate by September 25, 2020 (the next Discovery Conference) to atimetable for

the production of logs of ADI materials related to the apps identified by Plaintiffs. The parties

will thereafter work cooperatively to develop areasonable timetable for privilege challenges and

potential briefing to the Court.

 Dated: September 11, 2020                            Respectfully submitted,

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  STIPULATION AND [
                  PROPOSED ]ORDER REGARDING PROCE SS TO LOG EXEMPLAR MATERIALS
                   FROM FACEBOOK 'SAPP DEVELOPER INVESTIGATION
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Attorneys for Defendant Facebook, Inc.



PURSUANT TO STIPULATION, IT IS SO ORDERED.




DATE:



                                         United States Magistrate Judge Jacqueline Corley




                                           4
 STIPULATION AND [
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                                SIGNATURE ATTESTATION

       Pursuant to Local Rule 5-1(i)(3), Iattest that concurrence in the filing of this document

has been obtained.


DATED: September 11, 2020                                   By:     /s/ Deborah Stein
                                                                  Deborah Stein




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  STIPULATION AND [
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                                CERTIFICATE OF SERVICE

       I, Deborah Stein, hereby certify that on September 11, 2020, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of Califor-

nia using the CM/ECF system, which shall send electronic notification to all counsel of record.


                                                             By.     /s/ Deborah Stein
                                                                   Deborah Stein




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  STIPULATION AND [
                  PROPOSED ]ORDER REGARDING PROCE SS TO LOG EXEMPLAR MATERIALS
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                      EXHIBIT A

                    FILED UNDER SEAL
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                            STIPULATION AND {PROPOSED]
                                            ORDER REGARDING PROCESS TO LOG
This document relates to:                   EXEMPLAR MATERIALS FROM
                                            FACEBOOK'S APP DEVELOPER
ALL ACTIONS                                 INVESTIGATION




  STIPULATION AND [
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       By and through their undersigned counsel, the parties hereby stipulate and agree as

follows:

           1.   Whereas, on July 13, 2020, the Court ordered the parties to develop a

methodology for Facebook to log asample set of materials from its App Developer Investigation

("AD!") over which Facebook asserts aclaim of privilege;

           2.   Whereas, the parties have met and conferred extensively and exchanged

numerous proposals to develop such amethodology;

           3.   Whereas, on July 22, Plaintiffs provided Facebook with adetailed written

proposal to identify asubset of documents related to Facebook's ADI;

           4.   Whereas, on August 31, after additional meet and confers, Facebook provided

Plaintiffs adetailed written proposal outlining acomprehensive plan for Facebook to log

exemplar materials;

           5.   Whereas, on September 3, Plaintiffs provided Facebook acounterproposal;

           6.   Whereas, on September 8, the Court issued awritten order requiring the parties to

enter astipulation by September 11, 2020, detailing the process for addressing the privileged

materials that Plaintiffs seek from Facebook's ADI;

           7.   Whereas, on September 9, Facebook provided Plaintiffs arevised proposal in

response to Plaintiffs' counterproposal;

           8.   Whereas on September 11, following an additional meet and confer, Facebook

provided Plaintiffs afurther revised proposal;

           9.   Whereas, on September 11, Plaintiffs accepted the process outlined in

Facebook's further revised proposal, the agreed-upon portions of which are attached as Exhibit

A.

       THE PARTIES THEREFORE STIPULATE AND AGREE AS FOLLOWS:

       1.       By September 16, 2020, Plaintiffs will identify five apps from the lists of apps set

forth on Exhibit A, consistent with the process identified in Exhibit A.



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  STIPULATION AND [
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          2.    Facebook will thereafter begin collecting and searching for responsive documents,

consistent with the process identified in Exhibit A.

          3.   Because Facebook will not know the volume of documents that will be collected

and logged until after Plaintiffs identify exemplar apps, the parties agree that they will be

prepared to stipulate by September 25, 2020 (the next Discovery Conference) to atimetable for

the production of logs of ADI materials related to the apps identified by Plaintiffs. The parties

will thereafter work cooperatively to develop areasonable timetable for privilege challenges and

potential briefing to the Court.

 Dated: September II, 2020                            Respectfully submitted,

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  STIPULATION AND [
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STIPULATION AND [
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PURSUANT TO STIPULATION, IT IS SO ORDERED.




DATE:   September 24, 2020




                                         Unite




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 STIPULATION AND [
                 PROPOSED]ORDER REGARDING PROCESS TO LOG EXEMPLAR MATERIALS
                  FROM FACEBOOK '
                                SAPP DEVELOPER INVESTIGATION
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               EXHIBIT F
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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC



This document relates to:                      PLAINTIFFS' MOTION TO COMPEL
                                               PRODUCTION OF DOCUMENTS
ALL ACTIONS                                    RELATED TO FACEBOOK'S APP
                                               DEVELOPER INVESTIGATION

                                               Judge: Hon. Jacqueline Scott Corley
                                               Courtroom: 4, 17th Floor




PLAINTIFFS' M OTION TO COMPEL                                                   MDL No. 2843
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                                    I.      INTRODUCTION

       In 2018, the world learned that Cambridge Analytica's app on the Facebook platform had

misused asubstantial and alarming amount of Facebook users' private information. In the wake

of this scandal, Facebook publicly announced the App Developer Investigation ("ADI"),

described as an effort to investigate whether other apps may have similarly misused users'

information. Facebook said the ADI would review every app on the platform "that had access to

large amounts of information," and that it would involve hundreds of people, including not just

attorneys, but also "external investigators, data scientists, engineers, policy specialists, platform

partners and other teams across the company." The ongoing ADI has thus far resulted in the

suspension of tens of thousands of apps for reasons including "inappropriately sharing data

obtained from [Facebook], making data publicly available without protecting people's identity or

something else that was in clear violation of [Facebook's] policies."2

       Facebook has characterized the ADI as anew and distinct endeavor that was entirely

lawyer-driven, and thus entirely privileged. In reality, the ADI was acontinuation of Facebook's

longstanding if lackluster investigative and enforcement efforts. Long before the ADI began,

Facebook's DevOps team attempted—unsuccessfully—to enforce policies designed to prevent

third party apps from misusing user information. Dressed up with anew name and trumpeted

with repeated press releases, the stated purpose of the ADI was the same as FB's existing

program: to protect users' data from misuse by third-party apps.

       Given the clear relevance of the ADI to Plaintiffs' claims, Plaintiffs seek discovery

related to the ADI that does not explicitly contain legal advice. But to date, Facebook has refused

to produce virtually all documents generated or uncovered by the ADI ("the ADI Materials"),

claiming that they are shielded from production by work product or attorney client privilege.

Pursuant to this Court's instructions and the parties' agreement, Facebook has now produced



1An Update on Our App Develcper Investigation, Facebook (Sept. 20, 2019),
 https://about. lb. co m/new s/2019/0 9/
                                       an-update-on-our-app-developer-invest igat ion/
2Id.

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privilege logs for six apps investigated as part of the ADI, containing over 6,000 entries. 3 These

logs show that, other than correspondence with the app developers related to the Requests for

Information ("RFIs") sent by Facebook, the Company is claiming work-product protection and

attorney-client privilege over every email, chart, table, slide, image, diagram, agenda, task list,

chart, and spreadsheet associated with the investigation. Facebook has asserted that every one of

those documents in the logs is privileged in full and has withheld each of them in their entirety.

       From these sample logs, Plaintiffs identified 400 entries that fail to identify an attorney as

an author or recipient. From these 400, pursuant to Discovery Order No. 12, ECF No. 602,

Plaintiffs selected 20 for in camera review. 4 Following that review, informed by the Court's

review of the 20 documents as well as the arguments below, Plaintiffs respectfully ask the Court

to rule that the ADI is not categorically work product or privileged. Importantly, Plaintiffs rely in

this motion solely upon items in the public record, cognizant of this Court's admonition against

declarations and evidentiary submissions. 5

       First, Facebook's blanket work-product claims fail both because the ADI was not

conducted in anticipation of litigation and because the logs do not identify any such litigation.

Rather, Facebook repeatedly and publicly stated that the purpose of ADI was not to prepare for

litigation but to "make sure that people can continue to enjoy engaging social experiences on

Facebook while knowing their data will remain safe." 6 Because the stated purpose of the ADI




3 Joint Status Update at 4, ECF No. 599 (Jan. 24, 2021). These six are the apps the parties agreed
  upon as asampling of the more than 100,000 apps Facebook identified as part of the ADI. See
  Facebook, Inc.'s Administrative Mot. to File Under Seal, ECF No. 514; see also Stipulation &
  Order re Process to Log Exemplar Materials from Facebook's App Developer Investigation,
  ECF No. 518; Further Stipulation & Order re Process to Log Exemplar Materials from
  Facebook's App Developer Investigation, ECF No. 533.
4 Joint Status Update at 4. In addition, the electronic versions of the logs containing the 400


  entries without an attorney and the 20 selected by Plaintiffs for in camera review were
  provided to the Court in connection with the parties' stipulation that the Court entered on the
  day of this filing, February 5, 2020. See ECF No. 610, If 3.
5 See Hr'g Tr. 11:2-16 (Jan. 15, 2021) ("I don't want declarations. I   don't want declarations ...
  No declarations.") (emphasis added). To the extent Facebook relies on declarations in its brief,
  Plaintiffs respectfully request the Court strike and ignore them.
6 An Update on Our App Develcper Investigation, shpra note 1.




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was to reassure users that Facebook would protect user data, not to prepare for litigation, it is not

entitled to work-product protection.

       Second, even if Facebook had an unstated litigation-related motive for conducting the

ADI, the law is clear that to claim work-product protection over such dual-purpose documents,

Facebook must establish that the documents at issue would not have been produced in

substantially similar form absent the prospect of litigation. United States v. Richey, 632 F.3d 559,

567-68 (9th Cir. 2011). Here, Facebook has repeatedly claimed that it had been investigating

third-party misuse of Facebook users' information since at least 2012. App reviews were

business as usual and would have been performed whether litigation was anticipated or not. They

are thus not work product.

       Third, the ADI Materials are not categorically protected by the attorney-client privilege.

The privilege does not apply to the underlying facts and information regarding the ADI,

including the information Plaintiffs seek, including which third-party apps violated which

policies over what period of time, and what user data and information these third parties obtained

and ultimately misused. Plaintiffs are entitled to this information given the central relevance of

the ADI to Plaintiffs' claims—and in particular to the fourth category of misconduct upheld by

Judge Chhabria regarding Facebook's failure to monitor (see Pretrial Order No. 20 at 9-10, ECF

No. 298).

       Finally, the ADI Materials are not protected by the attorney-client privilege because the

privilege does not protect communications made primarily for business purposes. The mere

presence of attorneys does not change that fact, particularly where, as Facebook itself admits, the

investigation involved hundreds of non-attorneys—many of whom were engaged in the effort

before it was rebranded "the ADI." And where no attorneys are present, as is the case with

respect to the entries submitted here, Facebook's argument is even weaker.

       Thus, Plaintiffs respectfully request that, in addition to any guidance the Court sees fit to

provide, the Court order that (1) the 20 documents selected for in camera review should be

produced, (2) Facebook is not entitled to acategorical claim of privilege over the entirety of the


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ADI, and (3) Facebook produce, at aminimum, all of the underlying facts and information

regarding the ADI, including which third-party apps violated which Facebook policies over what

period of time and what user information they obtained and misused.

       Significantly, at 4:02 p.m. on the day this brief was due to be filed, Facebook sent

Plaintiffs aletter (attached hereto as Exhibit A), stating that one of the 20 documents Plaintiffs

selected for in camera review is not in fact privileged and seeming to suggest that the procedure

agreed to by the parties and ordered by the Court should somehow be altered accordingly. This

letter came on the day of filing even though Plaintiffs identified the document at issue to

Facebook more than two weeks ago, on January 21, 2021, and Facebook had several weeks to

review and log these documents. The letter itself demonstrates that there is little or no distinction

between ADI and Facebook's other enforcement efforts. In any event, Plaintiffs insist that

Facebook submit this document for in camera review along with the remaining selected entries

in accordance with the parties' stipulation governing this process.'

                                II.    STATEMENT OF FACTS

A.     Facebook's Enforcement Efforts

       Long before Facebook first announced the ADI, Facebook's purported promise to enforce

privacy protections were critical to users and akey business strategy for the company. It had

policies in place to attempt to enforce third-party app developers from misappropriating user data

and information. For example, from at least 2010 to 2014, the Platform Policy, which governed

the conduct of apps on the platform, stated that Facebook "can take enforcement action against

you and any or all of your applications if we determine in our sole judgment that you or your

application violates Facebook Platform Terms and Policies." 8 From 2014 to at least 2018, the

Platform Policy stated that Facebook "may enforce against your app or website if we conclude




7 See ECF No. 514, shpra note 3.
8 Facebook Plaform Policies (Apr. 25, 2012),


  https://web.archive.org/web/20120501025801/http://developers.facebook.com/policy/ (last
  visited Feb. 5, 2021).

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that your app violates our terms or is negatively impacting the Platform." 9 The Platform Policy

also indicated that "[e]nforcement is both automated and manual, and can include disabling your

app, restricting you and your app's access to platform functionality, requiring that you delete

data, terminating our agreements with you and any other action that we deem appropriate."    1°


Facebook's Statement of Rights and Responsibilities ("SRR")—governing Facebook's

relationship with users—affirmed this promise of enforcement, stating from at least August 2009

to April 2018 that Facebook would "require applications to respect your privacy, and your

agreement with that application will control how the application can use, store, and transfer that

content and information." 11 The SRR further stated that application developers must meet or

comply with the requirements set out in Facebook's Platform Policies. 12

           Indeed, in 2012 Facebook claimed that it had "put in place an enforcement program to

prevent and respond to potential developer misuse of user information" (the "Enforcement

Program"). 13 According to Facebook, its internal "Development Operations" or "DevOps" team

"has consistently played acentral role in enforcing Facebook's [P]olicies and protecting user

data and Facebook's Platform." 14 This ongoing enforcement program included the "regular and

proactive monitoring of apps" and investigations into "potential app violations." 15 Facebook


99Facebook Plaform Policy (Mar. 25, 2015),
 https://web.archive.org/web/20160412175450/https://developers.facebook.com/policy/ (last
 visited Feb. 5, 2021).
10   Id.

" Second Amended Consolidated Complaint If 559, ECF No. 491 (citing Statement cf Rights and
 Responsibilities, Facebook (June 18, 2010),
 https://web.archive.org/web/20100618224059/http://www.facebook.com/terms.php (last visited
 Feb. 5, 2021).
12 Id.


13 Decision & Order re Attorney General's Petition to Compel Compliance with Civil
  Investigative Demand Pursuant to G.L. c. 93A, §7("Healey Order") at 3(citing the Petition to
  Compel Compliance with Civil Investigative Demand Pursuant to G.L. c. 93A, §7(the
  "Petition") If 27), Healey v. Facebook, Inc., Suffolk Superior Court Action No. 1984CV02597-
  BLS-1 (Jan. 17, 2020), https://newenglandinhouse.com/files/2020/01/Short-Form-Decision-
  and-Order-Regarding-AGs-Petition-to-Compel-Compliance-with-CID-Facebook-Jan.-
  2020.pdf.
14 Id. (citing Petition If 28).

15 Letter from Facebook, Inc. to Chairman Chuck Grassley, Ranking Member Dianne Feinstein,


  U.S. Senate Committee on the Judiciary, Facebook's Response to U.S. Senate Committee on

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also stated, "we regularly take enforcement action against apps. For example, in 2017, we took

action against about 370,000 apps, ranging from imposing certain restrictions to removal of the

app from the plat fo rm. "16

         Thus, at least since 2012, Facebook has claimed that it was investigating, evaluating, and

taking action against app developers that were violating its policies. Of course none of this was

effective. Indeed, in the wake of the Cambridge Analytica scandal and the vast amounts of data

being misused by this particular app, Facebook rechristened its enforcement efforts as the "ADI"

and issued press releases seeking to reassure users that it was protecting their data. The first such

press release, in March 2018, stated that the ADI involved a"review all of the apps that had large

amounts of information." 17 Facebook touted the breadth of the effort, saying that:


         It has involved hundreds of people: attorneys, external investigators, data scientists,
         engineers, policy specialists, platform partners and other teams across the company. Our
         review helps us to better understand patterns cf abuse in order to root out bad actors
         among develcpers.

         We initially identified apps for investigation based on how many users they had and how
         much data they could access. Now, we also identify apps based on signals associated with
         an app's potential to abuse our policies. Where we have concerns, we conduct amore
         intensive examination. This includes abackground investigation cf the develcper and a
         technical analysis cf the app's activity on the pla,form. Depending on the results, arange
         of actions could be taken from requiring developers to submit to in-depth questioning, to
         conducting inspections or banning an app from the platform."

In September 2019, Facebook claimed that the ADI had investigated millions of apps, suspended

tens of thousands, and that the ADI was "not yet complete" as Facebook continued to investigate

and suspend apps. 19

         Facebook also launched apublic-relations campaign led by CEO Mark Zuckerberg.

Zuckerberg made public posts to users describing Facebook's ongoing efforts and



  the Judicial); Questions for the Record at 121-22 ("Facebook's Response") (June 8, 2018),
  https://www.judiciary.senate.gov/imo/media/doc/Zuckerberg%20Responses%20to%20Judiciar
  y%20Committee%20QFRs.pdf.
16 Id. at 6.

17 An Update on Our App Develcper Investigation, shpra note 1.


18 Id. (emphasis added).
19 Id.



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acknowledging their continuation, noting that the Company took "important steps afew years

ago in 2014 to prevent bad actors from accessing people's information ...But there's more we

need to do and I'll outline those steps here: First, we will investigate all apps that had access to

large amounts of information before we changed our platform to dramatically reduce data access

in 2014, and we will conduct afull audit of any app with suspicious activity." 2° In April 2018,

Zuckerberg testified to Congress that "[w]e're now investigating every single app that had access

to alarge amount of people's information on Facebook in the past. And if we find someone that

improperly used data, we're going to ban them from our Platform and tell everyone affected."21

He admitted "that we didn't do enough" to protect users' data. "We didn't take abroad enough

view of our responsibility," he said, "and that was abig mistake, and it was my mistake, and I'm

sorry. Istarted Facebook, Irun it, and I'm responsible for what happens here." 22 Such public

proclamations do not portray aconfidential, lawyer-driven inquiry conducted for litigation

purposes only.

B.     Plaintiffs' Requests for the ADI Materials

       In November 2019, Plaintiffs issued document requests for information related to the

ADI, and, in particular, documents related to two phases of the ADI: Enhanced Examination and

Enforcement. These phases, under which suspicious apps were "escalated" for special

investigation or action, were disclosed in adeclaration that Facebook submitted in the

Massachusetts Attorney General's action against it. After meeting and conferring over this

request for over four months, Facebook told Plaintiffs and the Court that the ADI was

categorically privileged except for alimited set of documents related to RFIs that Facebook had

sent to third-party app developers and to the apps' responses to those RFIs. Plaintiffs then

sought guidance from the Court in June and July 2020, asking to brief these issues.

       The Court initiated the process that led to this briefing. The parties spent the next several


20 Mark Zuckerberg ("Zuckerberg Post"), Facebook (Mar. 21, 2018),
  https://www.facebook.com/zuck/posts/10104712037900071
21 Facebook 's Use and Protection cf User Data: Hearing B(fore the H. Energy and Commerce


  Comm. ("Zuckerberg Statement", 2018 WL 1757479 at 10 (Apr. 11, 2018).
22 Id. at 9.




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weeks negotiating aprotocol to select apps for which Facebook could conduct areview,

producing non-privileged documents and logging the rest. The parties selected six apps from

three different categories: apps that were investigated but not suspended in the ADI; apps that

were suspended for non-cooperation; and apps that were suspended for some reason other than

non-cooperation. 23 The parties also agreed on aset of custodians for Facebook to review. 24

           Ultimately, in December 2020, Facebook produced six different privilege logs (one for

each app) totaling over 6,000 entries. 25 Every single document identified in these logs is being

withheld in its entirety. The entries included not just emails but excel files, agendas, chats, slides,

images, tables, task trackers, diagrams, and reports.' And, despite Facebook's promise that

Plaintiffs would receive a"cornucopia" of information about the six apps, 27 Facebook has

produced only 65 pages of material reflecting Facebook's RFIs from these apps, and in some

instances, the apps developers' RFI responses.

           In reviewing Facebook's logs, Plaintiffs identified 400 entries that reflect no attorneys. 28

The attorney-free entries include ahandful of emails conclusively stating that they reflect the

sharing of legal advice, and also attachments such as agendas, images, tables, slides, diagrams,

excel files, data files, graphics, task trackers, chat messages, and charts. 29 For instance, one of

these entries indicates that it is an




                                                                                                     30




23 See Decl. of Martie Kutscher in Supp. of Facebook, Inc.'s Administrative Mot. to File Under
  Seal, ECF No. 514-1 at Ex. A(1)(B).
24 Id.

25 Joint Status Update at 4.
26   Id.

27 See Hr'g Tr. 30:6-8 (July 13, 2020) (Mr. Snyder: "And the plaintiffs are going to have a
  cornucopia of information about third-party apps. And Ijust respectfully suggest that they be a
  little patient.").
28 Joint Status Update at 4.

29 Id.

38 See Plaintiffs' selections to Facebook Exemplar ADI-Related Privilege Logs ("Entry Log"),

  line 8of 20 (FB-ADI-0000003177-3178). The electronic version of this log was provided to the

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Another indicates that it is a                                                           Yet
                                                                                         1


another indicates that is a                                                               2Notably,


the attachments also include transmissions to and from third party                    and afile that

was created in September 2014, years before the ADI was started.'

       Consistent with Discovery Order No. 12, Plaintiffs selected 20 of the 400 entries for an in

camera review and notified Facebook of its selections on January 21, 2020. ECF No. 602 at 1.

C.     Status of the Massachusetts Attorney General Action

       Facebook's categorical claim of privilege over the ADI has already been considered and

rejected by another court. In Healey, the Massachusetts Attorney General is investigating access

and use of Facebook user data by third-party app developers and through that action seeks

documents regarding the ADI. 34 The trial court in Healey rejected Facebook's work-product

claim in its entirety and confined the attorney-client privilege to asmall subset of documents (for

which Facebook would produce aprivilege log). 35 The Healey court specifically concluded that

"Facebook's ADI is fairly described as 'business as usual.'"36 The court continued, "[t]he record

shows that Facebook, as part of its normal business operations, has been engaged in acontinuous

review of Platform apps for possible violations of its Policies since 2012, and that the ADI is just

another iteration of that program. .The Court therefore concludes that Facebook's ADI is not

being conducted 'in anticipation of litigation or for trial,' and would have been undertaken by the

Company 'irrespective of the prospect of litigation."'

       Facebook appealed this decision to the Massachusetts Supreme Court. The Court held




  Court in connection with the parties' stipulation that the Court entered on the day of this filing,
  February 5, 2020. See ECF No. 610, ¶3.
31 See Entry Log, line 9of 20 (FB-ADI-0000004847-4850).

32 See Entry Log, line 11 of 20 (FB-ADI-0000003217-3218).

33 See Entry Log, line 14 of 20 (FB-ADI-0000002536-2537).

34 Healey Order at 7-9.

35 Id. at 16-18.


36 Id. at 14.

37 Id. at 14-15.



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oral argument on December 4, 2020, and its decision is currently pending. 38 Notably, the Court

inquired whether this Court had ruled on the ADI privilege issues. Facebook's counsel

incorrectly suggested that "they may well be waiting for this Court." 39 The parties here are not

and have never been waiting for any other court to rule on these issues. 4°

                                       III.    ARGUMENT

A.      The ADI Materials Are Not Protected by the Work Product Doctrine

        1.     Applicable Standard

       Federal law provides the governing law on the scope and extent of the attorney work-

product doctrine in federal court. Connolly Data Sys., Inc. v. Victor Techs., Inc., 114 F.R.D. 89,

95 (S.D. Cal. 1987); F.D.I.C. v. Fid. &Deposit Co. efMd., 196 F.R.D. 375, 381 (S.D. Cal.

2000); United Coal Cos. v. Powell Constr. Co., 839 F.2d 958, 966 (3d Cir. 1988) ("the work-

product privilege is governed, even in diversity cases, by auniform federal standard embodied in

Fed.R.Civ.P. 26(b)(3) ..."). Under federal law, Federal Rule of Civil Procedure ("FRCP")

26(b)(3)(A) provides that, "a party may not discover documents and tangible things that are

prepared in anticipation of litigation or for trial. .." Fed. R. Civ. P. 26(b)(3)(A). Further, "[t]he

party seeking to invoke the work-product doctrine bears the burden of establishing that any

documents claimed as work product were prepared in anticipation of litigation." Nevwort Pac.

Inc. v. Cty. ef San Diego, 200 F.R.D. 628, 632 (S.D. Cal. 2001). As set forth below, Facebook

has failed to meet its burden here.

       2.      The ADI Materials Were Prepared to Assure the Public that Facebook
               Cared About User Privacy

       Facebook and its representatives have repeatedly and publicly stated that the ADI was

conducted to protect user privacy as promised to users. For example, Facebook announced the



38 Oral Argument, Attorney General v. Facebook, Inc., No. SJC-12946 (Dec. 4, 2019),
  https://boston.suffolk.edu/sjc/pop.php?csnum=SJC 12946.
39 Id. at 16:50.


4° In addition to the Massachusetts Attorney General action, the District of Columbia Attorney


  General has an action against Facebook and has also sought to compel production of materials
  associated with the ADI. See District ef Columbia v. Facebook, Inc., No. 2018-CA-008715-B
  (D.C. Super. Ct. 2018).

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ADI to the public, in apress release which stated in part, "[w]e have aresponsibility to everyone

who uses Facebook to make sure their privacy is protected. That's why we're making changes

to prevent abuse." 41 A subsequent public press release stated that reviewing apps as part of the

ADI "helps us to better understand patterns of abuse in order to root out bad actors among

developers."' That press release continued, "our goal is to bring problems to light so we can

address them quickly, stay ahead of bad actors and make sure that people can continue to enjoy

engaging in social experiences on Facebook while knowing their data will remain safe."'

Indeed, on April 10, 2018, Mark Zuckerberg, Facebook's CEO, testified to the U.S. House of

Representatives that "to make sure no other app developers are out there misusing data, we're

now investigating every single app that had access to alarge amount of people's information on

Facebook in the past."44 By these repeated public statements Facebook made very clear that the

purpose of the ADI was to root out misbehaving apps and protect user information, not litigation.

As such, the ADI Materials are not protected work product.

         3.     Even if Facebook Had Conducted the ADI Partially in Anticipation of
                Litigation, the ADI Materials Would Still Not Be Protected

         Even if the ADI was initiated in part due to litigation—and there is no evidence in the

public record that it was—there can be no doubt that any litigation purpose was, at most, in

addition to the stated purpose of protecting user data. Under the law of the Ninth Circuit, "where

adocument serves adual purpose, that is, where it was not prepared exclusively for litigation,

then the 'because of test is used." Richey, 632 F.3d at 567-68(citation omitted). "In applying

the 'because of standard, courts must consider the totality of the circumstances and determine

whether the 'document was created because of anticipated litigation, and would not have been

created in substantially similar form but for the prospect of litigation." Id. at 568 (citation

omitted). The question, then, is whether Facebook can establish that the ADI Materials would



41 Cracking Down on Plaform Abuse, Facebook (Mar. 21, 2018),
  https://about.fb.com/news/2018/03/cracking-down-on-platform-abuse/ (emphasis added).
42 An Update on Our App Develeper Investigation, shpra note 1(emphasis added).

43 Id.


44   Zuckerberg Statement, 2018 WL 1757479 at 10.

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not have been created in substantially similar form absent the prospect of litigation. It cannot.

       The record shows that Facebook had been claiming to enforce its policies for years before

the ADI began, albeit weakly and ineffectively, and these public relations campaigns were just

the precursor to the widely-touted ADI. As established above, on April 11, 2018, Zuckerberg

testified before the U.S. House of Representatives, stating that "[w]e've had areview process for

apps for years. We've reviewed tens of thousands of apps ayear and taken action against a

number of them." 45 Facebook told the Senate Judiciary Committee that in 2017 alone, the year

before the Cambridge Analytica scandal came to light, that it had taken enforcement action

"against about 370,000 apps, ranging from imposing certain restrictions to removal of the app

from the platform." 46

       This evidence makes clear that Facebook was claiming to investigate apps for potential

violations of its privacy policies for public relations purposes long before such efforts were

christened the "ADI." Facebook cannot establish that the ADI Materials would not have been

created in substantially similar form absent the prospect of litigation. See Richey, 632 F.3d at

568 (appraisal report held not to be work product because there was no "evidence in the record

that Richey would have prepared the appraisal work file differently in the absence of prospective

litigation"); Anderson v. Marsh, 312 F.R.D. 584, 593 (E.D. Cal. 2015) (police department

investigative report of ashooting incident held not to be work product because "these documents

would have been created in substantially similar form regardless of the prospect of litigation");

hi re Capital One Consumer Data Sec. Breach Litig., No. 1:19MD2915, 2020 WL 2731238, at

*4 (E.D. Va. May 26, 2020), cid, 2020 WL 3470261 (E.D. Va. June 25, 2020) ("[T]he fact that

the investigation was done at the direction of outside counsel and the results were initially




45 Zuckerberg Statement, 2018 WL 1757479 at 43; see also Facebook's Answer to Pls.' First
  Am. Consolidated Compl. 11'564, ECF No. 373 ("Facebook admits that it implemented a
  comprehensive privacy program following its 2012 Consent Decree with the FTC.").
46 Facebook's Response, supra note 15 at 6.




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provided to outside counsel, does not satisfy the 'but for' formulation."). 47 The ADI Materials

are thus not protected work product.

       4.      Plaintiffs Have aSubstantial Need for the ADI Materials and Cannot Obtain
               Their Substantial Equivalent by Other Means.

       Even if the ADI Materials were protected work product, Plaintiffs have sufficient need of

them to overcome such protection for any fact work product involved. A party may obtain

discovery of fact work product materials if "the party shows that it has substantial need for the

materials to prepare its case and cannot, without undue hardship, obtain their substantial

equivalent by other means." Fed. R. Civ. P. 26(b)(3)(A)(ii). The fourth category of misconduct

recognized by Judge Chhabria in his order on the motion to dismiss was Facebook's failure to

properly enforce its policy prohibiting third party apps from using information about Facebook

users for any purpose other than enhancing the interaction between the apps and the user. PTO

No. 20 at 9-10, ECF No. 298. Such data misuse by third parties was precisely the focus of the

ADI. 48 Thus, Plaintiffs have substantial need for the ADI Materials and cannot obtain them

elsewhere. Thompson v. C & H Sugar Co., No. 12-CV-00391 NC, 2014 WL 595911, at *4 (N.D.

Cal. Feb. 14, 2014) (finding plaintiffs had demonstrated asubstantial need for investigation

documents where the investigation were relevant to the litigation and plaintiffs could not obtain

the fact underlying the investigation from other sources); Waymo LLC v. Uber Techs., Inc., No.

17CV00939WHAJSC, 2017 WL 2485382, at *13 (N.D. Cal. June 8, 2017) (M.J. Corley)

(finding in dicta that plaintiff had "met its burden of showing asubstantial need" for documents

related to investigation by Stroz Friedberg hired by defendant).

       Plaintiffs also cannot obtain these materials by other means without undue hardship.

According to Facebook, the ADI "involved hundreds of people: attorneys, external investigators,

data scientists, engineers, policy specialists, platform partners and other teams across the

company" and that the "investigation has addressed millions of apps. Of those, tens of thousands


47 Facebook has sought to distinguish the ADI from its earlier investigative and enforcement
  efforts by asserting that the ADI was "retrospective," but all investigations and enforcement
  actions are retrospective by nature.
48 Cracking Down on Plaform Abuse, shpra note 41.




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have been suspended ..."49 Conducting such an investigation without Facebook's unique insider

knowledge would essentially be impossible and is clearly constitutes undue hardship.

Vallabhatpurapu v. Burger King Cotp., 276 F.R.D. 611, 618 (N.D. Cal. 2011) (M.J. Corley)

(finding that plaintiffs had aright to the survey information performed by defendant where

plaintiffs would incur significant cost and time to compile the information themselves and the

surveys presented the only present source of the information.). Even if Plaintiffs could duplicate

Facebook's investigation and issue thousands of third-party subpoenas, many of the app

developers are now defunct. Accordingly, Plaintiffs either cannot obtain the ADI Materials by

other means at all or cannot do so without undue hardship. Any fact work product in the ADI

Materials is therefore discoverable.

B.        The ADI Materials Are Not Protected by the Attorney-Client Privilege

          1.     Applicable Standard

          The attorney-client privilege protects "confidential communications between attorneys

and clients," if they "are made for the purpose of giving legal advice." Richey, 632 F.3d at 566

(citation omitted). When (1) legal advice is sought (2) from aprofessional legal adviser in his

capacity as such, (3) the communications relating to that purpose, (4) made in confidence (5) by

the client, (6) are at his instance permanently protected (7) from disclosure by himself or by the

legal adviser, (8) unless the protection is waived. See id.

          The federal courts apply the privilege strictly: "Because it impedes full and free

discovery of the truth, the attorney-client privilege is strictly construed." United States v. Martin,

278 F.3d 988, 999 (9th Cir. 2002) (quoting Weil v. Inv./Indicators, Research & Mgmt., Inc., 647

F.2d 18, 24 (9th Cir. 1981)). As acorollary, "the party asserting" the attorney-client privilege

"bears the burden of proving that it applies." Dolby Labs. Licensing Cotp. v. Adobe Inc., 402 F.

Supp. 3d 855, 863 (N.D. Cal. 2019) (citation omitted). Facebook has failed to meet this burden

here.




49   An Update on Our App Develcper Investigation, shpra note 1.

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       2.      The Underlying Facts and Information Part of the ADI Are Not Privileged

       It is axiomatic that "the privilege only protects disclosure of communications; it does not

protect disclosure of the underlying facts by those who communicated with the attorney[.]"

Urjohn Co. v. United States, 449 U.S. 383, 395 (1981); see also Sky Valley Ltd. P'ship v. AIX

Sky Valley, Ltd., 150 F.R.D. 648, 663 (N.D. Cal. 1993) ("[T]he privilege ...blocks access only

to communications, not to underlying information, data, or documents."). A party invoking the

privilege can only "prevent access to confidential communications, not to underlying evidence or

facts, even if privileged communications alluded to such evidence or facts." Sky Valley, 150

F.R.D. at 663-64. Indeed, Gibson Dunn has authored articles about the attorney-client privilege

in which it acknowledges that the privilege "protects the communication but not the underlying

information." 5° As such, Plaintiffs are entitled to all of the underlying facts and information

regarding the ADI, including which third-party app developers violated which Facebook policies

over what period of time, and the information that these third parties obtained without user

consent.

       Nevertheless, Facebook has sought to cloak the entirety of the ADI under aclaim of

privilege excepting only asmattering of documents between Facebook and third parties related

to RFIs sent by Facebook. This attempt to limit production to only communications with third

parties is untenable. As aresult of the ADI, Facebook has banned aps from its platform for

"reasons including inappropriately sharing data obtained from us, making data publicly available

without protecting people's identity or something else that was in clear violation of our

policies." 51 These reasons represent the underlying facts and information that are not protected

by the privilege. Documents concerning them should be produced.

       Furthermore, Facebook's claims that Plaintiffs are in fact obtaining this discovery is

belied by the record. For these six apps alone, Facebook produced just 65 pages of documents


5° F. Joseph Warren, Daniel P. Chung & A. Syarief, Privilege — United States at 2, Gibson, Dunn
  & Crutcher (Nov. 2018), https://www.gibsondunn.com/wp-
  co ntent/up lo ads/do cuments/pub licat io ns/Warin-Chung-Know-how-US -Privilege-GIR-
  November-2016.pdf.
51 An Update on Our App Develeper Investigation, shpra note 1.




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consisting of RFIs sent by Facebook and to four of the six apps, and their responses to the RFIs.

No information in these documents reflect what policies were violated, what specific data was

obtained, or any of the reasons behind the action taken or not taken against these apps. On the

other hand, Facebook seeks to withhold more than 6,000 documents for just these six apps alone.

Thus, Facebook is attempting to protect the clear and overwhelming majority of these documents

pursuant to the attorney-client privilege and Plaintiffs have no other source for that information.

       3.      Because the Attorney Client Privilege Does Not Protect Communications
               Made Primarily for Business Purposes, Facebook Cannot Claim Privilege
               Over All the ADI Materials.

        "[T]he attorney-client privilege does not protect business communications and advice."

SanDisk Cotp. v. Round Rock Research LLC, No. 11-CV-05243-RS (JSC), 2014 WL 691565, at

*3 (N.D. Cal. Feb. 21, 2014). "When acommunication may relate to both legal and business

advice, the proponent of the privilege must make aclear showing that the primary purpose of the

communication was securing legal advice." Dolby Labs., 402 F. Supp. 3d at 873 (citation

omitted); see also SanDisk, 2014 WL 691565, at *3 (when communications "serve both legal

and business purposes, there is general agreement that the privilege applies where the primal); or

predominant putpose of the attorney-client consultation is to seek legal advice or assistance")

(citation omitted).

       As set forth above, since at least 2012, Facebook has engaged in an effort—albeit

unsuccessfully—to monitor third-party apps and enforce its policies against them. This is a

textbook example of abusiness purpose. As afurther effort in the same vein, the ADI has as one

of its goals "the business purpose of addressing issues of continuing concern to management."

Marceau v. 1BEW, 246 F.R.D. 610, 613 (D. Ariz. 2007).

       Facebook has also failed to make the required clear showing that every ADI document

has as its "primary or predominant purpose" the provision or seeking of legal advice or

assistance. As many courts have recognized, determining "[t]he predominant purpose of a

particular document" generally requires "document-by-document analysis to decide what

information, document, or line the attorney client privilege applies to." Fourth Age Ltd. v.


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Warner Bros. Dig. Distrib., Inc., No. CV 12-09912 AB (SHX), 2015 WL 12720324, at *7 (C.D.

Cal. Aug. 6, 2015) (citing In re Cty. cf Erie, 473 F.3d 413, 420-21 (2d Cir. 2007)). For that

reason, a"claim of privilege must be made and sustained on aquestion-by-question or

document-by-document basis; ablanket claim of privilege is unacceptable. The scope of the

privilege should be strictly confined within the narrowest possible limits." United States v.

Christensen, 828 F.3d 763, 803 (9th Cir. 2015) (citation omitted); see also LightGuard Sys., Inc.

v. Spot Devices, Inc., 281 F.R.D. 593, 600 (D. Nev. 2012) ("When determining whether a

document seeks legal advice, courts have examined the nature, content, and context in which the

document was prepared.") (citing AT&T Cotp. v. Microscft Cotp., No. 02-0164 MHP (JL), 2003

WL 21212614, at *3 (N.D. Cal. Apr. 18, 2003)).

       Facebook's blanket claim of privilege is justified by none of the reasons Facebook has

advanced. It is not enough that the ADI involved the violation of Facebook's policies, because

the policies are not themselves privileged. See, e.g., Stevens v. Corelogic, Inc., No. 14-cv-1158-

BAS(JLB), 2016 WL 397936, at *5 (S.D. Cal. Feb. 2, 2016) (holding that corporation's legal

compliance policies were not privileged). Nor is it enough that attorneys were involved in the

ADI. See, e.g., In re CV Therapeutics, Inc. Sec. Litig., No. C-03-3709 SI(EMC), 2006 WL

1699536, at *4 (N.D. Cal. June 16, 2006) ("The mere fact that adocument was sent to an

attorney does not make it aprivileged communication."), as clarfied on reconsideration, No. C-

03-3709 SI (EMC), 2006 WL 2585038 (N.D. Cal. Aug. 30, 2006); Shcpfy Inc. v. Express

Mobile, Inc., No. 20-MC-80091-JSC, 2020 WL 4732334, at *3 (N.D. Cal. Aug. 14, 2020) (M.J.

Corley) ("[T]he inclusion of an attorney on the communication does not itself bring adocument

within the privilege's ambit.").

       Furthermore, the privilege does not apply if the legal advice is incidental. See Neuder v

Battelle Pac. Nw. Nat'l Lab., 194 F.R.D. 289, 293 (D.D.C. 2000). Here, Facebook has repeatedly

claimed that primary purpose of the ADI was to assess its prior risk and bring litigation against

third party apps violating the Company's policies. But of the millions of apps and app developers

it has reviewed and the tens of thousands it has suspended, Facebook has filed just two lawsuits


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against three companies. 52 The statistics simply do not support Facebook's claim that the entire

investigation was solely for alegal purpose. Instead, the primary purpose of the ADI is exactly

what Facebook has publicly stated: to root out misuse of user data and enforce its data use

policies. That purpose is abusiness one.

       Especially dubious is Facebook's blanket claim of privilege over even those ADI

communications or documents exchanged solely among non-attorneys. For example, atechnical

discussion among software engineers, even if prompted by arequest from an attorney, is not

itself privileged. See Dolby Labs., 402 F. Supp. 3d at 867 (discussing Datel Holdings Ltd. v.

Mieroscft Cotp., No. 09-cv-05535, 2011 WL 866993 (N.D. Cal. Mar. 11, 2011)). Similarly, if

there is no evidence that adocument is received or reviewed by counsel, the document is not

privileged—again, even if the document was created at counsel's request. See MediaTek Inc. v.

Freeseale Semiconductor, Inc., No. 4:11—cv-05341 YGR (JSC), 2013 WL 5594474, at *4 (N.D.

Cal. Oct. 10, 2013); see also Shcply Inc., 2020 WL 4732334, at *3 (declining to find documents

were entitled to attorney-client privilege where they were prepared for simultaneous review by

legal and non-legal attorney). To claim privilege over communications between non-attorneys,

Facebook must clearly show that in them "the employees discuss or transmit legal advice given

by counsel," or "an employee discusses her intent to seek legal advice about aparticular issue."

Dolby Labs., 402 F. Supp. 3d at 866 (citation omitted). "A vague declaration that states only that

the document reflects an attorney's advice is insufficient to demonstrate that the document

should be found privileged." Id. (citation omitted). The entries here fall in that category, as

Facebook's descriptions of those that Plaintiffs selected for in camera review simply reflect that

legal information was conveyed, shared, or relayed, without any further specificity, including




52An Update on Our App Develcper Investigation, shpra note 1("We've also taken legal action
 when necessary. In May, we filed alawsuit in California against Rankwave, aSouth Korean
 data analytics company that failed to cooperate with our investigation. We've also taken legal
 action against developers in other contexts. For example, we filed an action against LionMobi
 and JediMobi, two companies that used their apps to infect users' phones with malware in a
 profit-generating scheme.").

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with respect to the attachments that were selected for review. 53

          4.     Even if Facebook's Claim of Privilege is Accepted, Should Facebook Rely on
                 the ADI as aDefense, the Privilege Is Waived

          Finally, to the extent that the attorney-client privilege is found to apply to the ADI, any

effort by Facebook to rely on the ADI as adefense in this case in the future would waive the

privilege. "The privilege which protects attorney-client communications may not be used both as

asword and ashield." Chevron Cotp. v. Pennzoil Co., 974 F.2d 1156, 1162 (9th Cir. 1992)

(citation omitted). Thus, when aparty—through an affirmative act, such as adefense—puts

privileged information at issue, such that "fairness requires disclosure of the protected

communication" to the other party, the privilege is implicitly waived. Id.; see also, e.g., United

States v. Bilzerian, 926 F.2d 1285, 1292-93 (2d Cir. 1991).

          In its public statements, Facebook has often pointed to the ADI as evidence of how

seriously it takes its users' privacy. 54 Should Facebook try to use the ADI as alegal defense—for

example, to support its affirmative defense that it exercised reasonable efforts, Answer to Pls.'

First Am. Consolidated Compl. at 128, ECF No. 373—Plaintiffs must in fairness be given an

opportunity to probe what the ADI has done or failed to do. Facebook "cannot invoke the

attorney-client privilege to deny [Plaintiffs] access to the very information that [they] must

refute" to defeat adefense to liability. Chevron, 974 F.2d at 1163.

                                        IV.     CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that, in addition to any guidance

the Court may provide, the Court grant Plaintiffs' Motion to Compel, and order that (1) the 20

documents selected for in camera review be produced in their entirety, (2) Facebook is not

entitled to acategorical claim of privilege over the entirety of the ADI, and (3) Facebook

produce all of the underlying facts and information regarding the ADI, including which third

party apps violated which Facebook policies over what period of time and what Facebook user

information they obtained and misused.


53   ECF No. 602 at 1.
54   An Update on Our App Develcper Investigation, supra note 1.

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Dated: February 5, 2021                               Respectfully submitted,



KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP

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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

       Executed this day of February, 2021, at Seattle, Washington.



                                             /s/ Derek W. Loeser
                                             Derek W. Loeser




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                                   CERTIFICATE OF SERVICE

          I, Sarah Skaggs, hereby certify that on February 5, 2021, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:


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                      EXHIBIT G
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                       UNITED       STATES    DISTRICT           COURT


                     NORTHERN DISTRICT              OF    CALIFORNIA


Before   The   Honorable      Jacqueline       Scott       Corley,       Magistrate          Judge


IN RE    FACEBOOK,    INC.,    CONSUMER
PRIVACY USER      PROFILE
LITIGATION.
                                                         NO.    18-md-02843       VC    (JSC)




                                       San    Francisco,          California
                                       Tuesday,          April    6,   2021



               TRANSCRIPT      OF    PROCEEDINGS          BY    ZOOM WEBINAR



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                                                                                                     0945
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16
     Also   Present:         Judge Gail Andler,       JAMS
17                           Discovery Mediator


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 1   Tuesday - April       6,   2021                                    9:00    a.m.


 2                                PROCEEDINGS


 3                                         ---000---


 4               THE CLERK:       Court    is now in session.         The Honorable


 5   Jacqueline    Scott    Corley presiding.


 6          Calling Civil action          3:18-md-2843,     In Re   Facebook,       Inc.,


 7   Consumer Privacy User Profile Litigation.


 8          And you can     start.


 9               MR.   LOESER:     Good morning,        Your Honor.     Derek Loeser


10   from Keller Rohrback with Carl                Laufenberg,   David Ko,     and Chris


11   Springer also      from Keller Rohrback.


12               THE COURT:       Good morning.


13               MS.   WEAVER:     Good morning,        Your Honor.     Leslie Weaver


14   of   Bleichmar,    Fonti    & Auld with Matt Melamed and Anne Davis.


15               THE COURT:       Good morning.


16               MR.   SNYDER:     Good morning,        Your Honor,    and good


17   morning,    Judge Andler.         This   is    Orin Snyder from Gibson Dunn.


18   With me on the Zoom conference are Deborah Stein,                  Russell


19   Falconer,    and Martie Kutscher Clark.              I think that's       it   for our


20   group.


21               THE COURT:       Yes.    That's all      I see.    Good morning.


22               MR.   SNYDER:     Good morning.


23               JUDGE ANDLER:         Good morning,      Your Honor.     Gail Andler


24   from JAMS.


25               THE COURT:       Good morning,        Judge Andler.




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 1           All right.    So I understand,     Judge Andler,   you have agreed

 2   to assist the parties with mediating their discovery issues,

 3   and so thank you everyone for your statement.

 4           Let me give you sort of my thoughts as sort of when I

 5   threw out there this somewhat novel          idea of a discovery

 6   mediator -- maybe not       so novel;    maybe you've done that before,

 7   Judge    -- what I envisioned.

 8           So I didn't appoint a special master.           I sort of see

 9   Judge Andler's role more akin to when the parties choose

10   private mediation --       right?    -- you choose a private mediator to

11   help you resolve the entire case.           Instead,   here the parties

12   have selected a private mediator to help you resolve all those

13   little battles in the bigger case;          right?     So the discovery

14   dispute is sort of a small battle in there.

15           So I don't   --   I want us to keep those roles the same so I

16   don't want recommendations          from Judge Andler or anything like

17   that.     I think that actually in some ways would make it harder

18   for her to do her job because then the parties would be sort of

19   posturing to get a recommendation out of her as well as

20   everyone having confidential,         very candid,     open communications

21   allowing her to use her experience to help you sort of come up

22   with a resolution.

23           And then in addition,       the request about setting the rules.

24   So when parties choose private mediation,            the judges,   we're not

25   involved in any way other than we try to make sure the parties




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 1   have the discovery that they need to have a meaningful

 2   mediation;    right?    So I leave that to Judge Andler.      If she's

 3   going to say to a party,      "You need to have    such and such here,"

 4   I assume you will      follow that because you-all retained her

 5   because you actually want to move the discovery process

 6   forward;    but   I really just view it just    like a private mediator

 7   except that she's mediating the discovery disputes.

 8        And to that end,      then,   I would also think that just     like

 9   when I serve as a settlement judge,        I don't have any

10   communications with the trial judge about         the case unless      I

11   have the parties'      consent.    So I would assume she may have

12   communications with me,      but it would be with the parties'

13   consent.

14        And it could be something --        I would expect it would be

15   things like,      "Judge Corley,   the parties are going to       we

16   weren't able to resolve this dispute.          We narrowed it.    It's

17   going to be presented to you in this        format.   What do you think

18   about that?"      Maybe or not.     It's completely sort of up to all

19   of you and Judge Andler how to do that,        but that is also

20   another role is when you're unable and you're still at impasse

21   on something,     she can then help you figure out     -- because we

22   often have a lot of discussions just how it's going to be

23   presented,    that she can help you figure out how to present          it:

24   Timing,    page length,   all those kinds of things.

25        And as you know,      I've signed every stipulation you've




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 1   submitted to me.         If you submit me a stip,          I will sign it.      If

 2   you come to agreement with her,            I'll    sign it,   unless   it's,

 3   like --       it's going to be 50 pages.          Well,   1 might sign it,     but

 4   I probably won't read it all.

 5           So that's sort of how I see that.             And I thought what

 6   might be helpful now is to go through the parties'                  statement,

 7   and there are a couple things I think I need to rule on but

 8   then sort of give you examples of how I think Judge Andler may

 9   help you address those things so that I don't have to then

10   rule.

11           And one reason why is         it will be much faster that way,          and

12   also it will be more accurate because you-all know your case

13   and what's going on so much better than I do,                 and Judge Andler

14   is going to know it as well because she's going to have the

15   privilege of spending more time with you.

16           So,   anyway,   does anyone have any just thoughts?             So that's

17   sort of my thoughts.          You wanted some guidance.           Those are my

18   thoughts.

19                 MR.   LOESER:   Sure.    Thank you,     Your Honor.      We

20   appreciate the guidance.          I think it's helpful         for the parties.

21           I will say from the plaintiffs'            perspective,    the requests,

22   and some of which you went through,               were made based on the

23   notion that we want to make sure that Judge Andler has the

24   authority and the tools that are helpful and necessary to move

25   disputes forward because what we really don't want to have




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 1   happen is to end up sort of stimied at this turn or stimied at

 2   that turn;      and if Judge Andler simply had some other tool that

 3   she could utilize to move the parties forward,               that that would

 4   be provided.

 5           So,   for example,     requiring the parties to have someone

 6   with authority attend,           if what you're saying is that's really

 7   up to Judge Andler,           if that's something she wants to request,

 8   she can,      then I think that that's helpful.

 9           Similarly,     if Judge Andler finds herself in the midst          --

10   and I'm sorry for speaking as if you're not there

11                 JUDGE ANDLER:      That's all right.

12                 MR.   LOESER:     -- obviously you are,    Judge Andler --    in

13   the midst of a dispute that's highly technical,               she may find it

14   useful to have someone with some technical expertise come on

15   board to help get through that dispute.

16           And so really what we're saying is          if   it's okay for

17   Judge Andler in her role as discovery mediator to utilize to

18   ask the parties        "Please do this and please do that,"         and that

19   that can be brought to bear,           I think that would be very helpful

20   in moving disputes past everyone's just disagreeing to actually

21   getting to resolution.

22                 THE COURT:      Yeah.   I mean,   I assume you-all,    when I

23   threw out that idea,          you-all actually pretty readily agreed to

24   it of a discovery mediator because you want the process to

25   work.




                                                                                      0951
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 1        But it      is a voluntary process just like private mediation.

 2   It's a voluntary process,         but you-all selected Judge Andler

 3   because of her,       because I looked,     her tremendous expertise and

 4   knowledge;    that,   you know,    I assume that if she asks     for

 5   something,    you'll do it because that's why you selected her

 6   because you actually want to try to move things             forward a

 7   little faster and more smoothly than I'm able to help you do.

 8              MR.   SNYDER:      Thank you,   Judge Corley.

 9        Nice to meet you,         Judge Andler.    This is Orin Snyder from

10   Gibson Dunn.

11        Lawyers always say we're delighted to have you help us

12   reach agreement on discovery disputes,           but   in this case it is

13   heartfelt and sincere because I can say,           and Judge Corley would

14   attest,    this has not been the finest moment in efficient

15   discovery process,       and so we truly do welcome your involvement.

16        And our goal       is to resolve every discovery dispute without

17   having to hopefully bother Judge Corley again.              She's been

18   incredibly patient,        and both parties understand why she made

19   the suggestion.        This   is a case that taxes     the federal

20   judiciary in a way that's not fair to other litigants and other

21   parties.     So having a voluntary mediator like you is really the

22   best outcome that we can imagine here so we're looking forward

23   to it.

24        And we also agree that you should work with us to develop

25   the most flexible,       efficient,   fluid,   fair,   reasonable,




                                                                                 0952
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 1   pragmatic approach to get us there;            and so we're in your hands

 2   to help us figure that out but,           you know,   we want to roll up

 3   our sleeves and get discovery done.              It's very costly.     We have

 4   a hundred people reviewing documents as we speak.              We want to

 5   get to the finish line so we can get to the next stage of the

 6   litigation;       and with your help,     we're confident that we'll do

 7   that so we look forward to that.

 8                  THE COURT:    So if we can go through some of the

 9   issues,    and then I'll just        sort of   suggest where I think -- and

10   it's completely up to you guys and Judge Andler,             but where she

11   might be able to assist.

12        So one of the issues is the document production.                I

13   understand that Facebook proposed a schedule I think very

14   recently.        But,   again,   that's something she can set up a

15   discovery mediation with the parties to sit down,             and really I

16   think setting some deadlines would be very useful,             and can talk

17   to you about what's realistic and how to get             it done and

18   priorities and those kinds of things and hopefully work out

19   some schedule.

20        And even Facebook raised an issue of there being a lot of

21   nonresponsive hits that may also be something that she could

22   work with all the parties           in coming up with something that

23   maybe reduces that that everyone's comfortable with.

24        The great thing about having a neutral that you trust

25   right?    --    is the neutral can sort of      look under the hood and if




                                                                                      0953
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 1   the neutral tells one side or the other something,               you have

 2   confidence in her that      it's    -- you don't just have to rely on

 3   the other side;   right?     That's the nice thing about a neutral.

 4   So I'm hoping that we can work out some deadlines there so we

 5   can really get that discovery completed.

 6        The same thing with respect to,         you know,    the 30(b)(6)

 7   depositions.    So what    I envision is    -- again,    these are just

 8   suggestions,   I'm not ordering anything,       which is,       you know,

 9   you'll have these regularly scheduled discovery mediations and

10   you'll have these agendas.         One is the 30(b)(6).         I think what

11   plaintiffs say and Facebook says sort of didn't meet               in your

12   statement about what each side's position is;            but,    again,    she

13   can sit there with you and help you get it out,            get whatever

14   documents you want or not and if         it's not,   then get it

15   presented to me some way.

16        Let's see,   a couple other things that I think maybe.                 One

17   is the testimony --   sworn testimony and written discovery from

18   the regulatory action.       So let me ask Facebook.        With respect

19   to the transcripts that you've agreed to produce,               have you

20   identified for plaintiffs who those are that you have the

21   deposition or sworn transcripts?

22            MR.   FALCONER:     I'm not    sure that we have,       Your Honor,

23   but we'd be happy to.

24            THE COURT:       Yeah.    So I think you should do that

25   within the week as well as         identify those that you're




                                                                                        0954
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 1   withholding;       right?

 2               MR.    FALCONER:     From the noncustodians?

 3               THE COURT:       Yeah.     I mean,    I don't    --   I'll   just tell

 4   you my view,      which is     if they gave testimony that's relevant                   to

 5   the issues       in this case,    then it would be discoverable absent

 6   there being some other reason why.                It would be relevant.               And

 7   I don't know --       I know it's not deliberative process privilege

 8   so we already went through that before.

 9        But at a minimum within a week identify who you're

10   producing when and identify who you're not producing.                          And,

11   again,    that    can go on your agenda,         and I've given you some

12   guidance with respect to that.

13        I don't know with respect to the               -- yeah.

14        Then there's the          issue of the      letters.    And I don't

15   know --    I don't know,       like,   what the plaintiffs mean by

16   "discovery responses";          right?    So they've already produced the

17   documents,       for example,    that were produced to the FTC.                 So by

18   "discovery responses,"          what   is it that the plaintiff           is

19   referring to?

20               MS.   WEAVER:      Good morning,     Your Honor.        Lesley Weaver

21   for plaintiffs.

22        We discussed this a little bit at the                  last hearing.

23   Instead of propounding formal written interrogatories,                         the FTC

24   asked questions,       substantive questions,         and requested in their

25   letters    sworn responses;       and we then --      in the last hearing you




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 1   told us to identify those letters and Facebook should produce

 2   the responses.         So we've identified the letters,        but we have

 3   not received the responses.

 4                THE COURT:     Okay.

 5         All right.       And what is Facebook's position on that?

 6                MR.   FALCONER:   So we received plaintiffs'        requests.

 7   We don't have an exact number,          but   it's    100 to 200 questions

 8   that they've asked for responses for.                It's taking us   some time

 9   to gather the responses and then assess them for the same kinds

10   of   issues that we talked about at the hearing last time with

11   Your Honor.        So we are in the process of doing that and happy

12   to confer with plaintiffs once we've completed --               just once we

13   have our arms around what did they ask for,               what do the

14   responses     look like,    how much of   it is responsive or

15   nonresponsive.

16         And,    again,   you know,    we understood the Court to say

17   "Let's get kind of a narrowed request from plaintiffs and then

18   the parties can meet and confer about what               should be produced

19   and what shouldn't";        and we think that's the kind of thing that

20   we could perhaps hopefully work through with Judge Andler on

21   some of the questions go outside the bounds of the case,                 some

22   of them are within;        you know,   what's a fair kind of reasonable

23   proportional scope of production kind of balancing relevancy

24   and burden concerns.

25                THE COURT:     well,   I don't know that there's going to




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 1   be a great deal of burden if we're only talking about 100 or

 2   200 questions and the answers;              right?       So    I don't know that

 3   there's burden.

 4         You had raised before confidentiality issues or things.                              I

 5   don't know that that applies either.                    I think it might be

 6   Facebook's confidentiality in which case then it can be

 7   produced subject to a protective order.                       So I think we need

 8   something a little bit more definitive in terms of timing.

 9         When did they provide you with the questions that they

10   wanted Facebook's responses to?

11               MR.   FALCONER:       My memory is maybe            it was March 22nd,

12   but   I'm going by memory so don't quote me on that.

13               THE COURT:      Oh,    all right.          Does    that   seem about

14   right?

15               MS.   WEAVER:     Yes,   Your Honor.

16               THE COURT:      Okay.     All right.          So not      tremendously

17   long ago.

18         All right.      Put that on your agenda then.

19               MR.   LOESER:     Your Honor,         if   I may,    just very briefly,

20   as you well know,      we keep having arguments about relevancy and

21   scope;   and so I would just ask if with that example of these

22   letters and everything else,           if Facebook is going to be

23   withholding based upon some           scope or relevancy contention,                 that

24   they tell us what      it   is    so that    if    it's problematic,        we can

25   bring that to Judge Andler or to you if                   it    is a problematic      --




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 1                 THE COURT:        You identified the questions,            the 100    to

 2   200 questions,         that you want whatever Facebook's response was


 3   to the FTC.          So they need to tell you             "We're producing these

 4   responses";         and if there's       some that they're not,         they have to

 5   identify specifically            "We're not"       and for what reason.

 6                 MR.    LOESER:     Okay.     Thank you.

 7                 THE COURT:        That's what you mean;          right?    Yeah.     No,


 8   they have to do that.

 9                 MR.    KO:     Your Honor,    David Ko.

10          Just    to    follow-up on that,       does your guidance at the

11   previous hearing with respect to the related deposition

12   transcripts         in which you suggested that really they should only

13   be redacting for confidentiality and privilege grounds,                          does

14   that   same guidance apply with respect to these written

15   responses      as well?

16                 THE COURT:        Yes.     I mean,    right,    there's going to be a

17   protective order.             You can only use       it    for purposes of this

18   litigation and all those kinds of things,                     they can be produced

19   to that;      but,    yes,    just   like regular     --   that's just what we do.

20   We don't redact            for relevance.

21                 MR.    KO:     Thank you,    Your Honor.

22                 THE COURT:        All right.     I guess,       let's   see,   another

23   issue that      I think would be terrific or might be helpful                     for

24   you to work with Judge Andler is there's the                     issue as to

25   whether Facebook has responded completely to the question of




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 1   identifying all companies that Facebook agreed to exchange

 2   information with,            and there's a dispute arising out of what was

 3   testified to at the 30(b)(6).

 4          That,    to me,       seems    like an issue that      --   right?    -- you can

 5   show Judge Andler,            "Here's    their deposition --        here's

 6   Judge Corley's ruling,               here's the deposition testimony,           and

 7   here's    sort of"      --    then the parties can just say what              their

 8   position is and she can help you work through it;                      right?

 9           I mean,      my hope    is,    like with all mediators,        that you take

10   to heart      -- when they have a view of             something,     that you take

11   it to heart and your position               -- you may disagree or disagree,

12   but    it may help shape your position somewhat and she may have

13   compromises or things            in mind and creative things.

14          Okay.        And then you agreed on all the search terms.                     Thank

15   you.

16          Just    so you think,          Judge Andler,   they don't agree on

17   anything,      they do,      and actually have worked quite hard.

18                 JUDGE ANDLER:           Excellent.

19                 MR.    LOESER:     And we agreed on Judge Andler,

20   Judge Corley.

21                 THE COURT:        And Judge Andler,      yes.

22                 JUDGE ANDLER:           Thank you.

23                 MS.    WEAVER:     In less than a year.

24                 THE COURT:        Yeah.     That actually was pretty quick.

25          So now I'd actually like to talk to you about,                       unless




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 1   there's       anything else,             about   the ADI documents,            the app

     developer investigation documents.

 3           And sort of          let me tell         you what my thinking is               about

 4   that,    and I did review the Massachusetts Supreme                             --    the Supreme

 5   Judicial       Court    --    I can't         remember    --    the highest court of

 6   Massachusetts decision;                   and my view is              and also I think I

 7   have the benefit,             which they didn't have,                 at    looking at       some

 8   documents       in camera          --    my view is,      and this         is what    I'm going

 9   to tell you my tentative view is,                        is    that   certainly the

10   investigation was done                   in anticipation of           litigation,       but also

11   I can't       conceive of how it wouldn't have been done otherwise as

12   well;     right?

13           I mean,    Facebook wasn't going to let                       --   well,     because they

14   said it.        When they said to the public and to their users

15   "We're doing this             to protect you,"            they didn't         say    "But our

16   primary purpose was                to protect our shareholders";                    right?

17           I mean,    if they were               immune    from liability,         they still

18   would have gone and looked back even though the platform had

19   changed;       right?        There are         some apps       that were      suspended

20   because they were             --    or you considered them to be bad actors or

21   concerned about that,                   and   I think that would have been done.

             All    that's to say,             though,      there certainly are going to be

23   documents       in there that are,               A,    attorney-client privilege;               or,

24   B,    attorney work product.                   For example,       if Gibson Dunn made

25   edits    to requests          for information or those kinds of                       things,




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 1   that's    classic work product             that's not going to be

     discoverable.              Any advice that was given is not going to be

 3   discoverable.

 4           But    in terms of       the ADI    team,    at    least   from what    I've

 5   seen,    it    looks       like a lot of    that was       just generated there

 6   separate that may have             then been reviewed but would have been

 7   done anyway.

 8           But also the way          I was    looking at       it   in looking through

 9   and looking at             those documents    is    that   a lot of    it   I don't

10   think is      relevant at all,          and so what        I wanted to know from

11   plaintiffs       --    and this    I sort of was          thinking about     it after

12   reading the Massachusetts               case where        the AG did much more

13   targeted discovery,             and sort of get a sense from the plaintiffs

14   because       I think       this will be helpful.

15           Because       I'm afraid I'm just going to rule on these 20

16   documents and then we're going to be back here with every

17   single document.              I don't   think plaintiffs need every single

18   document.        There's       certain information,          like you say,      that   you

19   need and maybe it's not even going to be privilege.                            There's

20   going to be other             information that may be privilege and I

21   actually think you don't even need.

22           So what       is    it precisely that       the plaintiffs need from that

23   investigation?

24                 MR.     KO:     Your Honor,    this    is David Ko.       I can speak to

25   that    first.




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 1           I think to directly answer that question,                        what we need and

     what we've asked for and what we've                       identified in our brief             are

 3   the   facts underlying the             investigation that relate to our

 4   claims,      and    in particular which apps were                 in violation or in

 5   potential violation of which Facebook policies and over what

 6   period of time these entities were                       in violation of these

 7   policies and the            specific conduct         that   caused them to be           in

 8   violation.         And that's       obviously relevant            to our claims

 9   regarding whether or not Facebook allowed third parties to

10   access user         information and whether Facebook properly monitored

11   the disclosure of            this   information as          they claim they did.

12           And so that         really relates big picture,                you know,    our

13   argument      that    the    facts underlying these communications are

14   what we're         really seeking.          That    really I think responds             to

15   your question most directly.

16                THE     COURT:     Right.       So you don't need to know                    you

17   don't need to know,            like,    when a request           for   information was

18   sent.     I know you've         been provided responses to those                   so   I

19   don't    think      I'm saying anything.             You don't even know when                it

20   was   sent    or re-sent or when the               response was received or any of

21   those kinds of         things.        You want      --   well,   you have been

22   provided with the responses                 --   right?          and the actual

23   requests      that went out.

24                MR.     KO:    Correct.

25                THE     COURT:     And    --   okay.




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 1           All right.      So let me hear from Facebook.      With that   in

 2   mind in terms of your privilege log,          how does that change that

 3   or does    it,    or maybe you already understood that?

 4               MS.   KUTSCHER CLARK:      Your Honor,    it's a little bit

 5   difficult because this         is the first time we're hearing this

 6   request.     To date we have never received an information

 7   request.     We just received a request for all of the ADI

 8   documents.        So I think this is definitely something we would

 9   need to think about a little bit more.

10           I think what might make sense is if plaintiffs want to

11   issue a request,        then we can look at   it in context;   but what

12   was a little bit tricky in the briefing was we were dealing

13   with a request for all of the ADI documents and then plaintiffs

14   said,    "Well,    give us the underlying facts,"      but we had never

15   received a specific request         for specific facts.

16               MR.   KO:    Your Honor,   I think that's a

17   mischaracterization.         I think we've asked repeatedly about this

18   information.       You know,   we've conferred about ADI,      as you know,

19   for well    -- almost over a year now and we presented these

20   issues to Your Honor last June.           You know,   you accurately

21   ordered this privilege log to make sure that you had the proper

22   context.

23           And throughout those discussions,       we have asked over and

24   over again that we obtain the actual          facts underlying this

25   investigation;       and if there's any doubt about this,       this is




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 1   obviously included in our briefing.              We made   it clear that

 2   that's what we wanted in our briefing and,             in fact,   we put       it

 3   in our proposed order.          So I'm a bit     surprised that

 4   Ms.   Kutscher Clark believes that this           is the first time that            --

 5               THE COURT:     All right.     This    is good because it's

 6   giving Judge Andler a hint of why I thought a discovery

 7   mediator would be useful.

 8          So let me ask you this:        Do you need information,          then,

 9   about apps that were        investigated but Facebook in the end took

10   no action against?

11               MR.   KO:   Yeah.   That's why I was very precise in

12   saying that       there could have been a potential violation.             We

13   need to know that        -- we need to know the thought process,           if

14   you will.     I mean,    not the privileged information but            to the

15   extent   there was an escalation but not an enforcement,                that    is

16   still relevant because that relates to whether or not                  they're

17   actually and accurately monitoring the disclosure of this

18   information as they suggest.

19               THE COURT:      Okay.

20               MS.   KUTSCHER CLARK:     Your Honor,     I think we need an

21   actual discovery request.           I hear everything Mr.      Ko is    saying,

22   and of   course we've discussed this extensively,            but we do not

23   have any interrogatories asking for information like this.

24   Right now what       I'm hearing is    "We want all of the facts

25   underlying ADI,"        and that's a difficult thing to respond to.




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 1           So    I think this needs to start with an actual request in

 2   writing that we can look at and evaluate,                  and then we can

 3   narrow it       from there.        But,   you know,   a request     for any

 4   information underlying ADI or,                for instance,   Mr.    Ko is    saying

 5   any violation of a Facebook policy,                Facebook has a lot of

 6   policies.        Some of those policies might be relevant here,                  some

 7   of them might not be.              So I think we need to see an actual

 8   request that we can evaluate.

 9                  MR.    SNYDER:   Martie,      can I jump in here?

10           Judge,       we agree that a narrowing makes a lot of            sense and

11   we're asking for a discovery request not to have form over

12   substance or to delay but to facilitate and hopefully we can

13   cut through all this because               I think what you said makes

14   absolute sense.

15           For example,       we've already given them the           suspensions

16   list.        That,    they have.     Escalations      -- you know,    a lot of the

17   escalations          involved my firm and legal advice;           some did,     some

18   didn't.        So if we see     -- you know,      "all the facts"      is very

19   vague.        We don't know what that means because we have thousands

20   of   facts     -- millions of       facts,   because we had investigators

21   looking at all myriad of things.                 So as precise a request as

22   they can make,          then we can hopefully cut through a lot of this

23   and give them the nonprivilege stuff that                  is responsive and

24   relevant.

25           I mean,       we really want to get through this ADI piece,               but




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 1   right now we're kind of shooting in the dark because all facts

 2   underlying the investigation,            having been involved in that

 3   investigation,      I don't know what that means.          I really don't.

 4               THE   COURT:     That's not what they're --      I understand

 5   that.

 6           So then my next question is,         because you had suggested,

 7   I'm prepared then to rule on the motion but Facebook had

 8   said --    and,   as I said,    my tentative view is      I don't

 9   necessarily agree with the Massachusetts              -- well,    I think we

10   all agree about the dual purpose doctrine and what the

11   Ninth Circuit rule is with respect to that.               The Massachusetts

12   court kind of      --   kind of applied the same rule.           I mean,   they

13   at one point did use the same rule,              and without really any

14   analysis sort of came to the conclusion that              it was    -- well,

15   I'm not    sure what     it was.   I'm not sure they were applying the

16   same rule as the Ninth Circuit.

17           So I'm prepared to issue a ruling,          but I wanted to ask

18   Facebook about what they're         --    I don't know what more you would

19   say,    but I want to make sure it's fair because I understand --

20   it's clear that this         investigation was set up with the intent

21   to make it privileged.          That's clear.       That's not dispositive,

22   but that's clear.          So given that,    I do want to make sure that

23   they are able to fairly present            it,   and so that's why --

24               MR.   SNYDER:     Because I would respectfully disagree

25   with the following:          I think that because when it was         set up,




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 1   it was    set up for the reason you said because we wanted to

 2   assure our users that the platform,              you know,   was   safe and had

 3   been safe    in the past,       but   it was not    set up so that we can       --

 4   so that we can shroud it            in a privilege.     It was set up --       it

 5   was set up in a privilege way because we understood that                  to the

 6   extent we have to take enforcement action,               it would require,

 7   you know,    legal advice and the lawyers were embedded in and

 8   involved in,       you know,    hundreds and hundreds of decisions on a

 9   weekly,    daily basis about escalation,            about all manner of      the

10   investigation.

11        So it wasn't       just that      lawyers were put      in to make it

12   privilege.        Lawyers were embedded in.          In fact,   we set up the


13   investigation because          it required legal advice at every turn.

14               THE COURT:       That may be what you're saying.           I don't

15   know that    I have seen       --   I don't know that    I have --

16               MR.    SNYDER:     I can --

17               THE COURT:       I don't know that       I've seen that.    That's

18   why I want to ask:           Is there anything else that you want to

19   present    in an admissible format as opposed to the attorney --

20               MR.    SNYDER:     Yes.    What    I would like to do,

21   Your Honor,       because my partner Alex Southwell was            literally

22   living in Palo Alto with a number of my partners and associates

23   for weeks    if not months,         in the guts of this      investigation,

24   again,    not as a fig leaf but as            lawyers practicing law and

25   advising the client,         I think    it would be helpful for the Court




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 1   in its determination for us to put           in an affidavit where we can

 2   outline in a nonprivilege way the extent to which legal advice

 3   was involved at every step in the investigation.

 4          That might even be helpful to the plaintiffs in then

 5   identifying what       it is they want to know because,         as    I said,

 6   all of the    -- all    --   I don't know what percentage but a

 7   substantial number of the decisions made by the investigators

 8   on the field were made sitting next to lawyers,               texting,

 9   e-mailing with lawyers,         at every turn.     Hundreds    --    I haven't

10   seen our privilege log,         but it must be tens if not hundreds of

11   thousands of entries of         iterative discussions between my team

12   and the investigators because they were living together for

13   months and months and months doing this investigation hand in

14   glove,    hand in hand,      shoulder to shoulder.

15               THE COURT:       Yeah,   but don't   forget what the test      is    in

16   the Ninth Circuit       is dual purpose and would the investigation

17   have occurred anyway;         and it's inconceivable to me that if

18   Facebook had been immune from liability,             that they wouldn't

19   have gone in and investigated the apps to see if there were any

20   other bad actors there.

21          That's just     -- that's just     inconceivable to me that,        of

22   course,    they would have gone in and investigated those apps;

23   and,   therefore,    my view is that those facts discovered,             the

24   facts,    not the advice given,        the facts would be discoverable.

25   So I'm just saying that's what my view is,            but   I will allow you




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 1   to submit an affidavit.

 2           And I know before I said no affidavits,                  but now having

 3   looked at       it all,      I think that that would be a mistake            --

 4                  MR.    SNYDER:       Thank you.

 5                  THE COURT:       --    an error on my part to rule

 6   definitively on that without doing that.                      And then,   of course,

 7   I'll    let    --    but,   as you said,       a nonprivileged affidavit.

 8                  MR.    SNYDER:       Yes,   Your Honor.

 9                  MR.    KO:   And,     Your Honor,    will we be allowed to

10   respond to that affidavit?

11                  THE COURT:       Yes.       You're going to get      to see it and

12   then you're going to get to respond.

13                  MR.    KO:    Because       I think just to preview what      --   you

14   know,    Mr.    Snyder,      what    I hear him saying is simply because of

15   the volume,          that   somehow this       is all privilege.      But as you

16   correctly pointed out,               both the dual purpose and the facts

17   underlying the investigation is what we are entitled to.

18           And it's clear --            I mean,    I get   --   I understand that    it

19   was a massive investigation,                 but just the      sheer fact that    it

20   involved lots of communications does not take away from the

21   fact that we would be entitled to the underlying facts

22   regarding the escalation of these apps and the subsequent

23   enforcement          to the extent that was done.             And so that's what we

24   are seeking and I think it's pretty clear what we would be

25   entitled to here.




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 1               MS.   WEAVER:      Your Honor,        if    I can --

 2               THE COURT:         That will shorten the privilege             log if you

 3   only did the sample privilege              log for six apps greatly;            right?

 4   None of those e-mails about            "Are you available          for this

 5   meeting?"    or   "Can we move it?"         or    "Should you change the weekly

 6   report so that         it has this    information?"

 7               MR.   SNYDER:      No.

 8               THE COURT:         You don't need any of          that;    right?   You

 9   just want    the facts.        You just want what's           in the report.

10               MR.   LOESER:      Your Honor,        I'm going to raise my hand,

11   and I have a question about this affidavit.

12           And if the notion is that Facebook is going to submit the

13   affidavit    of a lawyer,        I'm wondering how that works             in this

14   case.     That would appear to,           then,    be a witness.

15           And one of the central claims              is a failure to monitor,           and

16   I'm a little      --   I guess    I'm confused as to how a lawyer

17   testifying in this action about              the work that that lawyer did,

18   some of which would be privilege,                 some would not,      wouldn't be a

19   waiver of the attorney-client privilege or at least                       introduce a

20   lawyer as    a witness.        And I'm just throwing that question out

21   there wondering how that works.

22               THE COURT:         I don't know.           This is a perfect thing I

23   think for you-all to discuss with Judge Andler;                       right?    So --

24   and I appreciate,        Mr.    Loeser,    you being very candid about that.

25   Essentially you're,         like,    warning them,         "Just because we're




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 1   sitting here doesn't mean if you submit some affidavit,                      that

 2   we're not going to argue there's some waiver."                     And I

 3   appreciate you being transparent about that,                    and Facebook will

 4   have to think about that             -- have to think about        that.

 5           And of course,       then,    there is the issue in Massachusetts

 6   the court did hold that          it was work product but that,             you know,

 7   the fact work product was discoverable in any event.                       And so

 8   maybe this is a way of working through that as well and getting

 9   that    information.        And you could,        for example,    show

10   Judge Andler a lot of those documents.

11               MS.   WEAVER:      Your Honor,        and on a related note,      you

12   know,    to the extent that Facebook is raising as a defense in

13   this action to the negligence claims and the invasion of

14   privacy that they investigated and maintained users privacy,

15   we're entitled to discovery.              So it's akin to the waiver

16   argument but       it exists whether or not they put              in a declaration

17   by a lawyer.        If Facebook is going to rely on the investigation

18   as a defense,      we should get discovery of it.

19               THE    COURT:     Well,   that   is    --   sure.   Of course.    But   I

20   don't know if that's the case.               They'll have to make that

21   decision.       Yeah,   they'll have to make that decision.

22           Okay.     So there we are.        I've punted everything I think

23   except that within a week Facebook has to tell you which

24   deposition transcripts they're producing and which ones they

25   are not.




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 1        And,    Judge Andler,      it would be great     if you were able to

 2   join us on all of       these hearings.      I think that would be

 3   useful.

 4               JUDGE ANDLER:       I'd be happy to.      I just have to have

 5   notice so that my case manager can let the counsel               in my

 6   arbitrations and mediations that are             scheduled through 2022

 7   know that we will have a later start             in those sessions.      So it

 8   will be pretty easy for Matt to do that.              So if   counsel just

 9   give enough notice,         I'm happy to do that.

10               THE COURT:      And we'll be by video.

11               JUDGE ANDLER:       Great.

12               THE COURT:      For as long as the Administrative Office


13   of the U.S.       Courts allow us to be by video,       we will be by

14   video.

15               JUDGE ANDLER:      Thank you.

16               THE COURT:      So I'm hoping that will be permanent.

17               JUDGE ANDLER:      Thank you.

18               THE COURT:      So why --

19               MR.   LOESER:    A lot of people agree with you,

20   Your Honor.

21               THE COURT:      Yeah.   No,   I know.   Yeah.     I have a lot of

22   these cases       right now that    I'm managing that have attorneys

23   from all across the country and it just makes               so much sense,

24   unless you're an airline.

25        So shall we meet again in,           say,   three weeks you think?




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 1               MR.    SNYDER:        Sounds good.

 2               THE COURT:          Yeah.     How about April 27th?      And is

 3   8:30 better?

 4           Let me ask Judge Andler.             We can start earlier at     8:30   if

 5   that's better.

 6               JUDGE ANDLER:           That's usually much better for me if

 7   it's not    inconvenient          for counsel and the Court.

 8               THE COURT:           I think we've done that.      Why don't we do

 9   April    27th,    then,    at    8:30 a.m.     And I expect between now and

10   then you will meet and mediate your little cases.

11           All right.        Great.     Thanks,    everyone.    I hope you have a

12   vaccine plan if you don't already have a vaccine.                    Soon it will

13   be open to everyone.

14               ALL:     Thank you,         Your Honor.

15               JUDGE ANDLER:           Thank you,    Counsel,   and we will be in

16   touch so we can set             something up.


17                       (Proceedings adjourned at         9:37   a.m.)

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                           CERTIFICATE OF REPORTER

 4            I certify that the foregoing is a correct transcript

     from the record of proceedings in the above-entitled matter.

 6


 7   DATE:   Wednesday,   April   7,   2021


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11


12              Jo Ann Bryce,     CSR No.      3321,   RMR,   CRR,   FCRR
                             U.S.      Court    Reporter
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                      EXHIBIT H
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      Js' Co-Lead Counsel                         Attorneys for afendant Facebook, Inc.
Additional counsel listed on signature page       Additional counsel listed on signature page




July 2, 2021

VIA ELECTRONIC FILING
Honorable Jacqueline Scott Corley
United States District Court
San Francisco Courthouse
450 Golden Gate Avenue
San Francisco, CA 94102



       Re:     In re Facebook, Inc. Consumer Privacy User Prcfile,
               Northern District of California Case No. 3:18-md-02843-VC


Dear Judge Corley:

         The Parties respectfully submit this letter in response to the Court's order that the parties
"file a stipulation regarding Facebook's production of App Developer Investigation (ADD
documents by July 2, 2021" and "if the parties are not in agreement, then by that same date they
shall file adiscovery dispute joint letter which identifies the documents Facebook has agreed to
produce and which additional documents Plaintiffs believe should be produced." Dkt. 693 112.




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      I.   Facebook's Position
           a. Facebook agreed to provide Plaintiffs "underlying facts" about ADI.
        Facebook offered to provide Plaintiffs the "underlying facts" Plaintiffs said would resolve
this dispute. But, after months of negotiations, Plaintiffs rejected Facebook's offer; demanded
massive volumes of data that are the focus of unrelated discovery requests that the parties are
separately mediating; resurrected their demand for nearly all ADI communications; and
demanded areservation of rights to seek any additional ADI materials they may want in the future.
This request ignores the Court's instructions and unwinds more than one year of forward progress.
         The parties have been discussing Plaintiffs' demands for ADI materials since March 2020.
During that time, Facebook's goal has been to provide as much information as it can without
intruding on or waiving privilege. It has produced awealth of information: alist of all apps
suspended as aresult of ADI (with details about each); alist of apps suspended for reasons other
than non-cooperation with ADI; Facebook's requests to and communications with the developers
it investigated; and all information Facebook received from developers, including audit responses.
       Plaintiffs initially insisted they also need every document relating to ADI. This demand
was hopelessly overbroad. It also targeted privileged materials, given that ADI was directed by
Gibson Dunn and in-house attorneys to advise Facebook on litigation risks and strategy.
        The parties first attempted to narrow Plaintiffs' request through asampling exercise—
Facebook reviewed all ADI documents relating to six apps, produced non-privileged documents,
and logged privileged documents. Plaintiffs challenged every entry that did not include an
attorney, and the Court allowed them to select 20 for briefing. After the parties briefed the 20
documents, the Court indicated that even if it ruled on the 20 documents, any ruling likely would
not resolve the dispute and the parties would be back before the Court on "every single
document." 04/06/2021 Trans. at 17:15-21; itfra at 3. The Court explained such an exercise
would be wasteful: "I don't think Plaintiffs need every single document. There's certain
information, like you say, that you need and maybe it's not even .. .privilege[d]. There's going
to be other information that may be privileged and Iactually think you don't even need." id.
         The Court asked: "So what is it precisely that the plaintiffs need from that investigation?"
Id. at 17:22-23. Plaintiffs clarified they do not seek emails among Facebook employees. "[T]he
facts underlying these communications are what we're really seeking." Id. at 18:13-15; id. at
18:1-4. Plaintiffs had taken asimilar position in their brief: "Nile privilege does not apply to the
underlying facts and information regarding ADI." Dkt. 611 at 3. Plaintiffs told Facebook the
facts they need are data points about approximately 3,700 suspended apps. FB Ex. A, at 2.
       Facebook offered to resolve this dispute by providing data about these 3,700 apps and
made arobust proposal, attached as FB Exhibit A. The list of information Facebook offered, in
addition to the materials it already produced, is extensive, spans multiple pages (id.), and offers
what Plaintiffs said they need. Plaintiffs said they seek "[u]nderlying facts and information
regarding the ADI," and specifically wish to know which apps misused user data and what data
they may have been able to access. See Dkt. 611 at 15. Facebook offered that exact information.
        Facebook offered to identify every type of data each of the 3,700 apps was able to access
("permissions"). It offered to identify how many users used each app, and how many gave each
app access to each type of data. It offered to identify when each app was created and suspended
and whether each was suspended for non-cooperation with ADI or otherwise. It also offered to
identify the developers and businesses associated with each app, and other technical data. Ex. A.
        On top of all of this, Facebook offered to "identify all apps Facebook suspended,
banned, or otherwise took enforcement action against through ADI for misuse of user data."
It even offered that Plaintiffs could request additional information about 20 apps of their choosing.




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         Plaintiffs' most recent proposal (FB Exhibit B), 1 asks for three more data points for the
3,700 apps. Facebook already produced one; for another Facebook agreed to provide the closest
available proxy. 2 As for the Application Programing Interface ("API") call data Plaintiffs request,
Facebook offered two types of available API information for the 3700 apps. Plaintiffs also ask
Facebook to investigate and provide the number of data requests per year by each of the 3700
apps, for each API permission, going back to 2007 and regardless of whether requests for data
were granted. This API call data does not "relate to" ADI simply because Plaintiffs demanded it
as acondition to reach an agreement about already overbroad ADI RFPs. Plaintiffs have a
separate RFP (unrelated to ADI) that seeks massive volumes of API call data—that are orders of
magnitude larger than the data Relativity hosts for every litigation in the U.S. combined. Much
of the information Plaintiffs seek relating to API calls does not exist. But even for data that does
exist, little would be reasonably accessible, much less probative of any live issue in this case. The
parties are separately mediating what types of relevant API call data could reasonably be
provided. If the parties cannot resolve the dispute over the API call data RFP, Facebook intends
to seek aprotective order.
               b. Plaintiffs continue to demand nearly all ADI-related communications.
        Rather than identify additional "underlying facts" and why they need them, late in the day
during Monday's mediation, Plaintiffs demanded all "internal and external communications"
related to ADI either (1) "involving employees in Facebook's Developer Operations and Platform
Operations Teams, regarding [each] categor[y] [of communications with app developers]," or (2)
"related to Phase 2and Phase 3 of the ADI process," including "communications with counsel
that are discoverable as business advice or [] pursuant to the dual-purpose doctrine." 3
        Plaintiffs seem to be reviving their demand that Facebook produce all, or substantially all,
documents relating to Facebook's privileged legal investigation, including communications to
and from attorneys. In other words, after representing that they are "really seeking" "the facts
underlying these [ADI-related] communications," not the con-   ununications themselves (04/06/21
Tr. at 18:13-15)—and mediating for months the data Facebook could provide for 3,700 apps—
Plaintiffs no longer want only "underlying facts," rendering months' of negotiations over data
wasted. Plaintiffs have not provided any justification for going back on their representations.
        The Court advised Plaintiffs that their sweeping demand for ADI-related communications
is unworkable and targets irrelevant materials. See supra at I. What Plaintiffs are requesting
would also waste significant resources and delay this case—it would likely lead to
custodian/search string negotiations, review/logging of large volumes of documents not factored
into the proposed substantial completion deadline, and amountain of privilege disputes that could
require an in camera review of unprecedented scale. See infra at 3. For context, during the
parties' sampling exercise, Facebook logged as privileged 6,200 entries for 6 apps. ADI
addressed millions of apps. The volume of privileged ADI documents is why the Court suggested
asampling exercise in the first place and then told Plaintiffs to narrow their request.
        Rather than narrow, Plaintiffs now demand the underlying facts Facebook offered, API
data the parties are negotiating for unrelated RFPs, nearly all ADI communications, and a
reservation of rights to seek more ADI materials—effectively continuing this dispute indefinitely


    Facebook has not seen Plaintiffs' letter. If they request something different, Facebook has not seen it.
  Facebook already provided the date each app was suspended. Facebook apps do not have "publishers"
(the most similar piece of information is the app's "developer," which Facebook offered to provide).
3Confidentiality and privilege protocols around ADI did not allow ADI team members to engage in
external communications relating to AD1 other than communications with app developers (which have
been produced), outside counsel, and experts retained by Gibson Dunn to assist it in providing legal
advice. Facebook is not aware of any violations of these confidentiality protocols.




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and rendering any agreement the parties could have reached illusory. Facebook made a
meaningful and sincere effort to resolve this dispute by offering the information Plaintiffs said
they need. Plaintiffs have not conveyed how this data is inadequate. And it is difficult to imagine
what else they require—particularly given that this lawsuit is not about how ADI was conducted.
              c.   Alternatively, Facebook requests an opportunity to provide afull record.
        If the Court is inclined to order production of additional ADI communications, Facebook
requests an opportunity to brief why ADI was a privileged investigation and provide a full
evidentiary record. Plaintiffs are wrong in saying the parties' positions on ADI were already fully
briefed. The Court instructed the parties that their prior briefs should address 20 documents
Plaintiffs identified, not all of ADI. 1/15/2021 Trans. at 4:15-11:19; id. at 12:13-15 ("one page
per document"). The briefing was expedited and simultaneous and the Court did not allow
evidence. Id. at 11:9-19 ("I don't want declarations." "If we need more [later] we can get it at
that time"), Plaintiffs improperly used their brief to wage awholesale attack on Facebook's claim
of privilege over ADI. See Dkt. 611. Facebook has had no opportunity to submit evidence or
address Plaintiffs' arguments—including with respect to waiver, the dual-purpose doctrine, and
whether Plaintiffs have shown a"substantial need" for any fact work-product.
        The Court also recognized that the briefs on the 20 documents could not resolve the
broader ADI dispute:      know before Isaid no affidavits, but now having looked at it all, Ithink
that would be amistake —an error on my part." 04/06/21 Tr. at 25:2-7. The Court also recognized
it cannot make acategorical ruling about ADI based on the 20 documents the Court reviewed in
camera. See supra at 1; U.S. v. Richey, 632 F.3d 559, 568 (9th Cir. 2011) (the "dual-purpose
doctrine," which Plaintiffs urge the Court to apply, requires adocument-by-document analysis).
        If the Court is inclined to order Facebook to turn over additional ADI communications,
Facebook respectfully requests an opportunity to create the record that the Court needs to fairly
address the dispute; to sustain its burden of proof with respect to privilege; 4 and that will be
needed should there be an appeal. Due process requires an opportunity for Facebook to respond
to any new arguments Plaintiffs raise. Exhibit C proposes abriefing schedule.
       II.    Plaintiffs' Position
        After countless meet and confers, afour-month-long exemplar logging process,
extensive briefing, and an attempted resolution by two experienced mediators, the parties are
largely in the same position as they were when Plaintiffs first served their ADI-related
discovery requests more than nineteen months ago: Facebook refuses to produce nearly all of
the relevant and responsive materials pursuant to its initial position that ADI is categorically
privileged. This sweeping and meritless assertion improperly cloaks millions of documents in
connection with AD], and is impeding the progress of this case. Plaintiffs are clearly entitled to
more than what Facebook proposes for the reasons set forth below.

        1. Attorney-client privilege. The attorney-client privilege "only protects disclosure of
communications; it does not protect disclosure of the underlying facts by those who
communicated with the attorneyn" Uljohn Co. v. United States, 449 U.S. 383, 395 (1981);
accord Attorney Gen. v. Facebook, Inc., 164 N.E.3d 873, 886-87 (Mass, 2021). From the start,
Plaintiffs have sought the relevant underlying facts about ADI—including, for example, which
apps were in violation or in potential violation of which Facebook policies, over what period of
time these violations occurred, and the specific conduct that constituted the violations. See Dkt.
No. 611, Plaintiffs' ADI Brief at 3, 15-16; April 6Hr'g Tr. 18:1-15; 19:16-20:18.



4   The parties agreed not to prepare ADI submissions while they mediated this dispute, see Dkt. 662   3.




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        Plaintiffs specifically seek atargeted production of underlying facts regarding ADI, an
investigation that was acontinuation of Facebook's attempt to purportedly identify data misuse
on its platform since at least 2012. Dkt. No. 611 at 4-7 The investigative process consisted of
three phases: (1) Detection and Identification, (2) Enhanced Examination, and (3) Enforcement.
From the beginning, Plaintiffs sought documents related to Phases 2and 3, which are plainly
factual inquiries. See Plaintiffs' Request for Production No. 19 (attached as Ex. A). In the
Enhanced Examination phase, technical experts and investigators—including two external
forensic consulting firms that worked with, among others, Facebook's Developer Operations
(DevOps) team—conducted intensive background and technical investigations and created
reports that identified the potential for data misuse. See Stacy Chen Declaration, ¶¶17-18
(attached as Ex. B). In the Enforcement phase, Facebook determined whether to take additional
enforcement action against an app, including conducting interviews or requesting audits of data
security or storage infrastructure. id., ¶J 19-20. The facts underlying Phases 2and 3of ADI are
relevant to Plaintiffs' claims, including whether Facebook breached the duty of care it owed
users to safeguard their information. See Dkt. No. 298 at 36. These facts are not privileged.

         2. Work product. Under Ninth Circuit law, "where adocument serves adual purpose,
that is, where it was not prepared exclusively for litigation," courts must "determine whether the
'document was created because of anticipated litigation, and would not have been created in
substantially similar form but for the prospect of litigation.' United States v. Richey, 632 F.3d
559, 567-68 (9th Cir. 2011) (citation omitted) (citations omitted). Under this standard, as the
Court has already noted, it is inconceivable that all ADI documents could be privileged, as
Facebook would have undertaken this investigation in the absence of any potential litigation. 5

        Facebook's counsel agrees: "I think that because when [the ADIJ was set up, it was set
up for the reason you said because we wanted to assure our users that the platform, you know,
was safe and had been safe in the past." April 6Hr'g. Tr. 22:25-23:3. So does its CEO. In a
lengthy post "shar[ing] an update of the Cambridge Analytica situation," Mark Zuckerberg
framed the ADI as being aresponse to the company's "responsibility to protect your data." This
well-publicized user-relations initiative was and is driven by business concerns. 6

       Nevertheless, Facebook refuses to produce the communications and documents related
to ADI, including communications involving the DevOps Team and the two consulting firms
Facebook retained as part of the process. Instead, Facebook proposes that it simply produce a


5 See April 6Heg. Tr. 24:15-24 ("THE COURT: Yeah, but don't forget what the test is in the


Ninth Circuit is dual purpose and would the investigation have occurred anyway; and it's
inconceivable to me that if Facebook had been immune from liability, that they wouldn't have
gone in and investigated the apps to see if there were any other bad actors there. That's just —
that's just inconceivable to me that, of course, they would have gone in and investigated those
apps; and, therefore, my view is that those facts discovered, the facts, not the advice given, the
facts would be discoverable.").
6 See https://www.facebook.com/zuck/posts/1010471203 7900071 (posted Mar. 21, 2018).


Though this post does not mention ADI by name, subsequent posts addressing ADI make clear
that is what Zuckerberg was discussing. See https://aboutib.com/news/2018/05/update-on-app-
audit/ (posted May 14, 2018) ("Here is an update on the app investigation and audit that Mark
Zuckerberg promised on March 21.").



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list of information regarding 3,734 apps and some responsive API call data. And it stresses that
it has already produced communications with third parties regarding ADI, generating along list
of categories to describe this production.

         The app information list and the API call data Facebook proposes to produce are of little
utility to Plaintiffs without proper context, including the discussions and actions taken in
response to this gathered information. For example, the reports prepared by Facebook's outside
consultants in Phase 2of the ADI process summarize and contextualize the data Facebook
proposes to produce. And communications and documents related to whether Facebook pursued
enforcement action against certain apps further contextualize this data. Facebook provides no
justification for withholding these reports and communications, beyond ablanket assertion of
work product protection. But under the dual-purpose doctrine, it is clear these summary reports
and communications must be produced.

        Facebook's production is also plainly insufficient. This purportedly "robust" production
only consists of 26,000 pages, nearly all of which are initial Requests for Information (RFIs)
sent by Facebook asking for background and preliminary information to third party app
developers. The RFIs do not reveal Facebook's internal knowledge and deliberations regarding
the obvious threats those third parties posed to users' privacy or the extent to which Facebook
already knew about those threats. The RFIs also do not show which app developers violated or
potentially violated which Facebook policies over what period of time. Nor do they show the
underlying facts that led to escalation or enforcement.

        Furthermore, these 26,000 pages of documents are afraction of the millions of
documents and communications Facebook previously represented have been generated as part
of the ADI. See July 13, 2020 Hr'g Tr. 46:19-25 (Mr. Snyder: "And Ijust want to warn
everyone or caution everyone, this was amassive investigation ... that will probably be tens of
millions of communications."). During the exemplar logging process last fall, approximately
12,000 documents totaling tens of thousands of pages were identified for six apps alone.

        3. Conclusion. Facebook contends that all it needs to produce are asmall sample of data
related to ADI. But Plaintiffs are entitled to communications and documents reflecting the facts
underlying the ADI investigation. Plaintiffs seek an order requiring production of
communications and documents related to Phases 2and 3of the investigative process, including
communications involving the DevOps team at Facebook and the forensic consultants retained
by Facebook, as well as the summary reports these consultants and/or the DevOps team created.
Facebook previously mentioned it wanted to provide an affidavit in support of its position.
While Plaintiffs believe no further briefing or affidavit is needed, Facebook should have until
July 9to do so, and Plaintiffs should be allowed to respond to the affidavit by July 16. No
further briefs should be permitted. The parties' positions are clear and the dispute has dragged
on for too long. The issue is ripe for aruling.




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Dated: July 2, 2021
                                                    Respectfully submitted,

KELLER ROHRBACK L.L.P.
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                                    UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA

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 7      IN RE: FACEBOOK, INC. CONSUMER                   Case No. 18-md-02843-VC        (JSC)

 8      PRIVACY USER PROFILE LITIGATION
                                                         FURTHER ORDER RE: ADI
 9                                                       PRIVILEGE DISPUTE

10                                                       Re: Dkt. No. 699

11

12

13           In March 2018, in response to the disclosure of the Cambridge Analytical data-sharing

14    incident, Facebook initiated an app developer investigation (ADI) that involved areview of all

15    "apps that had access to large amounts of data before [Facebook] changed [its] platform policies in

16    2014." See https://about. fb.com/news/2019/09/an-update-on-our-app-dev el oper-investi gati on .

17    Facebook told the public that its investigation

18                   has involved hundreds of people: attorneys, external investigators,
                     data scientists, engineers, policy specialists, platform partners and
19                   other teams across the company. Our review helps us to better
                     understand patterns of abuse in order to root out bad actors among
20                   developers.

21    Id. Facebook nonetheless argues in this litigation that all documents and communications

      generated in connection with the ADI are protected from discovery under the attorney-client and

23    work product privileges. (Dkt. No. 612.)

24           The parties thereafter submitted briefs on the issue (Dkt Nos. 611, 612), and Facebook

25    submitted certain of the withheld documents for in camera review. At the discovery conference

26    on April 6, 2021, the Court expressed her view that much or the ADI documentation is

27    discoverable. While outside counsel's edits and advice might not be discoverable, the underlying

28    facts are discoverable since Facebook would have conducted the investigation regardless of any


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      potential legal liability. (Did. No. 657 at 16-17.) In response Plaintiffs stated that they, in fact, are

      only seeking the underlying facts and not legal advice. In particular, Plaintiffs explained they are

 3    seeking:
                       which apps were in violation or in potential violation of which
 4                     Facebook policies and over what period of time these entities were in
                       violation of these policies and the specific conduct that caused them
                       to be in violation. And that's obviously relevant to our claims
                       regarding whether or not Facebook allowed third parties to access
 6                     user information and whether Facebook properly monitored the
                       disclosure of this information as they claim they did.
 7
      (1d. at 18.) The Court therefore ordered the parties to meet and confer to see if they could agree on
 8
      aproduction. (Dkt. No. 655.)
 9
              By the time of the June 23, 2021 status conference, the parties had not reached agreement.
10
      Accordingly, the Court ordered the parties to submit afurther discovery dispute joint letter brief
11
      by July 2, 2021. (Dkt. No. 693.) They have now done so. (Dkt. No. 699.) Facebook proposes that
12
      it produce the following information as to each App that it suspended as aresult of the
13
      investigation:
14            a. App ID: Each App's unique app identifier.
15           b. App Name: The name of each app.
              c. App Creation Date: The date on which the app was created on the Facebook
16           Platform.

17            d. Ever Installed Users: The number of Facebook users that have ever installed the
             app on Facebook as of April 28, 2019.
18            e. Developer(s): A list of all developer accounts, including user name and user ID,

19           associated with the app, which includes users listed as having the following roles:
              administrator, creator, developer, and disabled.
20            f. Business(es): A list of all businesses identified as being an "Owner" of the app in
              Facebook's records as of April 28, 2019. This is adata field the developer has the
21
              option of including.
22            g. API Call Information:
                       i. A list of the API call permissions granted for each app by users.
23
                       ii. The total number of users that granted the app each permission to access
24                       data through the API as of April 28, 2019.

25    (Dkt. No. 699-1 at 4(footnotes omitted).)

26           Plaintiffs contend that this information omits critical, relevant information. In particular,

27    Plaintiffs seek documents (not created by lawyers) from the "Enhanced Examination phase" that

28    involve background and technical investigations to identify the potential for data misuse.      (Dkt.
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 1    No. 699 at 5.) They also seek documents from the "Enforcement phase," including Facebook

 2    conducted audits and interviews. (1d.) As the Court understands, Facebook has not offered to

 3    produce any of this information. None of these documents were part of the in camera review the

 4    Court earlier conducted.

             Although the Court has before it the declaration in support of privilege that Facebook

 6    submitted in the Massachusetts Attorney General action (Did. No. 699-5), on or before August 2,

 7    2021 Facebook may submit afurther declaration with supporting exhibits in support of its

      assertion that these investigatory materials are privileged from discovery. Plaintiffs may respond

 9    to the declaration and any attached exhibits on or before August 9, 2021. No further briefing is

10    required. Facebook already submitted a25 page brief in support of its privilege assertion.

11           IT IS SO ORDERED.

1?    Dated: July 26, 2021

13

14
                                                                  JAQUEL1NE SCOTT CORLE
15                                                                United States Magistrate Judge
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                                                 UNITED STATES DISTRICT COURT
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                                               NORTHERN DISTRICT OF CALIFORNIA
           11                                       SAN FRANCISCO DIVISION

           12

           13      IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION.
           14                                                            DECLARATION OF ALEXANDER H.
                                                                         SOUTHWELL IN SUPPORT OF
           15      This document relates to:                             FACEBOOK'S POSITION IN THE
                                                                         PARTIES' JULY 2, 2021 LETTER BRIEF
           16      ALL ACTIONS                                           REGARDING ADI PRIVILEGE DISPUTE

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Gibson. Dunn &
                       SOUTHWELL DECLARATION I
                                             NSUPPORT Or FACEBOOK'S POSITION IN THE PARTIES' JULY 2, 2021 LEI rER BRIEF
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                           I. Alexander H. Southwell, hereby declare as follows:

                7          1.        Iam an attorney licensed to practice law in the State of New York. Iam apartner

                3   with the law firm of Gibson, Dunn & Crutcher LLP. Isubmit this declaration in support of Face-

                4   book's position in the parties' July 2, 2021 letter brief regarding their ADI privilege dispute

                5   (Dkt. 699). This declaration is submitted pursuant to the Court's instructions in its July 26, 2021

                6   Order (Dkt. 711) and to provide the facts necessary for the Court to consider Facebook's claim

                7   of privilege. Nothing contained herein should be construed as awaiver of any protection from

                8   disclosure, including without limitation the attorney-client communication privilege and work

                    product doctrine and Facebook reserves all such rights and protections. Imake this declaration

               10   based on my own knowledge, and Iwould testify to the matters stated herein under oath if called

               11   upon to do so.

                                                    The ADD Developer Investigation

               13          2.        Facebook initiated the Application Developer Investigation ("AD!" or the

               14   "Investigation") because, in the wake of the reporting of data misuse by Cambridge Analytica in

               15   March 2018, Facebook anticipated that it would have to respond to known and expected legal

               I.   challenges in connection with applications and developers that may have had access to certain data

               17   because they were active before Facebook placed additional, significant limitations on the amount

               18   and type of data developers could request from users through the Facebook Platform in 2014.

           19              3.        Facebook retained outside counsel (Gibson, Dunn & Crutcher LLP) experienced with

           20       cybersecurity and data privacy internal investigations to design and direct anew investigation that

           21       could, among other things, gather the facts necessary for providing legal advice to Facebook about

           22       litigation, compliance, regulatory inquiries, and other legal risks facing the company resulting from

           23       potential data misuse and activities by third-party app developers operating on the prior version of

           24       Facebook's platform.

           25              4.        Iled the Gibson Dunn team engaged to develop and conduct the Investigation. 1ani a

           26       former federal prosecutor and have more than two decades of experience with large-scale, corporate

           27       investigations, including fluency in privilege law and its application to conducting internal

           28


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                     1   investigations, as well as technology, data privacy, and cybersecurity investigations, which Ibrought

                         to bear in leading the ADI.

                                 5.      As described in the Declaration of Stacy Chen, attached as Exhibit A, alegal-led

                 4       investigation is not Facebook's usual response when the company determines that violations of its

                 5       Platform policies may have occurred. Unlike in the typical case, an attorney-led investigation was

                 6       necessary here because the internal Facebook teams that address potential Platform policy violations

                 7       neither had the capacity nor were they set up to: (i) address the company's legal risks with respect to

                 8       the historical Platform; (ii) address compliance risks with applicable laws regarding the historical

                         Platform; or (iii) assess Facebook's position in pending or anticipated litigation or regulatory

               10        inquiries. Moreover, given the historical focus of the investigation's inquiry, significant investigation

               11        was required to develop the framework and baseline data that would form the foundation of the

               12'       investigation. Unlike Facebook's other enforcement efforts, the ADI is in essence an historical

               13        investigation to try to identify any misuse of data in violation of Facebook's policies and associated

               14        legal liabilities, in connection with the first version of the Platform.

               15                6.      As Ms. Chen explained, in setting up the legally-driven ADI, Facebook anticipated

               16        that it would have to respond to known and expected legal challenges in connection with apps and

               17        developers that may have had access to certain data because they were active before Facebook placed

               18        additional, significant limitations on the amount and type of data developers could request from users

           19            through the Facebook Platform in 2014. From the outset, the company contemplated areview of

           20            potentially millions of apps that would inform the company's legal strategy.

           21                    7.      Facebook anticipated such legal challenges in part because the extensive media

           22            attention surrounding the Cambridge Analytica events almost immediately triggered litigation and

           23            regulatory inquiries, including, for example:

           24                • legal matters related to apps and developers that, like Dr. Aleksandr Kogan and his App,

           25                    thisisyourdigitallife, may have misused information from the time period before Facebook

           26                   placed additional limitations on developers;

           27                • legal matters involving Facebook and its directors and officers alleging, inter alia, violations

           28                   of the U.S. securities laws and breach of fiduciary duties;

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                       • legal matters alleging, inter alia, violations of consumer protection statutes and common law

                           claims for breach of contract and fraud; and

                3      • investigations and potential enforcement actions against the company at both the state and

                4          federal levels and from international regulators.

                5          8.      Exhibit A of the Chen Declaration includes alist of all pending domestic and

                6   international litigation relating to the Cambridge Analytica events and the misuse of user data by

                7   third-party apps as of October 2019, when the declaration was executed. This multitude of threatened

                8   and pending litigation was and is the backdrop of the ADI and, as such, has been the primary driving

                9   force behind the decisions made by Gibson Dunn and Facebook counsel throughout the AD! process

            10             9.      Iled our Gibson Dunn team, and we worked with Facebook's in-house attorneys and

            11      members of Facebook's Partnerships, Data Policy, and DevOps teams on the AD!. Iand my team at

            12      Gibson Dunn also led the recruitment and retention of technical experts and investigators for the

            13      AD!, including two leading forensic consulting firms with expertise in assisting with technology-

            14      focused internal investigations. These firms operated as an extension of the Gibson Dunn team to

            15      support our provision of legal advice to Facebook, and the investigators worked under the direction

            16      of Gibson Dunn and Facebook Legal. The "ADI team," as used herein, is comprised of Gibson Dunn

            17      lawyers and paralegals, our experts from the two leading forensic consulting firms, and Facebook in-

            18      house counsel and internal partners including subject matter experts, all of whom operated at the

            19      direction of counsel. At its largest, the ADI team consisted of over 300 members. Gibson Dunn's

            20      confidential engagement letters with the two leading forensic consulting firms are attached, and filed

            21      under seal, as Exhibits B, C and D.

            22             10.     Gibson Dunn and in-house counsel needed to partner with the outside expert

            23      consulting firms and Facebook personnel to effectively advise Facebook of legal risk. The ADI team

            24      worked at the direction of counsel, relied on counsel's input and guidance, and played anecessary

            25      role in facilitating legal advice by counsel and implementing that advice by the company. The ADI

            26      was an iterative process through which ADI team members, including counsel and subject matter

            27      experts, were able to learn as the investigation progressed. As such, documents initially drafted by

            28      members of the ADI team were generally prepared by or at the direction of counsel, and counsel


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               1   edited or otherwise helped shape their contents to ensure they were serving the legal purpose for

                   which they were created.

               3           11.      Gibson Dunn and in-house counsel took steps to ensure that communications by and

               4   among the ADI team remained confidential and privileged, including by instructing the team to limit

               5   communications about ADI and access to investigatory documents to only employees, consultants,

               6   and counsel who needed access to them for purpose of facilitating legal advice. In addition, materials

               7   created in the course of the ADI were stored securely, with access limited to those necessary to the

               8   investigation.

               9           12.      The three investigative steps of the ADI are laid out in the Chen Declaration at

           10      paragraphs 11-20.

           11                                        Plaintiffs' Requests for Documents

           12              13.      Iunderstand that Plaintiffs have sought certain categories of documents and

           13      information about ADI. Because Facebook has received multiple articulations of these requests, see

           14      Exhibit E, Iaddress the requests as articulated in the July 26, 2021 Order issued by Judge Jacqueline

           15      Scott Corley [Dkt. No. 711] (the "Order").

           16              14.      As described by the Court's order, the first category of documents Plaintiffs seek are

           17      those "documents (not created by lawyers) from the 'Enhanced Examination phase' that involve

           18      background and technical investigations to identify the potential for data misuse." Order at 2(citing

           19      Dkt. No. 699 at 5). Although this category is not entirely clear. as Iunderstand it, this request seeks

           20      all ADI-related documents and communications generated by anon-attorney in connection with any

           21      app specifically examined by one or more background or technical investigation reports.

           22              15.      As described by the Court's order, the second category of documents Plaintiffs seek

           23      are those "documents from the 'Enforcement phase,' including Facebook conducted audits and

           24      interviews." Order at 2(citing Dkt. No. 699 at 5). Although this request is also not entirely clear, I

           25      understand it to seek all documents and communications regarding potential and actual enforcement

           26      against apps or developers, including audits and interviews, regardless of whether such documents

           27      and communications were actually conveyed to third parties and regardless of author.

           28


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                                                      The Enhanced Examination Phase

                            16.     In the Enhanced Examination phase, apps were selected for further review by counsel

                3   through proprietary risk-based approaches based on counsel's assessment of where and how the

                4   greatest legal risk to the company might arise to provide legal advice to Facebook regarding potential

                5   risks and active and potential litigation,

                6           17.     Once an app or developer had been identified for further review based on criteria that

                7   my team had devised, Gibson Dunn and in-house counsel directed our forensic consultants to conduct

                8   intensive background and technical investigations, collect and compile specific evidence that counsel

                    believed particularly salient to their legal analyses, and report their findings to counsel (i.e., the

               10   Enhanced Examination process). A report for asingle developer could include extensive technical

               11   and other details and these reports were specifically tailored by counsel, in substance and format, so

               12   that counsel could evaluate the potential for data misuse and associated legal risks. Reports varied

               13   tremendously based on counsel's instructions and what counsel determined was needed to provide

           14       legal advice and many were hundreds of pages long.

           15               18.     Enhanced Examination also included application of aproprietary model (called the

           16       Risk-Prioritization Formula) developed under the guidance and with the advice of counsel that

           17       assisted in assessing the risks related to access to data, and the associated legal risks to Facebook,

           18       based in part on the permissions granted to apps and the number of users that authorized specific

           19       permissions. The Risk-Prioritization Formula was used exclusively in the ADI to prioritize apps for

           20       review during the Enhanced Examination phase.

           21               19.     Facebook has already produced tens of thousands of pages of communications with

           22       developers regarding apps that were reviewed in the AD! through December 2019 because these

           23       communications with third parties are not privileged, regardless of whether the communications were

           24       created by lawyers or non-lawyers. From these communications, Plaintiffs know the app names, app

           25       IDs, and contact information for the developers associated with many of the apps that the ADI team

           26       assessed through the Enhanced Examination phase.

           27               20.     Beyond those communications with external developers, there are numerous

           28       communications and documents created at the direction of counsel to assist counsel in the provision

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               1   of legal advice and that contain or reveal the mental impressions and advice of counsel. Facebook

                   has not produced these documents because they are privileged. As noted above, Gibson Dunn

               3   worked directly with the rest of the ADI team to design ADI-specific investigation reports to contain

               4   information relevant to counsel's evaluation of the potential for data misuse and associated legal risk.

               5      a.   Background reports. Counsel designed the background reports to capture information

               6           counsel deemed relevant to assessing the risk of data misuse and legal risk to Facebook.

               7           These reports varied in content depending on the particulars of the investigation, as directed

               8           by counsel. For example, Gibson Dunn and Facebook's in-house legal team often sought

               9           different information from different types of developers (e.g., corporate vs. individual), when

           10              providing legal advice.

           11         b.   Technical reports. Counsel devoted substantial time with the rest of the AIM team, to work

           12              through the technical information available about apps and developers on Facebook's

           13              platform. understand the significance of that data, and weigh the value of various technical

           14              details to our legal risk analysis. With our ADI consulting experts, we identified which

           15              details were most relevant to our legal risk analysis for inclusion in the reports. When we

           16              needed amore nuanced understanding about the data to render our legal advice to Facebook.

           17              working with our technical experts, we designed proprietary analytics (that had not before

           18              existed at Facebook and were used exclusively in ADI) in order to score. rank, and better

           19              understand the available data. Because our counsel team consistently had questions about

           20              certain data points to assist in the rendering of legal advice, over time, those questions were

           21              built into the structure of the reports, so that counsel would have the answer at their fingertips

           22              to streamline their legal decision-making process.

           23         c.   To facilitate our attorney review at scale, we instructed the ADI team regarding the criteria

           24              and information that were important to us in rendering our opinion on legal risk, and

           25              requested that they, based on these attorney-selected criteria, include preliminary

           26              recommendations in their reports to facilitate Gibson Dunn's legal advice about the risk of

           27              data misuse.

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               1       d.   In connection with preparation and review of the background and technical investigation

                            reports, there were extensive internal communications with counsel and at the direction of

               3            counsel regarding apps or developers in the Enhanced Examination phase between and among

               4            both attorney and non-attorney members of the ADI team, all of whom worked together to

               5            obtain the information required by Gibson Dunn for the provision of legal advice to

               6            Facebook. Such communications were sent for the purpose of analyzing the legal risk posed

               7            by an app or developer, including whether such legal risk warranted further investigation or

               8            enforcement

               9            21.      Although counsel may not have drafted each of these documents directly. the

           10      documents created as part of the Enhanced Examination phase were created at the direction of

           11      counsel, reflect attorney advice and mental impressions regarding the evidence counsel deemed

           12      important in rendering legal advice, and were directly used by counsel to provide legal advice to

           13      Facebook.

           14                                         The Enforcement Phase of the ADI

           15               22.      The "Enforcement phase" refers to the final phase of ADI. in which counsel reviewed

           16      the results of the investigations prepared at our direction (as explained in paras. 16-21. supra),

           17      recommended next steps to Facebook in-house counsel for approval, and drafted requests for

           18      information or other follow-up sent to developers. If we determined that an information request

           19      response was inadequate, we may have attempted various additional methods of engagement with the

           /0      developer, including conducting interviews or requesting audits of data security or storage

           21      infrastructure.

           22               23.      In consultation with the rest of the ADI team, the Gibson Dunn team also determined

           23      on acase-by-case basis if any additional enforcement action was appropriate, such as suspending the

           24      developer and/or the app. We made recommendations about whether Facebook should take legal

           25      steps, including sending cease and desist letters, or engaging in litigation against developers.

           26               24.      As previously noted, Plaintiffs already have tens of thousands of pages of

           27      communications with developers, many of which refer or relate to the Enforcement phase. including

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               1   audits and interviews specifically, because these communications with third parties are not

                   privileged. These include the RFIs Facebook sent developers and their responses.

               3           25.    Beyond the external documents, there are alarge volume of internal ADI documents,

               4   related to the "Enforcement phase" of ADI. These documents were created by or at the direction of

               5   counsel to facilitate legal advice, and they contain or reveal the mental impressions and advice of

               6   counsel related to enforcement options.

               7      a.   Written Memoranda and Recommendations. Following our review of the materials

               8           created during the Enhanced Examination phase, Gibson Dunn drafted individualized

               9           recommendations containing advice and legal analysis for Facebook in-house counsel

           10              regarding whether to pursue various enforcement methods—including interviews and audits

           11              as well as litigation—and why. Our recommendations often highlighted the information and

           12              open questions most relevant to our team's legal analysis of the risk of data misuse in detail,

           13              and offered arecommended method of either pursuing further engagement to address our

           14              concerns or taking legal measures, as discussed above. Our recommendations also may have

           15              weighed various, competing options for enforcement, along with the strengths and

           16              weaknesses of each.

           17         b.   Draft Internal Documents. In connection with these recommendations, my team at Gibson

           18              Dunn worked with the other internal and external ADI team members to draft other

           19              documents that would guide further engagement or legal action. For example, when assisting

           2(1             counsel to evaluate the potential for further enforcement and associated legal risk, the ADI

                           team frequently prepared memoranda analyzing the adequacy or implication of developer

                           responses to prior enforcement actions and created other internal documents in support of

                           such analysis, like notes and impressions from conversations or other interactions with

           24              developers. At the direction of counsel, the ADI team also often iterated on the content of

           25              potential follow-up communications to developers, the precise points to cover in apotential

           26              interview, or allegations that would be stated in acomplaint. This work was conducted to

           27              provide legal advice to Facebook.

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               1      c.   In connection with the drafting of these documents and the provision of the legal advice

               7           contained therein, there were extensive internal communications at the direction of counsel

               3           among and between both attorney and non-attorney members of the AD! team. all of whom

               4           worked together for Gibson Dunn to provide legal advice to Facebook. These

               5           communications were often sent for the purpose of discussing these recommendations, and

               6           draft internal documents composed in connection with those recommendations, like draft

               7           complaints and interview outlines, were all necessary for the provision of legal advice.

               8           26.    Iam aware that at various times the Plaintiffs have emphasized to the Court that they

               9   seek "the facts underlying the investigation," April 6. Hearing Tr. 18:3 [Dkt. No. 657], and "not legal

           10      advice," Order at 2(citing id.). Indeed, at mediation sessions in which Iparticipated over the course

           11      of four months, Plaintiffs suggested that Facebook could satisfy their requests for "facts underlying

           12      the investigation" by producing specific data points Plaintiffs sought about certain apps addressed

           13      through ADI. Facebook offered to produce data for alist of apps already requested by and produced

           14      to Plaintiffs, as well as other information, subject to anon-waiver agreement. At the final mediation

           15      on this issue, Plaintiffs presented amaterially different request that also sought large volumes of

           16      internal AD1 emails and documents. See Dkt. 699-2. Facebook continues to be willing to provide the

           17      data it previously offered to provide Plaintiffs so long as producing that information will not be

           18      construed to waive Facebook's claim of privilege or the work-product protection with respect to ADI.

           19              27.    Attached as Exhibit E is adocument laying out three steps that would need to occur

           20      for Facebook to execute any order requiring Facebook, over its objection, to comply with Plaintiffs'

           21      additional AD1 requests. As noted above and in Exhibit E, the scope of Plaintiffs' requests is not

           22      clear, and may reach many millions of documents. To the extent Plaintiffs seek underlying

           23      information about apps relevant to their claims (as Plaintiffs repeatedly indicated they sought

           24      throughout the parties' mediations), it remains far more efficient for Facebook to produce that factual

           25      information directly in response to an appropriately scoped discovery request than it would be to

           26      collect and review millions of pieces of AN-related communications and documents to determine if

           27      they contain any factual information that can somehow be extracted from the accompanying

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               1   privileged discussions—an exercise that would be extremely burdensome and would likely take many

                   months (if not more) to complete.

               3

               4          Ideclare under penalty of perjury under the laws of the United States of America that the

               5   foregoing is true and correct. Executed on August 2. 2021 in New York, New York.

               6

               7

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                                                                                      Alexander H. Southwell
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 4                                  UNITED STATES DISTRICT COURT

 5                               NORTHERN DISTRICT OF CALIFORNIA

 6

 7      IN RE: FACEBOOK, INC. CONSUMER                     Case No. 18-md-02843-VC        (JSC)

 8      PRIVACY USER PROFILE LITIGATION
                                                           ORDER GRANTING MOTION TO
 9                                                         COMPEL ADI MATERIALS

10                                                         Re: Dkt. Nos. 611, 612, 699, 711, 719, 720,

11                                                         721, 727, 729

12

13            In early 2018, the public learned that "Cambridge Analytica, aBritish political consulting

14    firm, used personal information from millions of Facebook accounts to send targeted political

15    messages during the 2016 presidential election." in re Facebook, Inc. Consumer Privacy User

16    Prcfile Litigation, 402 F.Supp.3d 767, 777 (N.D. Cal. Sep. 9, 2019). "In the months that followed,

17    reports emerged suggesting that the ability of ...entities like Cambridge Analytica to obtain

18    sensitive Facebook user information was the norm rather than the exception." Id. Following the

19    disclosure, Facebook initiated an app developer investigation (ADI) that involved areview of all

20    "apps that had access to large amounts of data before [Facebook] changed [its] platform policies in

21    2014." See https://about. fb.com/news/2019/09/an-update-on-our-app-developer-investigati

      As the ADI, or, more precisely, the information the ADI uncovered, is directly relevant to

23    Plaintiffs' claims in this MDL action, Plaintiffs seek information learned from and generated by

24    the ADI. While Facebook has agreed to produce some data, it resists disclosure of reports, audits

25    and interviews created or conducted by non-attorneys on the grounds that such documents are

26    protected by attorney-work product or the attorney-client privilege. After several rounds of

27    briefing and attempts among the parties to resolve, or at least narrow, the dispute, the issue is now

28    ripe for decision.


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 1                                        DOCUMENTS AT ISSUE

             Facebook's ADI consisted of three phases: (1) Detection and Identification of offending

 3    apps, (2) Enhanced Examination, and (3) Enforcement. In the Enhanced Examination Phase, the

 4    ADI forensic team conducted intensive background and technical investigations of the identified

 5    apps that, among other things, might identify the potential for data misuse. (Dkt. No. 699-5 ¶17.)

 6    In the Enforcement phase, to assist Facebook with deciding whether to take action against an app,

 7    additional investigation might be conducted including interviews or audits of data security or

 8    storage infrastructure. (Id. ¶ 19.). Plaintiffs seek material from the second and third phases that

 9    does not involve communications with lawyers or content created by lawyers. While Facebook

10    has agreed to produce some information (Dkt. No. 699-1 at 4), it refuses on privilege grounds to

11    produce the reports, audits and interviews, and non-attorney communications related to the same.

12                                                ANALYSIS

13           The parties agree that federal law governs this dispute. (Dkt. Nos. 611-2 at 16, 612-2 at 12,

14    699 at 4, 727 at 5n.1) (applying federal law).) "The work product doctrine protects from

15    discovery documents and tangible things prepared by aparty or his representative in anticipation

16    of litigation." United States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011). "To qualify for work-

17    product protection, documents must: (1) be 'prepared in anticipation of litigation or for trial' and

18    (2) be prepared 'by or for another party or by or for that other party's representative." In re

19    Grand Jury Sutpoena (Mark Tod/Toif Envtl. Mgmt, 357 F.3d 900, 907 (9th Cir. 2004). A finding

20    that adocument was prepared in anticipation of litigation, however, does not always end the

71    inquiry.

22                   In circumstances where adocument serves adual purpose, that is,
                     where it was not prepared exclusively for litigation, then the "because
23                   of' test is used. Dual purpose documents are deemed prepared
                     because of litigation if in light of the nature of the document and the
24                   factual situation in aparticular case, the document can be fairly said
                     to have been prepared or obtained because of the prospect of
25                   litigation. In applying the because of standard, courts must consider
                     the totality of the circumstances and determine whether the document
26                   was created because of anticipated litigation, and would not have been
                     created in substantially similarform butfor the prospect cf litigation.
27

28    Richey, 632 F.3d at 567-68 (emphasis added). The party resisting production of material based on
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      the work product privilege bears the burden of proving that the privilege applies. See Hernandez v.

 2    Tanninen, 604 F.3d 1095, 1102 (9th Cir. 2010).

 3           Facebook has met its burden of proving that the documents were prepared in anticipation

 4    of litigation. Shortly before Facebook initiated the ADI, anationwide consumer class action was

 5    filed against Facebook in this Court. (Dkt. No. 1). Within weeks, more than 40 actions were filed

 6    which were consolidated into this Multi-District Litigation. Facebook offers evidence that the

 7    ADI was launched in part to address potential regulatory and litigation risks posed by apps that

 8    had been on the Facebook platform since before Facebook changed in policies in 2014. (Dkt. No.

 9    699-5, Dkt. No. 720.)

10           Facebook's own public pronouncements about the ADI, however, demonstrate that the

11    documents were not created exclusively in anticipation of litigation and that, in fact, Facebook

12    would have conducted the ADI in substantially similar form even in the absence of potential

13    litigation. See Richey, 632 F.3d at 568.

14           On March 21, 2018, Mark Zuckerberg, Facebook's CEO, publicly posted:

15
                     Iwant to share an update on the Cambridge Analytica situation—
16                   including the steps we've already taken and our next steps to address
                     this important issue.
17
                     We have aresponsibility to protect your data, and if we can't then
18                   we don't deserve to serve you. I've been working to understand
                     exactly what happened and how to make sure this doesn't happen
19
                     again.
20
                     [W]e already took the most important steps afew years ago in 2014
 1                   to prevent bad actors from accessing people's information in this
                     way. But there's more we need to do and I'll outline those steps
22                   here:

23
                     First, we will investigate all apps that had access to large amounts of
24                   information before we changed our platform to dramatically reduce
                     data access in 2014, and we will conduct afull audit of any app with
25                   suspicious activity. We will ban any developer from out platform
                     that does not agree to athorough audit. And if we find developers
26                   that misused personally identifiable information, we will ban them
                     and tell everyone affected by those apps.
27

28    Mr. Zuckerberg concluded:

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                     Istarted Facebook, and at the end of the day I'm responsible for
                     what happens on our platform. I'm serious about doing what it takes
                     to protect our community. While this specific issue involving
 3                   Cambridge Analytica should no longer happen with new apps today,
                     that doesn't change what happened in the past. We will learn from
 4                   this experience to secure our platform further and make our
                     community safer for everyone going forward.


 6    https://www.facebook. com/zuck/posts/1010471203790007. This statement specifically identifies
 7    the purpose of the ADI as serving Facebook's business goal of protecting Facebook's customers'
 8    data by figuring out what happened, how it happened, and removing apps that misused customers'
 9
      data so that Facebook could "secure our platform further and make our community safer for
10    everyone going forward." id.
11           Two months later, Facebook updated the public on the "app investigation and audit" Mr.
12    Zuckerberg promised on March 21, 2018.

13
                     The investigation process is in full swing, and it has two phases.
14                   First, acomprehensive review to identify every app that had access
                     to this amount of Facebook data. And second, where we have
15                   concerns, we will conduct interviews, make requests for information
                     (RFI)—which ask aseries of detailed question about the app and the
16
                     data it had access to—and perform audits that may include on-site
17                   inspections.

18                   We have large teams of internal and external experts working hard
                     to investigate these apps as quickly as possible. To date thousands
19                   of apps have been investigated and around 200 have been
                     suspended—pending athorough investigation into whether they did
20
                     in fact misuse any data. Where we find evidence that these or other
21                   apps did misuse data, we will ban them and notify people via this
                     websitc. It will show people if they or their friends installed an app
22                   that misused data before 2015—just as we did for Cambridge
                     Analytica.
23
                     There is alot more work to be done to find all the apps that may
24
                     have misused people's Facebook data—and it will take time. We are
25                   investing heavily to make sure this investigation is as thorough as
                     possible. We will keep you updated on our progress.
26

27    https://fb.cominew/2018/05/update-on-app-auditi. This statement again demonstrates that a"core

28    purpose" of the ADI was abusiness rather than legal purpose: to assure its customers that it was

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 1    conducting athorough investigation to remove bad apps and advise customers if their data may

      have been misused. And the ADI was being conducted "as quickly as possible," —not because of

 3    fast-tracked litigation, as the pace of this MDL surely demonstrates—but because of the need to

 4    weed out the bad apps to protect Facebook's consumers, its good will, and its business.

 5           Facebook provided afurther update on "our ongoing App Developer Investigation" on

 6    September 20, 2019. Facebook explained that its investigation

 7                   has involved hundreds of people: attorneys, external investigators,
                     data scientists, engineers, policy specialists, platform partners and
                     other teams across the company. Our review helps us to better
                     understand patterns of abuse in order to root out bad actors among
 9
                     developers.

10    Facebook explained further

11                   that where it has concerns, it "conduct[s] a more intensive
                     examination. This includes background investigation of the developer
12                   and a technical analysis of the app's activity on the platform.
                     Depending on the results, arange of actions could be taken from
13                   requiring developers to submit to in-depth questioning, to conducting
                     inspections or banning an app from the platform.
14
      https://about.tb.com/news/2019/an-update-on-our-app-developer-investigation/. Facebook told
15
      the public about its investigation, including the background and technical analysis it now claims is
16
      privileged work product, to assure the public that Facebook was cleaning up its platform and thus
17
      generate trust in its site—a classic business purpose. The ADI team members Facebook identified
18
      were enlisted to help Facebook "better understand patterns of abuse in order to root out bad
19
      actors."
20
             In light of Facebook's own statements, the Court finds that Facebook would have
21
      conducted the ADI in substantially the same form even in the absence of potential litigation; that

      is, that Facebook did not initiate the ADI because of the prospect of litigation. See Phoenix Tee/is.
23
      Ltd. v. VAlware, Inc., 195 F. Supp. 3d 1096, 1105 (N.D. Cal. 2016) (holding that dual purpose

      documents were not protected work product because they served abusiness purpose independent

      of litigation). Facebook's assertion that the ADI served only alitigation purpose (Dkt. No. 727 at
26
      3) is patently implausible in light of Facebook's public pronouncements. It is inconceivable that
27
      Facebook would not have initiated aspeedy, large-scale-subject matter specialist investigation into
28

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 1    app data misuse in the absence of potential litigation. Such assertion could only be true if the

      Court found that Facebook was lying to the public when it stated that the purpose of the ADI was

 3    to root out bad apps and secure Facebook's platform so that consumers could have faith in the

 4    company. Facebook, unsurprisingly, does not offer any evidence to support such afinding.

 5    Indeed, after asking the Court for the opportunity to submit additional evidence, it provided a

 6    declaration from outside counsel which does not even acknowledge these statements. There is no

 7    evidence from anyone at Facebook that addresses the repeated public proclamations as to the

 8    obvious business purpose of the ADI.

 9           Facebook's suggestion that these materials may also be protected by the attorney-client

10    privilege is unpersuasive given that Plaintiffs are not seeking documents created by counsel,

11    counsel's edits, or any communications with counsel. Facebook has not explained how anon-

12    attorney's interview or audit of adeveloper would be protected from discovery by the attorney-

13    client privilege under federal law. At best such material would be attorney work product. For the

14    reasons explained above, it is not under the totality of the circumstances here given Facebook's

15    public exhortations of the business purpose behind its ADI.

16                                          MOTION TO STRIKE

17           Facebook moves to strike Plaintiffs' response to Facebook's supplemental declaration.

IS    (Dkt. No. 727.) For the most part the response addresses the declaration and thus is

19    unobjectionable. The new argument as to the attorney-client privilege "primary purpose" test is

20    stricken and, in any event, is moot as the Court is not addressing the application of the attorney-

      client privilege. The documents discussed in this Order—background and technical reports,

      audits, and interviews prepared and conducted by non-attorneys—are work product, not attorney-

      client privilege material. The Court has nonetheless reviewed Facebook's motion to strike's

      substantive arguments, including the cases buried in footnote 1, and none persuade the Court

      otherwise.

26                                              CONCLUSION

27           In light of Facebook's unchallenged public proclamations as to the business purpose of the

28    ADI, the Court finds that the ADI served adual purpose and that, as ageneral matter, documents

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                                   1    generated as part of that investigation were not created because of litigation. On or before

                                   2    September 21, 2021, Facebook shall produce the background and technical reports, audits and

                                   3    developer interviews of the six exemplar apps chosen by the parties as Facebook has offered no

                                   4    special reasons why those particular documents are privileged other than what has been addressed.

                                   5    The parties shall work with the Special Master regarding production of additional materials

                                   6    consistent with the guidance offered by this Order.

                                   7           This Order disposes of Docket Nos. 611, 612, 699, 720, 727.

                                   8           IT IS SO ORDERED.

                                   9    Dated: September 8, 2021

                                  10

                                  11
                                                                                                       CI ELINE SCOTT CORL
                                  12                                                                 United States Magistrate Judge
Northern District of California
 United States District Court




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From:                                Kutscher Clark, Martie
Sent:                                October 8, 2021 1:52 AM
To:                                  David Ko; Snyder, Orin; Stein, Deborah L.; Falconer, Russ; Mumm, Laura C.
Cc:                                  Derek Loeser; Carl Laufenberg; Benjamin Gould; Chris Springer; Lesley Weaver; Matt
                                     Melamed; Anne Davis; Daniel Garrie; Gail Andler (judgeandler@icloud.corn)
Subject:                             Re: ADI



David,


There are many inaccuracies in your email below.


First, Facebook produced the letter from Mr. Southwell to              dated March 30, 2018 on July 8, 2020. Plaintiffs
have had this letter for more than 18 months.


The letter from Mr. Southwell dated March 13, 2019 was not previously produced because it appears Facebook's
                        email account was not copied on the transmission of this particular letter. Of course we did not
represent that we had located and produced every single communication any agent of Facebook ever had with athird
party relating to ADI. Facebook represented that it was not asserting privilege over third party communications
responsive to RFP 21. As you know, the parties agreed in May 2020 that Facebook would conduct atargeted collection
in response to this RFP, and we discussed at that time that Facebook would do so by collecting materials from an email
account it used in connection with ADI (the                        account). As we discussed,




Second, you suggest Facebook has not produced all of the documents Judge Corley ordered Facebook to produce on
September 9. Facebook has. Our September 21 production includes background and technical reports associated
with each of the six exemplar apps, as well as two Cease & Desist letters to                           1which each
separately demand an audit in the bolded paragraph on the first page of the letters. To be clear, although Facebook
made this audit demand to                                ADI did not conduct audits or developer interviews for any
of these apps.


We are happy to meet and confer about next steps under Judge Coley's order. As you know, this week has been difficult
to schedule as we have been focused on mediation efforts. We suggest it would be most productive to meet and confer
next week when everyone on our team and at our client can focus more on this issue. Please let us know what days you
are available.


Finally, you suggest we have been unduly delayed in taking afew days to look into your questions and respond to
them. As you know this case has many moving parts, and we appreciate everyone's professional courtesy as we work
through issues. We note that we currently have numerous outstanding inquiries to Plaintiffs, some of which have been
pending for six months. We are awaiting responses on at least the following items:


      •    Ms. Mumm's September 15 email regarding the date ranges for certain of Plaintiffs' discovery requests


      •    Ms. Mumm's September 16 email regarding Plaintiffs' request for further information relating to the Named
           Plaintiffs


      •    Ms. Stein's September 21 letter regarding the Named Plaintiffs' depositions


      •    Mr. Swanson's September 24 email regarding search terms for the Named Plaintiffs' documents

                                                               1

                                                                                                                           1009
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    •   Ms. Stein's April 1letter regarding the Named Plaintiffs' Data, Business Partners, and other items.


    •   Ms. Herbert's August 18 email regarding Named Plaintiffs' responses to Facebook's Interrogatory No. 1. While
        Plaintiffs' have provided certain information concerning Ms. Burk they have yet to provide information
        concerning the balance of Ms. Herbert's email.


    •   Ms. Stein's October 7letter regarding deposition dates.


Thank you,
Marne



&ladle Kutscher Clark

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From: David Ko <dko@KellerRohrback.com>
Date: Wednesday, October 6, 2021 at 10:00 AM
To: "Kutscher Clark, Martie" <MKutscherClark@gibsondunn.com>, "Snyder, Orin"
<OSnyder@gibsondunn.com>, "Stein, Deborah L." <DStein@gibsondunn.com>, "Falconer, Russ"
<RFalconer@gibsondunn.com>, "Mumm, Laura C." <LMumm@gibsondunn.com>
Cc: Derek Loeser <dloeser@KellerRohrback.com>, Can Laufenberg <claufenberg@KellerRohrback.com>,
Benjamin Gould <bgould@KellerRohrback.com>, Chris Springer <cspringer@KellerRohrback.com>, Lesley
Weaver <lweaver@bfalaw.com>, Matt Melamed <mmelamed@bfalaw.com>, Anne Davis
<adavis@bfalaw.com>, Daniel Garrie <DGarrie@jamsadr.com>, "Gail Andler (judgeandler@icloud.com)"
<judgeandler@icloud.com>
Subject: RE: ADI


[WARNING- External Email]

Counsel,


We are also following up on the below and our request to meet and confer regarding ADI. On September 24, we
specifically identified additional materials Facebook should produce consistent with Judge Corley's order and asked for a
date you could meet and confer. On September 29, you said you were considering our request and proposed conferring
on Thursday, October 7. We responded on September 30 asking for an earlier time to talk. You didn't respond.


Please let us know when you're available to meet and confer before Friday. In the alternative, please provide aresponse
to our request in writing before Friday. If you don't provide atime to meet and confer or provide awritten response to
our request before Friday, we will ask Special Master Garrie to conduct ahearing regarding Facebook's additional
production of ADI materials. Thank you.



David Ko
Attorney -Complex Litigation
Keller Rohrback L.L.P.

                                                            2
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From: David Ko
Sent: Thursday, September 30, 2021 10:25 AM
To: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Snyder, Orin <OSnyder@gibsondunn.com>; Stein,
Deborah L. <DStein@gibsondunn.com>; Falconer, Russ <RFalconer@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>
Cc: Derek Loeser <dloeser@KellerRohrback.com>; Can Laufenberg <claufenberg@KellerRohrback.com>; Benjamin Gould
<bgould@KellerRohrback.com>; Chris Springer <cspringer@KellerRohrback.com>; Lesley Weaver
<lweaver@bfalaw.com>; Matt Melamed <mmelamed@bfalaw.com>; Anne Davis <adavis@bfalaw.com>; Daniel Garrie
<DGarrie@jamsadr.com>; Gail Andler (judgeandler@icloud.com)<judgeandler@icloud.com>
Subject: RE: ADI


Martie —are you available to confer earlier on either Monday 10/4 or Tuesday 10/5? Next Friday is out given the all-day
mediation w/ Judge Gahndi. We are happy to discuss just the third item while you look into the first two so we can make
progress. We can be available on Monday between 11-1 and Tuesday afternoon any time after 3. Thank you.



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From: Kutscher Clark, Martie <MKutscherClark@_gibsondunn.com>
Sent: Wednesday, September 29, 2021 11:12 AM
To: David Ko <dko@KellerRohrback.com>; Snyder, Orin <OSnyder@gibsondunn.com>; Stein, Deborah L.
<DStein@gibsondunn.com>; Falconer, Russ <RFalconer@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>
Cc: Derek Loeser <dloeser@KellerRohrback.com>; Carl Laufenberg <claufenberg@KellerRohrback.com>; Benjamin Gould
<lagould@KellerRohrback.com>; Chris Springer <cspringer@KellerRohrback.com>; Lesley Weaver
<lweaver@bfalaw.com>; Matt Melamed <mmelamed@bfalaw.com>; Anne Davis <adavis@bfalaw.com>; Daniel Garrie
<DGarrie@iamsadr.corn>; Gail Andler (judgeandler@icloud.com)<iudgeandler@icloud.com>
Subject: Re: ADI


Hi David,


We are looking into the questions you raise below and we are happy to discuss next week. Why don't we plan to meet
and confer next Thursday or Friday, after the mediation with Judge Gandhi. Please let us know what times you have
available those days.



                                                                              3
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Thanks,
Martie

Martie Kutscher Clark


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From: David Ko <dkodKellerRohrback.corn>
Date: Friday, September 24, 2021 at 7:49 PM
To: "Snyder, Orin" <OSnyder@gibsondunn.corn>, "Stein, Deborah L." <DStein@gibsondunn_com>, "Falconer,
Russ" <RFalconer@gibsondunn.com>, "Kutscher Clark, Martie" <MKutscherClark@gjbsondunn.com>, "Mumm,
Laura C." <LMumm@gibsondunn.com>
Cc: Derek Loeser <dloeser@KellerRohrback.corn>, Can Laufenberg <claufenberg@KellerRohrback,com>,
Benjamin Gould <bgould@KellerRohrback.com>, Chris Springer <cspringer@KellerRohrback.com>, Lesley
Weaver <lweaveil:t)bfalaw.com>,
                -               Matt Melamed <mmelamed@bfalaw.com>, Anne Davis
<adavis@bfalaw.com>, Daniel Garrie <DGarrie@jamsadr.com>, "Gail Andler (judgeandler@icloud.com)"
<iudgeandler@icloud.corn>
Subject: ADI


[WARNING: External Email]

Counsel,


We write to follow up on our prior correspondence regarding ADI on September 11, and your production of 11
documents earlier this week in response to Judge Corley's September 9order granting Plaintiffs' motion to compel ADI
materials. Doc. 736.


We first note that of the 11 documents you produced, two are letters to third-party app developers. This is surprising to
us since you previously represented several times that you already produced all such communications. See e.g., June 19,
2020 Hr'g T. 14:23-15:2 (Mr. Snyder: "[W]e did identify third parties with respect to which we took certain enforcement
measures. We sent them letters. We terminated them. In afew cases, we sued them. All of Facebook's communications
with those third parties are fair game. We're going to produce those."); Facebook's Brief in Opposition to Plaintiff's
Request for ADI Materials, Doc. 612 at 5("Facebook further agreed to collect and produce non-privileged materials
relating to the Investigation and already produced more than 30,000 pages of non-privileged materials from the
Investigation, which are communications with third parties about the Investigation."); Joint Discovery Dispute Letter to J.
Corley, Doc. 699-1 ("Facebook has produced awealth of information: ... Facebook's requests to and communications
with the developers."). Contrary to these representations, you clearly have not produced all communications with third
parties seeking your enforcement measures in light of your production of these two letters. Please produce all such
communications immediately. We reserve all rights with respect to your prior inaccurate representations to Plaintiffs
and the Court with regard to these communications.


Second, Judge Corley's Sept. 9Order required Facebook to produce "background and technical reports, audits and
developer interviews ..." Doc. 736 at 7. The 11 documents you produced consisted of 9memoranda from
and                    — Facebook's outside consultants for ADI —and two cease and desist letters as noted above. Please
confirm that you have not withheld any other documents pertaining to the six exemplar apps referenced in the Sept. 9
Order. If you have withheld any materials, please immediately provide the basis for doing so.


                                                              4
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Third, as required by Judge Corley's order to work with Special Master Garrie regarding the production of additional
materials related to ADI and our prior request to meet and confer after review of your production, we request all
memoranda prepared IDN1                             and/or                        related to ADI of all apps it investigated or investigated
at Facebook's direction, the background and technical reports, audits, and developer interviews, and internal Facebook
communications regarding these materials (including those pertaining to the six exemplar apps).


We are available to confer next week on these issues if necessary. Thank you.



David Ko
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                       EXHIBIT M
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 4      dloeser@kellerrohrback.com                    lweaver@bfalaw.com



        Plaintiffs' Co-Lead Counsel

        Additional counsel listed on signature page


                                  UNITED STATES DISTRICT COURT
 1)
                                NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
10

11
         IN RE: FACEBOOK. INC. CONSUMER                MDL No. 2843
12       PRIVACY USER PROFILE LITIGATION               Case No. 18-md-02843-VC-JSC

13                                                     PLAINTIFFS' STATEMENT
         This document relates to:                     CONCERNING THE AD! ISSUES IN
14                                                     ADVANCE OF HEARING
         ALL ACTIONS
15                                                     Judge: Hon. Vince Chhabra
                                                       Hon. Jacqueline Scott Corley
16                                                     Special Master Daniel Garrie
                                                       Courtroom: 4, 17th Floor
17
                                                       JAMS Ref. No.: 12000586 74
18
                                                       ORAL ARGUMENT REQUESTED
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                  Pursuant to the Special Master's October 15. 2021 email Order. Plaintiffs submit the

 2      following preliminary statement concerning the ADI issues.

        I.        ISSUE

 4                Judge Corley has held that -the ADI served adual purpose and that. as ageneral matter,

        documents generated as part of that investigation were not created because of litigation." Dkt. No.

 6      736 at 6-7. She directed Plaintiffs to work with Facebook and the Special Master regarding

 "7     production of additional ADI materials consistent with the Order. The issue now before the Special

 8      Master is what additional ADI materials should Facebook produce?

 9
                  EXAMPLE OF ISSUE
10
                  While Plaintiffs believe the Order justifies the production of abroader scope of documents.
11
        as an interim step and to expedite production, Plaintiffs request that Facebook produce the
12
        following related to phases two and three of the ADI:
13
                      1.   All memoranda prepared by                      or
14
                      2.   All background reports, technical reports, audits, and developer interviews;
15
                      3.   All internal Facebook communications relating to items 1and 2;
16
                      4.   All communications with                   or                  related to items 1and
17
                           2; and
18
                      5.   All conununications with third-party app developers.'
19
                  The parties met and conferred about Plaintiffs' requests on October 12. Facebook failed to
20
        offer aproposal for how it planned to comply with Judge Corley's Order, including its guidance to
21
        produce "additional [ADI] materials consistent with the guidance offered by this Order." Dkt. No.
22
        736 at 2.
13


14



25           ADI consisted of three phases: (1) Detection and Identification of offending apps. (2) Enhanced
        Examination, and (3) Enforcement. See Dkt. No. 736 at 2.
26
        2See June 19, 2020 Hr'g T. 14:23-15:2 (Facebook's counsel: "[W]e did identify third parties with
27      respect to which we took certain enforcement measures. We sent them letters. We terminated
        them. In afew cases, we sued them. All of Facebook's communications with those third parties
28      are fair game. We're going to produce those.")
        PLAINTIFFS STATEMENT                                                                      MDL No. 2843
        CONCERNING ADI ISSUES                                                      CASE No. 18-No-02843 -VC-J SC
                                                                                      JAMS REF. No.: 1200058674
                                                                                                            1016
     Case 3:18-md-02843-VC Document 804-3 Filed 01/11/22 Page 1021 of 1031



       III.    PLALNTIFFS' POSITION

 2             Under the dual-purpose doctrine and pursuant to Judge Corley's Order. Dkt. No. 736,

       Plaintiffs are entitled to production of the materials requested above. The Order granted Plaintiffs'

 4     motion to compel Facebook to produce "material from the second and third phases" of the ADI. Id.

 5     at 2. The second phase concerned "Enhanced Examination"; the third. "Enforcement." Id. The

 6     Court explained that. because "Facebook would have conducted the ADI in substantially the same

       form even in the absence of potential litigation." the materials Plaintiffs moved to compel are not

 8     protected from production. Id. at 6; see United Stares v Richey, 632 F. 3d 559, 568 (9th Cir. 2011)

 9     (where a document was not prepared exclusively for litigation, it qualifies for work-product

10     protection only if it   would not have been created in substantially similar form but for the prospect

11     of litigation') (citations omitted); see also In re Grand Jun. 13 F.4th 710 (9th Cir 2021) (dual-

12     purpose attorney-client communications are protected only where the primary purpose concerns

13     legal advice that may not have been provided absent the privilege).

14             As a first step, the Court ordered Facebook to "produce the background and technical

15     reports, audits and developer interviews" of six exemplar apps previously identified by the parties

16     for the purpose of briefing. Id. at 6-7. In response, Facebook produced 11 documents. Nine were

17     memoranda prepared by                       01                   two external consultants Facebook

18     retained to assist with ADI. These memoranda contain awealth of relevant information about why

19     these apps were being investigated and what user data they collected. On October 12. Facebook

20     asserted its production relating to the six exemplar apps was complete. However, Facebook's

21     privilege logs concerning those apps identify numerous reports, including 99 reports without

22     counsel listed, which are not or are exceedingly unlikely to be privileged. Facebook should

23     complete its production for the six exemplar apps. Facebook should also produce all such

14     memoranda for any apps or developers investigated in phases two or three of the ADI. all other

       additional or related "background reports, technical reports, audits, and developer interviews" for

26     all apps or developers investigated in phases two or three of the ADI, and any internal Facebook

27     communications regarding the ADI--in particular, apps investigated during phases two or three of

28
       PLAINTIFFS STATEMENT                                                                    MDL No 2843
       CONCERNING ADI ISSUES                                                    CASE No. 18-mD-02843-VC-JSC
                                                                                   JAMS REF. No.: 1200058674
                                                                                                         1017
     Case 3:18-md-02843-VC Document 804-3 Filed 01/11/22 Page 1022 of 1031



       the ADI. In addition. Facebook should produce all conununications with                   or.

 2     regarding the ADI. The Order provides Facebook no basis for withholding any of these

       communications. Finally, Facebook should produce all third-party communications related to ADI;

 4     despite earlier representations it would produce all such documents, it recently produced two

       additional letters, and conceded that it has not.

 6

        Dated: October 22. 2021
                                                           Respectfully submitted,

        KELLER ROHRBACK L.L.P.                             BLEICHMAR FONTI & AULD LLP
 9
        By:     ,s 'Derek W. Loeser                        By:    r/s. Lesley E. Weaver
10              Derek W. Loeser                                   Lesley E. Weaver

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        Carl Campen Laufenberg (admitted pro liac vice)    Anne K. Davis (SBN 267909)
12      David Ko (admitted pro liac vice)                  Matthew S. Melamed (SBN 260272)
        Adele A. Daniel (admitted pro liac vice)           Angelica M. Ornelas (SBN 285929)
13      Benjamin Gould (SBN 250630)                        Joshua D. Samra (SBN 313050)
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15      Fax: (206) 623-3384                                Fax: (415) 445-4020
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"
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        Plaintiffs' Co-Lead Counsel
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24

25

26

17



28
       PLAINTIFFS STATEMENT                                                               MDL No. 2843
       CONCERNING AD1 ISSUES                                               CASE No. 18-MD-02843-VC-JSC
                                                                              JAMS REF. No.: 1200058674
                                                                                                   1018
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                       EXHIBIT N
                     Case 3:18-md-02843-VC Document 804-3 Filed 01/11/22 Page 1024 of 1031


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                6      klinsley@gibsondunn.com                        jlipshutz@gibsondunn.com
                     Martie Kutscher (SBN 302650)                   1050 Connecticut Avenue, N.W.
                7      mkutscherclark@gibsondunn.com                Washington, DC 20036-5306
                     555 Mission Street, Suite 3000                 Telephone: 202.955.8500
                8    San Francisco, CA 94105-0921                   Facsimile: 202.467.0539
                     Telephone: 415.393.8200
                9
                     Facsimile: 415.393.8306

               I()   Attorneys for Defendant Facebook, Inc.

               11
                                                   UNITED STATES DISTRICT COURT
               12                                 NORTHERN DISTRICT OF CALIFORNIA
                                                      SAN FRANCISCO DIVISION
               13

               14
                     1N RE: FACEBOOK, INC. CONSUMER                      MDL NO. 2843
               15    PRIVACY USER PROFILE LITIGATION                     CASE NO. 3:18-MD-02843-VC-JSC

               16                                                        FACEBOOK'S SUPPLEMENTAL
                     This document relates to:                           SUBMISSION RE AD!
               17
                     ALL ACTIONS                                         Judge: Hon. Vince Chhabria
               18                                                        Hon. Jacqueline Scott Corley
                                                                         Special Master Daniel Garrie
               19                                                        Courtroom: 4, 17th Floor

           20                                                            JAMS Ref. No.: 1200058674

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                                                 FACEBOOK'S SUPPLEMENTAL SUBMISSION READI
Crutcher LLP
                                                       CASE No. 3:18-MD-02843-VC-
                                                                                JSC
                                                                                                         1020
                      Case 3:18-md-02843-VC Document 804-3 Filed 01/11/22 Page 1025 of 1031


                1            In response to the Special Master's Order dated October 15, 2021 regarding ADI, Facebook

                -)   states as follows:

                3            Issue #1: Plaintiffs identify two letters to the developer                           'that

                4    Facebook included in its September 21 production of ADI materials pursuant to Judge Corley's ADI

                5    Order. Plaintiffs say these letters were not produced previously, which they believe conflicts with

                6    Facebook's prior representations about its productions. Plaintiffs say Facebook previously

                7    represented that it had produced all correspondence with developers in connection with ADI.

                8            Example: Plaintiffs identify two letters (i) aletter from Alexander H. Southwell of Gibson

                9    Dunn to                              dated March 30, 2018; and (ii) aletter from Mr. Southwell to

               10                                dated March 13, 2019.

               11            Facebook's Position: Plaintiffs' representations are wrong. The March 30, 2018 letter from

               12    Alexander H. Southwell to                               was produced to Plaintiffs on July 8, 2020 as

               13    Bates Number FB-CA-MDL-01159181. It is incorrect that Facebook produced this letter for the first

               14    time last month; Plaintiffs have had this letter for over 15 months. Mr. Southwell's second, March

            15       13, 2019, letter was not produced previously. This is because it was not within the set of materials

            16       the parties agreed would be collected and produced in response to Plaintiffs' RFP 21, which requests:

               17    "Communications between Facebook and Third Parties relating to the ADI, including but not limited

               18    to Communications that Facebook provided to the Massachusetts Attorney General's Office."

               19            For each of Plaintiffs' RFPs, the parties either agreed to atargeted collect on or custodians

           20        and search strings that would be used to identify potentially responsive materials. In May 2020, the

           21        parties agreed Facebook would conduct atargeted collection for RFP 21, and that they would not

           22        negotiate custodians and search strings. The parties specifically agreed Facebook would collect and

           23        produce developer correspondence from the email account typically used to communicate with.

           24        developers about ADI (Facebook's                          account). Facebook produced these

           25        materials, which amounted to more than 30,000 pages of communications with third parties. Mr.

           26        Southwell's March 13, 2019 letter was not previously collected and produced because the

           27                  account was not copied as arecipient on the transmittal email for this particular letter. This

           28        does not conflict with Facebook's prior representations. Facebook represented that it. was not

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                                                    FACEBOOK'S SUPPLEMENTAL SUBMISSION READI
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                                                          CASE No. 3:18-MD-02843-VC-JSC                                      102 1
                     Case 3:18-md-02843-VC Document 804-3 Filed 01/11/22 Page 1026 of 1031


                1   asserting privilege over its ADI communications with developers, and it produced the materials the

                    parties agreed Facebook would collect and produce. See, e.g., June 19, 2020 Hr'g Tr. 15:1-2

               3    ("Facebook's communications with those third parties are fair game."); Dkt. 612 at 5("Facebook

               4    further agreed to collect and produce non-privileged materials relating to the Investigation and

                5   already produced more than 30,000 pages of non-privileged materials from the Investigation, which

               6    are communications with third parties about the Investigation."); see also Reinsdoif v. Skechers

                7   U.S.A., Inc., 296 F.R.D. 604, 615 (C.D. Cal. 2013) ("[W]hile parties must impose areasonable

                8   construction on discovery requests and conduct areasonable search when responding to the requests,

               9    the Federal Rules do not demand perfection.").

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               ()           Issue #2: Facebook's September 21 production of documents in response to Judge Corley's

               11   ADI Order includes eleven documents, which amount to 379 pages. Plaintiffs assert, without basis,

               12   that the production must be incomplete because Plaintiffs expected Facebook to produce more

           13       documents.

           14               Example: Plaintiffs provide no example of materials missing from Facebook's September 21

           15       production, and Facebook is aware of none.

           16               Facebook's Position: Facebook has produced all materials Judge Corley ordered Facebook

           17       to produce by September 21. Judge Corley ordered Facebook to produce "background and technical

           18       reports, audits and developer interviews of the six exemplar apps chosen by the parties" previously

           19       for asampling exercise designed to identify examples of privileged ADI documents. Dkt. 736 at 7.

           20       Facebook produced nine background and technical reports for the six apps, as well as two cease-and-

           21       desist letters demanding audits. ADI ultimately did not conduct forensic audits or developer

           22       interviews for any of the six apps, so there are no more documents to produce with respect to the six

           23       apps.

           24               Issue #3: Plaintiffs demand that Facebook produce five broad categories of ADI materials:

           25       (a) background and technical reports for every app addressed by ADI; (b) audits for every app

           26       addressed by ADI; (c) developer interviews for every app addressed by ADI; (d) all memoranda

           27       prepared by expert consultants retained by Gibson Dunn related to ADI; and (e) communications

           28       regarding the previous four categories of materials.


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                1           Example: Not applicable.

                            Facebook's Position: Facebook informed Plaintiffs that: (i) Facebook is evaluating what

                3    materials it maintains in the categories Judge Corley described as potentially discoverable in her

                4    September 9, 2021 Order; (ii) Plaintiffs' requests appear to go far beyond Judge Corley's order,

                5    includes requests Judge Corley has already rejected, and should be confined to the categories of

                6    materials Judge Corley described as potentially discoverable; and (iii) it was premature for Facebook

                7    to identify what non-privileged materials it may be able to produce, and Facebook would provide a

                8    preliminary position the week of October 25.

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                    Dated: October 22, 2021            GIBSON, DUNN & CRUTCH ER, LLP

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                                    PROOF OF SERVICE BY E-Mail

             Re: In re: Facebook, Inc. Consumer Privacy User Profile Litigation (Special Master)
                                         Reference No. 1200058674

           I, Anne Lieu, not aparty to the within action, hereby declare that on December 8, 2021, Iserved the

attached Order Regarding Production of ADI Related Documents on the parties in the within action by

electronic mail at El Monte, CALIFORNIA, addressed as follows:



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          Ideclare under penalty of perjury the foregoing to be true and correct. Executed at El Monte,

CALIFORNIA on December 8, 2021.



/s/ Anne Lieu
Anne Lieu
JAMS
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